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              [ORAL ARGUMENT SCHEDULED MAY 16, 2025]
                               Nos. 25-5091, 25-5132


               IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


             NATIONAL TREASURY EMPLOYEES UNION, et al.,
                                                Plaintiffs-Appellees,
                                          v.
     RUSSELL VOUGHT, in his official capacity as Acting Director of the
              Consumer Financial Protection Bureau, et al.,
                                                Defendants-Appellants.

                On Appeal from the United States District Court
                        for the District of Columbia


                                JOINT APPENDIX
                                   VOLUME I


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                                                                                         APPEAL,TYPE−D
                                    U.S. District Court
                         District of Columbia (Washington, DC)
                   CIVIL DOCKET FOR CASE #: 1:25−cv−00381−ABJ

  NATIONAL TREASURY EMPLOYEES UNION v. VOUGHT                    Date Filed: 02/09/2025
  Assigned to: Judge Amy Berman Jackson                          Jury Demand: None
  Case in other court: USCA, 25−05091                            Nature of Suit: 899 Administrative
                       USCA, 25−05132                            Procedure Act/Review or Appeal of
  Cause: 28:2201 Declaratory Judgment                            Agency Decision
                                                                 Jurisdiction: U.S. Government Defendant

  Date Filed   #    Docket Text
  02/09/2025   1 COMPLAINT against RUSSELL VOUGHT ( Filing fee $ 405 receipt number
                 ADCDC−11467139) filed by NATIONAL TREASURY EMPLOYEES UNION.
                 (Attachments: # 1 Civil Cover Sheet, # 2 Summons, # 3 Summons, # 4
                 Summons)(Wilson, Julie) (Entered: 02/09/2025)
  02/10/2025   2 NOTICE of Appearance by Allison Conrey Giles on behalf of NATIONAL
                 TREASURY EMPLOYEES UNION (Giles, Allison) (Entered: 02/10/2025)
  02/10/2025   3 NOTICE of Appearance by Paras N. Shah on behalf of NATIONAL TREASURY
                 EMPLOYEES UNION (Shah, Paras) (Entered: 02/10/2025)
  02/10/2025   4 LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by NATIONAL TREASURY EMPLOYEES UNION (Wilson, Julie)
                 (Entered: 02/10/2025)
  02/10/2025        RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 1
                    COMPLAINT against RUSSELL VOUGHT filed by NATIONAL TREASURY
                    EMPLOYEES UNION. (Wilson, Julie).

                    Your attorney renewal/government certification has not been received. As a result,
                    your membership with the U.S. District & Bankruptcy Courts for the District of
                    Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                    Civil Rule 83.9, you must immediately correct your membership status by following
                    the appropriate instructions on this page of our website:
                    https://www.dcd.uscourts.gov/attorney−renewal.

                    Please be advised that the presiding judge in this case has been notified that you are
                    currently not in good standing to file in this court. Renewal Due by 2/17/2025. (znmw)
                    Modified on 2/12/2025 (zhcn). (Entered: 02/10/2025)
  02/10/2025        RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 2
                    NOTICE of Appearance by Allison Conrey Giles on behalf of NATIONAL
                    TREASURY EMPLOYEES UNION (Giles, Allison).

                    Your attorney renewal/government certification has not been received. As a result,
                    your membership with the U.S. District & Bankruptcy Courts for the District of
                    Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                    Civil Rule 83.9, you must immediately correct your membership status by following
                    the appropriate instructions on this page of our website:
                    https://www.dcd.uscourts.gov/attorney−renewal.

                    Please be advised that the presiding judge in this case has been notified that you are
                    currently not in good standing to file in this court. Renewal Due by 2/17/2025. (znmw)
                    Modified on 2/10/2025 (zhcn). (Entered: 02/10/2025)
  02/12/2025        Case Assigned to Judge Amy Berman Jackson. (znmw) (Entered: 02/12/2025)
  02/12/2025   5 SUMMONS (3) Issued Electronically as to RUSSELL VOUGHT, U.S. Attorney and
                 U.S. Attorney General (Attachments: # 1 Notice and Consent)(znmw) (Entered:
                 02/12/2025)

                                                                                                         JA1
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  02/13/2025    6 NOTICE of Appearance by Deepak Gupta on behalf of All Plaintiffs (Gupta, Deepak)
                  (Entered: 02/13/2025)
  02/13/2025    7 AMENDED COMPLAINT against All Defendants filed by NATIONAL TREASURY
                  EMPLOYEES UNION.(Gupta, Deepak) (Entered: 02/13/2025)
  02/13/2025    8 REQUEST FOR SUMMONS TO ISSUE filed by NATIONAL ASSOCIATION FOR
                  THE ADVANCEMENT OF COLORED PEOPLE, CFPB EMPLOYEE
                  ASSOCIATION, VIRGINIA POVERTY LAW CENTER, NATIONAL TREASURY
                  EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, EVA STEEGE.
                  Related document: 7 Amended Complaint filed by NATIONAL TREASURY
                  EMPLOYEES UNION. (Attachments: # 1 Summons, # 2 Summons, # 3
                  Summons)(Gupta, Deepak) (Entered: 02/13/2025)
  02/13/2025    9 NOTICE of Appearance by Wendy Liu on behalf of All Plaintiffs (Liu, Wendy)
                  (Entered: 02/13/2025)
  02/13/2025   10 MOTION for Temporary Restraining Order and for Administrative Stay by
                  NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                  CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                  COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                  EMPLOYEE ASSOCIATION. (Attachments: # 1 Text of Proposed Order for
                  Temporary Restraining Order, # 2 Text of Proposed Order for Administrative
                  Stay)(Gupta, Deepak). Added MOTION to Stay on 2/14/2025 (zdp). (Entered:
                  02/13/2025)
  02/13/2025   11 NOTICE of Appearance by Allison Marcy Zieve on behalf of All Plaintiffs (Zieve,
                  Allison) (Entered: 02/13/2025)
  02/13/2025   12 NOTICE of Appearance by Robert D. Friedman on behalf of All Plaintiffs (Friedman,
                  Robert) (Entered: 02/13/2025)
  02/14/2025   13 NOTICE of Appearance by Adam R. Pulver on behalf of All Plaintiffs (Pulver, Adam)
                  (Entered: 02/14/2025)
  02/14/2025   14 SUPPLEMENTAL MEMORANDUM to re 10 MOTION for Temporary Restraining
                  Order by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL
                  CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                  ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                  CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (Attachments: # 1
                  Exhibit 1: Index and Kaspar Declaration, # 2 Exhibit 2: Steege Declaration, # 3
                  Exhibit 3: Bross Declaration, # 4 Exhibit 4: Meyer Declaration, # 5 Exhibit 5: Speer
                  Declaration, # 6 Exhibit 6: Dubois Declaration, # 7 Exhibit 7: Rheingold Declaration,
                  # 8 Exhibit 8: Blumenthal Declaration, # 9 Exhibit 9: Halperin Declaration)(Gupta,
                  Deepak) Modified docket text on 2/14/2025 (zdp). (Entered: 02/14/2025)
  02/14/2025   15 NOTICE by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL
                  CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                  ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                  CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 10 Motion for
                  TRO, (Gupta, Deepak) (Entered: 02/14/2025)
  02/14/2025   16 SUMMONS (4) Issued as to CONSUMER FINANCIAL PROTECTION BUREAU,
                  RUSSELL VOUGHT, U.S. Attorney and U.S. Attorney General (Attachments: # 1
                  Notice and Consent)(zdp) (Entered: 02/14/2025)
  02/14/2025   17 NOTICE of Appearance by Brad P. Rosenberg on behalf of All Defendants
                  (Rosenberg, Brad) (Entered: 02/14/2025)
  02/14/2025       NOTICE of Hearing: Scheduling Conference set for 2/14/2025 at 2:00 PM in
                   Courtroom 25A− In Person before Judge Amy Berman Jackson. The hearing will
                   proceed in person for the parties and by telephone for members of the public. Toll Free
                   Number 833−990−9400. Meeting ID: 208322628. (zdrf) (Entered: 02/14/2025)
  02/14/2025   18 DECLARATION of Erie Meyer by NATIONAL TREASURY EMPLOYEES
                  UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                  FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                  LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 14 MOTION

                                                                                                       JA2
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                   for Temporary Restraining Order and Administrative Stay. (Gupta, Deepak) (Entered:
                   02/14/2025)
  02/14/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 12
                   NOTICE of Appearance by Robert D. Friedman on behalf of All Plaintiffs (Friedman,
                   Robert).

                   Your attorney renewal/government certification has not been received. As a result,
                   your membership with the U.S. District & Bankruptcy Courts for the District of
                   Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                   Civil Rule 83.9, you must immediately correct your membership status by following
                   the appropriate instructions on this page of our website:
                   https://www.dcd.uscourts.gov/attorney−renewal.

                   Please be advised that the presiding judge in this case has been notified that you are
                   currently not in good standing to file in this court. Renewal Due by 2/21/2025. (zapb)
                   Modified on 2/18/2025 (zhcn). (Entered: 02/14/2025)
  02/14/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 9
                   NOTICE of Appearance by Wendy Liu on behalf of All Plaintiffs (Liu, Wendy).

                   Your attorney renewal/government certification has not been received. As a result,
                   your membership with the U.S. District & Bankruptcy Courts for the District of
                   Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                   Civil Rule 83.9, you must immediately correct your membership status by following
                   the appropriate instructions on this page of our website:
                   https://www.dcd.uscourts.gov/attorney−renewal.

                   Please be advised that the presiding judge in this case has been notified that you are
                   currently not in good standing to file in this court. Renewal Due by 2/21/2025. (zapb)
                   Modified on 2/18/2025 (zhcn). (Entered: 02/14/2025)
  02/14/2025       Minute Entry for Scheduling Conference proceedings held on 2/14/2025 before Judge
                   Amy Berman Jackson. Order forthcoming via Chambers. (Court Reporter Janice
                   Dickman.) (zdrf) (Entered: 02/14/2025)
  02/14/2025   19 ORDER. In light of the agreement of the parties at today's scheduling conference and
                  the underlying record, the accompanying order will remain in place until the resolution
                  of plaintiffs' 10 motion for temporary restraining order, which, with the parties'
                  consent, will be deemed to be a motion for preliminary injunction. The Order provides
                  that defendants shall not: delete, destroy, remove, or impair any data, database or other
                  CFPB records; terminate any CFPB employee, except for cause related to the specific
                  employee's performance or conduct; issue any notice of reduction−in−force to any
                  CFPB employee; or transfer, relinquish, or return any money from the CFPB's reserve
                  funds. A hearing on plaintiffs' motion is SET for March 3, 2025 at 10:00 in Courtroom
                  25A. Members of the public can access the hearing via toll free number
                  833−990−9400. Meeting ID 208322628. See Order for further details. Signed by Judge
                  Amy Berman Jackson on 2/14/2025. (lcabj2) (Entered: 02/14/2025)
  02/18/2025   20 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                  NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                  ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                  CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                  Text of Proposed Order)(Gupta, Deepak) (Entered: 02/18/2025)
  02/20/2025       MINUTE ORDER. Defendants are ORDERED to file with the Court by 9:30 A.M.,
                   Friday, February 21, 2025 copies of (a) the February 3, 2025 email sent by the
                   then−Acting Director Scott Bessent, titled "Instruction from Acting Director,"
                   referenced in plaintiffs' memorandum 14 at page 9; (b) the February 8, 2025
                   bureau−wide email sent by Acting Director Russell Vought referenced in plaintiffs'
                   memorandum at page 10; (c) the February 9, 2025 email sent by CFPB Chief
                   Operating Officer Adam Martinez to all CFPB staff, referenced in the amended
                   complaint 7 at paragraph 45; and (d) the February 10, 2025 email sent by Acting
                   Director Vought, titled "Additional Directives on Bureau Activities," referenced in the
                   amended complaint at paragraph 46. SO ORDERED. Signed by Judge Amy Berman
                   Jackson on 2/20/25. (DMK) (Entered: 02/20/2025)
                                                                                                        JA3
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  02/20/2025   21 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jennifer D. Bennett,
                  Filing fee $ 100, receipt number ADCDC−11493768. Fee Status: Fee Paid. by
                  NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                  CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                  COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                  EMPLOYEE ASSOCIATION. (Attachments: # 1 Declaration, # 2 Exhibit (Certificate
                  of Good Standing), # 3 Text of Proposed Order)(Friedman, Robert) (Entered:
                  02/20/2025)
  02/21/2025   23 NOTICE OF FILING (AMENDED) by RUSSELL VOUGHT, CONSUMER
                  FINANCIAL PROTECTION BUREAU re Order,,,, Set Deadlines,,, (Attachments: # 1
                  Feb. 3, 2025 email, "Instructions from Acting Director", # 2 Feb. 8, 2025 email,
                  "Directives on Bureau Activities", # 3 Feb. 9, 2025 email, "Please Read: DC
                  Headquarters Building Operating Status (2/10−2/14)", # 4 Feb. 10, 2025 email,
                  "Additional Directives on Bureau Activities" (redaction added))(Rosenberg, Brad)
                  (Entered: 02/21/2025)
  02/21/2025       MINUTE ORDER granting 21 Motion for Leave of Jennifer D. Bennett to Appear Pro
                   Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                   lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                   and agree to file papers electronically. No court papers will be mailed to any lawyer.
                   Counsel should register for e−filing via PACER and file a notice of appearance
                   pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                   Jackson on 2/21/25. (DMK) (Entered: 02/21/2025)
  02/21/2025   24 AMICUS BRIEF In Support of Plaintiffs' Motion for a Prelimination Injunction by
                  The State of New York, the State of New Jersey, the District of Columbia, and the
                  States of Arizona, California, Colorado, Connecticut, Delaware, Hawaii, Illinois,
                  Maine, Maryland, Massachusetts, Mich. (Oser, Andrea) (Entered: 02/21/2025)
  02/21/2025   25 NOTICE of Appearance by Noah Hy Brozinsky on behalf of Tzedek DC (Brozinsky,
                  Noah) (Entered: 02/21/2025)
  02/21/2025   26 NOTICE of Appearance by William Bullock Pittard, IV on behalf of Tzedek DC
                  (Pittard, William) (Entered: 02/21/2025)
  02/21/2025   27 Unopposed MOTION for Leave to File Amicus Brief by Tzedek DC. (Attachments: #
                  1 Exhibit Amicus Brief, # 2 Text of Proposed Order Proposed Order)(Brozinsky,
                  Noah) (Entered: 02/21/2025)
  02/21/2025   28 NOTICE of Appearance by Ariel B. Levinson−Waldman on behalf of Tzedek DC
                  (Levinson−Waldman, Ariel) (Entered: 02/21/2025)
  02/24/2025   29 NOTICE of Appearance by Jennifer Bennett on behalf of All Plaintiffs (Bennett,
                  Jennifer) (Entered: 02/24/2025)
  02/24/2025   30 NOTICE of Appearance by Liam Holland on behalf of RUSSELL VOUGHT,
                  CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam) (Entered:
                  02/24/2025)
  02/24/2025   31 Memorandum in opposition to re 10 Motion for TRO,, Motion to Stay, Defendants'
                  Opposition to Plaintiffs' Motion for a Preliminary Injunction filed by RUSSELL
                  VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (Attachments: # 1
                  Exhibit 1 (Martinez Decl. & Exhibits), # 2 Exhibit 2 (CFPB and NTEA
                  CBA))(Holland, Liam) (Entered: 02/24/2025)
  02/25/2025       MINUTE ORDER granting 27 Tzedek DC's unopposed motion for leave to file amicus
                   brief. The Clerk of Court is directed to file [27−1] Tzedek DC's Amicus Brief in
                   Support of Plaintiffs' Motion for a Preliminary Injunction on the docket. SO
                   ORDERED. Signed by Judge Amy Berman Jackson on 2/25/25. (DMK) (Entered:
                   02/25/2025)
  02/25/2025   32 Unopposed MOTION for Leave to File Excess Pages For Reply Memorandum by
                  NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                  CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                  COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                  EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 02/25/2025)


                                                                                                       JA4
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   02/25/2025   33 AMICUS BRIEF by TZEDEK DC. (zdp) (Entered: 02/26/2025)
   02/26/2025       MINUTE ORDER granting 32 Plaintiffs' Unopposed Motion to Exceed Page
                    Limitation for Reply Memorandum. Plaintiffs' reply brief in further support of their
                    motion for preliminary injunction may include ten pages in excess of the page limit set
                    by the Local Civil Rules. Plaintiffs should avoid repeating arguments already
                    advanced in their initial submission. SO ORDERED. Signed by Judge Amy Berman
                    Jackson on 2/26/25. (DMK) (Entered: 02/26/2025)
   02/27/2025   34 MOTION for Leave to Appear at the Preliminary Injunction Hearing as Amicus
                   Curiae on behalf of the Amici States by The State of New York. (Reigstad, Christian)
                   (Entered: 02/27/2025)
   02/27/2025   35 NOTICE Regarding MOTION for Leave to Appear at the Preliminary Injunction
                   Hearing as Amicus Curiae on behalf of the Amici States by The State of New York
                   (Reigstad, Christian) (Entered: 02/27/2025)
   02/27/2025   36 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Andrew J. Huber,
                   Filing fee $ 100, receipt number ADCDC−11509576. Fee Status: Fee Paid. by Tzedek
                   DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good Standing, # 3 Text
                   of Proposed Order)(Levinson−Waldman, Ariel) (Entered: 02/27/2025)
   02/27/2025       MINUTE ORDER granting 34 motion of amici, the States, to participate in oral
                    argument. Counsel for New York will be allowed to speak on behalf of the States
                    briefly −− no more than 10 minutes −− on the irreparable harm and public interest
                    factors to be applied to the motion for a preliminary injunction, and to address any
                    alleged important factual misrepresentations in the defendants' submissions. However,
                    the States are further directed to submit a supplemental filing explaining the relevance
                    of the complained−of harm to the States, as opposed to the public at large, given that
                    the States are not a party to this action. The supplemental filing is due by Friday,
                    February 28, 2025. SO ORDERED. Signed by Judge Amy Berman Jackson on
                    2/27/25. (DMK) (Entered: 02/27/2025)
   02/27/2025   37 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                   February 14, 2025; Page Numbers: 1−24. Date of Issuance:February 27, 2025. Court
                   Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                   ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be made
                    available to the public via PACER without redaction after 90 days. The policy, which
                    includes the five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.

                    Redaction Request due 3/20/2025. Redacted Transcript Deadline set for 3/30/2025.
                    Release of Transcript Restriction set for 5/28/2025.(Dickman, Janice) (Entered:
                    02/27/2025)
   02/27/2025   38 MOTION for Leave to File Supplemental Declarations by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION.
                   (Attachments: # 1 Exhibit Index of Declarations, # 2 Declaration of Alex Doe, # 3
                   Declaration of Blake Doe, # 4 Declaration of Charlie Doe, # 5 Declaration of Drew
                   Doe, # 6 Declaration of Adam Scott, # 7 Declaration of Matthew Pfaff, # 8 Declaration
                   of Brian Shearer, # 9 Declaration of Erie Meyer, # 10 Declaration of Julia Barnard, #
                   11 Declaration of Lorelei Salas, # 12 Declaration of Eric Halperin, # 13 Declaration of
                   Seth Frotman, # 14 Declaration of Juanita West−Tillman, # 15 Declaration of
                   Christina Coll, # 16 Declaration of Deepak Gupta, # 17 Declaration of A. Roston and
                   A. Scible)(Gupta, Deepak) (Entered: 02/27/2025)

                                                                                                              JA5
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   02/27/2025   39 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                   NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                   CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 38 MOTION for
                   Leave to File Supplemental Declarations (Gupta, Deepak) (Entered: 02/27/2025)
   02/27/2025   40 REPLY to opposition to motion re 10 Motion for TRO,, Motion to Stay, filed by
                   NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                   CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                   COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                   EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 02/27/2025)
   02/28/2025   41 NOTICE of Corrected Attachments by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                   LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 38 Motion
                   for Leave to File,,, (Attachments: # 1 Declaration of Peyton Diotalevi, # 2 Declaration
                   of Deepak Gupta (Corrected))(Gupta, Deepak) (Entered: 02/28/2025)
   02/28/2025   42 NOTICE of Appearance by Christopher Michael D'Angelo on behalf of The State of
                   New York (D'Angelo, Christopher) (Entered: 02/28/2025)
   02/28/2025   43 NOTICE of Appearance by Lucia Goin on behalf of 203 Members of Congress (Goin,
                   Lucia) (Entered: 02/28/2025)
   02/28/2025   44 MOTION for Leave to File Amicus Brief by 203 Members of Congress. (Attachments:
                   # 1 Exhibit Proposed Amicus Brief, # 2 Text of Proposed Order)(Goin, Lucia)
                   (Entered: 02/28/2025)
   02/28/2025       MINUTE ORDER granting 38 plaintiffs' motion to file supplemental declarations in
                    support of their motion for a preliminary injunction. The Clerk of Court is directed to
                    file on the docket [38−1] through [38−17]. SO ORDERED. Signed by Judge Amy
                    Berman Jackson on 2/28/25. (DMK) (Entered: 02/28/2025)
   02/28/2025       MINUTE ORDER granting 36 Motion for Leave of Andrew J. Hube to Appear Pro
                    Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                    lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                    and agree to file papers electronically. No court papers will be mailed to any lawyer.
                    Counsel should register for e−filing via PACER and file a notice of appearance
                    pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                    Jackson on 2/28/25. (DMK) (Entered: 02/28/2025)
   02/28/2025       MINUTE ORDER granting 44 Motion for Leave to File Amicus Brief. The Clerk of
                    Court is directed to file on the docket [44−1] the Brief of 203 Members of Congress as
                    Amici Curiae in Support of Plaintiffs' Motion for a Preliminary Injunction. SO
                    ORDERED. Signed by Judge Amy Berman Jackson on 2/28/25. (DMK) (Entered:
                    02/28/2025)
   02/28/2025   45 NOTICE of Appearance by Andrew James Huber on behalf of Tzedek DC (Huber,
                   Andrew) (Entered: 02/28/2025)
   02/28/2025   46 SUPPLEMENTAL MEMORANDUM re Order on Motion for Leave to Appear,,, by
                   The State of New York, the State of New Jersey, the District of Columbia, and the
                   States of Arizona, California, Colorado, Connecticut, Delaware, Hawaii, Illinois,
                   Maine, Maryland, Massachusetts, Mich. (Reigstad, Christian) Modified docket text on
                   3/7/2025 (zdp). (Entered: 02/28/2025)
   02/28/2025   84 AMICUS BRIEF by 203 MEMBERS OF CONGRESS. (zdp) (Entered: 03/26/2025)
   03/02/2025   47 Consent MOTION for Leave to File Supplemental Declaration of Adam Martinez by
                   RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU.
                   (Attachments: # 1 Declaration (Supplemental) of Adam Martinez, # 2 Text of
                   Proposed Order)(Rosenberg, Brad) (Entered: 03/02/2025)
   03/02/2025   48 Consent MOTION for Leave to File Supplemental Declarations by NATIONAL
                   TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                   PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB

                                                                                                          JA6
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                    EMPLOYEE ASSOCIATION. (Attachments: # 1 Exhibit Index, # 2 Declaration of
                    Matthew Pfaff, # 3 Declaration of Emory Doe, # 4 Declaration of Francis Doe, # 5
                    Declaration of Greer Doe, # 6 Text of Proposed Order)(Gupta, Deepak) (Entered:
                    03/02/2025)
   03/03/2025       MINUTE ORDER granting 47 Defendants' Motion for Leave to File Supplemental
                    Declaration and 48 Plaintiffs' Motion for Leave to File Supplemental Declarations.
                    The Clerk of Court is directed to file on the docket [47−1] Defendants' Supplemental
                    Declaration and [48−1] through [48−5] Plaintiffs' Exhibit Index and Supplemental
                    Declarations. The parties may not file any additional declarations until further order of
                    the Court. SO ORDERED. Signed by Judge Amy Berman Jackson on 3/3/25. (DMK)
                    (Entered: 03/03/2025)
   03/03/2025   49 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                   United States Attorney. Date of Service Upon United States Attorney on 2/15/2025.
                   Answer due for ALL FEDERAL DEFENDANTS by 4/16/2025. (Gupta, Deepak)
                   (Entered: 03/03/2025)
   03/03/2025   50 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   RUSSELL VOUGHT served on 2/14/2025 (Friedman, Robert) (Entered: 03/03/2025)
   03/03/2025   51 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   CONSUMER FINANCIAL PROTECTION BUREAU served on 2/14/2025
                   (Friedman, Robert) (Entered: 03/03/2025)
   03/03/2025   52 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                   United States Attorney General. Date of Service Upon United States Attorney General
                   2/20/2025. (Friedman, Robert) (Entered: 03/03/2025)
   03/03/2025       Minute Entry for Preliminary Injunction proceedings held on 3/3/2025 before Judge
                    Amy Berman Jackson. Arguments heard and taken under advisement. Evidentiary
                    Hearing set for 3/10/2025 at 10:00 AM in Courtroom 25A− In Person before Judge
                    Amy Berman Jackson. (Court Reporter Janice Dickman.) (zdrf) (Entered: 03/03/2025)
   03/03/2025       MINUTE ORDER. As ordered at the motions hearing held on this date, plaintiffs must
                    file a revised proposed preliminary injunction order by Wednesday, March 5, 2025,
                    and an evidentiary hearing is set for Monday, March 10, 2025 at 10:00 AM, at which
                    the government's declarant, Adam Martinez, and any of plaintiffs' declarants, who
                    must have personal knowledge of the facts they are being called to assert, that
                    plaintiffs choose to call to dispute Martinez's assertions. According to its terms, the
                    consent order 19 agreed to by the parties on February 14, 2025 remains in effect until
                    the motion for a preliminary injunction is decided. The parties advised the Court that
                    they reached a separate agreement that expires on the date of the hearing concerning
                    the cancellation of CFPB contracts. The parties are ordered to confer and advise the
                    Court today whether they can agree to extend this agreement or an agreed narrowed
                    version until the Court rules on the preliminary injunction motion, and if they can
                    agree, the parties must file by Friday, March 7 at 5:00 PM a proposed consent
                    agreement on that subject. If they cannot agree, the parties must provide the Court
                    today with a copy of the existing agreement. Since the agreement was supposed to
                    extend through the preliminary injunction hearing, if the defendants do not agree that
                    by its terms it extends through the continuation of the hearing on March 10, they must
                    explain why not, and the plaintiffs must provide the Court with the language of any
                    order they would be seeking to cover that period of time. SO ORDERED. Signed by
                    Judge Amy Berman Jackson on 3/3/25. (DMK) (Entered: 03/03/2025)
   03/03/2025   53 ENTERED IN ERROR.....NOTICE OF AGREEMENT by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                   (Friedman, Robert) Modified on 3/6/2025 (zdp). (Entered: 03/03/2025)
   03/03/2025       MINUTE ORDER. In light of the parties' notice 53 , it is ORDERED that the
                    agreement described in the notice that "[t]he Consumer Financial Protection Bureau
                    ('CFPB') has frozen and will continue to freeze any and all termination actions
                    regarding its contracts," with the understanding that the parties are not agreed as to its
                    applicability to the lease for the agency headquarters, is extended through next
                    Monday, March 10, 2025. SO ORDERED. Signed by Judge Amy Berman Jackson on
                                                                                                             JA7
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                    3/3/25. (DMK) (Entered: 03/03/2025)
   03/03/2025   59 MOTION to Intervene by JANICE WOLK GRENADIER. "Leave to File Granted"
                   Signe by Judge Amy B. Jackson on 3/3/2025 (zdp) (Entered: 03/05/2025)
   03/04/2025       MINUTE ORDER. As ordered at the hearing of March 3, 2025, the parties must file
                    by today, March 4, 2025, all internal emails or text messages relied upon by the
                    declarants or the parties in connection with the status or ongoing operations of the
                    CFBP. SO ORDERED. Signed by Judge Amy Berman Jackson on 03/04/2025.
                    (DMK) (Entered: 03/04/2025)
   03/04/2025   54 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Erik Goodman, Filing
                   fee $ 100, receipt number ADCDC−11518215. Fee Status: Fee Paid. by Tzedek DC.
                   (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good Standing, # 3 Text of
                   Proposed Order)(Levinson−Waldman, Ariel) (Entered: 03/04/2025)
   03/04/2025   55 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Marissa Ditkowsky,
                   Filing fee $ 100, receipt number ADCDC−11519355. Fee Status: Fee Paid. by Tzedek
                   DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificates of Good Standing, # 3
                   Text of Proposed Order)(Levinson−Waldman, Ariel) (Entered: 03/04/2025)
   03/04/2025   56 NOTICE of Filing by RUSSELL VOUGHT, CONSUMER FINANCIAL
                   PROTECTION BUREAU re Order, (Attachments: # 1 Internal CFPB E−mails, # 2
                   CFPB Enforcement Action Filings, # 3 CFPB−Dept of Ed MOU)(Holland, Liam)
                   (Entered: 03/04/2025)
   03/04/2025   57 NOTICE of Filing of Communications by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                   LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments:
                   # 1 Exhibit Index, # 2 Exhibit Emails, Text Messages, and Other
                   Communications)(Gupta, Deepak) (Entered: 03/04/2025)
   03/05/2025   58 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                   March 3, 2025; Page Numbers: 1−123. Date of Issuance: March 5, 2025. Court
                   Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                   ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be made
                    available to the public via PACER without redaction after 90 days. The policy, which
                    includes the five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.

                    Redaction Request due 3/26/2025. Redacted Transcript Deadline set for 4/5/2025.
                    Release of Transcript Restriction set for 6/3/2025.(Dickman, Janice) (Entered:
                    03/05/2025)
   03/05/2025       MINUTE ORDER granting 54 55 Motions for Leave of Erik Goodman and Marissa
                    Ditkowsky to Appear Pro Hac Vice only upon condition that the lawyers admitted, or
                    at least one member of the lawyers' firm, undergo CM/ECF training, obtain a CM/ECF
                    username and password, and agree to file papers electronically. No court papers will
                    be mailed to any lawyer. Counsel should register for e−filing via PACER and file a
                    notice of appearance pursuant to LCvR 83.6(a) Click for instructions. Signed by
                    Judge Amy Berman Jackson on 03/05/2025. (DMK) (Entered: 03/05/2025)
   03/05/2025       MINUTE ORDER denying 59 Motion to Intervene. Movant has not made a showing
                    that she satisfies the requirements to intervene as of right under Fed. R. Civ. Proc.
                    24(a) because: (1) she is not given an unconditional right to intervene by any federal
                    statute, and (2) she does not claim an interest relating to any property of transaction
                    that is the subject of the action and is not so situated that disposing of the action may
                                                                                                                JA8
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                    as a practical matter impair or impede her ability to protect that interest. Movant has
                    also not shown that the Court should exercise its discretion to grant permissive
                    intervention under Rule 24(b)(1), since: (A) she is not given a conditional right to
                    intervene by any federal statute, and (B) she does not have a claim or defense that
                    shares a common question of law or fact with the main action. Also, movant's
                    wide−ranging complaints about the actions of multiple federal and state agencies and
                    judges, as well as numerous private actors, do not bear on this action. SO ORDERED.
                    Signed by Judge Amy Berman Jackson on 3/5/2025. (DMK) (Entered: 03/05/2025)
   03/05/2025   60 ERRATA AND CORRECTED VERSION by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                   LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 57 Notice
                   (Other),. (Attachments: # 1 Exhibit Corrected Communications)(Gupta, Deepak)
                   (Entered: 03/05/2025)
   03/05/2025   61 NOTICE of Appearance by Marissa Ariel Ditkowsky on behalf of Tzedek DC
                   (Ditkowsky, Marissa) (Entered: 03/05/2025)
   03/05/2025   62 NOTICE of Proposed Order for Preliminary Injunction by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re
                   Order,,,,,, (Gupta, Deepak) (Entered: 03/05/2025)
   03/05/2025   63 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                   (Gupta, Deepak) (Entered: 03/05/2025)
   03/06/2025       NOTICE OF ERROR regarding 53 Notice (Other). The following error(s) need
                    correction: Invalid attorney signature− signature on document must match PACER
                    login. Please refile. (zdp) (Entered: 03/06/2025)
   03/06/2025   64 NOTICE of Appearance− Pro Bono by Erik Goodman on behalf of Tzedek DC
                   (Goodman, Erik) (Entered: 03/06/2025)
   03/06/2025   65 NOTICE of Agreement (Corrected) by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY
                   LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION re 53 Notice
                   (Other), Notice of Error (Gupta, Deepak) (Entered: 03/06/2025)
   03/07/2025   66 Joint MOTION for Leave to File Supplemental Emails and Communications by
                   NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                   CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                   COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                   EMPLOYEE ASSOCIATION. (Attachments: # 1 Exhibit 1: Plaintiffs' Supplemental
                   Communications, # 2 Exhibit 2: Defendants' Supplemental Communications, # 3 Text
                   of Proposed Order)(Gupta, Deepak) (Entered: 03/07/2025)
   03/07/2025       MINUTE ORDER: As noted in the minute entry dated March 3, 2025, the parties shall
                    appear in person for an evidentiary hearing on March 10, 2025 at 10:00 AM in
                    Courtroom 25A. Members of the public can access the hearing via Toll Free Number
                    833−990−9400; Meeting ID 208322628. SO ORDERED. Signed by Judge Amy
                    Berman Jackson on 3/7/2025. (zdrf) (Entered: 03/07/2025)
   03/07/2025       MINUTE ORDER granting 66 the parties' Joint Motion for Leave to File
                    Supplemental Emails and Communications. The Clerk of Court is directed to file on
                    the docket [66−1] Plaintiffs' Supplemental Communications and [66−2] Defendants'
                    Supplemental Communications. SO ORDERED. Signed by Judge Amy Berman
                    Jackson on 3/7/2025. (DMK) (Entered: 03/07/2025)
   03/07/2025   67 PLAINTIFF SUPPLEMENTAL INDEX to re 57 Notice (Other), filed by NATIONAL
                   TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED

                                                                                                         JA9
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                    PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                    EMPLOYEE ASSOCIATION. (zdp) (Entered: 03/07/2025)
   03/07/2025   68 DEFENDANT SUPPLEMENTAL INDEX to re 57 Notice (Other), filed by
                   NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW
                   CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                   COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                   EMPLOYEE ASSOCIATION. (zdp) (Entered: 03/07/2025)
   03/07/2025   69 NOTICE OF AGREEMENT CONCERNING CONTRACT TERMINATIONS (JOINT)
                   by NATIONAL TREASURY EMPLOYEES UNION, NATIONAL CONSUMER
                   LAW CENTER, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                   COLORED PEOPLE, VIRGINIA POVERTY LAW CENTER, EVA STEEGE, CFPB
                   EMPLOYEE ASSOCIATION re Order,,,,,, (Gupta, Deepak) (Entered: 03/07/2025)
   03/10/2025       Minute Entry for proceedings held 3/10/2025 before Judge Amy Berman Jackson.
                    Evidentiary Hearing began and continued to 3/11/2025 at 1:30 PM in Courtroom 25A−
                    In Person before Judge Amy Berman Jackson. Defense Witness: Adam Martinez.
                    (Court Reporter Janice Dickman.) (zdrf) (Entered: 03/10/2025)
   03/11/2025   70 NOTICE OF FILING OF EXHIBIT LIST AND RELATED DOCUMENTS by
                   RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU
                   (Attachments: # 1 Exhibit Teams Exchange, # 2 Exhibit OMB−OPM Memorandum, #
                   3 Exhibit List)(Rosenberg, Brad) (Entered: 03/11/2025)
   03/11/2025       Minute Entry for proceedings held 3/11/2025 before Judge Amy Berman Jackson.
                    Evidentiary Hearing resumed and concluded. Matter taken under advisement. Defense
                    Witness: Adam Martinez; Plaintiff Witnesses: Alex Doe and Mathew Pfaff. (Court
                    Reporter Janice Dickman) (zdrf) (Entered: 03/11/2025)
   03/12/2025   71 NOTICE Joint Notice of Agreement Concerning Contract Terminations by RUSSELL
                   VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam)
                   (Entered: 03/12/2025)
   03/13/2025   72 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Sarah Hollender,
                   Filing fee $ 100, receipt number ADCDC−11538714. Fee Status: Fee Paid. by
                   TZEDEK DC. (Attachments: # 1 Declaration, # 2 Exhibit Certificate of Good
                   Standing, # 3 Text of Proposed Order)(Levinson−Waldman, Ariel) (Entered:
                   03/13/2025)
   03/13/2025       MINUTE ORDER granting 72 Motion for Leave of Sarah Hollender to Appear Pro
                    Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                    lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                    and agree to file papers electronically. No court papers will be mailed to any lawyer.
                    Counsel should register for e−filing via PACER and file a notice of appearance
                    pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                    Jackson on 3/13/25. (DMK) (Entered: 03/13/2025)
   03/14/2025   73 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                   March 10, 2025; Page Numbers: 1−275. Date of Issuance: March 14, 2025. Court
                   Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                   ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                    days to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will be made
                    available to the public via PACER without redaction after 90 days. The policy, which
                    includes the five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.

                    Redaction Request due 4/4/2025. Redacted Transcript Deadline set for 4/14/2025.
                    Release of Transcript Restriction set for 6/12/2025.(Dickman, Janice) (Entered:
                                                                                                            JA10
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                    03/14/2025)
   03/14/2025   74 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on
                   March 11, 2025; Page Numbers: 1−155. Date of Issuance: March 14, 2025. Court
                   Reporter: Janice Dickman, Telephone number: 202−354−3267, Transcripts may be
                   ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced above.
                    After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                    (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
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                    identifiers from this transcript. If no such requests are filed, the transcript will be made
                    available to the public via PACER without redaction after 90 days. The policy, which
                    includes the five personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov.

                    Redaction Request due 4/4/2025. Redacted Transcript Deadline set for 4/14/2025.
                    Release of Transcript Restriction set for 6/12/2025.(Dickman, Janice) (Entered:
                    03/14/2025)
   03/17/2025   75 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Hannah M.
                   Kieschnick, Filing fee $ 100, receipt number ADCDC−11546045. Fee Status: Fee
                   Paid. by 203 MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit H. Kieschnick −
                   Declaration, # 2 Exhibit H. Kieschnick − Certificate of Good Standing, # 3 Text of
                   Proposed Order)(Goin, Lucia) (Attachment 1 replaced on 3/18/2025) (znmw).
                   (Entered: 03/17/2025)
   03/17/2025   76 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Shelby Leighton,
                   Filing fee $ 100, receipt number ADCDC−11546086. Fee Status: Fee Paid. by 203
                   MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit S. Leighton − Declaration, #
                   2 Exhibit S. Leighton − Certificate of Good Service, # 3 Text of Proposed
                   Order)(Goin, Lucia) (Entered: 03/17/2025)
   03/17/2025   77 MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Douglas R. Jensen,
                   Filing fee $ 100, receipt number ADCDC−11546127. Fee Status: Fee Paid. by 203
                   MEMBERS OF CONGRESS. (Attachments: # 1 Exhibit D. Jensen − Declaration, # 2
                   Exhibit D. Jensen − Certificate of Good Standing, # 3 Text of Proposed Order)(Goin,
                   Lucia) (Entered: 03/17/2025)
   03/17/2025   78 NOTICE OF SUPPLEMENTAL AUTHORITY by RUSSELL VOUGHT,
                   CONSUMER FINANCIAL PROTECTION BUREAU (Holland, Liam) (Entered:
                   03/17/2025)
   03/19/2025   79 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                   NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                   CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                   Text of Proposed Order)(Gupta, Deepak) (Entered: 03/19/2025)
   03/20/2025       MINUTE ORDER denying without prejudice 76 Motion for Leave to Appear Pro Hac
                    Vice for failure to provide the information required in a motion to proceed pro have
                    vice under Local Rule, specifically with respect to LCvR 83.2(e)(2)(6). Signed by
                    Judge Amy Berman Jackson on 3/20/25. (DMK) (Entered: 03/20/2025)
   03/20/2025       MINUTE ORDER granting 75 77 Motions for Leave of Hannah M. Kieschnick and
                    Douglas R. Jensen to Appear Pro Hac Vice only upon condition that the lawyers
                    admitted, or at least one member of the lawyers' firms, undergo CM/ECF training,
                    obtain a CM/ECF username and password, and agree to file papers electronically. No
                    court papers will be mailed to any lawyer. Counsel should register for e−filing via
                    PACER and file a notice of appearance pursuant to LCvR 83.6(a) Click for
                    instructions. Signed by Judge Amy Berman Jackson on 3/20/25. (DMK) (Entered:
                    03/20/2025)


                                                                                                            JA11
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   03/20/2025   80 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                   (Attachments: # 1 Exhibit Does 1−26 v. Musk, # 2 Exhibit Maryland v. United States
                   Department of Agriculture)(Gupta, Deepak) (Entered: 03/20/2025)
   03/21/2025   81 Amended MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Shelby
                   Leighton, Fee Status: No Fee Paid. by 203 MEMBERS OF CONGRESS.
                   (Attachments: # 1 Exhibit Declaration, # 2 Exhibit Certificate of Good Standing, # 3
                   Text of Proposed Order)(Goin, Lucia) (Entered: 03/21/2025)
   03/24/2025       MINUTE ORDER granting 81 Motion for Leave of Shelby Leighton to Appear Pro
                    Hac Vice only upon condition that the lawyer admitted, or at least one member of the
                    lawyer's firm, undergo CM/ECF training, obtain a CM/ECF username and password,
                    and agree to file papers electronically. No court papers will be mailed to any lawyer.
                    Counsel should register for e−filing via PACER and file a notice of appearance
                    pursuant to LCvR 83.6(a) Click for instructions. Signed by Judge Amy Berman
                    Jackson on 3/24/25. (DMK) (Entered: 03/24/2025)
   03/24/2025   82 RESPONSE re 63 NOTICE OF SUPPLEMENTAL AUTHORITY, 80 NOTICE OF
                   SUPPLEMENTAL AUTHORITY, filed by RUSSELL VOUGHT, CONSUMER
                   FINANCIAL PROTECTION BUREAU. (Attachments: # 1 TRO, Mayland v. USDA,
                   Civil No. JKB−25−0748 (D. MD. Mar. 13, 2025), # 2 Declaration of Adam Martinez
                   Re: Compliance with Maryland TRO)(Holland, Liam) (Entered: 03/24/2025)
   03/25/2025   83 SUGGESTION OF DEATH Upon the Record as to Eva Steege and Motion for
                   Substitution of Ted Steege by NATIONAL TREASURY EMPLOYEES UNION,
                   NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                   CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (Attachments: # 1
                   Declaration of Ted Steege, # 2 Declaration of Julia Barnard (Second), # 3 Text of
                   Proposed Order)(Gupta, Deepak) Modified on 3/27/2025 (zdp). (Entered: 03/25/2025)
   03/25/2025   85 MOTION to Substitute by NATIONAL TREASURY EMPLOYEES UNION,
                   NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                   ADVANCEMENT OF COLORED PEOPLE, VIRGINIA POVERTY LAW
                   CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION. (See docket entry 83
                   to view document) (zdp) Modified on 3/28/2025 (zdp). (Entered: 03/27/2025)
   03/26/2025       MINUTE ORDER. Upon consideration of plaintiffs' motion for substitution 83 , it is
                    ORDERED that the motion is GRANTED and that Ted Steege is substituted for Eva
                    Steege as a plaintiff in this matter pursuant to Federal Rule of Civil Procedure
                    25(a)(1). The caption of the case shall be amended to reflect this substitution, and the
                    Clerk of Court is directed to reflect this substitution on the docket. SO ORDERED.
                    Signed by Judge Amy Berman Jackson on 3/26/25. (DMK) (Entered: 03/26/2025)
   03/27/2025   86 NOTICE OF SUPPLEMENTAL AUTHORITY by NATIONAL TREASURY
                   EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL
                   ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE, VIRGINIA
                   POVERTY LAW CENTER, EVA STEEGE, CFPB EMPLOYEE ASSOCIATION
                   (Attachments: # 1 Exhibit A: AFGE v. OPM Opinion)(Gupta, Deepak) (Entered:
                   03/27/2025)
   03/28/2025   87 MEMORANDUM OPINION. Signed by Judge Amy Berman Jackson on 3/28/2025.
                   (DMK) Document replaced to correct formatting and numbering errors. No changes
                   were made to the text of the opinion. (Document 87 replaced on 3/29/2025) (zdrf).
                   Modified on 3/29/2025 (zdrf). (Entered: 03/28/2025)
   03/28/2025   88 ORDER. For the reasons set forth in the accompanying Memorandum Opinion 87 ,
                   Plaintiffs' Motion for a Temporary Restraining Order 10 , which was converted with
                   the parties' consent to a Motion for Preliminary Injunction on February 14, 2025, see
                   Order 19 , is GRANTED. See Order for details. Signed by Judge Amy Berman
                   Jackson on 3/28/2025. (DMK) (Entered: 03/28/2025)
   03/28/2025       MINUTE ORDER. Plaintiff is directed to inform the Court by March 31, 2025 why it
                    is no longer seeking the restriction in the February 14 consent order prohibiting
                    defendants from transferring or relinquishing money from the Reserve Fund other than
                                                                                                          JA12
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                    to satisfy ordinary operating obligations, and whether the interim order should include
                    a restriction on using or disbursing money in the Civil Penalty Fund for anything other
                    than reimbursing consumers. Defendants are directed to inform the Court by the same
                    date of the status of the headquarters building lease, and they may inform the Court of
                    their position on the questions posed to the plaintiffs. SO ORDERED. Signed by Judge
                    Amy Berman Jackson on 3/28/2025. (DMK) (Entered: 03/28/2025)
   03/29/2025   89 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 88 Order on Motion for TRO,
                   87 Memorandum & Opinion, by RUSSELL VOUGHT, CONSUMER FINANCIAL
                   PROTECTION BUREAU. Fee Status: No Fee Paid. Parties have been notified.
                   (Rosenberg, Brad) (Entered: 03/29/2025)
   03/29/2025   90 Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                   Docket Sheet to US Court of Appeals. The Court of Appeals docketing fee was not
                   paid because the appeal was filed by the government re 89 Notice of Appeal to DC
                   Circuit Court. (zjd) (Entered: 03/29/2025)
   03/31/2025       USCA Case Number 25−5091 for 89 Notice of Appeal to DC Circuit Court filed by
                    RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (zdp)
                    (Entered: 03/31/2025)
   03/31/2025   91 NOTICE of Appearance by Hannah Meredith Kieschnick on behalf of 203
                   MEMBERS OF CONGRESS (Kieschnick, Hannah) (Main Document 91 replaced on
                   4/1/2025) (zdp). (Entered: 03/31/2025)
   03/31/2025   92 MOTION for Briefing Schedule by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA
                   POVERTY LAW CENTER, CFPB EMPLOYEE ASSOCIATION (Attachments: # 1
                   Text of Proposed Order)(Gupta, Deepak) Modified event on 4/2/2025 (zdp). (Entered:
                   03/31/2025)
   03/31/2025       MINUTE ORDER in response to 92 plaintiffs' filing: To the extent clarification is
                    required, as of the time of the docketing of this order, defendants have not filed a
                    motion for a stay pending appeal in this court in accordance with Federal Rule of
                    Appellate Procedure 8(a)(1). It follows that the Court has not yet granted or denied
                    such a motion. In the absence of any motion on its docket, the Court sees no reason to
                    establish a briefing schedule or to toll compliance with any aspect of its March 28
                    Order at this time. SO ORDERED. Signed by Judge Amy Berman Jackson on
                    3/31/2025. (DMK) (Entered: 03/31/2025)
   03/31/2025   93 NOTICE of Appearance by Sarah Hollender on behalf of TZEDEK DC (Hollender,
                   Sarah) (Entered: 03/31/2025)
   03/31/2025   94 RESPONSE re 3/28/2025 Minute Order by NATIONAL TREASURY EMPLOYEES
                   UNION, NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION
                   FOR THE ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA
                   POVERTY LAW CENTER, CFPB EMPLOYEE ASSOCIATION re Order,, (Gupta,
                   Deepak) Modified docket text on 4/1/2025 (zdp). (Entered: 03/31/2025)
   03/31/2025   95 NOTICE IN RESPONSE TO MINUTE ORDER REGARDING THE STATUS OF
                   CFPB'S HEADQUARTERS LEASE by RUSSELL VOUGHT, CONSUMER
                   FINANCIAL PROTECTION BUREAU re Order,, (Rosenberg, Brad) (Entered:
                   03/31/2025)
   04/01/2025   96 NOTICE of Appearance by Adina H. Rosenbaum on behalf of All Plaintiffs
                   (Rosenbaum, Adina) (Entered: 04/01/2025)
   04/01/2025   97 MOTION to Stay re 88 Order on Motion for TRO, Defendants' Renewed Request for a
                   Stay Pending Appeal by RUSSELL VOUGHT, CONSUMER FINANCIAL
                   PROTECTION BUREAU. (Attachments: # 1 Text of Proposed Order)(Holland, Liam)
                   (Entered: 04/01/2025)
   04/01/2025       RESOLVED.....NOTICE of Provisional/Government Not Certified Status re 96
                    NOTICE of Appearance by Adina H. Rosenbaum on behalf of All Plaintiffs
                    (Rosenbaum, Adina).


                                                                                                       JA13
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                     Your attorney renewal/government certification has not been received. As a result,
                     your membership with the U.S. District & Bankruptcy Courts for the District of
                     Columbia is not in good standing, and you are not permitted to file. Pursuant to Local
                     Civil Rule 83.9, you must immediately correct your membership status by following
                     the appropriate instructions on this page of our website:
                     https://www.dcd.uscourts.gov/attorney−renewal.

                     Please be advised that the presiding judge in this case has been notified that you are
                     currently not in good standing to file in this court. Renewal Due by 4/8/2025. (zhcn)
                     4/2/2025 (zapb). (Entered: 04/02/2025)
   04/02/2025        MINUTE ORDER. Any opposition to 97 defendants' motion for a stay pending appeal
                     is due by 12:00 noon today, April 2, 2025. SO ORDERED. Signed by Judge Amy
                     Berman Jackson on 4/2/25. (DMK) (Entered: 04/02/2025)
   04/02/2025    98 Memorandum in opposition to re 97 Motion to Stay filed by NATIONAL
                    TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                    PEOPLE, TED STEEGE, VIRGINIA POVERTY LAW CENTER, CFPB
                    EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 04/02/2025)
   04/02/2025    99 NOTICE of Proposed Order by NATIONAL TREASURY EMPLOYEES UNION,
                    NATIONAL CONSUMER LAW CENTER, NATIONAL ASSOCIATION FOR THE
                    ADVANCEMENT OF COLORED PEOPLE, TED STEEGE, VIRGINIA POVERTY
                    LAW CENTER, CFPB EMPLOYEE ASSOCIATION re 98 Memorandum in
                    Opposition, (Gupta, Deepak) (Entered: 04/02/2025)
   04/02/2025        MINUTE ORDER. The parties are directed to inform the Court of their positions on
                     whether this Court has jurisdiction to consider 97 defendants' motion to stay the
                     preliminary injunction, given the pendency of the earlier motion to stay that defendants
                     filed with the D.C. Circuit, and the fact that the Circuit −− upon consideration of not
                     only defendants' motion but also plaintiffs' motion to strike the stay motion on the
                     grounds that the defense should have moved in this Court first −− has set a briefing
                     schedule and oral argument on that motion. SO ORDERED. Signed by Judge Amy
                     Berman Jackson on 4/2/25. (DMK) (Entered: 04/02/2025)
   04/02/2025   100 RESPONSE TO ORDER OF THE COURT re Order,, filed by NATIONAL
                    TREASURY EMPLOYEES UNION, NATIONAL CONSUMER LAW CENTER,
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                    PEOPLE, TED STEEGE, VIRGINIA POVERTY LAW CENTER, CFPB
                    EMPLOYEE ASSOCIATION. (Gupta, Deepak) (Entered: 04/02/2025)
   04/03/2025   101 RESPONSE TO ORDER OF THE COURT re Order,, filed by RUSSELL VOUGHT,
                    CONSUMER FINANCIAL PROTECTION BUREAU. (Holland, Liam) (Entered:
                    04/03/2025)
   04/03/2025   102 ORDER granting in part and denying in part 97 Motion to Stay. See order for details.
                    Signed by Judge Amy Berman Jackson on 4/3/25. (DMK) (Entered: 04/03/2025)
   04/03/2025        MINUTE ORDER denying as moot 92 Plaintiffs' Motion for Briefing Schedule.
                     Signed by Judge Amy Berman Jackson on 4/3/25. (DMK) (Entered: 04/03/2025)
   04/15/2025   103 MOTION to Stay Proceedings Pending Final Resolution of the Expedited Appeal of
                    this Court's Preliminary Injunction Order, MOTION for Extension of Time to File
                    Answer (in the alternative) until 30 days after Defendants' Motion to Stay Proceedings
                    is denied by CONSUMER FINANCIAL PROTECTION BUREAU, RUSSELL
                    VOUGHT. (Attachments: # 1 Exhibit 1−−Order Expediting Appeal, NTEU v. Vought,
                    No. 25−5091 (D.C. Cir. Apr. 11, 2025), # 2 Text of Proposed Order)(Holland, Liam)
                    (Entered: 04/15/2025)
   04/15/2025   104 MEMORANDUM re 103 MOTION to Stay Proceedings Pending Final Resolution of
                    the Expedited Appeal of this Court's Preliminary Injunction Order MOTION for
                    Extension of Time to File Answer (in the alternative) until 30 days after Defendants'
                    Motion to Stay Proceedings is denied by CONSUMER FINANCIAL PROTECTION
                    BUREAU, RUSSELL VOUGHT. (Holland, Liam) (Entered: 04/15/2025)



                                                                                                          JA14
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   04/17/2025   105 Emergency MOTION for Order to Show Cause by CFPB EMPLOYEE
                    ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                    COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                    TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                    CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                    04/17/2025)
   04/17/2025        MINUTE ORDER. In light of 105 plaintiffs' motion for an order to show cause as to
                     why defendants have not violated the preliminary injunction in this case, the Court will
                     conduct a hearing on Friday, April 18, 2025 at 11:00 AM in Courtroom 25A. It is
                     ORDERED that defendants must have a person with personal knowledge of the scope
                     of the Reduction in Force ("RIF") and the decision to implement it, such as the CFPB
                     Chief Operating Officer or the Operations Manager or Chief of the Office of Human
                     Capital, present at the hearing. It is FURTHER ORDERED that by 10:00 AM Friday,
                     April 18, defendants must file with the Court: copies of any letters, memoranda, or
                     emails sent to CFPB staff from Chief Legal Officer Mark Paoletta and/or Acting
                     Director Russell Vought this week; representative samples of any RIF or layoff notices
                     that have been issued or will be issued on April 18; and a list of all of the employees
                     involved and their job titles. The list of employees must be filed under seal to avoid the
                     publication of personal information with a redacted version filed on the public docket;
                     an unredacted copy should be emailed to the Court's Deputy Clerk. SO ORDERED.
                     Signed by Judge Amy Berman Jackson on 4/17/25. (DMK) (Entered: 04/17/2025)
   04/18/2025   106 NOTICE of Declarations by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                    ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                    NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                    EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER re
                    105 Motion for Order to Show Cause, (Attachments: # 1 Declaration of Jennifer
                    Bennett, # 2 Declaration of Matthew Pfaff (Third), # 3 Declaration of Emory Doe
                    (Second))(Gupta, Deepak) (Entered: 04/18/2025)
   04/18/2025   107 NOTICE of Appearance by Charles E.T. Roberts on behalf of All Defendants
                    (Roberts, Charles) (Entered: 04/18/2025)
   04/18/2025   108 SEALED DOCUMENT filed by CONSUMER FINANCIAL PROTECTION
                    BUREAU, RUSSELL VOUGHT re Order,,,,,, Set Hearings,,,,, (This document is
                    SEALED and only available to authorized persons.) (Attachments: # 1 a list of all of
                    the employees involved in the RIF and their job titles)(Holland, Liam) (Entered:
                    04/18/2025)
   04/18/2025   109 DECLARATION of Mark Paoletta by CONSUMER FINANCIAL PROTECTION
                    BUREAU, RUSSELL VOUGHT re Order,,,,,, Set Hearings,,,,,. (Holland, Liam)
                    (Entered: 04/18/2025)
   04/18/2025   110 DECLARATION by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                    ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                    NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                    EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER.
                    (Attachments: # 1 Declaration)(Gupta, Deepak) (Entered: 04/18/2025)
   04/18/2025   111 DECLARATION of Alex Doe by CFPB EMPLOYEE ASSOCIATION, NATIONAL
                    ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE,
                    NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                    EMPLOYEES UNION, TED STEEGE, TZEDEK DC, VIRGINIA POVERTY LAW
                    CENTER re 105 Emergency MOTION for Order to Show Cause . (Bennett, Jennifer)
                    (Entered: 04/18/2025)
   04/18/2025        Minute Entry for proceedings held before Judge Amy Berman Jackson: Show Cause
                     Hearing held on 4/18/2025. Evidentiary Hearing set for 4/28/2025 at 9:30 AM in
                     Courtroom 25 (In Person) before Judge Amy Berman Jackson. Order forthcoming via
                     chambers on the issues discussed on the record and for further proceedings. (Court
                     Reporter Jan Dickman.) (zakb) (Entered: 04/18/2025)
   04/18/2025   112 TRANSCRIPT OF PROCEEDINGS before Judge Amy Berman Jackson held on April
                    18, 2025; Page Numbers: 1−23. Date of Issuance: April 18, 2025. Court Reporter:
                    Janice Dickman, Telephone number: 202−354−3267, Transcripts may be ordered by
                    submitting the Transcript Order Form

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                      For the first 90 days after this filing date, the transcript may be viewed at the
                      courthouse at a public terminal or purchased from the court reporter referenced above.
                      After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                      (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                      days to file with the court and the court reporter any request to redact personal
                      identifiers from this transcript. If no such requests are filed, the transcript will be made
                      available to the public via PACER without redaction after 90 days. The policy, which
                      includes the five personal identifiers specifically covered, is located on our website at
                      www.dcd.uscourts.gov.

                      Redaction Request due 5/9/2025. Redacted Transcript Deadline set for 5/19/2025.
                      Release of Transcript Restriction set for 7/17/2025.(Dickman, Janice) (Entered:
                      04/18/2025)
   04/18/2025   113 ORDER. As stated on the record at the hearing held on this date, defendants are
                    ordered as follows: the Reduction in Force announced by Acting Director Vought on
                    or about April 17, 2025 is SUSPENDED and it may NOT be implemented,
                    effectuated, or completed in any way until this Court has ruled on plaintiffs' motion to
                    enforce the preliminary injunction, and the defendants are PROHIBITED from
                    discontinuing any employee's access to work systems, including email and internal
                    platforms until this Court has ruled on plaintiffs' motion. Plaintiffs may issue requests
                    for production of documents to defendants by Friday, April 18; defendants' response to
                    the motion to enforce is due by Tuesday, April 22; plaintiffs' reply is due by Thursday,
                    April 24; and a hearing is set for Monday, April 9:30 a.m. See Order for details.
                    Signed by Judge Amy Berman Jackson on 4/18/25. (DMK) (Entered: 04/18/2025)
   04/18/2025   114 MOTION to set a deadline for defendants' production by CFPB EMPLOYEE
                    ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                    COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                    TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                    CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                    04/18/2025)
   04/18/2025   115 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 113 Order,,, by RUSSELL
                    VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. Fee Status: No Fee
                    Paid. Parties have been notified. (Holland, Liam) (Entered: 04/18/2025)
   04/18/2025   116 MOTION to Clarify re 113 Order,,, by CFPB EMPLOYEE ASSOCIATION,
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED
                    PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL TREASURY
                    EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW CENTER.
                    (Gupta, Deepak) (Entered: 04/18/2025)
   04/19/2025   117 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court
                    of Appeals. The Court of Appeals docketing fee was not paid because the appeal was
                    filed by the government re 115 Notice of Appeal to DC Circuit Court. (zjd) (Entered:
                    04/19/2025)
   04/19/2025         MINUTE ORDER granting 114 motion to set a deadline for defendants' production. It
                      is ORDERED that defendants must produce all documents responsive to the plaintiffs'
                      request for production of documents by 12:00 p.m. ET on Tuesday, April 22, 2025.
                      Signed by Judge Amy Berman Jackson on 4/19/2025. (DMK) (Entered: 04/19/2025)
   04/19/2025         MINUTE ORDER granting 116 plaintiffs' motion to clarify 113 the April 18, 2025
                      order. Given the preliminary showing made by plaintiffs that they are likely to
                      establish that the defendants have not conducted a particularized assessment that the
                      more than 1400 employees subject to the RIF are unnecessary to the agency's
                      performance of its statutory duties; that, with the RIF, the agency will be unable to
                      operate the Office of Consumer Response as required by statute and the preliminary
                      injunction order; and that the planned RIF is in violation of this Court's order as stayed
                      in part; and in light of the findings embodied in the preliminary injunction order that
                      dismantling the agency would be contrary to law and would cause the plaintiffs
                      irreparable harm, the Court temporarily enjoined the RIF pursuant to Federal Rule of
                      Civil Procedure 65 and its inherent authority to enforce its own orders. This is a

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                     non−final, interim order to enable the Court to determine −− on the schedule requested
                     by the parties and based on sworn testimony and contemporaneous records −− whether
                     the RIF is compliant with the existing injunction or not. The order −− to which
                     defendants raised no objection at the hearing −− will remain in place for no more than
                     14 days, "unless before that time the court, for good cause, extends it for a like period
                     or the adverse party consents to a longer extension." Fed. R. Civ. Pro. 65(b)(2). It is
                     further clarified that the April 18 order prohibits defendants from discontinuing an
                     employee's access to work systems as part of the enjoined RIF, but the provisions in
                     the March preliminary injunction order that enable the agency to make individual
                     employment decisions in the ordinary course of business remain unchanged. SO
                     ORDERED. Signed by Judge Amy Berman Jackson on 4/19/2025. (DMK) (Entered:
                     04/19/2025)
   04/19/2025        USCA Case Number 25−5132 for 115 Notice of Appeal to DC Circuit Court filed by
                     RUSSELL VOUGHT, CONSUMER FINANCIAL PROTECTION BUREAU. (mg)
                     (Entered: 04/21/2025)
   04/21/2025        MINUTE ORDER. The defendants are advised that Mark Paoletta must be present at
                     the April 28, 2025 evidentiary hearing and available to testify concerning the matters
                     in his declaration 109 . Defendants must also ensure that Gavin Kliger and Adam
                     Martinez are present and available to testify. The plaintiffs must have at least one
                     member of the CFPB RIF team with personal knowledge of the events described in the
                     declaration 111 of Alex Doe present and available to testify; the witness may utilize a
                     pseudonym on the record. Neither party is limited to these witnesses, however. The
                     parties must docket any exhibits they intend to introduce or utilize during the
                     testimony of the witnesses by 12:00 noon on Saturday, April 26, 2025. SO
                     ORDERED. Signed by Judge Amy Berman Jackson on 4/21/25. (DMK) (Entered:
                     04/21/2025)
   04/22/2025   118 Joint MOTION for Order under Federal Rule of Evidence 502(d) by CONSUMER
                    FINANCIAL PROTECTION BUREAU, RUSSELL VOUGHT. (Attachments: # 1
                    Text of Proposed Order)(Holland, Liam) (Entered: 04/22/2025)
   04/22/2025   119 ORDER granting 118 joint motion for order under Federal Rule of Evidence 502(d).
                    See order for details. Signed by Judge Amy Berman Jackson on 4/22/25. (DMK)
                    (Entered: 04/22/2025)
   04/22/2025   120 Joint MOTION for Protective Order by CONSUMER FINANCIAL PROTECTION
                    BUREAU, RUSSELL VOUGHT. (Attachments: # 1 Text of Proposed
                    Order)(Holland, Liam) (Entered: 04/22/2025)
   04/22/2025   121 RESPONSE re 105 Emergency MOTION for Order to Show Cause Defendants'
                    Response to Plaintiffs' Motion to Enforce filed by CONSUMER FINANCIAL
                    PROTECTION BUREAU, RUSSELL VOUGHT. (Holland, Liam) (Entered:
                    04/22/2025)
   04/23/2025   122 PROTECTIVE ORDER. See stipulated order for details. Signed by Judge Amy
                    Berman Jackson on 4/23/25. (DMK) (Entered: 04/23/2025)
   04/23/2025   123 Unopposed MOTION for Extension of Time to File Response/Reply as to 105
                    Emergency MOTION for Order to Show Cause and to Enforce by CFPB EMPLOYEE
                    ASSOCIATION, NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                    COLORED PEOPLE, NATIONAL CONSUMER LAW CENTER, NATIONAL
                    TREASURY EMPLOYEES UNION, TED STEEGE, VIRGINIA POVERTY LAW
                    CENTER. (Attachments: # 1 Text of Proposed Order)(Gupta, Deepak) (Entered:
                    04/23/2025)
   04/23/2025        MINUTE ORDER granting 123 unopposed motion for extension of time. Plaintiffs'
                     reply in support of their motion to enforce is due Friday, April 25, 2025. SO
                     ORDERED. Signed by Judge Amy Berman Jackson on 4/23/25. (DMK) (Entered:
                     04/23/2025)




                                                                                                          JA17
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


  NATIONAL TREASURY
  EMPLOYEES UNION,
     800 K Street, NW
     Washington, DC 20001,

  NATIONAL CONSUMER LAW
  CENTER,
     7 Winthrop Square
     Boston, MA 02110
                                       Civil Action No. 25-cv-381-ABJ
  NATIONAL ASSOCIATION FOR
  THE ADVANCEMENT OF                   FIRST AMENDED COMPLAINT
  COLORED PEOPLE,
     4805 Mt. Hope Drive,              TEMPORARY RESTRAINING
     Baltimore, MD 21215               ORDER REQUESTED

  VIRGINIA POVERTY LAW
  CENTER,
     919 East Main Street
     Richmond, VA 23219,

  PASTOR EVA STEEGE,
     address omitted per LCvR 5.1,

  CFPB EMPLOYEE
  ASSOCIATION,
     1015 15th Street, NW
     Washington, DC 20005,

           Plaintiffs,

            v.


  RUSSELL VOUGHT, in his official
  capacity as Acting Director of the
  Consumer Financial Protection
  Bureau,
     1700 G Street NW
     Washington, DC 20552, and




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  CONSUMER FINANCIAL
  PROTECTION BUREAU,
    1700 G Street NW
    Washington, DC 20552,

            Defendants.

                                 INTRODUCTION

       1.     In the aftermath of the 2008 financial crisis, Congress established the

 Consumer Financial Protection Bureau and charged it with supervising and

 regulating financial institutions across the country as well as assisting consumers

 harmed by those institutions. That mandate to the Executive Branch has led to the

 recovery of billions of dollars for average Americans and, as Congress required,

 produced a more “fair, transparent, and competitive” market for financial products

 and services. 12 U.S.C. § 5511. Congress established the CFPB through the exercise

 of its constitutional power to regulate commerce, and Congress has the ability to

 eliminate the CFPB through that same power. Congress has not done so.

       2.     In defiance of Congress’s role in our constitutional system and the

 separation of powers, President Trump has resolved to “totally eliminate[]” the

 CFPB.

       3.     To carry out that plan, he fired the CFPB’s director and illegally

 installed Russell Vought as the acting director on February 7. That same day, Elon

 Musk posted on his social media account “CFPB RIP.”

       4.     With a series of escalating actions beginning on February 8, Vought took

 drastic steps to make that promise a reality. First, he instructed CFPB staff and

 contractors to “immediately” stop all work that involved promulgating rules and


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 guidance, investigations, public communications, supervision of covered entities

 contracting, and litigation. He then informed the Federal Reserve that the CFPB

 would not take any additional funding for its operations in the next quarter. The next

 day, Vought directed staff “not [to] perform any work tasks” at all—including tasks

 mandated by statute. He also directed staff not to come into the office. Just one day

 later, February 10, Vought announced that the CFPB’s Washington, DC

 headquarters was closed—and has since taken steps to cancel the lease on the

 building.

       5.     Vought didn’t stop there. The next day, February 11, he cancelled $100

 million of contracts with companies that enabled the CFPB to do all aspects of its

 work, from processing consumer complaints to litigation to supervision. That same

 day, he took the dramatic step of firing, in indiscriminatory fashion, 70 probationary

 employees. To add insult to injury, he communicated the news via a mail-merged

 form email that didn’t bother to personally address the fired employees who viewed

 the email on their phones.

       6.     On February 12, the Bureau’s statutorily mandated consumer complaint

 went dark, cutting off one of the Bureau’s most direct links with consumers in dire

 financial straits. The Bureau’s Consumer Response function is now functioning at

 diminished capacity at best, threatening a vital lifeline that collects hundreds of

 thousands of consumer complaints a month.

       7.     Vought is not expected to stop there. On information and belief, Vought

 intends to return the CFPB’s operating reserves to the Federal Reserve. Given that



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 he has already informed the Federal Reserve that the CFPB will not take any

 additional funding, that would eliminate its entire budget. And Vought has planned

 another mass layoff that may occur imminently—as early as today or tomorrow.

       8.     American consumers are already suffering the consequences. Plaintiff

 Pastor Eva Steege—an 83 year old Lutheran pastor whose doctors have told her she

 has less than six months to live—can no longer discharge her student loan debt before

 she dies because the CFPB cancelled its meeting with her and the Bureau’s

 statutorily mandated Student Loan Ombudsman’s office has been forced to shut its

 doors. Meanwhile, military servicemembers and their families who are owed refund

 payments based on a consent order between a predatory car title lender and the CFPB

 are not getting those refunds because the payments must first be approved by CFPB

 employees—who, of course, cannot work.

       9.     Neither the President nor the head of the CFPB has the power to

 dismantle an agency that Congress established. By suspending the statutorily

 mandated activities of the CFPB, Trump and Vought’s shutdown of the CFPB runs

 afoul of core constitutional separation of powers principles, Congress’s express

 statutory directive, and the Administrative Procedure Act.

       10.    Trump and Vought’s actions to disable the CFPB have already caused

 mass confusion and imposed significant and irreparable harm on consumers across

 the country. Absent immediate relief, the defendants will continue to upend the lives

 of countless civil servants. Consumers who were relying on the CFPB to help resolve

 urgent financial disputes—disputes that, absent the CFPB’s intervention, can lead to



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 foreclosure or the inability to get a loan or rent an apartment—have been abandoned.

 Even litigation that was already pending against financial institutions that scammed

 consumers and exploited ordinary Americans has come to a halt, and the agency is

 not conducting any new enforcement actions. All supervision of financial institutions

 has been cancelled. With each day that the agency remains shut down, the financial

 institutions that seek to prey on consumers are emboldened—harming their law-

 abiding competitors and the consumers who fall victim to them.

                           JURISDICTION AND VENUE

        11.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,

 because this action arises under the laws of the United States, namely, the United

 States Constitution and the Administrative Procedure Act (APA), 5 U.S.C. §§ 702,

 706.

        12.   Venue is proper in this judicial district under 28 U.S.C. § 1391(e)(1)(A)

 because the defendants are officers and agencies of the United States.

                                      PARTIES

        13.   Plaintiff National Treasury Employees Union is the exclusive

 bargaining representative of employees at 37 federal departments and agencies, more

 than 1,000 of whom work at the CFPB. About sixty probationary employees who were

 fired were represented by NTEU.

        14.   Plaintiff National Consumer Law Center uses the tools of advocacy,

 education, and litigation to fight for economic justice for low-income and other

 vulnerable people who have been abused, deceived, discriminated against, or left



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 behind in our economy. NCLC interacts with and relies on the CFPB in many ways:

 the Bureau purchases NCLC’s publications and hires NCLC to conduct trainings for

 CFPB employees; NCLC’s treatises and reports rely heavily, and link to, the CFPB’s

 reports and data; and NCLC uses the CFPB’s complaint database to draft reports.

       15.    Plaintiff National Association for the Advancement of Colored People is

 the oldest and largest civil rights organization in the United States. Its mission is to

 achieve equality, political rights, and social inclusion by advancing policies and

 practices that expand human and civil rights, eliminate discrimination, and

 accelerate the well-being, education, and economic security of Black people and all

 persons of color. The NAACP was actively working with the CFPB to address

 predatory practices targeted at its members in the wake of the Los Angeles wildfires.

       16.    Plaintiff Virginia Poverty Law Center is a 501(c)(3) nonprofit

 organization that since 1978 has worked to break down systemic barriers that keep

 low-income Virginians in the cycle of poverty through advocacy, education, litigation,

 and direct counseling and referral services. It routinely relies on the CFPB’s

 consumer response function, consumer complaint database, and CFPB research and

 publications to serve its client base.

       17.    Plaintiff Rev. Eva Steege is an 83-year-old retired pastor of the

 Evangelical Lutheran Church in America. Pastor Steege took on student loans to

 pursue higher education at a seminary, to fulfill her calling as a pastor. Because of

 her advanced chronic obstructive pulmonary disease, Pastor Steege has been told that

 she has no longer than six months to live. She is entitled to discharge her loans under



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 the Public Service Loan Forgiveness Program, and the CFPB was helping her do so.

 Pastor Seege wants to ensure that she discharges her debt before she dies, so that

 she will not burden her surviving family, and because she could pass on to her family

 as much as $15,000 of overpayments. Pastor Steege had a meeting scheduled with

 the Bureau this week that was suddenly cancelled because of the CFPB’s unlawful

 closure. Absent the CFPB’s assistance, it is unlikely that she will be able to discharge

 her debt and get her overpayments returned before she passes away.

       18.    Plaintiff CFPB Employee Association is a membership organization of

 dedicated public servants committed to advocating for the interests of the Consumer

 Financial Protection Bureau. Its members include current and former employees of

 the CFPB, including probationary employees who were recently terminated.

       19.    Defendant Russell Vought is the Acting Director of the Consumer

 Financial Protection Bureau. He is sued in his official capacity.

       20.    Defendant Consumer Financial Protection Bureau is an agency of the

 United States.

                                   BACKGROUND

 Statutory Creation of the CFPB

       21.    In July 2010, Congress enacted the Dodd-Frank Wall Street Reform and

 Consumer Protection Act (Dodd-Frank Act), Pub. L. No. 111-203, 124 Stat. 1376, 1376

 (2010), “[t]o promote the financial stability of the United States by improving

 accountability and transparency in the financial system, to end ‘too big to fail’, to




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 protect the American taxpayer by ending bailouts, [and] to protect consumers from

 abusive financial services practices.” Id.

       22.    Title X of the Dodd-Frank Act, titled the Consumer Financial Protection

 Act of 2010 (CFP Act), established the CFPB as an “independent bureau” within the

 Federal Reserve System. 12 U.S.C. § 5491(a). Congress tasked the CFPB with

 “implement[ing]” and “enforc[ing]” a large body of financial consumer protection laws

 to “ensur[e] that all consumers have access to markets for consumer financial

 products and services and that markets for consumer financial products and services

 are fair, transparent, and competitive.” Id. § 5511(a). Congress required the CFPB’s

 “principal office” to be located in Washington, D.C. Id. § 5491(a).

       23.    The CFPB is headed by a single Director, who is appointed by the

 President with the advice and consent of the Senate. 12 U.S.C. § 5491(b)(1)–(2).

 Congress required that the Bureau’s Deputy Director, who is “appointed by the

 Director,” shall “serve as acting Director in the absence or unavailability of the

 Director.” Id. § 5491(b)(5).

       24.    The CFP Act charges the CFPB with numerous mandatory duties to

 protect consumers and taxpayers. including duties related to the supervision of

 financial institutions, research and education, enforcement, and rulemaking. See

 generally P.L. 111-203, Title X, §§ 1001–1100H. Among other things, Congress

 required the CFPB to perform the following activities:

              a.     Obligations     to   Monitor    and    Respond    to   Consumer

       Complaints. The CFP Act requires the CFPB to “collect[],” “monitor[],” and



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       “respon[d] to consumer complaints regarding consumer financial products or

       services.” Id. § 5493(b)(3)(A). The CFPB is further required to “establish …

       reasonable procedures to provide a timely response to consumers” for

       complaints or inquiries. Id. § 5534. Those complaints can and do “help

       consumers get resolution to the problems they encounter.”1

             b.     Research, Reporting, and Information Obligations. The Act

       imposes on the CFPB numerous research, reporting, and information

       obligations. For example, the CFPB is required to “research[], analyz[e], and

       report[]” on market developments for consumer financial products or services

       and consumer understanding of and access to financial products. Id.

       § 5493(b)(1). In addition, it is required to publish and disseminate information

       about credit rates and credit cards. See 15 U.S.C. §§ 1646(a), (b); id. §

       1632(d)(3). And the CFPB must “provide staff and data processing resources”

       to the Federal Financial Institutions Examination Council, 12 U.S.C. § 2809(c),

       and to compile information on depository institutions and aggregate lending

       patterns, id. § 2809(a).

             c.     Obligations to establish specific offices. Congress further

       required the CFPB to establish offices that perform specified tasks or aid

       specific groups of consumers. For example, the CFP Act requires that a Private

       Education Loan Ombudsman “provide timely assistance to borrowers of


       1 CFPB, Four million complaints: More than just a milestone (Sep. 29, 2023),

 https://www.consumerfinance.gov/about-us/blog/four-million-complaints-more-than-
 just-a-milestone/.

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      private education loans.” Id. § 5535(a). Among other things, the Ombudsman

      is required to “compile and analyze data on borrower complaints regarding

      private education loans” and, in accordance with regulations, “receive, review,

      and attempt to resolve informally complaints” from loan borrowers. Id. §§

      (c)(1)(3).

             In addition, the statute requires the CFPB to establish an Office of

      Financial Protection for Older Americans that “shall … monitor certifications

      or designations of financial advisors who advise seniors and alert the

      Commission and State regulators of certifications or designations that are

      identified as unfair, deceptive, or abusive” and “conduct research … to educate

      and counsel seniors about personal finance management.” Id. §§ (g)(3)(B), (D).

             The Act also requires the establishment of several other offices,

      including the Office of Service Members Affairs, which “shall be responsible for

      developing and implementing initiatives for service members and their

      families,” id. § (e)(1); the Office of Financial Education, which is mandated to

      “implement a strategy to improve the financial literacy of consumers” through

      various “activities including providing opportunities for consumers to access”

      services, information, and assistance,” id. § (d)(2); and the Office of Fair

      Lending and Equal Opportunity, which provides oversight and enforcement of

      various federal laws and “work[s] with private industry, fair lending, civil

      rights, consumer and community advocates on the promotion of fair lending

      compliance and education,” id. § 5493(c).



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              d.    Supervision. The Dodd-Frank Act gives the CFPB broad

       supervisory authority to examine financial institutions for compliance with

       federal consumer financial laws. 12 U.S.C. §§ 5514, 5515. For example, the

       CFPB “shall require reports and conduct examinations on a periodic basis” of

       payday lenders and private education lenders. Id. § 5514(b)(1). In addition, for

       insured depository institutions and credit unions with more than $10 billion in

       assets, the CFPB “shall have exclusive authority to require reports and conduct

       examinations on a periodic basis” to “assess[] compliance” with federal law,

       “obtain information” about the activities, systems and procedures of the entity,

       and “detect[] and assess[] risks to consumers and to markets for consumer

       financial products and services.” 12 U.S.C. § 5515(b)(1).

       25.    The Act also confers rulemaking authority on the CFPB. See 12 U.S.C.

 § 5512(b). The CFPB has the authority to prescribe rules identifying acts or practices

 that are “unfair, deceptive, or abusive,” id. § 5531(b), and rules imposing disclosure

 requirements to help consumers understand the terms, benefits, costs, and risks of

 financial products and services, id. § 5532; see also id. § 5533. The CFPB also has

 rulemaking authority pursuant to 19 federal statutes that govern numerous

 consumer activities and services, including debt collection practices, debit card

 transfers, overdraft services, consumer leases, mortgage lending, credit card lending,




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 mortgage appraisals, real estate settlement practices, and credit reporting. See 12

 U.S.C. §§ 5581(a)(1)(A), (b).2

       26.    Since its inception in 2010, the CFPB has fulfilled its statutorily

 mandated duties by creating the requisite administrative apparatuses and enacting

 dozens of rules and regulations. The agency has published hundreds of fact sheets,

 studies, and technical assistance documents that are used by financial services

 providers, consumers, advocates, and researchers. And the agency has helped

 millions of consumers obtain relief, both through formal enforcement actions, and

 through informal dispute resolution mechanisms required by Congress.

       27.    On average, the Bureau’s statutorily-mandated complaint resolution

 system receives approximately 350,000 complaints per month. In January 2025, the

 number was closer to 500,000. Although some complaints are automatically sent to


       2 See also Alternative Mortgage Transaction Parity Act, 12 U.S.C. §§3801, et

 seq.; the Consumer Leasing Act of 197615 U.S.C. §§1667, et seq.; the Electronic Funds
 Transfer Act, 15 U.S.C. §§1693, et seq., except with respect to section 920; the Equal
 Credit Opportunity Act, 15 U.S.C. §§1691, et seq.; the Fair Credit Billing Act, 15
 U.S.C. §§1666, et seq.; the Fair Credit Reporting Act, 15 U.S.C. §§1681, et seq., except
 with respect to sections 1681m(e) and 1681w; the Homeowners Protection Act of 1998,
 12 U.S.C. §§4901, et seq.; the Fair Debt Collection Practices Act, 15 U.S.C. §§1692, et
 seq.; subsections (b) through (f) of section 43 of the Federal Deposit Insurance Act, 12
 U.S.C. §§ 1831t(c)-(f); sections 502 through 509 of the Gramm-Leach-Bliley Act, 15
 U.S.C. §§6802-6809, except for section 6805 as it applies to section 6801(b); the Home
 Mortgage Disclosure Act of 1975, 12 U.S.C. §§2801, et seq.; the Home Ownership and
 Equity Protection Act of 1994, 15 U.S.C. §1639; the Real Estate Settlement
 Procedures Act of 1974, 12 U.S.C. §§2601, et seq.; the S.A.F.E. Mortgage Licensing
 Act of 2008, 12 U.S.C. §§5101, et seq.; the Truth in Lending Act (TILA), 15 U.S.C.
 §§1601, et seq.; the Truth in Savings Act, 12 U.S.C. §§4301, et seq.; section 626 of the
 Omnibus Appropriations Act, 2009, P.L. 111-8 §626; the Interstate Land Sales Full
 Disclosure Act, 15 U.S.C. §§1701, et seq.; and many provisions of the Mortgage
 Reform and Anti-Predatory Lending Act, Dodd-Frank Act Title XIV, Subtitles A, B,
 C, and E, and §§1471, 1472, 1475, and 1476).

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 companies, many have to be referred manually by a CFPB employee. CFPB

 employees also monitor the complaints to ensure that companies respond to

 consumers in a timely fashion and refer some complaints to the Bureau’s enforcement

 division. And some complaints—including ones related to imminent actions like

 foreclosures—are investigated by the Bureau’s Escalated Case Management Team.

 More than 1,000 of these complaints filed each year require attention from the

 Escalated Management.

       28.    Regardless of whether a complaint is sent to the Escalated Case

 Management Team, they are very often urgent. The majority relate to consumer

 credit reports, and most people do not become aware of an error on their reports until

 they are trying to secure a loan. Consumers also file complaints when they have been

 “debanked”—denied access to their accounts because of their past financial history—

 and face banks who are unwilling to help them restore their accounts. The CFPB is

 often the only resource available to help them regain access. Consumers also

 complain regularly about surprise fees and interest attached to payday loans.

 Consumers who need payday loans typically have little-to-no expendable income, and

 these surprise costs can mean missing the bus to work and therefore losing your job,

 skipping or rationing medications, or losing child-care.

       29.    The Dodd-Frank Act specifies that funding of the CFPB come from “the

 combined earnings of the Federal Reserve System.” See 12 U.S.C. § 5497.

       30.    The Act directs that, each quarter, the Board of Governors of the Federal

 Reserve will transfer “the amount determined by the Director [of the Bureau] to be



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 reasonably necessary to carry out the authorities of the Bureau,” subject to a

 statutory cap of 12% of the total operating expenses of the Federal Reserve (inflation

 adjusted). Id. § 5497(a)(1); see id. § 5497(a)(2)(A)–(B). In addition, the CFPB Director

 may request additional funds from Congress if necessary to carry out the authorities

 of the Bureau. See id. § 5497(e).

       31.      For Fiscal Year 2025, “[t]he CFPB’s projected budget estimate for its

 operations … [was] $810.6 million.”3

       32.      By letter to the Federal Reserve on October 8, 2024, then-CFPB Director

 Rohit Chopra requested a monetary transfer in the amount of $248,900,000, stating

 that he had “determined [it] is the amount necessary to carry out the authorities of

 the Bureau for FY2025 Q1.”4 Three days later, the Federal Reserve confirmed by

 letter that the requested funds had been transferred to the CFPB.5

       33.      By letter to the Federal Reserve on December 19, 2024, then-Director

 Chopra requested a monetary transfer of $245,100,000 to the CFPB, stating that he

 had “determined [it] is the amount necessary to carry out the authorities of the




       3 Cong. Research Service, R48295, The Consumer Financial Protection Bureau

 Budget:      Background,       Trends,      and    Policy     Options,  at   6,
 https://crsreports.congress.gov/product/pdf/R/R48295/2#:~:text=The%20CFPB's%20
 projected%20budget%20estimate,director%20or%20in%20CFPB's%20priorities.
       4  https://files.consumerfinance.gov/f/documents/cfpb_funds-transfer-request-
 fy-2025-q1.pdf.
       5     https://files.consumerfinance.gov/f/documents/cfpb_letter-from-frb-fy-2025-
 q1.pdf.

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 Bureau for FY 2025 Q2.”6 On January 2, 2025, the Federal Reserve confirmed by

 letter that the requested funds had been transferred to the CFPB.7

 Treasury Secretary Bessent named Acting Director of the CFPB and halts
 the CFPB’s Work

       34.       On February 1, 2025, President Trump fired then-Director of the CFPB

 Rohit Chopra as Director of the CFPB. Pursuant to Dodd-Frank, the CFPB’s then-

 Deputy Director, Zixta Martinez, then became Acting Director of the CFPB. See 12

 U.S.C. § 5491(b)(5).

       35.       Two days later, President Trump appointed Treasury Secretary Bessent

 as the Acting Director of the CFPB.

       36.       On February 3, 2025, then-Acting Director Bessent sent an email, titled

 “Instructions from Acting Director,” directing all CFPB staff and contractors to

 “immediately” suspend activities in six areas of work. Specifically, the February 3

 email stated that unless expressly approved by Bessent, all CFPB workers were

 required:

             •   “[n]ot to approve or issue any proposed or final rules or formal or
                 informal guidance”;

             •   “[t]o suspend the effective dates of all final rules that have been
                 issued or published but that have not yet become effective”;

             •   “[n]ot to commence, take additional investigative activities
                 related to, or settle enforcement actions”;



       6 https://files.consumerfinance.gov/f/documents/cfpb-12-19-letter-from-cfpb-to-

 frb_2025-01.pdf.
       7 https://files.consumerfinance.gov/f/documents/cfpb_01-02-letter-from-frb-to-
 cfpb_2025-01.pdf.

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             •   “[n]ot to issue public communications of any type, including
                 publication of research papers”;

             •   “[n]ot to approve or execute any material agreements, including
                 related to employee matters or contractors”; and

             •   “[n]ot to make or approve filings or appearances by the Bureau in
                 any litigation, other than to seek a pause in proceedings.”

 Id. The February 3 email stated that Acting Director Bessent was issuing these

 directives “to promote consistency with the goals of the Administration.” Id.

       37.       By email to all CFPB staff and contractors on February 4, 2025, Acting

 Director Bessent “[u]pdate[d]” his February 3 directive halting another category of

 work. He instructed CFPB employees “[n]ot to initiate supervisory designation

 proceedings or designate any nondepository institution for supervision.”

 Defendant Vought named Acting Director and halts CFPB’s Work

       38.       On Friday, February 7, 2025, President Trump named Russell Vought,

 the Director of the Office of Management and Budget, as Acting Director of the CFPB.

       39.       That same day, Elon Musk and other members of the so-called

 “Department of Government Efficiency” (DOGE) accessed CFPB’s headquarters and

 computer systems.8 Several hours later, Musk posted “CFPB RIP” with a tombstone

 emoji on his social-media site X.9




       8   https://www.politico.com/news/2025/02/07/elon-musk-team-cfpb-00203119;
 https://www.forbes.com/sites/saradorn/2025/02/10/trump-vs-cfpb-russ-vought-
 orders-consumer-financial-protection-bureau-to-stop-work/.
       9 https://x.com/elonmusk/status/1887979940269666769.


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       40.       Also on February 7, the CFPB’s official X account was deleted,10 and the

 CFPB’s website homepage was replaced with a banner stating, “404: Page not

 found.”11

       41.       On February 8, 2025, Acting Director Vought sent an email titled

 “Directives on Bureau Activities.” The email stated that Vought was “committed to

 implementing the President’s policies” and that “[t]o that end,” he directed all CFPB

 staff and contractors to comply “immediately” with nine directives to cease work,

 unless expressly approved by Vought:

             •   “[n]ot approve or issue any proposed or final rules or formal or
                 informal guidance”;

             •   “[s]uspend the effective dates of all final rules that have been
                 issued or published but that have not yet become effective”;

             •   “[n]ot commence, take additional investigative activities related
                 to, or settle enforcement actions”;

             •   “[n]ot open any new investigation in any manner, and cease any
                 pending investigations”;

             •   “[n]ot issue public communications of any type, including
                 publication of research papers and compliance bulletins”;

             •   “[n]ot approve or execute any material agreements, including
                 related to employee matters or contractors”;

             •   “[n]ot make or approve filings or appearances by the Bureau in
                 any litigation, other than to seek a pause in proceedings”;

             •   “[c]ease all supervision and examination activity”;



       10    https://www.forbes.com/sites/saradorn/2025/02/08/cfpbs-x-account-goes-
 dark-as-russell-vought-takes-over-elon-musk-posts-cfpb-rip/.
       11   https://www.forbes.com/sites/eriksherman/2025/02/09/consumer-financial-
 protection-bureau-adds-error-message-to-home-page/.

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              •   “[c]ease all stakeholder engagement.”

        42.       Approximately one hour later, Acting Director Vought stated in a social

 media post on X that he “ha[d] notified the Federal Reserve that CFPB will not be

 taking its next draw of unappropriated funding because it is not ‘reasonably

 necessary’ to carry out its duties.” 12

        43.       In the absence of taking a draw from the Federal Reserve, the Bureau

 must rely on its reserve fund.

        44.       On information and belief, Defendant Vought intends to imminently

 return the funds in the CFPB’s reserves to the Federal Reserve. Although Vought has

 stated that in his view, that money is not “necessary to fulfill the Bureau’s mandate,”

 without that money, the Bureau will be unable to fund its operations.

        45.       On the evening of February 9, 2025, CFPB Chief Operating Officer

 Adam Martinez sent an email to all CFPB staff stating that the CFPB’s headquarters

 would close the next day and instructing “[e]mployees and contractors … to work

 remotely unless instructed otherwise from our Acting Director or his designee.”13 No

 reason was given for the closure.

        46.       On the morning of Monday, February 10, 2025, Vought sent an email

 with the subject line “Additional Directives on Bureau Activities,” reiterating that

 the CFPB’s “DC headquarters building is closed this week.” The February 10 email



        12 https://x.com/russvought/status/1888423503537360986

        13  https://www.nytimes.com/2025/02/09/us/russell-vought-consumer-bureau-
 protect-hq-close.html; see https://www.reuters.com/world/us/cfpbs-headquarters-be-
 closed-coming-week-email-says-2025-02-09/.

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 directed all CFPB staff “not [to] perform any work tasks” at all and that “employees

 should stand down from performing any work task.” The email stated that “[i]f there

 are any urgent matters,” CFPB staff should “alert [Vought] through Mark Paoletta,”

 who is the Office of Management and Budget General Counsel and who was identified

 in the email as the CFPB’s Chief Legal Officer, “to get approval in writing before

 performing any work task.”

       47.    Later that day, reporters speaking with President Trump asked him to

 confirm that “his goal was to have [the CFPB] totally eliminated.” President Trump

 stated, “I would say, yeah, because we’re trying to get rid of waste, fraud, and

 abuse.”14 President Trump further stated, “[W]e did the right thing. [The CFPB] was

 a very important thing to get rid of, and it was also a waste. I mean, number one, it

 was a bad group of people running it, but it was also a waste.”15 President Trump

 reportedly “praised his administration for shutting the CFPB and used the past tense

 to describe the [CFPB].”16




       14 https://x.com/joeygarrison/status/1889132023933022283?mx=2.

       15        https://www.facebook.com/ANINEWS.IN/videos/shes-a-nasty-woman-
 trump-slams-senator-elizabeth-warren-after-her-cfpb-neutraliz/1227075188971091/;
 see also Alejandra Jaramillo, Trump confirms goal to “totally eliminate” the Consumer
 Financial      Protection    bureau,    CNN      Politics       (Feb.    10,    2025),
 https://www.cnn.com/politics/live-news/trump-doge-presidency-news-02-10-
 25/index.html (quoting President Trump).
       16  https://www.americanbanker.com/news/president-trump-confirms-his-goal-
 is-to-eliminate-the-cfpb

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 Defendants’ Additional Actions to Shut Down the CFPB

       48.    By email on the evening of February 11, 2025, approximately 70 CFPB

 employees who were newly hired and subject to a two-year probationary period were

 terminated.17 The email stated, “Unfortunately, the Agency finds that that [sic] you

 are not fit for continued employment because your ability, knowledge and skills do

 not fit the Agency’s current needs.”18

       49.    In the past few days, the CFPB has cancelled more than 150 vendor

 contracts. The canceled contracts reportedly include “102 vendor contracts for the

 CFPB’s enforcement division, 33 contracts linked to the director’s office, and 16

 contracts for the agency’s supervision unit.”19 The Bureau also cancelled nearly all

 contracts that underlie the consumer complaint function.

       50.    The defendants have reportedly informed the General Services

 Administration that they are terminating the lease of the CFPB’s headquarters office

 in Washington, D.C.

       51.    The defendants are also preparing to conduct another mass firing, this

 time of over 95% of the Bureau’s employees. That would make it impossible for the

 Bureau to fulfill any of its statutorily required functions.




       17    https://news.bloomberglaw.com/banking-law/cfpb-fires-70-enforcement-
 lawyers-other-probationary-employees
       18    https://news.bloomberglaw.com/banking-law/cfpb-fires-70-enforcement-
 lawyers-other-probationary-employees.
       19    https://news.bloomberglaw.com/banking-law/cfpb-cancels-more-than-100-
 million-in-contracts-amid-doge-probe.

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 Consequences of Defendants’ Stop-Work Orders

       52.    By freezing the CFPB’s work, the defendants have put an immediate

 halt to the CFPB’s performance of its statutorily mandated functions.

       53.    The defendants’ orders to halt work at the CFPB have had devastating

 consequences. Among countless other consequences, halting CFPB work has

 suspended oversight of the biggest banks to ensure that they comply with the law;

 pending rulemakings, including a rulemaking to stop data brokers from selling

 sensitive personal data to scammers, stalkers, and spies;20 and enforcement actions

 against institutions violating consumer financial protection laws.21

       54.    Shuttering the agency has also severely disrupted the CFPB’s consumer

 complaint operation: The hotline consumers call to submit complaints went offline,

 despite Congress’s clear command that the CFPB “establish[] a single, toll-free

 telephone number” for use in collecting complaints. 12 U.S.C. § 5493(b)(3)(A).

 Although the Bureau may now have reinstated the contractors who operate the

 hotline, the operation remains severely diminished. The CFPB cancelled the contract

 for the contractors that processed mailed-in complaints and complaints referred to

 the CFPB by other federal agencies and Congress. Complaints submitted online can’t



       20   https://www.consumerfinance.gov/about-us/newsroom/cfpb-proposes-rule-
 to-stop-data-brokers-from-selling-sensitive-personal-data-to-scammers-stalkers-
 and-spies/
       21 See Press Release, National Consumer Law Center, Unlawful Shut Down of

 Consumer Agency Endangers Working Families, Honest Businesses, and the Economy
 (Feb. 10, 2025), https://www.nclc.org/unlawful-shut-down-of-consumer-agency-
 endangers-working-families-honest-businesses-the-economy/ (identifying various
 impacted enforcement actions).

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 be sent to companies unless those companies are already in the CFPB’s system.

 Particularly devastating is that the Escalated Case Management Team—which

 responds to extremely time sensitive complaints, like those involving foreclosures—

 is not working. And consumers who filed complaints related to other time-sensitive

 matters—like correcting a credit report so that they can obtain a loan, or regaining

 access to a bank account after being frozen out—can’t rely on the CFPB to ensure

 they receive timely responses to their complaints, either.

       55.    The shutdown has had a similar effect on the Student Loan

 Ombudsman’s Office. The Office receives thousands of complaints a year, and its staff

 resolve hundreds of complaints each month. 2024 Annual Report of the CFPB

 Student Loan Ombudsman at 9.22

       56.    The complaints concern inaccurate billing statements, yearslong

 processing delays, inability to reach lenders to lodge complaints directly, and missing

 refunds of hundreds to tens of thousands of dollars.

       57.    The complaints are submitted through a telephone hotline, an electronic

 submission process and referrals from congressmembers and direct service

 organizations. Complaints are screened by contractors and Bureau staff before being

 routed to lenders, who are required to respond within 15 days.




       22  https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-
 loan-ombudsmans-report_2024-11.pdf.

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        58.    Because of the stop-work order, complaints are not being addressed by

 staff and not being routed to lenders, who sometimes resolve issues without the need

 for intervention from the CFPB.

        59.    The Ombudsman’s work has had profound impact on the borrowers it

 served. For instance, CFPB staff has successfully resolved complaints that involve

 schools withholding college transcripts and thereby preventing borrowers from

 pursuing employment. One borrower described the hold on her transcript as like a

 “hold on [her] life.”

        60.     Another borrower, had nearly $5,000 erroneously drawn from her

 account for a loan payment. She was given conflicting information and then told a

 refund could take 12 weeks. After lodging a complaint with the Ombudsman, she

 received a refund.

        61.    Another borrower had loans cancelled and was due a $20,000 refund.

 After contacting the lender directly and waiting nearly two years, the borrower lodged

 a complaint with the CFPB. The lender issued a refund shortly after.

        62.    Stories like this abound, and borrowers just like this will be left to the

 long delays, conflicting information, and denials of refunds that the Ombudsman’s

 office, when functioning, has helped others avoid.

        63.    These immediate consequences have already harmed each of the

 plaintiffs.

        64.    The National Treasury Employees Union’s more than 775 members at

 the CFPB face severe uncertainty and stress about their job security. Seventy CFPB



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 employees, many of whom were NTEU members, have already been fired. Those who

 have not yet been fired understandably fear for their jobs. Indeed, they have good

 reason to believe a mass layoff is imminent. And given the instructions to stop work,

 they lack clarity about their job status and their ability to comply with their usual

 work obligations.

       65.    The National Consumer Law Center has already had multiple of its

 contracts with the CFPB cancelled. Those cancellations will cost NCLC thousands of

 dollars. The CFPB’s subscription to NCLC’s publication, for example, funds much of

 the organization’s publishing work. CFPB employees have also withdrawn as

 panelists from trainings organized by NCLC. And NCLC relies extensively on data

 and reports published by the CFPB. Stopping the CFPB’s work will deprive NCLC of

 this important information going forward.

       66.    Pastor Steege has, over the years, had great difficulty in attempting to

 enroll in Public Service Loan Forgiveness. In late 2024, however, the pastor sought

 help from the CFPB. After an initial meeting with the Bureau in January 2025,

 Pastor Steege was hopeful that she might finally enroll in the program, have her

 loans forgiven, and, in fact, be returned $15,000 in overpayments. She scheduled a

 follow-up meeting with the Bureau for February 10, 2025. But the night before the

 meeting Pastor Steege learned that President Trump had taken steps to shut down

 the CFPB. Then, on the morning of the scheduled meeting, CFPB staff emailed Pastor

 Steege and informed her that, “due to new guidance CFPB employees recently

 received,” the meeting was cancelled. No new meeting was scheduled, and Pastor



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 Steege has no reason to believe that the CFPB—with its worked indefinitely

 stopped—will ever be able to help her.

       67.    The inability to seek loan forgiveness and a refund of $15,000 would be

 a devastating consequence standing alone. But it is even more dire for Pastor Steege.

 Because of her advanced cancer diagnosis, Pastor Steege has been told she has no

 more than six months to live. She hoped to have her loans forgiven so that she would

 not burden her surviving family with her debt, and so that they could use the $15,000

 refund for basic needs after she passes. If the CFPB isn’t able to help her, Pastor

 Steege will spend her final six months in great duress, worried that she is leaving her

 family with a financial burden and without the monetary help to which they are

 entitled. And if the loan is not forgiven while she is alive her family will be forced to

 pursue a death discharge that will not provide them with the $15,000 refund.

       68.    The NAACP was actively working with the CFPB to protect NAACP

 members who live in Altadena, California. Those members have been targeted by

 predatory financial practices in the wake of the Los Angeles wildfires. The complete

 freeze on the CFPB’s work has halted that collaboration and harmed both the NAACP

 members and the NAACP itself, which now must assist its members without the

 CFPB’s assistance.

       69.    The Virginia Poverty Law Center operates a Predatory Loan Helpline

 that consumers can call when they need help with unfair and predatory loans. The

 phone number is featured prominently on the Center’s website. Because of the

 Center’s limited staffing, even the CEO helps to answer the hotline.



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        70.    The Center routinely directs consumers who call the hotline to use the

 CFPB’s consumer response complaint function. It even notes this resource on the

 Center’s website.

        71.    This process takes Center staff approximately 10 minutes and gets

 timely and helpful results. In September, for example, the Center received a

 complaint about an out-of-state lender that had been claiming that it was not subject

 to Virginia law. The Center helped the consumer submit a complaint to the CFPB,

 and it quickly resulted in a reduction of the interest rate on the loan from 118% to

 36%, with a 50% reduction in payments. This is just one example of success the

 Center’s client base has seen from referrals. There are many others.

        72.    Before the CFPB’s existence, the Center used to handle these complaints

 entirely itself. It consumed far more resources to replicate what the CFPB now does

 in minutes. Because the Center’s staff is so limited, if it had to return to handling

 complaints itself, it would be unable to commit resources to other work.

        73.    The Center also uses the CFPB’s consumer response database to inform

 its work. If that database were not updated, or trustworthy, the Center would lose

 an important tool that it relies on to set its organizational priorities on what to

 advocate about and how to educate consumers.

        74.    Plaintiff CFPB Employee Association’s members include probationary

 employees who have already been fired, as well as current employees who rightly fear

 for their jobs.




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                                 CAUSES OF ACTION

                                     Count One
                  (Non-statutory review of official and agency action)

       75.    Plaintiffs have a non-statutory right of action to enjoing and declare

 unlawful official action that is ultra vires.

       76.    The Constitution vests executive power in the President. U.S. Const.,

 art. II, and imposes on the President a duty to “take Care that the Laws be faithfully

 executed.” U.S. Const. art. II, § 3.

       77.    The President of the United States has only those powers conferred on

 him by the Constitution and federal statutes.

       78.    Federal legislation must be passed by both chambers of Congress before

 it may be presented to the President, and, if signed, become law. U.S. Const., art. I.

 The President and Executive Branch have no authority under the Constitution to

 amend statutes unilaterally.

       79.    The CFPB was established as a federal agency by Congress by statute,

 the Dodd Frank Act, signed into law in 2010, and can be eliminated only by Congress.

       80.    Defendants’ actions to eliminate the CFPB exceed executive authority,

 usurp legislative authority conferred upon Congress by the Constitution, defendant

 Vought was not lawfully appointed, and his actions are ultra vires and should be

 enjoined.




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                                           Count Two
                        (Non-statutory review of official and agency action)

         81.      The Constitution mandates that the President obtain “the Advice and

 Consent of the Senate” before appointing “Officers of the United States.” U.S. Const.

 art. II, § 2, cl. 2.

         82.     The Director of the CFPB is an Officer of the United States.

         83.     President Trump appointed Defendant Vought as acting Director

 without the advice and consent of the Senate.             Defendant Vought was neither

 nominated nor confirmed by the Senate to that position.

         84.     President Trump purported to appoint Defendant Vought under the

 Federal Vacancies Reform Act, which allow for temporary appointments without the

 advice and consent of the Senate when the prior holder of a Senate-confirmed office

 “dies, resigns, or is otherwise unable to perform the functions and duties of the office.”

 5 U.S.C. § 3345(a).

         85.     But President Trump fired the last Senate-confirmed Director, Rohit

 Chopra. Chopra did not die, he did not resign, and he was not unable to perform the

 functions and duties of the office. He continued to perform them until the day he was

 fired, over a week into President Trump’s term.

         86.     The President’s appointment of Defendant Vought as Acting Director of

 the CFPB is therefore unconstitutional and Defendant Vought has no power to direct

 the agency.




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       87.    Congress has provided that, when the Bureau is missing a director, the

 deputy director shall lead the agency. See 5 U.S.C. § 5491(b)(5). The deputy director,

 not Defendant Vought, therefore has the authority to exercise the Bureau’s powers.

       88.    In addition, Congress has charged the Secretary of Education, not the

 Director, with responsibility for designating the Private Education Loan

 Ombudsman. 12 U.S.C. § 5535(a). The authority to control who holds that office rests

 with the Secretary. By functionally removing the ombudsman from the office by

 prohibiting her from doing any work, Defendant Vought has exercised power of the

 Secretary without being confirmed by the Senate to do so.

       89.    Because defendant Vought was not lawfully appointed, his actions are

 ultra vires and should be enjoined.

                                    Count Three
                       (Administrative Procedure Act—706(2)(C)

       90.    Under the APA, a court shall “hold unlawful and set aside agency action

 … in excess of statutory jurisdiction, authority, or limitations, or short of statutory

 right.” 5 U.S.C. § 706(2)(C).

       91.    Defendants’ actions and intended further actions to suspend or

 terminate CFPB’s statutorily mandated activities—including by issuing stop-work

 instructions, cancelling contracts, declining and returning funding, firing employees,

 and terminating the lease for its headquarters—constitute final agency action under

 the APA.




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       92.    No defendant possesses the statutory authority to require CFPB to cease

 work on the activities it is statutorily required to perform. Defendants’ actions exceed

 their statutory authority.

                                      Count Four
                        (Administrative Procedure Act—706(2)(A)

       93.    The APA authorizes this Court to hold unlawful and set aside final

 agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not

 in accordance with law.” 5 U.S.C. § 706(2)(A).

       94.    Defendants’ actions and intended further action to suspend or terminate

 CFPB’s statutorily mandated activities and to return the funding that the CFPB

 needs to sustain its operations constitute final agency actions under the APA.

       95.    Defendants’ actions were taken without notice, reasoned explanation, or

 reasonable recourse.

       96.    Defendants’ actions were arbitrary, capricious, unconstitutional, and

 not in accordance with law.

                               PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray that this Court:

       (A)    Declare that the defendants’ actions to dismantle the CFPB and their

 suspension of CFPB’s statutorily mandated activities are unlawful;

       (B)    Declare unlawful and set aside the defendants’ actions and intended

 further actions to dismantle the CFPB, including issuance of stop-work instructions,

 cancellation of contracts, declining and returning funding, reductions in force, firing

 of employees, and termination of the lease for its headquarters, as arbitrary,

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 capricious, an abuse of discretion, or otherwise not in accordance with law under 5

 U.S.C. § 706(2)(A), contrary to constitutional right, power, privilege, or immunity

 under 5 U.S.C. § 706(2)(B), and in excess of statutory jurisdiction, authority, or

 limitations, or short of statutory right under 5 U.S.C. § 706(2)(C);

       (C)     Issue an injunction barring Defendants Vought and CFPB from

 implementing or complying with the directions to cease work absent the

 authorization of Congress;

       (D)     Order Defendants Vought and CFPB to resume immediately all

 activities that CFPB is required by statute to perform;

       (E)     Issue a temporary restraining order and preliminary injunction

 directing Defendants Vought and CFPB to cease immediately actions to cease CFPB’s

 operations;

       (F)     Award Plaintiffs their costs, reasonable attorney’s fees, and other

 disbursements as appropriate; and

       (G) Grant such other relief as the Court deems necessary, just, and proper.


  Dated: February 13, 2025                      Respectfully submitted,

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             Exhibit 1




                                                                               JA50
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, eta!.,
                Plaintijjs,
       v.

  RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                        DECLARATION OF DANIELJ. KASPAR

        I, Daniel]. Kaspar, declare as follows:

    1. I am the Director of Field Operations and Organizing at the National Treasury Employees
       Union (NTEU). I have worked at NTEU since 2011.

    2. NTEU represents approximately 160,000 bargaining-unit employees across 37 federal
       departments and agencies. lv'lore than 775 of our members work at the Consumer Financial
       Protection Bureau (CFPB) . NTEU's mission is to ensure that all federal employees are
       treated with dignity and respect, and to fight for their fair pay, benefits and working
       conditions.

    3. As Director of Field Operations, I am responsible for overseeing NTEU's eight field offices
       across the country. Each field office employs one National Counsel and approximately five
       to seven field representatives. Every chapter (local) is assigned to a field office and field
       representative. NTEU field representatives serve as chapters ' and members' first line of
       contact with NTEU on a day-to-day basis.

    4. By virtue of my job duties, I am familiar with the details of NTEU's relationships with its
       chapters, chapter leaders, members, and bargaining-unit employees.

    5. Our members at the CFPB have faced rapidly increasing uncertainty about their ability to
       retain, let alone perform, their jobs. On February 3, 2025, the CFPB's Office of the
       Director emailed the Bureau's entire staff notifying them that they were not allowed to
       perform several basic and core agency functions "unless expressly approved by the Acting
       Director."

    6. Members of the Department of Government Efficiency (DOGE) entered the CFPB on
       February 6, 2025, and, by the next day, had gained access to all non-classified CFPB
       systems. Some of these systems contain CFPB employees' personal identifying information.




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       Bargaining-unit employees reasonably fear that DOGE team members or their
       presumptive leader, Elon Niusk, will leak employees' personal information to the public,
       leading to harassment. That fear is founded, in significant part, on Musk's proclivity to
       using his social media site to denigrate the Bureau. On February 7, 2025, for example, he
       posted "CFPB RIP" accompanied by a tombstone emoji to his personal X account.

    7. On February 8, 2025- without any communication with NTEU- the CFPB's just-
       appointed Acting Director, Russell Vought, ordered CFPB staff"to 'cease all supervision
       and examination activity," "cease all stakeholder engagement,' pause all pending
       investigations, not issue any public communications and pause 'enforcement
       actions.'" These are the core functions of the Bureau and nearly every bargaining-
       unit employee performs work in support of one or more of these functions.

    8. On February 9, 2025- again without any pre- or post-implementation notice or
       consultation with the union-all staff were informed that the CFPB's \Nashington, D.C .
       headquarters would be closed from February IO until February 14. Employees were left
       uncertain because they were not directed to work but also had not been put on any type of
       leave.

    9. The next day, Februa1y I 0, Acting Director Vought halted the CFPB's work entirely,
       writing in a message to staff: "Employees should not come into the office. Please do not
       perform any work tasks." "[U]rgent matters" could be handled onfy with the approval of
       the Bureau's Chief Legal Officer. "Otherwise," the email continues, "employees should
       stand down from performing any work task."

    I 0. This stop-work order has caused enormous confusion and stress among the bargaining unit
         and, specifically, NTEU's members. Staff inside the Bureau did not know how to
         implement the order. Some managers told staff that the directive broadly covers all
         activities, including individual meetings and training. Another supervisor told an employee
         that they were not allowed to check work emails. Several CFPB employees were told to
         shut off their laptops and not to work at all.

    11. There has also been mass confusion about how the stop-work order affects employees'
        ability to comply with their obligations under existing laws, rules and policies. For example,
        employees do not knovv whether, or how, to comply with imminent financial disclosure
        deadlines or if they should seek approval for participating in the kinds of outside activities
        they are normally allowed to do on behalf of the Bureau.

    12. CFPB attorneys are particularly concerned that they will violate their ethical obligations
        because they are not allowed to take any action under the stop-work order unless they get
        specific permission. For example, they wony that the stop-work order will cause them to
        fail to obey court orders that require them to make appearances or file papers.

    13. The stop-work order has also interfered with the CFPB's internal harassment and bullying
        policies. Complaints that were filed under those policies have not been allowed to proceed.
        Employees have no way of knowing if those grievances-which often involve ve1y sensitive
        matters- will ever be processed.

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                                                                                                         JA52
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    14. Particularly given the confusion surrounding the stop-work orders, our members are afraid
        of retaliation for even accidentally doing something that might later be considered a
        violation. The CFPB has set up a Twitter account urging companies to report CFPB
        employees who have purportedly violated the stop-work order. Employees are afraid that
        companies will report employees not only for purportedly working, but out of retaliation
        for having previously done their job of supervision or enforcement.

    15. One day after the stop-work order, on February 11, the CFPB 's acting chief human capital
        officer sent an email to approximately 70 CFPB employees telling them that they were
        fired.

    16. NTEU's members are profoundly affected by the CFPB's closure. The overwhelming
        majority of the 70 fired employees were NTEU members. These members relied on their
        continued employment at the CFPB for their livelihood and are now suddenly unemployed.

    17. :Members who are terminated will lose their health insurance and ability to pay for
        medicine and health care. One probationary employee has serious health conditions that
        are kept in remission by expensive medications and is already facing an $8,000 out of pocket
        bill for medication to keep them alive. If this employee does not receive treatment according
        to the prescribed schedule, their disease will recur, and they may develop antibodies that
        would mean they could never use their lifesaving medication again. Other probationary
        employees need their health insurance for chronic medical conditions and preventative
        testing for high-risk conditions, for recovery from surgeries they recently had, or for
        immediate fertility procedures (vvhich, if delayed, diminishes the employees' health and
        chance of fertility).

    18. Many members will also lose health insurance coverage for their entire families. One
        employee reports that both their spouse and their child received cancer diagnoses of
        differing types within the last 30 days, and without medical benefits they will not be able to
        continue with treatments or obtain necessary surgeries, which could ultimately result in
        their deaths. Those recent diagnoses will also prevent them from being eligible for future
        coverage for life insurance which had been established under the employee's employment
        with CFPB, and possibly prevent them from obtaining other medical coverage.

    19. Members have relocated to ·washington, D.C. from lower cost-of-living areas to take
        positions at the CFPB , and they now have leases and mortgages they have no way of paying.
        Employees report being unable to afford housing in their current neighborhoods where
        their children go to school, necessitating a move where they will need to remove their
        children from their current schools, communities and friends. Another employee purchased
        their first home in September 2024 and will not be able to pay their mortgage without their
        job. Employees report that they will have no choice but to take on high-interest debt, to sell
        their homes at a loss, or to default on financial obligations.

    20. lVIembers will face reputational harm to their careers because they were terminated from
        federal employment, which harms their ability to obtain new jobs in the private sector.
        Employees have already been told by private sector recruiters that there is a "stigma"

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       around their terminations, because the terminations vvere labeled "for cause." "For cause"
       terminations generally must be disclosed in response to questions in job application,
       interview, or background check processes, and they are materially damaging to employees'
       job prospects.

    21. One terminated employee is seven months pregnant, and thus her chance of getting new
        employment in the next several months is severely hindered. The employee submitted her
        request for maternity leave with the CFPB before her termination. Without new
        employment, her family will not be able to afford their mortgage. Additionally, she is risking
        recovery time and bonding time with her new infant because soon after giving birth, she
        will need to start looking for new employment.

    22. Multiple members at the CFPB were eligible for Public Service Loan Forgiveness (PSLF),
        and because they have lost their federal employment, they may not be able to complete the
        required 10 years of public service to have their student loans forgiven. One employee
        reports that they were very close to completing ten years in government prior to their
        termination, and because they may not find another qualifying public service job, they will
        lose a major financial benefit upon which they were relying, even though they faithfully
        completed the terms of the program. Even if they can secure another public service job,
        any months they are out of work will set back their progress in making qualifying payments.

    23. Another employee reports that they were planning to take the California bar in July 2025.
        As a result of the "for cause" termination, they now must disclose that they were dismissed
        for cause to the California bar.

    24. Pursuant to the CFPB's ethical requirements, one employee recently divested stock
        holdings that were intended to secure their retirement. They cannot regain those positions.
        Because of their loss in income, they will need to use those proceeds as they search for
        another position and will not be able to take advantage of the certificate of divestiture
        program, which means they will lose a portion of these forced-sale proceeds to tax
        obligations.

    25. Bargaining-unit employees who vvere not fired on February 11 remain in a precarious
        position. Several NTEU members report being told by managers that a mass layoff of the
        Bureau's employees will soon be announced. As I write this declaration, it appears this mass
        firing has begun, with termination letters starting to go out on the evening of February 13,
         2025. My understanding is that the Bureau could ultimately be shrunk down to as few as
        five people. Members also report being told that the CFPB headquarters building lease in
        , 1Vashington, D.C. has not been renewed. NTEU's records show that 1,050 employees are

        assigned to the headquarters office. Those employees will face the same severe
        consequences as individuals who have already been fired.

    26. In addition to the extraordinary harm inflicted on NTEU's members by the CFPB's
        closure, there is direct harm to the Union. The CFPB bargaining unit is 1,054. Within the
        bargaining unit, 776 are dues-paying NTEU members. That number continues to increase
        daily as employees fear for their jobs.


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     27. Reductions to the CFPB's workforce will decrease the Union's dues revenue. NTEU
         collected $569,456 in dues from CFPB members in fiscal year 2024. Even if former CFPB
         employees remain in the Union after their termination, their dues rates will be significantly
         reduced.

     28. Based on my experience and discussions with unions who have been through similar
         challenges, I expect that a substantial portion of NTEU's CFPB members will not remain
         in the Union after being fired, regardless of NTEU's efforts, offers of assistance and
         encouragement.

  I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
  correct.

  Executed in Washington, D.C. on February 13, 2025.




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             Exhibit 3




                                                                               JA56
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                          DECLARATION OF KEISHA D. BROSS

        I, Keisha D. Bross, declare as follows:

    1. I am the Director of Opportunity, Race, and Justice at the National Association for the

 Advancement of Colored People (“NAACP”). The statements made in this declaration are based

 on my personal knowledge and information available to me through my duties at the NAACP.

    2. The NAACP is the oldest and largest civil rights organization in the United States. Its

 mission is to achieve equality, political rights, and social inclusion by advancing policies and

 practices that expand human and civil rights, eliminate discrimination, and accelerate the well-

 being, education, and economic security of Black people and all persons of color.

    3. The NAACP was actively working with the Consumer Financial Protection Bureau

 (“CFPB”), particularly CFPB’s Natural Disaster Team, to address predatory practices for NAACP

 members who were victims of the Los Angeles wildfires in Altadena, California in 2025. The

 NAACP reached out to the Natural Disaster Team because NAACP members who were victims

 of the fires were being further victimized by the financial scams that were rampant post-fire. The

 NAACP was working with the CFPB employees to help individual members who had been

 harmed. The CFPB was helping the NAACP educate its members to avoid post-fire financial fraud.



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 And the CFPB was helping NAACP members affected by the wildfires make connections to other

 resource groups across California. All of these efforts were ongoing when the CFPB was shut down.

 The CFPB stopped helping individual fire victims. For example, although the CFPB

 communicated that it would send to the NAACP educational materials, it did not do so because of

 the shutdown.

    4. Furthermore, a member of the Natural Disaster Team was planning to fly to Los Angeles

 to help hundreds of fire victims in-person, but could not do so because of the stop-work order,

 which instructed CFPB staff to stop performing their work duties.

    5. Many victims of the Los Angeles fires were entitled to mortgage forbearance. The CFPB

 was helping to ensure that mortgage companies provided the forbearance they are required to

 provide. But absent that enforcement, the NAACP is seeing its members struggle with mortgage

 companies that refuse to provide forbearance or tack on unnecessary fees.

    6. The impact of the CFPB’s shutdown on the NAACP and its members is not limited to the

 recent fires. Shortly, before the shutdown, in 2025, the NAACP met with the CFPB to plan a state-

 by-state approach for helping NAACP members across the country. The NAACP members state

 conferences throughout the country. The NAACP had been working with the CFPB on a plan to

 provide resources to each state conference to protect members in the respective state from financial

 harm. This is especially important for older members, who are particularly vulnerable to financial

 fraud. Because of the stop-work order, the NAACP has been unable to move forward on the plan

 to work in conjunction with the CFPB to help protect these members.

    7. Before the shutdown, the NAACP regularly collaborated with the CFPB to educate

 NAACP members in other ways as well. In 2024, for example, the NAACP partnered with the

 CFPB to hold three education calls for NAACP members across the country. The calls were

 focused on housing discrimination, CFPB financial protection, and how to protect financial rights.


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 CFPB Director Rohit Chopra attended one of the calls and answered direct questions from our

 members. The NAACP anticipated continuing a similar collaboration this year, but the CFPB’s

 shutdown has prevented us from doing so.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 13, 2025, in Baltimore, MD.

                                                            /s/
                                                                    Keisha D. Bross




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             Exhibit 4




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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
              Plaintiffs,
      v.

  RUSSELL VOUGHT, in his official
                                           Case No. 25-cv-381-ABJ
  capacity as Acting Director of the
  Consumer Financial Protection
  Bureau, et al.,

                   Defendants.


                     DECLARATION OF ERIE MEYER

      I, Erie Meyer, declare the following under penalty of perjury:

      1.    I served as the Chief Technologist and Senior Advisor to the

 Director at the Consumer Financial Protection Bureau from October 2021

 until February 7, 2025, when I resigned. Prior to my most recent position, I

 served as a founding member of the Technology and Innovation Unit at the

 Bureau from March 2011 to September 2013. Based on that work, I have

 personal knowledge of numerous aspects of the Bureau’s work.

      2.    That includes how the Bureau’s Consumer Response and

 Education Division works. As a Senior Advisor, my portfolio included the

 work of Consumer Response.

      3.    Consumer Response was established to provide consumers with a

 way to lodge complaints that the Bureau then monitors and ensures receive a

 timely and appropriate response from the company that is the subject of the


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 complaint. The Bureau also posts for public consumption a database of

 complaints. Both Bureau staff and contractors perform different aspects of

 this work.

         4.   The Bureau receives consumer complaints about everything

 from credit reporting to debt collection to imminent foreclosures.

         5.   For example, consumers often file credit reporting complaints

 when they are seeking a car or home loan, and false credit reporting is

 preventing them from getting that loan. These complaints are frequently

 very time-sensitive because the consumer’s home purchase will fall through

 if they cannot get a mortgage in time or because they urgently need a car to

 get to work or drive their kids to school, which they cannot get without a car

 loan.

         6.   The majority of complaints about debt collection are about

 attempts to collect debt not owed. Medical debt, for example, can be riddled

 with errors, involve many parties (the medical provider, the insurance, the

 debt collector, a credit reporting agency, etc.), and consumers often report

 getting the runaround in nailing down the facts between those parties. Again,

 debt collection complaints can be quite time-sensitive because absent

 resolution, they can     result in negative credit reporting, which impedes

 consumers’ ability to rent an apartment, get a mortgage, or buy a car.

         7.   Most complaints about mortgages are focused on trouble during

 the payment process, specifically successfully submitting payment. There


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 have been outages, security issues, and other system problems at mortgage

 servicing companies that have left consumers in a lurch. If the problem is not

 resolved in time with the help of a complaint, the consumer can receive

 negative information on their credit reports for something beyond their

 control. Those credit report errors are extremely hard to prove without the

 documentation that comes from a timely complaint submitted when the

 system error occurred.

          8.    Additionally, consumers who are filing complaints about

 foreclosures typically have worked with their servicer and come to a dead

 end. This is a last effort to get to the bottom of what is going on with their

 mortgage and save their home. Those complaints being delayed or stuck can

 devastate a family who is forced to leave a home they should not be forced to

 leave.

          9.    Consumer Response accepts complaints online, by phone, by

 mail, by referral from other agencies (including OCC, FDIC, NCUA, and the

 White House), and by referral from members of Congress.

          10.   It is common for members of Congress to refer complaints to

 Consumer Response, and this happens daily when constituents call

 congressmembers seeking help with consumer financial issues. There is no

 other mechanism in place for Congressmembers to seek help from the

 Bureau for constituents.




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         11.   Consumer Response receives on average approximately 350,000

 complaints per month. That number is sometimes higher: In January 2025, it

 was approximately 500,000.

         12.   When a complaint is filed, it is sent to the company about whom

 the complaint was lodged. That company is generally required to respond

 within 15 days. And it must report its response to the CFPB.

         13.   Although many complaints are sent automatically to companies,

 many require the intervention of CFPB staff or contractors. For example, if a

 complaint is filed about a company that is already listed in the CFPB’s

 consumer complaint system, the complaint can be automatically routed to

 the company for a response. But if the company is not yet listed, a CFPB

 employee must onboard        the company to the Consumer Response system

 before the complaint can be processed. Similarly, if a consumer mistypes the

 name of a company or inputs the company’s name in a way that does not

 match the company’s name in the system, a CFPB employee or contractor

 must process the complaint.

         14.   If a consumer files a complaint but does not have an email

 address, a contractor      must communicate with the consumer via postal

 mail.

         15.   Additionally, there is no automated processing for complaints

 lodged through the Bureau’s hotline, made by referral, or sent in through the




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 mail. A CFPB employee or contractor is required to process each of these

 complaints.

       16.      Only CFPB employees can make determinations on which

 companies to onboard to the system. Contractors work on how to route

 referrals or more complex complaints. This means that even with a work

 stoppage of a few days, thousands of consumers are stuck in limbo. Not only

 will they not get help or answers on their complaints; other law enforcement

 agencies that depend on information from the CFPB’s database will not have

 access to that information.

       17.     In addition to the CFPB employees and contractors that process

 complaints, CFPB employees also help ensure that complaints get a response

 —and facilitate      resolution of many complaints. For example, there is a

 team of CFPB employees that monitors whether companies provide timely

 responses and can contact the companies if they don’t. There is an Escalated

 Case Management Team that helps consumers who, for example, are subject

 to imminent foreclosure and, more generally, helps facilitate complaint

 resolution when a company fails to respond or when its response is

 inadequate. The Escalated Case Management Team          handles roughly     a

 thousand complaints a year.

       18.     Consumer Response also monitors the complaint database and

 brings companies to the attention of the enforcement division for potential

 investigation.


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      19.   Filing a complaint with the CFPB is often successful in resolving

 consumers’ issues. Indeed, the Bureau frequently gets reports that filing a

 complaint with the CFPB was the only thing that successfully stopped false

 credit reporting or halted an erroneous foreclosure, despite the consumer

 having previously tried themselves to solve the problem directly with the

 company.

      20.   When the Consumer Response department is operating,

 consumers receive a response in 15 days or less in 98 percent of complaints

 sent to the company.

      21.   Consumer complaints are often urgent to the consumer,

 regardless of whether they go to the Escalated Case Management Team.

      22.   For example, the majority of complaints filed relate to consumer

 credit reports, and most people do not become aware of an error on their

 reports—and thus lodge a complaint—until they are trying to secure a loan.

      23.   Another example is consumers who lose access to their accounts

 via “debanking”—when a consumer is denied access to their account —and

 face banks unwilling to work with them to restore the accounts or address

 what happened. Consumer Response is often the only resource available for

 them to get more information or re-access their accounts.       Consumers

 otherwise have no access to their accounts and no information about what

 went wrong.




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       24.   Consumers who complain about payday loans are primarily

 reporting that there are fees or interest they didn’t expect. Consumers who

 use payday loans typically do not have other options available to them, and

 are experiencing severe liquidity issues. Unexpected charges, and not being

 able to submit a complaint, for a person in this situation can mean not having

 enough bus fare to make it to work on time and losing a job, skipping or

 rationing medications that are dangerous to skip or ration, or losing a badly-

 needed childcare slot due to insufficient funds.

       25.   In the past week, Russel Vought directed Bureau staff to stop all

 work. I understand that not only have all Bureau employees been ordered to

 stop working, but all contracts for the companies that provide the

 infrastructure and the additional workforce        needed to staff Consumer

 Response were cancelled.

       26.   That means that the Escalated Case Management team is not

 working—and therefore nobody is helping consumers with imminent

 foreclosures or to facilitate other time-sensitive complaint resolution when

 the company does not adequately respond. Complaints submitted online

 about companies that are not already in the system or where the company

 name inputted by the consumer does not match the one in the system are not

 being processed at all. Nobody is reviewing the mail to process mailed-in

 complaints or referrals, no one is processing referrals from agencies or

 Congress, and no one is sending mail to complainants without email


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 addresses. By now, there are likely thousands of complaints that have gone

 unprocessed. In addition, no one is monitoring company response times to

 the complaints that continue to be forwarded automatically online, ensuring

 that companies respond at all to those complaints, or bringing companies to

 the attention of the enforcement division.

       27.   The hotline normally available for people to lodge complaints

 from 8:00 a.m. to 8:00 p.m. was down for the first time since we launched the

 CFPB without anyone able to work on the continuity of operations plan that

 this mission essential function requires. And this happened on a day it should

 have been open and was no longer accepting complaints. Although I

 understand that there is some possibility that this contract—and only this

 contract—has been un-terminated, that limited restoration would still leave

 Consumer Response non-functional.

       28.   Even the automated complaint forwarding is likely to break

 down soon. CFPB employees that manage the data pipeline for automated

 forwarding have been ordered to stop work. Contractors are responsible for

 continuously managing the functionality of the online system that

 consumers use and that takes on more than a million      complaints a year. I

 understand that that contract, too, was cancelled. Without regular

 maintenance of that system, it will cease to function and crash.

       29.   When I reviewed the complaints database the evening of February

 13, the most recent complaint posted is from January 29. That is a change


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 from earlier today when the database showed complaints from February.

 This means that the system is already experiencing a significant error and

 likely breaking down.

      I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct.

 Executed on February 13, 2025                              /s/
                   ________________
                                                      Erie Meyer




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             Exhibit 5




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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
               Plaintiffs,
      v.
                                                    Case No. 25-cv-381-ABJ
  RUSSELL VOUGHT, in his official
  capacity as Acting Director of the
  Consumer Financial Protection Bureau,
                      Defendants.


                          DECLARATION OF JAMES SPEER

 I, James Speer, declare as follows:

        1.     I am the Chief Executive Officer of the Virginia Poverty Law Center (VPLC).

 I am also a consumer rights attorney. The statements made in this declaration are based

 on my personal knowledge and information available to me through my duties at VPLC.

        2.     VPLC is a 501(c)(3) nonprofit organization that since 1978 has worked to

 break down systemic barriers that keep low-income Virginians in the cycle of poverty

 through advocacy, education, litigation, and direct counseling and referral services.

        3.     At VPLC, we organize our work into three centers, one of which is the Center

 for Economic Justice. The Center seeks to ensure that consumers’ rights—and in particular

 the rights of those living in low-income households—are respected and protected when

 those consumers shop for and use necessary products and services from credit unions,

 banks, loan companies, rental companies, and many others.

        4.     VPLC’s work on consumer issues is central to our mission and takes a

 number of forms.

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        5.     One part of our consumer work is advocating for fairer laws in the state

 legislature. During the last General Assembly session, for example, we were able to stop

 legislation that unfairly limited Virginians’ access to unemployment benefits.

        6.     We also do everything we can to get legal information about consumer issues

 to those who need it most. For example, we conduct regular training workshops on

 consumer-related issues for attorneys who are new to the legal aid network or who are

 doing pro bono work for legal aid clients.

        7.     We also partner with credit unions and credit-counseling agencies to provide

 information and training directly to diverse groups, including low-income men and women,

 the elderly, and youth in foster care. We train them on financial literacy and developing

 strong financial practices such as learning how to save and to avoid predatory loans.

        8.     VPLC takes other steps too to help people to deal with problems like those

 arising from predatory loans or debt collection. For example, we field phone calls and other

 inquiries from consumers nearly every day seeking help with these issues. Where we can

 offer guidance or point them to relevant information, we do so. Where appropriate, we

 help connect them with legal representation.

        9.     For many years, VPLC has operated a Predatory Loan Helpline that

 consumers can call when they run into problems with unfair and predatory loans. The

 phone number is featured prominently on our website. I frequently answer the helpline

 myself.

        10.    We routinely direct people calling the helpline or who otherwise contact us

 to file a complaint about their issue with the Consumer Financial Protection Bureau. We

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 even provide a link to the CFPB's website on the “consumer advocacy” page of our website,

 and tell consumers they can go there to file complaints. When needed, we will help them

 to file the complaint.

        11.    Especially compared to other options like fighting directly with the debt

 collector or lender, or going to litigation, filing a complaint with CFPB is easy. It costs

 nothing and can usually be completed in less than 10 minutes.

        12.    Filing a complaint with CFPB can get real and immediate results too. To give

 one example: Last September, I got a call from a woman with a car title loan made by a

 predatory lender that allegedly was partnering with a Utah bank and therefore felt they

 could ignore Virginia state law. I advised her to file a complaint with CFPB. CFPB shared

 the complaint with the lender and the FDIC. The lander denied any wrongdoing but

 lowered her interest rate from 118% to 36% and cut her payments in half and saved her

 car from repossession.

        13.    One reason we tell folks to file CFPB complaints is that they can file once and

 it will be shared with the appropriate state attorney general’s office and any other relevant

 federal agency to avoid having to file multiple complaints for the same issue with all the

 pertinent entities. Also, filing a complaint routes the complaint to the company and forces

 it to acknowledge and respond.

        14.    In short, being able to refer people to the CPFB complaint system and help

 them file complaints that can get them real results is a very important tool we have in our

 work directly counseling people on consumer issues. These complaints don’t just go into



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 the circular file—they are an important way we can help people get solutions that put them

 in a better situation than they were before.

        15.    My understanding is that the CFPB’s complaint system and hotline were

 entirely down for the entire day yesterday as a result of the cancellation of the CFPB’s

 contract with the vendor. If the complaint system goes away entirely or becomes so

 unreliable that it cannot be depended upon, it will make fulfilling our consumer-protection

 mission much harder. I can remember answering our helpline before CFPB and the

 complaint database even existed. Handling the same types of consumer complaints then

 consumed far more resources of my limited staff than it does today because there was no

 option then to quickly and easily file a complaint that we could count on to reach the right

 people.

        16.    Going back to those days would require VPLC to devote more time, and

 ultimately money, just to be able to deliver the same help we can now. Especially compared

 to big banks and other financial companies, we have limited resources, and any time spent

 making up for the loss of the CFPB complaint tool would be time not spent on other work.

 To replicate what the complaint tool does—sending the complaint to the company, backed

 by a federal agency and with a deadline to respond, while also sending it to other state and

 federal agencies that may be able to help—would be difficult if not impossible and would

 strain our already limited resources.

        17.    The same goes for if the complaint system were to be compromised in some

 way where we couldn’t trust that people’s information would remain safe. It’s generally

 necessary when submitting a complaint to provide information so the company can identify

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 you and your accounts. This can include private personal information and things like

 account numbers.

        19.    I could not in good conscience tell people to send their private personal and

 financial information to a system that others could then use to exploit them. A lot of the

 callers to our Predatory Loan Helpline called about fraudulent debt collection. We soon

 discovered that the internet lenders were selling their information and then the fraudsters

 used it to appear to be collecting a loan they had actually made. This is the same type of

 information that is in the CFPB database that could be exploited if not protected.

        20.    We use the complaint system to help people in others way too. CFPB gives

 people the option to make public redacted versions of their complaints, which you can

 access on the CFPB’s website. When someone comes in with an issue, that online database

 allows us to look up the same issue and even the same company to see whether the problem

 is widespread. That information helps us not only to assist the person with their own

 complaint, it helps us to understand bigger picture issues so we can focus our other

 consumer-protection efforts, like on advocacy and education, where they’re needed most.

        21.    While the FTC and state attorneys general accept consumer complaints, they

 don’t offer any similar way for the public to see what has been submitted. In other words,

 if the CFPB complaint system went away or became compromised or manipulated in some

 way we could no longer trust, there would be no way to substitute for that lost information.

        22.    I have read reports about so-called “DOGE” staffers at CFPB. I do not trust

 that these people know or care to follow the law or that they will do anything to protect the

 communities we serve from being taken advantage of.

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        23.    An important part of our work is education. That includes both education of

 other legal aid staff around the state, other nonprofits and agencies that advocate for

 consumers, and the public. Whenever we receive information from the CFPB about trends

 or widespread illegal activities that they have discovered through their consumer complaint

 process, we share that information with our network and the public. It would be extremely

 time-consuming and likely impossible for us to get this information and recognize these

 dangers if we did not have access to the consumer complaint database.

        24. CFPB has become such an integral part of the advocacy and education work we

 do. Without the CFPB complaint system and the educational tools we would likely be

 forced to hire additional staff or divert another staff member’s time to provide our current

 level of consumer service.

    I declare under penalty of perjury under the laws of the United States of America that

 the foregoing is true and correct.

 Executed on February 13, 2025, in Richmond, VA.

                                                         /s/ James Speer
                                                         ___________________________________

                                                          James Speer




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             Exhibit 6




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                Plaintiffs,
         v.


  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,


                         Defendants.




                          DECLARATION OF RICHARD DUBOIS

 I, Richard Dubois, declare:

        1.      I am the Executive Director at the National Consumer Law Center (NCLC), and

 have held this position since 2016. Prior to becoming the Executive Director, I served as the

 Deputy Director and Director of Development and Project Planning, as well as a staff attorney at

 NCLC. I have been with the organization for 27 years. I have personal knowledge of the matters

 set forth herein and could and would testify competently about them if called upon to do so. This

 Declaration identifies and describes the harm that the recent shut down of the Consumer

 Financial Protection Bureau (CFPB) has had and will have on the work, operations, and budget

 of NCLC.

        2.      NCLC is a non-partisan, nonprofit organization governed by a volunteer national

 board of directors that has included a past president of the American Bar Association, a former



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 Arizona Solicitor General, as well as bar association representatives and clients for low-income

 communities.

        3.      Since 1969, NCLC has used its expertise in consumer law and energy policy to

 work for consumer justice and economic security for low-income and other disadvantaged people

 in the United States. NCLC’s expertise includes policy analysis and advocacy; consumer law and

 energy publications; litigation; expert witness services; and training and advice for advocates.

 NCLC works with nonprofit and legal services organizations, private attorneys, policymakers,

 and federal and state government and courts across the nation to stop exploitative practices, help

 financially stressed families build and retain wealth, and advance economic fairness. NCLC

 publishes a 21-book series of manuals on all major aspects of consumer law, which it updates

 regularly. It also conducts multiple training sessions nationally on consumer law for attorneys,

 paralegals, and other counselors.

        4.      Since the CFPB was created, NCLC has relied on its work to further its mission.

 As described in more detail below, NCLC depends on the research, reports, consumer complaint

 database, trainings, and staff at the CFPB as essential resources to support NCLC’s core work.

        5.      These resources support NCLC’s financial well-being and ability to operate,

 including by ensuring that NCLC’s paid publications and trainings are well-informed and backed

 by expertise and data. The resources provided by the CFPB also enable NCLC to produce

 quality advice, support, and free materials that enable NCLC to obtain financial support from

 foundations and donors.

        6.      On February 8, 2025, newly appointed CFPB Acting Director Russell Vought

 ordered all work at the CFPB to cease, including issuing a directive to CFPB staff not to issue

 public communications of any type, including publication of research papers and compliance

 bulletins, not to approve or execute any material agreements, including relating to contractors

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 and to cease all stakeholder engagement. A true and correct copy of the email from Acting

 Director Vought, obtained from Philip Melanchthlon Wegmann (@PhilipWegmann), X,

 https://perma.cc/4KLT-C9M6, is attached as Exhibit 1. On February 11, 2025, President Trump

 confirmed his goal of eliminating the CFPB. Kate Berry, President Trump confirms his goal is to

 eliminate the CFPB, Am. Banker, Feb. 11, 2025, https://perma.cc/FYB5-QNHS (video at 1:26).

        7.      The impact of Acting Director Vought’s directives on NCLC was immediate. On

 February 11, 2025, NCLC received a Stop Work Order relating to its contract with the CFPB for

 subscription to NCLC’s publications. A true and correct copy of the February 11, 2025, Stop Work

 Order is attached as Exhibit 2. On February 12, 2025, NCLC received a second mail with a

 subject line, “Termination for Convenience of the Government,” from the Bureau of Fiscal

 Service on behalf of the CFPB, notifying NCLC that the CFPB “…hereby terminates in its

 entirety the subject contract, effective 02/12/2025,” and instructing NCLC to take various

 actions. A true and correct copy of the “Termination for Convenience of the Government,”

 email is attached as Exhibit 3 (emphasis in original). The CFPB has been a subscriber to

 NCLC’s manuals for more than a decade. The CFPB’s contract is the largest single publications

 contract for NCLC and significant assists in funding NCLC’s publications work.

        8.      This week, the CFPB canceled a training contract with NCLC. NCLC entered

 into a contract with the CFPB on January 30, 2025, under which the CFPB would pay NCLC

 $10,000 for a three-part training series for CFPB staff, which was scheduled to begin on

 Wednesday, February 12, 2025, and end on June 18, 2025. A true and correct copy of the contract

 letter dated January 30, 2025 is attached as Exhibit 4. The CFPB canceled the training on

 Monday, February 10, 2025, after NCLC staff already spent time organizing and preparing a

 presentation for the training. The CFPB has paid $2,760 of the total contract price, which NCLC

 may have to refund if the training series is canceled entirely, and NCLC will lose the balance of

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 the contract funds it was set to receive if the remainder of the training is canceled. Other

 trainings also have been impacted. For example, a NCLC staff member organized a training for

 the Practicing Law Institute to take place on March 13 and 14, 2025, which included CFPB staff

 members as panelists. She and others now need to substitute themselves in for the absent CFPB

 the panelists, and spend time to prepare to do these presentations.

        9.      NCLC’s comprehensive digital treatise series is intertwined with CFPB website

 materials. All of NCLC’s treatises link extensively to CFPB materials on the CFPB’s website. If

 the CFPB’s website is scrubbed or ceases to exist, NCLC’s staff will need to spend considerable

 time and effort replacing all of these links. NCLC will either have to link to archive.org or

 download all the material from that website and host it as companion material. Over time, much

 of this material will go out of date and not be replaced by updated CFPB resources.

        10.     NCLC relies heavily on CFPB publicly available resources and data to support its

 work, including writing NCLC’s reports and manuals, and developing advocacy initiatives.

 These resources include periodic CFPB reports, its consumer complaint database and the

 materials to which the CFPB provides access online, including its regulations and their

 commentary. This work is core to NCLC’s mission and a significant amount of NCLC’s

 fundraising efforts go to support this work.

        11.     By way of example, with respect to NCLC’s manuals, NCLC uses the CFPB’s

 annual Fair Debt Collection Practices (FDCPA) report and the CFPB’s bi-annual report on the

 credit card market (which the CFPB is required to publish pursuant to the CARD Act of 2009

 and is next due to be published in 2025) for its FDCPA and other manuals. NCLC relies on the

 CFPB’s Supervisory Highlights for NCLC’s Consumer Banking & Payments Law manual,

 among others. The CFPB periodically implements the inflation adjustment for certain dollar



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 figures in TILA (i.e., for the scope of consumer credit covered) and other statutes, and NCLC

 includes those adjustments in its manuals.

        12.     NCLC also relies on the CFPB’s publicly available complaint database to draft its

 reports. Some examples of NCLC’s reports that have used the complaint database include,

 “Digital Denials,” (2023) available at, https://perma.cc/7DLL-QHWT, “Unfair Debts With No

 Way Out: Consumers Share Their Experiences With Rental Debt Collectors” (2022), available at

 https://perma.cc/Y7D9-52YN, and “Automated Injustice Redux,” (2019), available

 at https://perma.cc/5WHE-63FT.

        13.     NCLC also uses the complaint database to develop training materials for its

 conferences. For example, for NCLC’s most recent national Consumer Rights Litigation

 Conference held in October 2024, NCLC staff used the complaint database to provide examples

 of mortgage servicer abuses for one of its panels. This is just one example. NCLC staff frequently

 uses the complaint database for this reason, in presentations, seminars and in providing guidance

 to other advocates that rely on NCLC’s work.

        14.     If Acting Director Vought’s stop work orders to CFPB staff continue and/or the

 CFPB is permanently shuttered, NCLC will lose access to essential resources upon which it has

 relied to do its core work. NCLC will not be able to inform those who rely on it on current trends

 in consumer issues and, as a result, its work supporting other advocates and, ultimately,

 supporting consumers will be detrimentally impacted.

        15.     In addition to what NCLC has lost and stands to lose, NCLC’s work will increase

 in the absence of the CFPB, including by organizing more trainings and publishing more written

 materials such as issue briefs. Without the CFPB engaging in oversight and enforcement and

 administering its consumer complaint function, the private bar and legal services community will

 see a dramatic increase in need from consumers, which will lead to a strain on its one-on-one

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 intake and support of these legal service providers. NCLC will have to engage in dramatically

 increased advocacy in the states to fill the gaps left by elimination of federal consumer protection

 resources, and redirect our other advocacy to multiple agencies and litigation that would

 otherwise not be necessary.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 February 13, 2025                                     s/Richard Dubois
                                                       Richard Dubois, Executive Director
                                                       National Consumer Law Center




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                    Exhibit 1




                                                                            JA84
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  Dear Colleagues,                                         EExhibit 1
  Ta1n honored that President Trun1p dcsignali:d inc as
  .i\cting Director of the □ ureau on February 7, 2025.
  J\s ,\cting Director, I an1 con1n1itted to in1plen1enting
  the President's policies, consistent with the !av.-·, and
  acting as a faithful ste,vard of the Bw·eau 's
  resources. To that end, I m11 directing that, effective
  in1n1ediately, unless expressly approved by the
  .!\cling Direr:tor or required by la\\', all employees,
  contractors, and other personnel of the □ ureau shall:


      • Not approve or issue any proposed or Jina!
          1ules or forn1al or informal guidance.
      • Suspend the effective dates of all final rules
          that have been issued or published but that
          have not yet become elTer:tive
      • Not con11nence, take additional investigative
          activities related to, or settle enforcen1ent
          actions.
      • Not open tu1y nev.-· investigation in any
          1nanner, and cease any pending investigations.
      • ]\Tot issue public con1n1unications of any type,
          inr:luding publication of research papers and
          con1pliancc bulletins .
                                                                            JA85
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   • Not approve or execute any 1naterial
       agree1nents, including related to e1nployee
       n1atters or contractors.
   • Not 111ake or approve filings or appearances by
       the Bureau in any litigation, other than to seek
       a pause in proceedings.
   • ('ease all supervision and exar11ination
       activity.
   • ('ease all stakeholder engagen1ent.


If you have any questions, please raise issues
through your existing 1nanage111ent for co11sideration
by the Acting Director.


Tl1ank you.


Russell T. Vought



                                                                            JA86
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                   Exhibit 2




                                                                               JA87
               Case 1:25-cv-00381-ABJ
2/12/25, 9:09 AM                             Document
                                  National Consumer         14-6
                                                    Law Center           Filed
                                                               Mail - Stop       02/14/25
                                                                           Work Notice              Page 12 of 19
                                                                                       - Contract 20343021C00006
           USCA Case #25-5091    Document #2113074                         Filed: 04/25/2025               Page 93 of 637
 I  I              National
 NCLC              Consumer Law
                   Center
                                                                                                         Katie Eelman <keelman@nclc.org>
 I           I
  Stop Work Notice - Contract 20343021C00006
  Braden K. Sanner <braden.sanner@fiscal.treasury.gov>                                Tue, Feb 11, 2025 at 10:27 PM
  To: "keelman@nclc.org" <keelman@nclc.org>
  Cc: "Jawad.Syedain@cfpb.gov" <Jawad.Syedain@cfpb.gov>, Kathy Sanders <Kathy.Sanders@cfpb.gov>


     Good Evening,



     You might have received a blanket Stop Work Order from the Consumer Financial Protection Bureau (CFPB), Office of
     Finance and Procurement yesterday, 02/10/2025. Please note that this is your official notice, in accordance with FAR
     52.242-15, with instruction to stop work on the subject contract immediately, incurring no additional costs, until otherwise
     instructed by the Contracting Officer. Fiscal Service Procurement will follow up if there are any additional changes in
     direction. This notice is effective immediately, 02/11/2025.



     Please confirm receipt of this email as soon as possible.



     Braden K. Sanner
     Supervisory Contracting Officer

     Bureau of the Fiscal Service

     braden.sanner@fiscal.treasury.gov

     304-480-7858




                                                                                                                                         JA88
https://mail.google.com/mail/u/0/?ik=c603e04c6b&view=pt&search=all&permmsgid=msg-f:1823820621020077020&simpl=msg-f:1823820621020077020      1/1
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                   Exhibit 3




                                                                               JA89
I  I          Case 1:25-cv-00381-ABJ Document 14-6
                  National                                                Filed 02/14/25 Page 14 of 19
NCLC Consumer
      USCA Case #25-5091
                  Center
                             Law
                                Document #2113074                                    Shennan Kavanagh
                                                                           Filed: 04/25/2025    Page <skavanagh@nclc.org>
                                                                                                      95 of 637
I             I
Fwd: Termination for Convenience of the Government – Contract 20343021C00006
1 message

Katie Eelman <keelman@nclc.org>                                                                     Wed, Feb 12, 2025 at 4:17 PM
To: RapidResponse@nclc.org

    FYI on the below.

    Can someone let me know if I should respond to confirm receipt?

    Thanks!

    ---------- Forwarded message ---------
    From: Mark A. Board <Mark.Board@fiscal.treasury.gov>
    Date: Wed, Feb 12, 2025 at 3:19 PM
    Subject: Termination for Convenience of the Government – Contract 20343021C00006
    To: keelman@nclc.org <keelman@nclc.org>
    Cc: Syedain, Jawad (CFPB) <Jawad.Syedain@cfpb.gov>, Sanders, Kathy (CFPB) <Kathy.Sanders@cfpb.gov>, Braden K. Sanner
    <braden.sanner@fiscal.treasury.gov>



    Good Afternoon,

    On 02/11/2025, you were notified to stop work. Pursuant to FAR clause 52.212-4(l), Fiscal Service Procurement on the
    behalf of the Consumer Financial Protection Bureau (CFPB) hereby terminates in its entirety the subject contract,
    effective 02/12/2025. As such, you are directed to immediately stop all work under the subject contract, terminate all
    subcontracts, and place no further orders. You are also directed to provide by electronic means similar instructions to
    all subcontractors and suppliers. You are required to keep detailed, individual records of your steps taken and
    expenditures, if any, you intend to claim as a result of the CFPB terminating this contract. We request that you provide
    within 30 days the entirety of the termination settlement proposal(s), if any, you will be submitting for the subject
    contract.

    Finally, it is necessary that you immediately confirm receipt of this termination for convenience notice via an electronic
    mail (e-mail) response to me, the Contracting Officer for the subject contract.




    Thanks,

    Mark Board
    Lead Contracting Officer
    Bureau of the Fiscal Service
    Office of Shared Services/DPS
    Office: (304)-480-8356




                                                                                                                     JA90
--
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           USCAKatie
                 Case    #25-5091
                     Eelman (she/her/hers)Document #2113074    Filed: 04/25/2025 Page 96 of 637
     I  I Publishing Operations Manager
     NCLC National Consumer Law Center®
          7 Winthrop Square, Boston, MA 02110
     I      I 901.231.5681 | www.nclc.org/library




                                                                                                  JA91
    Case 1:25-cv-00381-ABJ Document 14-6   Filed 02/14/25 Page 16 of 19
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                   Exhibit 4




                                                                               JA92
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  ....                                                         NATIONAl HEADQUARTERS
                                                               7 W nthrop Square, Boston, MA 02110




  -....
                                                               (6171 542·8010



  NCLC
                     National                                  WASHINGTON OFFICE
                     Consumer Law                              Spanogle ,nstitute for Consumer Advocacy
                                                               1001 Connecticut Avenue, NW, Suite 510
                     Center                                    Washington, DC 20036
                                                               (2021452 6252

                                                               NCLC.ORG


  January 30, 2025

  Theresa Burton
  Resource Management Officer· Consumer Financial Protection Bureau
  Consumer Financial Protection Bureau
  1700 G Street, NW
  Washington, DC 20553
  Theresa.Burton@cfpb.org

  Re: Cost Proposal for Spring Training

  Dear Theresa:

  The National Consumer Law Center (NCLC) agrees to develop and deliver a series of three 90-
  minute consumer law webinars for the Consumer Financial Protection Bureau (CFPB) in the
  Spring of 2025. The training will cover the following topics on the designated dates and times:

        • Is it a loan? Strategies for challenging alternative financing products: February 12,
          2025 from 1 :00-2:30pm EST
        • Junk Fees in Auto Sales and Finance: April 16, 2025 from 1 :00-2:30pm EST
        • The New Payday Loans and other Usury Evasion Developments: June 18, 2025 from
          1 :00-2:30pm EST

  The training agenda will include background and current developments on the issue and
  relevant law and provide time for a question and answer discussion with the attendees. The
  presenters will prepare powerpoint slide material that incorporates references and links to all
  major relevant developments so participants will be able to keep this material as a resource.
  They will also continue to research ongoing developments in the particular subject area to
  share with attendees. The final agenda for each program session will be finalized in
  consultation with the CFPB Enforcement Training Coordinator.

  Personnel: Each training session will be presented by at least one NCLC attorney who is an
  expert in the particular topic. For some sessions, we will engage consumer rights attorneys
  outside of NCLC who specialize in the subject area to co-present.

  Cost: The proposed cost for the training series is as follows:




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  Each 90-minute training session will include having presenters log in at least 15 minutes
  beforehand and staying to either answer additional questions or debrief for about 15 minutes
  after for a total of 2-hours for each actual session. There will also be preparation time for a
  comprehensive powerpoint presentation with additional materials where relevant. Each
  advocate, other than those who work for the CFPB or FTC, will be billed at $230 per hour for
  2025.

  The breakdown of costs for the training series is as follows:

         •     Is it a Loan? Strategies for Challenging Alternative Financing Products

             We propose having 3 main speakers plus Lauren Saunders, Associate Director of
             NCLC, who will be the organizer and moderator. NCLC will invoice for 3 attorneys for a
             total of 6 hours for the actual presentation. $230 x 6= $1,380

             We estimate 8 total hours of preparation time: $230 x 8 = $1,840

             The total for this session would be $3,220

         •     Junk Fees in Auto Sales and Finance

             We propose 2 speakers, including John Van Alst, Senior attorney at NCLC. That would
             be a total of 4 hours for the presentation. $230 x 4= $920

             We estimate 8 total hours of preparation time: $230 x 8 = $1,840

             The total for this session would be $2,760
     •       The New Payday Loans and other Usury Evasion Developments.

             We propose 2 speakers, including Lauren Saunders. That would be a total of 4 hours for
             the presentation. $230 x 4= $920

             We estimate 6 total hours of preparation time: $230 x 6 = $1,380

             The total for this session would be $2,300

  Andrea Bopp Stark, senior attorney at NCLC, will help organize, coordinate, make arrangements
  with outside speakers, and attend each session to help moderate, monitor the chat and Q&A,
  troubleshoot issues or help with anything else. We estimate that would be a total of 7.5 hours x
  $230 = $1725

  TOTAL COST: $ 10,000 (rounded down from $10,005)

  Payment: NCLC will invoice as follows:

  $3,500 upon execution of this contract

  $3,S00when a final agenda with topics and speakers has been determined,




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                         $3,000 is upon completion of the final session on June 18, 2025.

                         NCLC will provide a full refund for any work that is not performed.

                         We are very pleased to have the opportunity to work with you and provide training for the
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                         CFPB. Please let me know when you would like to discuss this proposal. Thank you!




                         Richard Dubois, Executive Director, National Consumer Law Center
                                                       ,-
Filed: 04/25/2025




                         Date: ( -   ~ 9-- d O;;) ~


                     ~
                             ~
                             esaBurton
                         Resource Management Officer· Consumer Financial Protection Bureau



                         Date: January 30, 2025
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                              SECOND DECLARATION OF ERIE MEYER

        I, Erie Meyer, declare as follows:

    1. My name is Erie Meyer.

    2. I served as the Chief Technologist and Senior Advisor to the Director at the Consumer

 Financial Protection Bureau until February 7, 2025.

    3. I am preparing this declaration to ensure that the Court is aware of the imminent risk that

 twelve years’ of critical CFPB records, which belong to the public, will be irretrievably lost and

 cause serious and sweeping damage unless the Court takes action to preserve the status quo in the

 face of efforts to dismantle the CFPB.

    4. I have direct knowledge of the CFPB’s data management practices and the vital role that

 its data plays in protecting consumers and ensuring fairness in the financial system.

    5. The CFPB manages a wide range of sensitive data critical to the enforcement of federal

 consumer protection laws. This data includes, but is not limited to, supervisory and examination

 records of financial institutions, enforcement action data, consumer complaints, personal consumer

 information, and market research records. The CFPB’s databases hold information regarding the




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 activities of large financial institutions, including details about compliance, enforcement actions,

 consumer experiences, and financial products.

    6. Public reporting and reports that I have received from within the Bureau reliably indicate

 that databases holding the CFPB’s data will soon be deleted.

    7. If that happens, it would result in the immediate and irrevocable loss of data essential to

 the agency's core mission. I believe this loss would have catastrophic effects, including:

        •   Incapacitation of the Bureau’s Public Facing Obligations: The loss of this data

            will make the Consumer Response database unavailable and/or unreliable, severely

            hamper—if not entirely take down—the Bureau’s website, and likely result in the loss

            of mandatory public reporting the Bureau has previously done.

        •   Loss of Consumer Protection Information: A significant portion of the CFPB's

            data comprises sensitive consumer information, including personally identifiable

            information (PII). The loss of such data would severely disrupt the Bureau's ability to

            investigate and take enforcement actions against violations of consumer protection

            laws. In addition, it would leave consumers without critical recourse in the event of

            financial harm caused by institutions under the Bureau's jurisdiction.

        •   Financial System Instability: The deletion of data that tracks the financial

            behavior of institutions, including compliance and enforcement records, would impair

            the Bureau's ability to identify risks and respond to emerging threats within the financial

            system. This could destabilize markets, allow bad actors to exploit weaknesses in

            financial institutions, and undermine public trust in the financial system.

        •   Competitive Disadvantages and Market Manipulation: If such data were

            deleted, there would be no way to ensure that it was not accessed or misused by


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            unauthorized parties. For example, tech companies moving into financial services could

            gain an illegal competitive advantage by accessing sensitive consumer financial data or

            enforcement records, and the audit logs of that activity could be deleted. This could

            result in unfair competition and undermine market integrity.

    8. The deletion of these records, particularly without proper safeguards in place, would have

 lasting and serious consequences. Not only would it harm consumers and financial institutions, but

 it would also undermine the integrity of federal financial laws. In the absence of this data, it would

 be nearly impossible for the CFPB to fulfill its statutory obligations to protect consumers from

 fraudulent practices and ensure fair treatment in financial markets.

    9. Based on my experience and expertise, I believe that the deletion of the CFPB's databases

 and contracts would cause irreversible damage, not only to the Bureau's mission but also to

 consumer protection and the financial system as a whole. Any such action would severely impair

 the Bureau's ability to safeguard the public interest.

    10. Over the past 24 hours, I have learned from many well informed Bureau officials that

 leadership intends to fire massive numbers of Bureau staff today and into the weekend, threatening

 the decimation of the Bureau. These firings are troubling in themselves but they will also make it

 even more difficult to ensure the preservation of the Bureau’s data. The loss of the Bureau’s staff

 further threatens the Bureau’s existence.

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.



 Executed in Washington, D.C. on February 14, 2025.



                                                               Erie Meyer

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 ____________________________________
                                     )
 NATIONAL TREASURY                   )
 EMPLOYEES UNION, et al.,            )
                                     )
                         Plaintiffs, )
                                     )
         v.                          )
                                     )                 Civil Action No. 25-0381 (ABJ)
 RUSSELL VOUGHT                      )
 in his official capacity as         )
 Acting Director of the              )
 Consumer Financial                  )
 Protection Bureau, et al.,          )
                                     )
                         Defendants. )
 ____________________________________)


                                              ORDER

          In light of the agreement of the parties at the scheduling conference held on today’s date,

 February 14, 2025, and the underlying record, it is hereby ORDERED that until the resolution of

 plaintiffs’ motion for temporary restraining order [Dkt. # 10], which, with the parties’ consent,

 will be deemed to be a motion for preliminary injunction, the following orders shall remain in

 place:

          It is ORDERED that Defendants, including their officers, agents, servants, employees, and

 attorneys, (hereafter collectively, “Defendants”) shall not delete, destroy, remove, or impair any

 data or other CFPB records covered by the Federal Records Act (hereinafter “agency data”) except

 in accordance with the procedures described in 33 U.S.C. § 44. This means that defendants shall

 not delete or remove agency data from any database or information system controlled by, or stored

 on behalf of, the Consumer Financial Protection Bureau (CFPB), and the term “agency data”




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 includes any data or CFPB records stored on the CFPB’s premises, on physical media, on a cloud

 server, or otherwise.

        It is further ORDERED that Defendants shall not terminate any CFPB employee, except

 for cause related to the specific employee’s performance or conduct; nor shall Defendants issue

 any notice of reduction-in-force to any CFPB employee.

        And, it is further ORDERED that Defendants shall not: (i) transfer money from the CFPB’s

 reserve funds, other than to satisfy the ordinary operating obligations of the CFPB; (ii) relinquish

 control or ownership of the CFPB’s reserve funds, nor grant control or ownership of the CFPB’s

 reserve funds to any other entity; (iii) return any money from the CFPB’s reserve funds to the

 Federal Reserve or the Department of Treasury; or (iv) otherwise take steps to reduce the amount

 of money available to the CFPB below the amount available as of 4:00 pm on February 14, 2025,

 other than to satisfy the ordinary operating obligations of the CFPB.

        Plaintiffs’ motion for a temporary restraining order is hereby deemed to be a motion for a

 preliminary injunction. Defendants must file any opposition to plaintiffs’ motion on or before

 February 24, 2025, and plaintiffs’ reply must be filed on or before February 27, 2025.

        The Court will hold a hearing on plaintiffs’ motion on March 3, 2025 at 10:00 AM



 SO ORDERED.




                                                      AMY BERMAN JACKSON
                                                      United States District Judge
 DATED: February 14, 2025




                                                                                                        JA100
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  From:             Vought, Russell
  To:                DL CFPB AllHands
  Subject:          Additional Directives on Bureau Activities
  Date:             Monday, February 10, 2025 8:30:43 AM


  Good morning, CFPB staff,
  As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
  headquarters building is closed this week. Employees should not come into the office. Please do not
  perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
  Chief Legal Officer, to get approval in writing before performing any work task. His email is
                             . Otherwise, employees should stand down from performing any work task.
  Thank you for your attention on this matter.
  Best,
  Russ Vought
  Acting Director
  Bureau of Consumer Financial Protection




                                                                                                        JA101
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              Exhibit 1




                                                                            JA102
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  NATIONAL TREASURY EMPLOYEES
  UNION, et al.,

         Plaintiffs,                                           No. 1:25-cv-00381-ABJ
  v.

  RUSSELL VOUGHT, in his official
  capacity as Acting Director of the
  Consumer Financial Protection Bureau,
  et al.,
         Defendants.



                           DECLARATION OF ADAM MARTINEZ

         1.     My name is Adam Martinez. I am currently employed at the Consumer Financial
 Protection Bureau (“CFPB” or “the Bureau”) serving as the Chief Operating Officer (“COO”) and
 Acting Chief Human Capital Officer. As the COO, I am responsible for leading the Operations
 Division in executing all operational functions including finance, procurement, human resources,
 information technology and development, facilities, security, records management, Freedom of
 Information Act (“FOIA”), and data governance. I started serving as the COO on February 20,
 2023, and have been with the federal government for 25 years. The following is based on my
 personal knowledge or information provided to me in the course of performing my duties.
 Events Occurring After Changes in Bureau Leadership and Events Related to the CFPB
 Building Closure
        2.      On February 3, 2025, CFPB employees and contractors were notified by email that
 the Secretary of the Treasury had been named Acting Director of the CFPB, effective January 31,
 2025. The email also identified six areas where, “unless expressly approved by the Acting Director
 or required by law,” Bureau employees were to refrain from taking further action “[i]n order to
 promote consistency with the goals of the Administration.” This email was sent in order to allow
 the new, incoming political leadership to assess the CFPB’s current operations and evaluate
 CFPB’s priorities in light of the new Administration. A copy of that email is attached hereto as
 Exhibit A.

         3.     Based on my 25 years of government experience, this is a common practice at the
 beginning of a new administration and/or during the transition of a new head of agency. As it
 relates to operations, during these transitions I immediately prepare and expect for a freeze on




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 travel, speaking engagements, conference attendance, hiring/recruitment, human resource
 processing, contracts, and certain mission actions.

        4.      While the Secretary of the Treasury was the Acting Director, his team engaged in
 the evaluation of CFPB’s current D.C. Headquarters. On February 4, 2025, Treasury’s Deputy
 Assistant Secretary (“DAS”) for Operations contacted CFPB’s Chief Administrative Officer
 (“CAO”) to coordinate a tour of the building that same evening for personnel of the General
 Services Administration (“GSA”) and the Office of Personnel Management (“OPM”). In addition,
 on the same day the DAS requested the Office of the Comptroller of the Currency (“OCC”) to
 provide him with a copy of the CFPB lease and occupancy agreement.

         5.      The CFPB Headquarters Building has provided the potential for greater efficiency
 and cost savings over the past couple of years. For example, in 2023 and 2024, the former CFPB
 Director under the last Administration instructed the Operations Division to explore options to
 sublease office space and parking to other financial regulators and/or federal agencies. Since the
 pandemic, the building has largely remained unoccupied, so this would have provided an
 opportunity to share costs with other partners. The CAO coordinated with the OCC to determine
 the process to sublease if the CFPB found an interested party. Interest was identified from at least
 a half dozen agencies.

        6.      Officials representing the Department of the Treasury notified CFPB officials on
 the evening of February 6, 2025, that two United States DOGE Service (“USDS”) officials would
 need access to CFPB Headquarters located at 1700 G St. NW.

         7.      A follow-up meeting was held at CFPB Headquarters on the morning of February
 7, 2025, between CFPB Management and USDS Personnel. During the meeting, a CFPB
 employee who was not an attendee at the meeting began taking pictures of attendees through a
 conference room window. The attendees moved to an adjacent conference room with a covered
 window due to privacy and safety concerns, but the same employee entered that conference room
 and began to disrupt the meeting. The employee questioned the personnel in the conference room,
 demanded to know who they were, began to take pictures and video of open laptops and attendees’
 faces around the conference table, and demanded that the attendees show her their identification
 cards. A CFPB physical security specialist and approximately four security officers were called to
 the scene to mitigate the problem. A copy of the Incident Report describing these events is attached
 hereto as Exhibit B.

        8.     On the same day, CFPB employees began protesting outside of the CFPB
 Headquarters building. The protest activities included following and questioning staff about who
 they were and at times making staff feel harassed.

        9.    On the evening of February 7, 2025, the National Treasury Employees Union
 (“NTEU”) local chapter president emailed the CFPB’s Chief Information Officer (“CIO”) and
 copied the CFPB Legal Team. She stated that she was made aware of messages being sent to



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 employees that orders were being received from the “Whitehouse” directly that, in her view,
 contradict and circumvent CFPB policy and procedures. Further, the NTEU President reminded
 the CIO that the CFPB is an independent agency and stated that “Whitehouse officials” “are not
 your supervisor” and “have no authority to order you to carry out orders as a CFPB government
 employee; only the [Chief Operating Officer] and the Director have that authority.” A copy of that
 email is attached hereto as Exhibit C.

        10.      On February 7, 2025, shortly after receipt of the NTEU President’s email to the
 CIO, the President named Russell Vought, the Office of Management and Budget (“OMB”)
 Director, as the CFPB’s Acting Director.

         11.     On February 8, 2025, the Acting Director emailed CFPB employees stating his
 commitment to “implementing the President’s policies, consistent with the law, and acting as a
 faithful steward of the Bureau’s resources.” The email also consisted of eight functions from which
 CFPB employees should refrain, absent approval “by the Acting Director or required by law.” The
 email also invited employees to raise any questions that they may have “through your existing
 management for consideration by the Acting Director.” This email was sent in order to allow the
 new Acting Director and political leadership to assess the CFPB’s current operations and evaluate
 the CFPB’s priorities in light of the new Administration. It is not unusual for these types of steps
 to be taken at an agency at the beginning of a new administration and during the transition period
 for new leadership. A copy of this email is attached hereto as Exhibit D.

         12.     On February 9, 2025, I was advised by our new leadership that the Headquarters
 building would be closed the week of February 10, 2025, due to safety concerns, and employees
 and contractors would need to work remotely unless instructed otherwise from our Acting Director
 or his designee. This would provide an opportunity for employees needing access to the building
 to do so safely given the disruptions caused on February 7, 2025. As the Chief Operating Officer,
 I sent an email to CFPB employees advising them of the office building closure. A copy of my
 email is attached hereto as Exhibit E.

         13.     On February 9, 2025, CFPB management became aware of additional, planned
 protests at CFPB Headquarters from 4:15 to 6:00 p.m. and included representatives from
 Indivisible, Progress Change Institute, MoveOn, and Americans for Financial Reform.

         14.    On February 10, 2025, the Acting Director sent an email providing validation of
 the building closure and instructions regarding work tasks. A copy of the email is attached hereto
 as Exhibit F.

         15.     On February 10, 2025, additional protests occurred at CFPB Headquarters. Those
 protests consisted of hundreds of people, making the opening of the building unsafe. CFPB
 Security Staff advised that, due to the protests, the building should remain closed, and as the Chief
 Operating Officer, I support the continued closure of the building due to ongoing security concerns.




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        16.    On February 12, 2025, staff protests occurred in front of the CFPB building at
 approximately 12:00 pm as reported by CFPB security personnel.

         17.    The building closure should have limited impact to the Bureau and its employees.
 Approximately 900 employees currently primarily telework from home full time in the National
 Capital Region. An estimated 350 employees and contractors are currently assigned an office or
 cubicle in the building, but not all of them enter the building five days a week. The CFPB
 Headquarters building currently has a capacity of 1,221 seats and the annual operational costs are
 greater than $25.7 million.

          18.     After considering the Bureau’s priorities to run a more streamlined and efficient
 Bureau, current CFPB leadership determined that it did not need the footprint associated with its
 current office space and decided to cancel CFPB’s Headquarters lease. As of the date of this
 declaration, the cancelation of the lease has not been fully executed. After the cancelation of the
 lease, CFPB will have thirty days to move out. CFPB leadership is evaluating and assessing
 CFPB’s future office space needs. The Bureau, in consultation with USDS, will evaluate options
 for alternative office space once the Bureau has ascertained the amount of office space it will need
 to carry out its more streamlined operations. In the meantime, CFPB employees will continue to
 telework. The termination of CFPB’s lease will not prevent the CFPB from performing the
 statutory functions described below, as employees have become accustomed to either working
 from home or remotely and the Bureau’s informational technology supports it.
 The CFPB is Committed to Performing Statutory Obligations
        19.     Since the arrival of the Acting Director, the new leadership is engaging in ongoing
 decision-making to assess how to make the Bureau more efficient and accountable. Our leadership
 has worked to comply with statutorily required functions, and my operations team has been
 mindful of this as we advise on operational related issues.

          20.      The closure of the CFPB’s Headquarters pursuant to the February 9 and 10 emails
 has not prevented the CFPB from performing statutory functions as described in this declaration.
 As mentioned, the approximately 350 employees who have assigned cubicle or office space have
 the ability to work from home and not all of them came to the office five days a week before the
 office building closure as reflected in the February 9 and 10 emails. I or the Chief Legal Officer
 have approved access for employees that require onsite access to perform their jobs. Personnel
 that have been approved for access include newly appointed personnel, security personnel,
 facilities staff, information technology personnel, mailroom personnel, and cleaning contractors.
 For example, employees working in mail services have been permitted to access the building and
 have continued to process consumer complaints that are mailed in.

        21.     Work requests have been approved to allow the CFPB to maintain operations
 required by statute. For example, the CIO was provided approval to onboard new political
 leadership with service desk support, perform security monitoring tasks for CFPB networks, and
 perform maintenance tasks needed to ensure the continuation of the Home Mortgage Disclosure



                                                                                                        JA106
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 Act (“HMDA”) application, Consumer Complaint Database, ServiceNow, and Microsoft365
 platforms. Other approvals included maintaining the CFPB Call Centers and the processing of
 payments through the Civil Penalty Fund. While the Student Loan Ombudsman position is
 currently vacant, consumers have other options to receive support from the CFPB including
 utilizing the CFPB Consumer Complaint Center and/or the CFPB Ombudsman Office, which
 houses five employees. The CFPB Ombudsman Office is an independent, impartial, and
 confidential resource to help consumers, financial entities, consumer or trade groups, or anyone
 else interacting with the CFPB. These functions help ensure that the CFPB continues to engage in
 statutorily required work.

         22.      Since the February 3 email, I have never had a work request be denied. The Bureau
 is committed to performing its statutory obligations, including those listed in 12 U.S.C.
 § 5493(b)(3)(A), entitled “Collecting and tracking complaints.” The Bureau is maintaining a
 single, toll-free telephone number, a website, and a Consumer Complaint Database to facilitate the
 centralized collection of, monitoring of, and response to consumer complaints regarding consumer
 financial products or services. Operations related to the Consumer Complaint Database are
 continuing. Contracts needed for work related to the Consumer Complaint Database have
 remained intact and operational.

         23.     Additionally, as required by the HMDA, the Bureau is providing information
 technology technical assistance to enable filers to submit their data and enabling the Federal
 Financial Institutions Examination Council to compile and publish information about applications
 for mortgage loans that is reported to the Bureau by mortgage lenders. 12 U.S.C. § 2809(a). In
 short, operations related to the CFPB’s statutory requirements under HMDA are continuing.
 Contracts needed for work related to the HMDA have remained intact and operational.
 CFPB’s Funding Structure and the Funding Request from Acting Director Vought
         24.    With respect to funding, the Bureau maintains two types of funds: (1) the Bureau
 of Consumer Financial Protection Fund (“Bureau Fund”) and (2) the Civil Penalty Fund. The
 Federal Reserve funds the Bureau Fund through transfers administered by the Board of Governors
 of the Federal Reserve System, and this money is used for the Bureau’s operations and expenses.
 Entirely separate from the Bureau Fund, the Civil Penalty Fund is funded by civil penalties
 imposed and collected by the Bureau—not the Federal Reserve. The Civil Penalty Fund is used
 to redress harmed consumers. Issuance of approved payments to affected consumers has continued
 to be processed.

         25.      At the Bureau, new leadership is engaged in ongoing decision-making to assess
 how to make the Bureau more efficient and accountable, consistent with this Administration’s
 goals of reforming the federal bureaucracy, reducing wasteful spending, and streamlining
 efficiencies in the federal government.

        26.    Shortly after becoming Acting Director, Mr. Vought reviewed the sums available to
 the Bureau in its Bureau and Civil Penalty Funds. After considering the Bureau’s total current



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 balance and the projected expenses for the upcoming quarter, Acting Director Vought determined
 that these currently available funds were sufficient for the Bureau to carry out its statutory
 mandates for the next fiscal quarter.

         27.      In making that determination, Acting Director Vought considered the President’s
 priorities of running a more streamlined and efficient Bureau, the public’s interest in a streamlined
 and efficient Bureau, the impact of government spending on the federal deficit, the impact of
 anticipated efficiency initiatives at the Bureau, and the consumer interest. Based on his
 determination, Acting Director Vought sent Chairman Powell a letter requesting $0 for the Third
 Quarter of Fiscal Year 2025. A copy of that letter is attached as Exhibit G.

        28.   The Bureau has made no attempts to transfer any of its Funds back to the Federal
 Reserve. Indeed, I am not aware of a mechanism to transfer Funds back to the Federal Reserve.


                                                 ***

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed in Washington, DC this 24th day of February.
                                                                         Digitally signed by
                                                        ADAM             ADAM MARTINEZ
                                                        MARTIN Ez Date: 2025.02.24
                                                       __________________________
                                                                       17:45:53 -05'00'

                                                       Adam Martinez
                                                       Chief Operating Officer




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              Exhibit A




                                                                            JA109
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  From:          CFPB_OfficeOfTheDirector
  To:            _DL_CFPB_AllHands; _DL_CFPB_AllHands_Contractors
  Subject:       Instructions from Acting Director
  Date:          Monday, February 3, 2025 10:59:59 AM


  Colleagues,

  Secretary of the Treasury Bessent has been named Acting Director of the CFPB,
  effective January 31, 2025. As Acting Director, Secretary Bessent is committed to
  appropriately stewarding the agency pending new leadership. In order to promote
  consistency with the goals of the Administration, effective immediately, unless
  expressly approved by the Acting Director or required by law, all employees,
  contractors, and other personnel of the Bureau are directed:

      • Not to approve or issue any proposed or final rules or formal or informal
        guidance.
      • To suspend the effective dates of all final rules that have been issued or
        published but that have not yet become effective.
      • Not to commence, take additional investigative activities related to, or settle
        enforcement actions.
      • Not to issue public communications of any type, including publication of
        research papers.
      • Not to approve or execute any material agreements, including related to
        employee matters or contractors.
      • Not to make or approve filings or appearances by the Bureau in any litigation,
        other than to seek a pause in proceedings.

  If you have any questions, please raise issues through your existing management for
  consideration by the Acting Director.

  Thank you.




                                                                                                    JA110
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              Exhibit B




                                                                             JA111
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 Febrnary 21, 2025
 fufo1mation Memo for the Chief Operating Officer

  FROM                                    , Director of Security, 202-

  THROUGH                                   , Physical Security Specialist, 202-

  SUBJECT                    Employee fucident Repo1i on Friday, Febrnary 7, 2025


  Select           IZI Situational   D Request for    □ Reply to         □ Draft
  Applicable       Awar·eness        Directional      fuquiiy from       Document
  fufo1mation                        Feedback         Director/PO        Feedback
  Type(s)                                                                Request

 Issue
 On Friday, Febrnary 7, 2025, at approximately 11 :09 am,
 Security Specialist, received a call from Special Police 0
 disrnptive employee near· Room B ~          on arTival, Mr.
 in front of Room Bl 18. When Mr . - approached Ms.                      , she appeare agitate an
 stated she had the ri~          w who the people in the room are and what they ar·e doing. Mr.
 -        noticed Ms. -           was not displaying her PIV car·d in accordan ce with Bureau policy,
 and inquii·ed if she was an employee and if he could see her PIV car·d. Ms. -            removed her
 PIV car·d from her pocket and showed it to Mr. _         , then quickly put it back in her pocket. Mr.
 -        info1med her that CFPB polic re uii·e~ display a PIV card while in CFPB space,
 but she did not ~          t that time              from the Legal Division arTived and asked to
 speak with Ms. -           · They proceed down the hallway to have a private conversation.

 At that oint, _               , T&I fufrastrncture Dii·ector, exited Room B 118 and info1med Mr.
          that i~               otified security regarding her disrnptive and harassin behavior. Mr.
           stated h~ i n Room Bl 16 with CFPB CIO                                             , along
 with DOGE staff_                        ,              and                , who were recently assigned
 to CFPB. While in the meeting in Room B 116, Mr.               noticed Ms. -         pushing a baby
 caITiage past the room on several occasions with a telephone pointing towards the window
 apparently attempting to capture pictures or video of staff in the room. Mr. -          offered, and
 the team agreed, to move the meeting to Room Bl 18 because the windows were covered. Mr.
 -         then stated that when he was exiting Room B 118, Ms. -              confronted him in the
 hallw
     -    and was pointing her phone carnera yelling at him about what he was doing. He requested
 Ms.             to stop pointing the camera at him when she responded, 'don't touch me ' . She then
 entere Room B 118 and staried recording and taking pictures of the computers and people in the
 room.

 The incident was captured on CFPB security foota.ge, Camera 13 at 11 :04 am.

 Timing Considerations




                                                                                                          JA112
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 No timing considerations.

 fufo1mation Memo Reviewer Sheet

  Subject/Document Title
  Employee fucident Repo1t

  Name of Document Owner       Office                        Telephone Extension
                               Office of Administrative      202-
                               Operations




  Office                                                     Date
  Office of Administrative                                   2/21/2025
  Operations
  Office                       Name of Reviewer              Date
  [fuse1t office]              [fuseit name of reviewer]     [fuseit date]




                                            2

                                                                                      JA113
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              Exhibit C




                                                                             JA114
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  From:            Farman, Catherine (CFPB)
  To:              Chilbert, Christopher (CFPB); Martinez, Adam (CFPB); Schafer, Jessica (CFPB); Scott, Adam (CFPB); Doguin, John
                   Paul (CFPB); White, Sonya (CFPB); Belasco, Lisa (CFPB); Heiser, Nicole (CFPB); Rice, Kevin (CFPB); Smith, Jarid
                   (CFPB); Noble, Erin (CFPB)
  Subject:         Reminder you take orders from CFPB officials
  Date:            Friday, February 7, 2025 6:37:32 PM
  Importance:      High



  Chris,

  I’ve been made aware of messages you’re sending employees that you are receiving orders from the
  “Whitehouse” directly that contradict and circumvent CFPB policy and procedure. As a reminder the
  CFPB is an independent agency; DOGE officials and Whitehouse officials are not your supervisor and
  have no authority to order you to carry out orders as a CFPB government employee; only Adam
  Martinez and the Director have that authority.

  If you are being asked and/or pressured by people other than your chain of command, ask your
  supervisor in writing to verify or clarify the request and cc CFPB Legal. Congress, CFPB Union and
  news reports have warned federal officials of well-documented pressure tactics from staff outside of
  independent agencies designed to manipulate government employees into circumventing law and
  standard operating procedure at their request and you should heed these warnings.

  Thank you,

  --

  Catherine Farman (they/them, she/her/hers)
  Web Developer | Technology & Innovation
  President | CFPB Union NTEU 335
  Mobile:
  #Solidarity
  consumerfinance.gov
  nteu335.org




                                                                                                                                     JA115
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              Exhibit D




                                                                             JA116
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  From:           Vought, Russell
  To:             _DL_CFPB_AllHands
  Subject:        Directives on Bureau Activities
  Date:           Saturday, February 8, 2025 8:50:28 PM


  Dear Colleagues,
  I am honored that President Trump designated me as Acting Director of the Bureau on
  February 7, 2025. As Acting Director, I am committed to implementing the President’s
  policies, consistent with the law, and acting as a faithful steward of the Bureau’s resources. To
  that end, I am directing that, effective immediately, unless expressly approved by the Acting
  Director or required by law, all employees, contractors, and other personnel of the Bureau
  shall:

      • Not approve or issue any proposed or final rules or formal or informal guidance.
      • Suspend the effective dates of all final rules that have been issued or published but that
        have not yet become effective.
      • Not commence, take additional investigative activities related to, or settle enforcement
        actions.
      • Not open any new investigation in any manner, and cease any pending investigations.
      • Not issue public communications of any type, including publication of research papers
        and compliance bulletins.
      • Not approve or execute any material agreements, including related to employee matters
        or contractors.
      • Not make or approve filings or appearances by the Bureau in any litigation, other than to
        seek a pause in proceedings.
      • Cease all supervision and examination activity.
      • Cease all stakeholder engagement.
  If you have any questions, please raise issues through your existing management for
  consideration by the Acting Director.

  Thank you.

  Russell T. Vought




                                                                                                      JA117
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              Exhibit E




                                                                             JA118
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  From:          Martinez, Adam (CFPB)
  To:            _DL_CFPB_AllHands
  Subject:       Please Read: DC Headquarters Building Operating Status (2/10-2/14)
  Date:          Sunday, February 9, 2025 1:39:00 PM


  (This message is for DC Headquarters Staff and Contractors)

  Dear Colleagues:

  The DC Headquarters Building will be closed this week (2/10-2/14). Employees and
  contractors are to work remotely unless instructed otherwise from our Acting Director
  or his designee.

  Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                                                                        JA119
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              Exhibit F




                                                                             JA120
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  From:             Vought, Russell
  To:               _DL_CFPB_AllHands
  Subject:          Additional Directives on Bureau Activities
  Date:             Monday, February 10, 2025 8:30:43 AM


  Good morning, CFPB staff,
  As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
  headquarters building is closed this week. Employees should not come into the office. Please do not
  perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
  Chief Legal Officer, to get approval in writing before performing any work task. His email is
                             . Otherwise, employees should stand down from performing any work task.
  Thank you for your attention on this matter.
  Best,
  Russ Vought
  Acting Director
  Bureau of Consumer Financial Protection




                                                                                                        JA121
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              Exhibit G




                                                                             JA122
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February 8, 2025

The Honorable Jerome H. Powell
Chairman, Board of Governors of the Federal Reserve System
20th Street and Constitution Avenue, NW
Washington, D.C. 20551

Dear Chairman Powell:

The Consumer Financial Protection Act requires the Board of Governors of the Federal Reserve
System to transfer each quarter an “amount determined by the Director to be reasonably necessary” for
the Bureau of Consumer Financial Protection to carry out its authorities under law. 12 U.S.C.
5497(a)(1). In determining this amount, the Director must “take into account such other sums made
available to the Bureau from the preceding year” or quarter. Id.

This letter is to inform you that for the Third Quarter of Fiscal Year 2025, the Bureau is requesting $0.

During my review of the Bureau’s finances, I have learned that the Bureau has a balance of
$711,586,678.00 in the Bureau of Consumer Financial Protection Fund. By law, I must take account
of this sum when determining the amount “reasonably necessary” for the Bureau to fulfill its statutory
authorities. Id. I have determined that no additional funds are necessary to carry out the authorities of
the Bureau for Fiscal Year 2025. The Bureau’s current funds are more than sufficient—and are, in
fact, excessive—to carry out its authorities in a manner that is consistent with the public interest.

In the past, the Bureau has at times opted to maintain a “reserve fund” for financial contingencies. But
no such fund is required by statute or necessary to fulfill the Bureau’s mandate. The Bureau’s new
leadership will run a substantially more streamlined and efficient bureau, cut this excessive fund, and
do its part to reduce the federal deficit.

Sincerely,

/s/ Russell T. Vought
Russell T. Vought, Acting Director

cc:    Patrick J. McClanahan, Chief Operating Officer, Board of Governors of the Federal Reserve
       System


                                                                                                        JA123
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USCA Case #25-5091    Document #2113074                   Filed: 04/25/2025 Page 129 of 637



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                                   DECLARATION OF ALEX DOE

        I, Alex Doe, declare as follows:

        1.      I am a federal employee who attended meetings between the Office of Personnel

 Management and the CFPB. The statements made in this declaration are based on my personal

 knowledge.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name or job position, I would be willing to provide it ex parte

 and under seal.

        3.      Around February 13th, my team was directed to assist with terminating the vast

 majority of CFPB employees as quickly as possible. The termination was to proceed in phases, to

 be completed in rapid succession. First, the Bureau fired all probationary and term employees.

 Next, the Bureau would fire approximately 1,200 additional employees, by eliminating whole

 offices, divisions, and units. Finally, the Bureau would “reduce altogether” within 60-90 days by

 terminating most of its remaining staff, leaving a Bureau that could not actually perform any

 functions, or no Bureau at all.




                                                 1
                                                                                                     JA124
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        4.      The CFPB sought to effectuate the second step of this large-scale termination—the

 firing of more than 1,000 employees—within 36 hours. Doing so required bypassing several

 ordinary procedures, safeguards, and rules. Jordan Wick, a DOGE employee, specifically stated

 that DOGE wanted formal termination notices to be sent by February 14th. The Bureau intended

 to comply and fire the vast majority of remaining employees on February 14th. The only reason it

 did not do so is because of this Court’s order temporarily prohibiting it from doing so.

        5.      We met again after the Court’s order. Adam Martinez stated that he asked the

 CFPB’s leadership whether they had been thinking about what agency would inherit the CFPB’s

 administrative portfolios—human resources, FOIA, records management, and data systems—once

 the CFPB itself was no longer operating. There are statutory requirements to maintain those

 systems even once an agency no longer exists. The only experience the CFPB had with this was

 in 2010-2011, when the Dodd-Frank Act dissolved the Office of Thrift Supervision. In that case,

 Adam explained, the administrative functions were transferred to the Office of the Comptroller of

 the Currency. And OCC retained the files and records previously held by the Office of Thrift

 Supervision, along with the funding and staff to support legacy administrative functions like FOIA

 and record management. Mr. Martinez stated that he did not yet know what agency would perform

 a similar role for the CFPB or whether the Bureau itself would technically continue to exist with a

 small staff to perform those functions.

        6.      Later in the meeting, Mr. Martinez was asked if an agency or department had been

 identified to perform those legacy administrative functions. He answered that that is exactly what

 he had just asked the CFPB’s Chief Legal Officer and new leadership that morning because he

 didn’t know if DOGE had thought about that. He stated that there are a lot of administrative




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                                                                                                       JA125
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 functions still left to do after the “wind down” of an agency but CFPB did not yet know who would

 handle those, and he didn’t know if DOGE did.

        7.      Mr. Martinez stated that during phase 2 of the three-phase termination process (the

 phase when the CFPB would lay off the vast majority of its employees), the CFPB would keep the

 specific positions necessary to carry out the “closure of the agency.” But that many of those

 employees would then eventually be fired themselves.

        8.      During at least one of the meetings in which both I and Mr. Martinez were present,

 Mr. Martinez referenced Acting Director Vought’s “stop work” order.

        9.      I have worked in federal government for many years, and I have never seen most

 of an agency’s workforce be placed on administrative leave after a change in administration. Nor

 have I received an email requiring an agency’s employees to stop all work tasks.

    I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 26, 2025, in Washington, D.C.

                                                             /s/ Alex Doe
                                                             Alex Doe




                                                 3
                                                                                                      JA126
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                               DECLARATION OF BLAKE DOE

        I, Blake Doe, declare as follows:

        1.      I am a federal employee who was present at a February 13, 2025 meeting about

 “winding down” the CFPB. The statements made in this declaration are based on my personal

 knowledge.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name or job position, I would be willing to provide it ex parte

 and under seal.

        3.      On February 13th, 2025, I was present at a meeting, at which CFPB Chief Operating

 Officer Adam Martinez explained that the CFPB was in “wind down mode.” He then laid out the

 plan for how that “wind down” would occur. Term employees would be fired that day. The agency

 was preparing Reduction in Force notices for most other employees, who would be terminated

 soon after. Mr. Martinez said that the CFPB’s statutorily-required functions would be transferred

 to other agencies.

        4.      I have read Mr. Martinez’s declaration filed in this lawsuit. That declaration states

 that consumers who would be served by the CFPB Student Loan Ombudsman can seek help from


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                                                                                                        JA127
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 the CFPB’s general Ombudsman Office, now that the Student Loan Ombudsman has been

 terminated. ECF 31-1 ¶ 21. That is not possible, however, because the employees of the general

 Ombudsman Office have been ordered not to perform any work.

        5.      Mr. Martinez’s declaration also states that the “Bureau has made no attempts to

 transfer any of its Funds back to the Federal Reserve.” ECF 31-1 ¶ 28. But I have seen an email

 dated February 11, 2025, in which Mr. Martinez stated that Chief Financial Officer Jafnar Gueye

 was in communications with the Federal Reserve about how to return money to either the Federal

 Reserve or the Treasury.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 26, 2025, in Washington, D.C.

                                                            /s/ Blake Doe
                                                            Blake Doe




                                                2
                                                                                                     JA128
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                              DECLARATION OF CHARLIE DOE

        I, Charlie Doe, declare as follows:

        1.      I am a Contracting Officer at the Consumer Financial Protection Bureau.

 A Contracting Officer negotiates, administers, and terminates contracts on behalf of the United

 States. The statements made in this declaration are based on my personal knowledge.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name, I would be willing to provide it ex parte and under seal.

        3.      I have been a contracting officer for many years, through multiple changes in

 administration. The events of the past few weeks are unlike anything I’ve ever seen at any agency

 during any change in administration (or at any other time). The instructions to contracting officers

 did not reflect a change in policy direction, but rather a wholesale termination of the contracts

 needed to keep the CFPB running.

        4.      On February 11, 2025, all contracting officers received an email ordering us to log

 in and begin terminating the vast majority of the CFPB’s contracts. We were directed to “terminate

 all Enforcement (102 contracts), Supervision (16 contracts), External Affairs (3 contracts),

 Consumer Response (20 contracts), Office of Director (33 Contracts), and Legal Division (all


                                                  1
                                                                                                        JA129
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 except 2 contracts – FD Online licenses and litigation data).” We were directed to “get these

 Termination Notifications out ASAP.” The Bureau repeatedly authorized overtime for us to be

 able to terminate the contracts within a few days.

        5.      Following this directive, between February 11, 2025 and February 14, 2025, the

 CFPB issued notices of termination for over one-hundred contracts that supported the Bureau’s

 work. The Bureau terminated almost all of the contracts it had with vendors, including all contracts

 related to enforcement, supervision, external affairs, and consumer response. Among many other

 things, these contracts included contracts for storing, maintaining, and transferring data. They

 included contracts for maintaining the consumer complaint database; scrubbing the database of

 personally identifiable information; enabling consumer complaint information to be shared with

 the public and with states, localities, and other federal agencies; and protecting the complaint

 database from computer viruses. All expert contracts, including contracts with experts in pending

 litigation, were canceled. Contracts for training examiners who supervise banks and for

 administering the test that employees must take to become examiners were canceled. Contracts for

 ensuring that the CFPB’s website and publicly available information is accessible as required

 under the Americans with Disabilities Act. Contracts for the tools necessary for CFPB employees

 to do their jobs were canceled.

        6.      Before issuing contract termination notices, the Bureau asked CFPB employees to

 provide feedback on what contracts were necessary for the Bureau to continue to carry out its

 statutorily required functions. But the Bureau decided to ignore this feedback, instead issuing an

 urgent directive to the contracting department to cancel all of the agency’s contracts. I am aware

 of only two exceptions to this initial directive: the contract for storing litigation data and the

 database that houses employees’ financial disclosure information.




                                                  2
                                                                                                        JA130
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        7.        A very small number of contracts have been reinstated. For example, following

 widespread media attention on the cancellation of the consumer complaint hotline, that contract

 was reinstated. But because the contract to maintain the database that houses those complaints

 remains canceled, the database is quickly degrading. And I understand that there is a backlog of

 thousands of complaints that have not been forwarded to financial institutions. The vast majority

 of the contracts the Bureau needs to perform its functions remain terminated, and they have not

 been replaced.

        8.        The contract termination notices sent the week of February 11, 2025 informed

 contractors that they should stop work on the contract, that the Bureau intended to terminate the

 contract, and that the contractor had 30 days to report to the Bureau any outstanding costs or costs

 related to terminating the contract.

        9.        These stop-work orders do not themselves complete the termination of a contract.

 In order to complete a contract’s termination, the vendor must report its settlement costs, the

 Bureau must pay those costs, and there must be what’s called a “closeout modification” of the

 contract, signed by both the vendor and a Bureau contracting officer.

        10.       If a contract is fully terminated, that termination cannot simply be rescinded.

 Federal Acquisition Regulations govern the process agencies must go through to requisition goods

 or services, and once a contract is fully terminated, procurement must go through that process.

 Unless the agency can justify awarding the contract without having a competitive bidding process,

 it will need to go through that entire process again. That process often takes six months to a year

 or more. Even the process of justifying an exemption from competitive bidding can take months.

 Re-procuring services for the CFPB to get up and running again would likely take even longer

 than usual here because the CFPB’s contracting office is already understaffed. The Bureau was




                                                  3
                                                                                                        JA131
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 slated to hire additional Contract Specialists, but following a directive from Acting Director

 Vought, those offers were rescinded.

        11.     This full contract termination process is ordinarily completed within 30 days of the

 notice of termination, sometimes sooner.        The Bureau recently began issuing directives to

 contracting officers that we should complete the termination process for the more than one hundred

 contracts for which it had issued stop-work notices as quickly as possible. We were directed to

 complete contract termination, even if the ordinary, required steps, such as consulting with legal,

 receiving and approving settlement costs, and even getting the vendor’s signature, had not been

 completed. Following what I understand was a temporary agreement between the plaintiffs and

 the Government pending this Court’s hearing on March 3, we were directed to pause the

 finalization of contract terminations. Absent that agreement, many of the CFPB’s contracts would

 have been fully and irrevocably terminated by the end of this week. Once that agreement expires

 after the hearing, if there is no order prohibiting the continuation of contract terminations, I expect

 the vast majority of the CFPB’s contracts to be fully terminated within the week.

        12.     To my knowledge, the Bureau has not taken any efforts to preserve CFPB data that

 is possessed by vendors whose contracts are terminated. Previously, when I issued a final contract

 termination, I would include a data preservation notice to ensure that Bureau data was not deleted.

 But none of the stop-work notices or other termination paperwork that I am aware of contains a

 provision requiring data preservation, requiring the return of data to the CFPB, or anything else

 governing data. We are being required to use form language that does not include anything about

 data preservation, and are not permitted to add that (or anything else) to the language provided.

        13.     As someone has been working in government procurement for 25 years, I have been

 a stalwart protector against waste, fraud, and abuse. I pride myself on being an excellent steward




                                                   4
                                                                                                           JA132
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 of the tax payers’ dollars, which is a cornerstone of government procurement. That is what

 contracting officers do. The wholesale termination of contracts will not prevent waste, fraud, or

 abuse. Instead, the government will incur—and already has incurred—substantial expense because

 the government will have to pay contractors their costs to terminate a contract, and then pay them

 again the costs to re-start that contract (such as re-hiring employees, re-creating or re-starting any

 databases or software, re-purchasing any necessary tools etc.). In addition, if the contracts are fully

 terminated, it will require substantial work from government employees to re-procure the services

 they provided.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 27, 2025, in Washington, D.C.

                                                                /s/ Charlie Doe
                                                                Charlie Doe




                                                   5
                                                                                                           JA133
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity               Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                                DECLARATION OF DREW DOE

         I, Drew Doe, declare as follows:

         1.     I am an employee at the Consumer Financial Protection Bureau (CFPB). This

 declaration is being written to establish a written record of conditions that I observed over the past

 month. The statements in this declaration are based on my personal knowledge.

         2.     I am filing this declaration pseudonymously because I fear retaliation. If requested,

 I would be willing to share my name and position at the CFPB with the Court ex parte and under

 seal.

         3.     On Thursday, February 6, and Friday, February 7, 2025, employees of the United

 States DOGE Service visited the CFPB and were given CFPB laptops. Contrary to the affidavit of

 Adam Martinez filed in AFL-CIO v. Dep’t of Labor (No. 25-339), those DOGE employees had

 not—and to this day, still have not—completed the required cybersecurity and privacy training. In

 addition, contrary to CFPB policy, they were allowed access to the CFPB’s systems and data

 before any agreement between the CFPB and DOGE regarding their work was signed.

         4.     On February 7, DOGE employees were given full privileged access to CFPB

 systems and data, without following the process that the CFPB ordinarily requires to do so. For


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 example, the DOGE employees did not sign the documents that outline the rules governing the use

 of CFPB systems and data. They did not complete the training required for users who have such a

 high level of access to CFPB systems and data. Nor was any document waiving these requirements

 signed by an official with the power to authorize such a waiver.

        5.      On multiple occasions between Friday, February 7, 2025 and Tuesday, February

 25, 2025, multiple Senior Executives shared that the intention of the leadership was to fire

 everyone but the five positions required by the Dodd-Frank Act. They also shared that all five of

 the CFPB’s buildings (the headquarters in DC and all of the agency’s regional offices) were being

 returned to the agencies that had leased the buildings to CFPB. On multiple occasions, staff were

 told by Senior Executives that “the writing was on the wall” and that “it was all over but the

 terminations.” By Thursday, February 13th, most of the CFPB’s contracts had been terminated, all

 of the probationary employees had been fired (via a failed mail merge), and all term employees

 who had not already agreed to resign were fired. It was clear to internal staff that this was not a

 pause, nor audit, nor any form of analysis.

        6.      The CFPB terminated all contracts for Supervision, Enforcement, Consumer

 Response, Regulations, Front Office, and most of Operations contracts—approximately $200

 million terminated contracts out of approximately $227 million total contracts. The hasty

 termination of almost all of the Bureau’s contracts resulted in systems and services being turned

 off before CFPB or contract personnel returned CFPB data. Because not all systems have off-line

 backups, some of the CFPB’s data may have been deleted. Among other things, this data may

 include CFPB Human Resource records, Reasonable Accommodation records, Ombudsman

 records, and Equal Employment Opportunity records. The data may not be recoverable and as of

 February 25th, CFPB is trying to now figure out which systems and services have records.




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        7.      During meetings about the CFPB’s shut-down that took place between Monday,

 February 18 and Tuesday, February 25, staff were told by Senior Executives that the CFPB would

 be eliminated except for the five statutorily mandated positions; that the CFPB would exist in name

 only; and that, once this Court’s injunction was over, everything would need to be either removed

 from the building or destroyed. Staff were told by Senior Executives that the CFPB would no

 longer have an employee location and that data could not be stored at any CFPB location because

 there wouldn’t be any locations left. Staff were told that no DHS, OIG, GAO, OMB, Internal

 Controls, Congressional, or other compliance would be necessary because the CFPB would “not

 exist” and it would no longer be “our problem.”

        8.      Senior Executives explained that the work stoppage on February 10 was

 characterized as a work stoppage to avoid the 10-day legal limit on administrative leave. Because

 of the work stoppage, only the barest of information intake has been happening, and full data

 handling has been slowed if not eliminated due to the contract terminations and reversals. There

 has been no attempt internally to hide the fact that the disassembly of the CFPB continues despite

 the Court’s order. The status quo as of February 14th has not been maintained.

        9.      When Senior Executives were approached by staff about the inaccuracies in

 affidavits provided by Adam Martinez, the Senior Executives stated that they were not going to

 discuss the facts, and staff were told to stop asking. The majority of operations have been

 terminated. Moreover, for those few systems that have been allowed to continue, their operations

 staff have been largely terminated. Given the stop work order, the CFPB’s systems may be able to

 detect and log an ongoing issue, but may not be able to maintain secure operations or respond to a

 problem, as most of the contract staff are gone with no transfer of institutional knowledge.




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        10.     Because of the stop-work order, the work required to maintain the security and

 stability of the CFPB’s computer systems—including systems that collect and maintain CFPB

 data—is not happening.      Requests to perform this necessary work were denied by Senior

 Executives. Multiple iterations of cuts have left the CFPB systems with unclear support and

 maintenance. If this continues, almost all CFPB systems will be ended, with the few remaining

 systems reported to be transferred to another agency. The direction given was not to conduct

 streamlining but instead mandated that programs, staff, and contracts be pared beyond what can

 sustain any effective operation. One Senior Executive said that CFPB will become a “room at

 Treasury, White House, or Federal Reserve with five men and a phone in it.” Concerns raised to

 the Senior Executives have been largely ignored, even when positions or requirements are

 mandated by statutes other than Dodd-Frank. I am unaware of any effort to assess whether these

 actions have or will create any streamlining or efficiency gains.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 26, 2025, in Washington, D.C.

                                                              /s/ Drew Doe
                                                              Drew Doe




                                                  4
                                                                                                     JA137
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

   ATIO AL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
         V.


  RUSSELL VOUGHT, in his official capacity             Case    o. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                             DECLARATION OF ADAM SCOTT

        I, Adam Scott, declare as follows:

        1.      I am the Director of Digital Services at the Consumer Financial Protection Bureau.

 The statements made in this declaration are based on my personal knowledge.

        2.      On February 18, 2025, I was cced on an email from another employee to Chief

 Operating Officer Adam Martinez and Chief Information Officer Christopher Chilbert, requesting

 authorization to work to repair the CFPB's homepage. The employee repo1ted that members of the

 "DOGE Organization" had "delet[ed] the homepage for some unknown reason." And he detailed

 the ways in which the "broken homepage ha[ d] damaged several aspects of our technical

 operations already."

        3.      I was also cced on Mr. Chilbert' s response, sent approximately an hour later. Mr.

 Chilbert denied authorization, stating "My understanding is that the decision to delete the

 homepage was made by Acting Director Vought, and it was not an en-or made by the members of

 the DOGE team. We do not have authorization at this time to restore the homepage[.]"

        4.      The email chain containing the initial email requesting wor~k authorization and Mr,

 Chilbert's response are attached as Exhibit A.




                                                                                                      JA138
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        I declare w1der penalty of pe1jury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 27, 2025, in Washington, D.C.


                                                            Adam Scott




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              Exhibit A




                                                                             JA140
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RE: Requesting uthorizatlon to repair the cf.gov homepage

                                                                                                                                  TOllav at 9.3:z. M




 My underst.1nd1ng is that h dl!C1s.Jcn lo d I t th hom page was mad by Acting O rector Vought, and it was not an error mode by t he memben
 of the OOGE team. We do not have authoriu on at this t1   to restore th homepage or ngage the DOGE team In an AAR,

 Oirls C:hllben



From:                                             >
  nt: Tuesday Fe
To: Martinel, Adam                                      Chllb rt, Chrl toph r
Cc: Scott, Adam (CFPB
Subj ect: Requesting au

Adem and Chns,

Apologies for the unusual emaH address. These are unusual times, · and I have a request for outhonzatlon to work that I'm nol sure should
 e addressed to one or lhe oth r o you, so I figured I would keep you t101h In the loop. I h ve also cc'ed my m nager for vlslblllty, so ne can
be aware if such v.-ork Is author11ed

Based on news reports hat Gav n Kligeris now a the IRS, it seems like the DOGE Organization is largely done with its technical work at the
agency to •improve the quality and elflciency of government-wide software, n twork inlrastructure, and inlormaTion technology (IT)
systems.~

A part of ttus wor on improving q aUty, they also damaged the website by deleting the homepage for some unknown rea$on. I have heard
tho CFPBsuiff were able to persuade them to not dole10 everything ont,rely (es they did lor USAID). I struggle to understand why this
del t10n was necessary a ell and why they demanded access to the website with extrem urgency la1e on a Friday night. Despi1e hei1 stated
assurances, it seems they did not follow our processes, nor d d they welt for 1;1n employee signing on under ownl me to onboard them Into
our w bshe's CMS, Wagtail. From what I understand, It seems thal they instead used global ad min privileges on our SSO Identity provider to
fo1co occo88 into our aystorn ond moko tho change on their own. I havo many quootiono stlll, but I hope to be oble to explore thern through o
more establlshed process rather than relying on hearsay (see below).

I know some teams have been recerved authorization to cont nue working despite the general stop• ork order from tile Act ng Director. I
would like t-o request authorizouon for two scopes of work:

   1 . I would like for my teen, 10 repalrthe webs te's homepage. The rest of the site does remain accessible o the generelpublic, but having
       a broken homepage has damaged several aspects ol our technical operations already:
          a. $110 c,awlIng by search Indices like Google is likely not hoppenlng, lh s wlll dem ge our SEO ondvts bll1tyto the world and couso
             our content to become less v slble 1n search 011er time
          b. I av confirmed also hat our automated eocesslblUty conning is now malfunctioning and is un ble to verify our site still
             meets its mandal d 508 compliance for accessibility




                                                                                                                                                  JA141
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRJCT O F COLUMBIA


   ATIONAL T REASURY
  EMPLOYEES UNION, et al.,
                  Plaintijf:Y,

  V.
                                                        Case No. 25-cv-381-ABJ
  RUSSELL VOUGHT, in his official capacity
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,
                        Defendants.


                            DECLARATION OF MATTHEW PFAFF

        I, Matthew Pfaff, declare as follows:
         1.     I am employed at the Consumer Financial Protection Bureau, where I currently

 serve as the Chief of Staff for the Office of Consumer Response. Consumer Response is the unit

 responsible for "the centralized collection of, monitoring of, and response to consumer

 complaints," as well as sharing data, as required by 12 U.S.C. § 5493(b)(3)(A)-{D). It is also

 responsible for executing one of the CFPB's primary fitnctions of ..collecting, inve-stigating, and

 responding to consumer complaints" and providing "timely regulator response to consumers" as

 required by 12 U.S.C. § 551 l(c)(2) and 12 U.S.C. § 5534(a), respectively. As the Chief of Staff, I

 am responsible for leading the Office's efforts to meet its statutory obligations and support CFPB

 priorities and initiatives. I started serving as the Chief of Staff on February 14, 2021. I have been

 with the CFPB since October 2013, and I have worked in the Office of Consumer Response the

 entire time. The following is base<! on my personal knowledge or infom1ation provide<! to me while

 performing my duties.




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                           The CFPB's Cons umer Complaint Process
        2.      The CFPB's consumer complaint process is the primary way that the CFPB hears

 from individuals and famil ies about problems they experience with bank accounts, mortgages,

 cred it repo1ting, and other consumer financial products. These complaints come from active-duty

 military members, veterans, rural consumers, older Americans, and students. They come from all

 50 states. They come from individuals of all backgrounds and all socio-economic statuses.

        3.      Submitting a complaint is simple. Consumers can submit complaints online, over

 the phone, and by mail. Other federnl agencies (e.g., Office of the Comptroller of the Currency,

 Federal Deposit Insurance Corporation, Federal Trade Commission, Federal Reserve, National

 Credit Union Administration), states, congressional offices, and the Vlhile House cru1 also refer

 complaints to the CFPB for processing.

        4.      Processing complaints a t scale, however, is much more complex. Once the CFPB

 is in receipt of a complaint, it will ensure that the complaint is complete and direct the complaint

 to a company for a response or to another federal agency for handling. Complaints meeting the

 CFPB 's publication criteria are elig ible fo r inclusion in the publ ic Consumer Complaint Database.

        5.      The complaint process has proven lo be an efficient and effective forum for

 everyday people to have their problems addressed. indeed, of the more than 2. 7 million complaints

 published in the CfPB 's Consumer Complaint Database last year, companies provided a timely

 response 99.7% of the time and reported providing money back or other relief (e.g., corrections to

 consumer reports) in about half of those complaints. Since the CFPB opened its doors, companies

 have reported returning more than $300 mi llion dollars in response to complaints. Compan ies have

 also repo1ted that they discontinued mortgage forec losure proceedjngs, cancelled stude11t loans,

 refimded incorrect late fees, and reversed transactions for consumers who were scammed.




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                              The Declaration of Adam Martinez
        6.      I have reviewed the declaration that the CFPB's ChiefOperating Officer and Acting

 Chief Human Capital Officer, Adam Martinez, submitted in this case. ECF No. 31 -1. Mr. Mru1inez

 summru-i ly concludes that "[t]he Bureau is performing its statutory obligations, including those

 listed in 12 U.S.C. § 5493(b)(3)(A)." id. at ~I 22. Mr. Martinez also declares that "[o]perations

 related to the Consumer Complaint Database are continuing and that ''[c]ontracts needed for work

 related to the Consumer Complaint Database have remained intact and operational." Id.

        7.     Mr. Ma1tinez's statements are misleading, inaccurc1.te, or both.

        8.      Mr. Martinez's statements further demonstrate a lack of understanding about the

 consumer complai11t program. When i11dividuals or their representatives submit a complaint to the

 CfPB, the complaint is submitted to and included in a case management system. This case

 management system allows consumers, companies, and the CFPB to securely share information

 and engage in the complaint process. This case management system is also how both the CFPB

 and companies can deliver timely responses to consumers as required by law. Information from

 the case management system populates other systems to meet data sharing requireme11ts with

 federal ru1d state agencies, as well as with the public via the Consumer Complaint Database.

 People- both federal employees and contractors- make this entire operation run succecgsfolly.

        9.     On Monday, February LO, 2025, Acting CFPB Director Russell Vought directed

 staff to "not perfonn any work tasks" and to "stand down from performing any work task." Id. at

 Ex. F. Consumer Response staff complied with the Acting Director's order. As a result of this

 compliance, the "operations related to the Consumer Complaint Database" are 1101 "continuing."

 A11d many of the "conlracts needed for work related to the Consumer Complaint Database" have

 not "remained intact and operational."




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                   Operations Related to the Consumer Complaint Program
                              and Database are Not Continuing

         10.    Consumer Response is composed of several teams, each tasked with carrying out

 one (or a set of) the CFPB's statutory obligations. On February 13, 2025, members of the

 .. Department of Government Efficiency'' (DOGE) requested that Consumer Response define

 competitive areas- areas explicitly required by statute-for purposes of a Reduction in Force

 (RJF). I drafted a memo that provided infonnation about the teams within Consumer Response

 that align to specific statutory obligations. Mr. Marti11ez was provided a copy ofthis memo. A copy

 of that memo is attached hereto as Exhibit A.

        11 .    None of the teams listed in the memo. which align to statutory obligations. have

 been activated to work. As a result, the complaint hand ling operation has experienced a significant

 dismption.

        12.     Complaints refened by congressional offices, states, and most federal agencies are

 not being reviewed and sent to companies. T hese complaints require federal staff to review and

 process.

        13.     Complaints about companies that are not yet participating in the complaint program

 are not being addressed. These complaints require federal staff review and a manual invitation to

 participate in the program.

        14.     Complaints in which consumers misspelled the name of the company are not being

 sent to companies. These complaints require federal staff review and manual processing.

         15.    Incomplete complaints are not being processed or worked by anyo11e. These

 complaints require federal staff to conduct outreach to consumers for additional information.

        16.     Taken together, in these categories alone, l expect that more than L0,000 complaints

 are currently awaiting federal staff review. This is a large and unprecedented backlog.



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        17.     Complaints are not being "monitored." Consumer Response has a team of subject

 matter experts who monitor complaints to ensure that consumers are receiving timely, accurate,

 and complete respo11ses to their complaints. Subject matter experts also monitor complaints for

 emergent issues across market and at companies. This ongoing monilo1ing provides a necessary

 check on the complaint program to ensure that consumers receive meaningful responses. Without

 this work, company responses are likely dedining in quality.

        18.     Complaints are not being "investigated," In addition to monitoring complaints,

 subject matter experts perfonn targeted investigations on certain complaints. These investigations

 typically involve asking companies follow-up questions to ensure rules and regulations have been

 followed. And often, these targeted investigations yield additional relief for consumers.

        19.     Escalated issues are not being addressed. Consumer Response's Escalated Case

 Management team responds to consumers who are facing imminent foreclosure, may be a risk to

 others or themselves, and other sensitive issues.

        20.     Complaint sy5terns, including the case management system and systems for sharing

 data, are not being maintained. Complaint systems require federal and contractor staff to monitor

 and respond to issues affecting system health. Automatically generated error notices indicate the

 system has already experienced problems. lf these errors are not addressed, at some point, the

 system will break entirely. Additionally, companies that receive complaints through this system

 have received error notices that they are unable to export complaints out of the system, which will

 impede their ability to review and respond to complaints.

        21.     Stakeholder support tickets are not being resolved. Consumer Response receives

 hundreds of suppo11: tickets every month from company, congressional, and government

 stakeholders. Support tickets range from cornpanks trying to remedy potential privacy concerns




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 to resetting passwords. These tickets are not being reviewed and resolved, which is almost certainly

 frustrating the ability of stakeholders to complete their work.

        22.     Coordination with other federal regulators is not occurring. Indeed, I am aware of

 al least one federal agency that has noted the disruption in complaint processing. This disruption

 in timely referrals mean that other federal agencies will not be able to initiate their investigative

 processes.

        23 .    Complaints submitted by servicemembers and their families are not being

 monitored. It is my understanding that no one from the Office of Servicemember Affairs has been

 activated to work.

        24.     Student loan complaints are not being reviewed and informally resolved. The

 Student Loan Ombudsman role is v acant. Mr. Martinez seemingly suggests that the CFPB

 Ombudsman is an appropriate substitute. Yet again, this reflects a basic misunderstanding of the

 functions of that office and the authorities !,'l'anted to the CFPB Ombudsman by the Consumer

 Financial Protection Act. The CFPB Ombudsman does not assist in resolving any issues between

 consumers and compan ies; rather, it merely ensures that the CFPB is followi11g its own internal

 processes and procedures.

        25.     Audits and quality controls have halted. Consumer Response maintains an audit

 function that ensures complaint processes and procedures are being followed, and vendors are

 appropriately interacting with members of the public. This function also responds to oversight

 inquiries, such as those from the CFPB Ombudsman and the Office of Inspector General. There is

 currently no one per forming these essential functions.




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        26.      Activities to monitor and safeguard the system to prevent bad actors from misusing

 it have stopped. Tbis risks overwhelming the system and wastes the CFPB's technical resources

 and the resources of companies responding to complai11ts.

          Contracts Needed for Work Related to the Consumer Complaint Program
                 and Database Haye Not Remained Intact and Operational

        27.      On February 11, 2025, the CFPB 's Chief Financial Officer, Jafuar Gueye, requested

 that offices review a list of contracts to detennine which, if any, directly supported a statutory

 requirement. I reviewed the list of contracts managed by Consumer Response and dete1mined that

 five contracts directly supported a statutory requirement. All five contracts were nevertheless

 terminated for convenience-after it was determined that they were necessary to support statutory

 requirements.

        28.      Since those terminations, following inquiries on the shutdown of Consumer

 Response, the contract for the Consumer Resource Center has been reactivated. This contract

 enables the CFPB to operate its toll-free telephone 11Umber. The Consumer Resource Center, which

 handles several thousand calls 011 any given day, recently had an outage lasting an entire day,

 meaning that nobody who called the CFPB's toll-free number to speak to someone to have their

 question answered, submit a complaint, or obtain a status update. Additionally, there is currently

 no oversight of the Consumer Resource Center by the CFPB.

        29.      Contracts for the maintenance of complaint systems, including the case

 management system and systems for sharing data, remain terminated.

        30.      Contracts ma11aged by other offices but that affect complaint systems have also

 been terminated. Among these contracts was a subscription to virus scanning software. Withou t

 this software, most complaints cannot be sent to companie.s for review and response. Similarly,

 consumers cannot access any attachments that companies may upload in response to the complaint.



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                                                                                                      JA148
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 Although this contract was recently reinstated, the disruption in virus sca1ming software meant that

 tens of thousands of complaints were not been promptly sent to companies and are now instead

 part of a large backlog.

                                     WhistleblO'wer Disclosure

        31.     I have provided a copy of this declaration to the Office of Special Counsel pursuant

 to the Whistleblower Protection Act. I am making this whistleblower disclosure based on my

 reasonable belief that tl1e conduct described in this declaration constitutes a violation of a federal

 law and an abuse of authority. 5 U.S.C. § 2302(b)(8)(A).

                                                  ***

        I declare under penalty of perjury, pursuant to 28 U.S.C. § l 746, that the foregoing is true
 and COlTeCL

        Executed in Washi11gto11, DC this 26th day of February, 2025.




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                                                                                                          JA149
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                             Exhibit A




                                                                            JA150
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  February 13. 20251
  lnfmmation Memo for the .Acting Director
                                                                       Consumct Response &
   FROM

   SUBJECT                   Divisional Staffing



   Sc1ect           □Situational     □Request for    181Reply to       □ Draft
   A_pplialble      Awaren~          Directional     lnquity from     DocumcDl
   Infcmnation                       Feedback        Director/FO      Feedback
   Typc(s)                                                            Request


  muc
  This purpose of this memorandum is to provide i.n.formalion about bow 1be staffofthe Consumer
  Response and Education Division align to the Consumer Financial Protection Bureau•s (CFPB' s)
  statutmy obligations.
  Dividoml Background
  The Consumer Response and Education Division (CRE) is responsible for executing the CFPB's
  first two statutoiy functions: (1) cood11mng financial education programs. and (2) collecting.
  invcstigating1 and responding co oomumer complaints. See 12 USC 551 l(cX:1}{2). CRE is the
  public face of die CFPB to individuals and their families, 4,:livering scalable services and tools
  designed to empower consumers to share their experienct.s m1he marketplace, respond to
  clJallenges, and make better informed financial decisions.

  There are two offices within CRE: the Office ofF.ina:ncial Education Bild the Office of Consumer
  Response. Financial Education is respomible for managing a suite ofmore than SO edllcational
  tools aod resources, <mtdbuting those tools to users, and researching 1hc effectivcn~ of financial
  c:ducation.~        -.Financial &iucation is also respom1l>le for supporting1he Director's
  membership in the Financial Litm0y and.Fduc,tion Commission. Financial Education's content
  is some of the most frequently visited content on the CFPB's website.

  Consmner Response is responsible for answering qwsti~ handling complainJs., and sharing data
  aod insights. O : , ~ R.espome rnaoag,'!S the CPPB's toll-he number and complaint program
  from end-to-end C.Omumet Response is al.so responsible for assisting complaint process
  sabbolders (e.g., responding to congxcssional mcmbets with their constituents' corq,laints.,
  misting QmJpany Portal users as they respond to their customer's concerns) and sharing
  complaint information. with Fedmal and State agencies.
  The current headcount for CRE Is appro:rlmately tS0-155 full-time employees. The,
  fundfonal ares1 Uded below aligned to statutory responslbilities toW approximately 80 to
  85.




                                                                                                       JA151
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  omce of Finandll Education
  12 USC S493(d) requires the Director to "establish an Office of Pinancia1 F.ducation, which shall
  be responsible for developing and itl'.1)1ementing initiates intended to educate and empower
  conswners to make better informed financial decisions.u There is one competitive &ml within the
  Fmancial F.ducation, rcspomiblc for delivering several statutory obligations:

      • Developing and implementing initiatives intended to educate and enp,wer consumers to
        make better infom1ed financial decisions. Su 12 USC 5493(d)(l).
      • Developing and implementing a strategy to improve the financial literacy of consumers
        lb.at includes meuurable goals and objectives, in consultation with the Financial Literacy
        and Education Commission. See 12 USC S493(d)(2).
      • Coordinating wilh other units within.the Bureau in carrying out its functiom, including
        working with the Cmmnmity Affiun Office to implement the strategy to iq,rovc financial
        literacy of consumers; aod wodcmg wilh the research unit established by the Director to
        conduct research related to oonsumer financial education and 001D1Seling. See 12 USC
          S493(d)(3).
      •   Submitting a rcpod on its financial literacy activities and strategy to improve financial
          literacy of comumers See 12 USC S493(d)(4).

  The current headcolDlt for this area is 12.

  Office of Consumer Response
  12 USC 5493(b)(3)(A) requires lhe Director to "establish a wlit whose functions shall include
  establishing f\ single, toll-free telephone number, a website, and a d a ~ ... to facilitate the
  centralized collection ot: monitoring of, a n d ~ to consumer complaints regarding consumer
  financial products and or services." 12 USC 5534(a) requires the CFPB "to provide a timely
  respome to collSUIJlefS, in writing where appropriate, to complaints against, or inquiries
                                                                                                   ..
  amceming, a cov~ person." 15 USC 168li(e) establishes a process by which th~ CFPB mmt
  act and report out on certain credit and consumer reporting corq,laints. Consumer Response must
  coordinate with certain CFPB offices and persoone4 including the Private Student Loan
  Ombudmwiand Officeof Sc:rv:icemember Affairs. See 12 USC 5493(e), 12 USC 5535.

  Consumer Response bas several competitive affilS:

  Co1Ulllller Resoura Cmter
  12 USC S493(b)(3)(A) directs the CFPB to aeate establish a single, toll-free number. This team
  mana~ a Omsmner Resource Ceoter (CRC), which receives more than 40.000 calls per month.
  The CRC amwcrs oonsumers' inquiries, accepts and provides s ~ updates on complaints, and
  directs consumers resources such as state and local services.

  The current headcount for this area is 3.

  Complaint Ham/Jing
  12 USC SS34(a) requires the CFPB to timely respood to consumers, including any responses
  received by the regulator from the covered person. This team directs the complaints to companies
  for a response.



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  The CUITCllt headcount for this area is 7.

  P"'1lll Opaati,ons
  12 USC 5534(b) requires certain covered persons to provide a timely respome to the :regu]ator.
  This team is responsible for responding to stakebolder support tickets, including ti~ submitted
  by company, congressional, and government portal users.

   The current headcount for this area is 7.

   Mosaic Prognun
   12 USC S493(b)(3)(A) directs theCFPB to a-eate est.ablim a database to facilitate the centrali7.ed
   oollection ofcomplaints. 12 USC S493(b)(3)(D) requires the CFPB to share oonsumer complaint
   information with prudential regulators. the Federal Trade,Connnission, other Federal agencies, and
   State agencies. This team manages 1he technology that facilitates the handling ofmore than
   350,000 complain~ per month

   The C\DTCllt headcount for this area is S.
   bwatlgatwns (Regulillo,y O,,np/i1111Up Co.,,,,tmnt Monitoring, Raearch tRUI~
   Esoalado• Case Mam,gmu11t)
   12 USC :551 t(cX2) rc<(Uffl the CFPB to "investigate0 complaints. Additionally, 12 USC •
   S493(bX3XA) requires the CFPB to "monitor" complaints. This team is responsible for
   monitoring and investigating the more than three million complaints the CFPB receives annually.
   This team conducts investigative inquiries received by the Director's Office. This team also
   conducts ~ that support the Chiefof Staff's team efforts to meet the publication of statutozy
   reports and supports rule lookback ~essments as required by 12 USC 5512.    I
                                                                                                   •




   The cuneot headoount for this area is S.




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 C1defofSt.a.ff Team
 Consumer Response is responsible for publishing or contributing to the publication of several
 ~rts. Those reports inolude:
     •   Consumer Respome Annual Report (as required by 12 use S493(bX3)(D))
     •   Fair Credit Reporting Act 611 (e) Report (as required by 1S USC 168 Ii(e)(S))
     •   Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
     •   CFPB Semi-Annual Rq,orts (required by 12 USC 5496)

 This team is MSpOnSibJe for the production and publication of these report,, inc1uding any follow-
 up questions from oversight bodies.

 The CUD'Ctlt headcount for this area is S.

 Managanent ud Open.dons
 This team provided the executive direction for both offices within the division. The ament
 divisional executives each have a dual role both division and office level executives. The office
 level executive positions remain vacant The team also provides centralized support to each office
 regarding resource managemcm functions including budget, acquisition management, training,
 management reporting. and coordination with inmmal and external stakeholders, and oversight
 bodies such as GAO and OIG.

 Toe C\D"l'eDt heaa;.ount for this area is 5.




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                                                                                                         I    I




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity               Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                              DECLARATION OF BRIAN SHEARER

 I, Brian Shearer, declare:

        1.      I currently serve as the Assistant Director in charge of the Office of Policy Planning

 and Strategy at the Consumer Financial Protection Bureau (CFPB). The Office of Policy Planning

 and Strategy is a sub-office within the Director’s Front Office that manages and coordinates the

 policy functions of the agency consistent with statutory restrictions and responsibilities.

        2.      I have been in this role since March 2024. Before that, I served in senior roles in

 the CFPB’s Front Office. I was on the CFPB agency review team for the last presidential transition

 and part of the “landing team” for the CFPB in 2020. Starting on January 20, 2021, I served as the

 lead advisor on enforcement and supervision for Acting Director David Uejio. When Director

 Rohit Chopra was confirmed in October 2021, I became his lead advisor on regulatory policy.

        3.      I also worked at the CFPB from September 2011 to July 2018. I spent most of that

 time as an attorney in the Office of Supervision Policy, but from early 2017 up until his departure

 from the agency in November 2017, I was Director Richard Cordray’s Senior Advisor. For the

 first several months of Acting Director Mick Mulvaney’s tenure, I was a Senior Advisor to




                                                                                                         JA155
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 Associate Director of Supervision, Enforcement, and Fair Lending Chris D’Angelo, until leaving

 the CFPB in July 2018.

         4.    I have been personally involved in every presidential administration change that the

 CFPB has experienced since its inception. During the transition from President Obama to President

 Trump appointees in 2017, I was one of the staffers who briefed the Trump appointees as they

 took over leadership of the agency. For example, I helped brief then Acting Director Mulvaney on

 the then-existing enforcement docket, and briefed the first Trump Administration’s new political

 appointees on the CFPB’s supervision work. During the transition from President Trump to

 President Biden appointees, I was one of the appointees who arrived at the CFPB after Director

 Kraninger resigned, and I advised Acting Director Uejio during that transition before Director

 Chopra was confirmed by the Senate. And I have now observed the recent transition from Director

 Chopra to Acting Director Bessent and Acting Director Vought.

        5.     The typical actions of a transition, which both Acting Directors Mulvaney and

 Uejio immediately took, include (1) requiring new approval for publication of materials that have

 not been approved by the new leadership, (2) postponing the effective dates of outstanding rules

 pending reconsideration, (3) instructing the CFPB to pursue new projects consistent with new

 priorities, (4) receiving briefings on the outstanding enforcement docket and examination

 calendars in order to begin to steer the enforcement docket and examination calendar towards new

 priorities and to make decisions on individual investigations and exams, (5) fielding voluminous

 memoranda and briefings on whether to start, continue, or discontinue various projects, and (5)

 holding meetings to introduce themselves and convey priorities to the staff and management chain

 of command.




                                                                                                      JA156
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        6.      More specifically, in a normal transition, the CFPB’s consumer complaint function

 continues largely unaffected because it is statutorily required and does not implicate ideology or

 matters of policy. Examinations that have already started continue, but the incoming

 administration makes adjustments to the future examination calendar. Enforcement matters in

 active litigation in court continue to be prosecuted. Enforcement investigations continue, though

 over time new investigative priorities are conveyed to staff to realign the work, and the Acting

 Director decides on a case-by-case basis whether to grant the enforcement staff authority to seek

 settlements, file lawsuits, reach out to targets of investigations, or close investigations. Economists

 continue to conduct research, but the Acting Director and his appointees review the research

 reports before approving them for publication. And other internal work of the agency continues in

 a similar vein. This is what Acting Director Mulvaney did under the prior Trump Administration.

        7.      In short, transitionary Acting Directors that serve between confirmed Directors

 have no legitimate need to bring the agency to a complete stop in order to shift the agency’s policy

 priorities—and, indeed, they have never done so at any prior point in the agency’s history. Instead,

 the agency’s work continues. And transition periods are busy times. Agency staff have many

 meetings with new leadership and write many memos seeking new direction. Staff seek guidance

 from the new administration’s leadership, and the new agency leadership reviews and approves,

 adjusts, or rejects individual investigations, regulations, exam reports, research reports, and other

 output before they are published. The new administration also starts new projects at the direction

 of the new agency leadership, and over a short amount of time the back-log of projects started

 under the prior administration are replaced by projects started by the new administration.




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        8.      Based on my personal experience with CFPB transitions, including the differences

 between this transition and the beginning of the first Trump administration, the current transition

 is not normal and does not appear designed to redirect the agency towards new policy priorities.

 The incoming Trump appointees have not held all-hands or all-manager meetings. They have not

 communicated with most managers at the agency, including me. They have not even announced

 themselves to the agency.

        9.      The incoming administration has not approved the publication of any materials.

 They have not instructed the CFPB to pursue any new affirmative projects that I am aware of.

 They have not expressed the agency’s new priorities to the staff.

        10.     Notably, I have informed the incoming administration that I will be resigning and

 I have not heard of any plans to replace me. I occupy a position that guides policy across the agency

 under the Director’s vision. The fact that this administration has not bothered to fill my position

 suggests they are not engaged in a serious effort to redirect the agency’s policy work.

        11.      What the incoming administration has done is take the unprecedented action of

 putting everyone on paid administrative leave with limited exceptions. That means that

 examinations that were underway have been canceled, even though the American taxpayers are

 still paying the examiners. It means that the Office of Enforcement has stopped investigating cases,

 even though the taxpayers are still paying the investigators. It means that many of the actions

 necessary to keep the CFPB’s consumer complaint process fully functional have ceased. It means

 that the CFPB’s Markets teams are being paid to not meet with industry representatives. It means

 that the CFPB’s Research team is paid to not conduct ongoing, nonpartisan research. It means that

 the CFPB has stopped processing Freedom of Information Act (FOIA) requests, even though we

 still pay for employees whose sole job is to help the CFPB comply with FOIA, and even though




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 the law requires that we respond to such requests. And the CFPB has stopped reviewing comments

 on open proposed regulations, which it is obligated to review under the Administrative Procedure

 Act even if the incoming administration does not wish to finalize those rules (something one should

 not assume given that many of the open rulemakings have broad bipartisan consensus).

        12.     If one actually wanted to quickly re-align the CFPB to new priorities, the best (and

 most obvious) way to do so would be to put the agency staff to work briefing the leadership on the

 various available options on pending matters. CFPB staff often work overtime during transition

 periods to handle the workload necessary to quickly re-align priorities and policy in a responsible

 manner. And CFPB staff are professionals who put their personal views aside to present all

 available options to leadership—policy approaches taken under Director Chopra regularly

 involved debate and disagreement, but staff never let that get in the way of ensuring that the agency

 pursues the Director’s policy priorities. Placing staff on paid administrative leave en masse makes

 it impossible to perform this process at the volumes necessary to responsibly steer the agency

 towards new policy objectives.

        13.     Notably, leadership does not need to put everyone on paid leave to stop them from

 making announcements or taking public actions without permission. CFPB staff are accustomed

 to obtaining permission from leadership before speaking publicly or issuing anything on behalf of

 the CFPB. A great deal of the CFPB’s work is preparatory and non-public. For example, you do

 not need to cease work on document review in pending investigations in order to ensure the agency

 does not reach out to the target of the investigation without permission. You do not need to stop

 internal memo writing, comment review, or case law research to ensure that a regulation is not

 issued without permission. In fact, that is the very work necessary to brief the incoming leadership

 so that they are informed when making a decision on whether to proceed with those matters.




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        14.     The incoming administration has also taken the unprecedented step of immediately

 laying off employees in their probationary period or with time-limited employment contracts. And

 it has rushed to cancel contracts, including the CFPB’s lease. They have removed the CFPB

 signage from the agency’s DC headquarters building. They have closed the CFPB’s offices. They

 immediately, on the very first day of Acting Director Vought’s tenure, sent a letter to the Federal

 Reserve System determining that the funds in the CFPB’s operating account were sufficient to

 cover CFPB’s expenses through the 2025 fiscal year (i.e. to September 31, 2025).

        15.     The combination of (1) indiscriminately putting staff on administrative leave, (2)

 not setting up a process to make a high volume of individual decisions on discrete, ongoing matters,

 (3) immediately laying off tranches of employees with fewer employment protections, (4)

 terminating the lease and removing the CFPB’s signage from the building, (5) canceling contracts

 in a hasteful manner, (6) never introducing new members of leadership staff to existing staff or

 conveying any message at all to the agency about what it should be affirmatively working on, (7)

 telling the Federal Reserve System they would not ask for further funding for the rest of the fiscal

 year, (8) closing the agency’s offices amid an administration wide push to return to the office, (9)

 public statements by the President of the United States and the head of the new Department of

 Government Efficiency that the CFPB is being shut down, and (10) the unexplainable speed and

 urgency of each of those steps, suggests that the current acting leadership is attempting to shut

 down the CFPB expeditiously. In fact, I have heard from several other CFPB employees that they

 were directly told by the new leadership that we are in “wind down mode.”

        16.     The speed with which these actions are being taken is extraordinary. If the agency’s

 leadership wanted to marginally or even significantly shrink the agency’s headcount, redirect the

 agency’s efforts, and cut costs, it could do so in an orderly fashion over time, considering contracts,




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 investigations, and projects on an individual basis, after staffing up the political leadership

 structure of the agency in order to perform those tasks responsibly. This would not require a work

 stoppage, and in fact would require a substantial portion of the agency’s staff. The speed with

 which these efforts are being taken, and the fact that the leadership is not using the staff to make

 these decisions, suggests that the temporary acting leadership is attempting to “wind down” the

 agency before a court can enjoin their efforts. I cannot think of any other reason for this reckless

 speed given that the current presidential administration has four years—plenty of time—to

 accomplish its goals.

        17.     In particular, I would like to draw attention to a number of statements made in a

 declaration by Adam Martinez on February 24 that are either misleading by omission or are

 outright falsehoods:

    •   The declaration, at paragraph 11, references the Acting Director’s February 8 email to
        employees and describes it as communicating “eight functions” that CFPB staff should
        refrain from unless it is approved by the Acting Director or required by law. This email is
        framed in the declaration as suggesting that the CFPB is still performing functions required
        by law, which is false to a significant extent. He omits that this email was followed up by
        another email on February 10 directing staff to stop all work. Mr. Martinez states that this
        step was “not unusual,” but it is a step that has never been taken before in the history of the
        agency. The CFPB has never stopped substantially all work during a transition, and has
        never put the majority of agency staff on administrative leave.

    •   The declaration appears to focus on a caveat in the February 8th email about “statutorily
        required” work, but does not acknowledge that the February 10th email eliminated that
        caveat. Nor does it acknowledge the basic fact that the CFPB’s core statutory
        responsibilities have, in fact, completely ceased, including the full supervision and
        enforcement divisions. The full division of the CFPB tasked with managing the consumer
        complaint function is on administrative leave (some of the automated processes are still
        live, but the manual maintenance and work has ceased). Staff in statutorily required offices
        or positions (e.g. student loan ombudsman, Office of Fair Lending and Equal Opportunity,
        Office of Research, Office of Financial Education) have been fired or put on administrative
        leave.

    •   The declaration falsely suggests that the entire headquarters building was closed for safety,
        citing small union protests and one incident where an employee pushing a baby stroller
        took pictures of White House staff. The CFPB’s employee union has picketed the agency




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        before, including recently during a labor dispute with management during Mr. Martinez’s
        tenure at the CFPB. The CFPB’s office is near the White House, and thus, the streets around
        the office are often filled with protestors advocating for a variety of causes. The CFPB has
        security guards capable of handling this security environment, locks on doors, and the
        ability to take individual personnel actions in response to incidents or to turn off
        individuals’ access to the building. The cited security reasons for closing the building are
        simply not credible and were not articulated at the time of the closure.1

    •   In paragraph 21, the declaration claims that leadership has approved the following tasks:
        (1) onboarding political leadership, (2) data security, (3) maintaining a discrete set of
        systems, (4) maintaining a consumer complaint call center contract, and (5) and processing
        Civil Penalty Fund payments to consumers. Of course, the CFPB has many other statutory
        obligations, including the obligations to enforce federal consumer financial law, conduct
        examinations of regulated entities, and many other functions. The CFPB has turned off
        whole divisions tasked with performing those statutory duties.

    •   In particular, in paragraph 21, Mr. Martinez claims that even though the Student Loan
        Ombudsman position is currently vacant, consumers can seek support from the CFPB’s
        Ombudsman Office for their student loan related issues. This is patently false. Both
        positions are statutorily required, but their functions are completely different. The CFPB
        Ombudsman Office is, by statute, a liaison between the CFPB and effected persons. 12
        USC 5493(a)(5). In other words, it is an office outside parties can use if they have
        complaints or concerns about the CFPB, not if they need help dealing with a regulated
        entity. Only the Student Loan Ombudsman performs the statutorily required work of
        assisting consumers with individual student loan related issues. This mistake is particularly
        concerning because it suggests a lack of familiarity with the functions of the agency—it
        appears to be a mistake based on the fact that the names of the roles are similar.

    •   In paragraph 22, Mr. Martinez states that the agency has not pulled down the CFPB’s
        complaint website, and has not canceled contracts relating to the complaint database,
        without mentioning that the whole Consumer Response division that maintains the CFPB’s
        complaint function is currently on administrative leave.

    •   In paragraph 26, Mr. Martinez states that Acting Director Vought determined that the
        current operating balance of the CFPB was enough to cover projected expenses for the
        upcoming quarter. But Acting Director Vought said that the funds were sufficient to cover
        expenses through the end of the fiscal year, not just the upcoming quarter. And Mr.
        Martinez neglected to convey that the Acting Director claimed that the CFPB had a balance
        of $711 million, when in fact a large percentage of that money is obligated and unavailable
        for future CFPB expenses. For example, $100 million in the account is from a settlement


        1
            See Kate Berry, Justice Dept. insists ‘there will continue to be a CFPB’, The American
 Banker, Feb. 25, 2025 (reporting that the government’s legal filings in this case “falsely claimed
 that it closed the CFPB's Washington D.C. headquarters in response to protests by employees —
 even though the protests happened only after the office was shuttered.”).



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        with Navient Corp. and must be distributed as redress to victims once the CFPB takes the
        applicable employees off administrative leave.

    •   In paragraph 27, Mr. Martinez states that Acting Director Vought considered a variety of
        factors including the impact of anticipated efficiency initiatives at the CFPB and consumer
        interests, before deciding that the funds in the operating account are enough to cover the
        agency’s expenses through September 31, 2025. If that were true, and the agency had a
        concrete plan about the specific budget and expenses necessary to continue the functions
        it intends to continue, the agency would be able to articulate that concrete spending plan to
        the court. These kinds of financial plans are not confidential—the CFPB publishes its
        financial reports, and I would expect that the agency would publish this information in the
        Chief Financial Officer’s next update, which is due to be published right around now.

        18.     Lastly, I wish to highlight the ongoing harm to the public associated with the

 continued work stoppage at the CFPB. Every day, CFPB staff work to investigate cases, conduct

 examinations of regulated entities, produce valuable research, and publish data about consumer

 finance in the United States, review public comments and issue regulations, provide guidance to

 industry, and facilitate complaints. On a relatively small budget of just over $800 million per year

 (none of which comes directly from appropriations), the CFPB produces billions of dollars in

 quantifiable savings to the American people every year. For example:

    •   The CFPB’s enforcement team has returned over $20 billion ill-gotten gains to consumers
        since the agency’s founding.

    •   In December, the CFPB returned double the agency’s annual budget, $1.6 billion, to
        victims of a single debt relief scam.

    •   The CFPB’s recent “junk fee” initiatives have reduced fees by up to $21 billion annually,
        including $10 billion from the CFPB’s credit card late fee rule, $6 billion in contracting
        overdraft and non-sufficient fund fees in response to the agency’s policy and law
        enforcement work, and $5 billion from the CFPB’s recent overdraft rule.

    •   The CFPB’s Qualified Mortgage Rule, issued under Director Kraninger, saves at least $4
        billion annually.

    •   The CFPB’s Regulation X, issued in 2014, continues to save $45 million every year in
        forced-placed insurance premiums.

    •   The CFPB’s complaint function processes over one million consumer complaints annually,
        which, for comparison, is more than 10 times the volumes handled by the Better Business



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        Bureau. Over the course of the CFPB’s short existence, the CFPB has closed over 2.5
        million complaints with non-monetary relief, and in over 171,000 complaints, the company
        reported to the CFPB that it provided monetary relief.

    •   In the last two years alone, the CFPB’s supervision function returned $350 million to
        consumers harmed by various illegal fee practices.

        19.     As with any other effective law enforcement agency, the CFPB’s work creates an

 undeniable deterrence effect. When companies know that there is an active supervision program

 to examine for compliance with the law, a robust enforcement team investigating lawbreaking, and

 a complaint function that consumers use, very large bureaucratic corporations invest in compliance

 efforts to ensure compliance with the law. Right now, companies are almost certainly

 deprioritizing compliance in light of the news of the agency’s work stoppage, planting the seeds

 for a white-collar financial crime spree that will likely manifest in the coming years.

        20.     In addition to the monetary relief, each investigation or examination has a chance

 to produce value for American consumers in the form of illegal practices that are stopped. For

 example, before the CFPB was created, many banks used deceptive practices to attach “add-on”

 services to credit cards, which consumers paid for but never benefited from. A sweep of CFPB

 enforcement actions in 2014 put an end to that practice. The CFPB’s enforcement team, under

 leadership appointed by Presidents Obama, Trump, and Biden also ended the widespread practice

 of banks opening fake checking accounts in people’s names (sometimes leading to consumer

 charges) in order to inflate account-opening metrics. As has been publicly revealed in editions of

 Supervisory Highlights, the CFPB’s supervision team, under leadership appointed by Presidents

 Obama, Trump, and Biden, stopped auto loan companies from accidentally repossessing cars when

 the loan was not in default, and stopped auto loan companies from withholding consumers’

 personal property found in repossessed vehicles until the consumer paid a fee. CFPB enforcement

 and supervision teams stop hundreds of harmful law violations every year.




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        21.     The CFPB’s complaint function saves consumers unquantifiable amounts of

 money, through both monetary relief granted by companies in response, non-monetary relief, and

 the incentive created to provide higher quality customer service. In particular, the CFPB

 automatically escalates complaints involving a pending home foreclosure for manual attention to

 prevent an unnecessary foreclosure if possible, something that is not currently happening. And

 agency staff spot-check the complaint database for complaints that would benefit from

 individualized, manual handling, which is also currently not happening.

        22.     The CFPB’s research and data releases are foundational to the public’s

 understanding of the financial markets. For example, the CFPB releases data on consumer credit

 trends that outside researchers regularly use. And the CFPB publishes the most detailed data on

 the credit card market available, something that is statutorily required but currently halted.

        23.     The agency only has so much capacity to handle enforcement investigations,

 examinations, complaints, research reports, and other work. We will not be able to make up for

 lost production caused by the current work stoppage, even if any individual case or examination

 or report can be finished later. An examination that is not occurring now, and is pushed off to next

 year, would occupy capacity that could have been used for another examination. If you shut down

 a car factory, you can restart it a month later and finish the car you didn’t complete before shutting

 down the factory, but you can’t make up the lost aggregate production of cars. The same is true

 for enforcement investigations, for complaints filed with the CFPB that require manual processing,

 for supervisory examinations, for research reports, and for nearly every other function of the CFPB

 that produces output for the benefit of the public and American consumers.

        24.     The CFPB was created in response to the predatory mortgage crisis that caused the

 Great Recession. When a small number of primarily nonbank mortgage lenders started originating




                                                                                                          JA165
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 loans that set consumers up to fail in the 2000s, federal regulators failed to respond due to a lack

 of authority and the competing priorities of bank safety and soundness and monetary policy. The

 CFPB was established by an act of Congress to fill that gap and Congress assigned the CFPB with

 the responsibility and duty to police the market so that this never happens again. Since the creation

 of the CFPB, the United States has not experienced another economic recession caused by the

 consumer finance sector. But if the agency does not perform its statutory duties, I am concerned

 history will repeat itself.

         I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.

 Executed in Washington, DC                                           /s/ Brian Shearer
 February 27, 2025                                                    Brian Shearer




                                                                                                         JA166
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

   ATIO AL TREASURY
  EMPLOYEES UNIO , et al.,
                 Plaintiffs,
            V.
                                                           Case   o. 25-cv-0381-ABJ
  RUSSELL VOUGHT, in his official capacity
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,
                         Defendants.


                             THIRD DECLARATION OF ERIE MEYER

 I, Erie Meyer, declare the following under penalty of pe1jury:

           1.      I served as the Chief Technologist and Senior Advisor to the Director at the

 Consumer Financial Protection Bureau from October 2021 until February 7, 2025, when I resigned.

 Because of my experience in that role, I have expertise regarding the agency 's website

 management, data protocols, contract oversight, and the impact of contract te1minations.

 Mishandled Data Retention Practices

           2.      I have reviewed the declaration of Charlie Doe, a Contracting Officer at the

 CFPB, regarding the mass te1mination of contracts between Februaiy 11, 2025, and February 14,

 2025- and the CFPB ' s effort to finalize those terminations as quickly as possible.

           3.      The highly irregular actions that the Bureau has taken within the past few days to

 rush the final termination of virtually all of its contracts across the full range of functions raises

 serious concerns about data preservation and the Bureau's ability to function at all. Final

 cancellation of the Bureau 's contracts will result in the irretrievable impai1ment and loss of Bureau

 data. I am also troubled that the Bureau appears not have taken appropriate steps to ensure

 compliance with this CoUI1's Februai·y 14 Order on data preservation.

      4.         The information in Charlie Doe's declaration accords with info1mation that I have

  received from several other current Bureau employees- former colleagues of mine- who are in a
                                                                                                          JA167
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 position to know this information. They have expressed grave concern that the Bureau's rush to

 finalize the termination of the vast majority of the CFPB 's contracts risks the imminent loss of

 essential data and records. I understand that the government, upon the insistence of the plaintiffs in

 this case that these actions were not in compliance with the Comi's February 14 Order, has agreed

 to tempora1ily suspend cancellation of contracts through the Court's March 3 hearing, but no

 further. If the government is not immediately prevented from proceeding with contract terminations

 efforts thereafter, it will be too late to forestall permanent loss of the Bureau's data.

         5.      My understanding is that the contracts that the Bureau seeks to fully terminate

 include- among others-contracts with experts (who have sensitive litigation data), with other

 litigation contractors, and with companies that store, transmit, and maintain Bureau data. That data

 is crucial to everything from identifying and assisting victims of consumer fraud and providing

 them court-ordered relief, to tracking the financial information that is critical to the Bureau's role

 in helping to stabilize financial markets, to responding to consumer complaints. As I explained in

 my prior supplemental declaration, if the data possessed or maintained by these vendors is deleted

 or impaired, that would be a catastrophic loss for the Bureau and seriously impair its ability to carry

 out its obligations.

         6.      The rush to finalize the te1mination of the vast majority of the Bureau's contracts is

 very likely to cause irretrievable data deletion, and to impair the data and records that are not

 deleted. It is standard indushy practice that following contract terminations, contractors delete any

 government data, because ordinarily contractors are not permitted to retain that data once they no

 longer have a contract to perfo,m work that requires it. Particularly in the absence of a data

 preservation clause in the termination notice, contract termination will almost ce1tainly result in the

 deletion of data either immediately or after a very short pe1iod (typically days or weeks). Even if

 the final termination modification contained a data preservation clause, this rush to terminate

                                                                                                           JA168
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 contracts is still very likely to result in the deletion of data and records the Bureau will be unable

 to lawfully get back. For example, if the retention pe1iod elapses before a functioning, approved

 government System of Record is available to accept and process that data, if there are not enough

 contracting officers to oversee that the firms are complying with the retention clauses, if the files

 are con11pted before a CFPB employee is able to detect and act on that emergency, a band-aid of a

 retention clause will not fully remediate the harm.

        7.      In addition, in the absence of continuous maintenance of CFPB databases-

 contracts that I understand the Bureau is seeking to fully tenninate~ there is a serious risk that the

 data they contain will be impaired. Without the benefit of vims scanning and other security

 software, audit logs to ensure that if data is improperly accessed that there is forensic evidence of

 that access and any manipulation, a continuity of operations protocol or staffing to address any

 unexpected outages or failures, or meaningful backups to compare data to for authenticating

 accuracy of the information, the data is at existential risk.

         8.      Some contracts also provide suppo1t for CFPB-maintained data. Those contracts

 exist because in those cases, the CFPB does not have the capability to maintain the data on its own.

 Although the CFPB can manage temporary fixes for a limited period of time, if the contracts are

 permanently terminated and the CFPB must go without support for months or more while those

 services are re-procured, data will inevitably be impaired.

        9.      The data possessed and maintained by CFPB contractors includes the personal

 information of consumers and employees, as well as sensitive infonnation about financial markets

 and corporations. In addition to the risk of deletion, the msh to terminate the CFPB's contracts puts

 this data at serious risk of misuse or access by unauthorized parties.

         10.    I urge the Court to consider the significant and long-term consequences of data loss

 that could arise from these contract terminations, especially where no clear measures have been

                                                                                                          JA169
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 taken to ensure data retention or retrieval.

 Mass Cancellation of Cyber Security Contracts

           11.    I have reviewed the February 24, 2025 declaration of Adam Martinez, the CFPB' s

 Chief Operating Officer. As previously stated in my earlier declaration, I worked alongside Mr.

 Martinez for several years and respected him as a colleague. In his declaration, he claimed security

 monitoring tasks were being performed and operations were being maintained. Unfortunately,

 based on the following facts, I have reason to believe that claim to be false.

           12.    In recent days, 32 cybersecurity contracts have been cancelled, as reported on

 doge.gov/savings. Of these, five contracts have been posted in detail on the Federal Procurement

 Data System (FPDS), with a cancellation date of February 13th. The remaining 27 contracts,

 however, have not yet been published in detail due to what doge.gov has described as a "lag" in

 FPDS publications. A chart listing all 32 contracts, the cybersecmity impact of that contract, and

 the date of cancellation, is attached to this declaration as Exhibit A.

           13. On Februa1y 14th, doge.gov/sav ings read simply "Receipts coming soon, no later than

 Valentine's day     " 1 Then starting Februaiy 15th, doge.gov/savings read "Receipts coming over

 the weekend!" 2 Ultimately, on Tuesday Februaiy 17th, doge.gov/savings was populated with

 content including cancelled contracts, including those back-dated to Februaiy 14th.

           13.    I understand that a coUit order was issued on Februaiy 14th, directing the CFPB to

 preserve and not impair any data held by the Bmeau. I am particularly concerned that the

 cancellation of the 27 remaining contracts may have occun-ed after the issuance of the order, which

 raises serious questions about whether the Bureau is taking the steps necessa1y to ensme

 compliance with the order.



 1   https://web.archive.org/web/20250214152452/https://doge .gov/savings
 2 https://web.ai·chive.org/web/20250215213222/https://doge .gov/savings

                                                                                                        JA170
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         14.       As of the date of this declaration, it remains unclear when these 27 cancellations

 occurred, aside from the fact that they must have taken place after February 13th, and were touted

 on doge.gov no sooner than February 18th. The lack of clarity regarding the cancellation timeline

 and backdating exacerbates my concerns.

         15.       The cancelled contracts cover a wide range of critical cybersecurity semces,

 including but not limited to:

               o Application security (code vulnerability scanning, penetration testing)

               o Centralized management and enforcement of security configurations across IT

                   infrastructure

               o Cyber vulnerability tracking/reporting across hardware and software

               o Certified Information System Auditor training

               o Cybersecurity audit/event log analysis

               o Cybersecurity contractors for the Security Authorization Environment

               o Email server security and encryption

               o Identity and access management (including single sign-on and software)

               o IT network, systems, and applications management

               o Network/application vulnerability scanning

               o   Secure equipment disposal

               o Virus scanning and cybersecurity for SaaS services

               o VPN deployment on employee laptops

               o Website and file virus scanning, among others.

         16.       In light of these abrupt cancellations, I am particularly concerned that bureau data

 and systems are at serious risk of compromise, or have already been compromised.

         17.       The revocation of contracts for cybersecurity audit and event log analysis rs

                                                                                                          JA171
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 particularly concemmg, because it cou ld mean that there will be no evidence available if

 unauthorized users are accessing Bureau systems and data. The CFPB would not be able to tell what

 happened, and it could compromise ongoing litigation, trade secrets, and even implicate market

 stability.

 Blocking Consumers from Help

         18.    During my tenure as Chief Technologist and Senior Advisor to the Director at CFPB,

 I worked closely with the consumerfinance.gov and consumer education teams to develop strategies

 that ensured that the Bureau's content reached people when they most needed it, even if they had

 not heard of CFPB. Using desk research, the team identified the key areas where consumers

 commonly sought out information about topics such as avoiding scams and shopping for mortgages

 - most consumers start on search engines. To address this, we implemented an open standard

 schema that allowed search engines to index CFPB's content, ensuring that the most common

 consumer questions appeared prominently in search results, including "Position Zero" or "PO"

 rankings. Search results with "PO" ranking are often featured snippets that directly answer consumer

 queries on the results page, and were critically important in preventing and inte1rupting fraud and

 scams by making reliable, government-backed information the top result.

         19.    On Febrnary 7th, 2025, the CFPB homepage at consumerfinance.gov- the launching

 pad for most American consumers' interactions with the CFPB-was changed to a "404 - Site Not

 Found" error message.

         20.    I have been reliably informed that the decision to delete the CFPB homepage was an

 intentional decision by Acting Director Vought and that efforts by staff to repair the homepage were

 expressly rebuffed by senior management, citing Voght's authority.

         21.    This eITor, particularly when it affects the homepage of a website, can have severe

 repercussions. Specifically, it significantly haims the accessibility of impmtant consumer

 information that the CFPB provides. A "404 error" on a homepage results in the following
                                                                                                        JA172
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 detrimental effects:


              o Poor Experience: When someone lands on a 404 page on the homepage, they are

                 immediately presented with a frustrating experience. Consumers, particularly those

                 seeking important financial information or assistance, will likely abandon the site.

              o Indexing Issues: Search engine crawlers rely on accessible pages to index and

                 rank content. A 404 error on the homepage can prevent crawlers from properly

                 accessing the site, thereby hindering the search engines' ability to index the

                 Bureau's impo1tant financial resources. This directly impacts the site's ability to

                 appear in search results, making it more difficult for consumers to find reliable,

                 government-backed financial information.


        22.      Since the implementation of the 404 error on the homepage of consumerfinance.gov

 on February 7th, 2025, the Bureau's web content- ranging from important in-the-moment guidance

 on financial abuse for victims of domestic violence, to help for military servicemembers to assert

 their 1ights under the Servicemembers' Civil Relief Act- has been removed from the most visible

 resu lts despite no other changes to the site or schema. Those top results have been replaced in some

 cases by content farms or worse, scam sites. This is a direct consequence of the 404 error disrupting

 CFPB's search engine visibility, leaving vulnerable consumers to be targeted by fraudulent actors

 instead of receiving accurate, reliable information from the Bureau. This disruption is not just a

 technical oversight; it is a direct 1isk to consumer protection effo1ts, as the Bureau's content is now

 being supplanted by potentially haimful, deceptive websites.

        23.      These changes are in direct opposition to the statutory goal of providing consumers

 with timely and understandable information to make responsible decisions about financial

 transactions under 12 U.S.C. § 51 l(b). This unnecessary action- breaking the homepage of this

 federal consumer protection agency to a 404 e1TOr page-has had a profoundly negative impact on
                                                                                                           JA173
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 the ability of the CFPB to meet consumers where they are in their moments of need, especially

 when they are seeking to protect themselves from fraud and make infonned financial decisions. My

 years of experience and working directly with consumers looking for help info1m my belief that

 people are being in-eparably harmed when they are looking for help and instead find scams.

        24.     I am concerned that by breaking functionality of the website and in fact making it

 harder for consumers to access the critical financial infmmation that they seek, recent actions have

 made it impossible for the Bureau to comply with its statutory obligation to maintain a consumer-

 facing website under 12 U.S.C. § 5493(b)(3).


 "Your R ecent or Impending Separation[sj "


        25.     In recent days, when employees have emailed the Bureau's Human Relations (HR)

 staff with questions, they have received an unusual mass auto-response email indicating that the

 office will eventually address "your recent or impending separation." A trne and correct PDF copy

 of such an auto-response email that I received in response to an inquiry is attached as Exhibit B.



        I declare under penalty of perjmy under the laws of the United States of America that the

 foregoing is true and correct.

 Executed in Washington, DC on Febrnary 27, 2025             Isl Erie Meyer
                                                             Erie Meyer




                                                                                                        JA174
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                                           EXHIBIT A

 Mass Cancellation of CFPB Cyber Security Contracts
 Prepared 2/27 /25


 The list below is taken from doge.gov/savings and reflects 32 cyber security contracts they report having
 mass cancelled. The confirmed dates are as listed in the Federal Procurement Data System, and the w1known
 dates appear to have been cancelled sometime after 2/13. The doge site is experiencing lags and has evidence
 of backdating. The contracts below are listed on the doge site as having been "uploaded" on 2/14, but they
 were not listed before 2/18 ..


 The work these contracts included protecting personally identifiable information, system integrity, and
 maintaining audit logs, among other critical security services.




        Contract                                  Cybersecurity Impact                        Date of
                                                                                              cancellation

  1     BEYONDTRUST LICENSES                      Identity and access management software      2/13/25

  2     YUBIENTERPRISE COMPLIANCE                 Physical 2FA keys issued to employees +      2/13/25
        TIER PLUS PLAN                            software

  3     C:Y.6EB.SEC!IB.IIY S!!££QB.I              Cybersecurity contractors                    2/13/25
        SERVICES - INFORMATION
        SE~IrBII:Y SI6.I::H:26E.QS (ISS)
  4     CYBERSECURITY SUPPORT                     Cybersecurity contractors                    2/13/25
        SERVICES BPA ORDER -
        SAFEGUARDS AND RISK
        M.a:t:L.~ GEMENI (SB.Ml

  5     CYBERSECURITY SUPPORT                     Cybersecurity contractors for SAE - team     2/13/25
        SEID::'.I~ES !U;!6 QBQEE. -               that performs cybersecurity review of new
        SECURITY ARCHITECTURE AND                 systems & sets required mitigations for
        ENGINEERING (SAE)                         ATO

  6     CLQlll2 IB..al:t::HI':IG                  Technical training on cloud environments    Unknown
                                                  including cyber / cloud security and
                                                  certification courses




                                                                                                                JA175
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  7    CERTIFIED INFORMATION                         CISA training                                Unknown
       SYSIEMS 6!!CllIQB. (GIS6l
       IN-PERSON TRAINING

  8    EZl!B.QIEGI SEE.J:'.IGES                      Virus scanning and cybersecurity for SaaS    Unknown
                                                     services

  9    CENTRALIZED PLATFORM                          Cybersecurity contractors                    Unknown
       C!;:n:!IB.QL SI6:t:ID6B. ClS srn~£Q BI
       SERVICES

  10   ANQM6LI LIGEl:::ISES EQB. CE£B                Security Event & Infonnation                 Unknown
                                                     Management (SIEM) platform

  11   SOLARWINDS MAINTENANCE                        IT network, systems, and applications        Unknown
       Al:::!Cl Sl!££QB.I                            management

  12   NUTANIX HARDWARE DESKTOP                      Management platfonn for IT hardware          Unknown
       ENGil:::IEEB.Il:::IG LAB SYSIEM               deployment and configuration
       UPGRADE

  13   !:;lS!:;Q SMARTNEI                            Security alerts, updates, and tech support   Unknown
       MAINTENANCE                                   for core network equipment

  14   ZIXGATEWAY ENTERPRISE                         Email server security & encryption           Unknown
       LICENSE RENEWAL

  15   ACCELLION KITEWORKS                           Secure file share / transfer services        Unknown
       ENTERPRISE

  16   VERACODE SERVICE BUNDLE                       Application security - code vulnerability    Unknown
       SUBSCRIPTION                                  scanning and penetration testing

  17   SECUREAUTH IDP LICENSE                        Identity and access management - single      Unknown
       RENEWAL                                       sign on

  18   AXQl:::II!IS SEC!lB.IIY 6SSBI                 Centralized tracking / reporting for cyber   Unknown
       MANAGEMENT PLATFORM                           vulnerability across IT hardware and
                                                     software

  19   CISCQ Al:::IYCQNNECI LICENSE                  VPN on laptops issued to employees           Unknown
       AND SUPPORT RENEWAL

  20   Al:::Il:::I!l.AI. S!!BSCB.l£IIQl:::I TO IHE   Third Party Risk Management (TPRM) -         Unknown
       BITSIGHT LARGE TPRM                           vendor security assessment, monitoring,
       PACKAGE                                       and reporting




                                                                                                            JA176
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  21   CYBERARK ENTERPRISE              Identity security - manage, rotate, and    Unknown
       LICENSES tiNQ MtiINIENtiNCE      monitor application credentials / secret
                                        keys

  22   E.612181:il U:2~:iIC LI!:ENSES   Identity data management and audit         Unknown

  23   PUPPET LABS RENEWAL              Centralized management, tracking, and      Unknown
                                        enforcement of security configuration
                                        across IT infrastructure

  24   CISCO AND NUTANIX                Network, hardware, and datacenter          Unknown
       HABQ~BE tiNQ SQETW6E.E           management

  25   SAFECONSOLE ENTERPRISE           Provision, manage, and audit secure        Unknown
       LICENSES                         encrypted USB drives

  26   VIRUSTOTAL BASIC                 Website and file virus scanning            Unknown
       SUBSCRIPTION

  27   QMULOS AUDIT /COMPLIANCE         Cybersecurity audit/ event log analysis    Unknown
       APPS

  28   IENA.61.E LICENSES ANQ           Network and application vulnerability      Unknown
       SCANNER                          scanning

  29   IT DEVICE DESTRUCTION            Secure equipment disposal                  Unknown

  30   SAFECONSOLE LICENSES             Provision, manage, and audit secure        Unknown
                                        encrypted USB drives

  31   KNOWB4 SUBSCRIPTION              Online provider of bureau-wide             Unknown
                                        mandatory cybersecurity training

  32   QE.DEE.l-!:r.6EE.£RQ~R~M         Cybersecurity contractors                  Unknown
       MANAGEMENT




                                                                                             JA177
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                                            EXHIBIT B

   Automatic reply: Question about my HR docs                                            lnbox x


   CFPBHROps <CFPBH ROps@fiscaLtreasury.go•n Wed. Feb 19, 12:30PM iB days ago)
   to me ...
                                                                                           * Q              ~


   We are working diligently wil'h the agency during this transition to provide necessary docu ents related lo
   your rece tor impe·nding separa ·on.


   Please provide a personal email address and updated mailing address to ensur,e timely and effective
   co munica·Hons.


   AH separated employees will be receivi g a copy of their SF-50, otice of Personnel Action, as ,,ell as a
   separation packet v ·t information regardi g un employment, be efits a d lump sum annual leave, payment, if
   appf cable.


   Employees will have a 3 -day exte sion of their health insurance from the date of separatio provided by your
   health insurance carr"er at no cost to you. Dental and Vision benefits will terminate upon the date of
   separation.


   Thank you for your patie ce.




   (   ~ Reply ) ( ,-+ Forward ) @)




                                                                                                                  JA178
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                                           EXHIBIT A

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 Prepared 2/27 /25


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 The work these contracts included protecting personally identifiable information, system integrity, and
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        Contract                                  Cybersecurity Impact                        Date of
                                                                                              cancellation

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  2     YUBIENTERPRISE COMPLIANCE                 Physical 2FA keys issued to employees +      2/13/25
        TIER PLUS PLAN                            software

  3     C:Y.6EB.SEC!IB.IIY S!!££QB.I              Cybersecurity contractors                    2/13/25
        SERVICES - INFORMATION
        SE~IrBII:Y SI6.I::H:26E.QS (ISS)
  4     CYBERSECURITY SUPPORT                     Cybersecurity contractors                    2/13/25
        SERVICES BPA ORDER -
        SAFEGUARDS AND RISK
        M.a:t:L.~ GEMENI (SB.Ml

  5     CYBERSECURITY SUPPORT                     Cybersecurity contractors for SAE - team     2/13/25
        SEID::'.I~ES !U;!6 QBQEE. -               that performs cybersecurity review of new
        SECURITY ARCHITECTURE AND                 systems & sets required mitigations for
        ENGINEERING (SAE)                         ATO

  6     CLQlll2 IB..al:t::HI':IG                  Technical training on cloud environments    Unknown
                                                  including cyber / cloud security and
                                                  certification courses




                                                                                                                JA179
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  7    CERTIFIED INFORMATION                         CISA training                                Unknown
       SYSIEMS 6!!CllIQB. (GIS6l
       IN-PERSON TRAINING

  8    EZl!B.QIEGI SEE.J:'.IGES                      Virus scanning and cybersecurity for SaaS    Unknown
                                                     services

  9    CENTRALIZED PLATFORM                          Cybersecurity contractors                    Unknown
       C!;:n:!IB.QL SI6:t:ID6B. ClS srn~£Q BI
       SERVICES

  10   ANQM6LI LIGEl:::ISES EQB. CE£B                Security Event & Infonnation                 Unknown
                                                     Management (SIEM) platform

  11   SOLARWINDS MAINTENANCE                        IT network, systems, and applications        Unknown
       Al:::!Cl Sl!££QB.I                            management

  12   NUTANIX HARDWARE DESKTOP                      Management platfonn for IT hardware          Unknown
       ENGil:::IEEB.Il:::IG LAB SYSIEM               deployment and configuration
       UPGRADE

  13   !:;lS!:;Q SMARTNEI                            Security alerts, updates, and tech support   Unknown
       MAINTENANCE                                   for core network equipment

  14   ZIXGATEWAY ENTERPRISE                         Email server security & encryption           Unknown
       LICENSE RENEWAL

  15   ACCELLION KITEWORKS                           Secure file share / transfer services        Unknown
       ENTERPRISE

  16   VERACODE SERVICE BUNDLE                       Application security - code vulnerability    Unknown
       SUBSCRIPTION                                  scanning and penetration testing

  17   SECUREAUTH IDP LICENSE                        Identity and access management - single      Unknown
       RENEWAL                                       sign on

  18   AXQl:::II!IS SEC!lB.IIY 6SSBI                 Centralized tracking / reporting for cyber   Unknown
       MANAGEMENT PLATFORM                           vulnerability across IT hardware and
                                                     software

  19   CISCQ Al:::IYCQNNECI LICENSE                  VPN on laptops issued to employees           Unknown
       AND SUPPORT RENEWAL

  20   Al:::Il:::I!l.AI. S!!BSCB.l£IIQl:::I TO IHE   Third Party Risk Management (TPRM) -         Unknown
       BITSIGHT LARGE TPRM                           vendor security assessment, monitoring,
       PACKAGE                                       and reporting




                                                                                                            JA180
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  21   CYBERARK ENTERPRISE              Identity security - manage, rotate, and    Unknown
       LICENSES tiNQ MtiINIENtiNCE      monitor application credentials / secret
                                        keys

  22   E.612181:il U:2~:iIC LI!:ENSES   Identity data management and audit         Unknown

  23   PUPPET LABS RENEWAL              Centralized management, tracking, and      Unknown
                                        enforcement of security configuration
                                        across IT infrastructure

  24   CISCO AND NUTANIX                Network, hardware, and datacenter          Unknown
       HABQ~BE tiNQ SQETW6E.E           management

  25   SAFECONSOLE ENTERPRISE           Provision, manage, and audit secure        Unknown
       LICENSES                         encrypted USB drives

  26   VIRUSTOTAL BASIC                 Website and file virus scanning            Unknown
       SUBSCRIPTION

  27   QMULOS AUDIT /COMPLIANCE         Cybersecurity audit/ event log analysis    Unknown
       APPS

  28   IENA.61.E LICENSES ANQ           Network and application vulnerability      Unknown
       SCANNER                          scanning

  29   IT DEVICE DESTRUCTION            Secure equipment disposal                  Unknown

  30   SAFECONSOLE LICENSES             Provision, manage, and audit secure        Unknown
                                        encrypted USB drives

  31   KNOWB4 SUBSCRIPTION              Online provider of bureau-wide             Unknown
                                        mandatory cybersecurity training

  32   QE.DEE.l-!:r.6EE.£RQ~R~M         Cybersecurity contractors                  Unknown
       MANAGEMENT




                                                                                             JA181
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                                            EXHIBIT B

   Automatic reply: Question about my HR docs                                            lnbox x


   CFPBHROps <CFPBH ROps@fiscaLtreasury.go•n Wed. Feb 19, 12:30PM iB days ago)
   to me ...
                                                                                           * Q              ~


   We are working diligently wil'h the agency during this transition to provide necessary docu ents related lo
   your rece tor impe·nding separa ·on.


   Please provide a personal email address and updated mailing address to ensur,e timely and effective
   co munica·Hons.


   AH separated employees will be receivi g a copy of their SF-50, otice of Personnel Action, as ,,ell as a
   separation packet v ·t information regardi g un employment, be efits a d lump sum annual leave, payment, if
   appf cable.


   Employees will have a 3 -day exte sion of their health insurance from the date of separatio provided by your
   health insurance carr"er at no cost to you. Dental and Vision benefits will terminate upon the date of
   separation.


   Thank you for your patie ce.




   (   ~ Reply ) ( ,-+ Forward ) @)




                                                                                                                  JA182
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES’ UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                            DECLARATION OF JULIA BARNARD

 I, Julia Barnard, declare as follows:

        1.      I have served at the Consumer Financial Protection Bureau as the agency’s

 designated Student Loan Ombudsman since 2024 and as a Markets & Policy Fellow since 2022.

        2.      Starting in February 2022 and until February 13th, 2025, when my contract was

 abruptly terminated, I was employed by the CFPB as a Markets & Policy Fellow. The termination

 notice that I received, from Chief Operating Officer Adam Martinez, said that my employment

 was “terminated effective at the close of business on February 13, 2025, due to Executive Order

 Implementing The President’s ‘Department of Government Efficiency’ Workforce Optimization

 Initiative - The White House dated February 11, 2025.” No other reason was provided.

        3.      Separately, I was also designated as the Student Loan Ombudsman of the CFPB by

 Janet Yellen in her capacity as the Secretary of the U.S. Treasury on February 12, 2024. I have not

 received notice that the current Secretary of the Treasury, Scott Bessent, has de-designated me or

 made any another designation. 1 There was no reference to this designation in my termination notice


 1 See 12 U.S.C. § 5535 (providing that the Ombudsman is designated by the Secretary of the

 Treasury, in consultation with the Director of the CFPB).



                                                                                                       JA183
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 or in any other communications that I have received. For that reason, it is not entirely clear to me

 whether I have been formally removed as the Student Loan Ombudsman. Regardless, as a practical

 matter, I have been unable to carry out any of the statutory duties of the Student Loan Ombudsman

 since my termination, and no other person has been designated to perform those duties.

        4.      In my role as the Student Loan Ombudsman, I worked with only one other

 colleague to fulfill the statutory requirements of the position. There were other colleagues who, on

 an ad hoc basis, helped review and analyze complaints, reached out to borrowers and financial

 companies to resolve complaints through case work, and built processes to scale our work. Myself,

 my colleague, and the colleagues on the ad hoc team who had recently been involved with the

 complaint review and case work functions were terminated on February 13, 2025.

        5.      In my role as the Student Loan Ombudsman, I was responsible for providing timely

 assistance to borrowers of both private and federal education loans. The Consumer Financial

 Protection Act specifies that the Student Loan Ombudsman shall “resolve complaints in

 collaboration with the Department of Education” and “ensure coordination in providing assistance

 to and serving borrowers seeking to resolve complaints related to their private education or Federal

 student loans.”2 Because of this responsibility, I met regularly with senior staff at the Department

 of Education including the Student Loan Ombudsman and their staff at the Office of Federal

 Student Aid. In fact, all prior Ombudsmen serving during the Obama, Trump, and Biden

 Administrations dealt with federal student loan issues regularly. 3 The contrary suggestion in the

 defendants’ opposition to the motion for preliminary injunction (ECF 31 at 23)—that the



 2 12 U.S.C. § 5535.
 3 See, e.g., Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student

 Loan Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-
 loan-ombudsmans-report_2024-11.pdf at 38 (establishing recurring patterns in prior annual
 reports related to federal student loans).



                                                                                                        JA184
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 Ombudsman only assists works on private student loans—thus reflects an elementary

 misunderstanding about the functions of the position.

        6.      To select which of the thousands of complaints we received each year to address

 through case work, my team and I read thousands of complaints each month, sorted complaints by

 issue type, and read through company complaint responses. The complaints that we selected for

 case work were those that received a response that we found to be incomplete, inaccurate, or

 missing entirely—and that we felt were actionable—meaning that we felt that an intervention from

 us could actually help the borrower resolve their problem. In many instances, we were successful

 in resolving borrower complaints using this process. 4

        7.      For example, we were in the middle of a project that included review and case work

 of approximately 900 complaints related to the cancellation of private student loans based on

 school misconduct.5 For several weeks, I had been communicating directly with private student

 lenders to inquire about the status of borrowers’ private loans that were likely eligible for

 discharge. In some cases, this outreach resulted in the cancellation of borrowers’ loans and, in

 other cases, we were engaged in conversation with the lenders to work towards an informal

 resolution, as is required by the statute. 6 That work has now been suspended.




 4 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan
 Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb 2024-annual-student-loan-
 ombudsmans-report 2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb 2024-
 annual-student-loan-ombudsmans-report 2024-11.pdf at 57 (“The Student Loan Ombudsman’s
 Office worked directly with colleges and schools to resolve transcript withholding complaints.
 Several colleges released transcripts after being contacted directly by the Student Loan
 Ombudsman, enabling borrowers to apply to jobs or other programs. One borrower who
 received their transcript with help from the Ombudsman’s Office said: ‘[I] cried [when the
 transcript was released], it was as if it was a hold on my life, over the years I became desperate
 for an education.... I am still in disbelief.’”)
 5 Id, at 53.
 6 12 U.S.C. § 5535(c)(1).




                                                                                                      JA185
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        8.      In fact, we were in the middle of making our process more efficient and increasing

 our case load. During the week of February 10th, we were in the process of identifying hundreds

 of borrowers with private and federal loans to assist through case work but were unable to continue

 this work after the directive on February 10th and our terminations on February 13th.

        9.      The responsibility to provide timely assistance to borrowers is why I was working

 with Pastor Eva Steege and many other borrowers to help them seek relief or navigate repayment

 related to federal and private student loans. Her story is one of many similar stories, and the

 systemic failure that has led to this tragic outcome for her family continues to impact millions of

 other borrowers.7

        10.     The Department of Education and its subcontractors have not provided adequate

 assistance to many borrowers like Pastor Steege. 8 I submitted my annual report to Congress last

 November and reported that student loan servicers routinely make blunders, oversights, and errors

 that harm millions of borrowers and likely cost them millions of dollars. Borrowers told us through

 their complaints that these servicing errors were enormously consequential. They reported that

 servicing issues made them late on rent, miss their car payments, lose eligibility for mortgages and

 homeownership, forego saving for retirement, change employment, and even put some borrowers

 at risk of homelessness.9 Borrowers also reported substantial emotional distress and described the




 7 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

 Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
 ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
 annual-student-loan-ombudsmans-report_2024-11.pdf.
 8 Id.
 9 Id, at 4-5.




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 student loan experience as a “nightmare,” told us that they felt “hopeless and taken advantage of,”

 and were trapped in a “death loop to nowhere.” 10

        11.     Many of the issues that borrowers like Pastor Steege face related to federal student

 loans are, in fact, related to the acts and practices of private student loan servicing companies. One

 such company, Navient, was recently banned from student loan servicing by the CFPB due to past

 misconduct.11 Other student loan servicers are subject to ongoing supervision by the CFPB, 12 and

 their practices related to long call hold times and extended delays were recently described as unfair,

 deceptive, and abusive by the CFPB’s Office of Supervision.13 Similarly, the Office of Supervision

 also identified several unfair and deceptive acts and practices related to the administration of the

 Public Service Loan Forgiveness program. 14




 10 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

 Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
 ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
 annual-student-loan-ombudsmans-report_2024-11.pdf at 5.
 11 Consumer Financial Protection Bureau, (Sep. 2024), CFPB Bans Navient from Federal

 Student Loan Servicing and Orders the Company to Pay $120 Million for Wide-Ranging Student
 Lending Failures, https://www.consumerfinance.gov/about-us/newsroom/cfpb-bans-navient-
 from-federal-student-loan-servicing-and-orders-the-company-to-pay-120-million-for-wide-
 ranging-student-lending-failures/.
 12 See, e.g., Consumer Financial Protection Bureau, (Jan. 2024), Issue Spotlight: Federal Student

 Loan Return to Repayment, https://www.consumerfinance.gov/data-research/research-
 reports/issue-spotlight-federal-student-loan-return-to-repayment/ (“The Consumer Financial
 Protection Act directs the CFPB to conduct risk-based supervision that considers the dangers to
 consumers created by the provision of consumer financial products or services and focuses
 resources toward areas with greater risk. The CFPB determined that the return to repayment of
 federally owned student loans presents significant consumer risks and initiated its supervisory
 response due to the number of impacted consumers [over 28 million], consumer complaints and
 other field market intelligence, and the history of compliance issues by student loan servicers.”).
 13 Consumer Financial Protection Bureau, (Dec. 2024), Supervisory Highlights: Special Edition

 Student Lending (Issue 36), https://files.consumerfinance.gov/f/documents/cfpb_supervisory-
 highlights-special-ed-student-lending-issue-36-winter_2024-12.pdf at 16-20.
 14 Consumer Financial Protection Bureau, (Jun. 2021), Supervisory Highlights (Issue 24),

 https://files.consumerfinance.gov/f/documents/cfpb_supervisory-highlights_issue-24_2021-
 06.pdf at 34-37.



                                                                                                          JA187
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        12.     It is my understanding that Pastor Steege had reached out to her student loan

 servicer and the Office of Federal Student Aid for help but, like many other borrowers, was

 experiencing long delays and was unable to understand the guidance provided. 15 It is my belief

 that, without urgent escalation and cooperation between the parties involved in the administration

 of the federal student loan system, Pastor Steege’s family will be forced to pursue a death discharge

 after her death and will lose the opportunity to receive over $15,000 in refunds of overpayments.

 This causes harm of a very significant magnitude to one family. Still, it is only one example in a

 much larger group of borrowers who have served the public faithfully for decades but are unable

 to actually achieve Public Service Loan Forgiveness due to the complex program requirements

 and program and servicer failures that result in “doom loops” where many borrowers are unable

 to get useful information or navigate the program despite their best efforts.16

        13.     After receiving guidance on February 8th, 2025 from Acting Director Vought

 specifying that work should cease “unless expressly…required by law,” I determined that my work

 could proceed because it was expressly required by law.



 15 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

 Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
 ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
 annual-student-loan-ombudsmans-report_2024-11.pdf; See also Consumer Financial Protection
 Bureau, (Sep. 2022), Supervisory Highlights: Student Loan Servicing Special Edition,
 https://files.consumerfinance.gov/f/documents/cfpb_student-loan-servicing-supervisory-
 highlights-special-edition_report_2022-09.pdf at 19 (explaining the CFPB’s recent determination
 that excessive PSLF processing delays can be unfair and cause harm to borrowers).
 16 Consumer Financial Protection Bureau, (Nov. 2024), Annual Report of the Student Loan

 Ombudsman, https://files.consumerfinance.gov/f/documents/cfpb_2024-annual-student-loan-
 ombudsmans-report_2024-11.pdfhttps://files.consumerfinance.gov/f/documents/cfpb_2024-
 annual-student-loan-ombudsmans-report_2024-11.pdf at 15-18 (Outlining common problems
 faced by borrowers related to PSLF) and 32 (explaining that the term “doom loop” describes the
 common experience where automated or otherwise insufficient servicer responses fail to resolve
 a customer’s issue and instead lead them in continuous loops of repetitive, unhelpful jargon or
 legalese, which can leave borrowers unable to access their basic financial information and
 increase their frustration.)



                                                                                                         JA188
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        14.     However, after receiving additional guidance from Acting Director Vought two

 days later, on February 10th, specifying that all employees should “stand down from performing

 any work task”—this time without any mention of an exception for statutorily-required activities—

 we cancelled our meeting with Pastor Steege and other upcoming meetings. I did not seek approval

 on any urgent matters on February 10th prior to being terminated on February 13th because the

 prior carve-out for statutorily required work had been clearly rescinded. Like many of my

 colleagues,17 I was unsure whether requesting an exception or compiling information to explain

 my in-process work would themselves be violations of the order.

        15.     It is unclear to me how the CFPB could currently be capable of performing these

 statutory duties, as Mr. Martinez claims in his declaration. I cannot imagine how all of this work

 could be continuing if the Student Loan Ombudsman position is vacant (or if I am currently serving

 in the position without pay and without the ability to use email, the files we were using to organize

 our work, the internal complaint database) and if employees, including the Student Loan

 Ombudsman, are unable to perform work tasks.

        16.     The Consumer Complaint system cannot replace the work of a dedicated team of

 experts focused on resolving borrowers’ problems. Mr. Martinez’s declaration states that, in the

 absence of a Student Loan Ombudsman, borrowers can still seek relief through the Consumer

 Complaint system. In fact, our case work process was built on a review of those complaints and




 17 Cowley, S., (Feb. 10, 2025), “Confusion Reigns as ‘a Wrecking Ball’ Hits the Consumer

 Bureau,” The New York Times, https://www.nytimes.com/2025/02/10/business/cfpb-shutdown-
 confusion.html (“[E]mployees spent Monday[, February 10th,] in a state of deep confusion about
 what they should - or should not - be doing…. Could they talk to one another on the bureau’s
 Microsoft Teams messaging system? Could they read their email, or would that be a violation of
 the stop-work command?.... No answers were forthcoming, said several agency employees….
 Department leaders were left to field questions from alarmed employees without any guidance
 from their new bosses on what to say.”).



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 the associated company responses. 18 The cases that were resolved through that system were not

 the cases we were involved with, so this process is not a substitute for our escalated case work

 process. Furthermore, it is my understanding that my colleagues, including those in Consumer

 Response, are not able to perform work tasks and, thus, the complaint process is significantly

 degraded. Indeed, an early analysis of publicly available information indicates that thousands of

 consumer complaints are not being processed. 19

        17.     The defendants’ opposition to the motion for preliminary injunction (ECF 31 at 23

 n.6) reflects yet another elementary misunderstanding of the Bureau’s operations when it suggests

 that the CFPB’s general Ombudsman’s Office could somehow provide assistance to consumers

 like Pastor Steege. That office is entirely distinct from, and is no way a replacement for, a team of

 issue experts focused on consumer redress. To be clear, I did not have any affiliation with that

 Office or with the staff located there. In fact, the CFPB’s website explicitly states that the general

 Ombudsman’s Office does “not assist in resolving issues as between consumers and financial

 entities” (emphasis added).20 Rather, the Ombudsman’s Office “review[s] whether the CFPB is




 18 We also regularly monitored complaint responses by student loan servicers and lenders to

 ensure student loan lenders and servicers were providing timely, accurate, and complete
 responses. To my knowledge, this function is now suspended.
 19 Minority Staff of the U.S. Senate Committee on Banking, Housing, and Urban Affairs, (Feb.

 2025), Left in Limbo: How President Trump’s Efforts to Dismantle the Consumer Financial
 Protection Bureau Force Consumers to Face Corporate Greed Alone,
 https://www.banking.senate.gov/imo/media/doc/left_in_limbo_how_president_trumps_efforts_to
 _dismantle_the_consumer__financial_protection_bureau_force_consumers_to_face_corporate_g
 reed_alone.pdf (“Analysis of the Consumer Complaint Database in recent days suggests that the
 agency is uploading an average of just 2,234 of the complaints it receives each day to the
 Database. Furthermore, the Database shows the agency submitting an average of just 2,067
 complaints per day to companies. This represents an 80 percent reduction in complaints
 submitted to companies.”).
 20 Consumer Financial Protection Bureau, CFPB Ombudsman Frequently Asked Questions

 Webpage, (accessed Feb. 26, 2025), https://www.consumerfinance.gov/cfpb-
 ombudsman/ombudsman-faqs/.



                                                                                                          JA190
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 following its own processes and procedures.”21 By contrast, in my capacity as the Student Loan

 Ombudsman, I was seeking to substantively resolve consumer complaints.22

        18.     Furthermore, I have been developing my own knowledge of the student loan system

 for over a decade and do not believe that this critical role can be performed by someone with little

 or no prior knowledge of our notoriously complicated student loan system. Even more and

 especially without the benefit of an orderly transition and in a situation where the staff members

 previously engaged in the work were suddenly terminated.

        19.     Finally, the Student Loan Ombudsman is meant to do more than resolve consumer

 complaints. The case work and analyses are meant to power insights, improve the case work

 process, develop policy recommendations, identify illegal conduct, and ultimately to improve the

 broader student loan system. For example, prior to my termination, I was working with my

 colleagues on non-public law enforcement matters and was meeting regularly with the state-based

 Student Loan Ombudsmen to help share knowledge, provide technical assistance, and increase

 collaboration. The Student Loan Ombudsman is also statutorily required to prepare an annual

 report.23 Neither the Martinez declaration nor the defendants’ opposition to the preliminary

 injunction motion explain how they contemplate the continuation of these statutorily required

 functions.

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.

 Executed on February 26, 2025                                _______________
                                                              Julia Barnard


 21 Consumer Financial Protection Bureau, CFPB Ombudsman Frequently Asked Questions

 Webpage, (accessed Feb. 26, 2025), https://www.consumerfinance.gov/cfpb-
 ombudsman/ombudsman-faqs/.
 22 12 U.S.C. §5535.
 23 12 U.S.C. §5535.




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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                          Defendants.


                              DECLARATION OF LORELEI SALAS

 I, Lorelei Salas, declare:

         1.      I served as the Supervision Director at the Consumer Financial Protection Bureau

 from November 8, 2021 to February 11, 2025. I am preparing this declaration to inform this Court

 about the irreversible and lasting effects of the unprecedented decision to halt all of the Bureau’s

 statutorily required supervision activity.

        2.       As the Supervision Director, I was the senior executive responsible for management

 of the Bureau’s 550-person Supervision Division. Until its operations came to abrupt and complete

 halt as a result of Mr. Vought’s February 8, 2025 stop-work order, the Supervision Division

 conducted supervisory activities for the purposes of assessing compliance with Federal consumer

 financial law, obtaining information about a supervised institution’s activities and compliance

 systems and procedures, and detecting and assessing risks to consumers and to markets for

 consumer financial products and services.

        3.       In the most recent two years, the Supervision Division advised banks and mortgage

 companies to refund more than $350 million dollars that were charged in illegal junk fees to

 people’s accounts. This is just one example of the far-reaching impact of the Bureau’s supervisory




                                                                                                        JA192
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 activities. We discuss our findings in an anonymized manner in Supervisory Highlights editions

 that are published periodically and that bring transparency to the consumer financial markets over

 which we have oversight. So, in addition to the millions of consumers we have touched directly

 via our examinations, millions more benefit from our work when market participants make

 changes to their practices because we have called out unlawful and unfair practices in our guidance.

 The supervision staff work behind the scenes to protect the financial lives and futures of all

 American families, but most people will never know that we were behind the unsolicited refund

 that they received by mail from their mortgage company, or the credit that was made to their

 account that they did not ask for. Neither the companies we supervise, nor the Bureau, discuss

 publicly who is under supervision, but that critical work is happening every day—or at least it was,

 until now.

        4.      Under the Consumer Financial Protection Act, enacted as part of the Dodd-Frank

 Wall Street Reform and Consumer Protection Act of 2010, the Bureau has the exclusive authority

 to conduct examinations and other supervisory activities for compliance with Federal consumer

 financial laws for insured depository institutions with over $10 billion in assets and is the only

 federal agency with supervisory authority over certain non-bank entities—such as debt collectors

 and payday lenders—that provide consumer financial products and services. These supervisory

 activities are required under the CFPA and are critical to carrying out Congress’s intent.

        5.      On February 8, 2025, the Bureau’s Supervision staff received a stop-work order

 that remains in effect.

        6.      In direct response to this order, the Supervision staff immediately halted all

 supervision-related activity.




                                                                                                        JA193
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        7.      While I was Supervision Director under Acting Director Russell Vought, all

 Supervision activity had come to a complete and indefinite stop. I am reliably informed by current

 Supervision staff and by public reporting that this continues to be true.

        8.      The Supervision Division has the smallest examination workforce of all the Federal

 bank regulators. Every year, the Division conducts a risk assessment and planning process to

 determine which entities to prioritize for examination. Supervision examiners require specialized

 training and certification, making it difficult to hire and replace qualified staff. Before February 8,

 the Supervision Division was already short staffed and we were in the process of training a dozen

 new examiners. These examiners, along with a number of attorneys and analysts that support the

 examinations, were included on the list of probationary employees that were terminated from the

 Bureau en masse.

        9.      The stoppage of supervision that is occurring now is causing irreversible harm.

 Because there is a limited team of examiners, halting the training and work of new people and

 firing or halting the work of experienced people will have lasting ripple effects. Even if activities

 resume, it will take a long time to even have the necessary complement of trained examiners at all.

 Moreover, in the interim, while supervision is stopped, society is not catching predatory,

 fraudulent, or otherwise illegal practices. And once it restarts, if it does, the Bureau cannot possibly

 examine all of the institutions that would have been examined in the interim along with whatever

 other institutions would be examined ordinarily upon restarting. There just aren’t enough

 examiners in the workforce for that to be feasible. And so consumers will be at much higher risk

 of losing money from their bank accounts in the form of junk overdraft fees, simply because their

 banks use complex payment ordering processes that make it impossible to track one’s expenses.

 They will be more vulnerable to the deceptive and unfair practices we have uncovered in




                                                                                                            JA194
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 companies that advertise “no fee” loans but are actually extracting money from consumers via the

 use of dark patterns and other deceptive tactics. Student borrowers will be subjected to poor

 servicing of their loans and will be sold repayment plans that take away their basic rights. Car

 owners and home owners will be at the mercy of lenders that underinvest in their compliance

 operations and lack well trained staff who can answer questions and update their accounts

 promptly. Service members and their families will be more likely to be targeted with predatory

 loan products that exceed the interest rate capped by law. When the Bureau is functioning, the

 supervision staff is constantly monitoring risks to consumer and enforcing key laws that protect

 consumers’ most precious assets and that bring financial safety to the marketplace. These laws and

 regulations include the Equal Credit Opportunity Act, the Fair Debt Collection Practices Act, the

 Truth in Lending Act, the Electronic Fund Transfer Act, the Fair Credit Reporting Act, among

 others, and the prohibition on Unfair, Deceptive, or Abusive Acts or Practices.

         9.     As of late January 2025, there were a half-dozen exams about to kick-off where the

 Bureau was working in close partnership with state regulators. These coordinated exams promote

 efficiency and reduce the burden on entities that are under supervision by both the Bureau and the

 states. Exams covered mortgage lenders, auto finance companies, and debt collection agencies,

 among other important markets where the data shows risks to consumers are high. There were

 another six or more exams planned for the second half of 2025. Now all those examinations are

 suspended and state partners likely cannot get in touch with the examiners scheduled to work with

 them.

         10.    I have also learned that the Bureau is planning to cancel the credit cards for all of

 the examiners within the Bureau. Some examiners report that their available credit was recently

 lowered to $1 and it was later restored. An examiner’s role is to travel to various financial




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 institutions to perform supervisory duties; examiners cannot do their jobs if they do not have the

 means to book travel and in fact canceling an examiner’s credit card is generally quickly followed

 by their termination.

        11.     The complete and unprecedented shutdown of the Supervision Division will result

 in incalculable and irreparable injury to consumers, organizations that serve consumers, state and

 local governments, and other Bureau stakeholders. As mandated by statute, the Supervision

 Division identifies and addresses consumer harm through the supervisory process and acts to

 prevent such harm before it happens. When the Bureau staff were issued the stop-work order on

 February 8, there were dozens of exams taking place across the country. Examiners were looking

 into companies that offer medical credit cards. They were scrutinizing new types of lenders such

 as Buy Now Pay Later companies and payroll advance companies. They were reviewing new credit

 decisioning models that use artificial intelligence to process credit card applications. They were

 responding to the millions of complaints from consumers that pointed to errors in their credit

 reports. None of that important work is happening right now and consumers are at higher risk of

 losing their homes, their cars, and their savings because the one agency whose job is to protect all

 American consumers has been shut down.


        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.


 Executed in New York, NY                                             /s/ Lorelei Salas
 February 27, 2025                                                    Lorelei Salas




                                                                                                        JA196
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES’ UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity                Case No. KL-cv-NOP-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                       SECOND DECLARATION OF ERIC HALPERIN

 I, Eric Halperin, declare:

        1.      I served as the Enforcement Director of the Consumer Financial Protection Bureau

 from October 24, 2021 to February 11, 2025. As the Enforcement Director, I was the senior

 executive responsible for management of the Bureau’s Enforcement Division. This declaration

 supplements my February 13, 2025 declaration. ECF 14-9.

        2. The enforcement of Federal consumer financial law is a primary function of the

 Consumer Financial Protection Bureau mandated by the Dodd-Frank Act, which was passed in the

 wake of the 2008 financial crisis and Great Recession.

        3.      Before the creation of the CFPB, consumer financial protection had not been the

 primary focus of any federal agency, and no agency had effective tools to set the rules for and

 oversee the entire market for consumer financial products and services. The Dodd-Frank Act

 consolidated consumer financial protection authorities that had existed across several different

 federal agencies and centralized them in the CFPB. Congress also provided by law that the CFPB

 is the primary enforcer of the more than a dozen Federal consumer financial laws with respect to

 many non-depository financial institutions and is the primary enforcer of the Federal consumer




                                                                                                    JA197
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 financial laws with respect to all very large banks, savings associations, and credit unions. See 12

 U.S.C. § 5515(c); see also 12 U.S.C. § 5481(12), (14). Section 1031 of the Dodd Frank Act

 prohibits entities under the CFPB’s jurisdiction from engaging in abusive acts and practices and

 granted the CFPB the authority to bring enforcement actions to prevent and stop this conduct. The

 CFPB is the primary enforcer of this prohibition for very large financial institutions, and for

 thousands of non-bank consumer financial service providers, no other federal agency possesses

 this authority.

         4.        The Act further requires the CFPB to enforce Federal consumer financial law

 consistently as it applies to depository entities and non-depository entities—or, in common

 parlance, banks and “non-banks” such as payday lenders, auto title lenders, debt collectors, digital

 payment platforms, and consumer reporting agencies. The CFPB is the only federal financial

 regulatory enforcement agency with broad jurisdiction over both banks and non-banks. Moreover,

 a significant number of non-banks are not subject to the CFPB’s supervisory jurisdiction but are

 subject to the CFPB’s enforcement authority.

         5.        The dismantling of the CFPB’s enforcement function thus means that there is a

 large gaping hole in the legal regime mandated by Congress. The federal government’s capacity

 to enforce more than a dozen Federal consumer financial protection laws against both banks and

 non-banks will be completely eviscerated—leaving regulatory oversight of the financial sector

 even weaker than it was before the financial crisis.

         6.        While many enforcement matters arise through CFPB’s ongoing supervision, most

 of Enforcement’s investigations, especially of non-banks and service providers to financial

 institutions, arise through other sources—consumer complaints, referrals, whistleblower tips, and




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 the CFPB’s other market risk monitoring tools. The Enforcement Division evaluates this

 information and determines if enforcement action is warranted.

        7.      Enforcement actions, whether they originate from the CFPB’s supervision process

 or otherwise, require significant resources to take appropriate actions to address violations of

 Federal consumer financial protection laws, including securing relief for consumers who have been

 harmed by entities that have broken the law. Over the last thirteen years of the CFPB’s existence

 it has returned nearly $21 billion to consumers as a result of enforcement actions. In recent years,

 the market for consumer financial products and services has grown explosively, particularly in the

 non-bank sector. This growth has underlined the need for an Enforcement Division with the

 capacity to conduct ever-more-complex investigations and litigations.

        8.      Over the last two years, to address this need, the Enforcement Division hired

 additional highly qualified attorneys, data analysts, technologists, investigators, and legal support

 specialists. The CFPB expended significant time and resources in hiring and training to fill these

 specialized roles.

        9.      During the week of February 10th, many of these staffers were terminated en masse

 by Acting Director Russell Vought when he terminated staff who were on probation or who were

 hired to serve for a fixed term of years.

        10.     Firing Enforcement staff hired to meet the need to respond to the rapidly evolving

 marketplace for consumer financial products and services will have a serious adverse impact on

 the CFPB’s ability to enforce Federal consumer financial law.

        11.     My understanding is that the Acting Director may dismiss all or almost all the

 Enforcement staff. If that unprecedented event should occur, it would cause irreparable harm. The

 CFPB’s capacity to enforce the Federal consumer financial laws cannot be recreated or rebuilt




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 quickly. Even if staff were ultimately rehired much of the capacity and expertise would be lost

 permanently. When there is no enforcement of the law, there will be no recourse or remedies for

 consumers that are injured and there will be less incentive for companies to comply with the law,

 harming law-abiding companies and consumers.

          12.     The Enforcement Division has already been directed to stop performing all work

 tasks, with, apparently, the sole exception of dismissing enforcement actions that are currently

 being litigated.     Stopping all work tasks would likely stop payment of redress to consumers in

 some cases where entities have been ordered to make payments to consumers since Enforcement

 staff must review redress plans submitted by the entity and those plans must be approved by the

 Enforcement Director.

          13.       It has also been publicly reported that the CFPB has cancelled all contracts with

 all expert witnesses in all existing enforcement litigation. See Evan Weinberger, CFPB Nixes All

 Expert         Witness      Contracts      in     Enforcement       Halt,     Bloomberg        Law,

 https://news.bloomberglaw.com/banking-law/cfpb-nixes-all-expert-witness-contracts-in-

 enforcement-shutdown, Feb. 13, 2025. A mass cancellation of expert contracts makes it impossible

 for the CFPB to successfully prosecute its claims in many cases.

          14.     The CFPB has additionally mass cancelled contracts for services that provide

 litigation support and management. See https://doge.gov/savings. In a typical investigation or

 litigation, the CFPB collects a large volume of information and data, including confidential

 business information and, when necessary, consumers’ personal identifiable information. Without

 critical services to manage that data, it would be impossible to effectively conduct investigations,

 or meet the CFPB’s discovery obligations in litigation.




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        15.     As of February 27, 2025, the Acting Director of the CFPB has voluntarily

 dismissed, with prejudice, six active litigations that the CFPB was prosecuting in federal

 court. Before this, the CFPB had voluntarily dismissed only one case in its entirety without relief

 to consumers in the previous 13 years of its existence, which spanned three presidential

 administrations (Obama, Trump, and Biden). And that case was dismissed without prejudice.

        16.     The cases dismissed by the CFPB sought relief on behalf of students who were

 subject to illegal collections on loans that had been discharged in bankruptcy; borrowers who were

 deceived about the true cost of loans made on a peer-to-peer nonbank lending platform; people

 shopping for a mortgage loan that were victims of an illegal scheme to steer them to a specific

 lender; manufactured home buyers who were set up to fail with unaffordable loans; struggling

 customers of small dollar loans who were induced into a fee-harvesting and loan-churning scheme;

 and consumers who were deceived about their personal savings accounts. The CFPB’s complaints

 had alleged that consumers in these cases experienced billions of dollars of harm.

        17.     Should the Acting Director continue to voluntarily dismiss the active cases

 currently being litigated by the CFPB, millions of consumers injured by banks and non-banks will

 not receive a remedy for harm that they have suffered. This includes servicemembers and their

 families who were charged illegal interest rates by their lenders; disabled and older Americans who

 receive Social Security, and coal miners with black lung disease who receive federal benefits;

 delivery drivers who were forced to open high-cost deposit accounts in order to receive their pay;

 students who were subjected to illegal debt collection practices; people attempting to correct errors

 on their credit reports; and the hundreds of thousands of consumers who experienced fraud on the

 peer-to-peer payment network operated by the nation’s largest banks.




                                                                                                         JA201
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        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.


 Executed in Washington, DC                                          /s/ Eric Halperin
 February 27, 2025                                                   Eric Halperin




                                                                                                       JA202
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                             DECLARATION OF SETH FROTMAN

 I, Seth Frotman, declare:

        1.      I served as General Counsel and Senior Advisor to the Director of the Consumer

 Financial Protection Bureau from 2021 through Friday, February 7, 2025. In those capacities, I

 was the chief legal officer of the CFPB and was also extensively involved in the day-to-day

 management of the agency, including by sitting on many senior leadership committees devoted to

 agency administration. I also previously served at the CFPB from 2015 to 2018 as the Student

 Loan Ombudsman and Assistant Director for the Office of Students and from 2011 to 2015 in the

 Office of Servicemember Affairs.

        2.      I have reviewed the filings in this case, including the defendants’ opposition to the

 preliminary-injunction motion, ECF 31, and the declaration attached to that opposition. I am

 preparing this declaration to address statements or implications in those two documents that are,

 to the best of my knowledge, either inaccurate or misleading, or both.

        3.      In my role as General Counsel and Senior Advisor to the Director, I communicated

 frequently with members of the CFPB Legal Division’s senior leadership team; senior

 management and staff in all CFPB departments, including specifically the CFPB’s Offices of




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 Operations, Information & Technology, and Human Capital (i.e., human resources); the CFPB’s

 Deputy Director; and eventually with staff at the Department of Treasury operating on behalf of

 then-Acting CFPB Director Secretary Scott Bessent.

          4.     It is my understanding—based on firsthand accounts from within the Bureau,

 screen shots of emails sent within the Bureau that have been published, and public news reports—

 that CFPB employees were directed “not [to] perform any work tasks,” with no reference to

 performing duties required by law, at the beginning of the first business day (February 10, 2025)

 following my last day as General Counsel (February 7, 2025) and have been directed to adhere to

 that directive since that time. I also reviewed public statements from President Trump later in the

 day on February 10 indicating that the CFPB “was a very important thing to get rid of.” See CNN,

 Trump confirms goal to “totally eliminate” the Consumer Financial Protection Bureau (Feb. 10,

 2025).1 These facts are inconsistent with the picture painted in the defendants’ opposition

 memorandum.

          5.     I have also reviewed public statements from Acting CFPB Director Russel Vought

 specifically instructing CFPB employees not to perform statutorily mandated duties. For example,

 I have observed an X (formerly Twitter) account named “CFPB Tip Line,” with markings

 indicating a confirmed government-affiliated account, that included the following text: “Are you

 being pursued by CFPB enforcement or supervision staff, in violation of Acting Director Russ

 Vought’s stand down order? If so, DM us or send an email.”




 1
     https://www.cnn.com/politics/live-news/trump-doge-presidency-news-02-10-25/index.html



                                                                                                       JA204
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          6.      This “CFPB Tip Line” raises a number of significant legal issues. First,

 enforcement and supervision are both core activities that Congress has required the agency, by

 statute, to perform. Second, the establishment of this unusual “Tip Line” is inconsistent with the

 notion that Mr. Vought’s “stand down order” is some kind of ordinary, transitional “pause” of the

 kind portrayed in the defendants’ opposition and accompanying declaration. Instead, it suggests

 an unprecedented campaign to frighten Bureau employees out of performing their statutory

 duties—clearly confirming that the “stand down order” applies to all activities of “CFPB

 enforcement or supervision staff,” with no mention of activities required by law. Indeed, I served

 at the CFPB during the previous leadership transition to Acting Director Mick Mulvaney, and

 nothing remotely similar occurred at that time. Third, this bizarre project has Mr. Vought’s direct

 approval—I reviewed a message from Vought himself on X (Twitter) confirming his personal

 involvement in this “tip line.” See American Bankers Association (ABA) Banking Journal, CFPB

 launches ‘tip line’ to report on bureau employees (Feb 20, 2025).2




 2
     https://bankingjournal.aba.com/2025/02/cfpb-launches-tip-line-to-report-on-bureau-employees/



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  Indiscriminate Leave or Terminations of CFPB Employees, Contractors, or Contracts Would
                   Result in the CFPB Failing to Meet Its Legal Obligations

        7.      In Title X of the Dodd-Frank Act, Congress imposed a number of specific legal

 requirements on the CFPB, including with respect to administration and management of the

 agency, as well as obligations to maintain certain departments and perform certain functions. As a

 federal government agency, the CFPB is also subject to many other statutory requirements and

 legal obligations, including, e.g., records retention requirements under the Federal Records Act,

 disclosure requirements under the Freedom of Information Act, cybersecurity obligations pursuant

 to the Federal Information Security Management Act and other statutes, and requirements related

 to the protection of confidential and personally identifiable information under the Privacy Act, the

 Trade Secrets Act, and CFPB regulations, 12 C.F.R. Subpart D. The CFPB is also subject to

 obligations arising from judicial proceedings, such as active litigation holds. Some of these

 requirements have criminal liability for noncompliance.

        8.      In my role as General Counsel and Senior Advisor to the CFPB Director, I was

 extensively involved with the staffing and management of the agency. Specifically, I served on

 nearly every committee of agency senior leadership dedicated to agency staffing during my tenure.

 I also was extensively involved with agency budgeting, contracting, and related decisions.

        9.      In my extensive experience with management of the CFPB as well as my familiarity

 with the agency’s legal obligations as General Counsel, the CFPB relies on a combination of

 employees, contractors, and contracts to meet its legal obligations.

         10.    Based on my extensive experience with management of the CFPB as well as my

 familiarity with the agency’s legal obligations, the agency cannot possibly be meeting its legal

 obligations if employees and contractors are not “perform[ing] any work tasks,” nor could the




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 agency do so if the vast majority of its employees were indiscriminately put on leave or terminated.

 To give just some of the many available examples:

         11.       Exclusive Federal Examiner and Primary Enforcer: As of my departure, a very

 significant portion of the CFPB’s staff—in the range of 500 employees, i.e., 30-40% of all

 employees—was dedicated to examination activity, which Congress required the CFPB by law to

 conduct. See, e.g., 12 U.S.C. § 5514(b)(1) (“The Bureau shall require reports and conduct

 examinations on a periodic basis of [nondepository covered persons] . . . .”).

         12.       As of my departure, a significant portion of the CFPB’s staff—in the range of 200

 employees, i.e., 10-20% of all employees—was dedicated to enforcement activity, which Congress

 required the CFPB by law to conduct. See, e.g., 12 U.S.C. § 5511(a)(1) (“The Bureau shall seek to

 implement and, where applicable, enforce Federal consumer financial law consistently for the

 purpose of ensuring that all consumers have access to markets for consumer financial products and

 services and that markets for consumer financial products and services are fair, transparent, and

 competitive.”).

         13.       Thousands of institutions meet the definition of “nondepository covered persons”

 that the CFPB is required to “conduct examinations [of] on a periodic basis.” 12 U.S.C. §

 5514(b)(1). The CFPB is the only federal regulator that can examine many of these nondepository

 financial institutions, such as credit reporting agencies, debt collectors, and payday lenders.

         14.       Congress also provided by law that the CFPB is the exclusive federal examiner for

 consumer financial protection law of all very large banks, savings associations, and credit unions

 (i.e., insured depository institutions and credit unions with total assets of more than $10 billion

 and their affiliates). See 12 U.S.C. § 5515(a)(1). As of September 2024, there were about 180 very

 large banks, savings associations, and credit unions meeting these criteria.




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         15.    Congress also provided by law that the CFPB is the primary enforcer of the more

 than a dozen federal consumer financial laws with respect to many nondepository financial

 institutions and is the primary enforcer of the federal consumer financial laws with respect to all

 very large banks, savings associations, and credit unions. See 12 U.S.C. § 5515(c); see also 12

 U.S.C. § 5481(12), (14).

         16.    CFPB examination staff is responsible for supervising compliance with numerous

 court and administrative orders. See, e.g., Stipulated Final Judgment and Order, CFPB v. Navient,

 No. 3:17-CV-00101-RDM (M.D. Pa. Sept. 12, 2024) (requiring regular submissions to the CFPB

 Supervision Director).

         17.    Based on my extensive experience with management of the CFPB as well as my

 familiarity with the agency’s legal obligations, a work stoppage or indiscriminate mass layoff of

 the staff dedicated to examination activity would make it impossible to continue to meet the

 agency’s legal obligations with respect to the thousands of institutions that the CFPB, and only the

 CFPB, examines at the federal level. If the CFPB were to terminate most of its staff, I do not

 believe the CFPB would be able to meet its legal obligations with respect to examinations and

 enforcement.

         18.    Additionally, Acting Director Vought’s order “not [to] perform any work tasks”

 and subsequent creation of the “CFPB Tip Line” to inform on any activity by “CFPB enforcement

 or supervision staff” is obviously an instruction not to perform the supervision and enforcement

 activities that Congress required by law. Indeed, I understand from court filings in this case that

 Acting Director Vought specifically instructed CFPB employees to “[c]ease all supervision and

 examination activity” and “[n]ot [to] commence, take additional investigative activities related to,

 or settle enforcement actions.” I also understand that the agency has ceased ongoing work on




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 examinations, has failed to begin exams that were already scheduled, and has fired expert

 witnesses, missed deadlines, and dropped active enforcement matters.

         19.    Consumer Complaints: As of my departure, a very significant portion of the

 CFPB’s staff—more than 100 full-time equivalent employees—was dedicated to the CFPB’s

 statutory obligations with respect to receiving, responding to, and otherwise handling consumer

 complaints.

         20.    Congress required the CFPB to establish a unit “to facilitate the centralized

 collection of, monitoring of, and response to consumer complaints regarding consumer financial

 products or services.” 12 U.S.C. § 5493(b)(3)(A). The CFPB is required by law “to provide a

 timely response to consumers, in writing where appropriate, to complaints against, or inquiries

 concerning, a covered person, including– (1) steps that have been taken by the regulator in

 response to the complaint or inquiry of the consumer. . . .” 12 U.S.C. § 5534(a)(1). The CFPB is

 also required “to present an annual report to Congress not later than March 31 of each year on the

 complaints received by the Bureau in the prior year regarding consumer financial products and

 services” and to “share consumer complaint information with prudential regulators, the Federal

 Trade Commission, other Federal agencies, and State Agencies.” 12 U.S.C. § 5493(b)(3)(C), (D).

         21.    Congress also put various other legal requirements on the CFPB and other entities

 with respect to consumer complaints received by the Bureau. See, e.g., 12 U.S.C. § 5493(e)(1)(B)

 (requiring the CFPB’s Office of Service Member Affairs to, among other things, “coordinate with

 the unit of the Bureau established [by law to receive consumer complaints] in order to monitor

 complaints by service members and their families and responses to those complaints by the Bureau

 or other appropriate Federal or State Agency”); 12 U.S.C. § 5535(c)(3) (requiring the CFPB

 Student Loan Ombudsman to “compile and analyze data on borrower complaints”); 15 U.S.C. §




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 1681i (requiring preparation of annual report about consumer complaints related to consumer

 reporting and transmittal of those complaints to consumer reporting agencies, which are required

 to review them).

         22.    The number of complaints to the CFPB has grown consistently from year to year.

 During the period of April 1, 2023, through March 31, 2024, the CFPB received approximately

 1.8 million consumer complaints.

         23.    Based on my extensive experience with management of the CFPB as well as my

 familiarity with the agency’s legal obligations, the agency would need significant staff dedicated

 to receiving, responding to, and otherwise handling consumer complaints to continue to meet these

 legal obligations.

         24.    Indeed, according to press accounts, the CFPB is currently telling consumers that

 it is not meeting its legal obligations with respect to complaints, such as responding to or otherwise

 handling complaints that it has received. See National Public Radio, Personal Finance columnist

 says CFPB is important 'one stop shop' to protect consumers (Feb. 19, 2025) (“I actually called

 their hotline and a person did answer. . . . what she told me was that she could still take complaints,

 but they have stopped action.”).3

         25.    Student Loan Ombudsman: As noted above, I was previously the CFPB’s Student

 Loan Ombudsman—designated, as Congress required by law, by the Secretary of the Treasury,

 “in consultation with the [CFPB] Director, . . . to provide timely assistance to borrowers of private

 education loans.” 12 U.S.C. § 5535(a). Congress required the CFPB Student Loan Ombudsman

 by law to perform certain specific duties, including, for example, to “receive, review, and attempt




 3
  https://www.npr.org/2025/02/19/nx-s1-5297840/personal-finance-columnist-says-cfpb-is-
 important-one-stop-shop-to-protect-consumers



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 to resolve informally complaints from borrowers of loans,” to “make appropriate

 recommendations” to federal government agencies and Congress, and to prepare annual reports.

 12 U.S.C. § 5535(c), (d).

            26.   It is my understanding from her public statements that the current CFPB Student

 Loan Ombudsman, Julia Barnard, was recently unlawfully terminated and that no replacement has

 been designated by the Secretary of the Treasury. The statutory duties of the Student Loan

 Ombudsman are not being fulfilled during a work stoppage or with no one in the position. For

 instance, borrowers who attempt to contact the CFPB Student Loan Ombudsman will not be able

 to have her “receive, review, and attempt to resolve informally” such complaints. 12 U.S.C. §

 5535(a).

            27.   Regulations: One of the core mandates that Congress required of the CFPB is to

 ensure that consumer financial regulations are not “outdated, unnecessary, or unduly burdensome,”

 12 U.S.C. § 5511(b)(3), and one of the primary functions of the CFPB is “issuing rules, orders,

 and guidance implementing Federal consumer financial law,” 12 U.S.C. § 5511(c)(5).

            28.   As part of those obligations, Congress required the CFPB to promulgate a host of

 regulations. For example, Congress required the CFPB to complete several mortgage-related

 regulations that the agency finalized shortly after the agency’s creation. Congress also required the

 CFPB to promulgate a small business lending data rule in Section 1071 of the Dodd-Frank Act,

 and the CFPB completed that rule in recent years under a court order requiring its completion.

 That rule has not yet gone into effect. Congress also required the CFPB to complete an open

 banking rule in Section 1033 of the Dodd-Frank Act. The CFPB recently completed that rule, but

 it has not yet gone into effect. Both of those rules will require ongoing implementation work—to

 administer the data collection and recognize standard-setting bodies, respectively.




                                                                                                         JA211
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         29.    Since passage of the Dodd-Frank Act, Congress has assigned additional regulatory

 tasks to the CFPB as well. For example, Congress recently passed the Financial Data Transparency

 Act of 2022, which requires the CFPB to conduct multiple rulemakings. The CFPB continues to

 be legally obligated to perform this important work.

         30.    The CFPB also has half a dozen open rulemakings. Under the Administrative

 Procedure Act, the CFPB has a legal obligation to review comments it receives in those

 rulemakings and complete the rulemaking process for each. And the CFPB has dozens of open

 rulemaking petitions that the CFPB is legally obligated under the Administrative Procedure Act to

 respond to.

         31.    The CFPB has an Office of Regulations and Legal Division that maintain existing

 regulations that are required by statute to ensure that they do not become outdated over time and

 that industry has appropriate guidance on how to comply. This is ongoing work under the statutory

 mandate to perform this function, as well as to maintain the regulations that were created by

 Congressional separately. For example, the CFPB has to update its regulations to adjust various

 monetary figures for inflation, based in some cases on specific statutory direction, and in other

 cases based on regulatory obligations.

         32.    Based on my extensive experience with management of the CFPB as well as my

 familiarity with the agency’s legal obligations, the agency is not fulfilling its legal obligations with

 respect to regulations under the work stoppage and would not be able to meet these legal

 obligations if the defendants were to carry out their planned indiscriminate mass layoff.

         33.    Specific Functional Units: As of my departure, a significant portion of the CFPB’s

 staff was dedicated to meeting legal obligations of “specific functional units” that Congress

 required by law to perform certain specific functions. See generally 12 U.S.C. § 5493 (mandating




                                                                                                            JA212
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 the creation of and specific obligations for Offices of Research; Consumer Complaints;

 Community Affairs; Fair Lending and Equal Opportunity; Financial Education; Service Member

 Affairs, and Financial Protection for Older Americans).4

         34.    Based on my extensive experience with management of the CFPB as well as my

 familiarity with the agency’s legal obligations, the agency cannot possibly be meeting the

 obligations of these units under the current work stoppage, and could not meet the legal obligations

 of these offices if the defendants were to carry out their planned indiscriminate mass layoff.

 Further, to the degree that the CFPB has indiscriminately terminated contracts, it raises questions

 about whether the agency intends to meet other continuous legal obligations in the Dodd-Frank

 Act, such as to monitor markets, on an ongoing basis.5


 4
   See 12 U.S.C. § 5493(b)(1) (mandating the creation of the Office of Research, “whose
 functions shall include researching, analyzing, and reporting on” certain specific topics); id. §
 5493(b)(2) (mandating the creation of the Office of Community Affairs, “whose functions shall
 include providing information, guidance, and technical assistance regarding the offering and
 provision of consumer financial products or services to traditionally underserved consumers and
 communities”); id. § 5493(c) (mandating the creation of the Office of Fair Lending and Equal
 Opportunity, whose functions must include, among other things, “providing oversight and
 enforcement of Federal laws intended to ensure the fair, equitable, and nondiscriminatory access
 to credit,” “working with private industry, fair lending, civil rights, consumer and community
 advocates on the promotion of fair lending compliance and education,” and “providing annual
 reports to Congress on the efforts of the Bureau to fulfill its fair lending mandate”); id. § 5493(d)
 (mandating the creation of the Office of Financial Education, “which shall be responsible for
 developing and implementing initiatives intended to educate and empower consumers to make
 better informed financial decisions,” among other duties); id. § 5493(e) (mandating the creation
 of the Office of Service Member Affairs, “which shall be responsible for developing and
 implementing initiatives for service members and their families” for various specific purposes);
 id. § 5493(g) (mandating the creation of the Office of Financial Protection for Older Americans,
 which “shall,” among several other things, “coordinate consumer protection efforts of seniors
 with other Federal agencies and State regulators, as appropriate, to promote consistent, effective,
 and efficient enforcement” and “work with community organizations, non-profit organizations,
 and other entities that are involved with educating or assisting seniors”).
 5
   For example, the law indicates that “[i]n order to support its rulemaking and other functions,
 the Bureau shall monitor for risks to consumers in the offering or provision of consumer
 financial products or services, including developments in markets for such products or services.”




                                                                                                         JA213
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         35.    Other Legal Obligations: Finally, generally stopping work or indiscriminately

 putting on leave or terminating CFPB employees, contractors, or contracts would be extremely

 likely to cause the agency to immediately be violating its other legal obligations, including

 specifically requirements related to active litigation holds, record retention, responding to FOIA

 requests, requirements related to the protection of trade secrets, personally identifiable

 information, and confidential supervisory information, and cybersecurity requirements.

         36.    Indeed, if the CFPB has already indiscriminately terminated CFPB employees,

 contractors, or contracts, it would be extremely likely that agency leadership has created the

 potential for widespread exposure of industry trade secrets and confidential supervisory

 information, as well as consumers’ personally identifiable information, in violation of law, among

 other violations of the agency’s legal obligations.

         37. The statutory obligations that I have mentioned in this declaration are not exhaustive.

 Generally speaking, the CFPB’s staff is almost entirely oriented towards the statutorily required

 functions of enforcement, supervision, complaints, financial education, research, market

 monitoring, regulations (including statutorily required regulations), specific functional units,

 complying with legal obligations applicable across government agencies, and the basic

 administrative, management, legal, accounting, and technology staff that is necessary to support

 the work of those teams. This is not surprising, as these are the “primary functions” Congress

 provided for in law for the CFPB. See 12 U.S.C. § 5511(c).




 12 U.S.C. § 5512(c)(1). The CFPB had various contracts with industry providers to be able to
 perform this market-monitoring function. I have reviewed public statements from the
 “Department of Governmental Efficiency” indicating that it has canceled contracts that are
 crucial to this function, such as the Consumer Credit Information Panel.



                                                                                                       JA214
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  Termination of CFPB Probationary Employees Was Considered and Rejected by the Agency

        38.     As CFPB General Counsel and Senior Advisor to the Director, I was involved in

 many decisions involving management of CFPB employees.

        39.     Specifically, with respect to probationary employees, I had primary responsibility

 for advising CFPB management on agency decisions, where appropriate and at the direction of the

 CFPB Director, to carry out the U.S. Office of Personnel Management’s January 20, 2025

 memorandum entitled “Guidance on Probationary Periods, Administrative Leave and Details.” In

 particular, that memorandum directed agencies to (1) “identify all employees on probationary

 periods, who have served less than a year in a competitive service appointment, or who have served

 less than two years in an excepted service appointment” and (2) “promptly determine whether

 those employees should be retained at the agency.”

        40.     At the time of my departure from the agency, the CFPB employed many employees

 on probationary periods—employees whose appointment “becomes final,” 5 U.S.C § 3321(a), only

 after a period of time that has not yet elapsed. This included both employees in and outside of the

 CFPB’s collective bargaining unit (i.e. eligible to be a member of the CFPB union).

        41.     In response to OPM’s January 20, 2025 guidance, I consulted formally, orally and

 in writing, with agency leaders about the CFPB’s employees on probationary periods, to determine

 whether those employees were necessary for ensuring compliance with the agency’s statutory

 objectives and whether there were any performance issues with those employees or any other non-

 political reasons for their termination.

        42.     Based on those consultations, the CFPB’s assessment was that those employees are

 indeed necessary to support the CFPB’s ongoing functioning, including to meet its legal

 obligations. The agency did not identify any employees on probationary periods with performance




                                                                                                       JA215
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 or conduct issues that would have justified their termination. Indeed, in my consultation with

 agency leadership, not a single reason for terminating any employees on probationary periods was

 raised from January 20, 2025 through my last day as General Counsel on February 7, 2025.

        43.     Accordingly, from January 20, 2025 through February 7, 2025, no employees on

 probationary periods were terminated by the CFPB.

        44.     The New York Times has reported on a memorandum, attributed to me, providing

 the CFPB’s determination about whether employees on probationary periods should be retained at

 the agency. See The New York Times, Trump Names 2 New Top Financial Regulators (Feb 11,

 2025).6 The Times article indicated that this memorandum by me “to agency leaders” explained

 the CFPB’s reasoned justification for retaining employees on probationary periods, who “helped

 the bureau obtain more than $30 million in remedies for consumers.” Based on my personal

 knowledge of the facts, I would not dispute the accuracy of these assertions.

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

 and correct.

 Executed in Washington, DC                                          /s/ Seth Frotman
 February 27, 2025                                                   Seth Frotman




 6
  https://www.nytimes.com/2025/02/11/us/politics/trump-financial-regulators-jonathan-
 mckernan-gould.html



                                                                                                       JA216
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                      DECLARATION OF JUANITA WEST-TILLMAN

        I, Juanita West-Tillman, declare as follows:

        1.      I am a member of the National Association for the Advancement of Colored People

 (“NAACP”) and the former Secretary of the Pasadena branch. I am more than 18 years of age and

 competent to testify about the facts contained in this declaration. The statements made in this

 declaration are based on my personal knowledge.

        2.       I live in Altadena, California, which was recently devastated by a fire that

 destroyed thousands of buildings and took nearly twenty lives. I, and other members of my

 NAACP branch, lost everything in the Altadena fire, including my house and all my possessions

 therein.

        3.      Following the fire, there were numerous financial scams and predatory schemes

 targeted at fire victims—fraudulent loans, loans with illegal terms, mortgage scams. A multitude

 of types of financial fraud was, and is, being targeted at people who, like me, have just lost their

 homes. I had a difficult time determining what assistance was legitimate and what was fraudulent.

 I know other members of the Altadena Branch of the NAACP who had the same experience.




                                                  1
                                                                                                        JA217
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        4.      When the Consumer Financial Protection Bureau stopped work in early February

 2025, NAACP members were already taking advantage of the Bureau’s assistance to help them

 avoid predatory financial schemes, educate fellow members about them, and provide direct

 assistance, including connecting us with resources that could help us get back on our feet. I was

 intending to take advantage of and rely on such assistance. But the CFPB abruptly stopped offering

 it. Without the CFPB, I and other NAACP members who are victims of the Altadena fire will be

 unable to recover money lost to financial predators.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.




 Executed on February 27, 2025, in Los Angeles, CA.


                                                             Juanita West-Tillman




                                                 2
                                                                                                      JA218
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                            DECLARATION OF CHRISTINA COLL

 I, Christina Coll, declare as follows:

        1.      I am an officer and board member of the CFPB Employee Association. The

 statements made in this declaration are based on my personal knowledge and information available

 to me through my duties at the Employee Association.

        2.      The Employee Association is a membership organization of dedicated public

 servants committed to advocating for the interests of the Consumer Financial Protection Bureau’s

 mission and employees.1

        3.      Our members are current and former employees of the CFPB, including employees

 who are not represented by the National Treasury Employees Union. Our non-union members

 currently include probationary and term employees who were terminated during the week of

 February 10, 2025, and include current employees who fear losing their jobs as part of a future

 mass firing.




        1
          Paragraph 18 of the Amended Complaint, ECF #7, which describes the Employee
 Association’s mission, inadvertently omits the words “mission and employees.”


                                                 1
                                                                                                    JA219
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        4.     Some Employee Association members supervised probationary and term

 employees who were fired the week of February 10th. The supervisors did not identify poor

 performance or misconduct before the firings; to the contrary many of those fired were top

 performers.

        5.     The firings of probationary and term employees have harmed the Employee

 Association’s members. Members who were fired lost their income and have lost, or will soon

 lose, important benefits, such as health insurance. One Employee Association member who was

 fired as part of the firing of probationary employees, for example, is now unable to pay her

 mortgage loan. She is also now unable to provide for her two children and so has been relying on

 food banks to feed her family.

        6.     Another Employee Association member who was fired as part of the firing of term

 employees recently learned that she could have a chronic auto-immune condition. At her doctor’s

 recommendation, she was planning to have further testing completed in late March or early April.

 When she learned of her termination and that she would lose her health insurance in mid-March,

 she scheduled an ultrasound and a biopsy to be sooner and closer together than recommended by

 her doctor. She expects that she will lose her CFPB health insurance during the critical stage of

 setting up a treatment plan with her doctor; if diagnosed, her care could range from prescription

 medication to an organ transplant.

        7.     If the CFPB conducts further mass layoffs, Employee Association members who

 have not yet been fired will face the same harms as those who were already terminated. For

 example, an Employee Association member who is still employed but is at risk of being terminated

 has a spouse who has been on full medical leave with an ongoing serious medical condition. This

 Employee Association member is the insurance provider for the family, and any potential lapse in




                                                2
                                                                                                     JA220
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 coverage would result in the inability to provide necessary medical care for her spouse. Her

 employment situation is so stressful that she is now suffering from chronic migraines.

                                The Work Stoppage of the CFPB

        8.      On February 10th, Acting Director Vought directed all CFPB staff to “not perform

 any work tasks” unless they received approval in writing from the Chief Legal Officer for an urgent

 matter. Martinez Decl. Ex. F. Members noticed that Acting Director Vought’s February 10th email

 did not contain an exception for activities required by law. As reported by Banking

 Dive (bankingdive.com), on February 10th, the Chief Legal Officer emailed the Enforcement

 Division, directing employees “not make any further communications… to parties that are subject

 to any pending enforcement matter or prospective enforcement matter without getting my approval

 in writing,” and that “[f]ailure to abide by these instructions constitutes insubordination and we

 will take appropriate personnel action.” Around the same time, members also reported that a

 “cfpb_tipline” account on X asked people to report work done by CFPB enforcement or

 supervision staff, and a CFPB spokesperson stated that any employees found to be in violation of

 the stop-work order “will be dealt with accordingly.” To the best of my knowledge, nearly all of

 the Employee Association’s members who are still employed at the CFPB remain on

 administrative leave.

        9.      The sudden shutdown of the CFPB’s work has harmed the Employee Association’s

 members. Members report that the stop-work order has negatively impacted their ability to comply

 with professional and ethical obligations. Members report that the totality of the new

 administration’s actions has created an atmosphere of fear and uncertainty about what constitutes

 a “work task.” Members worry that they will be fired for even checking their email to see if there

 are any new directives.




                                                 3
                                                                                                       JA221
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        10.     Some of the Employee Association’s members have worked at the CFPB through

 each administration change since the CFPB’s inception, and some members have worked at other

 government agencies through earlier administrative transitions, as well. According to these

 members, the effect of the stop-work order on the ability of Bureau to perform its statutory

 functions is unlike anything they have witnessed before in federal service. For example, according

 to these members, previous transitions did not involve the mass firing of probationary and term

 employees for reasons unrelated to performance, the placement of nearly all remaining employees

 on administrative leave, the closure of agency offices, the widespread cancellation of contracts

 that are necessary to carry out statutory functions, an order to stop all work tasks unless specifically

 authorized, or the complete or near-complete stoppage of core statutory functions like enforcement

 and supervision work.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 27, 2025, in El Cerrito, CA.

                                                                /s/ Christina Coll
                                                                        Christina Coll




                                                    4
                                                                                                            JA222
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                          DECLARATION OF PEYTON DIOTALEVI

 I, Peyton Diotalevi, declare as follows:

        1.      I am National Counsel for the National Treasury Employees Union in NTEU’s

 Washington, D.C. Field Office. I have worked at NTEU since 2010.

        2.      NTEU represents approximately 160,000 bargaining-unit employees across 37

 departments and agencies. I supervise a staff of five attorneys in NTEU’s Washington, D.C. Field

 Office who provide representational advice and guidance to bargaining-unit employees in 28

 NTEU chapters, including NTEU Chapter 335. NTEU Chapter 335 exclusively represents

 bargaining-unit employees at the Consumer Financial Protection Bureau.

        3.      By virtue of my job duties, I am familiar with the details of NTEU’s relationships

 with the chapter leaders, members, and bargaining-unit employees of NTEU Chapter 335. The

 statements made in this declaration are based on my personal knowledge or information available

 to me through my duties at NTEU.

        4.      Mass Firings and Administrative Leave. On February 13, 2025, as the

 memorandum in support of a temporary restraining order in this case was being finalized, NTEU

 began receiving word that mass firings at the CFPB had already begun. The Bureau had already


                                                 1
                                                                                                     JA223
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 fired all of its probationary employees on February 11. And by the end of February 13, it had fired

 all of its term employees. My understanding, based on the accounts of multiple people with direct

 knowledge, was that the Bureau was planning to fire virtually all of its remaining employees the

 next day, February 14. That was forestalled only by this Court’s order that same day, temporarily

 prohibiting the CFPB and Acting Director Russell Vought from initiating any further mass

 terminations. Following the issuance of this Court’s order, Human Capital Operations Manager

 Roland Jacob sent an email to all remaining CFPB staff placing them on “administrative leave

 until otherwise instructed.” A true and correct copy of that email is attached as Exhibit A. Most

 CFPB employees remain on administrative leave.

        5.      I am aware that some employees have requested authorization to work despite the

 stoppage, and those requests have gone ignored.

        6.      “Tip Line.” The CFPB has now set up a “Tip Line” to report any “violation[s] of

 Acting Director Russ Vought’s stand down order.”1 Inverting the ordinary situation, in which the

 public might complain about fraud or deceit by lenders or debt collectors, this tip line asks the

 lenders or debt collectors to report if they are “being pursued by CFPB enforcement or supervision

 staff.” In all of my years representing federal employees, I have never before seen an agency ask

 the public to report a government employee for doing their job. In response to a reporter

 questioning whether it was really true that “the CFPB appears to have set up” such a tip line,

 Vought responded, “Yes, we have.”2




        1
          https://x.com/cfpb_tipline/ (“Are you being pursued by CFPB enforcement or
 supervision staff, in violation of Acting Director Russ Vought's stand down order? If so, DM us
 or send an email.”).
        2
          https://x.com/russvought/status/1890105212230349130.


                                                 2
                                                                                                       JA224
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         7.      “Impending Separation[s].” Following the mass terminations of term and

 probationary employees—and while this Court’s order prohibiting further mass firings was in

 place—anyone who sent an email to CFPB’s Human Resources received an auto-reply stating that

 Human Resources was “working diligently with the agency during this transition to provide

 necessary documents related to your recent or impending separation.” That auto-reply still appears

 to be on as of this writing. A true and correct copy of that email is attached as Exhibit B.

         8.      D.C. Headquarters Closure. On February 9, 2025, a Sunday, the CFPB closed its

 D.C. headquarters, with no notice to the union or to employees. Some NTEU members were still

 in the building working when it was closed down. Because the closure took place on a Sunday,

 though, most employees who regularly work at headquarters were not in the building. As a result,

 they could not recover any of their personal belongings, identify important records for document-

 retention purposes, or secure data. The headquarters building has remained closed to CFPB

 employees since. However, the daycare and coffee shop remained open and were open as of the

 date of the filing of this declaration.

         9.      I have reviewed Adam Martinez’s declaration, filed in support of the defendants’

 opposition to a preliminary injunction. He states that he was “advised by” unspecified “new

 leadership” that the D.C. headquarters “would be closed” starting February 10, 2025, “due to safety

 concerns.” ECF 31-1 ¶ 12. The email sent by Mr. Martinez to employees advising them of the

 building closure did not mention anything about safety concerns. Id., Ex. E. The leadership of the

 CFPB bargaining unit—which ordinarily would be informed of such concerns—was also not




                                                  3
                                                                                                       JA225
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 notified of any safety concerns. The closure did, however, coincide with the presence of DOGE

 employees in the building going through the agency’s records.3

        10.     Mr. Martinez states that on February 7, 2025, a single employee disrupted a

 meeting. Id. ¶ 7. Mr. Martinez was not present at the meeting. He instead relies on an incident

 report, created shortly before his declaration was submitted to this Court—weeks after the incident

 took place. Id., Ex. B. NTEU was informed about the incident soon after it occurred, and my

 understanding of the events diverges from Mr. Martinez’s recounting. I am not aware of (and

 neither Mr. Martinez nor the incident report identifies) any actual threat posed by this employee—

 or any reason that a single employee interrupting a single meeting would necessitate closing a

 major federal agency’s Washington, D.C. headquarters building for weeks. In fact, the building

 remained open the rest of that day and the following day.

        11.     Mr. Martinez states that on February 7, 2025, NTEU “employees began protesting

 outside of the CFPB Headquarters building.” ECF 31-1 ¶ 8. I believe that statement to be false. To

 my knowledge, no CFPB employees protested outside the building that day. There were a few

 members of the public—less than a dozen—who, on February 7, protested the shutdown of the

 CFPB. A reporter took a picture of the protest, which shows about four unidentified people in front

 of the building.4

        12.     Indeed, the day after the government’s response brief was filed in this case, the

 American Banker—a banking-industry trade publication that closely tracks events at the CFPB—

 reported that the government, in reliance on the Martinez declaration, had “falsely claimed that it


        3
           See Nancy Cook and Joshua Green, Musk Team’s Blitz on Consumer Financial Agency
 Unsettles Trump Allies, Bloomberg (Feb. 22, 2025),
 https://www.bloomberg.com/news/articles/2025-02-22/trump-allies-unsettled-by-musk-s-doge-
 blitz-on-cfpb .
         4
           https://bsky.app/profile/hamiltonnolan.bsky.social/post/3lhmc5xlx7k2r.


                                                 4
                                                                                                       JA226
     Case 1:25-cv-00381-ABJ Document 41-1                    Filed 02/28/25 Page 5 of 17
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 closed the CFPB's Washington D.C. headquarters in response to protests by employees — even

 though the protests happened only after the office was shuttered.”5

        13.     The other protests that Mr. Martinez identifies were attended by NTEU members,

 but they took place after the building had already been closed. And, to my knowledge, they were

 entirely peaceful. Members of Congress even participated. Mr. Martinez does not identify—and I

 am unaware of—any evidence that these peaceful protests posed any safety threat to the CFPB, its

 employees, or the public. If they had, CFPB Facilities would have been required to notify chapter

 leadership, who would, in turn, have alerted NTEU. Moreover, as a practical matter, the CFPB

 headquarters building is located directly across the 17th street security gate to the White House

 complex, at 17th and G Streets. If a safety or security threat were posed by any nearby protest, one

 would expect a rapid police response given such close proximity to the White House—and no such

 response occurred during these protests.

        14.     Closure of All CFPB Regional Offices. Mr. Martinez’s declaration omits that not

 only did the CFPB close its headquarters, it also closed its four regional offices across the country.

 The email from Mr. Martinez announcing the closures did not identify any safety concern, or any

 other rationale, that would justify closing these regional offices. A true and correct copy of that

 email is attached as Exhibit C.

        15.     Termination of D.C. and Regional Leases. I have seen an email sent on February

 21, 2025, from a CFPB Realty Officer, stating that by that date, the “CFPB’s main focus” was

 “moving out of [its] large headquarters building” on a “a very, very tight timeframe ... (30 days).”

 The February 21 email also states that the Bureau will move out “of the regional offices with San


        5
         Kate Berry, Justice Dept. insists there will continue to be a CFPB, American Banker,
 February 25, 2025, https://www.americanbanker.com/news/justice-dept-insists-there-will-
 continue-to-be-a-cfpb


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                                                                                                          JA227
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 Francisco being the first one.” The CFPB has since admitted that it is seeking to quickly terminate

 its lease on the D.C. headquarters.

        16.      On February 26, 2025, the Bureau allowed some managers entry into the

 headquarters building to identify records, collect their personal belongings, and, if they wished, to

 collect their employees’ belongings. To my knowledge, the managers were only informed that day

 that they would be permitted into the building.

        17.      Bargaining-unit employees were not given an opportunity to enter the building.

 Some NTEU members have been told that their personal belongings will be boxed up, and at some

 point they will be given a fifteen-minute time slot in which they can come pick them up. Others

 have been given no guidance at all. To my knowledge, there has been no instruction about what to

 do about any sensitive records or data.

        18.      Just this morning, CFPB Facilities sent an email to the terminated probationary and

 term employees stating that “the Operations team has packed up your personal belongings for

 pickup at” the headquarters building. It instructs that “[t]o retrieve your personal belongings, you

 must schedule an appointment by emailing” “[y]our full name,” where the property is located, and

 a time during business hours on March 3-6 (i.e. next week). The email states that items cannot be

 shipped. And “[e]xcept in special situations, items that are not picked up by March 6, 2025 will be

 considered abandoned and will be disposed of.” A true and correct copy of this email is attached

 as Exhibit D.

        19.      Although the email instructs former employees that they may return CFPB

 equipment like laptops, iPhones, and secure thumb drives during the same window, it does not

 provide any instructions for those who cannot do so. Nor does it say anything about record

 retention, data preservation, or data security.




                                                   6
                                                                                                         JA228
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        20.     This morning, CFPB employees also received an advisory that as of February 28,

 2025, the CFPB’s Virtual Desktop—that is, the program that allows employees to securely log in

 to the CFPB system when they are not at a CFPB computer—will no longer be available. A true

 and correct copy of this email is attached as Exhibit E.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on February 27, 2025, in Alexandria, Virginia.

                                                             /s/ Peyton Diotalevi
                                                             Peyton Diotalevi




                                                 7
                                                                                                     JA229
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              Exhibit A




                                                                            JA230
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  From:
Subject: Updated Timekeeping Instructions for PP03
   Date: February 14, 2025 at 4:15 PM
     To:
    Cc:


       Colleagues,

       On Monday, February 10th CFPB’s Acting Director issued guidance for Bureau staff to
       pause work tasks. In accordance with the Acting Director’s guidance employees should
       exercise administrative leave until otherwise instructed. For staff who have been asked to
       work by the Acting Director, the Chief Legal Officer, or another designee (i.e. through their
       leadership chain, etc.) they should record that time as they normally would. All time not in a
       working status should be reflected in webTA under the “Admin/Excused Absence” leave
       transaction category.

       Please refer questions to the CFPB_WorkLife@cfpb.gov box so the Office of Human
       Capital can provide clarifying guidance as needed.

       V/R

       Roland Jacob
       Human Capital Operations Manager
       Systems and Operations | Office of Human Capital


       Consumer Financial Protection Bureau
       consumerfinance.gov
       Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
       delete the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                                                                        JA231
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              Exhibit B




                                                                             JA232
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  From: CFPBHROps CFPBHROps@fiscal.treasury.gov
Subject: Automatic reply: question re separation papers
   Date: February 27, 2025 at 9:27 AM
     To:

       We are working diligently with the agency during this transition to provide necessary documents related to your recent or impending
       separation.

       Please provide a personal email address and updated mailing address to ensure timely and effective communications.

       All separated employees will be receiving a copy of their SF-50, Notice of Personnel Action, as well as a separation packet with information
       regarding unemployment, benefits and lump sum annual leave payment, if applicable.

       Employees will have a 31-day extension of their health insurance from the date of separation provided by your health insurance carrier at no
       cost to you. Dental and Vision benefits will terminate upon the date of separation.

       Thank you for your patience.




                                                                                                                                                JA233
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              Exhibit C




                                                                             JA234
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  From:
Subject: Please Read: CFPB Regional Office Operating Status (Week of 2/17)
   Date: February 17, 2025 at 1:21 PM
     To:




       (This message is sent on behalf of Adam Martinez, Chief Operating Officer, for
       CFPB Regional Office Staff and Contractors)

       Dear Colleagues:

       The CFPB Regional Offices will remain closed this week (2/17-2/21). Employees
       and contractors approved to work should do so remotely unless otherwise
       instructed.

       Thank you.

       Adam

       Adam Martinez
       Chief Operating Officer




       consumerfinance.gov

       Confidentiality Notice: If you received this email by mistake, you should notify the sender of
       the mistake and delete the email and any attachments. An inadvertent disclosure is not
       intended to waive any privileges.




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              Exhibit D




                                                                             JA236
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                                                                             JA237
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              Exhibit E




                                                                             JA238
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  From:         Service Desk (CFPB)
  Subject:      Service Advisory: Virtual Desktop Access Unavailable After 2/28/2025
  Date:         Wednesday, February 26, 2025 10:14:16 AM




  What's Happening? The Citrix Virtual Desktop will be unavailable after Friday,
  February 28, 2025, at 11:59 PM EST. You are receiving this notification because you
  logged into the Virtual Desktop in the past 90 days. Access to the Virtual Desktop via
  https://work.cfpb.gov and https://csf.cfpb.local will no longer be available.

  When: Friday, February 28, 2025, at 11:59 PM EST

  Need More Info? Please refer any questions or concerns regarding this event to the
  CFPB Service and Support Portal, the CFPB Service Desk at 202-435-7777 (external),
  x57777 (internal), or email ServiceDesk@cfpb.gov.




                                                                                                         JA239
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  NATIONAL TREASURY EMPLOYEES
  UNION, et al.,

         Plaintiffs,                                           No. 1:25-cv-00381-ABJ
  v.

  RUSSELL VOUGHT, in his official
  capacity as Acting Director of the
  Consumer Financial Protection Bureau,
  et al.,
         Defendants.



                SUPPLEMENTAL DECLARATION OF ADAM MARTINEZ

         1.     My name is Adam Martinez. I am currently employed at the Consumer Financial
 Protection Bureau (“CFPB” or “the Bureau”) serving as its Chief Operating Officer (“COO”) and
 Acting Chief Human Capital Officer. I previously submitted a declaration in this matter dated
 February 24, 2025. I make this declaration based upon my personal knowledge and information
 provided to me in the course of my official duties.

          2.     For purposes of this declaration, I have reviewed Plaintiffs’ Reply Memorandum in
 Support of Plaintiffs’ Motion for Preliminary Injunction, ECF No. 40; all of the supplemental
 declarations attached to Plaintiffs’ Motion for Leave to File Supplemental Attachments in Support
 of their Motion for a Preliminary Injunction, ECF No. 38; as well as the supplemental declarations
 attached to Plaintiffs’ Notice of Corrected Attachments, ECF No. 41. I provide this declaration to
 clarify and expand upon my previous testimony in light of these materials.

         3.      I have reviewed the declaration that Alex Doe submitted in this case. In her
 testimony, A. Doe describes deliberative and predecisional events occurring during the week of
 February 10, 2025, including a statement where I referenced the “closure of the agency.” I have
 also reviewed the declaration that Blake Doe submitted in this case. In his testimony, B. Doe also
 describes deliberative and predecisional events occurring during the week of February 10, 2025,
 including a statement where I referenced a “wind down mode.” A. Doe’s testimony and B. Doe’s
 testimony regarding my statements are not inaccurate. Prior to Russell Vought’s designation as
 Acting Director of CFPB, agency staff had received guidance from DOGE-associated personnel
 consistent with those statements, which I believed at the time to reflect the position of agency
 leadership, and continued to believe to reflect agency leadership’s position for a brief time
 thereafter.




                                                                                                      JA240
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          4.     In the short time since then, and by the date that I submitted my earlier declaration,
 a great deal has evolved at the CFPB. On the evening of February 7, 2025, Russell Vought was
 named Acting Director of the agency. Rather than a closure of the agency, Acting Director
 Vought’s new leadership has focused on running a substantially more streamlined and efficient
 bureau, refocusing its priorities, and “right sizing” the agency. But, from my perspective, a very
 fluid situation continued during the week of February 10, 2025, as new leadership started to take
 control. Time was needed for new leadership to refocus the Bureau. By the time of my earlier
 declaration, however, the situation was somewhat more stable. And now, the Acting Director and
 Chief Legal Officer are taking time to assess, listen, and explore the state of the Bureau. Based on
 that assessment, new leadership continues to believe that there are substantially more employees
 than appropriate for a “right-sized” CFPB. But the new leadership, including the Chief Legal
 Officer, have taken a methodical approach to handling the Bureau’s operations and responding to
 senior executives who have recommended or requested guidance to perform each of the CFPB’s
 critical statutory responsibilities. Moreover, I have personally engaged with several of my
 colleagues to guide them through navigating the change and seeking clarification where and when
 its needed.

         5.     Notably, the President has nominated Jonathan McKernan to serve as a permanent
 Director of the CFPB. Mr. McKernan testified before the Senate Banking, Housing, and Urban
 Affairs Committee on February 27. I believe that having a Senate-confirmed permanent Director
 for the CFPB will further ensure that the Bureau carries out its statutory responsibilities.

         6.      B. Doe’s testimony refers to an email dated February 11, 2025, in which I stated
 that the agency’s Chief Financial Officer (CFO) had been in communication with the Federal
 Reserve. As stated in my original declaration, the Bureau has not attempted to transfer any of its
 funds back to the Federal Reserve. Moreover, I am not aware of a mechanism to transfer funds
 back to the Federal Reserve. That said, CFPB’s CFO did receive an inquiry about whether
 “excess” funds from the Bureau Fund could be transferred back to the Federal Reserve. He shared
 that as far as he was aware, it could not, and that the only mechanism in statute to account for
 unobligated funds is to offset future requests but, pursuant to that inquiry, he would conduct
 research, including communicating with the Federal Reserve to determine if there was any
 authority or mechanism from the Federal Reserve’s perspective that he was unaware of. Based on
 that research, he determined that there indeed is no authority or mechanism to transfer excess funds
 back to the Federal Reserve, to transfer excess funds to the Federal Reserve’s control, or to transfer
 excess funds to the control of any other entity. The agency has therefore not attempted to do so.
 The Bureau only transfers funds for the payment of expenditures incurred in the normal course of
 Bureau activities pursuant to its statutory obligations. In fact, pursuant to Dodd Frank, the Bureau
 Fund is a separate fund established in the Federal Reserve, and most of the CFPB funds (both the
 Bureau Fund and the Civil Penalty Fund) reside at the Federal Reserve. Routinely the Federal
 Reserve completes cash disbursements at the CFPB’s request to Treasury-held CFPB accounts for
 CFPB operating expenses.




                                                                                                          JA241
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          7.      I have reviewed the declaration that Drew Doe submitted in this case. D. Doe
 testifies that unnamed “Senior Executives” told staff that the CFPB would “not exist[.]” D. Doe
 Decl. ¶ 7. In addition to not identifying the individuals, D. Doe does not identify the date when
 he claims these statements were made. D. Doe does not testify that those statements were premised
 on directives from Acting Director Vought or the CFPB Chief Legal Officer and I understand those
 statements to be inconsistent with their directives. It is also inconsistent with the President
 nominating a permanent Director of CFPB.

         8.      I have reviewed the declaration that Matthew Pfaff submitted in this case, which is
 dated February 26, 2025. On February 27, 2025, the CFPB Chief Legal Officer activated work
 related to compliance with the agency’s critical statutory responsibilities in the area of the Office
 of Consumer Response. Thus, as of February 27, 2025, members of the Escalated Case
 Management team, for example, are working. These actions and others are inconsistent with D.
 Doe’s testimony suggesting that the agency will eliminate all positions except for five positions
 identified in the Dodd-Frank Act. Again, I am not aware of the identity of the “multiple Senior
 Executives” referenced in D. Doe’s testimony, and D. Doe does not testify that those statements
 were premised on directives from Acting Director Vought or the CFPB Chief Legal Officer. I
 understand the statement referenced in paragraph five of D. Doe’s declaration regarding an
 “intention of the leadership” to reduce CFPB staff to “everyone but the five positions required by
 the Dodd-Frank Act” to be inconsistent with Acting Director Vought and the Chief Legal Officer’s
 directives.

         9.       It is correct that the CFPB Ombudsman Office may not replace or directly resolve
 work conducted by the Student Loan Ombudsman position. And as I have previously testified,
 that position is currently vacant. But consumers may always utilize the CFPB Ombudsman Office
 for support. For example, if a consumer attempts to contact the Student Loan Ombudsman and
 receives no response, the consumer may always contact the CFPB Ombudsman to point out the
 non-responsiveness of the office and seek support. Again, the CFPB Ombudsman Office helps
 ensure that the CFPB continues to engage with the public.

                                                 ***

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed in Washington, DC this 2nd day of March, 2025.



                                                       __________________________
                                                       Adam Martinez
                                                       Chief Operating Officer




                                                                                                         JA242
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,

  v.
                                                        Case No. 25-cv-381-ABJ
  RUSSELL VOUGHT, in his official capacity
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,
                         Defendants.


                      SECOND DECLARATION OF MATTHEW PFAFF

        I, Matthew Pfaff, declare as follows:

        1.      I am employed at the Consumer Financial Protection Bureau, where I currently

 serve as the Chief of Staff for the Office of Consumer Response. I have been with the CFPB since

 October 2013. The purpose of this second declaration is to supplement testimony provided in my

 first declaration and whistleblower disclosure. ECF 38-7. The following is based on my personal

 knowledge or information provided to me while performing my duties.

        2.      I have reviewed the Supplemental Declaration of Adam Martinez. ECM 47-1.

 Consistent with his first declaration, Mr. Martinez’s statements are misleading, inaccurate, or both.

        3.      Mr. Martinez states that “[o]n February 27, 2025, the CFPB Chief Legal Officer

 activated work related to compliance with the agency’s critical statutory responsibilities in the area

 of the Office of Consumer Response. Thus, as of February 27, 2025, members of the Escalated

 Case Management team, for example, are working.” ECF 47-1 at ¶ 8. The first sentence is

 misleading. The second sentence is blatantly false.




                                                                                                          JA243
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        4.      None of the activities listed in my original declaration, including responding to

 escalated issues via the Escalated Case Management Team, are currently happening. ECF 38-7 at

 ¶¶ 12-26.

        5.      This is concerning. Many consumers are not receiving timely responses to their

 complaints as required by 12 U.S.C. § 5534(a). And for those who face urgent situations—e.g., a

 person who submits a complaint about losing their home to an imminent foreclosure—there is

 simply no one at the CFPB to help.

        6.      Mr. Martinez suggests that he is guiding colleagues “through navigating the change

 and seeking clarification where and when its needed.” ECF 47-1 at ¶ 4. As I explained in my prior

 declaration, I drafted a memo that described key statutory work and teams most directly aligned

 to these statutory obligations. ECF 38-7 at ¶ 10 and Ex. A. Mr. Martinez received that memo more

 than two weeks ago. Id. at ¶ 10. As of the time of Mr. Martinez’s Supplemental Declaration, he has

 not inquired about—or provided guidance on—this statutory work.

        7.      Mr. Martinez’s non-response is not limited to the consumer complaint function.

 Indeed, I am aware of several inquiries to Mr. Martinez, requesting authorization to perform

 statutorily authorized work, which have been ignored. On February 27, Mr. Martinez wrote to

 certain CFPB executives—who all work outside of Consumer Response—that “statutorily

 required work and/or work required by law are authorized” and “teams are authorized to continue

 carrying out these responsibilities.” I am aware of at least two CFPB executives who sent requests

 to Mr. Martinez following that email, seeking to activate staff to perform statutory work. Those

 requests, however, have been ignored.

                                                ***

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
 and correct.



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                                                                                                       JA244
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       Executed in Washington, DC this 2nd day of March, 2025.




                                                 Matthew Pfaff




                                             3
                                                                                        JA245
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                              DECLARATION OF EMORY DOE

         I, Emory Doe, declare as follows:

         1.     I have supervision over the Escalated Case Management team at the CFPB. The

 statements made in this declaration are based on my personal knowledge.

         2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name and position, I am willing to provide it ex parte and under

 seal.

         3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

 instructing all employees to “stand down from performing any work task.” That directive had no

 exception for statutorily mandated functions. Accordingly, neither I, nor any member of the

 Escalated Case Management Team, has performed any work since that order.

         4.     I read the supplemental declaration of Chief Operating Officer Adam Martinez,

 filed today, March 2, 2025. Mr. Martinez testified that, “as of February 27, 2025, members of the

 Escalated Case Management team, for example, are working.” That is false.

         5.     No member of the Escalated Case Management has performed any work since at

 least the February 10th stop-work order. Neither I, nor any member of the Escalated Case


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                                                                                                     JA246
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 Management team, was asked (or authorized) to work on February 27th, or any date before or after

 that. To confirm my understanding, I contacted each member of the Escalated Case Management

 team, all of whom confirmed that they remained unauthorized to work. I also checked my email

 inbox, as well as the shared team inbox, and neither contains any directive or authorization for the

 Escalated Case Management team to resume working.

        6.      The Escalated Case Management (ECM) team serves as a single point of contact

 for executives and other colleagues across the Bureau who are contacted directly by consumers

 regarding consumer complaint-related issues. These issues are referred to ECM in accordance with

 instructions published on the Bureau’s intranet, and ECM responds to consumers on the Bureau’s

 behalf, with ad hoc guidance from the team’s chain of command or Legal Division, as needed. The

 team also handles requests from the Consumer Resource Center (CRC or call center) to evaluate

 disability accommodation requests that the CRC could not resolve itself. In most cases, ECM

 provides guidance to the CRC for handling the request, while in other instances ECM handles the

 necessary consumer follow up directly. Additionally, ECM team members review foreclosure-

 related complaints when the consumer has entered an imminent foreclosure date in the appropriate

 field during the complaint submission process.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed on March 2, 2025, in Washington, D.C.

                                                              /s/ Emory Doe
                                                              Emory Doe




                                                  2
                                                                                                        JA247
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                              DECLARATION OF FRANCIS DOE

         I, Francis Doe, declare as follows:

         1.     I am a Financial Analyst in the Research, Monitoring, and Regulations division of

 the CFPB. The statements made in this declaration are based on my personal knowledge.

         2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name, I am willing to provide it ex parte and under seal.

         3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

 instructing all employees to “stand down from performing any work task.” The email made clear

 that even work on “urgent matters” could not be performed without “approval in writing,” which

 it directed could only be secured by alerting the Acting Director himself through “Mark Paoletta,

 Chief Legal Officer.” There were no exceptions to this stop-work order for statutorily required

 work.

         4.     I, my colleagues, and my manager all understood this email as an order to stop all

 work, regardless of whether it was required by statute. Accordingly, we have not performed any

 work, since it was sent. My office is responsible for statutorily mandated reports, for which I have




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                                                                                                        JA248
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 upcoming deadlines. I have not worked on these reports (or anything else) since we received the

 February 10 stop-work order.

        5.      On the morning of Friday, February 28, 2025, I became aware that the prior

 afternoon (February 27, 2025), CFPB Chief Operating Officer Adam Martinez had sent an email

 to the leadership of my division, including the assistant director responsible for overseeing my

 team, John McNamara. That email stated that Mr. Martinez and Acting Director Vought “wanted

 to ensure that [staff is] aware that statutorily required work and/or work required by law are

 authorized.” Although Mr. Martinez cited a February 8, 2025 email from Acting Director Vought,

 he did not mention the subsequent February 10 email, which had explicitly directed all employees

 to stop all work—without any exception for work required by law.

        6.      I learned of Mr. Martinez’s February 27 email from a colleague. When I learned of

 the email, I had not received any authorization from my management to resume work. Seeking

 clarification, I sent an email from my CFPB email account to Mr. McNamara, and cc-ed my direct

 manager. That email sought clarification about whether I should resume work on the statutorily

 mandated reports for which I am responsible. My direct manager responded, stating that Mr.

 McNamara “will be reaching out to you shortly.” Immediately thereafter, my direct manager texted

 me and two of my colleagues on our personal cell phones, stating: “In response to Adam

 Martinez’s email, John [McNamara] has instructed us to stand down until further notice.” In

 response to my manager’s text, I asked that Mr. McNamara “provide written guidance to our CFPB

 emails.”

        7.      Mr. McNamara then sent an email just to me and my direct manager (to our CFPB

 emails), stating that he would “like to get started” on statutorily mandated reports, but that I should




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                                                                                                           JA249
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 “[s]tay tuned for guidance.” Separately, he sent an email to my whole team, which said that he had

 emailed “Adam Martinez letting him know that [he planned] to recommence work on all areas.”

        8.      Confused, I then emailed Mr. McNamara again, asking “To clarify, should I get

 started or wait for guidance?” Mr. McNamara responded that I should “[w]ait for guidance.”

        9.      Having not received any further guidance, I continue to remain unauthorized to

 perform any work. Despite Mr. Martinez’s February 27 email, my understanding is that the stop-

 work order issued on February 10th remains in effect.



        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on March 2, 2025, in Washington, D.C.

                                                             /s/ Francis Doe
                                                             Francis Doe




                                                 3
                                                                                                      JA250
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

     NATIONAL TREASURY
     EMPLOYEES UNION, et al.,
                    Plaintiffs,
          v.

     RUSSELL VOUGHT, in his official capacity          Case No. 25-cv-381-ABJ
     as Acting Director of the Consumer Financial
     Protection Bureau, et al.,

                          Defendants.


                                DECLARATION OF GREER DOE
 I, Greer Doe, declare:

           1.     I am a management official at the Consumer Financial Protection Bureau (CFPB).

 The statements in this declaration are based on my personal knowledge. I am making this

 declaration to offer a written record of what I have observed concerning the unprecedented,

 ongoing stoppage of critical and statutorily required work by the CFPB up through today and to

 respond to the incorrect suggestion in the Second Declaration of Adam Martinez that the Bureau

 is ”perform[ing] each of CFPB’s critical statutory responsibilities.” ECF 47-1 ¶ 4. I make this

 declaration pseudonymously out of concern for retaliation. If requested, I will share my name and

 position ex parte and under seal.

           2.     The Consumer Financial Protection Act of 2010, the part of the Dodd-Frank Act

 that establishes the CFPB, mandates that the Bureau continuously carry out certain functions to

 protect consumers and serve the public.1 Among other things, the CFPB is required to have a

 consumer-complaint collection and response system and a public-facing website. See 12 U.S.C. §


 1
  A partial list is available here: Statutory Requirements for Continuous Operation of the CFPB,
 Feb. 13, 2025, https://protectborrowers.org/wp-content/uploads/2025/02/CFPB-Statutory-
 Requirements-2.13.25.pdf (attached as Exhibit A)



                                                                                                     JA251
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 5493(b)(3). The CFPB is also required by statute to have specific named offices with key functions.

 Among other things, the statute requires the Bureau to have an Office of Student Loan Ombudsman

 (12 U.S.C. § 5535(a)), an Office of Servicemember Affairs (12 U.S.C. § 5493(e)(1)), an Office for

 Older Americans (12 U.S.C. § 5493(f)(1)), an Office of Financial Education (12 U.S.C. §

 5493(d)(1)), and an Office of Community Affairs (12 U.S.C. § 5493(b)(2))—all offices that must

 provide specified services to consumers and other Bureau stakeholders, such as consumer groups

 and state and local governments and federal government partners, on a timely basis.

        3.      Since Acting Director Vought’s work-stoppage directive on February 10, to the best

 of my knowledge, no work has been done in the offices named above—and that remains true as of

 today. This means that the Office of Service Member Affairs is not assisting military service

 members, veterans, and their families. Nobody is performing the statutorily required complaint

 monitoring function for service members and veterans who are entitled to our help when they are

 scammed or defrauded, sometimes because they are deployed overseas or are otherwise rendered

 vulnerable as a result of their service to the Nation. The Office of Older Americans is not providing

 any services to older consumers who may be victims of elder abuse. The Student Loan

 Ombudsman was terminated on February 13 without the naming of a replacement, which means

 that people with student-loan problems cannot receive the timely assistance that the statute

 requires. The Office of Financial Education and the Office of Community Affairs are likewise at

 a standstill. As described in the declaration of Director of Digital Services Adam Scott, the CFPB’s

 homepage—most Americans’ first point of contact with the CFPB—was deleted at the direction

 of Acting Director Vought and remains down. And, as detailed in the declaration of Matthew Pfaff,

 the Chief of Staff of the Office of Consumer Response, the CFPB’s consumer-complaint and

 response system remains inoperable because of the work stoppage. For individual consumers;




                                                                                                         JA252
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 consumer groups and legal aid providers; federal, state, and local government partners; and other

 CFPB stakeholders, the Bureau has gone dark.

        4.        On February 10, 2025, all CFPB employees—including myself—received an email

 from Acting Director Vought directing all CFPB employees to “not perform any work tasks” and

 to “stand down from performing any work tasks.” The February 10 email directed employees that,

 “If there are any urgent matters, please alert me through Mark Paoletta, Chief Legal Officer, to get

 approval in writing before performing any work task.” This February 10 email followed an earlier

 email on February 8, 2025 from Acting Director Vought —also sent to all CFPB employees—

 ordering a stoppage of CFPB work, “unless expressly approved by the Acting Director or required

 by law.” This February 10 email prohibited “any work tasks” and did not include any exception

 for work “required by law” and it directed all employees to otherwise “stand down from

 performing any work tasks.” This lack of any exception for legally required work was widely noted

 and implemented across the Bureau. Following the February 8 email, virtually all work stopped,

 including statutorily required functions. Nobody believed they truly had authority to continue tasks

 unless specifically authorized to do so by Vought. The Febraury 10 email then cemented this

 understanding.

        5.        Acting Director Vought’s February 10 email was not ambiguous. Like my

 colleagues in my office and across the Bureau, I interpreted the email as an express directive to

 cease any and all work, regardless of whether it was required by statute. Other CFPB management

 repeatedly expressed to me the same understanding.

        6.        Upon receipt of Acting Director Vought’s February 10, 2025 email, all work in my

 office ceased, including all work statutorily required under the CFPA. This has meant that critically

 important work that is required of the CFPB has been subject to a complete work stoppage,




                                                                                                         JA253
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 including key areas of work on which consumers and other Bureau stakeholders depend. The

 terminations of nearly 200 CFPB employees that followed on February 11 and 13 further ensured

 that no work would proceed, with staff expressing concern to me that they might be fired for even

 checking their email or requesting authorization to complete statutorily required work.

        7.      Seventeen days later, late on Friday, February 27, 2025, Adam Martinez, the Chief

 Operating Officer (COO) of the CFPB sent an email regarding work authorization. This email was

 addressed only to senior management and, to my best of my knowledge, only to senior

 management in a single CFPB division (Research, Monitoring, and Regulations). The email was

 sent on the evening that the plaintiffs’ reply brief and supplemental declarations in this case were

 due to be filed. In this new email, COO Martinez stated that “statutorily required work and/or work

 required by law are authorized.” COO Martinez explicitly referenced Acting Director Vought’s

 February 8 email ordering a stoppage of work “unless expressly approved by the Acting Director

 or required by law,” but did not reference Acting Director Vought’s February 10 email ordering

 all work to stop, with no distinction or exception for statutorily required work. The February 10

 email, however, has not been rescinded or modified, and so COO Martinez’s email has generated

 confusion.

        8.      Because of uncertainty about the meaning of COO Martinez’s February 27 email—

 particularly its failure to address the complete work stoppage order from the Acting Director’s

 February 10 email—no work in my office has restarted.

        9.      Staff in my office have privately reported extreme anxiety to me about performing

 any work not expressly authorized by the Acting Director, out of concern that they may be

 terminated for insubordination in light of his February 10 work stoppage order, particularly given

 the chilling effect of the mass terminations on February 11 and 13, for no apparent cause, and




                                                                                                        JA254
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 internal reports that mass layoffs were imminent. They have specifically expressed concern that

 they might be terminated for insubordination in light of the February 10 work stoppage order.

        10.     I do not take COO Martinez’s February 27 email as a sincere attempt to ensure that

 the Bureau fulfills its statutory requirements under the CFPA. Rather, I interpret COO Martinez’s

 email as a somewhat transparent effort—in advance of a hearing in this Court—to create the

 appearance that statutorily required work is taking place across the Bureau when in fact it is not.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed on March 2, 2025.                                           /s/ Greer Doe
                                                                      Greer Doe




                                                                                                       JA255
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             Statutory Requirements for Continuous Operation of the CFPB

 February 13, 2025

 Persis Yu, Student Borrower Protection Center
 Erin Witte, Consumer Federation of America

 The Consumer Financial Protection Bureau (CFPB), created in the devastating wake of the
 2008 financial crisis, is an independent agency that enforces consumer protection laws and
 protects people who have been cheated by financial companies. This memorandum
 summarizes the many responsibilities and obligations that the CFPB is legally obligated to
 perform. Listed below are 87 such provisions in Title 12 of the U.S. Code – a non-exhaustive list
 of the CFPB’s legal responsibilities and obligations, with a short description of each. In addition
 to those on this list, there are additional responsibilities and obligations, including in Title 15 of
 the U.S. Code. See, e.g., 15 U.S.C. § 1603 note (requiring the CFPB annually to make certain
 inflation adjustments).

 The overwhelming majority of these items are responsibilities or obligations that the law requires
 the CFPB to continuously satisfy, while a relatively small number are one-time mandates that
 the CFPB has already satisfied. Additionally, the list does not include certain rulemakings that
 the CFPB has interpreted as required under sections 1033 (personal financial data rights) and
 1071 (small business lending) of the Consumer Financial Protection Act. 1

 Of the 87 provisions surveyed:
     - 13 require the CFPB to continuously operate specific offices/departments (such as an
        Office of Servicemember Affairs and Office of Financial Protection for Older Americans);
     - 14 involve required rulemaking activities (such as issuing a notice of proposed
        rulemaking when a majority of States has enacted a resolution);
     - 13 involve required reports or reporting (such as reporting at least annually on emerging
        risks to consumers);
     - 10 involve required public engagement activities (such as responding timely to consumer
        complaints);



 1
   Although the CFPB has interpreted these provisions as imposing mandatory rulemaking requirements,
 stakeholders have made strong arguments that covered entities that are not currently in compliance with
 these statutory provisions are plainly in violation of federal law. See Loper Bright Enterprises v.
 Raimondo, 603 U.S. 369 (2024) (declining to defer to agency’s interpretation of statutory language).



                                                                                                           JA256
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     -   8 involve requirements for the Bureau’s enforcement, supervision, or examination
         activities (such as conducting periodic examinations of nonbank entities);2
     -   7 obligate assumption of other federal agencies’ responsibilities (such as duties of the
         former Office of Thrift Supervision);
     -   6 involve mandatory consumer disclosures (such as periodically creating materials for
         consumers to understand the nature and costs of real estate settlement services).
     -   5 involve required inter-agency coordination;
     -   3 involve required intra-Bureau coordination;
     -   5 include mandatory labor protections for Bureau employees;
     -   3 impose civil rights-related obligations; and
     -   1 provides funding-related obligations.




 2
  Statutes categorized below as pertaining to “enforcement” include those dealing with supervision and
 examinations.


                                                    2
                                                                                                         JA257
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                   Provisions Enacted in 12 U.S.C. ch. 53, sub-ch. V “Bureau of Consumer Financial Protection”


Class              Statutory Mandate                 Statutory Citation       Language
                                                                              [The Bureau] shall regulate the offering and provision of consumer
                   Regulate all financial products                            financial products or services under the Federal consumer
Rulemaking         and services                      12 U.S.C. § 5491(a)      financial laws
                  Comply with federal labor                                   Chapter 71 of title 5 shall apply to the Bureau and the employees
Labor protections protections                        12 U.S.C. § 5493(a)(4)   of the Bureau.
                                                                              (B) The ombudsman appointed in accordance with subparagraph
                                                                              (A) shall—
                                                                              (i) act as a liaison between the Bureau and any affected person
                                                                              with respect to any problem that such party may have in dealing
                                                                              with the Bureau, resulting from the regulatory activities of the
                                                                              Bureau; and
                                                                              (ii) assure that safeguards exist to encourage complainants to
Statutory office   Maintain an ombudsman             12 U.S.C. § 5493(a)(5)   come forward and preserve confidentiality.
                                                                              The Director shall establish a unit whose functions shall include
                                                                              researching, analyzing, and reporting on—
                                                                              (A) developments in markets for consumer financial products or
                                                                              services, including market areas of alternative consumer financial
                                                                              products or services with high growth rates and areas of risk to
                                                                              consumers;
                                                                              (B) access to fair and affordable credit for traditionally underserved
                                                                              communities;
                                                                              (C) consumer awareness, understanding, and use of disclosures
                                                                              and communications regarding consumer financial products or
                                                                              services;
                                                                              (D) consumer awareness and understanding of costs, risks, and
                                                                              benefits of consumer financial products or services;
                                                                              (E) consumer behavior with respect to consumer financial
                                                                              products or services, including performance on mortgage loans;
                                                                              and
Statutory office   Maintain a Research Office        12 U.S.C. § 5493(b)(1)   (F) experiences of traditionally underserved consumers, including



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                                                                                                                                                       JA258
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                                                                                un-banked and under-banked consumers.




                                                                                The Director shall establish a unit whose functions shall include
                                                                                providing information, guidance, and technical assistance
                                                                                regarding the offering and provision of consumer financial
                   Maintain a Community Affairs                                 products or services to traditionally underserved consumers and
Statutory office   Office                              12 U.S.C. § 5493(b)(2)   communities.
                                                                                The Director shall establish a unit whose functions shall include
                                                                                establishing a single, toll-free telephone number, a website, and a
                                                                                database or utilizing an existing database to facilitate the
                                                                                centralized collection of, monitoring of, and response to consumer
                                                                                complaints regarding consumer financial products or services. The
                   Maintain an Office for collecting                            Director shall coordinate with the Federal Trade Commission or
                   and tracking consumer                                        other Federal agencies to route complaints to such agencies,
Statutory office   complaints                          12 U.S.C. § 5493(b)(3)   where appropriate.
                                                                                The Director shall present an annual report to Congress not later
                                                                                than March 31 of each year on the complaints received by the
                                                                                Bureau in the prior year regarding consumer financial products
                                                                                and services. Such report shall include information and analysis
                   Report to Congress annually re:     12 U.S.C. §              about complaint numbers, complaint types, and, where applicable,
Reporting          received complaints                 5493(b)(3)(C)            information about resolution of complaints.




                                                                         4
                                                                                                                                                      JA259
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                                                                              To facilitate preparation of the reports required under
                                                                              subparagraph (C), supervision and enforcement activities, and
                                                                              monitoring of the market for consumer financial products and
                                                                              services, the Bureau shall share consumer complaint information
                                                                              with prudential regulators, the Federal Trade Commission, other
                                                                              Federal agencies, and State agencies, subject to the standards
                                                                              applicable to Federal agencies for protection of the confidentiality
                   Share complaint data with other   12 U.S.C. §              of personally identifiable information and for data security and
Reporting          regulators                        5493(b)(3)(D)            integrity.
                   Maintain an Office of Fair                                 The Director shall establish within the Bureau the Office of Fair
Statutory office   Lending and Equal Opportunity     12 U.S.C. § 5493(c)(1)   Lending and Equal Opportunity.
                                                                              The Office of Fair Lending and Equal Opportunity shall have such
                                                                              powers and duties as the Director may delegate to the Office,
                                                                              including—
                                                                              (A) providing oversight and enforcement of Federal laws intended
                                                                              to ensure the fair, equitable, and nondiscriminatory access to
                                                                              credit for both individuals and communities that are enforced by
                                                                              the Bureau, including the Equal Credit Opportunity Act [15 U.S.C.
                                                                              1691 et seq.] and the Home Mortgage Disclosure Act [12 U.S.C.
                                                                              2801 et seq.];
                                                                              (B) coordinating fair lending efforts of the Bureau with other
                                                                              Federal agencies and State regulators, as appropriate, to promote
                                                                              consistent, efficient, and effective enforcement of Federal fair
                                                                              lending laws;
                                                                              (C) working with private industry, fair lending, civil rights,
                                                                              consumer and community advocates on the promotion of fair
                                                                              lending compliance and education; and
                   Execute duties related to Fair                             (D) providing annual reports to Congress on the efforts of the
Enforcement        Lending and Equal Opportunity     12 U.S.C. § 5493(c)(2)   Bureau to fulfill its fair lending mandate.
                                                                              There is established the position of Assistant Director of the
                                                                              Bureau for Fair Lending and Equal Opportunity, who—
                   Appoint an Assistant Director for                          (A) shall be appointed by the Director; and
Statutory office   Fair Lending & Equal Opportunity 12 U.S.C. § 5493(c)(3)    (B) shall carry out such duties as the Director may delegate to




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                                                                              such Assistant Director.




                                                                              The Director shall establish an Office of Financial Education,
                                                                              which shall be responsible for developing and implementing
                   Maintain an Office of Financial                            initiatives intended to educate and empower consumers to make
Statutory office   Education                         12 U.S.C. § 5493(d)(1)   better informed financial decisions.
                                                                              The Office of Financial Education shall develop and implement a
                                                                              strategy to improve the financial literacy of consumers that
                                                                              includes measurable goals and objectives, in consultation with the
                                                                              Financial Literacy and Education Commission, consistent with the
                                                                              National Strategy for Financial Literacy, through activities including
                                                                              providing opportunities for consumers to access—
                                                                              (A) financial counseling, including community-based financial
                                                                              counseling, where practicable;
                                                                              (B) information to assist with the evaluation of credit products and
                                                                              the understanding of credit histories and scores;
                                                                              (C) savings, borrowing, and other services found at mainstream
                                                                              financial institutions;
                                                                              (D) activities intended to—
                                                                              (i) prepare the consumer for educational expenses and the
                                                                              submission of financial aid applications, and other major
                                                                              purchases;
                                                                              (ii) reduce debt; and
                                                                              (iii) improve the financial situation of the consumer;
                                                                              (E) assistance in developing long-term savings strategies; and
Public             Execute duties related to                                  (F) wealth building and financial services during the preparation
engagement         Financial Education               12 U.S.C. § 5493(d)(2)   process to claim earned income tax credits and Federal benefits.




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                                                                                                                                                       JA261
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                                                                              The Office of Financial Education shall coordinate with other units
                                                                              within the Bureau in carrying out its functions, including—
                                                                              (A) working with the Community Affairs Office to implement the
                                                                              strategy to improve financial literacy of consumers; and
                                                                              (B) working with the research unit established by the Director to
                   Coordinate with other units re:                            conduct research related to consumer financial education and
Coordination       Financial Education               12 U.S.C. § 5493(d)(3)   counseling.
                                                                              Not later than 24 months after the designated transfer date, and
                                                                              annually thereafter, the Director shall submit a report on its
                                                                              financial literacy activities and strategy to improve financial literacy
                                                                              of consumers to—
                                                                              (A) the Committee on Banking, Housing, and Urban Affairs of the
                                                                              Senate; and
                   Report to Congress annually re:                            (B) the Committee on Financial Services of the House of
Reporting          financial literacy activities     12 U.S.C. § 5493(d)(4)   Representatives.
                                                                              The Director shall establish an Office of Service Member Affairs,
                                                                              which shall be responsible for developing and implementing
                                                                              initiatives for service members and their families intended to—
                                                                              (A) educate and empower service members and their families to
                                                                              make better informed decisions regarding consumer financial
                                                                              products and services;
                                                                              (B) coordinate with the unit of the Bureau established under
                                                                              subsection (b)(3), in order to monitor complaints by service
                                                                              members and their families and responses to those complaints by
                                                                              the Bureau or other appropriate Federal or State agency; and
                                                                              (C) coordinate efforts among Federal and State agencies, as
                                                                              appropriate, regarding consumer protection measures relating to
                   Maintain an Office of Service                              consumer financial products and services offered to, or used by,
Statutory office   Member Affairs                    12 U.S.C. § 5493(e)(1)   service members and their families.




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                                                                                                                                                         JA262
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                                                                                Before the end of the 180-day period beginning on the designated
                                                                                transfer date, the Director shall establish the Office of Financial
                                                                                Protection for Older Americans, the functions of which shall
                                                                                include activities designed to facilitate the financial literacy of
                                                                                individuals who have attained the age of 62 years or more (in this
                                                                                subsection, referred to as “seniors”) on protection from unfair,
                                                                                deceptive, and abusive practices and on current and future
                   Maintain an Office of Financial                              financial choices, including through the dissemination of materials
Statutory office   Protection for Older Americans      12 U.S.C. § 5493(f)(1)   to seniors on such topics.
                                                                                The Office of Financial Protection for Older Americans (in this
                   Appoint an Assistant Director for                            subsection referred to as the “Office”) shall be headed by an
Statutory office   Protection of Older Americans       12 U.S.C. § 5493(f)(2)   assistant director.




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                                                                       The Office shall—
                                                                       (A) develop goals for programs that provide seniors financial
                                                                       literacy and counseling, including programs that—
                                                                       (i) help seniors recognize warning signs of unfair, deceptive, or
                                                                       abusive practices, protect themselves from such practices;
                                                                       (ii) provide one-on-one financial counseling on issues including
                                                                       long-term savings and later-life economic security; and
                                                                       (iii) provide personal consumer credit advocacy to respond to
                                                                       consumer problems caused by unfair, deceptive, or abusive
                                                                       practices;
                                                                       (B) monitor certifications or designations of financial advisors who
                                                                       advise seniors and alert the Commission and State regulators of
                                                                       certifications or designations that are identified as unfair,
                                                                       deceptive, or abusive;
                                                                       (C) not later than 18 months after the date of the establishment of
                                                                       the Office, submit to Congress and the Commission any legislative
                                                                       and regulatory recommendations on the best practices for—
                                                                       (i) disseminating information regarding the legitimacy of
                                                                       certifications of financial advisers who advise seniors;
                                                                       (ii) methods in which a senior can identify the financial advisor
                                                                       most appropriate for the senior’s needs; and
                                                                       (iii) methods in which a senior can verify a financial advisor’s
                                                                       credentials;
                                                                       (D) conduct research to identify best practices and effective
                                                                       methods, tools, technology and strategies to educate and counsel
                                                                       seniors about personal finance management with a focus on—
                                                                       (i) protecting themselves from unfair, deceptive, and abusive
                                                                       practices;
                                                                       (ii) long-term savings; and
                                                                       (iii) planning for retirement and long-term care;
                                                                       (E) coordinate consumer protection efforts of seniors with other
             Execute duties related to                                 Federal agencies and State regulators, as appropriate, to promote
Public       Financial Protection for Older                            consistent, effective, and efficient enforcement; and
engagement   Americans                        12 U.S.C. § 5493(f)(3)   (F) work with community organizations, non-profit organizations,




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                                                                                                                                              JA264
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                                                                   and other entities that are involved with educating or assisting
                                                                   seniors (including the National Education and Resource Center on
                                                                   Women and Retirement Planning).




                                                                   (a) Establishment required
                                                                   The Director shall establish a Consumer Advisory Board to advise
                                                                   and consult with the Bureau in the exercise of its functions under
                                                                   the Federal consumer financial laws, and to provide information on
                                                                   emerging practices in the consumer financial products or services
Public       Establish a Consumer Advisory                         industry, including regional trends, concerns, and other relevant
engagement   Board                           12 U.S.C. § 5494(a)   information.




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                                                                                                                                        JA265
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                                                                          In appointing the members of the Consumer Advisory Board, the
                                                                          Director shall seek to assemble experts in consumer protection,
                                                                          financial services, community development, fair lending and civil
                                                                          rights, and consumer financial products or services and
                                                                          representatives of depository institutions that primarily serve
                                                                          underserved communities, and representatives of communities
                                                                          that have been significantly impacted by higher-priced mortgage
                                                                          loans, and seek representation of the interests of covered persons
               Seek out and appoint a range of                            and consumers, without regard to party affiliation. Not fewer than 6
Public         consumer stakeholders to                                   members shall be appointed upon the recommendation of the
engagement     Consumer Advisory Board            12 U.S.C. § 5494(b)     regional Federal Reserve Bank Presidents, on a rotating basis.
               Hold regular meetings of the                               The Consumer Advisory Board shall meet from time to time at the
Public         Consumer Advisory Board, at                                call of the Director, but, at a minimum, shall meet at least twice in
engagement     least twice a year                 12 U.S.C. § 5494(c)     each year.
                                                                          The Bureau shall coordinate with the Commission, the Commodity
                                                                          Futures Trading Commission, the Federal Trade Commission, and
                                                                          other Federal agencies and State regulators, as appropriate, to
Inter-agency                                                              promote consistent regulatory treatment of consumer financial and
Coordination   Coordinate with other regulators   12 U.S.C. § 5495        investment products and services.
                                                                          The Bureau shall, concurrent with each semi-annual hearing
                                                                          referred to in subsection (a), prepare and submit to the President
                                                                          and to the Committee on Banking, Housing, and Urban Affairs of
                                                                          the Senate and the Committee on Financial Services and the
                                                                          Committee on Energy and Commerce of the House of
                                                                          Representatives, a report, beginning with the session following the
                                                                          designated transfer date. The Bureau may also submit such report
               Report to Congressional                                    to the Committee on Commerce, Science, and Transportation of
Reporting      Committees semi-annually           12 U.S.C. § 5496(b)     the Senate.




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                                                                        The reports required by subsection (b) shall include—
                                                                        (1) a discussion of the significant problems faced by consumers in
                                                                        shopping for or obtaining consumer financial products or services;
                                                                        (2) a justification of the budget request of the previous year;
                                                                        (3) a list of the significant rules and orders adopted by the Bureau,
                                                                        as well as other significant initiatives conducted by the Bureau,
                                                                        during the preceding year and the plan of the Bureau for rules,
                                                                        orders, or other initiatives to be undertaken during the upcoming
                                                                        period;
                                                                        (4) an analysis of complaints about consumer financial products or
                                                                        services that the Bureau has received and collected in its central
                                                                        database on complaints during the preceding year;
                                                                        (5) a list, with a brief statement of the issues, of the public
                                                                        supervisory and enforcement actions to which the Bureau was a
                                                                        party during the preceding year;
                                                                        (6) the actions taken regarding rules, orders, and supervisory
                                                                        actions with respect to covered persons which are not credit
                                                                        unions or depository institutions;
                                                                        (7) an assessment of significant actions by State attorneys general
                                                                        or State regulators relating to Federal consumer financial law;
                                                                        (8) an analysis of the efforts of the Bureau to fulfill the fair lending
                                                                        mission of the Bureau; and
                                                                        (9) an analysis of the efforts of the Bureau to increase workforce
             Address specific topics in semi-                           and contracting diversity consistent with the procedures
Reporting    annual Congressional Reports       12 U.S.C. § 5496(c)     established by the Office of Minority and Women Inclusion.
                                                                        Funds obtained by, transferred to, or credited to the Bureau Fund
                                                                        shall be immediately available to the Bureau and under the control
                                                                        of the Director, and shall remain available until expended, to pay
             Expend funds transferred by Fed                            the expenses of the Bureau in carrying out its duties and
Funding      on Agency Activities            12 U.S.C. § 5497(c)        responsibilities.
                                                                        The Bureau shall, by rule, adopt data standards for all collections
                                                                        of information that are regularly filed with or submitted to the
Rulemaking   Maintain data standards            12 U.S.C. § 5498        Bureau.




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                                                                            All public data assets published by the Bureau shall be—
                                                                            (1) made available as an open Government data asset (as defined
               Maintain public access to all                                in section 3502 of title 44);
Reporting      published data sets                 12 U.S.C. § 5499         (2) freely available for download;
                                                                            In order to support its rulemaking and other functions, the Bureau
                                                                            shall monitor for risks to consumers in the offering or provision of
               Actively monitor emerging risks to                           consumer financial products or services, including developments
Enforcement    consumers                          12 U.S.C. § 5512(c)(1)    in markets for such products or services.
               Issue reports on emerging risks                              The Bureau shall publish not fewer than 1 report of significant
               to consumers, no less than                                   findings of its monitoring required by this subsection in each
Reporting      annually                            12 U.S.C. § 5512(c)(3)   calendar year...
                                                                            The Bureau shall prescribe rules regarding the confidential
                                                                            treatment of information obtained from persons in connection with
               Prescribe rules for maintaining                              the exercise of its authorities under Federal consumer financial
Rulemaking     consumer confidentiality            12 U.S.C. § 5512(c)(6)   law.
                                                                            The Bureau shall require reports and conduct examinations on a
                                                                            periodic basis of persons described in subsection (a)(1) for
                                                                            purposes of—
                                                                            (A) assessing compliance with the requirements of Federal
                                                                            consumer financial law;
                                                                            (B) obtaining information about the activities and compliance
                                                                            systems or procedures of such person; and
               Regularly examine covered                                    (C) detecting and assessing risks to consumers and to markets for
Enforcement    entities                            12 U.S.C. § 5514(b)(1)   consumer financial products and services.
                                                                            To minimize regulatory burden, the Bureau shall coordinate its
                                                                            supervisory activities with the supervisory activities conducted by
                                                                            prudential regulators, the State bank regulatory authorities, and
                                                                            the State agencies that licence, supervise, or examine the offering
                                                                            of consumer financial products or services, including establishing
                                                                            their respective schedules for examining persons described in
Inter-agency   Coordinate supervisory activities                            subsection (a)(1) and requirements regarding reports to be
Coordination   with other regulators               12 U.S.C. § 5514(b)(3)   submitted by such persons




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                                                                         The Bureau shall prescribe rules to facilitate supervision of
                                                12 U.S.C. §              persons described in subsection (a)(1) and assessment and
Rulemaking    Prescribe rules for supervision   5514(b)(7)(A)            detection of risks to consumers.
                                                                         Except as provided in paragraph (3) and section 5581 of this title,
                                                                         with respect to any person described in subsection (a)(1), to the
                                                                         extent that Federal law authorizes the Bureau and another Federal
                                                                         agency to enforce Federal consumer financial law, the Bureau
              Exercise exclusive enforcement                             shall have exclusive authority to enforce that Federal consumer
Enforcement   authority                         12 U.S.C. § 5514(c)(1)   financial law.
                                                                         Notwithstanding any other provision of Federal law and except as
                                                                         provided in section 5581 of this title, to the extent that Federal law
                                                                         authorizes the Bureau and another Federal agency to issue
                                                                         regulations or guidance, conduct examinations, or require reports
                                                                         from a person described in subsection (a)(1) under such law for
                                                                         purposes of assuring compliance with Federal consumer financial
                                                                         law and any regulations thereunder, the Bureau shall have the
                                                                         exclusive authority to prescribe rules, issue guidance, conduct
                                                                         examinations, require reports, or issue exemptions with regard to
              Exercise exclusive rulemaking                              a person described in subsection (a)(1), subject to those
Rulemaking    authority                         12 U.S.C. § 5514(d)      provisions of law.
                                                                         The Bureau shall have exclusive authority to require reports and
                                                                         conduct examinations on a periodic basis of persons described in
                                                                         subsection (a) for purposes of—
                                                                         (A) assessing compliance with the requirements of Federal
                                                                         consumer financial laws;
                                                                         (B) obtaining information about the activities subject to such laws
                                                                         and the associated compliance systems or procedures of such
                                                                         persons; and
              Exercise exclusive examination                             (C) detecting and assessing associated risks to consumers and to
Enforcement   authority                         12 U.S.C. § 5515(b)(1)   markets for consumer financial products and services.




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                                                                          To minimize regulatory burden, the Bureau shall coordinate its
                                                                          supervisory activities with the supervisory activities conducted by
                                                                          prudential regulators and the State bank regulatory authorities,
                                                                          including consultation regarding their respective schedules for
               Coordinate examination activities                          examining such persons described in subsection (a) and
Coordination   with other regulators             12 U.S.C. § 5515(b)(2)   requirements regarding reports to be submitted by such persons.
                                                                          The Bureau shall provide the Commissioner of Internal Revenue
                                                                          with any report of examination or related information identifying
Enforcement    report tax law noncompliance      12 U.S.C. § 5515(b)(5)   possible tax law noncompliance.
                                                                          (1) A prudential regulator and the Bureau shall, with respect to
                                                                          each insured depository institution, insured credit union, or other
                                                                          covered person described in subsection (a) that is supervised by
                                                                          the prudential regulator and the Bureau, respectively—
                                                                          (A) coordinate the scheduling of examinations of the insured
                                                                          depository institution, insured credit union, or other covered
                                                                          person described in subsection (a);
                                                                          (B) conduct simultaneous examinations of each insured depository
                                                                          institution or insured credit union, unless such institution requests
                                                                          examinations to be conducted separately;
                                                                          (C) share each draft report of examination with the other agency
                                                                          and permit the receiving agency a reasonable opportunity (which
                                                                          shall not be less than a period of 30 days after the date of receipt)
                                                                          to comment on the draft report before such report is made final;
                                                                          and
                                                                          (D) prior to issuing a final report of examination or taking
                                                                          supervisory action, take into consideration concerns, if any, raised
                                                                          in the comments made by the other agency.

                                                                          (2) Coordination with State bank supervisors
               Coordinate simultaneous /                                  The Bureau shall pursue arrangements and agreements with State
               overlapping examination activities                         bank supervisors to coordinate examinations, consistent with
Coordination   with other regulators              12 U.S.C. § 5515(e)     paragraph (1).




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                                                                         The Bureau, by rule, shall prescribe standards applicable to
                                                                         covered persons to promote the development and use of
                                                                         standardized formats for information, including through the use of
Public             Establish data formats for                            machine readable files, to be made available to consumers under
engagement         consumer information requests   12 U.S.C. § 5533(d)   this section.
                                                                         The Bureau shall establish, in consultation with the appropriate
                                                                         Federal regulatory agencies, reasonable procedures to provide a
                                                                         timely response to consumers, in writing where appropriate, to
                                                                         complaints against, or inquiries concerning, a covered person,
                                                                         including—
                                                                         (1) steps that have been taken by the regulator in response to the
                                                                         complaint or inquiry of the consumer;
                                                                         (2) any responses received by the regulator from the covered
                                                                         person; and
Public             Respond timely to consumer                            (3) any follow-up actions or planned follow-up actions by the
engagement         complaints                      12 U.S.C. § 5534(a)   regulator in response to the complaint or inquiry of the consumer.
                                                                         The Bureau shall enter into a memorandum of understanding with
                                                                         any affected Federal regulatory agency regarding procedures by
                                                                         which any covered person, and the prudential regulators, and any
                                                                         other agency having jurisdiction over a covered person, including
                   Coordinate with other federal                         the Secretary of the Department of Housing and Urban
Public             agencies re: consumer                                 Development and the Secretary of Education, shall comply with
engagement         complaints                      12 U.S.C. § 5534(d)   this section.
                                                                         The Secretary, in consultation with the Director, shall designate a
                                                                         Private Education Loan Ombudsman (in this section referred to as
                   Maintain a Private Education                          the “Ombudsman”) within the Bureau, to provide timely assistance
Statutory Office   Loan Ombudsman                  12 U.S.C. § 5535(a)   to borrowers of private education loans.




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                                                                     The Ombudsman designated under this subsection shall—
                                                                     (1) in accordance with regulations of the Director, receive, review,
                                                                     and attempt to resolve informally complaints from borrowers of
                                                                     loans described in subsection (a), including, as appropriate,
                                                                     attempts to resolve such complaints in collaboration with the
                                                                     Department of Education and with institutions of higher education,
                                                                     lenders, guaranty agencies, loan servicers, and other participants
                                                                     in private education loan programs;
                                                                     (2) not later than 90 days after the designated transfer date,
                                                                     establish a memorandum of understanding with the student loan
                                                                     ombudsman established under section 1018(f) of title 20, to
                                                                     ensure coordination in providing assistance to and serving
                                                                     borrowers seeking to resolve complaints related to their private
                                                                     education or Federal student loans;
                                                                     (3) compile and analyze data on borrower complaints regarding
                                                                     private education loans; and
                                                                     (4) make appropriate recommendations to the Director, the
                                                                     Secretary, the Secretary of Education, the Committee on Banking,
                                                                     Housing, and Urban Affairs and the Committee on Health,
             Execute consumer outreach,                              Education, Labor, and Pensions of the Senate and the Committee
Public       complaint handling, education,                          on Financial Services and the Committee on Education and Labor
engagement   and reporting re: education loans 12 U.S.C. § 5535(c)   of the House of Representatives.
                                                                     (1) In general
                                                                     The Ombudsman shall prepare an annual report that describes the
                                                                     activities, and evaluates the effectiveness of the Ombudsman
                                                                     during the preceding year.
                                                                     (2) Submission
                                                                     The report required by paragraph (1) shall be submitted on the
                                                                     same date annually to the Secretary, the Secretary of Education,
                                                                     the Committee on Banking, Housing, and Urban Affairs and the
                                                                     Committee on Health, Education, Labor, and Pensions of the
                                                                     Senate and the Committee on Financial Services and the
             Report to Congress re: education                        Committee on Education and Labor of the House of
Reporting    loan activities                  12 U.S.C. § 5535(d)    Representatives.



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                                                                          The Office [of Financial Literacy] shall establish a program under
                                                                          which the Office may make grants to States or eligible entities—
                                                                          (1) to hire staff to identify, investigate, and prosecute (through civil,
                                                                          administrative, or criminal enforcement actions) cases involving
                                                                          misleading or fraudulent marketing;
                                                                          (2) to fund technology, equipment, and training for regulators,
                                                                          prosecutors, and law enforcement officers, in order to identify
                                                                          salespersons and advisers who target seniors through the use of
                                                                          misleading designations;
                                                                          (3) to fund technology, equipment, and training for prosecutors to
                                                                          increase the successful prosecution of salespersons and advisers
                                                                          who target seniors with the use of misleading designations;
                                                                          (4) to provide educational materials and training to regulators on
                                                                          the appropriateness of the use of designations by salespersons
                                                                          and advisers in connection with the sale and marketing of financial
                                                                          products;
                                                                          (5) to provide educational materials and training to seniors to
                                                                          increase awareness and understanding of misleading or fraudulent
                                                                          marketing;
                                                                          (6) to develop comprehensive plans to combat misleading or
                                                                          fraudulent marketing of financial products to seniors; and
Public       Maintain a grant program for                                 (7) to enhance provisions of State law to provide protection for
engagement   enhanced protection of seniors      12 U.S.C. § 5537(b)      seniors against misleading or fraudulent marketing.
                                                                          The Bureau shall issue a notice of proposed rulemaking whenever
                                                                          a majority of the States has enacted a resolution in support of the
             Initiate rulemaking when a                                   establishment or modification of a consumer protection regulation
Rulemaking   majority of the states so request   12 U.S.C. § 5551(c)(1)   by the Bureau.
                                                                          whenever the Bureau determines not to prescribe a final
                                                                          regulation, shall publish an explanation of such determination in
                                                                          the Federal Register, and provide a copy of such explanation to
                                                                          each State that enacted a resolution in support of the proposed
                                                                          regulation, the Committee on Banking, Housing, and Urban Affairs
             Explain any decision not to         12 U.S.C. §              of the Senate, and the Committee on Financial Services of the
Rulemaking   prescribe a final regulation        5551(c)(3)(B)            House of Representatives.



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                                                                            The Bureau shall prescribe regulations to implement the
                                                                            requirements of this section and, from time to time, provide
                Prescribe regulations for                                   guidance in order to further coordinate actions with the State
Rulemaking      information sharing with states    12 U.S.C. § 5552(c)      attorneys general and other regulators.
                                                                            No rule established by the Bureau regarding the confidentiality of
                                                                            materials submitted to, or otherwise obtained by, the Bureau shall
                Not interfere with Congressional                            be intended to prevent disclosure to either House of Congress or
Reporting       access to submitted materials      12 U.S.C. § 5562(d)(2)   to an appropriate committee of the Congress,
                Prescribe rules for hearings and                            The Bureau shall prescribe rules establishing such procedures as
Rulemaking      adjudication proceedings           12 U.S.C. § 5563(e)      may be necessary to carry out this section.
                Assume all duties formerly
Assumption of   assigned to the Board of                                    The Bureau shall have all powers and duties that were vested in
other agency    Governors related to consumer      12 U.S.C. §              the Board of Governors, relating to consumer financial protection
powers          financial protection               5563(b)(1)(B)            functions, on the day before the designated transfer date.
                Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
Assumption of   assigned to the Comptroller of                              the Comptroller of the Currency, relating to consumer financial
other agency    the Currency related to consumer 12 U.S.C. §                protection functions, on the day before the designated transfer
powers          financial protection             5563(b)(2)(B)              date.
                Assume all duties formerly
                assigned to the Director of the                             The Bureau shall have all powers and duties that were vested in
Assumption of   Office of Thrift Supervision                                the Director of the Office of Thrift Supervision, relating to
other agency    related to consumer financial      12 U.S.C. §              consumer financial protection functions, on the day before the
powers          protection                         5563(b)(3)(B)            designated transfer date.
                Assume all duties formerly                                  The Bureau shall have all powers and duties that were vested in
Assumption of   assigned to the Federal Deposit                             the Federal Deposit Insurance Corporation, relating to consumer
other agency    Insurance Corporation related to   12 U.S.C. §              financial protection functions, on the day before the designated
powers          consumer financial protection      5563(b)(4)(B)            transfer date.
                Assume joint responsibility for                             The Bureau shall have all powers and duties under the
                duties formerly assigned                                    enumerated consumer laws to prescribe rules, issue guidelines, or
Assumption of   exclusively to the Federal Trade                            to conduct studies or issue reports mandated by such laws, that
other agency    Commission related to consumer 12 U.S.C. §                  were vested in the Federal Trade Commission on the day before
powers          financial protection             5563(b)(5)(B)(i)           the designated transfer date.



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                                                                               To avoid duplication of or conflict between rules prescribed by the
                                                                               Bureau under section 5531 of this title and the Federal Trade
                                                                               Commission under section 18(a)(1)(B) of the Federal Trade
                                                                               Commission Act [15 U.S.C. 57a(a)(1)(B)] that apply to a covered
                                                                               person or service provider with respect to the offering or provision
                                                                               of consumer financial products or services, the agencies shall
                                                                               negotiate an agreement with respect to rulemaking by each
Inter-agency      Coordinate joint responsibilities   12 U.S.C. §              agency, including consultation with the other agency prior to
Coordination      with FTC                            5563(b)(5)(D)            proposing a rule and during the comment period.
                  Assume all duties formerly                                   The Bureau shall have all powers and duties that were vested in
Assumption of     assigned to the National Credit                              the National Credit Union Administration, relating to consumer
other agency      Union Administration related to     12 U.S.C. §              financial protection functions, on the day before the designated
powers            consumer financial protection       5563(b)(6)(B)            transfer date.
                                                                               The Bureau shall have all powers and duties that were vested in
                                                                               the Secretary of the Department of Housing and Urban
                                                                               Development relating to the Real Estate Settlement Procedures
                                                                               Act of 1974 (12 U.S.C. 2601 et seq.), the Secure and Fair
                                                                               Enforcement for Mortgage Licensing Act of 2008 (12 U.S.C. 5101
Assumption of     Assume all duties formerly                                   et seq.), and the Interstate Land Sales Full Disclosure Act (15
other agency      assigned to HUD related to          12 U.S.C. §              U.S.C. 1701 et seq.), on the day before the designated transfer
powers            consumer financial protection       5563(b)(7)(B)            date.
                                                                               [Re: all foregoing transfers of duties,] Section 5581(b)(X) of this
                                                                               title does not affect the validity of any right, duty, or obligation of
                                                                               the United States, [X Agency], or any other person that—
                                                                               (A) arises under any provision of law relating to any consumer
Inter-agency      Honor broad savings provisions      12 U.S.C. §              financial protection function of the [X Agency] transferred to the
Coordination      re: transferred duties              5583(b)(7)(B)            Bureau by this title; [1] and[
                                                                               [Re: all foregoing transferrs of duties,] The Bureau and each of the
                                                                               transferor agencies (except the Federal Trade Commission) shall
                                                                               jointly determine the number of employees and the types and
                                                                               grades of employees necessary to perform the functions of the
                  Maintain appropriate staffing to                             Bureau under part A, including consumer education, financial
Labor protections execute the transferred duties      12 U.S.C. § 5583(a)(7)   literacy, policy analysis, responses to consumer complaints and



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                                                                             inquiries, research, and similar functions. All employees jointly
                                                                             identified under this paragraph shall be transferred to the Bureau
                                                                             for employment.



                                                                             If the Bureau determines, at any time after the 3-year period
                  Fulfill the requirements of 5                              beginning on the designated transfer date, that a reorganization of
                  U.S.C. § 35 when executing any    12 U.S.C. §              the staff of the Bureau is required, any resulting reduction in force
Labor protections reduction in force                5583(h)(2)(A)            shall be governed by the provisions of chapter 35 of title 5,
                                                                             The Bureau shall submit a workforce flexibility plan that includes,
                                                                             to the extent practicable—
                                                                             (i) telework;
                                                                             (ii) flexible work schedules;
                                                                             (iii) phased retirement;
                                                                             (iv) reemployed annuitants;
                                                                             (v) part-time work;
                                                                             (vi) job sharing;
                                                                             (vii) parental leave benefits and
                                                                             childcare assistance;
                                                                             (viii) domestic partner benefits;
                                                                             (ix) other workplace flexibilities; or
                  Make flexible work arrangements 12 U.S.C. §                (x) any combination of the items de-
Labor protections available to Bureau staff       5587(b)(2)(B)              scribed in clauses (i) through (ix).
                                                                             As part of its [2] duties as members of the Financial Literacy and
                                                                             Education Commission, the Bureau, the Federal banking
                                                                             agencies, and the National Credit Union Administration shall assist
                                                                             the Financial Literacy and Education Commission in executing the
Inter-agency     Assist Financial Literacy                                   Strategy for Assuring Financial Empowerment (or the “SAFE
Coordination     Commission                         12 U.S.C. § 5601(c)(2)   Strategy”), as it relates to remittances.
                 Maintain rules and/or programs                              the Bureau shall, consistent with part B, propose regulations or
                 concerning exchange facilitation                            otherwise establish a program to protect consumers who use
Rulemaking       and reverse mortgages              12 U.S.C. § 5603(c)      exchange facilitators.




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                                           Additional Provisions Enacted in 12 U.S.C.

                                                                                   (c) Manner and content of disclosure
                                                                                   To ensure that current and prospective customers
                                                                                   understand the risks involved in foregoing Federal
                                                                                   deposit insurance, the Bureau, by regulation or order,
                                                                                   shall prescribe the manner and content of disclosure
                                                                                   required under this section, which shall be presented in
              Regulate disclosures required of depository                          such format and in such type size and manner as to be
Rulemaking    institutions lacking Federal deposit insurance   12 U.S.C. § 1831t   simple and easy to understand
                                                                                   The Bureau shall publish a single, integrated disclosure
                                                                                   for mortgage loan transactions (including real estate
                                                                                   settlement cost statements) which includes the
                                                                                   disclosure requirements of this section and section 2604
                                                                                   of this title, in conjunction with the disclosure
                                                                                   requirements of the Truth in Lending Act [15 U.S.C.
                                                                                   1601 et seq.] that, taken together, may apply to a
                                                                                   transaction that is subject to both or either provisions of
                                                                                   law. The purpose of such model disclosure shall be to
                                                                                   facilitate compliance with the disclosure requirements of
                                                                                   this chapter 1 and the Truth in Lending Act, and to aid
                                                                                   the borrower or lessee in understanding the transaction
                                                                                   by utilizing readily understandable language to simplify
                                                                                   the technical nature of the disclosures. Such forms shall
                                                                                   conspicuously and clearly itemize all charges imposed
                                                                                   upon the borrower and all charges imposed upon the
                                                                                   seller in connection with the settlement and shall indicate
                                                                                   whether any title insurance premium included in such
Consumer      Maintain model disclosure forms for mortgage                         charges covers or insures the lender’s interest in the
Disclosures   loan transactions                            12 U.S.C. § 2603(a)     property, the borrower’s interest, or both.




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                                                                                    The Director of the Bureau of Consumer Financial
                                                                                    Protection (hereafter in this section referred to as the
                                                                                    ‘‘Director’’) shall prepare, at least once every 5 years, a
                                                                                    booklet to help consumers applying for federally related
                                                                                    mortgage loans to understand the nature and costs of
                                                                                    real estate settlement services. The Director shall
                                                                                    prepare the booklet in various languages and cultural
                                                                                    styles, as the Director determines to be appropriate, so
                                                                                    that the booklet is understandable and accessible to
                                                                                    homebuyers of different ethnic and cultural backgrounds.
                                                                                    The Director shall distribute such booklets to all lenders
                                                                                    that make federally related mortgage loans. The Director
                                                                                    shall also distribute to such lenders lists, organized by
                                                                                    location, of homeownership counselors certified under
Consumer                                                                            section 1701x(e) of this title for use in complying with the
Disclosures   Maintain home buying information booklets      12 U.S.C. § 2604       requirement under subsection (c) of this section.
                                                                                    The Bureau shall establish any requirements necessary
                                                                                    to carry out this section. Such regulations shall include
              Regulate servicing of mortgage loans and       12 U.S.C. §            the model disclosure
Rulemaking    administration of escrow accounts              2605(j)(3)             statement required under subsection (a)(2).
                                                                                    Subject to subsection (h), the Bureau shall prescribe a
Consumer      Regulate disclosures required of all depository                       standard format for the disclosures required under this
Disclosures   institutions that handle mortgage loans         12 U.S.C. § 2803(e)   section.
                                                                                    The Bureau shall prescribe such regulations as may be
                                                                                    necessary to carry out the purposes of this chapter.
                                                                                    These regulations may contain such classifications,
                                                                                    differentiations, or other provisions, and may provide for
                                                                                    such adjustments and exceptions for any class of
                                                                                    transactions, as in the judgment of the Bureau are
                                                                                    necessary and proper to effectuate the purposes of this
Consumer      Regulate disclosures required for all mortgage                        chapter, and prevent circumvention or evasion thereof,
Disclosures   loans                                          12 U.S.C. § 2804(a)    or to facilitate compliance therewith.




                                                                  23
                                                                                                                                                   JA278
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                                                                                         The Director of the Bureau of Consumer Financial
                                                                                         Protection, with the assistance of the Secretary, the
                                                                                         Director of the Bureau of the Census, the Board of
                                                                                         Governors of the Federal Reserve System, the Federal
                                                                                         Deposit Insurance Corporation, and such other persons
                                                                                         as the Bureau deems appropriate, shall develop or
                                                                                         assist in the improvement of, methods of matching
                   Develop and refine systems for matching                               addresses and census tracts to facilitate compliance by
                   addresses to census tracts for civil rights     12 U.S.C. §           depository institutions in as economical a manner as
Civil rights       reporting                                       2806(a)(1)            possible with the requirements of this chapter.
                                                                                         The Bureau, in consultation with the Secretary of
                                                                                         Housing and Urban Development, shall report annually
                                                                                         to the Congress on the utility of the requirements of
                                                                                         section 2803(b)(4) of this title. [the number and dollar
                                                                                         amount of mortgage loans and completed applications
                                                                                         involving mortgagors or mortgage applicants grouped
                   Report to Congress annually regarding utility                         according to census tract, income level, racial
Civil rights       of civil rights reporting                       12 U.S.C. § 2807      characteristics, age, and gender]
                                                                                         The Council shall also produce tables indicating, for
                                                                                         each primary metropolitan statistical area, metropolitan
                                                                                         statistical area, or consolidated metropolitan statistical
                                                                                         area that is not comprised of designated primary
                                                                                         metropolitan statistical areas, aggregate lending patterns
                                                                                         for various categories of census tracts grouped
                   Compile statistics, on an ongoing basis, on                           according to location, age of housing stock, income
Reporting          mortgage issuance                               12 U.S.C. § 2809(a)   level, and racial characteristics.
                                                                                         The Bureau shall provide staff and data processing
                  Provide staff and resources for civil rights                           resources to the Council to enable it to carry out the
Labor protections reporting                                        12 U.S.C. § 2809(b)   provisions of subsection (a).
                                                                                         The data and tables required pursuant to subsection (a)
                                                                                         shall be made available to the public by no later than
                   Make mortgage issuance data available to the                          December 31 of the year following the calendar year on
Reporting          public                                       12 U.S.C. § 2809(c)      which the data is based.



                                                                       24
                                                                                                                                                      JA279
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                                                                                         There shall be within the Council a subcommittee to be
                                                                                         known as the ‘‘Appraisal Subcommittee’’, which shall
                                                                                         consist of the designees of the heads of the Federal
                                                                                         financial institutions regulatory agencies, the Bureau of
                                                                                         Consumer Financial Protection, and the Federal Housing
                   Send a qualified delegate to the Appraisal                            Finance Agency. Each such designee shall be a person
                   Subcommittee of the Federal Financial                                 who has demonstrated knowledge and competence
Statutory office   Institutions Examination Council                12 U.S.C. § 3310      concerning the appraisal profession.
                                                                                         Each depository institution shall maintain a schedule of
                                                                                         fees, charges, interest rates, and terms and conditions
                                                                                         applicable to each class of accounts offered by the
                                                                                         depository institution, in accordance with the
                                                                                         requirements of this section and regulations which the
                                                                                         Bureau shall prescribe. The Bureau shall specify, in
                                                                                         regulations, which fees, charges, penalties, terms,
                                                                                         conditions, and account restrictions must be included in
                                                                                         a schedule required under this subsection. A depository
Consumer           Specify required elements of consumer                                 institution need not include in such schedule any
Disclosures        disclosures for savings accounts (TISA)         12 U.S.C. § 4303(a)   information not specified in such regulation.
                                                                                         The Bureau shall require, in regulations which the
                                                                                         Bureau shall prescribe, such modification in the
                                                                                         disclosure requirements under this chapter relating to
                                                                                         annual percentage yield as may be necessary to carry
                                                                                         out the purposes of this chapter in the case of—
                                                                                         (1) accounts with respect to which determination of
                                                                                         annual percentage yield is based on an annual rate of
                                                                                         interest that is guaranteed for a period of less than 1
                                                                                         year;
                                                                                         (2) variable rate accounts;
                                                                                         (3) accounts which, pursuant to law, do not guarantee
                                                                                         payment of a stated rate;
                   Prescribe special regulations for depository                          (4) multiple rate accounts; and
                   accounts that provide interest that cannot be                         (5) accounts with respect to which determination of
Rulemaking         accurately expressed as a simple APR            12 U.S.C. § 4304      annual percentage yield is based on an annual rate of



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                                                                                                                                                     JA280
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                                                                                  interest that is guaranteed for a stated term.




                                                                                  ...the Bureau, after consultation with each agency
                                                                                  referred to in section 4309(a) of this title and public
                                                                                  notice and opportunity for comment, shall prescribe
              Prescribe regulations to enforce all          12 U.S.C. §           regulations to carry out the purpose and provisions of
Rulemaking    substantive provisions of TISA                4308(a)(1)            this chapter.
                                                                                  The Bureau shall publish model forms and clauses for
                                                                                  common disclosures to facilitate compliance with this
                                                                                  chapter. In devising such forms, the Bureau shall
Consumer      Publish model forms to support all substantive 12 U.S.C. §          consider the use by depository institutions of data
Disclosures   provisions of TISA                             4309(b)(1)           processing or similar automated machines.
                                                                                  Subject to subtitle B of the Consumer Financial
                                                                                  Protection Act of 2010 [12 U.S.C. 5511 et seq.],
                                                                                  compliance with the requirements imposed under this
                                                                                  chapter shall be enforced under— ...(4) subtitle E of the
                                                                                  Consumer Financial Protection Act of 2010 [12 U.S.C.
                                                                                  5561 et seq.], by the Bureau of Consumer Financial
              Enforce all substantive requirements for                            Protection, with respect to any person subject to this
Enforcement   mortgage disclosures                          12 U.S.C. § 4909(a)   chapter.
                                                                                  The Bureau shall develop and maintain a system for
                                                                                  registering employees of a depository institution,
                                                                                  employees of a subsidiary that is owned and controlled
                                                                                  by a depository institution and regulated by a Federal
              Maintain a registration system for loan       12 U.S.C. §           banking agency, or employees of an institution regulated
Enforcement   originators                                   5106(a)(1)            by the Farm Credit Administration, as registered loan



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                                                                                    originators with the Nationwide Mortgage Licensing
                                                                                    System and Registry.




                                                                                    Not later than 1 year after July 30, 2008, and annually
                                                                                    thereafter, the Director shall submit a report to Congress
                                                                                    on the effectiveness of the provisions of this chapter,
                                                                                    including legislative recommendations, if any, for
                                                                                    strengthening consumer protections, enhancing
                                                                                    examination standards, streamlining communication
                                                                                    between all stakeholders involved in residential
                                                                                    mortgage loan origination and processing, and
                   Report to Congress annually: re: loan                            establishing performance based bonding requirements
                   originator registration and bonding                              for mortgage originators or institutions that employ such
Reporting          requirements                               12 U.S.C. § 5115(a)   brokers.
                                                                                    A) In general
                                                                                    ...each agency shall establish an Office of Minority and
                                                                                    Women Inclusion that shall be responsible for all matters
                                                                                    of the agency relating to diversity in management,
                                                                                    employment, and business activities.
                                                                                    (B) Bureau
                                                                                    The Bureau shall establish an Office of Minority and
                                                                                    Women Inclusion not later than 6 months after the
                   Maintain an Office of Minority and Women   12 U.S.C. §           designated transfer date established under section 5582
Statutory office   Inclusion                                  5452(a)(1)            of this title.
                                                                                    The Director of each Office shall develop and implement
                                                                                    standards and procedures to ensure, to the maximum
                                                                                    extent possible, the fair inclusion and utilization of
                                                                                    minorities, women, and minority-owned and women-
                                                                                    owned businesses in all business and activities
                   Prioritize minority and women-owned        12 U.S.C. §           of the agency at all levels, including in procurement,
Civil rights       businesses and activities                  5452(c)(1)            insurance, and all types of contracts.




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                                                                                                                                                 JA282
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From:
Sent:
                                  Martinez, Adam (CFPB) <
                                  Monday, February 10, 2025 12:00 PM
                                                                                     >

To:                               Chilbert, Christopher (CFPB); Chang, Jean (CFPB)
Cc:                               Broeksmit, Samuel (CFPB); Gueye, Jafnar (CFPB)
Subject:                          RE: Additional Directives on Bureau Activities



Yes, I think that is a wise thing to do. Please feel free to create the list and provide to our contracting
team. AO did something similar this weekend.

Thank you.

Adam

Adam Martinez
Chief Operating Officer

From: Chilbert, Christopher (CFPB) <                                 >
Sent: Monday, February 10, 2025 11:58 AM
To: Martinez, Adam (CFPB) <                             >; Chang, Jean (CFPB) <                       >
Cc: Broeksmit, Samuel (CFPB) <                               >; Gueye, Jafnar (CFPB) <                          >
Subject: RE: Additional Directives on Bureau Activities

Adam,
I have received a request whether it is an acceptable work task to proactively identify a list of contractors who would be
necessary to support operational emergencies. I’ve done this before when there have been government shut-downs in
other agencies. If there are contractual stop work orders, then we would not get their support in case of an emergency,
and I’d like to get in front of that.


Chris Chilbert



From: Martinez, Adam (CFPB)
Sent: Monday, February 10, 2025 8:54 AM
To: Chilbert, Christopher (CFPB)                                   ; Chang, Jean (CFPB) <                       >
Subject: RE: Additional Directives on Bureau Activities

That is all correct. The USDS Team will let you or me know if any other work is needed. We’ll do the
same level of support as we have the past couple of days.

Adam Martinez
Chief Operating Officer

From: Chilbert, Christopher (CFPB) <                                 >
Sent: Monday, February 10, 2025 8:53 AM
To: Martinez, Adam (CFPB) <                             >; Chang, Jean (CFPB)                         >
Subject: FW: Additional Directives on Bureau Activities

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                                                                                                   CFPB_00001 JA283
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Adam/Jean,
I want to clarify the level of support we should be providing based on this email. I think the minimum is:
    1) Onboarding new political leadership and providing them with necessary service desk support to them
    2) Performing security monitoring tasks for our networks
    3) Supporting US DOGE members with requests
    4) Perform any maintenance tasks needed to ensure that the HMDA application, Consumer Complaint Database
        operate, ServiceNow, and Microsoft365 platform (email/SharePoint) continue to operate.
    5) Support any other requests from the Acting Director or new political leadership.

I think this is the minimum, but I want to confirm before giving the team direction.


Chris Chilbert



From: Vought, Russell <                           >
Sent: Monday, February 10, 2025 8:30 AM
To: _DL_CFPB_AllHands <                                  >
Subject: Additional Directives on Bureau Activities

Good morning, CFPB staff,

As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC headquarters building
is closed this week. Employees should not come into the office. Please do not perform any work tasks. If there are any
urgent matters, please alert me through Mark Paoletta, Chief Legal Officer, to get approval in writing before performing
any work task. His email is                        . Otherwise, employees should stand down from performing any
work task. Thank you for your attention on this matter.

Best,

Russ Vought

Acting Director

Bureau of Consumer Financial Protection




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  From:               Johnson. Christopher (CFPB)
  To:                 Elliott. Shannon (CFPB); Aujla. Lucky (CFPB); Russell. Kesa (CFPB); Galicki. Joshua (CFPB); Gueye. Jafnar
                      (CFPB); Martinez. Adam (CFPB)
  Cc:                 Dorsey. Darian (CFPB); Pfaff. Matthew (CFPB): Kothari. Anand (CFPB); Chilbert. Christopher (CFPB); Rogers.
                      Morgan (CFPB) ; Bark. David (CFPB): Beres. Tonya (CFPB)
  Subject:            Contracts in support of the Bureau"s complaint handling operations
  Date:               Monday, February 10, 2025 1:55:38 PM



  Hello team,

  I underst and from discussions w ith the COO, Adam Martinez, t hat t he work stoppage w ill not apply
  to t he Bureau' s Consumer Resource Center aka Contact Center Services Cont ract. Thank you for
  resolving this matt er.


  Per conversations, t he Deloitte Mosaic O&M contract for operations, maintenance, monitoring of
  the complaint system is crit ical t o ensure consumers and companies can subm it and respond to
  consumer complaint s, as well as t he contact cent er agents can address caller inqu iries, including
  intaking of complaints by phone and sharing st at us of complaints. In addition, we have a f ew
  subscription services that support t he complaint management syst em, t hey include Adaptus
  (EZProtect virus scan of consumer attachments, Address Doct or t o support statutorily required
  communications to consumers t hroughout t he complaint process, Provar automated testing tool).
  As these contracts are critica l to support t he complaint management syst em, we would like t o
  request approva l to continue to move forward w it h these invest ment s a well.


  Thank you, and please let me know if you have any questions. We will await guidance from t he
  Operations Division's Office of Finance and Procurement.



  Ch1istopher J olmson
  Associate Director I Division of Consumer Response and Education
  Office                  I Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance,gov


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  From:            Brown. Jason (CFPB)
  To:              Paoletta. Mark (CFPB)
  Cc:              Dietrich. Jason (CFPB): Pappalardo. Janis (CFPB): Martinez. Adam (CFPB)
  Subject:         RE: APOR work paused
  Date:            Tuesday, February 11, 2025 12:23:07 PM


  Confirmed .


  From: Paoletta, Mark (CFPB)
  Sent: Tuesday, February 11, 2025 12:02 PM
  To: Brown, Jason (CFPB)
  Cc: Dietrich, Jason (CFPB)                                      ; Pappalardo, Jan is (CFPB)
                                   ; Martinez, Adam (CFPB)
  Subject: RE : APO R work paused

  Jason,


  The APOR and all work associated with gathering and publishing this information on a weekly basis
  are exempt indefinitely from th is stop work order. I am specifically directing you (and any other
  colleague necessary to publish the APOR) to continue indefinitely to perform all t asks necessary to
  publish the APOR on weekly basis.
  Please confirm receipt and your acknowledgment of my directive.
  Thank you.
  Mark Paoletta
  Chief Legal Officer
  CFPB


  From: Brown, Jason (CFPB)
  Sent: Tuesday, February 11, 2025 9:26 AM
  To: Paoletta, Mark (CFPB)
                                                                  ; Pappalardo, Janis (CFPB)
                                   ; Martinez, Adam (CFPB
  Subject: RE: APOR work paused

  Message received . We will contin ue publication of t he APOR this Thursday. If you have further
  guidance on future publications of the APOR, please let us know. Otherwise, we will assume that the
  APOR may be published for this week only and we w ill need to seek permission again next week and
  going forward.


  From: Paoletta, Mark
  Sent: Monday, February 10, 2025 7:15 PM
  To: Brown, Jason (CFPB)
  Cc: Dietrich, Jason (CFPB)                                      ; Pappalardo, Janis (CFPB)
                                     Martinez, Adam (CFPB)
  Subject: RE : APOR work paused



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  Good evening, Jason,


  Thanks for email. The task of doing t he work t o publish the Average Prime Offer Rate (APOR) and
  publishing it are exempted from the st op work order. Specifically, you are directed to continue the
  work t o t ake in data from ICE Mortgage Technology and t o continue t o const ruct t he weekly APOR
  for publication t his Thursday. You are directed to perform any work t hat needs t o be done to
  publish t he APOR by Thursday.
  Please confirm your receipt of this email and t hat you will perform t he necessary work t o publish t he
  APOR by Thu rsday.
  Thank you.


  Mark Paoletta
  Chief Legal Officer
  CFPB


  From: Brown, Jason (CFPB)
  Sent: Monday, February 10, 2025 4:43 PM
  To: Paoletta, M
                                                          ; Pappalardo, Janis (CFPB)


  Subject: APOR work paused

  Hi Mark,


  Just an FYI that, per t he Acting Director's directives t o stop work t asks and issuance of st op work
  orders for cont ractors, t he Office of Research is pausing the intake of data from ICE Mort gage
  Technology and the construction of the weekly average prime offer rates (APOR), which are used for
  various f ederal mortgage rules. These APO Rs are usually updat ed every Thursday. Please let Jason
  (cc'd here) or me know if t here are any questions.


  Jason Brown
  Assistant Director, Research
  Consumer Financial Protect ion Bureau




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  From:            Paoletta, Mark (CFPB)
  To:              Gueye, Jafnar (CFPB)
  Cc:              Young, Christopher (CFPB); Martinez, Adam (CFPB); Wick, Jordan (CFPB)
  Subject:         Cancellation of CFPB contracts
  Date:            Tuesday, February 11, 2025 4:32:33 PM


  Good afternoon, Jafnar,

  On behalf of Acting Director Vought, I have reviewed CFPB contracts and authorize and direct the
  cancellation of all contracts in the following divisions: Enforcement (102 contracts), Supervision (16
  contracts), External Affairs (3 contracts), Consumer Response (20 contracts), Office of Director (33
  contracts),and Legal Division (all except 2 contracts – FD Online Licenses and litigation data).
  Further, on behalf of the Acting Director, I direct the cancellation of the contract for concrete
  repairs.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                              CFPB_00006 JA288
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  From:            Martinez, Adam (CFPB)
  To:              White, Sonya (CFPB)
  Cc:              Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
  Subject:         RE: Legal Assistance with Procurement Template for Contract Termination
  Date:            Friday, February 21, 2025 11:30:00 AM


  Hi Sonya – (+Mark P. and Dan for Situational Awareness)

  Legal Division is authorized to support all operational matters being exercised on
  behalf of our new leadership and our regulatory/statutorily requirements including:

  Procurement/Contract Actions
  Financial Management Actions
  Human Capital Actions
  Labor Relations Actions
  Employee Relations Actions
  Ethics Actions including vetting of new PAS/SCH Cs
  Technology and Infrastructure Support
  Administrative Operations Actions (Security, facilities, maintenance)
  Data Governance/Administration
  EEO Processing Counsel Support
  Reasonable Accommodation Counsel Support

  Mission related support should be coordinated directly through Mark or Dan.

  Adam


  Adam Martinez
  Chief Operating Officer

  From: White, Sonya (CFPB)                         >
  Sent: Friday, February 21, 2025 11:15 AM
  To: Martinez, Adam (CFPB)
  Subject: Legal Assistance with Procurement Template for Contract Termination

  Hi Adam

  Josh reached for a legal review on the contract termination template. Confirming that LD is
  authorized to assist?

  Thanks
  Sonya

  Sonya A. White (she/her/hers)
  Deputy General Counsel
  General Law & Ethics | Legal Division
  Office:                | Mobile:


                                                                                               CFPB_00007 JA289
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  From:             Chilbert. Christopher {CFPB)
  To:               Martinez. Adam (CFPB)
  Subject:          RE: FDIC request for HMDA status update
  Date:             Friday, February 21, 2025 3:18:59 PM


  We're going to request that FDIC go through Mark Paolett a if t hey want an update. We are doing
  our best effort to support the data collection, but it is at risk due to several contracts being
  terminat ed . We've requested t hat t hree of them be t urned on, at least temporarily.


  Chris Chilbert



  From: Martinez, Adam (CFPB)
  Sent: Friday, February 21, 2025 2:58 PM
  To: Chilbert, Christopher (CFPB)
  Subject: RE: FDIC req uest for HMDA status update


  If it's a technical assistance meeting, I would say, yes, he should attend. If it's policy,
  reg, enf, etc. related, then it should go through Mark. We should not commit to
  anything.

  Adam Martinez
  Chief Operating Officer

  From: Chilbert, Christopher (CFPB)
  Sent: Friday, February 21, 2025 2:55 PM
  To: Martinez, Adam (CFPB)
  Subject: FW: FDIC request for HMDA status update


  Adam,
  FDIC reached out to Eric Spry requesting for him to join a meeting regarding the status of HMDA
  collection. Is it ok for him to at tend this meeting, or do we need Mark Paoletta's approval?


  Chris Chilbert




  From: Spry, Eric (CFPB)
  Sent: Friday, February 21, 2025 2:48 PM
  To: Chilbert, Christopher (CFPB)
  Cc: Shelton, Monica (CFPB)
  Subject: FDIC req uest for HMDA status update


  Hi Chris,


  I was contacted via Teams chat by Chris Rangert at FDIC. He requested a meeti ng with myself,


                                                                                              CFPB_00009 JA291
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  Stuart Hoff (FDIC HMDA Subcommittee member) and Paul Robin (FDIC).

  Chris Rangert said,

  “My supervisor, Paul Robin and Stuart Hoff will reach out to you for a meeting at 3:00 (I
  won't be able to attend). They are trying to figure out the situation with HMDA filings,
  Help response lines and such.”

  I am happy to provide simple status update. Normally the HMDA Subcommittee chair at CFPB,
  Hallie Ryan, would be the primary contact. I’m checking to see if Hallie is available.

  Please let me know if I should join the FDIC meeting today at 3p ET or if I should ask FDIC to
  make a request to the CFPB Acting Director.

  Best,
  -Eric
  --
  Eric W. Spry
  Regulatory Technology Program Manager
  CFPB Technology & Innovation
  Office: Remote / Pacific Time

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  consumerfinance.gov

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  From:             Chilbert. Christopher {CFPB)
  To:               Fiano Liane (CFPB): Martinez. Adam (CFPB): Warren, LaShaun (CFPB)
  Cc:               Gilford, Samuel (CFPB): Gueye. Jafnar (CFPB): Michalosky. Martin (CFPB): Shapiro. Daniel (CFPB); Licata,
                    Anthony
  Subject:          RE: Sprinklr - Social Media Records
  Date:             Tuesday, February 25, 2025 4:48:22 PM


  Hi Liane,
  If t he contract with Sprinklr has our standard cybersecurity terms and conditions, t hey are req uired
  to provide us with any CFPB data upon request at the termination of the contract.
  Thanks,


  Chris Chilbert



  From: Fiano, Liane (CFPB)
  Sent: Tuesday, February 25, 2025 1:43 PM
  To: Martinez, Adam (CFPB)                                             ; Warren, Lashaun (CFPB)


                                                                          hilbert, Christopher (CFPB)


                                                              hapiro,
  Licata, Anthony
  Subject: RE : Sprin klr - Social Media Records

  Social media is not a legally req uired function. However, maintaining the records is required.


  I don't believe we have any other systems that fall into that category. I wil l acknowledge that we will
  still have a gap in records prior to 2017 (when I joined the CFPB and we began using t he system),
  though I am unclear how far back the records schedule requires we maintain social media records.


  From: Martinez, Adam (CFPB
  Sent: Tuesday, February 25, 2025 1:38 PM
  To: Fiano, Liane (CFPB)                                      Warren, Lashaun (CFPB)




  Licata, Anthony
  Subject: RE : Sprin klr - Social Media Records


  Was the account part of a statutorily required function and/or legally required?

  What other systems does your office maintain that may store data outside of the CFPB
  servers or cloud?



                                                                                                                  CFPB_00011 JA293
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  I would advise that you work with J afnar's team to find out if the company will
  provide you with a download of your records.

  Adam Martinez
  Chief Operating Officer

  From: Fiano, Liane (CFPB
  Sent: Tuesday, February 25, 2025 1:34 PM
  To: Martinez, Adam (CFPB)                                    ; Warren, Lashaun (CFPB)



                                                                                             M ichalosky,


  Subject: RE : Sprinklr - Social Media Records

  Sprinklr is a software license that manages our social media accounts, it is not a social media channel
  itself. Our primary records were on t he social media channels themselves. Our backup records were
  in Sprinklr as our software publishing t ool. They could be searched and exported at any point, which
  makes it more effective for records retention . I have had several discussions with the records team
  over t ime, but I don't know with what level of specificity t hey may recall those discussions.


  Had we known that the channels were going to be deleted, we could have taken steps to preserve a
  hard copy on CFPB systems. I was unaware t hat our backup system was also being compromised. I
  am not sure if the contract was cut, but that would be my guess as to why we are not able to access
  it anymore. If that's not t he case, I may seek authorization with t he Legal team to investigate further.


  From: Martinez, Adam (CFPB)
  Sent: Tuesday, February 25, 2025 1:28 PM
  To: Fiano, Liane (CFPB)                           ; Warren, Lashaun (CFPB)


                                                           • Chilbert, Christopher (CFPB)
                                                           )                                ; M ichalosky,


  Subject: RE : Sprinklr - Social Media Records


  Could you provide additional background? Is Sprinklr a subscliption? Was the
  Records Team aware that records were being held on this social media site?

  Adam Martinez
  Chief Operating Officer

  From: Fiano, Liane (CFPB)
  Sent: Tuesday, February 25, 2025 1:25 PM
  To: Warren, LaShaun (CFPB)
  Cc: Martinez, Adam (CFPB)                                    ; Gilford, Samuel (CFPB)



                                                                                                CFPB_00012 JA294
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  Subject: Sprinklr - Social Media Records

  Hi Lashaun -


  I no longer have access to Sprinklr, which is w here are social media backup records are maintained.
  We have hard copy exports for Director Chopra's account, but everything else lived w ithin Sprinklr
  and on our public channel.


  As the public channels were removed unexpectedly, we may not be in compliance w ith our records
  retention requirements.




  Liane Fiano
  St aff Director, Digit al Communications I Office of Commu nications
  Office:                       I Mobile:

  Consumer Financial Protect ion Bureau
  consumerfinance.gov


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                                                                                                                    CFPB_00013 JA295
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  From:            Martinez, Adam (CFPB)
  To:              Dasgupta, Richa (CFPB); Gueye, Jafnar (CFPB); Chilbert, Christopher (CFPB)
  Cc:              Petersen, Cara (CFPB); Gelfond, Rebecca (CFPB); Licata, Anthony; Shapiro, Daniel (CFPB)
  Subject:         RE: Consumer Sentinel Account Deactivation Warning...
  Date:            Tuesday, February 25, 2025 5:05:00 PM


  Richa –

  Please work through Rebecca and Cara to coordinate with Jafnar’s Team. If there are
  concerns regarding data preservation issues and/or application to statute or legal
  requirements I’d recommend that Enforcement also work with Mark P. to advise him
  on what is needed.   

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Dasgupta, Richa (CFPB)
  Sent: Tuesday, February 25, 2025 9:55 AM
  To: Martinez, Adam (CFPB)
  Cc: Petersen, Cara (CFPB)                           ; Gelfond, Rebecca (CFPB)
                              >; Dasgupta, Richa (CFPB)
  Subject: FW: Consumer Sentinel Account Deactivation Warning...

  Adam -

  Are you able to advise about this?

  Thanks,
  Richa

  From: Smullin, Rebecca (CFPB)
  Sent: Tuesday, February 25, 2025 8:53 AM
  To: Dasgupta, Richa (CFPB)
  Subject: FW: Consumer Sentinel Account Deactivation Warning...

  Richa:

  I am forwarding you an email that explains that, with some time sensitivity, I need to log into my
  Consumer Sentinel account to preserve my access.

  I am flagging this time-sensitive account issue because my Sentinel account is connected to several
  holds that I placed on searches of Sentinel data related to Bureau matter(s) for which Bureau
  litigation holds in place.

  For further reference:

                                                                                                             CFPB_00014 JA296
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      1. Sentinel has a function to allow users to put holds on data that Sentinel would otherwise
         purge. I do not know what would happen to these holds if my account expired, since the holds
         are ones attached to my account.
      2. To prevent my account from expiring, all I need to do is log in (which could also require
         resetting my password); I would not need to undertake any substantive use of data.
      3. The email I received on Sat Feb 22 says I have two weeks to address this. To err on the safe
         side (and in case I need to call anyone for help resetting a password), I would recommend
         addressing this during business hours, prior to March 7.

  Do you have authority to provide me permission to login to the system to preserve my account? If
  not, could I ask someone else?

  Thank you.

  Best,

  Rebecca Smullin
  Senior Litigation Counsel | Office of Enforcement
  Office:                 Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

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  From: no-reply@consumersentinel.gov <no-reply@consumersentinel.gov>
  Sent: Saturday, February 22, 2025 2:16 AM
  To: Smullin, Rebecca (CFPB)
  Subject: Consumer Sentinel Account Deactivation Warning...

  Your Consumer Sentinel Network account will expire in two weeks due to inactivity. Please login to
  https://www.consumersentinel.gov to retain your access.

  Please do not reply to the email, as its inbox is not being monitored.

  The Consumer Sentinel Network Team.




                                                                                                       CFPB_00015 JA297
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  From:             Johnson. Christopher (CFPB)
  To:               Paoletta. Mark (CFPB)
  Cc:               Martinez. Adam (CFPB): Dorsey. Darian (CFPB): Chilbert. Christopher (CFPB): Barrett. Katy (CFPB): Shapiro.
                    Daniel (CFPB)
  Subject:          RE: 20250213 CFPB Information Memo_CRE
  Date:             Thursday, February 27, 2025 8 :06:01 AM


  Thank you for your confirmation, sir. Darian and I w ill begin to mobilize appropriate team members
  against each requests this AM . Take care.


  From: Paolett a, Mark (CFPB)
  Sent: Thursday, February 27, 2025 6:03 AM
  To: Johnson, Christopher (CFPB)
  Cc: Martinez, Adam (CFPB)                               ; Dorsey, Darian (CFPB)
                             ; Chilbert, Christopher (CFPB)
                                          Shapiro, Daniel (CFPB)
  Subject: RE: 20250213 CFPB Information Memo_CRE


  Good morning, Christopher,


  Thanks for email. Your requests (1,2,3 b elow ) are app roved.


  Mark


  From: Johnson, Christopher (CFPB)
  Sent: Wednesday, February 26, 2025 11:01 AM
  To: Paoletta, Mark (CFPB)
  Cc: Martinez, Adam (CFPB)                              ; Dorsey, Darian (CFPB)
                            ; Chilbert, Christopher (CFPB)                                                            ; Barret t,


  Subject: FW: 20250213 CFPB Information Memo_CRE

  Hello Chief Legal Officer Paoletta,


  I hope all is well. First, I want ed to take moment to int roduce myself. My name is Chris Johnson and
  I current ly serve as t he Associate Director wit hin t he Division of Consumer Response of Educat ion.
  For background, t he division brings together two of the Bureau's six primary functions and at it s
  most consumer facing capabilit ies - assisting consumers w ith complaints and providing consumers
  with unbiased financial education content, tools, and resources. Per t he email chain below, I was
  invited to part ici pat e in a brief meeting wit h Jordan and Jeremy to share an overview of t he CFPB's
  statutory obligat ions as it relat es to the division's work in support of defining competit ive areas,
  those that could aid in accurately defining critical areas for purposes of a RI F process. The attached
  memorandum was requested t he same day and produced by my team.


  I'm reaching out today, as we (Darian and I) received a question from our complaint handling
  counterparts at t he FDIC seeking to underst and whether and to what extend we're still processing


                                                                                                                  CFPB_00016 JA298
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  complaints and referrals. As referenced in the memorandum, and thanks to approvals from the
  Acting Director and his leadership team, the Consumer Resource Center (aka call center services
  contract) and online complaint form are operational. However, a subset of Consumer Response
  federal staff historically performs many other complaint tasks. I shared with Jordan and Jeremy
  during our discussion while several aspects of the complaint handling operation have been built to
  scale through years of work focused on automation and efficiency, there remain critical areas that
  require human intervention by our federal employees and a subset of contractors.

  The Ask:

     1. Per our Office of Procurement this AM (see attached), there is a request to activate the
        Contracting Officer Representative and two Program Managers that provide oversight of the
        call center contractor to address billing, technical, and governance requests. In addition, the
        technical issues that have arisen are typically addressed through a contract with Deloitte,
        “CUSTOMER RELATIONSHIP MANAGEMENT (CRM) OPERATIONS, MAINTENANCE AND
        DEVELOPMENT SUPPORT”. The technical issues involve the manual process performed by
        contractors to remove or redact PII from complaints. Please let me know if you are amenable
        to reactivating up to three federal employees supporting this contact center program as well
        as the vendor/contractor that provides technical operations and maintenance support for the
        Complaint Management System. I have also copied my colleagues, Chris Chilbert, CIO, and
        Katy Barrett, EPT Lead, for awareness.


     2. To assess complaint handling with a focus on identifying any processing backlogs or system
        issues, I’m seeking approval to activate a team of no more than 10 staff for up to 24 hours
        each (I can provide a list of employees if helpful). Some examples of the work this team
        would perform includes:

         •   Assessing the volume and nature of backlogs across various work in progress queues
             (e.g., congressional and regulator referrals, portal support tickets)
         •   Assessing our complaint related systems (Mosaic, Complaint Analytics, and the
             Consumer Complaint Database) to ensure important application programming interfaces
             (APIs) are operational to ensure sharing of data with the prudential regulators and the
             FTC, data pipelines in support of complaint sharing tools that are utilized by more than
             125 state and federal agencies are operational, and monitoring licensing and other user
             limits related to the Salesforce Mosaic complaint management system in partnership
             with our colleagues in the Technology and Innovation Office.

     The above would require what I’m referring to as Phase 1 – Assessment. This work would
     commence later today or tomorrow with your approval and likely conclude by end of business
     Monday or Tuesday of next week. Divisional leadership would then summarize the current
     state. Phase 2 – within 24 to 48 hours of the conclusion of Phase 1, would include divisional
     leadership preparing a recommendation and sharing at your request, if desired. The
     recommendation may include a subset of Consumer Response federal staff, and potential
     contractors to activate to address any backlogs aligned narrowly to statutorily related complaint


                                                                                          CFPB_00017 JA299
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      tasks. This would include a description of the work to be performed, estimated hours per week,
      and staff.

     3. Finally, the Office of Consumer Response, per section 1013(b)(3)(C) is required to produce a
        report to Congress each year. The good news is our team completed a good portion of the
        work in January. However, to ensure the Bureau meets is statutory deadline of March 31,
        2025, I would like to request to activate up to approximately (8) Consumer Response staff
        throughout the month of March for up to (16) hours per week to finalize the report. We also
        want to ensure we provide sufficient lead time for the Acting Director and his leadership to
        review and provide feedback, prior to the Bureau submitting the report to the required
        committees in Congress. Please let me know if you are supportive of this request as well.


   1013(b)    (C) REPORTS TO THE CONGRESS.—The              Consumer Response cited to this authority
   (3)(C)     Director shall present an annual report to    in Federal Register notice 2012-15161.
              Congress not later than March 31 of each      Consumer Response publishes an annual
              year on the complaints received by the        report, in accordance with this mandate.
              Bureau in the prior year regarding            Additionally, the Bureau’s semi-annual
              consumer financial products and               reports to Congress have a section devoted
              services. Such report shall include           to discussion of Consumer Response.
              information and analysis about complaint
              numbers, complaint types, and, where
              applicable, information about resolution
              of complaints.


  Below are a few prior year reports for reference, if helpful.

  https://www.consumerfinance.gov/data-research/research-reports/consumer-response-annual-
  report-2023/

  https://www.consumerfinance.gov/data-research/research-reports/2022-consumer-response-
  annual-report/

  https://www.consumerfinance.gov/data-research/research-reports/2021-consumer-response-
  annual-report/

  https://www.consumerfinance.gov/data-research/research-reports/2020-consumer-response-
  annual-report/


  Upon your approval/guidance, we will quickly mobilize team members to initiate work on the three
  items described above. If you have any questions, our team is happy to discuss further at your
  convenience, sir.


  Christopher Johnson


                                                                                          CFPB_00018 JA300
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  Associate Director I Division of Conswner Response and Education
  Office:                 I Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance.gov


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  From: Johnson, Christopher (CFPB)
  Sent: Thursday, February 13, 2025 4:42 PM
  To: Wick, Jordan (CFPB)                                                                                   >
  Cc: Martinez, Adam (CFPB)
  Subject: 20250213 CFPB Information Memo_CRE


  Hello Jeremy and Jordon,


  As requested, I have identified those teams/funct ions across the CRE division that are aligned to the
  division's statutory mandat es. I have omitted t hose team/functions that do not to make the is easier
  to digest. The division has approximat ely 150 t o 155 full-time employees. The current staffing for
  the statut ory functions t otals approximately 80 to 85. We could t hen apply t he RIF framework to
  each of t hese areas and further adjust staffing as needed. Feel free to give me a call to assist with
  any f urther adjustments or refinement s as needed. I will remain on standby throughout t he night for
  quest ions or direction.



  Ch1istopher J ohnson
  Associat e Director I Division of Conswner Response and Education
  Office:                  I Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance.gov



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 Febmaiy 13, 2025
 Info1mation Memo for the Acting Director

                            Christopher Johnson, Associate Director, Consumer Response &
  FROM
                            Education
  SUBJECT                   Divisional Staffing



  Select           □ Situational    D Request for    ~ Reply to        □ Draft
  Applicable       Awareness        Directional      lnquny from       Document
  Info1m ation                      Feedback         Director/PO       Feedback
  Type(s)                                                              Request


 Issue
 This pmpose of this memorandum is to provide infon nation about how the staff of the Consumer
 Response and Education Division align to the Consumer Financial Protection Bmeau's (CFPB 's)
 statuto1y obligations.

 Divisional Background
 The Consumer Response and Education Division (CRE) is responsible for executing the CFPB 's
 first two statuto1y functions: (I) conducting financial education prograins, and (2) collecting,
 investigating, and responding to consumer complaints. See 12 USC 551 l(c)(l )-(2) . CRE is the
 public face of the CFPB to individuals and then· families, delivering scalable services and tools
 designed to empower consumers to share then· experiences in the mai·ketplace, respond to
 challenges, and make better info1med financial decisions.

 There ai·e two offices within CRE: the Office of Financial Education and the Office of Consumer
 Response. Financial Education is responsible for managing a suite of more than 50 educational
 tools and resomces, distributing those tools to users, and researching the effectiveness of financial
 education prograins. Financial Education is also responsible for suppo1iing the Dn·ector's
 membership in the Financial Literacy and Education Commission. Financial Education 's content
 is some of the most frequently visited content on the CFPB 's website.

 Consumer Response is responsible for answering questions, handling complaints, and sharing data
 and insights. Consumer Response manages the CFPB 's toll-free number and complaint prograin
 from end-to-end. Consumer Response is also responsible for assisting complaint process
 stakeholders (e.g., responding to congressional members with their constituents' complaints,
 assisting Company Po1ial users as they respond to then· customer's concerns) and sharing
 complaint information with Federal and State agencies.

  ifhe current headcount for CRE is approximately 150-155 full-time employees. The
  ifunctional areas listed below aligned to statutory responsibilities total approximately 80 to
 s, 5.




                                                                                       CFPB_00020 JA302
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 Office of Financial Education
 12 USC 5493(d) requires the Director to “establish an Office of Financial Education, which shall
 be responsible for developing and implementing initiates intended to educate and empower
 consumers to make better informed financial decisions.” There is one competitive area within the
 Financial Education, responsible for delivering several statutory obligations:

    •   Developing and implementing initiatives intended to educate and empower consumers to
        make better informed financial decisions. See 12 USC 5493(d)(1).
    •   Developing and implementing a strategy to improve the financial literacy of consumers
        that includes measurable goals and objectives, in consultation with the Financial Literacy
        and Education Commission. See 12 USC 5493(d)(2).
    •   Coordinating with other units within the Bureau in carrying out its functions, including
        working with the Community Affairs Office to implement the strategy to improve financial
        literacy of consumers; and working with the research unit established by the Director to
        conduct research related to consumer financial education and counseling. See 12 USC
        5493(d)(3).
    •   Submitting a report on its financial literacy activities and strategy to improve financial
        literacy of consumers See 12 USC 5493(d)(4).

 The current headcount for this area is 12.

 Office of Consumer Response
 12 USC 5493(b)(3)(A) requires the Director to “establish a unit whose functions shall include
 establishing a single, toll-free telephone number, a website, and a database … to facilitate the
 centralized collection of, monitoring of, and response to consumer complaints regarding consumer
 financial products and or services.” 12 USC 5534(a) requires the CFPB “to provide a timely
 response to consumers, in writing where appropriate, to complaints against, or inquiries
 concerning, a covered person.” 15 USC 1681i(e) establishes a process by which the CFPB must
 act and report out on certain credit and consumer reporting complaints. Consumer Response must
 coordinate with certain CFPB offices and personnel, including the Private Student Loan
 Ombudsman and Office of Servicemember Affairs. See 12 USC 5493(e), 12 USC 5535.

 Consumer Response has several competitive areas:

 Consumer Resource Center
 12 USC 5493(b)(3)(A) directs the CFPB to create establish a single, toll-free number. This team
 manages a Consumer Resource Center (CRC), which receives more than 40,000 calls per month.
 The CRC answers consumers’ inquiries, accepts and provides status updates on complaints, and
 directs consumers resources such as state and local services.

 The current headcount for this area is 3.

 Complaint Handling
 12 USC 5534(a) requires the CFPB to timely respond to consumers, including any responses
 received by the regulator from the covered person. This team directs the complaints to companies
 for a response.



                                                                                   CFPB_00021 JA303
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 The current headcount for this area is 7.

 Portal Operations
 12 USC 5534(b) requires certain covered persons to provide a timely response to the regulator.
 This team is responsible for responding to stakeholder support tickets, including tickets submitted
 by company, congressional, and government portal users.

 The current headcount for this area is 7.

 Mosaic Program
 12 USC 5493(b)(3)(A) directs the CFPB to create establish a database to facilitate the centralized
 collection of complaints. 12 USC 5493(b)(3)(D) requires the CFPB to share consumer complaint
 information with prudential regulators, the Federal Trade Commission, other Federal agencies, and
 State agencies. This team manages the technology that facilitates the handling of more than
 350,000 complaints per month

 The current headcount for this area is 5.

 Investigations (Regulatory Compliance, Complaint Monitoring, Research and Analysis,
 Escalation Case Management)
 12 USC 5511(c)(2) requires the CFPB to “investigate” complaints. Additionally, 12 USC
 5493(b)(3)(A) requires the CFPB to “monitor” complaints. This team is responsible for
 monitoring and investigating the more than three million complaints the CFPB receives annually.
 This team conducts investigative inquiries received by the Director’s Office. This team also
 conducts analyses that support the Chief of Staff’s team efforts to meet the publication of statutory
 reports and supports rule lookback assessments as required by 12 USC 5512.

 The current headcount for this area is 30.

 Data Reporting
 12 USC 5493(e) and 12 USC 5535 requires Consumer Response to coordinate with the Office of
 Servicemember Affairs and the Private Student Loan Ombudsman, respectively. This team is
 responsible for working with these offices for their complaint monitoring work.

 The current headcount for this area is 4.

 Stakeholder Engagement
 12 USC 5493(b)(3)(A) directs the CFPB to “coordinate with the Federal Trade Commission or
 other Federal agencies to route complaints to such agencies, where appropriate.” Additionally, 12
 USC 5493(b)(3)(D) requires the CFPB to “share consumer complaint information with prudential
 regulators, the Federal Trade Commission, other Federal agencies, and State agencies …”. This
 team is responsible for working with federal and state agencies, including state Attorneys General.

 The current headcount for this area is 5.




                                                                                      CFPB_00022 JA304
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 Chief of Staff Team
 Consumer Response is responsible for publishing or contributing to the publication of several
 reports. Those reports include:

    •   Consumer Response Annual Report (as required by 12 USC 5493(b)(3)(D))
    •   Fair Credit Reporting Act 611(e) Report (as required by 15 USC 1681i(e)(5))
    •   Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
    •   CFPB Semi-Annual Reports (required by 12 USC 5496)

 This team is responsible for the production and publication of these reports, including any follow-
 up questions from oversight bodies.

 The current headcount for this area is 5.

 Management and Operations
 This team provided the executive direction for both offices within the division. The current
 divisional executives each have a dual role both division and office level executives. The office
 level executive positions remain vacant. The team also provides centralized support to each office
 regarding resource management functions including budget, acquisition management, training,
 management reporting, and coordination with internal and external stakeholders, and oversight
 bodies such as GAO and OIG.

 The current headcount for this area is 5.




                                                                                     CFPB_00023 JA305
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From:                            Paoletta, Mark (CFPB)                            >
Sent:                            Thursday, February 27, 2025 12:07 PM
To:                              Vespa-Papaleo, Frank (CFPB)
Cc:                              Sutton, Jocelyn (CFPB); Miller, Samuel (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel
                                 (CFPB)
Subject:                         RE: Request to Commence Fair Lending Activity


Good afternoon, Frank,

Thanks for email. You are authorized to perform the statutory functions set forth in 12 U.S.C. 5493(c)(2), including
the four examples you identiﬁed below. Any action or communication to an outside party should be send to me
and Daniel Shapiro for review and approval before being transmitted.

Thanks.

Mark

From: Vespa-Papaleo, Frank (CFPB)
Sent: Thursday, February 27, 2025 11:51 AM
To: Paoletta, Mark (CFPB)                          >
Cc: Sutton, Jocelyn (CFPB)                           ; Miller, Samuel (CFPB)                            ; Martinez,
Adam (CFPB)
Subject: Request to Commence Fair Lending Activity

Hi Mark,

Acting Director Vought instructed CFPB staff to not perform any work tasks. The email also specified that if
there were any urgent matters, staff must alert Acting Director Vought through you and obtain written approval
before working on them. The Office of Fair Lending requests approval to perform the statutory functions
expressly identified in 12 U.S. Code § 5493(c)(2).

These functions include: (A): providing oversight and enforcement of federal laws that ensure the fair,
equitable, and nondiscriminatory access to credit for both individuals and communities, including the Equal
Credit Opportunity Act and the Home Mortgage Disclosure Act; (B) coordinating the fair lending efforts of the
Bureau with other federal agencies and state regulators; (C) working with private industry, fair lending, civil
rights, consumer and community advocates on the promotion of fair lending comp liance and education; and (D)
providing annual reports to Congress on the efforts of the Bureau to fulfill its fair lending mandate.

As a result, I hereby request authorization to re-commence work consistent with these statutory provisions.
Some examples of pending work include: (1) supporting fair lending examinations and enforcement activity and
research related to access to credit; (2) coordinating HMDA compliance efforts with the FFIEC’s HMDA
Subcommittee; (3) responding to previously-received requests to participate in educational programming with
private industry and other advocates; and (4) completing the drafting of the 2024 Annual Report to Congress.

Thank you for your consideration; please advise if you need anything else from me regarding this request.

J. FRANK VESPA-PAPALEO
Assistant Director, Office of Fair Lending
                                                           1
                                                                                                  CFPB_00024 JA306
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                                                                                                                CFPB_00025 JA307
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  From:            Paoletta, Mark (CFPB)
  To:              Martin, Angela (CFPB)
  Cc:              Martinez, Adam (CFPB); Petersen, Cara (CFPB); Rice, Jim (CFPB); Liu, Wen (CFPB); Shapiro, Daniel (CFPB)
  Subject:         RE: (Responding to military requests) FW: Additional Directives on Bureau Activities
  Date:            Thursday, February 27, 2025 12:14:49 PM



  Hello, Angela,

  Thanks for email. You are authorized and directed: to attend the March 6th meeting; to attend the
  March 15 meeting in Houston; to provide virtual training on the MLA on March 27; to accept other
  requests for virtual training from Army JAG School, Naval Justice School, and USAF Legal Assistance
  Division; and to reply to any email query from the JAG field.

  Thanks.

  Mark

  From: Martin, Angela (CFPB)
  Sent: Thursday, February 27, 2025 11:38 AM
  To: Paoletta, Mark (CFPB)
  Cc: Martinez, Adam (CFPB)                                          ; Petersen, Cara (CFPB)
                             Rice, Jim (CFPB)                                     ; Liu, Wen (CFPB)

  Subject: (Responding to military requests) FW: Additional Directives on Bureau Activities

  Dear Mr. Paoletta (cc Mr. Martinez/Ms. Peterson for situational awareness and Mr. Jim Rice and Mr.
  Wen Liu in OSA),

  I’ve written previously on other issues, please do not take this email as insubordination.

  I request permission to perform the following urgent work tasks. I don’t want to leave others,
  particularly military attorneys, in abeyance while awaiting a response from me. I also make this
  request so external stakeholders will know to clear their calendars or find a substitution.

     1. Send immediate notice of cancellation of next Thursday’s (March 6) CFPB Military Legal
        Assistance Working Group Meeting. External members include DOD/DHS Military Legal
        Assistance Service Chiefs, DOJ Civil Division SCRA team, DOJ Consumer Protection Branch, JAG
        school professors, Service field representatives, and military legal assistance field offices.
     2. Send immediate notice to the National Guard Bureau that I will not be presenting at the 2025
        National Guard All States Legal Update in Houston (March 15). They have sent repeated
        requests for materials. They should also be informed to remove the Bureau block of
        instruction from their schedule.
     3. Send immediate notice that I will not provide virtual training on the MLA in support of the
        Navy’s Personal Financial Manager Townhall (March 27).
     4. Reply to any other requests for virtual training with a decline of the same (currently pending:


                                                                                                               CFPB_00026 JA308
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         Army JAG School, Naval Justice School, and USAF Legal Assistance Division).
      5. Reply to any email queries from the JAG field. Note: I request permission to respond
         substantively but if you decline to grant that request, then at least respond that I won’t be
         responding and suggest the military attorneys file a consumer complaint. I have pending
         queries from multiple locations.

  For your reference, I’ve attached a copy of the Joint Statement of Principles (JSOP) which overlaps to
  some extent with OSA’s statutory mission. I serve as Enforcement’s single point of contact in
  providing technical guidance on military consumer law and Bureau resources to military legal staff
  worldwide. The request for guidance generally comes via email from the JAG field. The JSOP also
  established a Military Legal Assistance Working Group “with the goal of achieving a coordinated
  response to unlawful conduct targeted at servicemembers and their families” which meets
  quarterly. Lastly, the JSOP set up an avenue for the Bureau (OSA and ENF) to have training and
  outreach opportunities with the JAG community, especially the JAG schools. Mr. Liu and I train
  military lawyers and legal staff on Bureau resources, including OSA, the mechanics of submitting
  consumer complaints, and military consumer law basics, with an emphasis on the MLA. We have
  recurring engagements.

  I thank you in advance for considering this request to continue to serve those who serve our
  country.
  Respectfully,
  Angela

  Angela Martin
  Senior Enforcement Attorney/Military Affairs Liaison | Enforcement Division
  Typical availability: 0600-0730; 1000-1430; 1600-1900 (Eastern time zone) with accommodation
  possible for all time zones
  Consumer Financial Protection Bureau
  Mobile:
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  From: Vought, Russell <
  Sent: Monday, February 10, 2025 8:30 AM
  To: _DL_CFPB_AllHands
  Subject: Additional Directives on Bureau Activities

  Good morning, CFPB staff,


                                                                                                                 CFPB_00027 JA309
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  As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
  headquarters building is closed this week. Employees should not come into the office. Please do not
  perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
  Chief Legal Officer, to get approval in writing before performing any work task. His email is
                              Otherwise, employees should stand down from performing any work task.
  Thank you for your attention on this matter.
  Best,
  Russ Vought
  Acting Director
  Bureau of Consumer Financial Protection




                                                                                        CFPB_00028 JA310
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  From:            Vespa-Papaleo, Frank (CFPB)
  To:              Paoletta, Mark (CFPB)
  Cc:              Sutton, Jocelyn (CFPB); Miller, Samuel (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
  Subject:         Re: Request to Commence Fair Lending Activity
  Date:            Thursday, February 27, 2025 12:21:28 PM


  Understood. Thanks for your prompt response.

  From: Paoletta, Mark (CFPB)
  Sent: Thursday, February 27, 2025 12:07:12 PM
  To: Vespa-Papaleo, Frank (CFPB)
  Cc: Sutton, Jocelyn (CFPB)                         >; Miller, Samuel (CFPB)
                             ; Martinez, Adam (CFPB)                                                 >; Shapiro, Daniel
  (CFPB)
  Subject: RE: Request to Commence Fair Lending Activity

  Good afternoon, Frank,

  Thanks for email. You are authorized to perform the statutory functions set forth in 12 U.S.C. 5493(c)
  (2), including the four examples you identified below. Any action or communication to an outside
  party should be send to me and Daniel Shapiro for review and approval before being transmitted.

  Thanks.

  Mark

  From: Vespa-Papaleo, Frank (CFPB)
  Sent: Thursday, February 27, 2025 11:51 AM
  To: Paoletta, Mark (CFPB)
  Cc: Sutton, Jocelyn (CFPB)                                         Miller, Samuel (CFPB)
                             ; Martinez, Adam (CFPB)
  Subject: Request to Commence Fair Lending Activity

  Hi Mark,

  Acting Director Vought instructed CFPB staff to not perform any work tasks. The email also
  specified that if there were any urgent matters, staff must alert Acting Director Vought
  through you and obtain written approval before working on them. The Office of Fair
  Lending requests approval to perform the statutory functions expressly identified in 12
  U.S. Code § 5493(c)(2).

  These functions include: (A): providing oversight and enforcement of federal laws that ensure
  the fair, equitable, and nondiscriminatory access to credit for both individuals and
  communities, including the Equal Credit Opportunity Act and the Home Mortgage Disclosure
  Act; (B) coordinating the fair lending efforts of the Bureau with other federal agencies and
  state regulators; (C) working with private industry, fair lending, civil rights, consumer and
  community advocates on the promotion of fair lending compliance and education; and (D)
  providing annual reports to Congress on the efforts of the Bureau to fulfill its fair lending

                                                                                                                  CFPB_00029 JA311
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  mandate.

  As a result, I hereby request authorization to re-commence work consistent with these
  statutory provisions. Some examples of pending work include: (1) supporting fair lending
  examinations and enforcement activity and research related to access to credit; (2)
  coordinating HMDA compliance efforts with the FFIEC’s HMDA Subcommittee; (3)
  responding to previously-received requests to participate in educational programming with
  private industry and other advocates; and (4) completing the drafting of the 2024 Annual
  Report to Congress.

  Thank you for your consideration; please advise if you need anything else from me regarding
  this request.

  J. Frank Vespa-Papaleo
  Assistant Director, Office of Fair Lending
  1700 G Street, NW
  Washington, DC 20552
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

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                                                                                                       CFPB_00030 JA312
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  From:            Martinez, Adam (CFPB)
  To:              Michalosky, Martin (CFPB)
  Cc:              Adams, Danielle (CFPB); Nguyen, Hoan (CFPB)
  Subject:         RE: Processing FOIA and Privacy Act Requests
  Date:            Thursday, February 27, 2025 1:29:00 PM


  Hi Marty. Approved to move forward. Thank you!

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Michalosky, Martin (CFPB)
  Sent: Thursday, February 27, 2025 1:29 PM
  To: Martinez, Adam (CFPB)                                       >
  Cc: Adams, Danielle (CFPB)                                       ; Nguyen, Hoan (CFPB)
                          v>
  Subject: Processing FOIA and Privacy Act Requests
  Importance: High

  Hi Adam,
  The FOIA statute (5 U.S.C. § 552) requires agencies to process requests for records from the public.
  FOIA has a specific timeframe (20 working days) for federal agencies, including the CFPB, to respond
  to requests. There is a risk of litigation for agencies that are not able to respond in this timeframe,
  which excludes federal holidays. Additionally, the Privacy Act provides the public to request records
  about them. The FOIA team processes both FOIA and Privacy Act requests, and responds to inquires
  related to those requests.

  I recommend that the FOIA team be able to continue their work processing FOIA and Privacy Act
  requests.

  Thanks,
  Marty




                                                                                           CFPB_00031 JA313
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  From:            Martinez. Adam (CFPB)
  To:              Russell. Jessica (CFPB); Pham. Danny (CFPB)
  Cc:              Spry. Eric (CFPB); Liu. Feng (CFPB): Brown. Jason (CFPB): Pappalardo. Janis (CFPB)
  Subject:         RE: Requests to approve HMDA data access
  Date:            Thursday, February 27, 2025 3:55:00 PM


  Hi J essica - Good afternoon!

  J ason's Team has authority to execute our HMDA legal and statutory authority/legal
  requirements.

  Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Russell, Jessica {CFPB)
  Sent: Th ursday, February 27, 2025 3:10 PM
  To: Pham, Danny {CFPB)                                       Martinez, Adam {CFPB)

                                        >; Liu, Feng (CFPB)
  Subject: RE: Requests to approve HMDA data access


  Ok, I will just leave them in the system until I have authorization to reject them.


  Thanks,
  Jessica


  From: Pham, Danny {CFPB)
  Sent: Th ursday, February 27, 2025 3:03 PM
  To: Russell, Jessica (CFPB)                                      ; Martinez, Adam {CFPB)

                                           Liu, Feng {CFPB)
  Subject: RE: Requests to approve HMDA data access


  Hi Jessica,

  Is my fault on clicking the wrong one when I was working with ICAM team to make sure
  SailPoint auto configure the user profile. So just reject the request.


  Thank you,
  Danny


  From: Russell, Jessica (CFPB)


                                                                                                        CFPB_00032 JA314
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  Sent: Thursday, February 27, 2025 3:02 PM
  To: Martinez, Adam (CFPB)                                        ; Pham, Danny (CFPB)

                                         ; Liu, Feng (CFPB)
  Subject: Requests to approve HMDA data access


  Hi Adam,


  I am the data steward for the HMDA datasets, which means that I review requests for access
  to the HMDA data. Danny Pham submitted several requests on behalf of others. Do I have
  authorization to work on this?


  @Pham, Danny {CFPB) - Could you provide justifications for these access requests?


  Thanks,
  Jessica

  Jessica Russell
  Mort a e Markets
  Tel:
  Mob:


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                                                                                                        CFPB_00033 JA315
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  From:          Martinez, Adam (CFPB)
  To:            Pappalardo, Janis (CFPB); Sokolov, Dan (CFPB); Epstein, Ann (CFPB); Hedgespeth, Grady (CFPB); Brown, Jason
                 (CFPB); McArdle, Mark (CFPB); McNamara, John (CFPB); Brown, Desmond (CFPB); Cole, Lisa (CFPB); Royster,
                 Deborah (CFPB); Rice, Jim (CFPB); Dodd-Ramirez, Daniel (CFPB)
  Bcc:           Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
  Subject:       Statutory/Legal Required Work
  Date:          Thursday, February 27, 2025 4:18:00 PM
  Attachments:   Directives on Bureau Activities.msg


  Hi RMR Colleagues – Good afternoon.

  Thank you for your patience as we continue through transition and our new
  leadership’s review of the Bureau.

  On February 8 (email attached), our Acting Director outlined several areas where
  work stoppage was being implemented at the Bureau. He did exclude areas approved
  by him or required by law. We want to ensure that you are aware that statutorily
  required work and/or work required by law are authorized.

  Your teams are authorized to continue carrying out these responsibilities. Any actions
  or communications with outside parties must be sent to Mark Paoletta, Chief Legal
  Officer and Daniel Shapiro, Deputy Chief Legal Officer.

  Should you have any questions at all, please feel free to contact our Chief Legal Officer
  as directed by the Acting Director. Alternatively, you are always welcome to reach out
  to me if needed. I am happy to share guidance provided to other leaders and
  employees regarding authorized work, including my own team.      

  Thank you for your support.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                                                                            CFPB_00034 JA316
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  From:          Martinez, Adam (CFPB)
  To:            Warren, LaShaun (CFPB)
  Bcc:           Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
  Subject:       Statutory/Legal Required Work
  Date:          Thursday, February 27, 2025 4:47:00 PM
  Attachments:   Directives on Bureau Activities.msg


  Hi LaShaun – Good afternoon.

  Thank you for your patience as we continue through transition and our new
  leadership’s review of the Bureau.

  On February 8 (email attached), our Acting Director outlined several areas where
  work stoppage was being implemented at the Bureau including work conducted by
  External Affairs. He did exclude areas approved by him or required by law including
  statutory requirements.

  We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief
  Legal Officer with any questions regarding required reports or products you believe
  should continue at this time. Any actions or communications with outside parties
  must be sent to Mark and Daniel Shapiro, Deputy Chief Legal Officer.

  Should you have any questions at all, please feel free to contact our Chief Legal Officer
  as directed by the Acting Director. Alternatively, you are always welcome to reach out
  to me if needed. I am happy to share guidance provided to other leaders and
  employees regarding authorized work, including my own team.      

  Thank you for your support.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                                                      CFPB_00035 JA317
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  From:                Chilbert. Christopher {CFPB)
  To:                  Gelfond. Rebecca {CFPB)
  Cc:                  Martinez. Adam {CFPB)
  Subject:             RE: Cf PB Data / Record Analysis and Return
  Date:                Thursday, February 27, 2025 6:03:33 PM
  Attachments:         image001.png
                       image002.png
                       image003.png



  Hi Rebecca,
  Yes, retrieving Bureau data and records from contractors in accordance with the terms and
  conditions of t he contracts is authorized work. We need to ensure that it is p reserved.


  Chris Chi lbert



  From: Gelfond, Rebecca (CFPB)
  Sent: Th ursday, February 27, 2025 5:54 PM
  To: Chilbert, Christopher (CFPB)
  Subject: FW: CFPB Data/ Record Analysis and Ret urn

  Hi Chris,

  Tiina suggested I check with you. Can you please confum this is autho1ized work?

  Thanks!
  Rebecca

  CFPB Enforcement Chief of Staff
  Office:             I

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  From: Gelfond, Rebecca (CFPB)
  Sent: Th ursday, February 27, 2025 5:43 PM
  To: Rodrigue, Tiina (CFPB)
  Cc: Malik, lrfan (CFPB)                      ; Lazier, Raynell (CFPB
  Subject: RE: CFPB Data/ Record Analysis and Ret urn

  Hi Tiina,

  Thanks for the email. Can you please confam that the Acting Director has autholized this work?

  Thanks!
  Rebecca

  CFPB Enforcement Chief of Staff
  Office:             I Mobile:



                                                                                                                 CFPB_00036 JA318
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  From: Rodrigue, Tiina (CFPB)
  Sent: Thursday, February 27, 2025 5:41 PM
  To: Rodrigue, Tiina (CFPB)
  Cc: Malik, Irfan (CFPB)                      ; Lazier, Raynell (CFPB)
  Subject: CFPB Data / Record Analysis and Return
  Importance: High

  Dear Business, System, Service, or Application Owner,

  Please work with your CORs/PoCs to identify if CFPB data or records are at risk of being
  deleted due to contract cancellations, memorandum/agreement terminations, or other causes.
  Please note that per the CFPB standard cybersecurity clause language and CFPB Policy, all
  CFPB data must be returned at the end of a contract/agreement. Any deviations must be
  signed off by the Authorizing Official.

  If you need T&I assistance to store the returned CFPB data/records, please reach out to me. I
  will help you find the a secure storage solution.

  Please let me know if you have any questions. I am on Teams.

  Dr. Tiina K.O. Rodrigue (hear pronunciation here)
  CISSP, PMP, Compliance Mapper,
  CEA, CSM, ITIL, A+, FAC P/PM III, Female
  ADKAR Change Management Practitioner

  Chief Information Security Officer – CISO
  Cyberstar: Level 5

  *****
      ​   ​    ​    ​   ​

  My workday might not be the same as yours. Unless I indicate this is an emergency,
  please do not feel pressure to respond to this message outside of your standard work
  hours.




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                                                                                                                 CFPB_00037 JA319
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  Do not click any links or attachments included in any suspicious e-mail. Immediately
  report the suspicious e-mail to the CFPB Suspect Inbox using the Report Phishing
  button to send the e-mail to suspect@cfpb.gov for immediate analysis.

  Become a Cyberstar. For more information, see
  https://team.cfpb.local/wiki/index.php/CFPB Phishing Awareness




                                                                              CFPB_00038 JA320
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  From:             Martinez, Adam (CFPB)
  To:               Gueye, Jafnar (CFPB); Brand, Melissa (CFPB); Galicki, Joshua (CFPB)
  Cc:               Grant, Lori (CFPB)
  Bcc:              Paoletta, Mark (CFPB); Shapiro, Daniel (CFPB)
  Subject:          RE: CFPB Data / Record Analysis and Return
  Date:             Friday, February 28, 2025 8:54:00 AM
  Attachments:      image001.png
                    image002.png
                    image003.png


  (bcc: Mark Paoletta and Daniel Shapiro for situational awareness)

  Good morning.

  I would advise that we should reinstate the ETK contract if it is still available in the
  short term. ETK will help us prevent further litigation and/or settlements as a result
  of the data base being down. The system is the database and workstream for:

  EEO Cases
  Reasonable Accommodation Cases
  Anti-Harassment/Bullying Cases

  These are all required to be processed by law. However, long term I would encourage
  OCR, OHC, and OMWI to work with T&I on an alternative secured solution going
  forward such as SharePoint or something similar to store data and process
  complaints.

  Adam Martinez
  Chief Operating Officer

  From: Gueye, Jafnar (CFPB)
  Sent: Friday, February 28, 2025 8:30 AM
  To: Brand, Melissa (CFPB)                            ; Galicki, Joshua (CFPB)
                            >
  Cc: Grant, Lori (CFPB)                       ; Martinez, Adam (CFPB)
  Subject: RE: CFPB Data / Record Analysis and Return

  Good morning Melissa,

  I defer to Adam but I would recommend reaching out to Mark Paoletta. We’ve frozen all termination
  actions on contracts until next week and we’re working on getting an answer for the actual contract.

  Respectfully,

  Jafnar

  From: Brand, Melissa (CFPB)
  Sent: Friday, February 28, 2025 8:19 AM
  To: Gueye, Jafnar (CFPB)                                           Galicki, Joshua (CFPB)



                                                                                                CFPB_00039 JA321
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  Cc: Grant, Lori (CFPB)                       ; Martinez, Adam (CFPB)
  Subject: RE: CFPB Data / Record Analysis and Return
  Importance: High

  Good morning Jafnar and Josh.

  Cyber told me to have my CORs identify if CFPB data or records are at risk of being deleted due to
  contract cancellations. I highlighted to Vanessa our inability to access EEO complaints data in ETK,
  who advised me to reach out to those above me regarding contracts that I need to have active again.
  Since I report directly to the Director, I was wondering who you suggest I reach out to? Is there a main
  POC that you have been collaborating with that I should reach out to? Or is this something that is
  already being worked on and me reaching out is not necessary?

  Thank you.

  Melissa

  From: Del Toro, Vanessa (CFPB)
  Sent: Friday, February 28, 2025 8:12 AM
  To: Brand, Melissa (CFPB)
  Cc: Grant, Lori (CFPB)                       ; Stroud, Renita (CFPB)
  Villano, Michael (CFPB)
  Subject: RE: CFPB Data / Record Analysis and Return

  HI Melissa,

  Adding Mike Villano who is the contracting officer for the Entellitrak contract. That contract,
  9531CB23F0046, was on the list we were directed to terminate.

  We stopped doing the modification to terminate and have mostly sent out the stope work/
  termination notices. If you need this one to be active again, please reach out to those above you.
  Some vendors that were asked to “turn back on” operations were able to, others cannot be back on
  so easily. And as we stopped work and sent the termination notice as directed by those above us, this
  also means that the vendor does not have to necessarily comply with the request to continue to
  provide services they were previously told were terminated.

  Sorry, it is a bit of a mess, but we can only do what directed to. If you need this, please reach out to
  leadership above you so that we in Procurement can get different direction.

  Thanks,



  Vanessa del Toro
                                                                                               CFPB_00040 JA322
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  Contracting Officer | Office of Finance and Procurement
  Mobile:




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  From: Brand, Melissa (CFPB)
  Sent: Friday, February 28, 2025 7:18 AM
  To: Del Toro, Vanessa (CFPB)
  Cc: Grant, Lori (CFPB)                      ; Stroud, Renita (CFPB)
  Subject: FW: CFPB Data / Record Analysis and Return
  Importance: High

  Hi Vanessa. Renita works with Ludy on the ETK contract, however Renita is out today and I am not
  sure of Ludy’s work status. I am hoping you can help.

  I want to make sure that we are flagging that Entellitrak is our system of record for EEO cases, and we
  cannot do our work without it. We are struggling right now with our current and past cases without
  access to this data in the ETK system, and we will not be able to run statutorily required reports
  without it. We definitely need the data that was put into ETK – but beyond that, we really need ETK to
  make use of the data.

  Thank you,

  Melissa

  From: Rodrigue, Tiina (CFPB)
  Sent: Thursday, February 27, 2025 5:41 PM
  To: Rodrigue, Tiina (CFPB)
  Cc: Malik, Irfan (CFPB)                      ; Lazier, Raynell (CFPB)
  Subject: CFPB Data / Record Analysis and Return
  Importance: High

  Dear Business, System, Service, or Application Owner,

  Please work with your CORs/PoCs to identify if CFPB data or records are at risk of
  being deleted due to contract cancellations, memorandum/agreement terminations,
  or other causes. Please note that per the CFPB standard cybersecurity clause
  language and CFPB Policy, all CFPB data must be returned at the end of a


                                                                                                                  CFPB_00041 JA323
    Case 1:25-cv-00381-ABJ Document 56-1            Filed 03/04/25 Page 42 of 116
USCA Case #25-5091    Document #2113074              Filed: 04/25/2025 Page 329 of 637

  contract/agreement. Any deviations must be signed off by the Authorizing Official.

  If you need T&I assistance to store the returned CFPB data/records, please reach out
  to me. I will help you find the a secure storage solution.

  Please let me know if you have any questions. I am on Teams.

  Dr. Tiina K.O. Rodrigue (hear pronunciation here)
  CISSP, PMP, Compliance Mapper,
  CEA, CSM, ITIL, A+, FAC P/PM III, Female
  ADKAR Change Management Practitioner

  Chief Information Security Officer – CISO
  Cyberstar: Level 5

  *****
    ​   ​   ​   ​   ​

  My workday might not be the same as yours. Unless I indicate this is an emergency,
  please do not feel pressure to respond to this message outside of your standard work
  hours.




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  CYBERSECURITY AWARENESS
  Increasing cybersecurity awareness for the Bureau’s personnel is vital to ensuring the
  successful execution of CFPB’s mission.



                                                                             CFPB_00042 JA324
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  that you have received a phishing e-mail: STOP. THINK before you CLICK.

  Do not click any links or attachments included in any suspicious e-mail. Immediately
  report the suspicious e-mail to the CFPB Suspect Inbox using the Report Phishing
  button to send the e-mail to suspect@cfpb.gov for immediate analysis.

  Become a Cyberstar. For more information, see
  https://team.cfpb.local/wiki/index.php/CFPB Phishing Awareness




                                                                              CFPB_00043 JA325
    Case 1:25-cv-00381-ABJ Document 56-1                              Filed 03/04/25 Page 44 of 116
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  From:              Martinez. Adam (CFPB)
  To:                Pappalardo. Janis (CFPB)
  Subject:           RE: Guidance ...
  Date :             Friday, February 28, 2025 10:20:00 AM



  Hi Jan. That is correct.

  If there are any mission/statutory concerns, you may always reach out to Mark for
  guidance as well. But you the management responsibilities are all good.

  Let me know if I can help in any way.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Pappalardo, Janis (CFPB)
  Sent: Friday, February 28, 2025 10:18 AM
  To: Martinez, Adam (CFPB)
  Subject: Guidance . . .


  Hi Adam,


  I hope you are well!


  In light of your e-mail and discussion yesterday, my understanding is that we can resume all
  regular work related to fulfilling statutory obligations, including regular management
  activities. Is that correct?


  With appreciation,
  Jan




  Janis K. Pappalardo
  Deputy Associate Director and Acting Associate Director
  Researc~                d Regulations
  Mobile: - -

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                                                                                                       CFPB_00044 JA326
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                                                                CFPB_00045 JA327
    Case 1:25-cv-00381-ABJ Document 56-1                                        Filed 03/04/25 Page 46 of 116
USCA Case #25-5091    Document #2113074                                          Filed: 04/25/2025 Page 333 of 637

  From:                 Martinez. Adam (CFPB)
  To:                   Chilbert. Christopher (CFPB): Gelfond. Rebecca (CFPB)
  Subject:              RE: CFPB Data / Record Analysis and Return
  Date:                 Friday, February 28, 2025 12:48:00 PM
  Attachments:          image001.pnq
                        image002.png
                        image003.png



  That is my understanding as well.

  Adam Martinez
  Chief Operating Officer

  From: Chil bert, Christopher (CFPB)
  Sent: Friday, February 28, 2025 12:39 PM
  To: Gelfond, Rebecca (CFPB)                                                   ; Martinez, Adam (CFPB)


  Subject: RE: CFPB Data/ Record Analysis and Ret urn


  My understand ing is that he has authorized us to retain federal records and perform contract
  close-out activities for contracts that have been terminated.


  C hris Chilbert



  From: Gelfond, Rebecca (CFPB)
  Sent: Friday, February 28, 2025 12:32 PM
  To: Chilbert, Christopher (CFPB)                                                    ; Martinez, Adam (CFPB)


  Subject: RE: CFPB Data/ Record Ana lysis and Ret urn

  Hi Chris and Adam.

  Has the Acting Director or Mark P specifically authorized this work?

  Thanks!
  Rebecca

  CFPB Enforcement Chief of Staff
  Office:             I Mobile:
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  mail and any attachments. An i11adve1t ent disclosm·e is not intended to waive any privileges.




  From: Chilbert, Christopher (CFPB)
  Sent: Th ursday, February 27, 2025 6:04 PM
  To: Gelfond, Rebecca (CFPB)
  Cc: Martinez, Adam (CFPB)


                                                                                                                 CFPB 00046 JA328
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USCA Case #25-5091    Document #2113074                                      Filed: 04/25/2025 Page 334 of 637

  Subject: RE: CFPB Data/ Record Analysis and Return


  Hi Rebecca,
  Yes, retrieving Bureau data and records from contractors in accordance with the terms and
  conditions of the contracts is authorized work. We need to ensure that it is preserved.


  Chris Chilbert



  From: Gelfond, Rebecca (CFPB)
  Sent: Thursday, February 27, 2025 5:54 PM
  To: Chilbert, Christopher (CFPB
  Subject: FW: CFPB Data/ Record Analysis and Return

  Hi Chris,

  Tiina suggested I check with you. Can you please confum this is auth01ized work?

  Thanks!
  Rebecca

  CFPB Enforcement Chief of Staff
  Office:             I Mobile:

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  mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.



  From: Gelfond, Rebecca (CFPB)
  Sent: Thursday, February 27, 2025 5:43 PM
  To: Rodrigue, Tiina (CFPB
  Cc: Malik, lrfan (CFPB)                                    ; Lazier, Raynell (CFPB)
  Subject: RE: CFPB Data/ Record Analysis and Return

  Hi Tiina,

  Thanks for the email. Can you please confum that the Acting Director has authorized this work?

  Thanks!
  Rebecca

  CFPB Enforcement Chief of Staff
  Office:             I Mobile:

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USCA Case #25-5091    Document #2113074                      Filed: 04/25/2025 Page 335 of 637

  From: Rodrigue, Tiina (CFPB)
  Sent: Thursday, February 27, 2025 5:41 PM
  To: Rodrigue, Tiina (CFPB)
  Cc: Malik, lrfan (CFPB                         Lazier, Raynell (CFPB)
  Subject: CFPB Data/ Record Analysis and Ret urn
  Importance: High

  Dear Business, System, Service, or Application Owner,

  Please work with your CORs/PoCs to identify if CFPB data or records are at risk of being
  deleted due to contract cancellations, memorandum/agreement terminations, or other causes.
  Please note that per the CFPB standard cybersecurity clause language and CFPB Policy, all
  CFPB data must be returned at the end of a contract/agreement. Any deviations must be
  signed off by the Authorizing Official.

  If you need T &I assistance to store the returned CFPB data/records, please reach out to me. I
  will help you find the a secure storage solution.

  Please let me know if you have any questions. I am on Teams.

  Dr. Tiina K.O. Rodrigue (hearprommciationhere)
  CISSP, PMP, Compliance Mapper,
  CEA, CSM, ITIL, A +, FAC P/PM III, Female
  AD KAR Change Management Practitioner

  Chief Information Security Officer - CISO
  Cyber star: Level S



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  Do not click any links or attachments included in any suspicious e-mail. Immediately
  report the suspicious e-mail to the CFPB Suspect Inbox using the Report Phishing
  button to send the e-mail to suspect@cfpb.gov for immediate analysis.

  Become a Cyberstar. For more information, see
  https: //tean1.cfpb.local/wiki/index.php/CFPB Phishing Awareness




                                                                              CFPB_00049 JA331
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_                           i..,..__ _ _ _ _ _ _ _ _ _ _ _ __



From:                            Hagins, Calvin (CFPB)                        >
Sent:                            Friday, February 28, 2025 1:19 PM
To:                              Huggins, Cassandra (CFPB); Martinez, Adam (CFPB)
Cc:                              Hagins, Calvin (CFPB)
Subject:                         RE: Statutory/Legal Required Work


Adam:

Thanks for the confirmation.

Casey:

I have not changed by thinking about NOT starting/continuing any “supervision” work (i. e. examination related
activities).

Calvin R. Hagins
Principal Deputy Assistant Director for the O ice of Supervision Examinations

Supervision (SUP)
O ice of Supervision Examinations (OSE)


O ice Location: O ice Primary – Monday – Friday
Room: 3036

O ice:
Mobile:

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From: Huggins, Cassandra (CFPB)
Sent: Friday, February 28, 2025 11:09 AM
To: Martinez, Adam (CFPB)                              Hagins, Calvin (CFPB)
Subject: Re: Statutory/Legal Required Work

This is all very helpful, thanks Adam. Much appreciated.

From: Martinez, Adam (CFPB)
Sent: Friday, February 28, 2025 10:58:08 AM
                                                         1
                                                                                             CFPB_00050 JA332
          Case 1:25-cv-00381-ABJ Document 56-1                                Filed 03/04/25 Page 51 of 116
      USCA Case #25-5091    Document #2113074                                  Filed: 04/25/2025 Page 338 of 637
To: Huggins, Cassandra (CFPB)                                           ; Hagins, Calvin (CFPB)
Subject: RE: Statutory/Legal Required Work

That is correct. If there are any reports to congress per statute or anything like that, I’d recommend
reaching out to Mark. Other divisions are raising questions about reports or other statutory
requirements. I’m personally trying to be helpful to just ensure people know they can ask questions
or seek clarification, even it’s just on operational issues.

Thank you, Casey.

Adam Martinez
Chief Operating Officer

From: Huggins, Cassandra (CFPB)
Sent: Friday, February 28, 2025 10:33 AM
To: Martinez, Adam (CFPB)                                       ; Hagins, Calvin (CFPB)
Subject: RE: Statutory/Legal Required Work

Adam,

To be clear, the Feb. 8 email directed us to cease all supervision and examination activity. Am I correct that directive still
stands?

Thanks,
Casey

Cassandra Huggins

Mobile:
          -
Principal Deputy Assistant Director | Supervision Policy & Operations



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From: Martinez, Adam (CFPB)
Sent: Thursday, February 27, 2025 4:35 PM
To: Huggins, Cassandra (CFPB)                                           ; Hagins, Calvin (CFPB)
Subject: Statutory/Legal Required Work

Hi Casey and Calvin – Good afternoon.

Thank you for your patience as we continue through transition and our new leadership’s review of the
Bureau.

On February 8 (email attached), our Acting Director outlined several areas where work stoppage was
being implemented at the Bureau including specific work conducted by Supervision. He did exclude
areas approved by him or required by law including statutory requirements.

                                                                    2
                                                                                                                CFPB_00051 JA333
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    USCA Case #25-5091        Document #2113074            Filed: 04/25/2025    Page 339 of 637
We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief Legal Officer
with any questions regarding required reports or products you believe should continue at this
time. Any actions or communications with outside parties must be sent to Mark and Daniel Shapiro,
Deputy Chief Legal Officer.

Should you have any questions at all, please feel free to contact our Chief Legal Officer as directed by
the Acting Director. Alternatively, you are always welcome to reach out to me if needed. I am happy
to share guidance provided to other leaders and employees regarding authorized work, including my
own team.

Thank you for your support.

Adam

Adam Martinez
Chief Operating Officer




                                                    3
                                                                                      CFPB_00052 JA334
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  From:            Martinez. Adam (CFPB)
  To:              Herndon. Michael (CFPB)
  Subject:         RE: Statutory/Legal Required Work
  Date:            Friday, February 28, 2025 3:20:00 PM



  Hi Michael - you are authorized to coordinate with your leadership or management
  on work matters. Thank you.

  Adam Martinez
  Chief Operating Officer

  From: Herndon, Michael (CFPB)
  Sent: Friday, February 28, 2025 2:49 PM
  To: Martinez, Adam (CFPB)
  Subject: Fw: St at ut ory/Legal Required Work


  Dear Adam Martinez,


  I have been, based upon the ema il chain below, asked to attend a meeting on Monday to
  discuss t he rollout of t his guidance.


  Can you confi rm I am authorized to perform t he work task of attending t his meeting.


  If so, I will need f urther guidance on what wo rk stat us to enter into a timesheet.


  Regards,


  Michael




  From: Pappa lardo, Janis {CFPB)
  Sent: Thursday, February 27, 2025 5 :35 PM
  To: Sokolov, Dan {CFPB)                                 • Epstein, Ann {CFPB)
                                                          B)



                                                                              ; Royster, Deborah
                                                                                      ; Dodd-
  Ram irez, Dan iel {CFPB)
  Cc: Martinez, Adam {CFPB)
  Subject: RE : Statut ory/Lega l Required Work




                                                                                         CFPB_00053 JA335
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  Greetings, All!


  I just talked to Adam (cc'd) and thanked him for this clarification {thanks Adam!).


  Adam confirmed that you are free to cascade his email with your managers, and managers are
  free to cascade to their staff. I think this cascade approach makes sense.


  I imagine that there will be many questions as this guidance gets rolled out.
  Please keep track of questions and share them. I will work with you and RMRFO to summarize
  issues to seek coordinated additional clarification from leadershi p, which we can then share
  back out.

  Of course, if you have an urgent question for leadership, do not wait for me -- ask away.
  However, please cc me so I understand the flow of issues and responses in RMR.


  The idea is to ensure that information flows efficiently, both horizontally and vertically.


  Have a nice evening!

  With appreciation,
  Jan




  Janis K. Pappalardo
  Deputy Associate Director and Acting Associate Director
  Researc~                d Regulations
  Mobile:- -

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  From: Martinez, Adam (CFPB)
  Sent: Thursday, February 27, 2025 4:18 PM
  To: Pappalardo, Janis (CFPB)                                  ; Sokolov, Dan (CFPB)
                            ; Epstein, Ann (CFPB)                              Hedgespeth, Grady (CFPB)
                                   ; Brown, Jason (CFPB)
                                        McNamara, John (CFPB
                                                 >; Cole, Lisa (CFPB)
                                                   Rice, Jim (CFPB)


                                                                                                       CFPB_00054 JA336
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USCA Case #25-5091    Document #2113074                Filed: 04/25/2025 Page 342 of 637

  Ramirez, Daniel (CFPB)
  Subject: Statutory/Legal Required Work

  Hi RMR Colleagues - Good afternoon.

  Thank you for your patience as we continue through transition and our new
  leadership's review of the Bureau.

  On Februaiy 8 (email attached), our Acting Director outlined several areas where
  work stoppage was being implemented at the Bureau. He did exclude areas approved
  by him or required by law. We want to ensure that you are aware that statutorily
  required work and/or work required by law are authorized.

  Your teams are authorized to continue canying out these responsibilities. Any actions
  or communications with outside parties must be sent to Mark Paoletta, Chief Legal
  Officer and Daniel Shapiro, Deputy Chief Legal Officer.

  Should you have any questions at all, please feel free to contact our Chief Legal Officer
  as directed by the Acting Director. Alternatively, you are always welcome to reach out
  to me if needed. I am happy to share guidance provided to other leaders and
  employees regarding authorized work, including my own team.

  Thank you for your support.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                                               CFPB_00055 JA337
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USCA Case #25-5091    Document #2113074                          Filed: 04/25/2025 Page 343 of 637

  From:            Martinez, Adam (CFPB)
  Cc:              Paoletta, Mark (CFPB)
  Subject:         All Hands Message re: Work Required by Law
  Date:            Sunday, March 2, 2025 3:33:06 PM



  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless “required by law” or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                        CFPB_00056 JA338
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USCA Case #25-5091    Document #2113074                               Filed: 04/25/2025 Page 344 of 637

  From:             Paoletta, Mark (CFPB)
  To:               McNamara John {CFPB) : Martinez, Adam {CFPB)
  Cc:               Shapiro, Daniel {CFPB)
  Subject:          RE: All Hands Message re: Work Required by Law
  Date:             Sunday, March 2, 2025 4 :10:37 PM



  No obj ections. Please proceed.


  Than k you.


  From: McNamara, John (CFPB)
  Sent: Sunday, March 2, 2025 4:09 PM
  To: Martinez, Adam (CFPB)
  Cc: Paolet ta, Mark (CFPB)
  Subject: RE: All Hands Message re: Work Required by Law


  Unless you have objections, Markets will contact CARD Act 1022
  targets to respond to their requests.

  We will work on the FDCPA Annual report with a planned delivery date
  in early to mid-May.

  We will conduct statutorily required market monitoring, copying you,
  Mark and Dan Shapiro on substantive matters but not scheduling and
  maintenance issues. We also plan to make you both (Dan and Mark)
  aware of market monitoring meetings.

  Thanks in advance for your help.

  John McNamara
  Principal Assistant Director, Market
  Division of Research, Monitoring & Regulat ions


  Consumer Financial Protection Bureau
  1700 G Street NW
  Washington, DC 20552
  Office
  Mobile




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                                                                                               CFPB_00057 JA339
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  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta. Chief Legal Officer


  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.


  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work un less "required by law" or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
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  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would cont inue to fu lfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.


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  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please ra ise this with me immediately.


  Thank you for your attention to this matter.


  Ma rk Paoletta
  Chief Legal Officer
  CFPB




                                                                                            CFPB_00058 JA340
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  From:            Paoletta, Mark (CFPB)
  To:              Warren, LaShaun (CFPB); Martinez, Adam (CFPB)
  Cc:               DL CFPB EA Mgmt; Shapiro, Daniel (CFPB)
  Subject:         RE: Statutory/Legal Required Work
  Date:            Sunday, March 2, 2025 5:13:01 PM



  Good afternoon, LaShaun,

  Thanks for reaching out. I will review your request in Number One and get back with you this week.
  Your requests 2-18 are approved.

  Thank you.

  Mark

  Mark Paoletta
  Chief Legal Officer
  CFPB




  From: Warren, LaShaun (CFPB)                                         >
  Sent: Sunday, March 2, 2025 3:41 PM
  To: Paoletta, Mark (CFPB)                                        Martinez, Adam (CFPB)

  Cc: _DL_CFPB_EA_Mgmt
  Subject: RE: Statutory/Legal Required Work

  Good afternoon,

  As a follow up to Adam’s request to identify work areas that should continue at this time,
  EA is submitting the following. Please note the first item was previously submitted on
  Thursday, February 27th and requires submission by March 14, 2025

     1. Pursuant to the Federal Advisory Committee Act (5 U.S.C. § 10), the Consumer
        Advisory Board’s (CAB) charter and Membership Balance Plan (MBP) are required to
        be updated and submitted to the General Services Administration (GSA) by March 14,
        2025. Attached are the draft documents for review and approval. The approval should
        be from CFPB’s Director and Chief Legal Officer prior to submitting to the General
        Services Administration’s Committee Management Secretariat, the CFPB’s House and
        Senate authorizing committees, and the Librarian of Congress by March 14th. The
        CFPB must also issue a Federal Register notice and post the two documents on the
        CFPB’s public website as part of satisfying this obligation. Kimberley Medrano is
        CFPB’s Committee Management Officer for the CAB and will liaise with GSA. Once


                                                                                           CFPB_00059 JA341
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        the attached documents have been approved, EA requests approval for Kimberley
        Medrano, Patrick O’Brien and LaShaun Warren to complete this request.
     2. The Digital Communications team has identified CFPB data and records that are at
        risk of being deleted due to the contract termination. EA requests approval for Liane
        Fiano (Staff Director, Digital Communications) to work with Cybersecurity,
        Procurement and Finance to restore CFPB’s social media records and ensure
        compliance to the records retention requirements [44 U.S.C. §3301]
     3. External Affairs seeks approval to monitor EA mailboxes for official correspondence
        from stakeholders, including letters to the Acting Director, petitions, and meeting
        requests; acknowledge receipt of official correspondence from stakeholders; and to
        draft CFPB updates to the Acting Director summarizing requests and proposed
        response. [12 U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12
        U.S.C. § 5493(e)(1), and 12 U.S.C. §5493(e)]. This will also allow us to ensure that any
        emails that should be construed as FOIA requests are properly handled in accordance
        with our statutory transparency obligations. [5 U.S.C. §552]
     4. EA seeks approval to review and process incoming messages from the news media to
        ensure that any emails that should be construed as FOIA requests are properly
        handled in accordance with our statutory transparency obligations. [5 U.S.C. §552]
     5. External Affairs seeks approval to monitor EA mailboxes for official correspondence
        from stakeholders, including letters to the Acting Director, petitions, and meeting
        requests; acknowledge receipt of official correspondence from stakeholders; and to
        draft CFPB updates to the Acting Director summarizing requests and proposed
        response. [12 U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12
        U.S.C. § 5493(e)(1), and 12 U.S.C. §5493(e)]. This will also ensure that any emails
        construed as FOIA requests are properly handled in accordance with our statutory
        transparency obligations. [5 U.S.C. §552]
     6. External Affairs seeks approval to work with Consumer Response to coordinate with
        FTC and other federal and state agencies to route complaints and access the
        consumer portal, where appropriate [(12 U.S.C. § 5493(b)(3)]
     7. External Affairs seeks approval to facilitate sharing consumer complaint information
        with prudential regulators, the Federal Trade Commission, other Federal agencies,
        and State agencies, subject to the standards applicable to Federal agencies for
        protection of the confidentiality of personally identifiable information and for data
        security and integrity [12 U.S.C. § 5493(b)(3)(D)]
     8. External Affairs seeks approval to coordinate with colleagues in the Office of Older
        Americans, the Office of Fair Lending and Equal Opportunity, the Office of Financial
        Education, and the Office of Servicemember Affairs, to fulfill statutory enforcement
        and public engagement requirements to work with other federal agencies and State
        regulators, private industry, fair lending, civil rights, consumer and community
        advocates on the promotion of fair lending compliance and education, consumer
        advocates, community organizations, civil rights organizations, non-profit
        organizations, and other relevant entities that fall under the responsibility of EA [12
        U.S.C. § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12 U.S.C. § 5493(e)
        (1), and 12 U.S.C. §5493(e)].
     9. External Affairs seeks approval to coordinate with colleagues approved for work in


                                                                                   CFPB_00060 JA342
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        CRE, SEFL, Enforcement, and RMR to support their market monitoring
        requirements in Dodd-Frank. The Digital Communications team is responsible for
        social media monitoring and may need to reinstate the social media monitoring
        contract to ensure that teams are appropriately able to monitor trends in the market.
        [12 U.S.C. § 5512(c)(1)
    10. External Affairs seeks approval to coordinate with colleagues in Design and
        Development to continue work required under the 21st Century IDEA Act and
        supporting OMB guidance which dictates requirements for all government websites,
        including related to accessibility from Section 508 of the Rehabilitation Act of 1973.
        [29 U.S.C. 794d, 44 U.S.C. §3501 and OMB Memo M-23-22]
    11. External Affairs seeks approval to coordinate with colleagues in Design and
        Development to continue work to ensure the public can access statutorily required
        web content. [See attached]
    12. External Affairs seeks approval to coordinate with colleagues in Financial Education
        to implement initiatives intended to educate and empower consumers, such as a
        digital financial toolkit for recently terminated financial employees seeking financial
        assistance with bills, in alignment with Financial Education requirements within
        Dodd-Frank. [12 U.S.C. § 5493(d)(2)]
    13. External Affairs seeks approval to coordinate with other regulators including the
        Commission, the Commodity Futures Trading Commission, the Federal Trade
        Commission, and other Federal agencies and State regulators, as appropriate, to
        promote consistent regulatory treatment of consumer financial and investment
        products and services [12 U.S.C. § 5495 and 12 U.S.C. § 5496(c)].
    14. External Affairs seeks approval to collaborate with colleagues in Supervision and
        Examinations to coordinate examinations and supervisory activities with the
        supervisory activities conducted by prudential regulators and the State bank
        regulatory authorities [12 U.S.C. §5514(b); 12 U.S.C. §5515(a), 12 U.S.C. §5515(e)].
    15. External Affairs seeks approval to coordinate with Regulations once rulemaking
        recommences to allow for information flow between stakeholders and Bureau
        decision makers regarding agency rules (in proposed and finalized form) [12 U.S.C.
        §5512(b)].
    16. External Affairs seeks approval to engage stakeholders to support markets teams in
        their statutorily mandated market monitoring activities [12 U.S.C. §5493(b) and 5512
        (c)].
    17. External Affairs seeks approval to collaborate with Supervision and Enforcement staff
        to identify opportunities for stakeholders to share information about patterns and
        practices consumers are experiencing that may violate the law [12 U.S.C. §5515 and
        §5516].
    18. External Affairs seeks approval to work with offices within RMR who have been
        approved by CFPB leadership to begin market monitoring functions including by
        conducting outreach to stakeholders that fall under the responsibility of EA [12 U.S.C.
        § 5493(f)(3), 12 U.S.C. § 5493(c)(2), 12 U.S.C. § 5493(d)(2), 12 U.S.C. § 5493(e)(1),
        and 12 U.S.C. §5493(e)].

  We look forward to hearing your thoughts on continuing the work outlined above.



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  Thanks,

  LaShaun Warren
  Deputy Associate Director, External Affairs
                  - Mobile


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  mistake and delete the e-mail and any attachments. An inadvertent disclosure is not intended
  to waive any privileges.

  From: Warren, LaShaun (CFPB)
  Sent: Thursday, February 27, 2025 7:12 PM
  To: Martinez, Adam (CFPB)
  Cc: O'Brien, Patrick (CFPB)
  Subject: RE: Statutory/Legal Required Work

  Hi Adam,

  Thanks for sending the email.

  While the February 8, 2025 email from Acting Director Russ Vought outlined specific
  activities employees could not participate in unless expressly approved, the February 9,
  2025 email from Acting Director Vought (attached and copied below) indicated employees
  should “not perform any work tasks.”

  Over the last few weeks, External Affairs received and supported several “approved”
  requests including (1) reviewing contracts for termination, (2) terminating the advisory
  councils and (3) prepping and packing 1700 G Street due to the termination of the lease. In
  addition, earlier today Patrick O’Brien and I discussed the requirement to update the
  Consumer Advisory Boards charter and Membership Balance Plan by March 15, 2025. As a
  result, Patrick sent an email to Mark Paoletta (copied) at 2:47pm seeking guidance.
  Unfortunately, you were not copied on the email so please accept my apologies. The
  documents must be reviewed and approved by CFPB’s Director and Chief Legal Officer
  prior to submitting to the General Services Administration’s Committee Management
  Secretariat, the CFPB’s House and Senate authorizing committees, and the Librarian of
  Congress by March 14th. The CFPB must also issue a Federal Register notice and post the
  two documents on the CFPB’s public website as part of satisfying this obligation. The
  documents were previously cleared several weeks ago but recognize current leadership will
  likely want to review. Please let us know who these documents should be submitted to and
  the desired process to obtain approval.

  This is the only immediately required statutorily required activity that I am aware of. I have
  polled my leadership team to see if there are any other urgent requests.

  As you are aware, we are dedicated public servants ready to engage and serve the American
  people at any time. In the meantime, unless otherwise directed, we will abide by the
  guidance issued and will continue to raise items that are statutorily mandated.

  Thank you for your continued support.

  From: Vought, Russell

                                                                                       CFPB_00062 JA344
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  Sent: Monday, February 10, 2025 8:30 AM
  To: _DL_CFPB_AllHands <
  Subject: Additional Directives on Bureau Activities

  Good morning, CFPB staff,



                                                                                         -
  As you have been informed by the Chief Operating Officer in an email yesterday, the Bureau’s DC
  headquarters building is closed this week. Employees should not come into the office. Please do not
  perform any work tasks. If there are any urgent matters, please alert me through Mark Paoletta,
  Chief Legal Officer, to get approval in writing before performing any work task. His email is
                              Otherwise, employees should stand down from performing any work task.
  Thank you for your attention on this matter.
  Best,
  Russ Vought
  Acting Director
  Bureau of Consumer Financial Protection



  LaShaun Warren
  Deputy Associate Director, External Affairs
                  - Mobile

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  mistake and delete the e-mail and any attachments. An inadvertent disclosure is not intended to
  waive any privileges.

  From: Martinez, Adam (CFPB)
  Sent: Thursday, February 27, 2025 4:47 PM
  To: Warren, LaShaun (CFPB)
  Subject: Statutory/Legal Required Work

  Hi LaShaun – Good afternoon.

  Thank you for your patience as we continue through transition and our new
  leadership’s review of the Bureau.

  On February 8 (email attached), our Acting Director outlined several areas where
  work stoppage was being implemented at the Bureau including work conducted by
  External Affairs. He did exclude areas approved by him or required by law including
  statutory requirements.

  We want to ensure that you are aware that you may reach out to Mark Paoletta, Chief
  Legal Officer with any questions regarding required reports or products you believe
  should continue at this time. Any actions or communications with outside parties
  must be sent to Mark and Daniel Shapiro, Deputy Chief Legal Officer.

  Should you have any questions at all, please feel free to contact our Chief Legal Officer


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  as directed by the Acting Director. Alternatively, you are always welcome to reach out
  to me if needed. I am happy to share guidance provided to other leaders and
  employees regarding authorized work, including my own team.      

  Thank you for your support.

  Adam

  Adam Martinez
  Chief Operating Officer




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  From:            Paoletta, Mark (CFPB)
  To:              Johnson, Christopher (CFPB); Martinez, Adam (CFPB)
  Cc:              Dorsey, Darian (CFPB)
  Subject:         Re: All Hands Message re: Work Required by Law
  Date:            Sunday, March 2, 2025 8:10:41 PM


  Hi Christopher,
  Thanks for reaching out. Yes, please reactivate staff to support your work and to reach out to
  stakeholders.
  Thanks.
  Mark

  From: Johnson, Christopher (CFPB)
  Sent: Sunday, March 2, 2025 8:06:01 PM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                                      ; Dorsey, Darian (CFPB)

  Subject: RE: All Hands Message re: Work Required by Law

  Hi Mark,

  Thank you for providing clarity about performing work required by law.

  Consistent with your direction and in light of our statutory obligations to conduct financial education
  programs (Section 1021(c)(1)) and to collect, investigate, and respond to consumer complaints
  ((Section 1021(c)(2)), the Division of Consumer Response and Education will take steps to reactivate
  all staff full-time. This includes staff that perform statutorily mandated work and the small number
  of staff that provide critical support for these efforts (e.g., quality assurance audits, access
  management). I plan to communicate this direction to staff early tomorrow morning.

  Those staff activated with your approval last Thursday (see attached) are continuing that work. From
  the complaint handling assessment, we have already determined that we have a backlog of requests
  from complaint process stakeholders, including companies, federal and state agencies, congressional
  offices, and others. Consistent with Acting Director’s February 8th email, we are seeking your
  approval to engage these external stakeholders to address their concerns.

  Please let me know if you have questions or concerns.



  Christopher Johnson
  Associate Director | Division of Consumer Response and Education
  Office:                 | Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance.gov




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  the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)                         >
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
  statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
  classes of work unless “required by law” or expressly approved by the Acting Director. On February
  10, 2025, you received an email from Acting Director Vought directing you to reach out to me for the
  authorization required by the February 8 email. These measures were intended to ensure that new
  leadership could establish operational control over the agency while ensuring that it would continue
  to fulfill its statutory duties. Many of you understood this and continued to perform functions required
  by law and sought approval from me to perform work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily
  required work. Let me be clear: Employees should be performing work that is required by law and do
  not need to seek prior approval to do so. If you have any questions, please reach out to me
  immediately, and I will promptly give you an answer and authorization if warranted. If you are aware
  of other employees that are needed to assist you in performing a statutorily required task but are not
  doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                                       CFPB_00066 JA348
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From:
Sent:
To:
                                       Paoletta, Mark (CFPB)
                                       Sunday, March 02, 2025 8:1 1 PM
                                       Johnson, Christopher (CFPB); Martinez, Adam (CFPB)
Cc:                                    Dorsey, Darian (CFPB)
Subject:                               Re: All Hands Message re: Work Required by Law



Hi Christopher,
Thanks for reaching out. Yes, please reactivate staff to support your work and to reach out to
stakeholders.
Thanks.
Mark

From: Johnson, Christopher (CFPB)
Sent : Sunday, March 2, 2025 8:06:01 PM
To: Martinez, Adam (CFPB)
Cc: Paoletta, Mark (CFPB)                           ; Dorsey, Darian (CFPB)
Subject: RE: All Hands Message re: W ork Required by Law


Hi Mark,

Thank you for providing clarity about performing work required by law.

Consistent with your direction and in light of our statutory obligations to conduct financial education programs (Section
1021{c}{1}) and to collect, investigate, and respond to consumer complaints ((Section 1021(c}{2)), the Division of
Consumer Response and Education will take steps to reactivate all staff full-time. This includes staff that perform
statutorily mandated work and the small number of staff that provide critica l support for these efforts (e.g., quality
assurance audits, access management). I plan to communicate this direction to staff early tomorrow morning.

Those staff activated with your approva l last Thursday (see attached) are continuing that work. From the complaint
handling assessment, we have already determined that we have a backlog of requests from complaint process
stakeholders, incl uding companies, federal and state agencies, congressional offices, and others. Consistent with Acting
Director's February 8 th email, we are seeking your approval to engage these externa l stakeholders to address their
concerns.

Please let me know if you have questions or concerns.



Christopher Johnson
Associate Director I Division of Consumer Response and Education
Office: _ _ I Mobile:- -

Bureau of Consumer Financial Protection
consumerfinance.gov



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From: Martinez, Adam (CFPB) <
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB)


Message from Mark Paoletta, Chief Legal Officer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal Officer
CFPB




                                                          2
                                                                                                CFPB_00068 JA350
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  From:               Correal. Dubis (CFPB)
  To:                 Martinez. Adam (CFPB): Carmer. Alan (CFPB): Johnson. Christopher (CFPB)
  Cc:                 Paoletta. Mark (CFPB): DL CFPB CRE FinEd FinEd All
  Subject:            RE: All Hands Message re: Work Required by Law
  Date:               Monday, March 3, 2025 8 :20:30 AM



  Hi Adam and Alan,


  Chris sent an email this morning reactivating the work of the Division, including the Office of
  Financial Education.



  Dubis Correa!
  Deputy Assistant Director I Office of Financial Education
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

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  From: Martinez, Adam (CFPB)
  Sent: Monday, March 3, 2025 8:16 AM
  To: Carmer, Alan (CFPB)                                        Johnson, Christ opher (CFPB)


                                                                    ; _ DL_CFPB_CRE_FinEd_FinEd_AII


  Subject: RE: All Hands Message re: Work Required by Law


  Alan-

  I'd recommend that you check-in with your Associate Director this morning to
  discuss. Chris has the authority needed to continue the statutorily required work
  under his division.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Carmer, Alan (CFPB)
  Sent: Monday, March 3, 2025 3:15 AM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                                         ; _ DL_CFPB_CRE_FinEd_FinEd_AII




                                                                                                       CFPB_00069 JA351
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  Subject: RE: All Hands Message re: Work Required by Law

  Mr. Martinez,

  I believe all the work in the Office of Financial Education is statuto1ily authorized and mandated.
  Please make clear whether the Office of Financial Education staff should resume their assigned
  duties to improve the financial literacy of consumers. A general outline of statut01y responsibilities
  follows:

     • 12 USC§ 5411 (c)(l} states that "conducting financial education programs" is the first of
       several "p1imaiy functions" of the CFPB. This work has been halted and should resume.
     • 12 USC.§ 5493(d) requires the Office of Financial Education to develop and implement a
       strategy to improve the financial literacy of consumers. This work has been halted and
       should resume.
     • 12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including
       financial counseling, savings, understanding credit scores, and debt strategies. This work has
       been halted and should resume.
     • 12 US. C. 5493(d)(2}(D)(iii) states the office shall implement activities to "improve the
       financial sin1ation of the consumer." This work has been haltecl ancl should resume.
     • 12 US.C. 5493(d)(3) requires staff to coordinate with other units in the bureau and
       specifically lists the Consumer Affairs Office and the reseai·ch unit. This work has been
       halted ancl should resume.
     • (see 20 US.C § 9702) Financial Literacy and Education Commission (FLEC).
           o 20 USC§ 9702(d) states that the Director of the CFPB serves as the co-Chair of the
              Financial Literacy and Education Commission (FLEC) with the Treasmy Secretary as
               the chair.
           o 20 US.C. § 9702(c)(l} states that the FLEC comp1ises representatives from 23 federal
               agencies and the White House Domestic Policy Council.
           o 20 US. C § 9702(e) states the FLEC must hold a public meeting eve1y 4 months. The
               last meeting was on 11/14/2024. Staff planning for the next meeting has been
               haltecl ancl should resume.
            o 12 US.C. § 5493(d)(2} states the Office of Financial Education must work in
                consultation with the FLEC. This work has been haltecl and should resume.
     • 12 US.C. § 5493(d)(4) requires an annual repo1t to Congress on the CFPB's strategy and
       activities to improve financial literacy. This work has been haltecl and should resume.

  I have served through each change of administration in the CFPB and fully expect any new director
  or acting director to communicate new p1i01ities through management. Indeed, the Office of
  Financial Education has experienced multiple reorganizations and has been in at least 3 different
  divisions as p1101i ties evolve with changes in leadership. Each reorganization was dismptive in its
  own way, but our work was never halted entirely as it seems to be now.

  Again, please clai·ify that Office of Financial Education staff should resume their assigned duties to
  improve the financial literacy of consumers until new leadership is able to clearly communicate a
  change in financial education p1iolities.

  The plima1y stan1te relied upon to establish the Office of Financial Education is copied below the


                                                                                            CFPB_00070 JA352
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  signature for reference.

  Alan S. Carmer
  Attorney-Advisor
  Office of Financial Education
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

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  12 U.S.C. § 5493(d)
  (])Establishment
  The Director shall establish an Office ofFinancial Education, which shall be responsible for
  developing and implementing initiatives intended to educate and empower consumers to make better
  informed financial decisions.

  (2)Other duties
  The Office ofFinancial Education shall develop and implement a strategy to improve the.financial
  literacy ofconsumers that includes measurable goals and objectives, in consultation with the
  Financial Literacy and Education Commission, consistent with the National Strategy for Financial
  Literacy, through activities including providing opportunities for consumers to access-
  (A)financial counseling, including community-basedfinancial counseling, where practicable;
  (B)information to assist with the evaluation ofcredit products and the understanding ofcredit
  histories and scores;
  (C)savings, borrowing, and other services found at mainstream.financial institutions;
  (D)activities intended t ~
  (i)prepare the consumer for educational expenses and the submission offinancial aid applications,
  and other major purchases;
  (ii)reduce debt; and
  (iii)improve the financial situation ofthe consumer;
  (E)assistance in developing long-term savings strategies; and
  (F)wealth building andfinancial senlices during the preparation process to claim earned income tax
  credits and Federal benefits.
  (3)Coordination
  The Office ofFinancial Education shall coordinate with other units within the Bureau in carrying
  out its functions, including-
  (A)working with the Community Affairs Office to implement the strategy to improve financial
  literacy ofconsumers; and
  (B)working with the research unit established by the Director to conduct research related to
  consumer financial education and counseling.
  (4)Report
  Not later than 24 months after the designated transfer date, and annually thereafter, the Director
  shall submit a report on its financial literacy activities and strategy to improve financial literacy of
  consumers t ~
  (A)the Committee on Banking, Housing, and Urban Affairs ofthe Senate; and
  (B)the Committee on Financial Services ofthe House ofRepresentatives.



                                                                                                       CFPB_00071 JA353
    Case 1:25-cv-00381-ABJ Document 56-1                    Filed 03/04/25 Page 72 of 116
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  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 12:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta, Chief Legal Officer


  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.


  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless "required by law" or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.


  It has come t o my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warrant ed. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.


  Thank you for your attention to this matter.


  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                        CFPB_00072 JA354
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  From:              Johnson. Christopher (CFPB)
  To:                Martinez. Adam (CFPB): Carmer. Alan (CFPB)
  Cc:                Paoletta. Mark (CFPB): DL CFPB CRE FinEd FinEd All : Dorsey. Darian (CFPB)
  Subject:           RE: All Hands Message re: Work Required by Law
  Date:              Monday, March 3, 2025 8 :20:47 AM


  Thank you for looping me in, Adam. Good morning, Alan. Please note an email was shared wit h all
  CRE Staff, including you at 6AM, that you are activated for work. Specific guidance will be shared
  with Dubis Correa I this AM who will relay that in Fin Ed's Monday morning team meeting. Feel free
  to reach out to me directly if you have any questions.


  From: Martinez, Adam (CFPB)
  Sent: Monday, March 3, 2025 8:16 AM
  To: Carmer, Alan (CFPB)                                     ; Johnson, Christopher (CFPB)

                                                                 >; _DL_CFPB_CRE_FinEd_FinEd_AII

  Subject: RE : All Hands Message re: Work Required by Law


  Alan-

  I'd recommend that you check-in with your Associate Director this morning to
  discuss. Chris has the authority needed to continue the statutorily required work
  under his division.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Carmer, Alan (CFPB)
  Sent: Monday, March 3, 2025 3:15 AM
  To: Martinez, Adam (CFPB)
  Cc: Paoletta, Mark (CFPB)                                       ; _DL_CFPB_CRE_FinEd_FinEd_AII

  Subject: RE : All Hands Message re: Work Required by Law

  Mr. Martinez,

  I believe all the work in the Office of Financial Education is statutorily authorized and mandated.
  Please make clear whether the Office of Financial Education staff should resume their assigned
  duties to improve the financial literacy of consumers. A general outline of statutory responsibilities
  follows:

        • 12 US. C § 5411 (c)(l) states that "conducting financial education programs" is the first of
          several "primary functions" of the CFPB. This work has been halted and should resume.
        • 12 US.C. § 5493(d) requires the Office of Financial Education to develop and implement a


                                                                                                   CFPB_00073 JA355
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        strategy to improve the financial literacy of consumers. This work has been halted and
        should resume.
      • 12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including
        financial counseling, savings, understanding credit scores, and debt strategies. This work has
        been halted and should resume.
      • 12 US.C. 5493(d)(2)(D)(iii) states the office shall implement activities to "improve the
        financial situation of the consumer." This work has been halted and should resume.
      • 12 US.C. 5493(d)(3) requires staff to coordinate with other units in the bureau and
        specifically lists the Consumer Affairs Office and the research unit. This work has been
        halted and should resume.
      • (see 20 US.C § 9702) Financial Literacy and Education Commission (FLEC).
            o 20 USC§ 9702(d) states that the Director of the CFPB serves as the co-Chair of the
               Financial Literacy and Education Commission (FLEC) with the Treasllly Secretaiy as
               the chair.
            o 20 US. C. § 9702(c)(l) states that the FLEC comprises representatives from 23 federal
               agencies and the White House Domestic Policy Council.
            o 20 US. C § 9702(e) states the FLEC must hold a public meeting eve1y 4 months. The
               last meeting was on 11/14/2024. Staff planning for the next meeting has been
                halted and should resume.
             o 12 US.C. § 5493(d)(2) states the Office of Financial Education must work in
                 consultation with the FLEC. This work has been halted and should resume.
      • 12 US.C. § 5493(d)(4) requires an annual repo1t to Congress on the CFPB's strategy and
        activities to improve financial literacy. This work has been halted and should resume.

  I have se1ved through each change of administration in the CFPB and fully expect any new director
  or acting director to communicate new p1iolities through management. Indeed, the Office of
  Financial Education has experienced multiple reorganizations and has been in at least 3 different
  divisions as priorities evolve with changes in leadership. Each reorganization was dismptive in its
  own way, but our work was never halted entirely as it seems to be now.

  Again, please clarify that Office of Financial Education staff should resume their assigned duties to
  improve the financial literacy of consumers until new leadership is able to clearly communicate a
  change in financial education pri01ities.

  The p1ima1y stan1te relied upon to establish the Office of Financial Education is copied below the
  signarure for reference.

  Alan S. Carmer
  Attorney-Advisor
  Office of Financial Education
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

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  the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.



                                                                                                       CFPB_00074 JA356
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  12 U.S.C. § 5493(d)
  (1)Establishment
  The Director shall establish an Office ofFinancial Education, which shall be responsible for
  developing and implementing initiatives intended to educate and empower consumers to make better
  informed financial decisions.

  (2)Other duties
  The Office ofFinancial Education shall develop and implement a strategy to improve the.financial
  literacy ofconsumers that includes measurable goals and objectives, in consultation with the
  Financial Literacy and Education Commission, consistent with the National Strategy for Financial
  Literacy, through activities including providing opportunities for consumers to access-
  (A)financial counseling, including community-basedfinancial counseling, where practicable;
  (B)information to ass;st with the evaluation ofcredit products and the understanding ofcredit
  histories and scores;
  (C)savings, borrowing, and other services found at mainstream.financial institutions;
  (D)activities intended t~
  (i)prepare the consumer for educational expenses and the submission offinancial aid applicatfons,
  and other major purchases;
  (U)reduce debt; and
  (iii)improve the financial situation ofthe consumer;
  (E)assistance in developing long-term savings strategies; and
  (F)wealth building andfinancial services during the preparation process to claim earned income tax
  credits and Federal benefits.
  (3)Coordination
  The Office ofFinancial Education shall coordinate with other units within the Bureau in carrying
  out its functions, including-
  (A)working with the Community Affairs Office to implement the strategy to improve financial
  literacy ofconsumers; and
  (B)working with the research unit established by the Director to conduct research related to
  consumer financial education and counseling.
  (4)Report
  Not later than 24 months after the designated transfer date, and annually thereafter, the Director
  shall submit a report on its.financial literacy activities and strategy to improve.financial literacy of
  consumers t~
  (A)the Committee on Banking, Housing, and Urban Affairs ofthe Senate; and
  (B)the Committee on Financial Services ofthe House ofRepresentatives.




  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 12:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta. Chief Legal Officer




                                                                                            CFPB_00075 JA357
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  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless “required by law” or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                        CFPB_00076 JA358
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  From:           Martinez. Adam (CFPB)
  To:             Adams. Danielle (CFPB): Michalosky. Martin (CFPB)
  Subject:        RE: FOIA Processing
  Date:           Monday, March 3, 2025 8:29:00 AM
  Attachments:    image001.png


  HI Danielle -

  Anyone involved in the FOIA process should comply with your team's request. When
  your team sends out request perhaps they can include a line that the work is legally
  required so the employee must comply.

  Let me know if that works.

  Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Adams, Danielle (CFPB)
  Sent: Monday, March 3, 2025 6:58 AM
  To: Martinez, Adam (CFPB)                                           Michalosky, Martin (CFPB)

  Subject: RE: FOIA Processing
  Importance: High


  Adam,


  Does your recent all hands mean that anyone who su pports t he FOIA Team w ill also be
  permitted to perform work tasks? How shou ld I facilitate that process?


  Thanks,
  Danielle

  Danielle Duvall Adams
  she/her/ hers
  FOIAM~
  Mobile:- -

  Consumer Financial Protection Bureau
  consumerfinance.gov




                                                                                                  CFPB_00077 JA359
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  cf                  Consumer Financial
                      Protection Bureau


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  From: Martinez, Adam (CFPB) <Adam .Martinez@cfpb.goV>
  Sent: Thursday, February 27, 2025 1:25 PM
  To: M ichalosky, Martin (CFPB) <Martin.Michalosky@cfpb.gov>; Adams, Danielle (CFPB)
  <Danielle.Adams@cfpb.gov>
  Subject: FOIA Processing


  Hi Marty and Danielle -

  I just spoke with Marty and FOIA has the green light to continue processing requests.
  Anyone on your team are authorized to perform the work.

  Thank you.

  Adam

  Adam Martinez
  Chief Operating Officer




                                                                                                       CFPB_00078 JA360
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  From:               Johnson. Christopher (CFPB)
  To:                 Martinez. Adam (CFPB)
  Subject:            FW: All Hands Message re: Work Required by Law
  Date:               Monday, March 3, 2025 8 :37:35 AM


  Information share, sir. Thanks, and let me know if you have any questions. I will be working w ith the
  teams throughout the day to ensure compliance.


  From: Johnson, Christopher (CFPB)
  Sent: Monday, March 3, 2025 5:59 AM
  To: - DL- CFPB- CRE - All
  Subject: FW: All Hands Message re: Work Required by Law

  Hello CRE Team,


  I hope you each are doing well . I'm reaching out this morning t o share that the CFPB's Chief Legal
  Officer has approved the reactivation of all CRE team members full-time in accordance with the
  guidance below. For any potential exceptions, I will reach out to share guidance directly with
  managers and section leaders this morning. As you resume your duties and normal work schedu les,
  I'm sure questions w ill arise, please share those questions with your immediate Supervisor or
  Section leaders. We w ill do our best to work to obtain answers in a t imely manner. I look forward t o
  connecting w ith you soon. More importantly, thank you for your continued and unwavering
  commitment and service to the millions of consumers the CRE division assist each year in navigating
  an evolving financial marketplace.


  Thanks,

  Cluistopher Johnson
  Associate Director I Division of Consumer Response and Education
  Office:                 I Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance.gov


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  From: Paoletta, Mark (CFPB)
  Sent: Sunday, March 2, 2025 8:11 PM
  To: Johnson, Christopher (CFPB)                                              ; Martinez, Adam (CFPB)




                                                                                                       CFPB_00079 JA361
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  Subject: Re: All Hands Message re: Work Required by Law

  Hi Christ opher,
  Thanks for reaching out. Yes, please reactivate staff to support your work and t o reach out t o
  stakeholders.
  Thanks.
  Mark

  From: Johnson, Christopher (CFPB)
  Sent: Sunday, March 2, 2025 8:06:01 PM
  To: Martinez, Adam (CFPB)
  Cc: Paolet ta, Mark (CFPB)                                    ; Dorsey, Darian (CFPB)


  Subject: RE : All Hands Message re: Work Required by Law

  Hi Mark,


  Thank you for providing clarity about performing work required by law.


  Consistent wit h your direction and in light of our statutory obligations to conduct financial educat ion
  programs (Section 1021(c)(1}) and to collect, investigate, and respond to consumer complaint s
  ((Section 1021(c)(2}), t he Division of Consumer Response and Education will take steps to reactivate
  all st aff full -time. This includes staff t hat perform statutorily mandat ed work and the small number
  of st aff that provide crit ical support for these efforts (e.g., quality assurance audit s, access
  management) . I plan t o communicate t his direction to st aff early t omorrow morning.


  Those staff activated with your approval last Thursday (see attached) are cont inuing t hat work. From
  the complaint handling assessment, we have already determined that we have a backlog of requests
  from complaint process stakeholders, including companies, federal and state agencies, congressional
  offices, and others. Consist ent with Acting Director's February 8th email, we are seeking your
  approval to engage these external stakeholders to address t heir concerns.


  Please let me know if you have questions or concerns.



  Ch1ist opher J olmson
  Associat e Director I Division of Consumer Response and Education
  Office:                  I Mobile:

  Bureau of Consumer Financial Protection
  consumerfinance.gov


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                                                                                                       CFPB_00080 JA362
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  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta, Chief Legal Officer


  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.


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  several classes of work unless "required by law" or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
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  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.


  It has come t o my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warrant ed. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.


  Thank you for your attention to this matter.


  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                        CFPB_00081 JA363
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  From:             Martinez. Adam (CFPB)
  To:               Huggins. Cassandra (CFPB)
  Cc:               Hagins. Calvin (CFPB)
  Subject:          RE: All Hands Message re: Work Required by Law
  Date:             Monday, March 3, 2025 10:09:00 AM



  Hi Casey - Good morning.

  I would highly encourage you to communicate with Mark P. regarding expectations.
  However, you are correct that the email sent out yesterday does not change the
  specific work stoppage in the bullet points issued on 8 February.

  Adam

  Adam Martinez
  Chief Operating Officer

  From: Huggins, Cassandra (CFPB)                                        >
  Sent: Monday, March 3, 2025 10:02 AM
  To: Martinez, Adam (CFPB)                            >
  Cc: Hagins, Calvin (CFPB)
  Subject: RE: All Hands Message re: Work Required by Law

  Good morning,

  I've received a number of messages from staff who are understandably conf used by t he information
  in this email. I would like to get clarification on what exactly Supervision staff is expected t o be
  doing.

  The Acting Director's February 8 message directed the stoppage of all supervision and examination
  activity, despite the fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the
  Bureau to conduct such supervisory activities). We've also stopped all work supporting supervision
  and examination act ivity, including operational activities such as policy/procedure development;
  quality management reviews; systems and registration oversight; reporting, analytics, monitoring,
  exam prioritization/scheduling; and human capital act ivities that support supervision . We've also
  told staff to not engage in activit ies requ iring coordination wit h parties outside of the Bureau,
  including coordination wit h other federal/state regulatory agencies, participation on FFIEC t ask
  forces/subcommittees, or engagement wit h supervised entities.

  Supervision staff has been authorized t o work on some isolated tasks
                               , a handful of briefings/information gathering for Sr. leadership, and
  admin istrat ive tasks like WebTA/Concur approval), but otherwise it is my understanding t hat they
  should continue to operate on administrative leave unless a discrete activity has been approved.
  Please confirm that the message you sent is not intended to authorize the reinstatement of
  supervision/examination activity despite the fact that the Bureau is required by law to conduct
  these activities.



                                                                                               CFPB 00082 JA364
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  Thanks,
  Casey



  Cassandra Huggins
  Principal Deputy Assistant Director I Supervision Policy & Operations
  Mobile

  Consumer Financial Protection Bureau
  consumerfinance.gov



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  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta. Chief Legal Officer


  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.


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  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
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  work, which I have promptly granted.


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  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.


  Thank you for your attention to this matter.


  Mark Paoletta
  Chief Legal Officer


                                                                                                       CFPB 00083 JA365
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  CFPB




                                                                CFPB_00084 JA366
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  From:           Pappalardo, Janis (CFPB)
  To:             Paoletta, Mark (CFPB)
  Cc:             Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
  Subject:        RE: All Hands Message re: Work Required by Law
  Date:           Monday, March 3, 2025 10:15:15 AM



  Hi Mark,

  I hope this note find you well!

  I am reaching out to ensure that RMR meets your expectations on the scope and
  implementation of your March 2 guidance and guidance we received last week from Adam
  Martinez.

  Scope: I understand that RMR is authorized to conduct all regular work related to fulfilling
  statutory obligations and/or work required by law, including regular management activities,
  albeit with limits on contact with outside parties. For example, I understand that we are
  authorized to perform work to comply with The Dodd-Frank Act and other laws and statutes,
  such as Section 502(a) of the Consumer Credit Card Market Act of 2009.

  The RMR leadership team and I have reviewed our work against provisions of Dodd-Frank and
  other statutes. I believe that virtually all our work is conducted to meet the CFPB’s statutory
  obligations. This implies that I expect we will bring virtually all RMR staff back to work.

  Implementation:

  Outside Party Communication: According to the February 27 guidance from Adam Martinez:
  “Any actions or communications with outside parties must be sent to Mark Paoletta, Chief
  Legal Officer and Daniel Shapiro, Deputy Chief Legal Officer.” Given the volume and nature of
  communications involved in carrying out our work, I understand that this is difficult to
  implement. I also understand that you recently approved Assistant Director McNamara’s
  request to conduct statutorily required market monitoring, with a cc to Adam, Daniel, and you
  on substantive matters, but not on scheduling and maintenance issues and that the Office of
  Markets will make you and Daniel aware of market monitoring meetings. We plan to apply
  this same understanding to external monitoring communications by other RMR Offices.

  I am proposing some additional implementation strategies for all RMR, below. Please let me
  know if you have any questions or concerns about these proposals.


      • That communications within the federal government, with contracted entities, and
        within the Federal Reserve system that help us fulfill our statutory responsibilities will
         be pre-approved and not require your involvement. For example, a regular meeting
         with Federal Reserve system researchers about developments in risks to household


                                                                                        CFPB_00085 JA367
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            financial stability can continue.
        •   That we resume engagement with outside researchers and other parties to advance the
            Bureau’s research responsibilities. This would include discussing research findings in
            meetings, workshops, and conferences with other government agencies, presenting
            research findings at academic conferences, and attending research conferences. We
            expect to follow the usual Bureau procedures for authorizing and clearing any
            presentations and conference attendance and will alert you and Daniel prior to any
            presentation or attendance at a non-governmental conference.
        •   That internal reports go forward without prior approval.
        •   That we will await guidance on publishing material on the Bureau website, although
            refreshing data on the Bureau website for the Consumer Credit Trends and Mortgage
            Performance Trends will continue.
        •   That we will resume disseminating our research findings under the Independent
            Research Policy. This includes resuming posting on the working paper series on Social
            Sciences Research Network, an outlet for disclaimed research, and in proceeding with
            academic publications.
        •   That we resume the regulatory inquiries function through which the Office of
            Regulations responds to requests from external parties, particularly small businesses,
            for informal guidance on regulatory matters. This is one of several tools the office uses
            to comply with its SBREFA obligations.

  Please let me know if there is specific work that you would like us to move forward on or hold.
  Absent specific direction, I will use my discretion and best judgment to assign statutorily
  required work to staff.

  Respectfully yours,

  Jan

  --
  Janis K. Pappalardo
  Deputy Associate Director and Acting Associate Director
  Research, Monitoring, and Regulations
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov


  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
  the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                                                       CFPB_00086 JA368
    Case 1:25-cv-00381-ABJ Document 56-1                        Filed 03/04/25 Page 87 of 116
USCA Case #25-5091    Document #2113074                          Filed: 04/25/2025 Page 374 of 637

  From: Martinez, Adam (CFPB)                                  >
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paoletta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
  statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
  classes of work unless “required by law” or expressly approved by the Acting Director. On February
  10, 2025, you received an email from Acting Director Vought directing you to reach out to me for the
  authorization required by the February 8 email. These measures were intended to ensure that new
  leadership could establish operational control over the agency while ensuring that it would continue
  to fulfill its statutory duties. Many of you understood this and continued to perform functions required
  by law and sought approval from me to perform work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing statutorily
  required work. Let me be clear: Employees should be performing work that is required by law and do
  not need to seek prior approval to do so. If you have any questions, please reach out to me
  immediately, and I will promptly give you an answer and authorization if warranted. If you are aware
  of other employees that are needed to assist you in performing a statutorily required task but are not
  doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                            CFPB_00087 JA369
    Case 1:25-cv-00381-ABJ Document 56-1                                       Filed 03/04/25 Page 88 of 116
USCA Case #25-5091    Document #2113074                                         Filed: 04/25/2025 Page 375 of 637

  From:                 Kamenshine, Wendy (CFPB)
  To:                   Paoletta, Mark (CFPB)
  Cc:                   Martinez, Adam (CFPB): Asar, Sharon (CFPB): Garmon, Felisa (CFPB): Milner. Heather (CFPB): Relds. John
                        (CFPB)
  Subject:              RE: All Hands Message re: Work Required by Law
  Date:                 Monday, March 3, 2025 10:54:12 AM


  In accordance with the email below, the CFPB Ombudsman 's Office team will work in
  conjunction with the statute.

  The CFPB Ombudsman 's Office provides an independent, impaitial, and confidential resource
  to info1mally assist individuals, companies, consumer and trade groups, and others in
  resolving process issues with the CFPB.

  Best,
  Wendy
  Wendy E. Kamenshine
  Ombudsman
  CFPB Ombudsman's Office

  Tel: - - - -
  Tele~        rvice (TRS) users, dial .


  Confidentiality Notice : If you received this em ail by mistake, you shou ld notify the sender of the mist ake and delete the e-m ail
  and any attachments. An inadvertent disclosure is not intended to waive any privileges.




  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta. Chief Legal Officer


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  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have prom ptly granted.


  It has come to my attent ion, however, that some employees have not been performing


                                                                                                                      CFPB_00088 JA370
    Case 1:25-cv-00381-ABJ Document 56-1                 Filed 03/04/25 Page 89 of 116
USCA Case #25-5091    Document #2113074                   Filed: 04/25/2025 Page 376 of 637

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  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                     CFPB_00089 JA371
    Case 1:25-cv-00381-ABJ Document 56-1                                       Filed 03/04/25 Page 90 of 116
USCA Case #25-5091    Document #2113074                                         Filed: 04/25/2025 Page 377 of 637

  From:                 Kamenshine, Wendy (CFPB)
  To:                   Paoletta, Mark (CFPB)
  Cc:                   Martinez, Adam (CFPB): Asar, Sharon (CFPB): Garmon, Felisa (CFPB): Milner. Heather (CFPB): Relds. John
                        (CFPB)
  Subject:              RE: All Hands Message re: Work Required by Law
  Date:                 Monday, March 3, 2025 10:54:12 AM


  In accordance with the email below, the CFPB Ombudsman 's Office team will work in
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  resolving process issues with the CFPB.

  Best,
  Wendy
  Wendy E. Kamenshine
  Ombudsman
  CFPB Ombudsman's Office

  Tel: - - - -
  Tele~        rvice (TRS) users, dial .
  consumerfinance.gov I ombudsman
  Confidentiality Notice : If you received this em ail by mistake, you shou ld notify the sender of the mist ake and delete the e-m ail
  and any attachments. An inadvertent disclosure is not intended to waive any privileges.




  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta. Chief Legal Officer


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  while ensuring that it would continue to fu lfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have prom ptly granted.


  It has come to my attent ion, however, that some employees have not been performing


                                                                                                                      CFPB_00090 JA372
    Case 1:25-cv-00381-ABJ Document 56-1                 Filed 03/04/25 Page 91 of 116
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  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                     CFPB_00091 JA373
    Case 1:25-cv-00381-ABJ Document 56-1                                                                                                      Filed 03/04/25 Page 92 of 116
USCA Case #25-5091    Document #2113074                                                                                                        Filed: 04/25/2025 Page 379 of 637

                    lee Scott(C,P9)
                    tsarttrt Marn«->
                    Cbooo >:m l'Q!e);Bmctsrntt Snmr::I CCffm
                    RE: Miw'dlted ~•OpsQlJQl
                    Mondly, March 3, 202$ 11:30:«l AH


  Ok thanks Adam - w ill reach out and coordinated with our offices.


  Scott


  From: M artinez, Adam (CfPB)
  Sent: M onday, M arch 3, 2025 10 :58 AM
  To: Lee, Scott (CFPB)- -
  Cc: Chang, Jean tCf PB)-                               >; Broe.ksmit, Samuel (CFPB)
  Subject: RE: M andat ed Reports· Ops 02/03


  HeyScott -
  'Ib.ank you for pulling all this together. It's helpful to see it all in one place because it really does expose the bureaucracy "-e deal with. Wow!
  Please procero with working with each Ops office to coordinate the continuation of work to respond to each of these. You may reference the legal requirement up front when
  asking for offices to perform the worlc, if necessary.
  Adam
  Adam Martinez
  Chief Operating Officer

  From: Lee, Scott (O:PB)
  Sent : M onday, M arch 3, 2025 10 :35 AM
  To:Martinez,Adam (CFPB}-
  Cc:Chang, Jean (CfPB)~                                          m it, Samuel(O:P8
  Subject: M andat ed Reports - Ops 02/ 03


  Hi Adam,

  Pe.r t he recent request - ~ve pulled a li st of the mandat ed reports that Operations produces for 02 - Q3. I've filtered it from b etWe,en f e.b. 1S - June 30 t o lim it the t imef rame. down. Pe.r t he p re\lious ord er
  to w ork stop; undear on t he progress m ade on t he ones due in February and early M arch.


  Questi on for you: Gi\'en t hese reports are tied to a legal requirement, should we hav e our office s reinitiat e wort on these items. If so - I can begjn reaching out to t hose offices and t heir POCs to hav e t hem
  begin.


  Scott


       ORICf
      OR TEAM




      Off'/CfO
                           REPORT/PUIIUCAllOHTnlE




                    Annual Performance Plan aod Report.
                    and Budget ORJ'View (Managed by
                    OSPP)
                                                                      OfSCIIPJ10N ANDACIION(SI
                                                                              AEQUAED



                                                                 The report descriJes the resources
                                                                 needed to accomplish our goats and
                                                                 measure our performance agaa'lst our
                                                                 stmec;c pJan. Strategy owns this
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                                                                 document. The document also includes         tbe Pi:e:T9r as oceoat:f:11 tn,the Pireaor in
                                                                 a budget section whidl the OCFO is           the ordinary course ct the operations of
                                                                 responsible for. Budget section fulfills     tbe B11r:ea11 s 1016 also rroi/itestbua
                                                                 statutory requirement d t ot7(a)(4)(N        ,,rxffica:ii:ooot the h11dte1 Cfflllfst nf the
                                                                 financial operatrig p(ansand forecasts.      previousye.ar be pf'O'Med with t he
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                                                                                                              and oetfnrmaore iotoro::winnl




      OFP/CfO       DATAACt                                      submission of reconciliations dfinancial     Publk Law 113-101. dated May 9, 2014             US,.Spendirc,gov        Z/15/2025           H            CfO
                                                                 and procurement daTa lhat supportS           and the official title is ..Digital
                                                                 USASpending.gov                              Accountability and Transparency ACt at
                                                                                                              2014..
      Off'/CfO      GTAS                                         submission of rroothty financial and         Chapter 4 700 of the TfM entitled "'Agency       0MB                     2/18/2025           H            CfO
                                                                 budget execU'tiofl data; fulfill sta:utory   Reporting Requirements for Ole financial         n easury
                                                                 requirement of 1017{a){4)(A}quarte,ty        Report of the united States Gcwemment..
                                                                 reports of fi:nancia1condition and results
                                                                 of operations


          CRO       GAO-fGActRepotUlg                            M nual report of external findings from      Good Aecountrlg otr!mtion in                     oongress                2/2PJ/'Z025         H            00
                                                                 GAO and OIG                                  f"~!Ili:m ~ ,Giae:11. ea) ceutt!~ l iYi.         GAO

                                                                                                              =                                                OIG



      Off'/CfO      Quarterty fa'lancia:I Reports (CFO           &Jdget exean:ion by &Jdget category,         Dodd.frank § 1017?                                Public (poblished      '2/2PJ/2025         H            CfO
                    Updates)                                     OMSion, and large:stobfigations for each                                                         oncfpb.gov)
                                                                 quatter.


     OfP/ PROC      service ~ntract tnwntory                     Presents an analysis on CFPB's service       fY Z010 OOnsolidated AppropriationsAtt•          0MB, MAX.GOV            1;/2PJ/2025                     coo
                                                                 contract inventory to det ermine if          P\.tblk t.aw 111•1170 MB memo, Dated
                                                                 contract labor is used appropriately and     oec 19. 2011
                                                                 the mix of Federal el'l'f)loyees aod
                                                                 contracwrs is balanced.
      Off'/CfO      M nual Independent Performance Aueflt        Annual independent audit of the              l" U5C 6 5Aa                                     PUblic (published       2/2PJ/202S          H            00
                                                                 operations and budget of the Bureau.                                                          ondpb,..,)
                                                                 The purpose of thisaudit is t o provide
                                                                 objective analyses to improve program
                                                                 performance and operations, reduce
                                                                 costs, facilitate decision-mat ing. and
                                                                 contribute t o public accountability
      Off'/CfO      Quarterty fa'lancial Reports {CFO            &Jdgei;: exea:tion by &Jdget category,       Qqrlt;}fr;aoll( § 1032'                          Pvblic (published       2/2PJ/Z02S          H
                    Updates)                                     OMSion, and large:stobfigations for each                                                      ondpb,..,)




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    Case 1:25-cv-00381-ABJ Document 56-1                                                                                              Filed 03/04/25 Page 93 of 116
USCA Case #25-5091    Document #2113074                                                                                                Filed: 04/25/2025 Page 380 of 637
                                                         qua.rter.




   OFP/CFO    Quarterly Fi'lancial Reports (ao           audgeq: execution by eudget category,         Dodd.frank § 1017?                          Publi: {pubfished   2/2'42025    H     CFO
              Updates)                                   Division, and largest obflgotions for each                                                °" dpb-)
                                                         quarter.
    oa,o      federal EJectronic Records and Email       Report to detemine how federal                ihe federal Records ACt (44 u.s.c. 31)      HARA                3/1S/Z02S    H     coo
              Management Maturity Model Report           a-gencies manage etearonic records.




    oa,o      Records Management 5elf-AS:se:ssmen.t      The goal of the se:f assessment is to         ihe federal RecordsACt (44 u.s.c. 31)       HARA                3/1S/Z02S    H     coo
                                                         determine v.tlether federal agencies are
                                                         compliant with starutory and regulatory
                                                         records management requirements.



    oa,o      senior AgenctOfficial of Records           Report documents how the Bureau is            ihe Federal Records ACt (44 u.s.c. 31)      HARA                3/1S/2025    H     coo
              Management Report                          managjng RIMactivities and goa.5
                                                         established by HAAA




   OFP/CFO    GTAS                                       submission of rroothty financial and          Chapter 4700 of the TfM entitled "'AgenCf   0MB                 3/18/2025    H     CFO
                                                         budget execU'tiofl data; fulfill statutory    Reporting Requirements for the financial    n easury
                                                         requirement of 1017{a){4)(A}quarte,ty         Report of the united Slates Go'lemment"'
                                                         reports of fiiancia1condition and results
                                                         of operations


   OFP/CFO    Quarterly Transfer Requests                Letters requesting transter of funds from
                                                         the Fed Reserw to CFP8
                                                                                                       ~ C in~§2222tatUJ                           •••
                                                                                                                                                   oongms
                                                                                                                                                                       3/20/202S    H     OCR




     CRO      OIGsemiannual Report                       COG Federal Reserw pto'OOes                   P.L 95-4.SZ                                 HFSC and 8HUA       3/31/2025     V    OCR
                                                         seminannual report of signgjcant
                                                         actMties, fi:nds, a nd reconwnendations
                                                         during a six m.:M'1th period.




    OHC       Fi'lancial literacy and Education Plan     OPM requiresagenCf benefits                   ihrift savings Plan Open Elections ACt of   OfM                 3/31/2025    H     OtCO
              (for Bureau Employees)                     representati'Yes to sutmit an aMual           200! (Public law 108-469)
                                                         financial f1teracy and education plan for
                                                         agency employees.




    OHC       St\Jderrt Loan Repayment tncentives        Agencies tTVJst submit an annual written      S U.S.C. S379{h}(1) and S CFR S37.11~b)     OPM                 3/3'J/202S    V    OtCO
                                                         report to the U.S. Office of Personnel
                                                         Management {OPM) on t hew use of
                                                         student loan repa'(merrts during the
                                                         pl'elnOUs c.a!endaryear(CV), as required
                                                         by S U.S.C. S379(ht.

    oa,o      Chief FOIA Officer Report                  1n accordance wlth the fOIA, each             ihe Freedom of Information ACt (Fru.). s    OOJ                 3/31/2025     V    coo
                                                         ageocydlteffOIA Officer must "l'Mw            u.s.c § SS:!(jX2)(D).
                                                         and report to the Attomey General,
                                                         through the head of the ag.ancy. at such
                                                         M'le$ and in such formats as lhe
                                                         Attomey General ffiill/direct, on the
                                                         agency's performance in implementing
                                                         (thefOIA).
    OHC       Annual om call for Pathways Programs       Under section 6 of Executive Order            SCFR 362.109                                COM                 4/1/20>5      V    OtCO
              and Early career n.lent Hiri'lg Repo~      14035: Diversity, Equity, lndusion, and
                                                         ACCessibi!ity in the Federal WOrkfurce,
                                                         the aiden-HarrisAdministration directs
                                                         agencies to increase ava.ilabffrty d paid
                                                         internships. fellaNShips, apprenticeships,
                                                         and other early career programs.
    OHC       Te!ework Data calJ                         Participation in thisaMual SUM!'(isa          Teleworl: Enhancement Act of 2010, Pubfic   a>M                              H     coo
                                                         requireme.nt under the TeJewon:               UW111·292
                                                         Enhancemen;: Act of 2010. Public Law
                                                         111•Z92 (the Act and is reported by OPM                                                                       4/10/2025
                                                         to coogress. The questions in this survey
                                                         ask for information about agencies'
                                                         telev.'OC't program.
   OFPICf,O   GTAS                                       submission of monthty financial and           Chapter 4700 of the TFM entiMd "'AgenCf     0MB                 4/18/2025    H     CFO
                                                         budget execution data; fulfil staMory         Reportirc Requirements for the Financial    Tceasury
                                                         requireme.nt of 1017(a>{4)(A}quarterty        Report of the united Sta.es GoVemment"'
                                                         reports of financial condition a nd results
                                                         of operations
     T&l      Fiscal Year 2oxx-2oxx Guidance on          FY xx Q1 • Q3 Reporting via Cyberscope.       Et:2~ EIS:M!i ~llidaa,~ i:i nm 11:fl               OHS          4/18/2025     V    coo
              Federal Information security and Privacy                                                 ~                                                  0 MB
              Management Requirements. f0140Z8
              Melric:s (Ql & Q3) & Chief Information
                                                                                                       0MB M-23-03 • FY23
              Office<Me<ri<s(<U)
                                                                                                       fMEMQBAt:H:UiM EQB Il:tE l::IEADS CE
                                                                                                       E~CllIDlE QEf!iBWEt:m !itiD
                                                                                                       &l.Ellmsl
     T&I      Strengthening the Cybersecurity of         fY2XtfVA fist report on a quarterty basis     QMBM·l'i::03                                       OHS          4/18/2025     V    coo
              federal Agencies Of Enhancing the High     and prcMde updates and modifications
              value ASSe¢" Program                       W Homeland securirytnfotmation
                                                         Network {HSIN)

     T&I      1mprowg Vllnerability ldentitication,      800 20-01 V\Jlnerability Disclosure Policy    QMB:M-29::32                                       OHS          4/18/2025     V
                                                                                                                                                                                         """"

                                                                                                                                                                                    CFPB_00093 JA375
    Case 1:25-cv-00381-ABJ Document 56-1                                                                                               Filed 03/04/25 Page 94 of 116
USCA Case #25-5091    Document #2113074                                                                                                 Filed: 04/25/2025 Page 381 of 637
               Management, and Remediation             reporting via cyberscope

    oa,o       Quarterty FOIAReport                    In accordance wlth the fOIA, the              5 U.S.C. § 552(e)(S). (j)(2)(D)             OOJ                  4/25/?025     y    <DO
                                                       Department of Justice requires agencies
                                                       to provide quarterly reporting of four key
                                                       FOIA smistics so that they can be posted
                                                       on FO!A.gOV.




     T&I       Migmirc to Pos:t~uantum                 By May 4, 20?3, a.ndannualtythereafter        M-23-02                                             OHS          5/3/2025      y    coo
               QyPt<JC1aphy(invento!y)                 unti 2035, or as directed by supersedirc;                                                         0 MB
                                                       guidance. agencies are directed to
                                                       submit a priol'Ciz:ed inventory d
                                                       information systems and assets,
                                                       eiccluding national security systems, that
                                                       contain CRQC-wlnerable cryptographic
                                                       .systems to ONCO and the Department of
                                                       Homeland security OfberseOJrity and
                                                       Infrastructure security~ency (OSA.)
   OFP/CFO     DATAN:t                                 SIJbmission of reconciliations dfinancial     Public Law 113·101,. da:ted May 9, 2014     VSAspeOO~gov         5/15/2025    H     CFO
                                                       and procurement da-.a that supports           and the officia1tale G "'Oigita1
                                                       USASpending,gcw                               Accounta bll ity and Transparency ,c. of
                                                                                                     2014"'
   OFP/CFO     GTAS                                    submission of m:)flthty financial and         Chapter 4700 of the TFM entided "'~ ency    0MB                  5/18/2025    H     CFO
                                                       budget execwon data; fulfil sta:utory         Reporting Requirements for the f inancial   Treasury
                                                       requirement of 1017(a){4)(A}quarterty         Report of the united States Govemment"'
                                                       reports of financial condition a nd results
                                                       of operations
   OfP/CfO     Quarterty Financial Reports {CFO        Budget exeCUOOn by &idget category,           Dodd.frank§ 1017?                            Public (published   5/30/Z025    H     CFO
               updates)                                oM:sion. a nd largesrobftgations for each                                                    ondpb.gov)
                                                       qua.rter.


   OfP/CfO     o.uarterty Financial Reports {CFO       Budget exeCUOOn by &idget category,           QQdd-frant§lOlZ'                            Publi: ~blished      5/30/Z025    H     CFO
               Updates)                                DMsion. and largest obfigations for each                                                  on cfpb.gov)
                                                       quatter.
   OFP/CFO     Quarterty fa'lancial Reports (CfO       84.ldget exeoJtion by &Jdget category,        Dodd.frank § 1017?                          PUbli: (pubfished    5/30/2025    H     CFO
               updates)                                oM:sion,a nd targesrobftgations for each                                                  ondpb$")
                                                       quatter.
    oa,o       frlanciaJ Stabilty oversight oounol     The lnteragency Data inventory is a           Dodd.frank wall Street Reform and           fSOC                 5/31/2025    H     coo
               {FSOC) Daza Inventory                   product of t he Data C01'nrl'Wtte-e of the    OOnsiJmer Protection ACt of 2010
                                                       Fmancia1Stability oversight ooundl
                                                       (FSOC). lhe inventory catalogs the data
                                                       col1ec..ecl Of FSOC member organizations.
                                                       The inventoryconta~ information -
                                                       metadata - about eachda.a collection.
                                                       It does nO( contain t he unde.rfyYlg
                                                       da.tasets. For eadl data collection, the
                                                       inwrrtory has basic information, such ~
                                                       a brief description of the coflection,
                                                       coltecb'lg organization. and the name
                                                       and nurooer of the form used to conect
                                                       the data.
   OFP/CFO     semiannual Report of P"ayrne.nts        As required by the statute, the eureau        31 u .s.c. 1353                             OGE                  5/31/2025     y    CFO
               Aeeepted from a Non-Federal source      must submit to t he Director of the Office
                                                       of Govemment Ethics reports of
                                                       payments of more than S2.50 accepted
                                                       from non-Federal sourc~ for travel.
                                                       sUbsistence, and related expenses with
                                                       respect to an employee's attendance at
                                                       a.r,y meetwlg or similar function relating
                                                       to the offi:ial duties d the employe,e.
     T&I       Migratirc to Post-Quant um              8'( June 4, 2023, and annua.ly thereafte.r    M-23-02                                             OHS          6/4/2025      y    coo
               Oyptogaphy(fUnding Estimates)           until 2035, or as directed by supersedi~                                                          0MB
                                                       guidance, agencies are required to
                                                       submit to OHCO a nd 0MBan assessment
                                                       of the funding required to trigrate
                                                       information systems and assets
                                                       inventoried under this memorandum to
                                                       post-quant um ayi,tography during the
                                                       follOl.\'ing fiscal year.
     T&I       update to Memorandum M-22·18,           ~encies must subnit mwics on                  OMRM-23::16                                         0 MB         6/9/2025      y    CFO
               EnhanOOg the security ct the SOftware   coltected attestation letters for all
               supply Chain throogh secure software    software subject to t he requiremen.iS ot
               De'lel:opment Practices                 M-22·18, as amended by this
                                                       memorandum., ~ well as the on agency
                                                       approval of P°'81MsANO number d
                                                       extensions and waivers in place at each
                                                       agency.
   OfP/CfO     GTAS                                    submission of m:inmty finarcial a nd          Chapter 4700 of the ifM entitled ..Agenq    0MB                  6/1B/'Z025   H     CFO
                                                       budget executiC>n data; fulfil statutory      Reporting Requirements for the f inancial   Treasury
                                                       requirement of 1017{a)(4J(A}quarterly         Report of the unit.ed States GoWmment"'
                                                       reports ct financial condition and resulis

   OFP/CFO     Quarterty transfer Requests
                                                       of operat ions
                                                       Letters requesting transfer d funds from
                                                       the fed Reserve to CFPB
                                                                                                     Dodd.frank § 1017{al{1)                     ...
                                                                                                                                                 COflgres-s
                                                                                                                                                                      6/20/2025    H     OCR


   OfP/ PROC   Federal ActNities lnven::ory Report     The inventory depicts t he Cl'P8' s           Federal Actiwties Inventory Reform Act of   C0flgres:s.          6/30/2025     y    coo
               {FAIR)                                  workforce byfurctions (or acti'oities)        1998 (P.L 105-270) and OMBCircula.rA-76     OMB,MAX.GOV
                                                       performed by eureau employees. The            • COtnpetiti\,e sou~
                                                       Inventory further breaks down these
                                                       activities inro Inherently GO'Wmmental
                                                       (activities that can only be performed by
                                                       a Federal emplo,-,ee) a:ndO>rrmercial
                                                       (Aetivities that can be performed by
                                                       Federal or contract employees)
                                                       categories. The number of Full-Time
                                                       Equivalents (ms) is also displayed by
                                                       location.




                                                                                                                                                                                   CFPB_00094 JA376
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 ..,
  Sc.ottlu
  Senior Advisor 10 the Chief()peran·ng Qjficer Opt:ran·ons
  Consumw Finandal Protectfon Bureau (CFPB)
                                              4




                                                                                   CFPB_00095 JA377
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USCA Case #25-5091    Document #2113074                                   Filed: 04/25/2025 Page 383 of 637

  From:             Gueye, Jafnar (CFPB}
  To:               Chilbert, Christopher (CFPB): Johnson, Christopher (CFPB): Dorsey, Darian (CFPB}: Brown, Jason (CFPB):
                    Warren, LaShaun (CFPB): Vespa-Papaleo, f rank (CFPB): Huggins, Cassandra (CFPB): Gelfond, Rebecca (CFPB)
  Cc:               Martinez, Adam (CFPB): Malik, Irfan (CFPB): Mullins, Katherine (CFPB}: Chang, Jean (CFPB): James, Dana
                    (CFPB}: Galicki, Joshua (CFPB): Olson, Nicholas (CFPB)
  Subject:          RE: All Hands Message re: Work Required by Law
  Date:             Monday, March 3, 2025 11:39:29 AM


  TI1anks Cluis,

  To add to that, we're getting a lot of requests to turn contracts back on. I will send out guidance sho1tly
  but for your awareness we are not turning back on every contract we've had. We're taking a very narrow
  approach: if without the contract the Bureau can't meet a statut01y requirement then it will be
  considered for reactivation. Meaning that a contract enhancing our ability to meet a statuto1y
  requirement is not enough to get it back on. It needs to be the only way the bureau can currently meet that
  requirement .
  Also as you're providing justifications please be prepared to have to defend those to external patties.
  We've been routinely asked to provide for naines of the people providing tl1e justification.

  Respectfully,

  Jafnar

  From: Chilbert, Christopher (CFPB)
  Sent: Monday, March 3, 2025 10:22 AM
  To: Johnson, Christopher (CFPB)                                                  ; Dorsey, Darian (CFPB)
                                 ; Brown, Jason (CFPB)                                        ; Warren, Lashaun (CFPB)
                                  >; Vespa-Papaleo, Frank (CFPB)
                                                                           ; Gelfond, Rebecca (CFPB)


  Cc: Martinez, Adam (CFPB)
  Mullins, Katherine (CFPB)
  Subject: FW: All Hands Message re: Work Required by Law


  Colleagues -As you work to restart some tasks that had stopped, p lease be aware that some
  of our T&I capacity is reduced. If there are capabilities t hat need to be restored , please let me
  know as soon as possib le what specifically is needed and for what purpose.
  Thanks,


  Chris Chilbert



  -      Martinez, Adam (CFPB)                                         >
  Sent: Sunday, March 2, 2025 3:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta, Chief Legal Officer




                                                                                                              CFPB_00096 JA378
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USCA Case #25-5091    Document #2113074                      Filed: 04/25/2025 Page 384 of 637

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless “required by law” or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                        CFPB_00097 JA379
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USCA Case #25-5091    Document #2113074                                    Filed: 04/25/2025 Page 385 of 637

  From:               Olson. Nicholas (CFPB)
  To:                 Gueye. Jafnar (CFPB): Bolton. Nykea (CFPB); Martinez. Adam (CFPB)
  Cc:                 CFPB ReasonableAccommodations: CFPB Section508; Jones. Stacie (CFPB); Nassar. Shaba (CFPB): Galicki.
                      Joshua (CFPB)
  Subject:            RE: Request for contract reinstatement for legally/statutorily required approved DAPS work
  Date:               Monday, March 3, 2025 11:41:42 AM
  Attachments:        RE Entellitrak question. msq


  Nykea and all - Regarding the Entellitrak contract, Jafnar is coITect that it has been reinstated. See
  attached email. IfI recall coITectly, this one (1) Entellitrak contract covers all applicable CFPB
  Offices (each office used to have its own separate contract). Please note that from the attached
  email, from the vendor's Team: "Tyler says that they can get eve1ything up and rnnning by COB on
  Tuesday. If the sites also have SSO, it might take some additional steps, which could push to
  Wednesday."

  Sincerely,

  Nick Olson
  Procurement Team Lead I Office of Finance and Procurement
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov


  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
  the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Gueye, Jafnar (CFPB)
  Sent: Monday, March 3, 2025 11:33 AM
  To: Bolton, Nykea {CFPB)                                      >; Martinez, Adam (CFPB)

  Cc: CFPB ReasonableAccommodations
  CFPB Section508                                  ; Jones, Stacie {CFPB
  Nassar, Shaba (CFPB)                            ; Galicki, Joshua (CFPB)
  Olson, Nicholas (CFPB)
  Subject: RE: Request for contract reinstatement for legally/statutorily requ ired approved DAPS work

  Good morning Nykea,

  TI1ank you for reaching.
      • I'll double check but I thought Entellitrak was turned back on.

        • In general we are very narrowly turning back contracts (or p01tions of contracts) that directly
          supp01t statuto1y requirements. In other words if without the contract the bureau would fail to
          meet those requirements, we would turn it back on. If the contract enhances or otherwise
          supplements our ability to meet requirements, they are not being turned back on at this stage
          because in those cases the bureau can meet its requirement (even if minimally) without it. TI1ose
          contracts are subject to ftnther review in our ongoing efforts to streamline bureau operations.




                                                                                                               CFPB_00098 JA380
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      • For the ones you shared: can I please get a succinct justification for each contract you are
        requesting be reinstated? Specifically can you outline for each contract what (statuto1ily required)
        action will not be able to be accomplished at all without the contract? I can't stress enough that this
        needs to be as specific as possible. We'll need to be prepared to have someone on the team defend
        this justification to external paities.

      • All PCards across the bureau have been cancelled. We've been authorized to reopen one for the
        entire bureau with a ve1y limited limit so we are t1iaging the requests as they come in. I'm using
        the same c1iteria as above (i.e. directly being indispensable to meet a statutory requirement).

  Respectfully,

  Jafnar

  From: Bolton, Nykea (CFPB)
  Sent: Monday, March 3, 2025 11:10 AM
  To: Gueye, Jafnar (CFPB)                                  ; Martinez, Adam (CFPB)

  Cc: CFPB ReasonableAccommodations
  CFPB Section508
  Nassar, Shaba (CFPB)
  Subject: Request for contract reinstatement for legally/statutorily required approved DAPS work



  Good morning Jafn ar,

  I am reaching out after a ca ll I had w ith Adam last week.


  The Disability and Accessibility Program Section (DAPS) has been given permission to resume it s
  statutorily required work. To meet t he demands of the statutes governing our work, we must have
  the resources of our cont racts that were recent ly terminated. I have attached the Reasonable
  Accommodat ions (contract budgets sat w ith OMWI and T&I if tech aligned) and 508 (contract
  budget sat w ith T&I) cont racts t hat provide services/resources we must legally provide if/when
  needed by t he Bureau st aff and public. We also wou ld need our instance of t he Entellit rak syst em of
  record reinstated, as we are legally required to keep and maint ain a system of record for reasonable
  accommodations (we need access t o t he dat a previously entered and moving forward need a system
  to enter data in for processing and reporting efforts).

  Can you assist us wit h identifying if we can reestablish these necessary/requ ired cont racts?

  We are also trying to identify how we can do pcard purchases for incoming work, as well as paying
  invoices down t hat have been submitted due t o contract t erminations.

  We w ill have to identify some sort of solut ion to provide the services we must legally provide to
  individuals w it h disabilit ies here at t he Bureau and t o public customers/users of our products and
  services, ot herwise we could incur significant risks. I know this may take t ime to figure out, so any
  temporary solutions/processes would be helpf ul to identify if we can just t urn the cont racts back


                                                                                                 CFPB_00099 JA381
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  on. If they cannot be re-instated, we will need to find a permanent solution as quickly as possible.

  I am happy to meet to discuss the required needs and to answer any questions.

  Thanks for your support!


  Nykea Bolton
  Section Chief, Disability and Accessibility Programs Section
  Consumer Financial Protection Bureau
  Consumerfinance.gov




                                                                                            CFPB_00100 JA382
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  From:               Martinez. Adam (CFPB)
  To:                 Tirrell. Pax (CFPB); Rosenthal. Lisa (CFPB)
  Cc:                 Paoletta. Mark (CFPB); Huggins. Cassandra (CFPB); Hagins. Calvin (CFPB)
  Subject:            RE: All Hands Message re: Work Required by Law
  Date:               Monday, March 3, 2025 12:41:00 PM


  Pax - Please feel free to seek guidance from your supervisor and Supervision Front
  Office. Any questions or concern s you h ave sh ould be sh ared w i th Casey and Calvin
  who can then advise our Chief L egal Officer receive clarification.

  Adam Martinez
  Chief Operating Officer

  From: Ti rrell, Pax (CFPB)
  Sent: Monday, March 3, 2025 11:46 AM
  To: Martinez, Adam (CFPB)
  Cc: Paolet ta, Mark (CFPB)
  Subject: RE : All Hands Message re: Work Required by Law

  My current understanding was that supervisory work was supposed to stop .
  But under 12 USC 5514(b)(1) the Bureau "shall require reports and conduct exanlin ations
  on a periodic basis" of non-deposi tory institutions. Therefore exanlin ati on work of non-
  deposi to1y institutions app ears to be a st atutorily r equir ed function. Coul d you please
  authorize m e to work on sch eduled examinations of non-depository i nstitutions?

  Confidentiality Notice: If y ou receiv ed this email by mistake, you should notify the sender of the mistake and delete
  the e-mail and any attachments. An inadv ertent disclosure is not intended to w aive any privileges.


  From: Martinez, Adam (CFPB)
  Sent: Sunday, March 2, 2025 12:33 PM
  Cc: Paolet ta, Mark (CFPB)
  Subject: All Hands Message re: Work Required by Law


  Message from Mark Paoletta, Chief Legal Officer


  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless " required by law" or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  whi le ensuring that it would continue to fu lfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.




                                                                                                         CFPB_00101 JA383
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  It has come to my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                     CFPB_00102 JA384
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From:                              Paoletta, Mark (CFPB)
Sent:                              Monday, March 03, 2025 8:07 PM
To:                                Carmer, Alan (CFPB); Martinez, Adam (CFPB)
Cc:                                _DL_CFPB_CRE_FinEd_FinEd_All
Subject:                           RE: All Hands Message re: Work Required by Law


Good evening, Alan,

Thanks for your email. Consistent with my email, you should be performing these statutorily required duties.

Thanks.

Mark

From: Carmer, Alan (CFPB)
Sent: Monday, March 3, 2025 3:15 AM
To: Martinez, Adam (CFPB)
Cc: Paoletta, Mark (CFPB)                              ; _DL_CFPB_CRE_FinEd_FinEd_All

Subject: RE: All Hands Message re: Work Required by Law

Mr. Martinez,

I believe all the work in the Office of Financial Education is statutorily authorized and mandated. Please make clear
whether the Office of Financial Education staff should resume their assigned duties to improve the financial literacy of
consumers. A general outline of statutory responsibilities follows:

        12 U.S.C § 5411(c)(1) states that “conducting financial education programs” is the first of several “primary
         functions” of the CFPB. This work has been halted and should resume.
        12 U.S.C. § 5493(d ) requires the Office of Financial Education to develop and implement a strategy to improve
         the financial literacy of consumers. This work has been halted and should resume.
        12 U.S.C. § 5493(d)(2) states the office shall implement activities in several areas including financial counseling,
         savings, understanding credit scores, and debt strategies. This work has been halted and should resume.
        12 U.S.C. 5493(d)(2)(D)(iii) states the office shall implement activities to “improve the financial situation of the
         consumer.” This work has been halted and should resume.
        12 U.S.C. 5493(d)(3) requires staff to coordinate with other units in the bureau and specifically lists the Consumer
         Affairs Office and the research unit. This work has been halted and should resume.
        (see 20 U.S.C § 9702) Financial Literacy and Education Commission (FLEC).
             o 20 USC § 9702(d) states that the Director of the CFPB serves as the co-Chair of the Financial Literacy
                 and Education Commission (FLEC) with the Treasury Secretary as the chair.
             o 20 U.S.C. § 9702(c)(1) states that the FLEC comprises representatives from 23 federal agencies and the
                 White House Domestic Policy Council.
             o 20 U.S.C § 9702(e) states the FLEC must hold a public meeting every 4 months. The last meeting was on
                 11/14/2024. Staff planning for the next meeting has been halted and should resume.
             o 12 U.S.C. § 5493(d)(2) states the Office of Financial Education must work in consultation with the
                 FLEC. This work has been halted and should resume.
        12 U.S.C. § 5493(d)(4) requires an annual report to Congress on the CFPB’s strategy and activities to improve
         financial literacy. This work has been halted and should resume.


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                                                                                                     CFPB_00103 JA385
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I have served through each change of administration in the CFPB and fully expect any new director or acting director to
communicate new priorities through management. Indeed, the Office of Financial Education has experienced multiple
reorganizations and has been in at least 3 different divisions as priorities evolve with changes in leadership. Each
reorganization was disruptive in its own way, but our work was never halted entirely as it seems to be now.

Again, please clarify that Office of Financial Education staff should resume their assigned duties to improve the financial
literacy of consumers until new leadership is able to clearly communicate a change in financial education priorities.

The primary statute relied upon to establish the Office of Financial Education is copied below the signature for reference.

Alan S. Carmer
Attorney-Advisor
Office of Financial Education
Mobile:

Consumer Financial Protection Bureau
consumerfinance.gov

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attachments. An inadvertent disclosure is not intended to waive any privileges.




12 U.S.C. § 5493(d)
(1)Establishment
The Director shall establish an Office of Financial Education, which shall be responsible for developing and
implementing initiatives intended to educate and empower consumers to make better informed financial decisions.

(2)Other duties
The Office of Financial Education shall develop and implement a strategy to improve the financial literacy of consumers
that includes measurable goals and objectives, in consultation with the Financial Literacy and Education Commission,
consistent with the National Strategy for Financial Literacy, through activities including providing opportunities for
consumers to access—
(A)financial counseling, including community-based financial counseling, where practicable;
(B)information to assist with the evaluation of credit products and the understanding of credit histories and scores;
(C)savings, borrowing, and other services found at mainstream financial institutions;
(D)activities intended to—
(i)prepare the consumer for educational expenses and the submission of financial aid applications, and other major
purchases;
(ii)reduce debt; and
(iii)improve the financial situation of the consumer;
(E)assistance in developing long-term savings strategies; and
(F)wealth building and financial services during the preparation process to claim earned income tax credits and Federal
benefits.
(3)Coordination
The Office of Financial Education shall coordinate with other units within the Bureau in carrying out its functions,
including—
(A)working with the Community Affairs Office to implement the strategy to improve financial literacy of consumers; and
(B)working with the research unit established by the Director to conduct research related to consumer financial
education and counseling.
(4)Report
Not later than 24 months after the designated transfer date, and annually thereafter, the Director shall submit a report on
its financial literacy activities and strategy to improve financial literacy of consumers to—
(A)the Committee on Banking, Housing, and Urban Affairs of the Senate; and
                                                                    2
                                                                                                                CFPB_00104 JA386
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(B)the Committee on Financial Services of the House of Representatives.




From: Martinez, Adam (CFPB)
Sent: Sunday, March 2, 2025 12:33 PM
Cc: Paoletta, Mark (CFPB)
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal O icer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal O icer
CFPB




                                                           3
                                                                                                CFPB_00105 JA387
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From:                            Paoletta, Mark (CFPB)
Sent:                            Monday, March 03, 2025 8:11 PM
To:                              Martinez, Adam (CFPB); Muchnik, Irina (CFPB); Chilbert, Christopher (CFPB); Malik, Irfan
                                 (CFPB)
Cc:                              Sayre, Stephen (CFPB); Scott, Adam (CFPB)
Subject:                         RE: All Hands Message re: Work Required by Law


Good evening, Irina,

Yes, I concur with Adam’s guidance.

Thanks.

Mark

From: Martinez, Adam (CFPB)
Sent: Monday, March 3, 2025 10:05 AM
To: Muchnik, Irina (CFPB)                          ; Chilbert, Christopher (CFPB)
Malik, Irfan (CFPB)
Cc: Paoletta, Mark (CFPB)                            Sayre, Stephen (CFPB)                               >; Scott, Adam
(CFPB)
Subject: RE: All Hands Message re: Work Required by Law

Hi Irina. Please work with Chris and Irfan to shift any resources needed to comply with the statute
and any applicable laws/regulations. Thank you.

Adam Martinez
Chief Operating Officer

From: Muchnik, Irina (CFPB)
Sent: Monday, March 3, 2025 10:02 AM
To: Martinez, Adam (CFPB)
Cc: Paoletta, Mark (CFPB)                           ; Sayre, Stephen (CFPB)                               ; Scott, Adam
(CFPB)                        >
Subject: Re: All Hands Message re: Work Required by Law

Hi Adam,
Based on every email starting 2/10 the unambiguous guidance was to stop all work tasks, no stipulation
of statue requirements was made.

As of today, Consumer Complaint Database(CCDB) has not had been refreshed with new data since
02/22/2025 and displays an eror banner:
https://www.consumerfinance.gov/data-research/consumer-
complaints/search/?chartType=line&dateInterval=Month&dateRange=3y&date received max=2025-02-
21&date_received_min=2022-02-21&lens=Product&searchField=all&subLens=sub_product&tab=Trends


                                                           1
                                                                                                   CFPB_00106 JA388
          Case 1:25-cv-00381-ABJ Document 56-1 Filed 03/04/25 Page 107 of 116
     USCA Case #25-5091       Document #2113074           Filed: 04/25/2025    Page 394 of 637
Dodd Frank mandates:
The Consumer Financial Protection Bureau (CFPB) to maintain a public database where consumer
complaints against financial institutions are recorded and published, ensuring transparency in the
financial marketplace; this database is commonly referred to as the "CFPB Consumer Complaint
Database”.

I am seeking authorization to fix underlying issue with data pipelines which load data for
CCDB. Since the Data Products team lost all other developers when all contracts were
canceled, I am also seeking authorization to utilize other member of D&D and EDA to assist
as needed.

Thanks for your prompt attention,

Irina Muchnik



From: Martinez, Adam (CFPB)
Date: Sunday, March 2, 2025 at 3:33 PM
To:
Cc: Paoletta, Mark (CFPB)
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal Officer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal Officer
CFPB



                                                          2
                                                                                                CFPB_00107 JA389
            Case 1:25-cv-00381-ABJ Document 56-1                   Filed 03/04/25 Page 108 of 116
        USCA Case #25-5091    Document #2113074                      Filed: 04/25/2025 Page 395 of 637


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From:                              Paoletta, Mark (CFPB)
Sent:                              Monday, March 03, 2025 8:14 PM
To:                                Pappalardo, Janis (CFPB)
Cc:                                Martinez, Adam (CFPB); Shapiro, Daniel (CFPB)
Subject:                           RE: All Hands Message re: Work Required by Law



Good evening, Jan is,

Thanks for email. Please proceed with your proposed implementation strategies.

Thanks.

Mark

From: Pappalardo, Janis (CFPB)
Sent: Monday, March 3, 2025 1
To: Paoletta, Mark (CFPB)
Cc: Martinez, Adam (CFPB)                              Shapiro, Daniel (CFPB)
Subject: RE: All Hands Message re: Work Required by Law

Hi Mark,

I hope this note find you well !

I am reaching out to ensure that RMR meets your expectations on the scope and implementation of your
March 2 guidance and guidance we received last week from Adam Martinez.

Scope: I understand that RMR is authorized to conduct all regu lar work related to fu lfilling statutory
obligations and/or work required by law, including regular management activities, albeit with limits on contact
with outside parties. For example, I understand that we are authorized to perform work to comply with The
Dodd-Frank Act and other laws and statutes, such as Section 502(a) of the Consumer Credit Card Market Act of
2009.

The RMR leadership team and I have reviewed our work against provisions of Dodd-Frank and other
statutes. I believe that v irtua lly all our work is conducted to meet the CFPB's statutory obligations. This
implies that I expect we will bring v irtually all RMR staff back to work.

Implementation:

Outside Party Communication: According to the February 27 guidance from Adam Martinez: "Any actions or
communications with outside parties must be sent to Mark Paoletta, Chief Legal Officer and Daniel Shapiro,
Deputy Chief Legal Officer." Given the volume and nature of communications involved in carrying out our
work, I understand that this is difficult to implement. I also understand that you recently approved Assistant
Director McNamara's request to conduct statutorily required market monitoring, with a cc to Adam, Daniel,
and you on substantive matters, but not on schedu ling and maintenance issues and that the Office of Markets


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                                                                                               CFPB_00108 JA390
              Case 1:25-cv-00381-ABJ Document 56-1                           Filed 03/04/25 Page 109 of 116
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will make you and Daniel aware of market monitoring meetings. We plan to apply this same understanding to
external monitoring communications by other RMR Offices.

I am proposing some additional implementation strategies for all RMR, below. Please let me know if you have
any questions or concerns about these proposals.

      •     That communications within the federal government, with contracted entities, and within the Federal
            Reserve system that help us fulfill our statutory responsibilities will be pre-approved and not require
            your involvement. For example, a regular meeting with Federal Reserve system researchers about
            developments in risks to household financial stability can continue.
      •     That we resume engagement with outside researchers and other parties to advance the Bureau's
            research responsibilities. This would include discussing research findings in meetings, workshops, and
            conferences with other government agencies, presenting research findings at academic conferences,
            and attending research conferences. We expect to follow the usual Bureau procedures for authorizing
            and clearing any presentations and conference attendance and will alert you and Daniel prior to any
            presentation or attendance at a non-governmental conference.
      •     That internal reports go forward without prior approval.
      •     That we will await guidance on publishing material on the Bureau website, although refreshing data on
            the Bureau website for the Consumer Credit Trends and Mortgage Performance Trends will continue.
      •     That we will resume disseminating our research findings under the Independent Research Policy. This
            includes resuming posting on the working paper series on Social Sciences Research Network, an outlet
            for disclaimed research, and in proceeding with academic publications.
      •     That we resume the regulatory inquiries function through which the Office of Regulations responds to
            requests from external parties, particularly small businesses, for informal guidance on regulatory
            matters. This is one of several tools the office uses to comply with its SBREFA obligations.

Please let me know if there is specific work that you would like us to move forward on or hold. Absent specific
direction, I will use my discretion and best judgment to assign statutorily required work to staff.

Respectfully yours,

Jan


Janis K. Pappalardo
Deputy Associate Director and Acting Associate Director
R e s e a r c ~ n d Regulations
Mobile:- - -

Consumer Financial Protection Bureau
consumerfinance.gov


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attachments. An inadvertent disclosure is not intended to waive any privileges.




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                                                                                                                CFPB_00109 JA391
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     USCA Case #25-5091    Document #2113074                        Filed: 04/25/2025 Page 397 of 637
From: Martinez, Adam (CFPB)                             >
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB)
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal OƯicer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal OƯicer
CFPB




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                                                                                                CFPB_00110 JA392
          Case 1:25-cv-00381-ABJ Document 56-1                               Filed 03/04/25 Page 111 of 116
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From:
Sent:
                                       Huggins, Cassandra (CFPB) <
                                       Tuesday, March 4, 2025 5:13 PM
                                                                                                      >

To:                                    Paoletta, Mark (CFPB)
Cc:                                    Hagins, Calvin (CFPB); Martinez, Adam (CFPB); Shapiro, Daniel (CFPB); Vought, Russell
                                       (CFPB); _DL_CFPB_Supervision_ALL
Subject:                               RE: request for clarification for Supervision staff- FW: All Hands Message re: Work
                                       Required by Law
Attachments:                           FW: All Hands Message re: Work Required by Law


Mark,

I am acknowledging that I received and read your email.

I am a aching, as requested, the email that I sent to Supervision staﬀ. I did not provide this email to the media, and I do
not know who did.

I did not intend to undermine the new administra on’s ability to supervise agency staﬀ- my only inten on was to ensure
that our staﬀ did not act against the direc on in the February 8 email from Ac ng Director Vought to cease all
supervisory and examina on ac vity. I will work with Supervision leadership to prepare the reports you have requested,
and will request that all supervision staﬀ provide the informa on you requested, by the stated deadline.

Thank you.

Cassandra Huggins

Mobile:
        -
Principal Deputy Assistant Director | Supervision Policy & Operations



Consumer Financial Protection Bureau
consumerfinance.gov



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attachments. An inadvertent disclosure is not intended to waive any privileges.


From: Paoletta, Mark (CFPB) <                             >
Sent: Tuesday, March 4, 2025 4:51 PM
To: Huggins, Cassandra (CFPB) <                                   >
Cc: Hagins, Calvin (CFPB) <                          >; Martinez, Adam (CFPB) <                          >; Shapiro,
Daniel (CFPB)                               >; Vought, Russell (CFPB) <                       >;
_DL_CFPB_Supervision_ALL                                                >
Subject: RE: request for clarification for Supervision staff- FW: All Hands Message re: Work Required by Law

Good afternoon, Cassandra,

I am writing to raise signiﬁcant concerns regarding an internal agency communication you apparently sent
yesterday that directly contradicts an email from me to all CFPB sta about my direction for all sta to perform all
statutorily required work.

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                                                                                                                CFPB_00111 JA393
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     USCA Case #25-5091    Document #2113074                        Filed: 04/25/2025 Page 399 of 637
In an email Adam Martinez sent on Sunday (March 2nd) conveying a message from me to the entire CFPB sta , I
directed ALL CFPB sta to perform all work required by law and that they did not need to seek prior approval to do
so. Nothing I have said or written since then contradicts that. You reached out to me yesterday, and as I am dual
hatted and have job duties at OMB, I was not able to review and respond to your email yesterday. But I read a news
report in Reuters that you reportedly sent an internal agency communication claiming that “We have requested
and received clariﬁcation that their message was not intended to authorize the reinstatement of
supervision/examination activity, even though the Bureau is required by law to carry out these activities.”

Importantly, you did not receive that message from me. You apparently relied on an email from Adam, but his
email refers you to Acting Director Vought’s February 8th email which speciﬁcally states that you are to perform any
work “required by law.” And he encouraged you to communicate with me, and presumably, wait to hear from me
before sending out an email that directly contradicted my message on March 2 nd to CFPB employees.

I am concerned that you sent out an internal agency communication on such an unfounded basis that is false and
directly contradicts my March 2nd message without ﬁrst getting conﬁrmation directly from me. Your actions
severely undermine the Agency leadership’s ability to supervise the agency sta and to ensure that statutorily
required duties are being performed.

Moreover, your internal communication somehow made its way to the press, further undermining our e orts to
supervise agency sta .

Let me be clear to you and the entire supervision o ice, which I have cc’d on this email: You are authorized and
directed to work on matters speciﬁcally required by statute. That said, it is of course within the new leadership’s
discretion as to what matters CFPB will focus on.

The Bureau’s new leadership seeks to understand the status of all of the agency’s actions so it can align such
actions to the Bureau’s new priorities consistent with law. We have been aided in doing so by reports prepared by
the Enforcement Division, Legal Division, and O ice of Regulations showing the status of all actions within their
respective purview, upcoming deadlines, statutory requirements, and other relevant matters. Such information is
vital to allowing new leadership to ensure the Bureau is faithfully executing the law. And in fact, I have approved
numerous requests from these and other divisions to perform work that is statutorily required or mission-aligned
with the new leadership.

Accordingly, I am directing you to prepare a report for the Bureau’s leadership providing a description of all
pending examination actions, including their current status. Provide the name of the lead CFPB examiner on each
matter, and the contact information for the lead attorney for the company under examination.

As part of this report, please ﬂag any particular actions that you believe are speciﬁcally required by
statute. Leadership will review it and determine which actions to continue to pursue and to close.

Additionally, please notify every employee in your division to provide to me a written summary of the speciﬁc
matters they are working on, with the name of the entity being examined, how the matter was commenced and
approximately how many hours they have spent on the matter.

Please submit your report and direct every employee in your division to submit their response to me by COB
Monday, March 10th.

Please conﬁrm by 6 pm today that you have received and read this email.

Please forward to me by 6 pm the internal agency communication you reportedly sent that is quoted in the Reuters
news report.


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                                                                                                CFPB_00112 JA394
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Finally, did you provide your internal agency communication to the media or do you know who provided it? Please
provide your answer to me by 6 pm today.

Thank you for your prompt attention to this matter.


Mark

Mark Paoletta
Chief Legal O icer
CFPB



From: Huggins, Cassandra (CFPB) <                                   >
Sent: Monday, March 3, 2025 10:33 AM
To: Paoletta, Mark (CFPB) <                             >
Cc: Hagins, Calvin (CFPB) <                          >
Subject: request for clarification for Supervision staff- FW: All Hands Message re: Work Required by Law

Good morning Mark,

I’ve received a number of messages from staﬀ who are understandably confused by the informa on in the email sent by
Adam Mar nez. I would like to get clariﬁca on on what exactly Supervision staﬀ is expected to be doing. I did reach out
to Adam, and although he did say that supervision/examina on ac vity is not to resume, he encouraged me to reach out
to you directly for conﬁrma on.

The Ac ng Director’s February 8 message directed the stoppage of all supervision and examina on ac vity, despite the
fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the Bureau to conduct such supervisory
ac vi es). We’ve also stopped all work suppor ng supervision and examina on ac vity, including opera onal ac vi es
such as policy/procedure development; quality management reviews; systems and registra on oversight; repor ng,
analy cs, monitoring, exam priori za on/scheduling; and human capital ac vi es that support supervision. We’ve also
told staﬀ to not engage in ac vi es requiring coordina on with par es outside of the Bureau, including coordina on
with other federal/state regulatory agencies, par cipa on on FFIEC task forces/subcommi ees, or engagement with
supervised en es.

Supervision staﬀ has been authorized to work on some isolated tasks (                                              ,a
handful of brieﬁngs/informa on gathering for Sr. leadership, and administra ve tasks like WebTA/Concur approval), but
otherwise it is my understanding that they should con nue to operate on administra ve leave unless a discrete
ac vity has been approved. Please conﬁrm that the message you sent is not intended to authorize the reinstatement
of supervision/examina on ac vity and the ac vi es that support this func on despite the fact that the Bureau is
required by law to conduct these ac vi es.

Thanks,
Casey


Cassandra Huggins

Mobile:
          -
Principal Deputy Assistant Director | Supervision Policy & Operations



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                                                                                                  CFPB_00113 JA395
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attachments. An inadvertent disclosure is not intended to waive any privileges.


From: Martinez, Adam (CFPB) <                                     >
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB) <                       >
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal O icer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal O icer
CFPB




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                                                                                                                CFPB_00114 JA396
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      USCA Case #25-5091    Document #2113074                                  Filed: 04/25/2025 Page 402 of 637


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From:
Sent:
                                       Huggins, Cassandra (CFPB) <
                                       Monday, March 3, 2025 12:13 PM
                                                                                                         >

To:                                    _DL_CFPB_Supervision_ALL
Subject:                               FW: All Hands Message re: Work Required by Law


Supervision staﬀ,

Calvin and I know that there is quite a bit of confusion surrounding the message we received from Adam Mar nez/Mark
Paole a on March 2. We have requested and received clariﬁca on that their message was not intended to authorize
the reinstatement of supervision/examina on ac vity, even though the Bureau is required by law to carry out these
ac vi es. We are also not to resume any func ons that support the supervision/examina on program, and are not to
communicate with par es outside of the Bureau on Bureau ma ers without receiving approval from the Chief Legal
Oﬃcer.

It has been communicated to me that Supervision staﬀ should con nue to operate on administra ve leave as directed
by the Ac ng Director unless you have received express permission to work on a task. In general, this permission will
come from Calvin, me, or your supervisor. Please do not work on anything else without authoriza on. If you have a
ques on about whether you’ve been authorized to perform a task, please reach out to your supervisor. As a reminder,
staﬀ have been given permission to conduct some administra ve tasks such as valida ng/cer fying mecards in WebTA
and submi ng/approving vouchers in Concur. Some staﬀ have also been authorized to work on discrete tasks and may
con nue to work on those as directed.

OSPO managers- if your teams are responsible for carrying out any other statutorily-mandated ac vi es and you aren’t
sure whether they fall under the broader umbrella of supervisory or examina on ac vity or ac vi es that support this
func on, please send me an email with the ac vity and the speciﬁc statutory language that requires it, and I will send a
request to the Chief Legal Oﬃcer.

Thanks,
Casey


Cassandra Huggins

Mobile:
          -
Principal Deputy Assistant Director | Supervision Policy & Operations



Consumer Financial Protection Bureau
consumerfinance.gov



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attachments. An inadvertent disclosure is not intended to waive any privileges.


From: Martinez, Adam (CFPB) <                                     >
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB) <                       >
Subject: All Hands Message re: Work Required by Law

Message from Mark Paoletta, Chief Legal O icer
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                                                                                                                CFPB_00115 JA397
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On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any statutorily
required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several classes of
work unless “required by law” or expressly approved by the Acting Director. On February 10, 2025, you received an
email from Acting Director Vought directing you to reach out to me for the authorization required by the February 8
email. These measures were intended to ensure that new leadership could establish operational control over the
agency while ensuring that it would continue to fulfill its statutory duties. Many of you understood this and
continued to perform functions required by law and sought approval from me to perform work, which I have
promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required work.
Let me be clear: Employees should be performing work that is required by law and do not need to seek prior
approval to do so. If you have any questions, please reach out to me immediately, and I will promptly give you an
answer and authorization if warranted. If you are aware of other employees that are needed to assist you in
performing a statutorily required task but are not doing so, please raise this with me immediately.

Thank you for your attention to this matter.

Mark Paoletta
Chief Legal O icer
CFPB




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                                                                                                CFPB_00116 JA398
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 INDEX OF EMAILS, TEXT MESSAGES, AND OTHER COMMUNICATIONS (MARCH 4, 2025)

  Exhibit   Date                                     Description
    A       2/11   Email to contracting officers with subject line “Urgent Action: Contract
                   Termination and Continuation Notifications (Emails)”
    B       2/11   “Urgent update” to contracting officers with “direction to terminate all
                   Enforcement, … Supervision, … External Affairs, … Consumer Response,
                   … [and] Office of Director” contracts
    C       2/11   Adam Martinez memorandum terminating probationary employees
    D       2/11   Notice to NCLC regarding CFPB’s “blanket Stop Work Order”
    E       2/11   Email from Adam Martinez regarding civil penalty fund and returning
                   CFPB’s money to Federal Reserve
    F       2/11   Email from Consumer Response identifying contracts that directly support
                   its statutory requirements
    G       2/12   Termination of NCLC contract
    H       2/13   Adam Martinez memorandum terminating the Student Loan Ombudsman
     I      2/13   Memo from Matthew Pfaff regarding staffing at Consumer Response
    J       2/14   Email instructing all staff to “exercise administrative leave”
    K       2/17   Email regarding closure of regional offices
    L       2/18   Email from Christopher Chilbert (CFPB Chief Information Officer)
                   declining request to fix the CFPB’s homepage
    M       2/26   Email regarding discontinuation of “Citrix Virtual Desktop”
    N       2/27   Auto-response from HR regarding “recent or impending separation”
    O       2/27   Email directing employees to retrieve personal belongings from CFPB
                   building and return CFPB equipment
    P       2/27   Email from Adam Martinez regarding “Statutory/Legal Required Work”
    Q       2/28   Email from Assistant Director of Research regarding resumption of
                   “statutory work”
    R       2/28   Emails with Francis Doe regarding statutorily mandated reports
    S       2/28   Text message telling Francis Doe to “stand down until further notice”
    T       3/1    Email to Office of Finance and Procurement inquiring about statutory
                   requirements
    U       3/3    Email to supervision examiners asking them to “refrain from all work
                   activity other than ministerial tasks” pending further guidance
    V       3/3    Email instructing supervision staff to “continue to comply with the stop work
                   order”
    W       3/3    Email notifying supervision staff that Martinez and Paoletta’s 3/2 email do
                   not authorize them to carry out activities “required by law”
    X       3/3    Email from CFPB’s CFO discussing “very narrow approach” to “turning
                   back on … contract[s]”



                                                                                                   JA399
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    Y     3/3   Status update on Research, Monitoring, and Regulations’ ability to “comply
                with the directive to resume statutory responsibilities”
    Z     3/3   Email about “getting the [Consumer Complaint Database] back up and
                running”
    AA    3/3   Email to operations about “statutory requirements”
    BB    3/3   Email providing probationary employee with Notification of Termination
                (approved on 2/13) pursuant to “E.O. 14210 and the stop work email from
                Russ Vought”
    CC    3/3   Email providing term employee with notification of Termination (approved
                on 2/15) pursuant to “E.O. 14210 and the stop work email from Russ
                Vought”
    DD    3/4   Email from Christopher Chilbert declining request to fix the homepage
    EE    3/4   Email from CFO in response to request to pay for Google Analytics
                platform, without which CFPB “will lose all historical data”
    FF    3/4   Email chain between Mark Paoletta and Cassandra Huggins about status of
                Supervision
   GG     3/4   Screen shot of “CFPB Tip Line” taken from X on March 4 at 11:05 PM
   HH     3/4   White House statement says that “President Trump ordered the” CFPB “to
                halt operations”




                                                                                             JA400
       Case 1:25-cv-00381-ABJ Document 60                 Filed 03/05/25 Page 1 of 2
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,
                 Plaintiffs,
       v.

  RUSSELL VOUGHT, in his official capacity            Case No. 25-cv-0381-ABJ
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                        Defendants.


                                      NOTICE OF ERRATA

        Attached is a corrected, text-searchable version of the communications filed as an exhibit

 to ECF No. 57.


                                                     Respectfully submitted,


                                                     Dated: March 5, 2025

                                                     /s/ Deepak Gupta
                                                     Deepak Gupta (DC Bar No. 495451)
                                                     Robert Friedman (DC Bar No. 1046738)
                                                     Gabriel Chess (DC Bar No. 90019245)*
                                                     Gupta Wessler LLP
                                                     2001 K Street, NW
                                                     North Tower, Suite 850
                                                     Washington, DC 20006
                                                     (202) 888-1741

                                                     Jennifer D. Bennett (pro hac vice)
                                                     Gupta Wessler LLP
                                                     505 Montgomery Street
                                                     San Francisco, CA 94111
                                                     (415) 573-0335

                                                     Wendy Liu (DC Bar No. 1600942)
                                                     Adam R. Pulver (DC Bar No. 1020475)
                                                     Allison M. Zieve (DC Bar No. 424786)
                                                     Public Citizen Litigation Group


                                                 1
                                                                                                     JA401
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                                        1600 20th Street NW
                                        Washington, DC 20009
                                        (202) 588-1000

                                        Counsel for Plaintiffs

                                        * motion for admission pending

                                        Julie Wilson (DC Bar No. 482946)
                                        General Counsel
                                        Paras N. Shah (DC Bar No. 983881)
                                        Deputy General Counsel
                                        Allison C. Giles (DC Bar No. 439705)
                                        Assistant Counsel
                                        National Treasury Employees Union
                                        800 K Street, NW, Suite 1000
                                        Washington, DC 20001
                                        (202) 572-5500

                                        Counsel for Plaintiff National Treasury Employees
                                        Union




                                    2
                                                                                    JA402
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              Exhibit A




                                                                             JA403
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  ContractingOfficers,
  Thank you for loggingon - we really appreciateit. Pleasetake a few minutesto read throughthe
  info1mationbelow. I am *not*"Blind CarbonCopying"(BCC'ing) you all, like I usually do. So, if you
  notice any huge "red flags" in the guidancebelow,please "ReplyAll" and Josh, Vanessa,Laurent,and/or
  I can get you answers as a group. We need to get theseTenninationNotificationsout ASAP.
  We have been and will be receivinginformationon a "rolling" basis. Shortly,you will receive access to a
  Spreadsheetowned by Mike Gleason(copiedhere) that includescontractactions for CRE. We will
  receive Spreadsheetsfrom other Offices/ Divisionssho1tly.Mike G. will do his best to combinethose
  Spreadsheetsifi'whenpossible,but since there is time sensitivityhere, we are asking you to push fo1ward
  with what we have.
  Here is how we're requestingyou issue Te1minationfor ConvenienceNotificationsand Continuationof
  Se1vicesemails in the cominghours (ASAP):
     • The Spreadsheetsyou receive will includecontractswhere a Te1minationfor Convenienceis
       required (denotedby a "T4C" in the "Disposition"columnto the far tight within the
       Spreadsheet)as well as contractsthat shall continue(again, as identifiedin the "Disposition"
       column).
     • We are askingyou to send a separateemail for each contractthat requires a Te1mination
       Notification,as well as each contractthat is authorizedto continue(see below for requiredemail
       notificationwording).
            o   We understandthat "one-by-oneemails" obviouslymeans "more emailsto send," but there
                are many logisticalentanglementsthat make sendinga "BCC" email to all vendors
                impossibleand unadvisable. In paiticular,we have alreadyidentified"overlap" where
                some Vendorshave contractsthat must be Tenninatedfor Convenience*and*contractsthat
                will Continue(essentialse1vicesor othe1wise).We anticipateadditional"overlap,"as well.
     • The Spreadsheetsmay includeVendorPOCs (ContractManageremail addresses)for the contracts
       at issue, but please confnm they are conect before sendingany communications.Please fmd
       VendorPOCs in your contractsor emails, if needed.
     • For Te1minationNotifications: Please create a separate"Tennination"folderwithin the
       Modificationsfolder,and save the Te1minationemail in it. That way, when the fom1al
       Modificationto Temlinatefor Convenienceis issued at a later date, the notificationis there for
       easy reference.
     • For Continuationof Se1vicesnotifications: Please save the email in the Post-Awai·dfolderused
       for communicationswith the vendor/contractor.
     • Use the Spreadsheetsto denote when you have sent the Te1minationNotificationor the
       Continuationof Se1vicesNotification(again, see below for requiredwording). The Spreadsheets
       will have an "Email Sent to Vendor"column,where you should list "Yes" once you have sent and
       saved the applicableemail (Te1minationor Continuationof Se1vices).
            o   We will use these Spreadsheetsto Track our progress,and we will discuss these at the
                ProcurementPipelineMeetingtomonow (Wednesday)morning.

 RequiredEmailNotificationWording

 For contractsthat require a Te1minationNotification,please send the followingemail (one email for each
 respectivecontract):
                                                                                                            JA404
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USCA Email
     CaseSubject:
           #25-5091    Document
                  Termination      #2113074of the Government
                              for Convenience       Filed: 04/25/2025      Page Contract
                                                              – Contract # Insert 410 of 637
       Number



       Pursuant to FAR clause 52.212-4(l), the Consumer Financial Protection Bureau (CFPB) hereby
       terminates in its entirety the subject contract, effective today. As such, you are directed to
       immediately stop all work under the subject contract, terminate all subcontracts, and place no further
       orders. You are also directed to provide by electronic means similar instructions to all
       subcontractors and suppliers. You are required to keep detailed, individual records of your steps
       taken and expenditures, if any, you intend to claim as a result of the CFPB terminating this contract.
       We request that you provide within 30 days the entirety of the termination settlement proposal(s), if
       any, you will be submitting for the subject contract. Finally, it is necessary that you immediately
       confirm receipt of this termination for convenience notice via an electronic mail (e-mail) response to
       me, the Contracting Officer for the subject contract.



  For contracts that shall continue, please send the following email (one email for each respective
  contract):



       Email Subject: Continuation of Services Notification – Contract # Insert Contract Number



       You might have received a blanket Stop Work Order from the Office of Finance and Procurement
       yesterday. Please note that you are being instructed to continue work on the subject contract and
       there will not be a work stoppage. The Office of Finance and Procurement will follow up if there are
       any additional changes in direction.



  Again, thank you so much for your work on these! Please monitor your email for the first (and future)
  Spreadsheet(s) from Mike Gleason. Thank you!!



  Sincerely,

  Nick Olson

  Procurement Team Lead | Office of Finance and Procurement

  Mobile:



  Consumer Financial Protection Bureau
  consumerfinance.gov




  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
  the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.



                                                                                                                          JA405
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              Exhibit B




                                                                             JA406
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  From: Galicki, Joshua (CFPB) ~>
  Sent: Tuesday, February 11 20~
    : Olson, Nicholas CFPB                           • Palmer, Catherine CFPB
                                                                                >; Fils, Nicole (CFPB)
                                                                                 right, Peggy (CFPB)
                                                                                >. McKay, Crystal
                                                                                    >; Salinas, Jerry
                                                                                 1 ano, Michael (CFPB)


   c:    ar   . oar                              >; ra en . anner

  ~ Urgent Action: Contract Termination and Continuation Notifications (Emails)
  URGENT UPDATE



  Team,



  We just received direction to terminate all Enforcement (102 contracts), Supervision (16
  contracts), External Affairs (3 contracts), Consumer Response (20 contracts), Office of Director
  (33 contracts), and Legal Division (all except 2 contracts - FD Online Licenses and litigation
  data).

  ~·ve asked Mike to change the disposition for all these contracts in the shared sheets. We have
  some changes we'll need to make with CRE, Director's Office, and Supervision since those
  notifications went out already.



  This means we're just now waiting on decisions for the Ops contracts.



  Adding our BFS colleagues here as well.



  Thx!



  Josh




                                                                                                         JA407
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              Exhibit C




                                                                             JA408
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  C                     Consumer Financia
                        Protection Bureau


1700 G Street, N.W.. Washlnglon. DC 20552



                                                   February 11, 2025

         MEMORANDUM FOR [EmployeeFirstName] [EmployeeLastName], [JobTitle], [Division]

         FROM:                         Adam Martinez       ~6
                                       Acting Chief Human Capital Officer
                                       Operations Division, Front Office

         SUBJECT:                      Notification of Termination During Probationary Period​

         REFERENCES:​​                 5 U.S.C. § 7511
                                       5 U.S.C. § 3321(a)
                                       5 C.F.R. §§ 315.803 and 804
                                       5 C.F.R. § 316.304

                  This is to provide notification that I am removing you from your position of
         [JobTitle] and federal service consistent with the above references.

                 On [AppointmentDate], the agency appointed you to the position of [JobTitle]. As
         documented on your appointment Standard Form 50 (SF-50), your appointment is subject
         to a probationary/trial period. The agency also informed you of this requirement in the job
         opportunity announcement for the position.

                 Guidance from the Office of Personnel Management (“OPM”) states, “An
         appointment is not final until the probationary period is over,” and the probationary period
         is part of “the hiring process for employees.”1 “A probationer is still an applicant for a
         finalized appointment to a particular position as well as to the Federal service” 2 “Until the
         probationary period has been completed,” a probationer has “the burden to demonstrate
         why it is in the public interest for the Government to finalize an appointment to the civil
         service for this particular individual.”3
                Unfortunately, the Agency finds that that you are not fit for continued employment
         because your ability, knowledge and skills do not fit the Agency’s current needs.
                 For these reasons, I regrettably inform you that I am removing you from your
         position of [JobTitle] with the agency and the federal civil service effective [EffectiveDate].

                If you believe this action is being taken based on partisan political reasons or
         marital status, you have a right to file an appeal with the Merit Systems Protection Board
         (MSPB) under 5 C.F.R. § 315.806. You must file an appeal within 30 days of the effective

           1
             OPM, Practical Tips for Supervisors of Probationers.
           2
             See U.S. Merit Systems Protection Board Report to the President and Congress, The Probationary Period:
  A Critical Assessment Opportunity (August 2005)
           3
             Id.



                                                                                                                      JA409
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     date of this decision or 30 days after the date of your receipt of this decision, whichever is
     later. You should review MSPB regulations at 5 C.F.R. §§ 1201.14 and 1201.24 for
     instructions on how to file an electronic appeal and content requirements of the appeal,
     respectively. For more information, please visit www.mspb.gov or contact your local
     MSPB regional or field office.

            You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone,
     and other equipment or items owned by CPFB.

            For questions related to employee benefits (such as continuation of coverage for
     health coverage, withdrawal of retirement contributions, etc.) or other matters associated
     with employee benefits contact CFPB_HRBenefits@cfpb.gov.

             I appreciate your service to the Agency and wish you the greatest of success in your
     future endeavors. If you have any questions, please you may contact the CFPB Employee
     Relations team at CFPB_EmployeeRelations@cfpb.gov.




                                                                                                      JA410
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              Exhibit D




                                                                             JA411
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 I   I            National
 NCLC Center      Consumer L,,w                                                                               Katie Eelman                        >
 I   I
  Stop Work Notice - Contract
  BradenK. Sanner                                                                                                    Tue, Feb 11,2025 at 10:27 PM
  To:'
  Cc:


     Good Evening,


     You might have receiveda blanket Stop Work Order from the ConsumerFinancialProtectionBureau (CFPB), Office of
     Financeand Procurementyesterday,02/10/2025. Please note that this is your official notice, in accordancewith FAR
     52.242-15,with instructionto stop work on the subject contract immediately,incurringno additionalcosts, until otherwise
     instructedby the ContractingOfficer. Fiscal Service Procurementwill follow up if there are any additionalchangesin
     direction.This notice is effectiveimmediately,02/11/2025.



     Please confirm receipt of this email as soon as possible.



     Braden K. Sanner
     Supervisory Contracting Officer

     Bureau of the Fiscal Service




    -



                                                                                                                                             JA412Ill
https://mail.google.com/mail/u/0/?ik=c603e04c6b&view=pt&search=all&pennmsgid=msg-f:   1823820621020077020&simpl=msg-f: 1823820621020077020
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              Exhibit E




                                                                            JA413
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     From:            Martjnez.
                             Adam(CFPBl
     To:              Bishop.
                            James:Paoletta.
                                         Mark{CE
                                               PB)
     Cc:                         (CfPB):Szyba!a.
                      Gueye.Jafnar            Ma (CFPB}:
                                                      Young.
                                                          Chrjstopher
                                                                   (CfPBl
     Subject:         CPFand FundingTransfer
     Date:            Tuesday,February11, 2025 12:36:29PM


     Hi Dan and Mark -

     I wanted to introduce you both to J afnar Gueye, our Chief Financial Officer. There
     are two items he is ready to assist on.

           1. At your convenience he will be ready to provide you a briefing on the Civil
              Penalty Fund including the contractor/vendor that serves as the Bureau's
              intermediary and the process for disbursements of funds to consumers.
           2. Jafnar is currently in communications with the Federal Reserve regarding the
              Bureau's ability to return money to either Treasury or the Federal Reserve if
              needed. He can provide you with an update and perhaps how the money is
              transferred to us, which is unique.

     Adam

     Adam Martinez
     ChiefOperating Officer




                                                                                              JA414
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               Exhibit F




                                                                            JA415
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Subject:
Subject:       FW: DUE AT NOON: Statutory requirement for contract data
Date:
Date:          Tuesday, February 11, 2025 at 11:11:39 AM Eastern Standard Time
From:
From:          Dorsey, Darian (CFPB)
To:
To:          PfaR, Matthew (CFPB)
Attachments:
Attachments: CR_Active Contracts List Completed.xlsx




Best,
Darian

Darian Dorsey
Deputy Associate Director | Division of Consumer Response and Education
Office:               | Mobile:

From:
From: Dorsey, Darian (CFPB)
Sent:
Sent: Tuesday, February 11, 2025 11:10 AM
To:
To: Gueye, Jafnar (CFPB)
Cc:
Cc: Johnson, Christopher (CFPB)                                         ; Galicki, Joshua (CFPB)
                           ; James, Dana (CFPB)                                 ; MarPnez, Adam (CFPB)

Subject:
Subject: RE: DUE AT NOON: Statutory requirement for contract data

Hi Jafnar,

Please see aYached for Consumer Response and EducaPon.

Best,
Darian

Darian Dorsey
Deputy Associate Director | Division of Consumer Response and Education
Office:               | Mobile:

From:
From: Gueye, Jafnar (CFPB)
Sent:
Sent: Tuesday, February 11, 2025 10:27 AM
To:
To: Pass, Sonya (CFPB)                             Sokolov, Dan (CFPB)                           >; Gelfond,
Rebecca (CFPB)                                 ; Dorsey, Darian (CFPB)
Chang, Jean (CFPB)                           ; Warren, LaShaun (CFPB)                                    ;
Huggins, Cassandra (CFPB)                                     ; SuYon, Jocelyn (CFPB)
                           ; White, Sonya (CFPB)
Cc:
Cc: Galicki, Joshua (CFPB)                               ; James, Dana (CFPB)                           ;
Halperin, Eric (CFPB)                            ; Salas, Lorelei (CFPB)                          ; Johnson,
Christopher (CFPB)                                      ; MarPnez, Adam (CFPB)
                             ; Pappalardo, Janis (CFPB)
Subject:
Subject: DUE AT NOON: Statutory requirement for contract data

                                                                                                             JA416
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Deputies,


We have a ve1y quick turnaround data call asking you to identify which of your contracts directly support
a statuto1y requirement, meaning that we would not be able to meet a statuto1y requirement without this
contract.
This is similar to the data call sent earlier but applies to all of your contracts.
Please look at your respective files and mark in col [F] all the contracts that fall under the criteria along
with a brief one sentence summarizing the statutory language that supports the requirement.
Apologies for the quick turnaround.

Thank you

Respectfully,

J afnar Gu eye
Chief Financial Officer (CFO)
Office of Finance and Procurement




Consumer Financial Protection Bureau
consun1erfinance.gov


Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
the e-mail and any attachments. An inadve1tent disclosure is not intended to waive any privileges.




                                                                                                                        JA417
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              Exhibit G




                                                                            JA418
I   I    Case 1:25-cv-00381-ABJ Document 60-1
            National                                                  Filed 03/05/25 Page 17 of 107
NCLC USCA Case #25-5091 Document #2113074
            ConsumerLaw                                                           Shennan Kavanagh
                                                                       Filed: 04/25/2025    Page 424 of 637
I   I       Center




Fwd: Termination for Convenience of the Government- Contract 20343021C00006
1 message

                                                                                                  Wed, Feb 12, 2025 at 4:17 PM


 FYI on the below.

 Can someonelet me know if I should respondto confirmreceipt?

 Thanks!

 ---    Forwardedmessage------
 From: MarkA. Board                               >
 Date: Wed, Feb 12, 2    a :
 Subject:Terminationfor Convenienceof the Government- Contract 20343021C00006
 To:
 Cc:                                              >, Sanders,Kathy (CFPB)                            >, BradenK. Sanner




 Good Afternoon,

 On 02/11/2025, you were notified to stop work. Pursuant to FARclause 52.212-4(1), Fiscal Service Procurement on the
 behalf of the Consumer Financial Protection Bureau (CFPB)hereby terminates in its entirety the subject contract,
 effective 02/12/2025. As such, you are directed to immediately stop all work under the subject contract, terminate all
 subcontracts, and place no further orders. You are also directed to provide by electronic means similar instructions to
 all subcontractors and suppliers. You are required to keep detailed, individual records of your steps taken and
 expenditures, if any, you intend to claim as a result of the CFPBterminating this contract. We request that you provide
 within 30 days the entirety of the termination settlement proposal(s), if any, you will be submitting for the subject
 contract.

 Finally, it is necessary that you immediately confirm receipt of this termination for convenience notice via an electronic
 mail (e-mail) response to me, the Contracting Officer for the subject contract.




 Thanks,

 Mark Board
 Lead Contracting Officer
 Bureau of the Fiscal Service
 Office of Shared Services/DPS
 Office:




                                                                                                                 JA419
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              Exhibit H




                                                                            JA420
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                     Consumer Financia
                     Protection Bureau


 1700 G Street, N.W., Washington, DC 20552


 MEMORANDUM FOR:                    JULIA BARNARD
                                    MARKETS & POLICY FELLOW (PROG MANAGER)
                                    DIRECTOR, OFF POLICY PLAN & STRAT

 FROM:                              Adam Martinez
                                    Acting Chief Human Capital Officer
                                    Operations Division, Front Office

 DATE:                              February 13, 2025

 SUBJECT:                           Termination of Temporary/Excepted Appointment

 On February 27, 2022, you were hired on a Temporary Excepted Service appointment as a/an
 MARKETS & POLICY FELLOW (PROG MANAGER) in DIRECTOR, OFF POLICY PLAN &
 STRAT, at the Consumer Financial Protection Bureau for a period not to exceed February 27,
 2026.

 The purpose of this memorandum is to notify you that your employment will be terminated
 effective at the close of business on February 13, 2025, due to Executive Order Implementing
 The President's "Department of Government Efficiency" Workforce Optimization Initiative –
 The White House dated February 11, 2025.

 If you believe this termination is being taken in whole or in part because of discrimination based
 on race, color, religion, sex, national origin, disability, age, genetic information, pregnancy
 and/or reprisal for prior EEO activity, you may file a discrimination complaint with the Agency’s
 Office of Civil Rights. To initiate the formal discrimination complaint process, you must first
 contact an EEO Counselor within forty-five (45) calendar days of the employment action or
 event you believe is discriminatory, harassing, or retaliatory. You may contact the Office of Civil
 Rights at                           or                   ,                   or              (TTY).

 If you believe this action is in retaliation for your making protected whistleblowing disclosures,
 you may also seek corrective action from the U.S. Office of Special Counsel (OSC). If you do
 so, your appeal may be limited to whether the Agency took one or more covered personnel
 actions against you in retaliation for making protected whistleblowing disclosures, and you will
 not be able to challenge the decision on other bases in that action. To seek corrective action from
 the OSC, you may submit your complaint online. More information on or about filing a
 complaint with the OSC may be found at https://osc.gov/Pages/File-Complaint.aspx. As an
 alternative, you may communicate in writing to the following address:

                                          Complaints Examining Unit
                                         U.S. Office of Special Counsel
                                         1730 M Street, N.W., Suite 218
                                          Washington, DC 20036-4505




                                                                                                       JA421
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  If you believe you qualify as an employee under 5 U.S.C. § 7511, you may have the right to
  appeal this action to the Merit Systems Protection Board (MPSB) no later than 30 calendar days
  after the effective date. Failure to file a timely appeal could result in dismissal of your appeal
  absent good cause. Your appeal may be made by mail, facsimile, commercial overnight delivery,
  personal delivery, or electronically at http://e-appeal.mspb.gov. A downloadable appeal form
  and additional information are also available at the MSPB website at
  https://www.mspb.gov/appeals/forms.htm. The date of filing by mail is considered to be the date
  of the postmark, the date of the filing by facsimile or electronically is the date of successful
  transmission. If the filing is by personal deliver, it shall be considered filed on the date it is
  received by the MSPB.

  The appeal should be filed with the MSPB Regional Office located closest to the employee’s
  duty station - https://www.mspb.gov/about/contact.htm.

  Any appeal to the MSPB must include the following information, which identifies the Agency
  official to whom the MSPB will send a copy of your MSPB appeal and the Acknowledgement
  Order issued on your appeal: Assistant General Counsel, Legal Division, CFPB, 1700 G Street,
  NW, Washington, DC, 20552,                                       .

  You will be sent a postage paid box to return your CFPB ID badge, laptop, iPhone, and other
  equipment or items owned by CPFB.
  For questions related to employee benefits (such as continuation of coverage for health coverage,
  withdrawal of retirement contributions, etc.) or other matters associated with employee benefits
  contact CFPB_HRBenefits@cfpb.gov.

  You can request a copy of your OPF documents from Bureau of Fiscal Services (BFS) at
           option 4 or OPFInquiries@fiscal.treasury.gov.                                   -
  I appreciate your service to the Agency and wish you the greatest of success in your future
  endeavors. If you have any questions, please you may contact the CFPB Employee Relations team
  at CFPB EmployeeRelations@cfpb.gov.




consumerfinance.gov


                                                                                                       JA422
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                Exhibit I




                                                                            JA423
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  February13,20251
  lnfmnationMemofor the.ActingDirector
                                                                 ConsumerResponse&
   FROM

   SUBJECT                 Diwional Staffing


   Select      □Situational       □R&,qu.est fm   jgReplyto   □ Draft
   Applicable  Awamicss           Directional     Inquiryfrom Documem
   Infcmnation                    Feedback.       Director/FO F~k
   Typc(s)                                                      Request


  muc
  Thispurposeof thismemorandum is toprovidel.n.fmmalion
                                                     aboutbow the staff of the Consumm-
  R.esponseandEdw:ationDivisionalignto theConsumerFinancialProtectionBureau's(CFPB's)
  mrutoryobligations.
  Jlivl.dQMI  Background.
  TheOm.sumerRaponseand EducationDivision(CRE)iJ responsiblefor executingthe CFPB's
  first two statutmyfunctions~
                             (I) conductingfinancialeducationprograms.and(2) eollectin&
  invcstigatingJ and respondingto consumercomplaints.See 12USC551l(cXl)-(2).CREwthe
  publicaceof CheCFPBto individualsandtheirfamilies,4eliveringscalableservicesandtools
  designedto empower    consumers to sharefh&rexperi~ in 1hemarketp~ respondto
  ooallenges,. andmakebetterinformedfinancialdecisi.om.
  TherearetwoofficeswithinCRE:the OfficeofF.ina:ncial    Educationand the Officeof Consumer
  Response.FinancialBducationis responst"bfe for nvuiagioga suiteaf morethanSOedllcational
  toolsandresoun;es,disttibutingthosetoolsto users,and ma.rcbing 1hceffcctiven~ of finmcial
  cducatioop:og:,:ams.Financial&iocationis also~pomil>le for supportingthe Director's
  membershipin the FinancialLitmcy andF.ducatiOll   Commission.  FinancialEducation'scontent
  is someof the most frequentlyvisitedcontenton the CFPB'swebsite.

  ConsumerR.espomeis responsiblefor answmingqwsti~ handlingcomplaints.,~ sharingdata
  and insights.ConsumerRespomemanagti!S    the CFPB'stoll-he numberand complaintprogram
  fromend-to-end.C.Omumor    Responseis al.sore.,ponsiblofora.ssutmg
                                                                   complaintprocess •
  stakeholders(e.g.. respoodingto congxcssionalmemberswith1heirconstitucms'~lain~
  JWistingCompanyPon.alusersastheyrespondto theircustomer'sconcerns)    and sharing
  complaintinfmmation.   withFedm.1andStateagencies.

  The curnot headcount for CRE Is approlimately 1S0-1S5fuB..timeemployttt. The
  fund:ional areu lhted bdow alignedto statutory respooslbllitie, total appronmately 80 to
  85.




                                                                                             JA424
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  Officeof Finandll Education
  12USCS493(d)requiresthe Directorto "establishan Officeof FinancialEducation,whichshall
  be rcsp()llSible
                for developingmd iqJlementing initiatesintendedto educateand empower
  conswnersto makebetter informedfinancialdecisions.., Thereis one competitiveara withinthe
  FmancialF.ducation,respomiblefordeliveringseveralstatutoryobligations:

     • Developingand implementinginitiativesintendedto educateand ~wer           consumersto
       makebetterinfom1edfinancialdecisions.Su 12USC5493(d)(l).
     • Developingand imp)ementinga strategyto improvethe financiallitmcy of amswners
       lhat includesmea.mrablegoalsand objectives,in coo.sultation  with the FinanciaJLiteracy
       and EducationCommission.Se.e12USC S493(d)(2).
     • Coordinatingwilhotherunitswithinthe BureauiDcarryingout its functiom,including
       workingwith the CormnmityA.flmnOfficeto implementthe strategyto ID1)!0V·Cfinancial
       litm.cy of consumers;aodworkiogwith the researchunitestablishedby the Directorto
       conductresearchrelatedto consumerfinancialeducationand counseling.See 12USC
       5493(d)(3).
     • Submittinga reporton its financialliteracyactivitiesand strategy to improvefinancial
       literacyof consumers
                          See 12USCS493(d)(4).

  The currentheadcomtfor this area is 12.

  Officeof Consumer Response
  12USC:5493(b)(3)(A)    requiresthe Directorto ~establisha unitwhosefunctionsshallinclude
  emblishing f\ single,toll-freetelephonenumber,a website,and a database... to facili1atcthe
  centmlizedcollectionot: monitoringot andresponseto consumercomplaintsregardingconsumer
  financialproductsand or services!'12 USC5S34(a):requiresthe CFPB"to provide a timely
  responseto collSllDller&,
                          in writing whereappaopriatc,to complaintsagainst, or inquiries     •
  conceming,a cov«edperson!' 1S USC 168li(e) establishesa proces.,by whichth~ CFPBmu.«
  act and reportouton certaincmlit andconsumerreportingcomplaints.    ConsumerResponsemust
  coordinatewith certainCFPBofficesand personnel.includingthe PrivateStudentLoan
  OmbudsmanandOfficeofServicemember         Affairs.See 12USCS493(e),12 USC5535.

  OmsumerResponsebas severalcompetitiveareas:

  ColUlllllel'Resourot,
                     Cmter
  12 USCS493(b)(3)(A) dircct:sthe CFPBto aeate establisha single,toll-freenumber.This team
  managesa OmsumerResourceCenter(CRC),whichreceivesmorethan 40.000callsper month.
  The CRC amwers<:OllSUDlCIS' inquiries,acceptsand providess~ updateson complaints,and
  directsCODSUIDers
                resources  suchasstateand localservices.

  The currentheadcountfor this area is 3.

  ComplaintHandling
  12 USCSS34(a)requiresthe·CFPBto timelyrcspoodto consumers,includingany respooses
  receivedby theregulatorfromthe coveredperson.Thisteamdirectsthecomplaintsto companies
  for a response..



                                                                                           JA425
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  The currentheadcountfor thisarea is 7.

  POl'tlll
         Opattti,o,ns
  12use 5534{b)requirescertaincoveredpersonsto providea timelyresponseto the :regulator.
  This teamis responsiblefor respondingto stakeboldersupporttic.kets,includingtickds submitted
  by company,congressional,and governmentportalusers.

   Thecurrentheadcountfor this areais 7.

  MosaicPrognun
   12USC S493(b)(3)(A)directstbeCFPB to ~tc establisha databaseto facilitatethe centralized
   collectionof complaints.12USCS493(b)(3)(D)   requiresthe CFPBto shareoonsumercomplaint
              with prudentialregulators.the FederalTradeCommission,otherFederalagencies,and
   infoIIDation
   State agencies.This teammanage,the technologythat facilitatesthe handlingof more than
   350,000complaintsper month
   Thecurrentbeadc01mtfor this area is S.
   brvatigati.ons(Rgur.to,y OJ,r,pli'°'"7Co,nplllintMonitoring, Researchanti~
   Bscolado•CaseMan,genu!llt)
                                                     0
   12USC5511(cX2)requiresthe CFPBto "investigate       complaints.Additionally.12USC •
   S493(bX3XA)  requiresthe CFPBto ''monitor''complaints.Thisteamis responsiblefor
   mmitoriogand investigatingthe morethanthree millioncomplaintsthe CFPBrccdves annually.
   This teamconductsinvestigativeinquiriesreceivedby the Director'sOffice.This teamalso
   oonductsanalysesthat supportthe Chiefof Staff's teameffortsto meetthe publicationof statutory
   reportsand supportsrulelookbackusessmentsas requiredby 12USC 5512.                            ~
                                                                                I



   Thecurrentheadcountfor this ma is 30.                                        ii
                                                               'I           I        I                 II




   ~/lqmting                                                          11                           I

   12useS493(e)and 12 useSS3SrequiresConsumerRespometo~                   wi~ ~ Officeof
   Smi~          ~~the         PrivateStudent~ Oni>~man~ ~~1y.               'lbis=unis
   respom1bJefor workingwith these officesfor their oomplaintmonito,nngvJtnk
                                                                           I        Iii                           I I       1


                                                                    J   I                     I'       It   I'      I
   nwcum:111headoowltforthis....,is4.                     11 ' 11 I!"I ,i ' 111'
                                                                              II I                               i jl •
  Stauho/4e,'.Bngoganent                         I      I I Iii' 1, II i ,11l1    Ii 1   I'
                                                                                         i   I                          I

  12USCS493(bX3)(A)     directs the CFPBto "coordinatewith the ~ederalTradeCommissionor
  otherFederalagenciesto routecomplaintsto suchasencies,whereappropriate.''Additionally,12                          I



  USCS493(b)(3)(D)   requiresthe ~B _to"shareco+.        ~laint information~ p~al
  regulators,the FederalTrade Commission.otherFedeialagencies,and State agfDC:les    .•:•. This
  teamis responsiblefot worldngwith fedcraland state agencies,including
                                                                    I
                                                                          stateAUbmcysGeneral.1
  The cuneot headcountfor lhis area is S.




                                                                                                                  JA426
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• adefof S/4.ff Team
   ComumerResponseis respolWblcfor publishingor contributingto the publicationof several
   aq,orts.Thosereportsino]ude:
      • ConsumerRCSJ)()meAnnual Report (asrequiredby 12 useS493(bX3)(D))
      • Fair CreditReportingAct 61l(e) Report(asrequ:iredby 15 USC l681i(e)(S))
      • Fair Debt Collection Pnctices Act Report(as requiredby 15 USC 1692m)
      • CFPBSemi-Amual Reports (required by 12 USC5496)

                        for the production and publication of these MpOIU~incJudingany follow-
   This t.eamis MSpODBib]c
   up questionsfromoversightbodies.

   The cumnt headcount for this area is S.

   Managementand Open.dom
   This team providedthe executivedireictionfor both offices within 1he division. The current
  divisionalexecutives each have a dual role both dtvision and office level executives. The office
  level executive positions remain vacant. The teamalso providescentralizedsupportto eaoh office
  regarding resouroemanagement functioM includingbudget, acquisitionrnamagemmrt,          training,
  managcmcotreportin&and coordinationwith intmw and extemal stakeboJders,and oversight
  bodies such as GAO and OIG.

  The currenthead=ountfor this area is 5.




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               Exhibit J




                                                                            JA428
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  From: CFPB_HCSysOps
Subject: Updated Timekeeping Instructions for PP03
   Date: February 14, 2025 at 12:27 PM
     To:
    Cc: CFPB_WorkLife


       Colleagues,

       On Monday, February 10th CFPB’s Acting Director issued guidance for Bureau staff to
       pause work tasks. In accordance with the Acting Director’s guidance employees should
       exercise administrative leave until otherwise instructed. For staff who have been asked to
       work by the Acting Director, the Chief Legal Officer, or another designee (i.e. through their
       leadership chain, etc.) they should record that time as they normally would. All time not in a
       working status should be reflected in webTA under the “Admin/Excused Absence” leave
       transaction category.

       Please refer questions to the CFPB_WorkLife@cfpb.gov
                                            ---------   -- -- box so the Office of Human
       Capital can provide clarifying guidance as needed.

       V/R

       Roland Jacob
       Human Capital Operations Manager
       Systems and Operations | Office of Human Capital
       Office:              | Mobile:

       Consumer Financial Protection Bureau
       consumerfinance.gov
       Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and
       delete the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                                                                        JA429
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              Exhibit K




                                                                            JA430
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  From:                                                 ■
Subject: Please Read: CFPB Regional Office Operating Status (Week of 2/17)
   Date: February 17, 2025 at 1:21 PM
     To:




       (This message is sent on behalf of Adam Martinez, Chief Operating Officer, for
       CFPB Regional Office Staff and Contractors)

       Dear Colleagues:

       The CFPB Regional Offices will remain closed this week (2/17-2/21). Employees
       and contractors approved to work should do so remotely unless otherwise
       instructed.

       Thank you.

       Adam

       Adam Martinez
       Chief Operating Officer

                                                     SERVE   Director's Mission
                                                      LEAD   Achievement Award
          C                Con:u1m1uFinancio.l
                           PrO!leCbMi Bureau
                                                 INNOVATE
                                                             Recipient



       consumerfinance.gov

       Confidentiality Notice: If you received this email by mistake, you should notify the sender of
       the mistake and delete the email and any attachments. An inadvertent disclosure is not
       intended to waive any privileges.




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              Exhibit L




                                                                            JA432
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RE:AeQuestlngauthorizationto repairthe cf.gov homepage

                                                                                    >
                                           Man,nM,l\dam!Cf PB), Cc:     O SCQll,Adam(CFPB)    .,




 Mv undertund,ng is that the dec1~1onto dcl(lte the homepa~ was made by A~ng Director Vought, and h was not an ettormade    by the members
 of the DOGEteam. We do not haveauthoriutlon at this t1mcto restore th@ homepageor engagethe DOGEtum in an AAR.

 Chris Chllben



From:                                               >
Stnt:TueSday February18, 2025 8:15 AM
To: Martinez, Adam                                      Cl11lbert,Chrls1opher
Cr;: Swtt. Adam (CFPB
Subject: Reque"5bng authorization to repair the cf.g0Vhomepage

AdamandCl\ris.

Apologies for the unusual email address.These are unusual times,· and I haveo request ror authorizstlon to work that I'm not sure should
beaddressed to one a the ottier of you, so I figured I would keep you both In the loop. I have also cc'ed my manager for VfSlblUiy,so ne can
be aware if such ...,1>rk
                        is authoriled

Based on news reports mat GavenKliger Is now atthe IRS,itseems like the DOGE01ganlzauon is largely done with its technical worl<at1he
agency to ~improve the quality and clffcieocy or government-wide :ioltware, network infra:nructure, and lnformarion l8chnology (IT)
systems."'

As part of this worlc on Improving Quality. they also damaged the website by deleting the homepage for some unknown reason. I have heard
tho1 CFPB suiff were able to persuode them to not delete 011erythingentirely (as they did for USAJD).I struggle t<>undemand why this
deletion was necessary stall and why they demanded access to the website with extreme urgency lete on a Friday night. Despite thelt stated
assu!'llnces, 1tseems they did not follow our processes, nor did they wait for on employeesigningon under overtime to onboard them Into
our website's CMS,Wagtail.From what I understand, it seems that they instead used global admin prMleges on our SSOldenuty provider to
force 00011sainto our system ond make tho change on their own. I have many questions still, but I hope to booble to txplorcthem throughu
more establlshed process rather than relying on hearsay (see below).

I know some teams have baen rer;erved eutl1orization to continue working desp,1e the general stop•work order from the Acting Director. I
                                 for two ocoi>es of-work:
wovtd like t-o request authorizetion


       I would Ukefor my team to repair the website's homepage. The rest or the site does remain accessible to the general public, but ha'lllng
       a broken homepage has damagedseveral aspects of our technical operations already:
          a. Sito crawling by search indices UkeGoogle is likely not happening, this will damage our SEOand vislblhty to the world and ca11se
              our content to become less visible in search over time
          b. I have confirmed also that our automated accessibility scanning is now malfunctioning and is unable to verify our site stt!l
              meets its mandated 608 compliance tor eccesslbltrty




                                                                                                                                             JA433
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             Exhibit M




                                                                            JA434
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  From:         Service Desk (CFPB)
  Subject:      Service Advisory: Virtual Desktop Access Unavailable After 2/28/2025
  Date:         Wednesday, February 26, 2025 10:14:16 AM




  What's Happening? The Citrix Virtual Desktop will be unavailable after Friday,
  February 28, 2025, at 11:59 PM EST. You are receiving this notification because you
  logged into the Virtual Desktop in the past 90 days. Access to the Virtual Desktop via
  https://work.cfpb.gov and https://csf.cfpb.local will no longer be available.

  When: Friday, February 28, 2025, at 11:59 PM EST

  Need More Info? Please refer any questions or concerns regarding this event to the
  CFPB Service and Support Portal, the CFPB Service Desk at 202-435-7777 (external),
  x57777 (internal), or email ServiceDesk@cfpb.gov.




                                                                                                        JA435
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              Exhibit N




                                                                            JA436
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  From: CFPBHROps CFPBHROps@fiscal.treasury.gov
Subject: Automatic reply: question re separation papers
   Date: February 27, 2025 at 9:27 AM
     To:

       We are working diligently with the agency during this transition to provide necessary documents related to your recent or impending
       separation.

       Please provide a personal email address and updated mailing address to ensure timely and effective communications.

       All separated employees will be receiving a copy of their SF-50, Notice of Personnel Action, as well as a separation packet with information
       regarding unemployment, benefits and lump sum annual leave payment, if applicable.

       Employees will have a 31-day extension of their health insurance from the date of separation provided by your health insurance carrier at no
       cost to you. Dental and Vision benefits will terminate upon the date of separation.

       Thank you for your patience.




                                                                                                                                                JA437
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              Exhibit O




                                                                            JA438
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  ~=:....,.ial,\MIJ
  Subject: Pickup of Personal Belongings and Return of Equipment from the CFPB HQ
  To:
  CC:


  Good afternoon.
  We recognize that you have personal property, work materials, and federal records in your office or cubicle. To prepare to vacate the
  building, the Operations team has packed up your personal belongings for pickup at 1700 G Street. They are working closely with your
  division's leadership to take great care with your personal property, confidential matters, federal records, and other items.

  To retrieve your personal belongings, you must schedule an appointment by emailing the following information to

        •   Your full name
        •   Your designee, if needed (see below for additional details)
        •   Where your property is located (e.g., office/cubicle number, 6th floor locker number, pantry)
        •   A time on March 3 rd, 4th, 5 th , or 6Ih between 8am-4pm
        •   Any additional details related to your personal property that can help us identify or properly handle them (e.g., medications in the
            refrigerator that need to remain cold, personal papers that contain private information. etc.)


  If you have equipment to return to the CFPB, you may return your IT equipment and PIV card during this visit. Please note that you will:
         • Need to return all laptops, iPhones, secure thumb drives and any other equipment with an asset tag
         • Not need to return printers, keyboard, mice, monitors, docking stations, laptop bags/backpacks, headsets, laptop locks, filing
            cabinets, paper shredders, or cables
         • Receive a hardware asset receipt identifying the equipment you return


  After scheduling an appointment, you will receive a confirmation email with additional details. Except in special situations, items that are not
  picked up by March 6, 2025 will be considered abandoned and will be disposed of. While we cannot ship items to you, you may designate
  another staff member with a valid identification to pick up your items on your behalf.

  If driving, consider parking at a public parking garage, on the street, or the loading dock area on F Street. The parking garage at 1700 G
  Street will not be open for these pickups.

  We recognize that this is a difficult situation and here to support your transition.




                                                                                                                                                   JA439
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               Exhibit P




                                                                            JA440
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 From: Martinez, Adam (CFPB)
 Sent: Thursday, February 27, 20
   : Pappalardo. Jani CFPB)
                        >: Eps I

                                           ond (CFPB
                                          r, Deborah (
                                         ; Dodd-Rami     ,



 Hi RMR Colleagues - Good afternoon.

 Thank you for your patience as we continue through transition and our new leadership's
 review of the Bureau.

 On February 8 (email attached), our Acting Director outlined several areas where work
 stoppage was being implemented at the Bureau. He did exclude areas approved by him
 or required by law. We want to ensure that you are aware that statutorily required work
 and/ or work required by law are authorized.

 Your teams are authorized to continue carrying out these responsibilities. Any actions
 or communications with outside parties must be sent to Mark Paoletta, Chief Legal
 Officer and Daniel Shapiro, Deputy Chief Legal Officer.

 Should you have any questions at all, please feel free to contact our Chief Legal Officer
 as directed by the Acting Director. Alternatively, you are always welcome to reach out
 to me if needed. I am happy to share guidance provided to other leaders and employees
 regarding authorized work, including my own team.

 Thank you for your support.

 Adam

 Adam Martinez
 Chief Operating Officer




                                                                                             JA441
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              Exhibit Q




                                                                            JA442
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  From: Brown, Jason (CFPB)
Subject: updates
   Date: February 28, 2025 at 5:11 PM
     To: _


       Hi All,

       I believe all of you have received the direction from the COO through your section chiefs
       that we are to fulfill our statutory obligations subject to the limitations provided in the
       February 8 email from Acting Director Vought. We stopped most of our statutory work, I
       know, not because of the February 8 email, but because of the February 10 email. I
       clarified this point with the COO.

       I interpret the direction to mean that we should resume conducting research, a statutory
       responsibility. This means accessing the research servers, cleaning and analyzing data,
       and writing drafts and reviewing research. I would also include corresponding with co-
       authors as an essential research function.

       This leaves a number of questions, particularly with regards to external engagement.
       Questions about external engagement include 1) posting data to the Bureau website; 2)
       publishing Bureau research and SDR; 3) attending outside events, including research
       conferences; 4) presenting at outside events, including research conferences. In
       conjunction with the RMR FO, we are seeking guidance on these questions. There are
       specific activities I am seeking immediate approval for:
          1. Publication of the Consumer Credit Trends and Mortgage Performance Trends
          2. Permission for FHFA to field the NSMO
          3. Household Financial Stability phone call with the Federal Reserve System
          4. Consumer Finance Round Robin
          5. Boulder Conference (presenters only)
       Because we have not sought approval for anything yet, I would like to hold off for the next
       few days on seeking approval to post papers on SSRN or submit new pieces to journals. If
       you have materials already under review at journals, I encourage you to continue working
       and corresponding with the editors with the expectation that our current posture will have
       changed by the time publication is imminent.

       In other non-research responsibilities (e.g., rulemakings and exam work), there is some
       conflicting guidance about whether we should move forward or not. We are asking about
       that.

       But this leads to another question: under what conditions should someone in OR continue
       to take administrative leave, or do we take this direction as instruction to work full-time on
       research and other approved statutory responsibilities, unless there is nothing research-
       related for someone to do? How do we code WebTA at the end of the pay period? We are
       also seeking guidance on this.

       Many of you have already jumped at the chance to resume your research. Alas, many of
       you are finding that the Research Environment is not functioning as before, impairing your
       ability to fulfill our statutory research obligations. Thank you for noting the difficulties you
       are encountering and passing them on to your supervisor. I have let the CIO and COO
       know that we are encountering difficulties in resuming our statutory research obligations
       because of the functioning of the Research Environment, that we are cataloguing the
       difficulties, and that we will meet with them next week to explain our challenges so they can
       help us resolve them.


                                                                                                     JA443
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   I know this leaves a lot of questions unanswered, but I hope it gives you a sense of where
   we are. Please stay in communication with your supervisor so we can try to give you the
   direction you need.
   Jason Brown
   Assistant Director, Research
   Consumer Financial Protection Bureau




                                                                                            JA444
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              Exhibit R




                                                                            JA445
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  From:~I
Subject: ~orl<
  Date: February28, 202s at 10:37AM
    To:                                                , McNamara,John (CFPB)




      -
      Yes, John will likely be reaching out to you shortly. -has    decided to retire so we need to figure out who is available to continue the
      work in his absence. I would assume that you will handle the FDCPA report but let's wait to hear from John.
      Hope you are doing ok.



      From:
      Sent: Friday, February 28, 2025 10:33:38 AM
      To: McNamara, John (CFPB)
      Cc:
      Subject: Statutorily Mandated Work
      Hello,

      The other offices in RMR have received notification from their management that Adam
      Martinez changed his guidance and we are now allowed to work on statutorily mandated
      work. Will you be providing an update to Markets staff?

      If statutorily required work is going forward, I would like to know if I will continue to work on
      the Card Report and FDCPA report.




      -Best,




                            vst I Consumer Credit, Payments, and Deposits Markets


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                                                                                                                                                  JA446
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  From: McNamara, John (CFPB)
Subject: FW: Statutory/Legal Required Work
   Date: February 28, 2025 at 11:20 AM
     To:


       See below from Adam Martinez. This is for your awareness, and I ask
       that you let your manager and me know of any statutorily required
       work.

       We have data collections and CARD Act for our Credit Card Team and
       the FDCPA Annual Report for our Debt Collections Team.

       More broadly we have market monitoring for all Markets teams.

       I have an email in to Adam Martinez letting him know that I plan to
       recommence work on all areas. I also have a question about what
       types of communications Mark Paoletta and Daniel Shapiro wish to be
       copied. I told Adam that I assumed they would only want to be copied
       on substantive matters and be made aware of meetings Markets was
       having with external stakeholders.

       This email is for your awareness. Stay tuned for more guidance.

       John McNamara
       Assistant Director, Consumer Credit, Payments, and Deposits Markets
       Division of Research, Monitoring & Regulations

       Consumer Financial Protection Bureau
       1700 G Street NW
       Washington, DC 20552
       Office
       Mobile




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       From: Martinez, Adam (CFPB)
       Sent: Thursday, February 27, 2025 4:18 PM
       To: Pappalardo, Janis (CFPB) <                             ; Sokolov, Dan (CFPB)
                                ; Epstein, Ann (CFPB)                          ; Hedgespeth,
       Grady (CFPB)                                 ; Brown, Jason (CFPB)
                                  McArdle Mark (CFPB)                               McNamara

                                                                                                  JA447
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                                             '-'1   I   '-'/                            IVl\.11   "4Q.I   I ICU   a,
                                              Brown
                                             FPB)<
                                                 ; Rice, Jim
                            ; Dodd-Ramirez, Daniel (CFPB)
   Subject: Statutory/Legal Required Work

   Hi RMR Colleagues - Good afternoon.

   Thank you for your patience as we continue through transition and our new
   leadership's review of the Bureau.

   On February 8 (email attached), our Acting Director outlined several areas where
   work stoppage was being implemented at the Bureau. He did exclude areas
   approved by him or required by law. We want to ensure that you are aware that
   statutorily required work and/or work required by law are authorized.

   Your teams are authorized to continue carrying out these responsibilities. Any
   actions or communications with outside parties must be sent to Mark Paoletta,
   Chief Legal Officer and Daniel Shapiro, Deputy Chief Legal Officer.

   Should you have any questions at all, please feel free to contact our Chief Legal
   Officer as directed by the Acting Director. Alternatively, you are always welcome to
   reach out to me if needed. I am happy to share guidance provided to other leaders
   and employees regarding authorized work, including my own team.

   Thank you for your support.

   Adam

   Adam Ma1tinez
   Chief Operating Officer



       Mail Attachment.em!
       14 KB                        ■




                                                                                                                  JA448
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 USCA Case #25-5091    Document #2113074                     Filed: 04/25/2025 Page 454 of 637

  From: McNamara, John (CFPB)
Subject: RE: Statutorily Mandated Work
   Date: February 28, 2025 at 2:11 PM
     To:
    Cc:


       Thanks for asking. Wait for guidance. I am waiting for a response from
       Adam Martinez.



       John McNamara
       Assistant Director, Consumer Credit, Payments, and Deposits Markets
       Division of Research, Monitoring & Regulations

       Consumer Financial Protection Bureau
       1700 G Street NW
       Washington, DC 20552
       Office-
       Mobile-




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       From:
       Sent: Friday, February 28, 2025 1:54 PM
       To: McNamara, John (CFPB)
       Cc:
       Subject: Re: Statutorily Mandated Work

       To clarify, should I get started or wait for guidance?

       From: McNamara, John (CFPB) <
       Sent: Friday, February 28, 2025 10:57 AM
       To:
       Cc:
       Subject: RE: Statutorily Mandated Work

       Stay tuned for guidance. As I see it, the FDCPA Annual Report is
       statutorily mandated work, and I would like to get started on it.




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   John McNamara
   Assistant Director, Consumer Credit, Payments, and Deposits Markets
   Division of Research, Monitoring & Regulations

   Consumer Financial Protection Bureau
   1700 G Street NW
   Washington, DC 20552
   Office
   Mobile




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   intended to waive any privileges.




   From:
   Sent: Friday, February 28, 2025 10:34 AM
   To: McNamara, John (CFPB)
   Cc:
   Subject:

   Hello,

   The other offices in RMR have received notification from their management that Adam
   Martinez changed his guidance and we are now allowed to work on statutorily mandated
   work. Will you be providing an update to Markets staff?

   If statutorily required work is going forward, I would like to know if I will continue to work on
   the Card Report and FDCPA report.




   ******

                            onsumer Credit, Payments, and Deposits Markets


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               Exhibit S




                                                                            JA451
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                                                                            JA452
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              Exhibit T




                                                                            JA453
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------------------
-
From: Coleman, CC (CFPB)
Sent: Saturday, March 1, 2025 7:46 AM
To:                                                                                             ;-

                               (CFPB) shared "OFP Statutory Requirements" with you


Please add the statute, regulation, clause, etc. that's the authority for the process-requirement you're
reporting.
Regards, C

From: Coleman, CC (CFPB)
Sent: Friday, February 28, 2
To:
                                          '
                                              >·I
                               (CFPB) shared "OFP Statutory Requirements" with you

Hi team. Please separately send me your processes that are required by statute, regulation, or
something else (new add).-        said the spreadsheet is for OFP managers only. Need by noon Tuesday
please so I can consolidate for COB Tuesday.
Thanks!C

From: Coleman, CC (CFPB)
Sent: Friday, February 28, 2
To:                                                                                             ;-

                               (CFPB) shared "OFP Statutory Requirements" with you

Team, please let me mow if you can't access the file. We need to add anything that we're responsible for
on our team that's required by statute or regulation, so certification, CPARs, etc.
Josh said it's due by Tuesday.
Thanks,C

From:                                                      >
Sent: Friday, February 28, 2025 9:24 AM
To: Ahmad, Rumana (CFPB)                                ; Braham, Regina (CFPB)
                              ; Coleman, CC (CFPB)                              ; Del Toro, Vanessa (CFPB)
                               >; Dunham, Tonya (CFPB)                             ; Galicki, Joshua (CFPB)
                            ; Gueye, Jafnar (CFPB)                          ; James, Dana (CFPB)
                         ; Olson, Nicholas (CFPB)                         ,>; Pichet, Laurent (CFPB)
                           >; Velez, Freddy (CFPB)
                           (CFPB) shared "OFP Statutory Requirements" with you




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                                      tB

                                                    (CFPB) invited you to edit a file




                                Here's the docwnent that                 (CFPB) shared with you.




                              OFP StatutoryRequirements




                 [J This invite will only work for you and people with existing access.




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              Exhibit U




                                                                            JA456
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  From: (null)
Subject: FW: All Hands Message re: Work Required by Law
   Date: March 4, 2025 at 3:52 PM
     To:


       From: Schroeder, John (CFPB) <
       Sent: Monday, March 3, 2025 10:13 AM
       To: _DL_CFPB_Examiners Midwest <                                                                     >
       Subject: FW: All Hands Message re: Work Required by Law

       Casey and Calvin are seeking clarity from new agency leadership re the below email, and
       will pass along direction as soon as they can receive it. In the meantime please refrain from
       all work activity other than ministerial tasks as previously approved by Adam Martinez.

       I apologize for the continued confusion being caused by multiple misleading and
       inconsistent email. Please stand by for additional direction from SPV leadership. Thank
       you.


       John J. Schroeder
       Regional Director – Midwest Region
       Supervision, Enforcement and Fair Lending
       Consumer Financial Protection Bureau

       230 South Dearborn Street, Suite 1590
       Chicago, IL 60604
       Mob:
       consumerfinance.gov
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       information contained in this e-mail or its attachments. Also immediately notify the sender of the misdirection of
       this transmittal. Your cooperation is appreciated.



       From: Martinez, Adam (CFPB)
       Sent: Sunday, March 02, 2025 3:33 PM
       Cc: Paoletta, Mark (CFPB)
       Subject: All Hands Message re: Work Required by Law

       Message from Mark Paoletta, Chief Legal Officer

       On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying
       out any statutorily required work, as he set forth in his February 8th email.

       On February 8, 2025, you received an email from Acting Director Vought directing you to
       halt several classes of work unless “required by law” or expressly approved by the Acting
       Director. On February 10, 2025, you received an email from Acting Director Vought
       directing you to reach out to me for the authorization required by the February 8 email.
       These measures were intended to ensure that new leadership could establish operational

                                                                                                                       JA457
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   control over the agency while ensuring that it would continue to fulfill its statutory duties.
   Many of you understood this and continued to perform functions required by law and
   sought approval from me to perform work, which I have promptly granted.

   It has come to my attention, however, that some employees have not been performing
   statutorily required work. Let me be clear: Employees should be performing work that is
   required by law and do not need to seek prior approval to do so. If you have any questions,
   please reach out to me immediately, and I will promptly give you an answer and
   authorization if warranted. If you are aware of other employees that are needed to assist
   you in performing a statutorily required task but are not doing so, please raise this with me
   immediately.

   Thank you for your attention to this matter.

   Mark Paoletta
   Chief Legal Officer
   CFPB


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              Exhibit V




                                                                            JA459
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----------------
From: Sellers, Katelyn (CFPB)
Sent: Monday, March 3, 2025 8:45 AM
To:


Subject: FW: follow-up on Qs about informal guidance to entities

Hi Team,

FYSA on the note below to Casey. I will let you know what I hear back. In the meantime, please continue to
comply with the stop work order and stand by for further instruction from me regarding whether you should engage
in any ILSA or NMLS work. Thank you!

Katelyn

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)


From: Sellers, Katelyn (CFPB)
Sent: Monday, March 3, 2025 8:42 AM
To: Huggins, Cassandra (CFPB)                                >
Subject: RE: follow-up on Qs about informal guidance to entities

Hi Casey,
Pursuant to Adam Martinez’s email yesterday, 3/2/25 regarding performing statutorily mandated work, I am
resurfacing the email below to inquire as to whether we ever got any response from leadership. As you know, the
SES items below are only “mandated” to the extent that exams are being performed and require technical support
and tools. And I believe NBR would also be in the category of “supervision” class of activities that are under the
stop work order.

However, the NMLS and ILSA items are not related to whether exams/supervision activities are occurring, and they
are required by statute (Secure and Fair Enforcement for Mortgage Licensing [SAFE] Act and Interstate Land Sales
Disclosure Act, respectively).

My team is standing by and is ready to resume minimally required work on these programs if authorized. Please
note that a routine (daily) part of running these two programs requires external stakeholder engagement (with
registrants, CSBS/NMLS, contractors, etc.), and we are unsure whether each instance of external outreach would
need to be authorized.

Thank you,
Katelyn

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)

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                                                                                                            JA460
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From: Sellers, Katelyn (CFPB)
Sent: Wednesday, February 5, 2025 4:10 PM
To: Huggins, Cassandra (CFPB)                               >
Cc: Bleicken, David (CFPB) <                       >
Subject: FW: follow-up on Qs about informal guidance to entities

Hi Casey,

This might be more than was being asked for, but the systems/programs are somewhat diﬀerent, so I’m breaking the
examples out program by program:

Supervision Examina on System (SES)
    The most common ques ons the SES team receives from external par es are centered around the Supervision
       Portal, which is the secure portal Supervision uses for the En es to respond to requests from the Exam teams.
       Examples:
            o I forgot my password, can you reset it?
            o I got a new phone and the MFA no longer works, can you ﬁx it?
            o I am having trouble logging into the portal, can you help?
    Impact: If we do not answer these ques ons/provide this support over email, the En ty user would not be able
       to log into the CFPB Supervision Portal and provide informa on to the Exam teams, which would stop exams
       from moving forward.

Nonbank Registry (NBR)
    Example ques ons:
          o I am unable login to my NBR account (i.e., password/mul -factor authen ca on (MFA) errors or I need
               change my email address). Can CFPB help?
                    If we don’t respond, user is not able to access their NBR account and cannot comply with the
                        NBR rule (i.e. cannot submit or update their required ﬁling)
          o I entered an incorrect value in the company’s iden fying informa on (e.g., typo in NMLS ID). Can CFPB
               correct it?
                    If we don’t respond, Company’s unique iden fying informa on remains incorrect in the
                        Nonbank Registry and leads to data quality issues in CFPB use of the iden fying data to support
                        the Supervision program.
          o I can’t access my company’s CFPB Consumer Response account, how do I reply to a complaint I received
               from the CFPB on behalf of a consumer?
                    If we don’t respond, Company representa ve does not learn the correct way to respond to a
                        complaint, and their customer who originally submi ed the complaint does not get a response
                        through CFPB’s complaint system.
    Holding scheduled external mee ngs styled as “oﬃce hours” to provide guidance and updates for Nonbank
      Registry
          o During these mee ngs with state regulators, state a orneys general, and Tribal Governments, the NBR
               team provides updates on NBR metrics (e.g., number of registered companies, number of registered
               orders), solicits input of “data sharing and data use” ideas from a endees, and talks about steps toward
               poten al publica on in the future.
                    If we don’t hold these mee ngs, work may slow down on the implementa on of the NBR rule,
                        including poten al publica on.

Interstate Land Sales Act (ILSA)
Example ques ons from developers trying to comply with ILSA/Regula on J:
     I usually get an email from CFPB conﬁrming my submission (i.e., 1) register lots to sell in a new subdivision, 2)
        add lots to sell in an exis ng registered subdivision, and/or 3) amend informa on regarding lots to sell in an

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                                                                                                                   JA461
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         exis ng registered subdivision) – did CFPB receive my submission and/or is there any addi onal informa on I’m
         required to submit?
             o If we don’t respond, developer may reach out to other CFPB oﬃces or poli cal representa ves because
                 they have not received communica on from the CFPB ILSA oﬃce.

        What is the ILSA # CFPB is assigning to my subdivision?
           o If we don’t respond, the Property Report may be noncompliant with ILSA/Regula on J and/or the
                 purchaser/consumer does not receive informa on on the Property Report as required by
                 ILSA/Regula on J.

        What is the eﬀec ve date of the Property Report we are required to provide to purchasers so that we may sell
         the lots?
             o If we don’t respond:
                      Developer may lose income because they are not sure if they can legally sell the lots in the
                        subdivision due to poten al non-compliance with the ILSA/Regula on J.
                      Purchasers may not receive the Property Report required by the ILSA/Regula on J or one that
                        appears to be noncompliant; this could result in a developer being sued by a purchaser due to
                        the Property Report not being properly ﬁled with the CFPB.

Na onwide Mul state Licensing System and Registry (NMLS)
To eﬀec vely oversee the contract between the CFPB and the NMLS’s State Regulatory Registry, LLC (SRR), our oﬃce has
taken a proac ve approach to communica ng with the SRR during the Background Inves ga on Process for new and
renewal of ~177 contractors (in a constant state of onboarding/o oarding). In our emails, we communicate such
things as: conﬁrm the receipt of a request of a background check, ask for more informa on to complete a background
check, provide status updates on certain individuals, conﬁrm temporary authoriza on to work, and conﬁrm ﬁnal
approval of a person being thoroughly ve ed so they may con nue work on the system.
         If we no longer communicate the items above:
                o SRR’s overall ability to perform under its contract with CFPB could be nega vely impacted.
                o SRR may reach out to other CFPB oﬃces in confusion and/or may complain that CFPB is no longer
                    providing informa on on the process.
                o SRR could be unaware that informa on is missing and the background inves ga on process is
                    paused/individuals would be able to work on the system as needed by CFPB
                o Informa on required to complete the background inves ga on remains incomplete and/or the
                    background inves ga on may me out and require re-ini a on of process.

Katelyn Sellers




    -
Program Director, Systems & Registrations
Office of Supervision Examinations
(m)


From: Huggins, Cassandra (CFPB)
Sent: Wednesday, February 5, 2025 11:25 AM
To: Sellers, Katelyn (CFPB)                         >; Bleicken, David (CFPB)                            >
Subject: follow-up on Qs about informal guidance to entities
Importance: High

Hi Katelyn- We had submi ed the ques on the other day about whether we could provide certain types of informal
guidance to en es. Legal is going to run this ques on up to the Ac ng Director, but wants some examples of the types
of ques ons that typically fall into these categories and the impact if the Bureau does not respond to it. Would you/your
team be able to put that together? It’s a ght turn-around- would need it by the end of today.



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                                                                                                                  JA462
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         Answering ques ons from supervised en es to provide user support for Supervision Examina on System,
          Nonbank Registry, Na onwide Mul state Licensing System (NMLS), and Interstate Land Sales Act (ILSA)
          programs
         Holding scheduled external mee ngs styled as “oﬃce hours” to provide guidance and updates for Nonbank
          Registry

Thanks,
Casey


Cassandra Huggins

Mobile:
          -
Principal Deputy Assistant Director | Supervision Policy & Operations



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             Exhibit W




                                                                            JA464
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From: Huggins, Cassandra (CFPB) <                                          >

To: _DL_CFPB_Supervision_ALL
Subject: FW: All Hands Message r


Supervision staff,



Calvin and I know that there is quite a bit of confusion surrounding the message we received from Adam Martinez/Mark
Paoletta on March 2. We have requested and received clarification that their messagewas not Intendedto authorize
the reinstatementof supervision/examination     activity,even though the BureauIs requiredby law to carry out
these activities.We are also not to resume any functions that support the supervision/examination program, and are not
to communicate with parties outside of the Bureau on Bureau matters without receiving approval from the Chief Legal
Officer.



It has been communicated to me that Supervisionstaff should continueto operate on administrativeleave as
directed by the Acting Directorunlessyou have receivedexpress permissionto work on a task. In general, this
permission will come from Calvin, me, or your supervisor. Please do not work on anything else without authorization. If
you have a question about whether you've been authorized to perform a task, please reach out to your supervisor. As a
reminder, staff have been given permission to conduct some administrative tasks such as validating/certifying timecards in
Web TAand submitting/approving vouchers in Concur. Some staff have also been authorized to work on discrete tasks
and may continue to work on those as directed.



OSPO managers- if your teams are responsible for carrying out any other statutorily-mandated activities and you aren't
sure whether they fall under the broader umbrella of supervisory or examination activity or activities that support this
function, please send me an email with the activity and the specific statutory language that requires it, and I will send a
request to the Chief Legal Officer.



Thanks,

Casey




Cassandra Huggins

Plincipal Deputy Assistant Director I Supervision Policy & Operations

Mobile

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From: Martinez, Adam (CFPB)
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB)
Subject: All Hands Message re: Work Required by Law



Message from Mark Paoletta, Chief Legal Officer



On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
statutorily required work, as he set forth in his February 8th email.


On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
2025, you received an email from Acting Director Vought directing you to reach out to me for the
authorization required by the February 8 email. These measures were intended to ensure that new
leadership could establish operational control over the agency while ensuring that it would continue to fulfill
its statutory duties. Many of you understood this and continued to perform functions required by law and
sought approval from me to perform work, which I have promptly granted.


It has come to my attention, however, that some employees have not been performing statutorily required
work. Let me be clear: Employees should be performing work that is required by law and do not need to
seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
promptly give you an answer and authorization if warranted. If you are aware of other employees that are
needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
immediately.


Thank you for your attention to this matter.



Mark Paoletta

Chief Legal Officer

CFPB




                                                                                                          JA466
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USCA Case #25-5091    Document #2113074     Filed: 04/25/2025 Page 472 of 637




              Exhibit X




                                                                            JA467
Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 66 of 107
            Gueye,
Case #25-5091        Jafnar
                  Document    (CFPB) Filed: 04/25/202511:39AM
                           #2113074                       Page 473
            To Chilbert, Christopher (CFPB), +14

                                                                       r::i_,.




   Thanks Chris,


   To add to that, we're getting a lot of requests to turn contracts
   back on. I will send out guidance shortly but for your awareness
   we are not turning back on every contract we,ve had. We're
   taking a very narrow approach: if without the contract the
   Bureau can't meet a statutory requirement then it will be
   considered for reactivation. Meaning that a contract enhancing
   our ability to meet a statutory requirement is not enough to get it
   back on. It needs to be the only way the bureau can currently
   meet that requirement.
   Also as you're providing justifications please be prepared to have /
   to defend those to external parties. We've been routi¥lY asked
   to provide for names of the people providing the justification.


   Respectfully,


  ,Jafnar                                                     JA468
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              Exhibit Y




                                                                            JA469
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 USCA Case #25-5091    Document #2113074                   Filed: 04/25/2025 Page 475 of 637

  From: (null)
Subject:
   Date: March 4, 2025 at 9:57 AM
     To:


       From: Brown, Jason (CFPB) <                             >
       Sent: Monday, March 3, 2025 6:07 PM
       To: _DL_CFPB_OR <
       Subject: updates

       Hi OR,

       Just wanted to give you a status update.

       Jan submitted a proposal to Mark Paoletta outlining how RMR would comply with the
       directive to resume statutory responsibilities. She proposed that:
            • RMR would bring nearly everyone back to work, because nearly all of RMR
              engages in statutorily required work. Given that research responsibilities are well
              documented in Dodd-Frank and all of the research work we do is linked to fulfilling
              Dodd-Frank’s requirements, this would mean that anyone who could support the
              research functions of Dodd-Frank should return to work. This is consistent with
              what I shared last Friday.
            • Communications within the federal government, with contracted entities, and within
              the Federal Reserve system that help us fulfill our statutory responsibilities will be
              pre-approved and not require involvement of the DFO.
            • Engagement with outside researchers and other parties to advance the Bureau’s
              research responsibilities would resume. This would include discussing research
              findings in meetings, workshops, and conferences with other government agencies,
              presenting research findings at academic conferences, and attending research
              conferences. She noted that we would follow usual Bureau procedures for
              authorizing and clearing any presentations and conference attendance and would
              inform him and Dan Shapiro prior to any presentation or attendance at a non-
              governmental conference.
            • Refreshing data on the Bureau website, specifically the CCT and Mortgage
              Performance Trends, will continue. We will await further guidance on Bureau-
              hosted publications.
            • Dissemination of research findings through the SSRN page and through academic
              journals would resume.

       Jan has not received a response yet. But I will pass it on as soon as I get it. In the
       meantime, please continue (or resume) fulfilling the non-public aspects of your work to
       the extent possible.

       There are questions on timecards. We expect further guidance on Thursday.

       I know that as we are resuming our work, we are confronting a few challenges, including:
            •Loss of personnel. The firing of much of our staff impacts our ability to complete
             assignments as planned. We are trying to make sure we have access to the files of
             the staff who have left. The OR management team also will be looking to reassign
             staff from work streams that have stopped. If you find you have capacity, please
             alert your chief. And if you need additional staff support for your projects, please

                                                                                                 JA470
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          alert your chief.
      •   Loss of IT resources. Several contracts that have supported our work have been
          cancelled. We have seen some impairment in our ability to do our work, and in
          some cases we can’t tell if the struggles we’re facing are because of cancelled
          contracts or glitches, and the people who would ordinarily help us out have
          themselves been terminated. Many thanks to those who have been documenting
          your experiences and sharing workarounds. Kat has been running point on this.
          The CIO knows we’re having issues and once we get a full picture of the situation
          and the extent to which we cannot fulfill our responsibilities, we will share with him
          and work with him on how to fix it.
      •   Loss of data. Several of our data contracts have been cancelled. Also, because the
          IT systems have been in flux while data were being migrated (or even just stored),
          there is some question as to where some of the data and how to access them.
          Shaista will be working with the data stewards of each of our data assets to ensure
          that the data are accessible and complete.
      •   Loss of other tools to conduct research. These include the qualitative researcher
          contract and the lab contracts. We’re assessing how the loss of these other
          contracts affects our ability to fulfill our duties.

   Thank you for your patience and cooperation as we try to sort all this out.

   Finally, I know many of you submitted promising work to the Consumer Finance Round
   Robin. Because of the uncertainty of our participation, the other agencies moved forward
   without including papers that were authored only by CFPB researchers. Assuming we get
   the go-ahead to continue engagements like the Round Robin, we are welcome to
   nonetheless attend. We’re looking to plan an alternate Round Robin for our submissions
   that didn’t make it on to the program.

   Jason




                                                                                              JA471
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              Exhibit Z




                                                                            JA472
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  From:
  To:
  Subject:                  Han s Message re: Work Required by Law
  Date:               Monday, March 3, 2025 5:29:52 PM




  Per the authorization below,.       is looking into getting the CCDB back up and running. As part
  of this work, we're also authorizing you and-        to help assess the state of things across
  CCDB/CGGP/complaints products, identify people and resources that are remaining to
  support these platforms, and understand the backlog in light of the new state of things.


  I'm working with the other D+D leads to assess the state of work and resources more broadly,
  as Adam mentioned in his email this afternoon. A read from you,.,        and-     of the
  complaints portfolio will be invaluable as we figure out next steps. Reach out to me any time if
  I can be of help, provide more guidance, etc.




  •
  Thanks,




  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
  the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.




  From:                                                                     >
  Date: Monday, March 3, 2025 at 5:04 PM




  Subject: FW: All Hands Message re: Work Required by Law

  Hi Folks,

  Below is the email thread I referenced regarding authorization to "shift any resources
  needed to comply with the statute and any applicable laws/regulations"          as noted by
  AdamM.




  -
  Best,




  From:


                                                                                                                          JA473
    Case 1:25-cv-00381-ABJ Document 60-1                                Filed 03/05/25 Page 72 of 107
USCA Case #25-5091    Document #2113074                                  Filed: 04/25/2025 Page 479 of 637

  Date: Monday, March 3, 2025 at 10:21 AM
  To:                                                 Chilbert, Christopher (CFPB)
  <
  Cc:                                                 >, Scott, Adam (CFPB)
                         >
  Subject: RE: All Hands Message re: Work Required by Law

  Minus Adam and Mark,

  Irina please check with Steve once he comes online please let me know if anything is needed
  from Infrastructure or other teams to address the issue.

  Thanks,



  -
  Deputy Chief Information Officer | Technology & Innovation
  Mobile:

  Consumer Financial Protection Bureau
  consumerfinance.gov

  Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
  the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.
  From:                                                   >
  Sent: Monday, March 3, 2025 10:11 AM
  To: Martinez, Adam (CFPB)                               >; Chilbert, Christopher (CFPB)
                                  >; Malik, Irfan (CFPB)                        >
  Cc: Paoletta, Mark (CFPB)                            >; Sayre, Stephen (CFPB)
                            >; Scott, Adam (CFPB)                            >
  Subject: Re: All Hands Message re: Work Required by Law




              -
  Will do. Thanks.
  Chris and        ,
  All of the contractors are gone, am I correct?
  The first issue I see is that EXT Jenkins is returning 502. That is where the pipelines run. I
  wonder if it because some other service got shut down. I lack access privileges.




  From: Martinez, Adam (CFPB)
  Date: Monday, March 3, 2025 at 10:05 AM
                                                                  -
  would need to take a look to see if we can get it back up and I can try to take it from there.
  I don’t know how to reach him though, would need              to reach out when he is back online.


                                                                                >

  To:                                                                   >, Chilbert, Christopher (CFPB)
  <                              >,                                                               >
  Cc: Paoletta, Mark (CFPB) <                                            >,


                                                                                                                          JA474
    Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 73 of 107
USCA Case #25-5091    Document #2113074                      Filed: 04/25/2025 Page 480 of 637

  <                         , Scott, Adam (CFPB) <
  Subject: RE: All Hands Message re: Work Required by Law

  Hi
     -    . Please work with Chris and


  Adam Martinez
  Chief Operating Officer
                                           - to shift any resources needed to comply
  with the statute and any applicable laws/regulations. Thank you.




  From:
  Sent: Monday, March 3, 2025 10:02 AM
  To: Martinez, Adam (CFPB) <
  Cc: Paoletta, Mark (CFPB) <                                            )
  <                         >; Scott, Adam (CFPB) <                  >
  Subject: Re: All Hands Message re: Work Required by Law


  Hi Adam,
  Based on every email starting 2/10 the unambiguous guidance was to stop all work
  tasks, no stipulation of statue requirements was made.

  As of today, Consumer Complaint Database(CCDB) has not had been refreshed with
  new data since 02/22/2025 and displays an eror banner:
  https://www.consumerfinance.gov/data-research/consumer-complaints/search/?
  chartType=line&dateInterval=Month&dateRange=3y&date received max=2025-02-
  21&date_received_min=2022-02-
  21&lens=Product&searchField=all&subLens=sub product&tab=Trends

  Dodd Frank mandates:
  The Consumer Financial Protection Bureau (CFPB) to maintain a public database
  where consumer complaints against financial institutions are recorded and
  published, ensuring transparency in the financial marketplace; this database is
  commonly referred to as the "CFPB Consumer Complaint Database”.


  I am seeking authorization to fix underlying issue with data pipelines which
  load data for CCDB. Since the Data Products team lost all other developers
  when all contracts were canceled, I am also seeking authorization to utilize
  other member of D&D and EDA to assist as needed.

  Thanks for your prompt attention,




                                                                                             JA475
    Case 1:25-cv-00381-ABJ Document 60-1                    Filed 03/05/25 Page 74 of 107
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  From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
  Date: Sunday, March 2, 2025 at 3:33 PM
  To:
  Cc: Paoletta, Mark (CFPB) <
  Subject: All Hands Message re: Work Required by Law

  Message from Mark Paoletta, Chief Legal Officer

  On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out
  any statutorily required work, as he set forth in his February 8th email.

  On February 8, 2025, you received an email from Acting Director Vought directing you to halt
  several classes of work unless “required by law” or expressly approved by the Acting Director.
  On February 10, 2025, you received an email from Acting Director Vought directing you to
  reach out to me for the authorization required by the February 8 email. These measures were
  intended to ensure that new leadership could establish operational control over the agency
  while ensuring that it would continue to fulfill its statutory duties. Many of you understood this
  and continued to perform functions required by law and sought approval from me to perform
  work, which I have promptly granted.

  It has come to my attention, however, that some employees have not been performing
  statutorily required work. Let me be clear: Employees should be performing work that is
  required by law and do not need to seek prior approval to do so. If you have any questions,
  please reach out to me immediately, and I will promptly give you an answer and authorization
  if warranted. If you are aware of other employees that are needed to assist you in performing a
  statutorily required task but are not doing so, please raise this with me immediately.

  Thank you for your attention to this matter.

  Mark Paoletta
  Chief Legal Officer
  CFPB




                                                                                                       JA476
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 75 of 107
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          Exhibit AA




                                                                            JA477
                                        Case 1:25-cv-00381-ABJ Document 60-1                                              Filed 03/05/25 Page 76 of 107
                                    USCA Case #25-5091    Document #2113074                                                Filed: 04/25/2025 Page 483 of 637




From: Lee, Scott (CFPB) <
Sent: Monday, March 3, 2025 1:52 PM
To: Chang, Jean (CFPB)                         >; Chilbert, Christopher (CFPB) <                                  >; Essene, Ren (CFPB) <                           >; Gueye, Jafnar (CFPB)
Martinez, Adam (CFPB) <A                         >; Michalosky, Martin (CFPB)                                   >
Cc: Jacob, Roland (CFPB)                           >; DiPalma, Nikki (CFPB)                                ; Switzer, Kristin (CFPB)                               James, Dana (CFPB)                             Galicki,
Joshua (CFPB)                             ; Nguyen, Hoan (CFPB) <                             >; Austin, Richard (CFPB)                                   Roth, Marianne (CFPB) <
Subject: Operations: Statutory Requirements



Hi all,



We have some updated guidance on a few items:

    1. Mandated Reports: Adam has approved (see attached) to work on all reports that fulfill a legal requirement. See below for a list of reports due through June. Please have your teams restart work on these items
       through the normal drafting, review with stakeholders, and clearance (Ops FO and Exec. Sec.). If there are items missing from this list, please let me know.
    2. Statutory Requirements: New guidance is instructing us to work on all statutory requirements for the Bureau. Our Ops work ties to this work (directly and indirectly). We are working (with Legal) to develop a
       framework on what is required and how Ops work is implicated.



We know there’s many questions around this – so we’re going to schedule a couple of meetings to ensure we’re all aligned on this.



Scott




     OFFICE            REPORT/PUBLICATION TITLE                   DESCRIPTION AND ACTION(S)                         LEGAL REQUIREMENT                       RECEIVING                FY25               DUE DATE
    OR TEAM                                                              REQUIRED                                                                           ORGANIZATION          PUBLICATION          STATUTORILY
                                                                                                                                                                                  DUE DATE(S)           REQUIRED


     OFP/CFO        Annual Performance Plan and Report,       The report describes the resources           Dodd-Frank §1017(a)(4)(A) - Director             FRB                     2/15/2025                 N
                    and Budget Overview (Managed by           needed to accomplish our goals and
                                                                                                           ----               ----------
                                                                                                           shall provide to the Director of the Office      OMB
                    OSPP)                                     measure our performance against our          of Management and Budget copies of the           Congress
                                                              strategic plan. Strategy owns this           financial operating plans and forecasts of
                                                              document. The document also includes         the Director, as prepared by the Director
                                                              a budget section which the OCFO is           in the ordinary course of the operations of
                                                              responsible for. Budget section fulfills     the Bureau. S.1016 also requires that a
                                                              statutory requirement of 1017(a)(4)(A)       justification of the budget request of the
                                                              financial operating plans and forecasts.     previous
                                                                                                            ---       year
                                                                                                                       ---------be provided with the
                                                                                                           semiannual report to Congress.
                                                                                                           ---------                        ---- (Note:
                                                                                                           there may be other requirements that
                                                                                                           govern the publication of strategic plans
                                                                                                           and performance information)

     OFP/CFO        DATA Act                                  Submission of reconciliations of financial   Public Law 113-101, dated May 9, 2014            USAspending.gov         2/15/2025                 N
                                                                                                                    ffi i i i “Di i
                                                                                                                                                                                                                  JA478
                                Case 1:25-cv-00381-ABJ              Documentand60-1
                                         and procurement data that supports     the officialFiled     03/05/25 Page 77 of 107
                                                                                            title is “Digital
                                         USASpending.gov
                            USCA Case #25-5091        Document #2113074     Accountability and   Transparency
                                                                                              Filed:          Act of
                                                                                                          04/25/2025 Page 484 of 637
                                                                            2014”


OFP/CFO     GTAS                                   Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB                 2/18/2025   N
                                                   budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                   requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                   reports of financial condition and results
                                                   of operations



  CRO       GAO-IG Act Reporting                   Annual report of external findings from      Good Accounting Obligation in              Congress            2/28/2025   N
                                                   GAO and OIG                                  Government Act (GAO-IG Act) (Public        GAO
                                                                                                Law 115-414)                               OIG



OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                                on cfpb.gov)
                                                   quarter.



OFP/PROC    Service Contract Inventory             Presents an analysis on CFPB's service       FY 2010 Consolidated Appropriations Act-   OMB, MAX.GOV        2/28/2025   Y
                                                   contract inventory to determine if           Public Law 111-117 OMB memo, Dated
                                                   contract labor is used appropriately and     Dec 19, 2011
                                                   the mix of Federal employees and
                                                   contractors is balanced.


OFP/CFO     Annual Independent Performance Audit   Annual independent audit of the              12 USC § 5496a                             Public (published   2/28/2025   N
                                                   operations and budget of the Bureau.                                                    on cfpb.gov)
                                                   The purpose of this audit is to provide
                                                   objective analyses to improve program
                                                   performance and operations, reduce
                                                   costs, facilitate decision-making, and
                                                   contribute to public accountability


OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                   quarter.




OFP/CFO     Quarterly Financial Reports (CFO       Budget execution by Budget Category,         Dodd-Frank § 1017?                         Public (published   2/28/2025   N
            Updates)                               Division, and largest obligations for each                                              on cfpb.gov)
                                                   quarter.


 OCDO       Federal Electronic Records and Email   Report to determine how federal              The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
            Management Maturity Model Report       agencies manage electronic records.




Admin Ops   Records Management Self-               The goal of the self assessment is to        The Federal Records Act (44 U.S.C. 31)     NARA                3/15/2025   N
            Assessment                             determine whether federal agencies are
                                                   compliant with statutory and regulatory
                                                   records management requirements.


                                                                                                                                                                               JA479
                                Case 1:25-cv-00381-ABJ Document 60-1                                           Filed 03/05/25 Page 78 of 107
                            USCA Case #25-5091    Document #2113074                                             Filed: 04/25/2025 Page 485 of 637
Admin Ops   Senior Agency Official of Records       Report documents how the Bureau is           The Federal Records Act (44 U.S.C. 31)      NARA            3/15/2025   N
            Management Report                       managing RIM activities and goals
                                                    established by NARA




OFP/CFO     GTAS                                    Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency    OMB             3/18/2025   N
                                                    budget execution data; fulfill statutory     Reporting Requirements for the Financial    Treasury
                                                    requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                    reports of financial condition and results
                                                    of operations



OFP/CFO     Quarterly Transfer Requests             Letters requesting transfer of funds from    Dodd-Frank §------
                                                                                                 ------       1017(a)(1)                     FRB             3/20/2025   N
                                                    the Fed Reserve to CFPB                                                                  Congress




  CRO       OIG Semiannual Report                   OIG Federal Reserve provides                 P.L. 95-452                                 HFSC and BHUA   3/31/2025   Y
                                                    seminannual report of signigicant
                                                    activities, finds, and recommendations
                                                    during a six month period.


  OHC       Financial Literacy and Education Plan   OPM requires agency benefits                 Thrift Savings Plan Open Elections Act of   OPM             3/31/2025   N
            (for Bureau Employees)                  representatives to submit an annual          2004 (Public Law 108-469)
                                                    financial literacy and education plan for
                                                    agency employees.




  OHC       Student Loan Repayment Incentives       Agencies must submit an annual written       5 U.S.C. 5379(h)(1) and 5 CFR               OPM             3/31/2025   Y
                                                    report to the U.S. Office of Personnel       537.110(b)
                                                    Management (OPM) on their use of
                                                    student loan repayments during the
                                                    previous calendar year (CY), as
                                                    required by 5 U.S.C. 5379(h).



 OCDO       Chief FOIA Officer Report               In accordance with the FOIA, each            The Freedom of Information Act (FOIA), 5    DOJ             3/31/2025   Y
                                                    agency Chief FOIA Officer must “review       U.S.C § 552(j)(2)(D).
                                                    and report to the Attorney General,
                                                    through the head of the agency, at such
                                                    times and in such formats as the
                                                    Attorney General may direct, on the
                                                    agency’s performance in implementing
                                                    [the FOIA].


  OHC       Annual Data Call for Pathways           Under Section 6 of Executive Order           5 CFR 362.109                               OPM             4/1/2025    Y
            Programs and Early Career Talent        14035: Diversity, Equity, Inclusion, and
            Hiring Reporting                        Accessibility in the Federal Workforce,
                                                    the Biden-Harris Administration directs

                                                                                                                                                                             JA480
                                 Case 1:25-cv-00381-ABJ                 Document 60-1
                                          agencies to increase availability of paid
                                                                                                                 Filed 03/05/25 Page 79 of 107
                             USCA Case #25-5091            Document         #2113074
                                          internships, fellowships, apprenticeships,                              Filed: 04/25/2025 Page 486 of 637
                                                      and other early career programs.


  OHC       Telework Data Call                        Participation in this annual survey is a     Telework Enhancement Act of 2010,          OPM                           N
                                                      requirement under the Telework               Public Law 111-292
                                                      Enhancement Act of 2010, Public Law
                                                      111-292 (the Act and is reported by OPM                                                                   4/10/2025
                                                      to Congress. The questions in this
                                                      survey ask for information about
                                                      agencies’ telework program.


OFP/CFO     GTAS                                      Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency   OMB               4/18/2025   N
                                                      budget execution data; fulfill statutory     Reporting Requirements for the Financial   Treasury
                                                      requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                      reports of financial condition and results
                                                      of operations


   T&I      Fiscal Year 20XX-20XX Guidance on         FY XX Q1 - Q3 Reporting via                  FY24 FISMA Guidance is not yet released.         DHS         4/18/2025   Y
            Federal Information Security and          Cyberscope.                                                                                   OMB
            Privacy Management Requirements -                                                      OMB M-23-03 - FY23 (MEMORANDUM
            EO14028 Metrics (Q1 & Q3) & Chief                                                      FOR THE HEADS OF EXECUTIVE
            Information Officer Metrics (Q2)                                                       DEPARTMENTS AND AGENCIES)


   T&I      Strengthening the Cybersecurity of        FY2X HVA list report on a quarterly basis    OMB M-19-03                                      DHS         4/18/2025   Y
            Federal Agencies by Enhancing the         and provide updates and modifications
            High Value Asset Program                  via Homeland Security Information
                                                      Network (HSIN)


   T&I      Improving Vulnerability Identification,   BOD 20-01 Vulnerability Disclosure           OMB-M-20-32                                      DHS         4/18/2025   Y
            Management, and Remediation               Policy reporting via Cyberscope


Admin Ops   Quarterly FOIA Report                     In accordance with the FOIA, the             5 U.S.C. § 552(e)(5), (j)(2)(D)            DOJ               4/25/2025   Y
                                                      Department of Justice requires agencies
                                                      to provide quarterly reporting of four key
                                                      FOIA statistics so that they can be
                                                      posted on FOIA.gov.




   T&I      Migrating to Post-Quantum                 By May 4, 2023, and annually thereafter      M-23-02                                          DHS         5/3/2025    Y
            Cryptography (Inventory)                  until 2035, or as directed by superseding                                                     OMB
                                                      guidance, agencies are directed to
                                                      submit a prioritized inventory of
                                                      information systems and assets,
                                                      excluding national security systems, that
                                                      contain CRQC-vulnerable cryptographic
                                                      systems to ONCD and the Department
                                                      of Homeland Security Cybersecurity and
                                                      Infrastructure Security Agency (CISA)

OFP/CFO     DATA Act                                  Submission of reconciliations of financial   Public Law 113-101, dated May 9, 2014      USAspending.gov   5/15/2025   N
                                                      and procurement data that supports           and the official title is “Digital
                                                      USASpending.gov                              Accountability and Transparency Act of
                                                                                                   2014”


                                                                                                                                                                                JA481
                              Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 80 of 107
OFP/CFO   GTAS            USCA Case #25-5091         Document
                                       Submission of monthly           #2113074
                                                             financial and   Chapter 4700 of Filed:  04/25/2025
                                                                                             the TFM entitled “Agency OMBPage 487 of 637
                                                                                                                                      5/18/2025                             N
                                                   budget execution data; fulfill statutory      Reporting Requirements for the Financial   Treasury
                                                   requirement of 1017(a)(4)(A) quarterly        Report of the United States Government”
                                                   reports of financial condition and results
                                                   of operations


OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                                 on cfpb.gov)
                                                   quarter.



OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                   quarter.


OFP/CFO   Quarterly Financial Reports (CFO         Budget execution by Budget Category,          Dodd-Frank § 1017?                         Public (published   5/30/2025   N
          Updates)                                 Division, and largest obligations for each                                               on cfpb.gov)
                                                   quarter.


 OCDO     Financial Stability Oversight Council    The Interagency Data Inventory is a           Dodd-Frank Wall Street Reform and          FSOC                5/31/2025   N
          (FSOC) Data Inventory                    product of the Data Committee of the          Consumer Protection Act of 2010
                                                   Financial Stability Oversight Council
                                                   (FSOC). The inventory catalogs the data
                                                   collected by FSOC member
                                                   organizations. The inventory contains
                                                   information — metadata — about each
                                                   data collection. It does not contain the
                                                   underlying datasets. For each data
                                                   collection, the inventory has basic
                                                   information, such as a brief description
                                                   of the collection, collecting organization,
                                                   and the name and number of the form
                                                   used to collect the data.


OFP/CFO   Semiannual Report of Payments            As required by the statute, the Bureau        31 U.S.C. 1353                             OGE                 5/31/2025   Y
          Accepted from a Non-Federal Source       must submit to the Director of the Office
                                                   of Government Ethics reports of
                                                   payments of more than $250 accepted
                                                   from non-Federal sources for travel,
                                                   subsistence, and related expenses with
                                                   respect to an employee’s attendance at
                                                   any meeting or similar function relating
                                                   to the official duties of the employee.


  T&I     Migrating to Post-Quantum                By June 4, 2023, and annually thereafter      M-23-02                                           DHS          6/4/2025    Y
          Cryptography (Funding Estimates)         until 2035, or as directed by superseding                                                       OMB
                                                   guidance, agencies are required to
                                                   submit to ONCD and OMB an
                                                   assessment of the funding required to
                                                   migrate information systems and assets
                                                   inventoried under this memorandum to
                                                   post-quantum cryptography during the
                                                   following fiscal year.


  T&I     Update to Memorandum M-22-18,            Agencies must submit metrics on               OMB M-23-16                                       OMB          6/9/2025    Y
          Enhancing the Security of the Software   collected attestation letters for all
          Supply Chain through Secure Software     software subject to the requirements of
          Development Practices                    M 22 18 as amended by this
                                                                                                                                                                                JA482
                     Development Practices Case 1:25-cv-00381-ABJ
                                                    M-22-18, as amended by thisDocument 60-1                            Filed 03/05/25 Page 81 of 107
                                                    memorandum., as well as the on agency
                                       USCA Case #25-5091         Document
                                                    approval of POA&Ms AND number #2113074
                                                                                     of                                  Filed: 04/25/2025 Page 488 of 637
                                                             extensions and waivers in place at each
                                                             agency.


    OFP/CFO          GTAS                                    Submission of monthly financial and          Chapter 4700 of the TFM entitled “Agency     OMB            6/18/2025   N
                                                             budget execution data; fulfill statutory     Reporting Requirements for the Financial     Treasury
                                                             requirement of 1017(a)(4)(A) quarterly       Report of the United States Government”
                                                             reports of financial condition and results
                                                             of operations


    OFP/CFO          Quarterly Transfer Requests             Letters requesting transfer of funds from    Dodd-Frank §----·-
                                                                                                          ------       1017(a)(1)                      FRB            6/20/2025   N
                                                             the Fed Reserve to CFPB                                                                   Congress


   OFP/PROC          Federal Activities Inventory Report     The Inventory depicts the CFPB’s             Federal Activities Inventory Reform Act of   Congress,      6/30/2025   Y
                     (FAIR)                                  workforce by functions (or activities)       1998 (P.L. 105-270) and OMB Circular A-      OMB, MAX.GOV
                                                             performed by Bureau employees. The           76 - Competitive Sourcing
                                                             Inventory further breaks down these
                                                             activities into Inherently Governmental
                                                             (activities that can only be performed by
                                                             a Federal employee) and Commercial
                                                             (Activities that can be performed by
                                                             Federal or contract employees)
                                                             categories. The number of Full-Time
                                                             Equivalents (FTEs) is also displayed by
                                                             location.




Scott Lee

Senior Advisor to the Chief Operating Officer - Operations

Consumer Financial Protection Bureau (CFPB)




                                                                                                                                                                                      JA483
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 82 of 107
USCA Case #25-5091    Document #2113074     Filed: 04/25/2025 Page 489 of 637




           Exhibit BB




                                                                            JA484
    Case 1:25-cv-00381-ABJ Document 60-1           Filed 03/05/25 Page 83 of 107
USCA Case #25-5091    Document #2113074             Filed: 04/25/2025 Page 490 of 637
 From: "Tabitha L. Bond"
 Date: March 4, 2025 at 7:50:37 AM EST
 To:
 Subject:SFSOattached
 Reply-To:




    New ZixCorp secure email message



      Open Message



   To view the secure message, click Open Message.

   The secure message expires on May 03, 2025 @ 11:50 AM (GMT).

   Do not reply to this notification message; this message was auto-generated by the
   sender's security system. To reply to the sender, click Open Message.

   If clicking Open Message does not work, copy and paste the link below into your
   Internet browser address bar.



   Want to send and receive your secure messages transparently?
   Click here to learn more.




                                                                                       JA485
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 84 of 107
USCA Case #25-5091    Document #2113074     Filed: 04/25/2025 Page 491 of 637




           Exhibit BB




                                                                            JA486
    Case 1:25-cv-00381-ABJ Document 60-1           Filed 03/05/25 Page 85 of 107
USCA Case #25-5091    Document #2113074             Filed: 04/25/2025 Page 492 of 637




    New ZixCorp secure email message



      Open Message



   To view the secure message, click Open Message.

   The secure message expires on May 03, 2025 @ 11:50 AM (GMT).

   Do not reply to this notification message; this message was auto-generated by the
   sender's security system. To reply to the sender, click Open Message.

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                                                                                       JA487
                 Case 1:25-cv-00381-ABJ Document 60-1                                                   Filed 03/05/25 Page 86 of 107
            USCA
Standard Form 50
                 Case #25-5091     Document #2113074                                                     Filed: 04/25/2025 Page 493 of 637
Rev 7/91
U.S. Office of Personnel Management                          NOTIFICATION OF PERSONNEL ACTION
FPM Supp. 2%-33, Subch. 4
                                                                                                                                                                       4. Effective Dale
                                                                                                                                                                       02-11-2025
 FIRST ACTION
 5-A. Code         5-B. Namre of Action                                                      6-A.Code           6-B. Namm of Action
 385               TERM DURING PROB/fRIAL PERIOD
 5~.Code           5-D. Legal Authority                                                      6~.Code            6-D. Legal Authority
 1AM               REG 315.804 EQ
 5-E. Code         5-F. Legal Authority                                                      6-E. Code          6-F. Legal Authority

 7. FROM: Position Title and Number                                                          15. TO: Position Title and Number




                                                                                            16. Pay Plan                                    19. Step or Rate   20. Total Salary            21. Pay Basis
                                                                                                                                                                 .00
                                                                                             20A. Basic Pay            20B. Locality Adj.           20C. Adj. Basic Pay           20D. Other Pay
                                                                                             .00                        .00                         .00                           .00
                                                                                             22. Name and Loca1ion of Position's Organization




                             3 - 10 Point/Disability        5 - 10 Point/Other
                             4 - 10 Point/Compensable       6 - 10 Point/Compensable/30%




                                                 llliiiliiilillDate         (Leave)



                                                            35. FLSA Calegory                36. Appropria1ion Code                                            37. Bargaining Unit SlalUs
                                                                     E-Exempl
                                                          •          N - Nonexempl

                                                         39. Duty Stalion

 40. Agency Da1a                41.                                   42.


 45. Remarks
 E.O. 14210 AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED "ADDITIONAL
 DIRECTIVES ON BUREAU ACTIVITIES" DTD 2/10/2025.
 HEALTH BENEFITS COVERAGE IS EXTENDED FOR 31 DAYS DURING WHICH YOU ARE
 ELIGIBLE TO CONVERT TO INDIVIDUAL POLICY NONGROUP CONTRACT .


 FORWARDING ADDRESS
 LUMP-SUM PAYMENT TO BE MADE FOR ANY UNUSED ANNUAL LEA VE.




 46. Employing Department or Agency                                                          50. Signatun,/Authentica1ion and Title of Approving Official
 CONSUMER FINANCIAL PROTECTION BUR                                                           ELECTRONICALLY SIGNED BY:
                                                            49. Approval Dale                ADAM MARTINEZ
                                                            02-13-2025                       ACTING CHIEF HUMAN CAPITAL OFFICER
                                                                                                                                 Editions Prior to 7/91 Are Not Usable After 6/30/93
                                                                                                                                                             NSN 7540-01-333-6236
                                                                      1 - Employee Copy - Keep for Future Reference
                                                                                                                                                                                   JA488
                                       0123  45ÿ
                                Document #211307421ÿ
              Case 1:25-cv-00381-ABJ Document 60-1
                                                      57891       55
                                                            Filed 03/05/25 Page 87 of 107
  2 ÿ ÿÿÿÿÿÿÿÿÿÿÿÿÿÿÿ ÿ ÿÿÿÿ ÿÿÿ
          USCA Case #25-5091                                  Filed: 04/25/2025    Page 494 of 637
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2 ÿ#ÿ                                                                       U ÿafÿXÿghÿ4ÿiÿj9hkÿ
$ÿ&'()*+ÿ,$&ÿ-./ÿ0$&ÿ/1+)2341ÿ561ÿ712+(..1'ÿ-)53(.8+9ÿ56-5ÿ()):221/;ÿ            $ÿT6(>+ÿ>61.ÿA(:2ÿY1/12-'ÿ+12J3)1ÿ41?-.ÿ:.'1++ÿA(:ÿ6-J1ÿ723(2ÿ)21/35-4'1ÿ
$ÿ&'()*+ÿ<,$==ÿ+6(>ÿ561ÿ7(+353(.ÿ-./ÿ(2?-.3@-53(.ÿ5(ÿ>63)6ÿA(:ÿ-21ÿ-++3?.1/; +12J3)1;ÿMFÿ+(Cÿ563+ÿ/-51ÿ3+ÿ)(.+52:)51/ÿ5(ÿ3.)':/1ÿA(:2ÿ5(5-'ÿA1-2+CÿE(.56+ÿ-./
                                                                                 /-A+ÿ(Fÿ723(2ÿ)21/35-4'1ÿ)3J3'3-.ÿ-./ÿE3'35-2Aÿ+12J3)1;ÿ
8ÿ                                                                             $ÿY:''$53E1ÿ1E7'(A11+ÿ>356ÿF1>12ÿ56-.ÿ[ÿA1-2+ÿ(Fÿ+12J3)1ÿ1-2.ÿQÿ6(:2+ÿ(Fÿ
$ÿB61.ÿ561ÿ712+(..1'ÿ-)53(.ÿ3+ÿ-.ÿ->-2/ÿ(2ÿ4(.:+Cÿ4'()*ÿ=Dÿ+6(>+ÿ561ÿ            -..:-'ÿ'1-J1ÿ1-)6ÿ7-Aÿ7123(/\ÿ56(+1ÿ>356ÿ[ÿ(2ÿE(21ÿA1-2+ÿ4:5ÿ'1++ÿ56-.ÿ<,ÿ
-E(:.5ÿ(Fÿ56-5ÿ(.1$53E1ÿ)-+6ÿ7-AE1.5;ÿB61.ÿ561ÿ-)53(.ÿ3+ÿ.(5ÿ-.ÿ->-2/ÿ(2ÿ A61(-:22++ÿÿ11--2).6ÿÿ07ÿ-6A(ÿ:721+2ÿ31(-/)ÿ6ÿ7-Aÿ7123(/\ÿ-./ÿ56(+1ÿ>356ÿ<,ÿ(2ÿE(21ÿA1-2+ÿ1-2.ÿlÿ
4(.:+Cÿ4'()*ÿ<=ÿ+6(>+ÿA(:2ÿF(2E12ÿ5(5-'ÿ-..:-'ÿ+-'-2ACÿ-./ÿ4'()*ÿ=Dÿ+6(>+ÿ $ÿm(:2ÿ1-2.3.?+ÿ-./ÿ'1-J1ÿ+5-51E1.5ÿ(2ÿA(:2ÿ53E1ÿ-./ÿ-551./-.)1ÿ)-2/ÿ>3''ÿ
A(:2ÿ.1>ÿ5(5-'ÿ-..:-'ÿ+-'-2Aÿ84'()*ÿ=DGÿ7':+ÿ=DH9;ÿI61ÿ-E(:.5+ÿ3.ÿ4'()*+ÿ<=ÿ +6(>ÿ561ÿ2-51ÿ-5ÿ>63)6ÿA(:ÿ1-2.ÿ'1-J1ÿ-./ÿA(:2ÿ):221.5ÿ:.:+1/ÿ'1-J1ÿ
-./ÿ=Dÿ/(ÿ.(5ÿÿ3.)':/1ÿ-.Aÿ(.1$53E1ÿ)-+6ÿ7-AE1.5+ÿ8+:)6ÿ-+ÿ712F(2E-.)1ÿ 4-'-.)1;ÿ
->-2/+ÿ-./ÿ21)2:35E1.5ÿ(2ÿ21'()-53(.ÿ4(.:+1+9ÿ(2ÿ7-AE1.5+ÿ56-5ÿE-AÿJ-2Aÿ
F2(Eÿ(.1ÿ7-Aÿ7123(/ÿ5(ÿ561ÿ.1K5ÿ8+:)6ÿ-+ÿ(J1253E1ÿ7-A9Cÿ(2ÿ(5612ÿF(2E+ÿ(Fÿ
721E3:Eÿ7-A;ÿ                                                                    U ÿaVÿXÿnÿg ÿ
$ÿ&'()*ÿ=DLÿ3+ÿ561ÿ+)61/:'1/ÿ-E(:.5ÿF(2ÿA(:2ÿ?2-/1ÿ-./ÿ+517Cÿ3.)':/3.?ÿ-.Aÿ $ÿm(:2ÿ>(2*ÿ+)61/:'1ÿ3+ÿ1+5-4'3+61/ÿ4AÿA(:2ÿ+:712J3+(2;ÿ
+71)3-'ÿ+-'-2Aÿ2-51ÿA(:ÿ21)13J1;ÿM5ÿ/(1+ÿ.(5ÿ3.)':/1ÿ-.Aÿ'()-'35A$4-+1/ÿ7-A;ÿ $ÿLÿF:''$53E1ÿ1E7'(A11ÿ>(2*+ÿ(.ÿ-ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ
I63+ÿ2-51ÿ(Fÿ7-Aÿ+12J1+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ/1512E3.3.?ÿA(:2ÿ2-51ÿ(Fÿ7-Aÿ:7(.ÿ :+:-''AÿQDÿ6(:2+ÿ712ÿ>11*;ÿLÿ7-25$53E1ÿ1E7'(A11ÿ6-+ÿ-ÿ721-22-.?1/ÿ
72(E(53(.Cÿ)6-.?1ÿ5(ÿ-ÿ'(>12ÿ?2-/1Cÿ(2ÿ21-++3?.E1.5Cÿ-./ÿ3+ÿ:+1/ÿF(2ÿ7-Aÿ +)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ56-5ÿ3+ÿ:+:-''Aÿ415>11.ÿ<0ÿ-./ÿ[=ÿ6(:2+ÿ712ÿ>11*;ÿL.
2151.53(.ÿ7:27(+1+;ÿ
$ÿ&'()*ÿ=D&ÿ3+ÿ561ÿ-..:-'ÿ/(''-2ÿ-E(:.5ÿ(FÿA(:2ÿM.5123EÿN1(?2-763)ÿL/O:+5$ÿ 3>6   .512E3551.5ÿ1E7'(A11ÿ6-+ÿ.(ÿ721-22-.?1/ÿ+)61/:'1/ÿ5(:2ÿ(Fÿ/:5Aÿ-./ÿ>(2*+ÿ
                                                                                     1.ÿ.11/1/;ÿ
E1.5ÿ(2Cÿ41?3..3.?ÿ3.ÿ<PPQCÿA(:2ÿ'()-'35A$4-+1/ÿ)(E7-2-43'35Aÿ7-AE1.5;ÿ
$ÿ&'()*ÿ=DGÿ3+ÿA(:2ÿL/O:+51/ÿ&-+3)ÿR-ACÿ561ÿ5(5-'ÿ(Fÿ4'()*+ÿ=DLÿ-./ÿ=D&;ÿM5ÿ E(21''$ÿ5-3E1
                                                                                 $ÿY:        ÿ-./ÿ7-25$53E1ÿ1E7'(A11+ÿ>6(+1ÿ-77(3.5E1.5+ÿ-21ÿF(2ÿPDÿ/-A+ÿ(2ÿ
+12J12+ÿ-+ÿ561ÿ4-+3+ÿF(2ÿ)(E7:53.?ÿA(:2ÿ215321E1.5ÿ41.1F35+Cÿ'3F1ÿ3.+:2-.)1Cÿ .(5;ÿ +:-''Aÿ1'3?34'1ÿ5(ÿ1-2.ÿ-..:-'ÿ'1-J1\ÿ3.512E3551.5ÿ1E7'(A11+ÿ-21ÿ
                                                                                          21ÿ
                                                                                            :
721E3:Eÿ7-ACÿ-./ÿ+1J12-.)1ÿ7-A;ÿ
$ÿ&'()*ÿ=DHÿ3+ÿ561ÿ5(5-'ÿ/(''-2ÿ-E(:.5ÿ(Fÿ-.AÿS151.53(.ÿL''(>-.)1+CÿT:712$ÿ $56ÿT1  -.
                                                                                      -+(.-'ÿ1E7'(A11+ÿ>(2*ÿ(.ÿ-.ÿ-..:-''Aÿ21):223.?ÿ4-+3+ÿF(2ÿ7123(/+ÿ(Fÿ'1++
                                                                                      ÿ<=ÿE(.56+ÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ-ÿF:''$53E1Cÿ-ÿ7-25$53E1Cÿ(2ÿ-.ÿ
J3+(2AÿH3FF121.53-'+Cÿ-./ÿT5-FF3.?ÿH3FF121.53-'+ÿ56-5ÿ-21ÿ'3+51/ÿ3.ÿ561ÿ21E-2*+ÿ 3.512E3
4'()*;ÿI61+1ÿ7-AE1.5+ÿ-21ÿE-/1ÿ3.ÿ561ÿ+-E1ÿE-..12ÿ-+ÿ4-+3)ÿ7-ACÿ4:5ÿ-21ÿ $ÿo.$)-55'1'ÿ1.E7    5ÿ+)61/:'1ÿ/:23.?ÿ56132ÿ>(2*ÿ+1-+(.;ÿ
                                                                                                    '(A11+ÿ>(2*ÿ/:23.?ÿ7123(/+ÿ(Fÿ61-JAÿ>(2*'(-/ÿ-./ÿ-21ÿ3.ÿ7-Aÿÿ
.(5ÿ-ÿ7-25ÿ(Fÿ4-+3)ÿ7-AÿF(2ÿ-.Aÿ7:27(+1+;ÿ                                       +5-5:+ÿF(2ÿ-ÿ5ÿ'1-+5ÿ0ÿE(.56+ÿ(Fÿ1-)6ÿA1-2\ÿ561AÿE-Aÿ6-J1ÿ135612ÿ-ÿF:''$53E1
                                                                                 (2ÿ-ÿ7-25$53E1ÿ+)61/:'1ÿ>61.ÿ561Aÿ-21ÿ3.ÿ7-Aÿ+5-5:+;ÿ
U ÿVWÿXÿ2ÿ
$ÿM/1.53F31+ÿ561ÿ.-5:21ÿ(FÿA(:2ÿ-77(3.5E1.5ÿ-./ÿ3+ÿ:+1/ÿ5(ÿ/1512E3.1ÿA(:2ÿ U ÿaaÿXÿ8Xÿpÿ8ÿU ÿ8ÿ8ÿ
23?65+ÿ/:23.?ÿ-ÿ21/:)53(.ÿ3.ÿF(2)1ÿ8SMY9;ÿI1.:21ÿ?2(:7+ÿ-21ÿ1K7'-3.1/ÿ3.ÿE(21ÿ $ÿM./3)-51+ÿ561ÿ.:E412ÿ(Fÿ6(:2+ÿ-ÿ7-25$53E1ÿ1E7'(A11+ÿ3+ÿ+)61/:'1/ÿ5(ÿ>(2*ÿ
/15-3'ÿ3.ÿ+:4)6-7512ÿ=0ÿ(FÿYRZÿT:77'1E1.5ÿ=P0$[[ÿ-./ÿSMYÿ3+ÿ1K7'-3.1/ÿ3.ÿ /:23.?ÿ-ÿ5>($>11*ÿ7-Aÿ7123(/;ÿ
YRZÿT:77'1E1.5ÿ[,<$<\ÿ4(56ÿ+6(:'/ÿ41ÿ-J-3'-4'1ÿF(2ÿ21J31>ÿ3.ÿA(:2ÿ712+(..1'
(FF3)1;ÿ                                                                         U ÿaWÿXÿ8 ÿ1ÿ
U ÿV]ÿXÿ^ ÿ8ÿÿ_3̀ÿ                                          $ÿM/1.53F31+ÿ561ÿ1E7'(AE1.5ÿ+A+51Eÿ:./12ÿ>63)6ÿA(:ÿ-21ÿ+12J3.?ÿ$ÿ561ÿÿ
$ÿM./3)-51+ÿ>615612ÿA(:ÿ6-J1ÿ721F121.)1ÿF(2ÿ21/:)53(.$3.$F(2)1ÿ7:27(+1+;ÿ        G(  E715353J1ÿT12J3)1Cÿ561ÿcK)1751/ÿ+12J3)1Cÿ(2ÿ561ÿT1.3(2ÿcK1):53J1ÿ
                                                                                 T12J3)1ÿ8TcT9;ÿ
                                                                                 $ÿI61ÿ1E7'(AE1.5ÿ+A+51Eÿ/1512E3.1+ÿA(:2ÿ1'3?343'35Aÿ5(ÿE(J1ÿ5(ÿ(5612ÿO(4+ÿ3.
U ÿabÿXÿ_ÿ8ÿ                                                       561ÿY1/12-'ÿ+12J3)1CÿA(:2ÿ23?65+ÿ3.ÿ/3+)37'3.-2Aÿ-./ÿ-/J12+1ÿ-)53(.+Cÿ-./ÿ
$ÿYMGLÿ ÿ $T()3-'ÿT1):235AÿTA+51Eÿ                                               A(:2ÿ1'3?343'35AÿF(2ÿ211E7'(AE1.5ÿ3FÿA(:ÿ'1-J1ÿY1/12-'ÿ+12J3)1;ÿ
$ÿGTÿ ÿ $G3J3'ÿT12J3)1ÿS15321E1.5ÿTA+51Eÿ
$ÿGT$T71)ÿ            $G3J3'T12J3)1S15321E1.5TA+51EF(2'->1.F(2)1E1.5 U ÿaqÿXÿ̀9g#ÿ4rÿ
ÿ           ÿ         ÿ-./ÿF321F3?6512ÿ712+(..1'ÿ
$ÿYTÿ ÿ $Y(213?.ÿT12J3)1ÿS15321E1.5ÿ-./ÿH3+-43'35AÿTA+51Eÿ
                                                                                 $ÿcK1E75ÿ1E7'(A11+ÿ-21ÿ.(5ÿ)(J121/ÿ4Aÿ561ÿE3.3E:Eÿ>-?1ÿ-./ÿ(J1253E1ÿ
                                                                                 '->ÿ8561ÿY-32ÿs-4(2ÿT5-./-2/+ÿL)59\ÿ.(.1K1E75ÿ1E7'(A11+ÿÿ)(J121/;ÿ
$YcSTÿ ÿ $Y1/12-'ÿcE7'(A11+dÿS15321E1.5ÿTA+51Eÿ
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ÿS1+12J1ÿ
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    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 88 of 107
USCA Case #25-5091    Document #2113074     Filed: 04/25/2025 Page 495 of 637




          Exhibit CC




                                                                            JA490
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USCA Case #25-5091    Document #2113074                          Filed: 04/25/2025 Page 496 of 637




 From: Jeremy A. Crouse
 Date: On Monday, March 3rd, 2025 at 12:31 PM
 Subject: Separation SF50
 To:


       Good Morning,



       Attached you will find your Separation SF50 that was pulled from your eOPF.



       Thank you,



       Jeremy A. Crouse



       Jeremy A. Crouse

       Human Resources Assistant

       Bureau of the Fiscal Service
       Personnel Actions Processing Branch


       Phone:



       ***CONTROLLED UNCLASSIFIED INFORMATION***



       <image001.png>



       NOTE: Please be aware that if you email documents containing personally identifiable information
       (PII), the information may not be secure and your email may be intercepted or otherwise viewed
       against your wishes. ARC strongly encourages you not to use unsecured email as a means to
       communicate sensitive information to us. To help secure your data, please contact me and request
       that I send you an encrypted email message; you can then open and respond to the message and this
       will then encrypt your message and any attachments you send me.


                                                                                                           JA491
Standard Form SO        Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 90 of 107
Rev. 7191
                    USCA Case #25-5091 NOTIFICATION
US. Office of ~rsonnel Management         Document #2113074      Filed:
                                                      OF PERSONNEL      04/25/2025
                                                                    ACTION         Page 497 of 637
FPM SU , 196-33, Subcb. 4

1. Name (L.~st,First, l\'liddle)                                                                                                                                                     4. Effec.tiveDate
                                                                                                                                                                                         02/13/2025

FIRST ACTION                                                                                                   SECOND ACTION
  5-A.Code                 5-B. Nature of Action                                                               6-A.Code                   6-B. Nature of Action
     330                     REMOVAL
  5-C.Code                 5-D. Legal Authority                                                                6-C.Code                    6-D. Legal Authority
      ZLM                    EO 14210 DTD 2/11/25
  5-E.Code                 5-F. Legal Authority                                                                6-E.Code                    6-F. Legal Authority


                                                                                                               15. TO: Position Title and Nwuber




8. Pay Plan 9. 0cc. Code           0. Grade or Level 11. Step or Rate ll, Total Salary       13, Pay Basis     16, Pay Plan     17. 0cc. Code   18, Grade or Lenl     19Step or Rate l0, Total Salary/Award    21, Pay Basis

                                                                                              ■
 ■
l:!A, Basic Pay
                -                   ■
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                                                        ■
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                                                                                           .00                                                     .00                                                 .00
 14. Name and Location of Position's Organization                                                              22. Name and Location of Position's Organization
CONSUMER FINANCIAL PROTECT BUREAU
DIRECTOR




EMPLOYEE DATA
                                                                                                                                                            25. Agency Use          26. Veterans Preference for RIF
                                   3 - l~Pomtll);sabitity           5- l~PoinUOfbl,r                                      0-Noot           2-Cooditional
                                   4 - l~Point!Compasab»            6- ·~-I/C-bl,/30'l0
                                                                                                                     I    1-P«l'UQfQt      3-~                                                       X        NO
                                                                                                               28. Annuitant Indicator
                                                                                                                 I
 30. Retirement Plan                                                       31. Service Comp. Date (Leave) 32. Work Schedule
                                                                                                                                                                                                Biweekly
                                                                                                                  F       FULL TIME                                                             Pay Period
 POSITION DATA
 34. Position Occupied
          1 - Competitin Strtift
          2 - ExNpttd ~

 38. Duty Station Code


40. Agency Data                41.
                                      3 - SES Gaenl
                                      4- SES CarMr Rfstrvtd




                                                                    42.
                                                                            35. FLSA Category

                                                                              I
                                                                                                               36. Appropri.~tiou Code


                                                                           39. Duty Station (City - County -State or Overseas Location)


                                                                                                  43.                             44.
                                                                                                                                                                                    -
                                                                                                                                                                                    37. Bargaining Unit Status




 45.Remarks
  E.O. 14210                AND THE STOP WORK EMAIL FROM RUSS VOUGHT ENTITLED ADDITIONAL
  DIRECTIVES                ON BUREAU ACTIVITIES DTD 02/10/2025.
          ¥Jtt mtmtn; JJJttb
  ~=~:N~AJMM              ttJRant.




46. Employing Department or Agency                                                                           50. Signature/Authentication and Tide of Approving Official




 - -
  CONSUMER FINANCIAL PROTECTION BUR                                                                          ELECTRONICALLY SIGNED BY:
47. Agency Code             48. Personnel Office ID                  49. Approval Date                       ADAM MARTINEZ
                                                                     02/15/2025                              ACTING CHIEF HUMAN CAPITAL OFFICER
5-Part 50-316
                                                                     2 - OPF Copy - Long-Term Record - DO NOT DE.STROY                                                                                             JA492
                                                                                                                                                                                   Editions Prior to 7191Are Not Usable After 6/30193
                                                                                                                                                                                                             NSN7S4o-Ol-333-.,l38
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 91 of 107
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          Exhibit DD




                                                                            JA493
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 USCA Case #25-5091    Document #2113074                       Filed: 04/25/2025 Page 499 of 637

  From: Chilbert, Christopher (CFPB)
Subject: RE Requestto fix the consumertinance.gov
                                                nomepage
   Date: Maren4, 2025 at 8:45AM
     To: Scott.Adam (CFPB)Adam.Scott@cfpb   gov.


      Thanks Adam,                       . I believe it is important to restore the home page as soon
      as possible, but that is not currently authorized. It will be a priority for me once we are
      authorized to restore it.
      Thanks,

      Chris Chilbert


      From: Scott, Adam (CFPB)                                  >
      Sent: Tuesday, March 4, 2025 6:53 AM
      To:


                                                           nee.gov homepage

      Thank you,-·      I strongly agree with all of the statements you have made. I have
      added Chris and Ii.I so that they may send this to leadership for approval.

      Please note, we have made this request as recently as yesterday and it was denied
      at that time.

      -Adam

      From:
      Sent: Monday, March 3, 2025 8:37:05 PM
      To: Scott, Adam (CFPB)

      Subject: Request to fix the consumerfinance.gov homepage

      Hey Adam and_,

      The homepage of www.consumerfinance.gov has been returning a 404 (Not Found) error
      since Feb ih. I believe this negatively impacts our statutorily mandated reporting
      requirements (eg for research) and subverts the statutorily mandated initiatives developed
      for consumer education and engagement. By returning a 404, our homepage has been
      *removed* from google search results for "cfpb" whereas previously it was above the fold
      on the first page (and usually the first result). This will negatively impact consumers,
      business groups, and government partners attempting to orient themselves on our site, as
      the homepage was specifically designed to guide these users to the information and data
      we are legally obligated to provide.

      I am therefore requesting work authorization to republish the www.consumerfinance.gm{_
      homepage with the content from Feb 6th , to ensure users can find what they need on our
      website.




      -
      Thanks and regards,


                                                                                                   JA494
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 93 of 107
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           Exhibit EE




                                                                            JA495
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       USCA Case #25-5091    Document #2113074                          Filed: 04/25/2025 Page 501 of 637




I
    From: Gueye, Jafnar (CFPB)
    Sent: Tuesday, March 4               •
          .        .


                                                                                                 >; Files, Shannon
                                                    el, Jonatha                                               • James,
    Dana (                                          Hassouni, Lauren (C
    Subject: RE:                                     Is: Payment was decline


    Good morning Chris,


    I suspect for all requests I'll have very similar questions as the one below so feel free to preemptively answer them
    moving forward. For some context in addition to the overall requirements around tightened standards for non-pay
    spending, PCards have an additional complication. There is only one Peard exception approved by GSA for the
    entire bureau with a very limited total limit. We are triaging Peard purchases.



    For all the justifications please let me know who's name to put.

    A few questions:

        • Is this payment for services already incurred or for renewal? If renewal do we have an ability to safeguard the
          past data?
        • What is this data and what is it used for?
        • Are these records?
        • What, if any, statutory requirement \\rill the Bureau not be able to meet at all without this purchase? This is a
          threshold (yes/no) not a level (well/poorly) question.



    Thanks.



    Respectfully,



    Jafnar




                                                                                                                    JA496
         Case 1:25-cv-00381-ABJ Document 60-1               Filed 03/05/25 Page 95 of 107
    USCA Case #25-5091        Document #2113074              Filed: 04/25/2025 Page 502 of 637
 From: Chilbert, Christopher (CFP
 Sent:




                                              '
                                          APls: Payment wa


 Jafnar - I will be passing along several requests today. In this case, we will lose all historical data on
 our Google Analytics platform if we don't pay the bill. Historically it was a pCard purchase. What do we
 need to do to pay it?

 Thanks,



 Chris Chilbert




 From: Files, Shannon (CFPB)
 Sent: Monday, March 3, 2025
 To: Chilbert, Christopher (CFP
                             B)                                   el, Jonathan (CFPB)
                             >
                              Platform & APls: Payment was declined fo



 Hi Chris,



 I don't believe we want to lose all our historical data. This is a fairly low PCard purchase, until we
 understand what we are losing and how it might impact mission and operations, I suggest we make the
 payment if possible.



 Thank you,

I --
 Shannon Files
 Director of Data and Analytics I Technology and Innovation
 Consumer Financial Protection Bureau (CFPB)



 From: CFPB_DigitalAnalytics
                                                                                                     JA497
         Case 1:25-cv-00381-ABJ Document 60-1          Filed 03/05/25 Page 96 of 107
Date:
  USCA Monday,  March 3, 2025
          Case #25-5091       at 3:44 #2113074
                           Document   PM                Filed: 04/25/2025 Page 503 of 637
To: Files, Shannon CFPB




Forwarding for awareness. We will loose all historical data if this is not update with valid
payment.



From: GooglePayments<payments-noreply@google.com>
Sen
To
Su




                                                                                               JA498
    Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 97 of 107
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           Exhibit FF




                                                                            JA499
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     USCA Case #25-5091    Document #2113074                                  Filed: 04/25/2025 Page 505 of 637




From: Huggins, Cassandra (CFP
Sent: Tuesday, M
To


                                     -     -      -            -                                                               >
                                    ification for Supervision staff- F                                                         by
Law


Mark,

I am acknowledging that I received and read your email.

I am attaching, as requested, the email that I sent to Supervision staff. I did not provide this email to the
media, and I do not know who did.

I did not intend to undermine the new administration's ability to supervise agency staff- my only intention
was to ensure that our staff did not act against the direction in the February a email from Acting Director
Vought to cease all supervisory and examination activity. I will work with Supervision leadership to prepare
the reports you have requested, and will request that all supervision staff provide the information you
requested, by the stated deadline.

Thank you.

Cassandra Huggins
Princip~ant                   Director I Supervision Policy & Operations
Mobile:--

Consumer Financial Protection Bureau
consumerfinance.gov


Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
any attachments. An inadvertent disclosure is not intended to waive any privileges.

From: Paoletta, Mark (CFPB
Sent:    day, March
Ti


                                          -      -            -                                                                >
                                 arification for Supervision staff- FW.                                                        by
Law


Good afternoon, Cassandra,



                                                                                                                                 JA500
           Case 1:25-cv-00381-ABJ Document 60-1 Filed 03/05/25 Page 99 of 107
I am writingCase
    USCA           #25-5091
             to raise              Document
                      significant concerns    #2113074
                                           regarding              Filed: communication
                                                     an internal agency  04/25/2025 youPage 506 of 637
                                                                                         apparently sent
yesterday that directly contradicts an email from me to all CFPB staff about my direction for all staff to
perform all statutorily required work.


In an email Adam Martinez sent on Sunday (March 2nd) conveying a message from me to the entire CFPB
staff, I directed ALL CFPB staff to perform all work required by law and that they did not need to seek prior
approval to do so. Nothing I have said or written since then contradicts that. You reached out to me
yesterday, and as I am dual hatted and have job duties at OMB, I was not able to review and respond to
your email yesterday. But I read a news report in Reuters that you reportedly sent an internal agency
communication claiming that “We have requested and received clarification that their message was not
intended to authorize the reinstatement of supervision/examination activity, even though the Bureau is
required by law to carry out these activities.”


Importantly, you did not receive that message from me. You apparently relied on an email from Adam, but
his email refers you to Acting Director Vought’s February 8th email which specifically states that you are to
perform any work “required by law.” And he encouraged you to communicate with me, and presumably, wait
to hear from me before sending out an email that directly contradicted my message on March 2nd to CFPB
employees.


I am concerned that you sent out an internal agency communication on such an unfounded basis that is
false and directly contradicts my March 2nd message without first getting confirmation directly from me. Your
actions severely undermine the Agency leadership’s ability to supervise the agency staff and to ensure that
statutorily required duties are being performed.


Moreover, your internal communication somehow made its way to the press, further undermining our efforts
to supervise agency staff.


Let me be clear to you and the entire supervision office, which I have cc’d on this email: You are authorized
and directed to work on matters specifically required by statute. That said, it is of course within the new
leadership’s discretion as to what matters CFPB will focus on.


The Bureau’s new leadership seeks to understand the status of all of the agency’s actions so it can align
such actions to the Bureau’s new priorities consistent with law. We have been aided in doing so by reports
prepared by the Enforcement Division, Legal Division, and Office of Regulations showing the status of all
actions within their respective purview, upcoming deadlines, statutory requirements, and other relevant
matters. Such information is vital to allowing new leadership to ensure the Bureau is faithfully executing the
law. And in fact, I have approved numerous requests from these and other divisions to perform work that is
statutorily required or mission-aligned with the new leadership.


Accordingly, I am directing you to prepare a report for the Bureau’s leadership providing a description of all
pending examination actions, including their current status. Provide the name of the lead CFPB examiner
on each matter, and the contact information for the lead attorney for the company under examination.


As part of this report, please flag any particular actions that you believe are specifically required by statute.
Leadership will review it and determine which actions to continue to pursue and to close.


Additionally, please notify every employee in your division to provide to me a written summary of the specific
matters they are working on, with the name of the entity being examined, how the matter was commenced
and approximately how many hours they have spent on the matter.


Please submit your report and direct every employee in your division to submit their response to me by COB
Monday, March 10th.
                                                                                                             JA501
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Please confirm by 6 pm today that you have received and read this email.


Please forward to me by 6 pm the internal agency communication you reportedly sent that is quoted in the
Reuters news report.


Finally, did you provide your internal agency communication to the media or do you know who provided it?
Please provide your answer to me by 6 pm today.


Thank you for your prompt attention to this matter.




Mark


Mark Paoletta
Chief Legal Officer
CFPB




From: Huggins, Cassandra (CFPB)
Sent: Monday, March 3, 20 s 10:33
To: Paoletta, Mark (CFPB)                              >
Cc: Hagins, Calvin (CFPB)                              >
Subject: request for clarifica                        - FW: All Hands Message re: Work Required by Law


Good morning Mark,

I've received a number of messages from staff who are understandably confused by the information in the
email sent by Adam Martinez. I would like to get clarification on what exactly Supervision staff is expected to
be doing. I did reach out to Adam, and although he did say that supervision/examination activity is not to
resume, he encouraged me to reach out to you directly for confirmation.

The Acting Director's February 8 message directed the stoppage of all supervision and examination activity,
despite the fact that the work is required by law (12 CFR 1024, 1025, and 1026 require the Bureau to
conduct such supervisory activities). We've also stopped all work supporting supervision and examination
activity, including operational activities such as policy/procedure development; quality management reviews;
systems and registration oversight; reporting, analytics, monitoring, exam prioritization/scheduling; and
human capital activities that support supervision. We've also told staff to not engage in activities requiring
coordination with parties outside of the Bureau, including coordination with other federal/state regulatory
agencies, participation on FFIEC task forces/subcommittees, or engagement with supervised entities.

Supervision staff has been authorized to work on some isolated tasks (unwinding the larger participants
payments rule, a handful of briefings/information gathering for Sr. leadership, and administrative tasks like
WebTA/Concur approval), but otherwise it is my understanding that they should continue to operate on
administrative leave unless a discrete activity has been approved. Please confirm that the message
you sent is not intended to authorize the reinstatement of supervision/examination activity and the
activities that support this function despite the fact that the Bureau is required by law to conduct
these activities.

Thanks,
Casey


                                                                                                          JA502
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   USCA    Case #25-5091
Cassandra Huggins           Document #2113074                                  Filed: 04/25/2025 Page 508 of 637
Principal Deputy Assistant Director | Supervision Policy & Operations
Mobile:

Consumer Financial Protection Bureau
consumerfinance.gov


Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the e-mail and
any attachments. An inadvertent disclosure is not intended to waive any privileges.

From: Martinez, Adam (CFPB) <                                            >
Sent: Sunday, March 2, 2025 3:33 PM
Cc: Paoletta, Mark (CFPB) <                       >
Subject: All Hands Message re: Work Required by Law


Message from Mark Paoletta, Chief Legal Officer

On behalf of Acting Director Vought, I am writing to you to ensure that everyone is carrying out any
statutorily required work, as he set forth in his February 8th email.

On February 8, 2025, you received an email from Acting Director Vought directing you to halt several
classes of work unless “required by law” or expressly approved by the Acting Director. On February 10,
2025, you received an email from Acting Director Vought directing you to reach out to me for the
authorization required by the February 8 email. These measures were intended to ensure that new
leadership could establish operational control over the agency while ensuring that it would continue to fulfill
its statutory duties. Many of you understood this and continued to perform functions required by law and
sought approval from me to perform work, which I have promptly granted.

It has come to my attention, however, that some employees have not been performing statutorily required
work. Let me be clear: Employees should be performing work that is required by law and do not need to
seek prior approval to do so. If you have any questions, please reach out to me immediately, and I will
promptly give you an answer and authorization if warranted. If you are aware of other employees that are
needed to assist you in performing a statutorily required task but are not doing so, please raise this with me
immediately.

Thank you for your attention to this matter.


Mark Paoletta
Chief Legal Officer
CFPB




                                                                                                                                JA503
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          Exhibit GG




                                                                             JA504
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                                                                                 JA505
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          Exhibit HH




                                                                             JA506
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         USCA Case #25-5091    Document #2113074                      Filed: 04/25/2025 Page 512 of 637
                                                    LIVE NOW




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                                               March 4, 2025




President Donald J. Trump immediately undertook a bold, necessary effort to
downsize the federal government by ending the waste, fraud, and abuse that
has permeated virtually all aspects of the bureaucracy - making sure
government works for the taxpayers who fund it.
     •   President Trump established the Department of Government Efficiency
         (DOGE) to maximize government productivity and ensure the best use of
         taxpayer funds - which has already achieved billions of dollars in
         saving.§ for taxpayers.
                                                                                                      JA507
      Case 1:25-cv-00381-ABJ Document 60-1   Filed 03/05/25 Page 106 of 107
  USCA Case #25-5091    Document #2113074      Filed: 04/25/2025 Page 513 of 637
• President Trump commenced his plan to downsize the federal
   bureaucracy and eliminate waste, bloat, and insularity.
     0   President Trump ordered federal workers to return to the office five
         days a week.
     0   President Trump ordered federal agencies hire no more than one
         employee for every four employees who leave.
     0   President Trump ended the wasteful Federal Executive Institute,
         which had become a training ground for bureaucrats.
     0   President Trump ordered the termination of all federal Fake News
         media contracts.

• President Trump is reigning in agencies overtaken by unelected
   bureaucrats.
     0   President Trump stopped the waste, fraud, and abuse within
         USAID — ensuring taxpayers are no longer on the hook for funding
         the pet projects of entrenched bureaucrats, such as sex changes in
         Guatemala.
     0   President Trump ordered the Consumer Financial Protection Bureau
         — the brainchild of Elizabeth Warren,
                                       Warren which funneled cash to left-
         wing advocacy groups — to halt operations.
     0   The Environmental Protection Agency canceled tens of millions of
         dollars in contracts to left-wing advocacy groups, announced an
         investigation into a scheme by Biden EPA staffers to shield billions of
         dollars from oversight and accountability, and put 168
         “environmental justice” employees on leave.
     0   President Trump reversed the massive over-expansion of the IRS
         that took place during the Biden Administration.
     0   President Trump ordered a review of funding for all non-
         governmental organizations so taxpayers are no longer funding
                                                                               JA508
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         those that undermine America’s interests.
           ■   The review identified 15,000 grants worth $60 billion for
               potential elimination.
     0   The Department of State issued a “pause” on existing foreign aid
         grants to ensure accountability and efficiency.
     0   President Trump shut down the wasteful Biden-era “Climate Corps”
         program.

• President Trump lifted last-minute collective bargaining agreements
   issued by the Biden Administration, which sought to impede reform.




                                     News

                               Administration

                                     Issues

                                    Contact

                                        Visit




                               THE WHITE HOUSE

                             1600 Pennsylvania Ave NW
                               Washington, DC 20500




                                                                                  JA509
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                      SUPPLEMENTAL INDEX OF EMAILS AND OTHER
                                COMMUNICATIONS

  Exhibit   Date                                    Description
    II      2/12   Emails between Adam Martinez and OPM regarding “RIF Consulting
                   Services”
    JJ      2/14   Emails between Adam Martinez and OPM regarding CFPB’s request for an
                   exception to the “90-day rule for competitive areas” (8:28am)
   KK       2/14   Status update from Adam Martinez regarding “today’s [RIF] actions and
                   notifications to staff” (12:38pm)
    LL      2/14   Email to Adam Martinez notifying him of TRO hearing in this case in
                   planning for timing of termination notices (1:39pm)
   MM       2/14   Email urgently requesting materials for RIFs from OPM (1:44pm)
   NN       2/14   Email including list of employees to be fired (2:27pm)
   OO       2/14   Email from OPM approving request for exemption from the 60-day notice
                   requirement for RIFs (3:25pm)
    PP      2/14   Email from Adam Martinez confirming that he will be included with the
                   “next group” of RIFs (4:57pm)
   QQ       2/14   Email regarding materials for RIFs (9:56pm)
   RR       2/28   Email regarding impact of contract status on resuming work
    SS      3/5    Email regarding indefinite postponement of mandatory training
    TT             Site showing that staff are not authorized to take mandatory training
   UU       3/5    Email regarding reporting on supervision examination activity
   VV       3/5    Email regarding reporting on supervision examination activity
   WW       3/6    Email regarding reporting on supervision activity and return to
                   administrative leave
   XX       3/6    Email regarding impact of contract cancellations on Office of Markets
   YY       3/7    Email regarding impact of contract cancellation and employee terminations
                   on CARD Act analysis
    ZZ      3/7    Email from head of Office of Students team indicating that they are currently
                   unable to perform required complaint-review function




                                                                                                   JA510
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              Exhibit II




                                                                            JA511
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        USCA Case #25-5091    Document #2113074                 Filed: 04/25/2025 Page 517 of 637



From:                          Martinez,Adam(CFPB)
Sent:                          Wednesday,February12, 2025 6:51 PM
To:                            Gueye, Jafnar (CFPB);
Cc:
Subject:                       PN:Draftagreementfor CFPB
                                                       RIFassistance
Attachments:                   OPM HRS - RIF Consulting Services- CFPB.pdf

FollowUp Flag:                 Follow up
Flag Status:                   Flagged


FYSA- Once OPM confirms, 1'11sign the SOW.
J afnar - I went ahead and pro\-ided your name directly so you can handle with your team carefully
given the topic.

Thank you all.

Adam

Adam Martinez
Chief OperatingOfficer

From: Martinez, Adam{CFPB)
Sent: Wednesday, February 12, 2025 6:49 PM
To:'Parman,JasonC.'                          ; Wick, Jordan                  ; Young,Christopher




   Je              g

Thank you again for supporting us.

We have reviewed the agreement, and we are ready to move forward. Please let me know if we are
good to sign or if you have any additional changes on your end. I've included our POC information
belO\•v.

Finance POC:
Jafnar Gueye
 hief Financial Officer




                                                       1
                                                                                                   JA512
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       USCA Case #25-5091    Document #2113074                          Filed: 04/25/2025 Page 518 of 637




AdamMartmez
Chief Operating Officer

F.-om:Parman, Ja~n C.I
Setit: Wednesday, Febrnary12, 2025 4~16PM
To:Martlnez, Adam {CFPB)                                                                                  ; Young,
Christopher
1Cc:

Subject:Draft agreement for CFPBIRII=assistaoce
                                                                                                               -
Adam,,Jordan. a11d Chris•

Pero ur meeting, attached ptea:se•find a draft ~tatement of work (SOW}for restructuring •asslstaf,t·e sijtvl'f:1es,.Thi3
SOW 1cove1rs  the 1rangeot actiivities we may do for-yo:uthroughout ti11eproj1ect.,and the inlitijatll.Jlncm,gof$i Yi ;9i5
cover:s the activities n,ec,es:sary  lo [Provideyou Immediate planningassiistanice, dect•sion support;afl<ito piepafe
a1ndsicope tlhe rem a iniing actiivit'i1esin th1eco ming phases.

We are glad to meet ASAPto 1refineth1elanguage If needed ..lf tMs meets :y0u1rneeds, -                  (our ·fina1ndat
specialist, ,copied here) is 1readytoworkwithyourteam to ex,ecutethe agreement.

Please review and if this meets your n,eeds,,we can connect our finance team with yours to executethe agreeirnen't,
Feel free to contact me directly a-               or                    (copied here) ·wrth questions, or j 1ust rr,rpty
to this email that you are ready to go.

We look ·forward to wori<ingwith you on this critical in1itrative.

Thanks,
Jason

Jason C. Pa1rman
DeputyAssociateDirector
U.S.Office of Personnel Mana,gement
HR Strategy & EvaluationSOiutions




OPM.gov



OPM
•
                U.S.Oflia,of
                Ptn0nnelManagunent




                                                             2
                                                                                                                     JA513
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            Exhibit JJ




                                                                            JA514
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    F111111:
    To:
    Sulljeetl       FW:Requestfor CompAreaException
    Oaite:          Friday,Febnlary14, 20258:28:19 AH


   Thecompetitiveareas"""ere
                           approved.
    Adam Martinez
    Chief Operating Officer

   From:Peters, Noah
   Sent:Thursday, February 13, 2025 10:12 PM
   To: Lewin, Jere




   Parman, JasonC.
   Subject:RE:Requestfor Comp Area Exception

   Jeremy-OPM has approved the competitive area exceptions.


   From:Lewin, Jeremy
   Sent:Thursday, February 13, 2025 10:10 PM




   Parman,Jason C.
   Subject:Re: Requestfor Comp Area Exception

   +Anthony, who suggested I reach out. We owe Acting Director Vought an update at 10am
   tomorrow-    do we have an ETA on an OPM response?


   Thank you!
   Jeremy


   From: Mahoney,Michael
   Date: Thursday. February 13 1 2025 at 7:17 PM
   To: Martinez, Adam (CFPB)


                                                                                          I



                                                                                              JA515
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USCA Case #25-5091    Document #2113074                        Filed: 04/25/2025 Page 521 of 637


   Subject: RE:Requestfor Comp AreaException

   Thanks


   From:Martinez,Adam(CFPB)
   Sent: Thursday, February 13, 2025 7:1S PM
   To: Mahoney, Michael




   Peters, Noah~
   Subject RE:Request for Comp kea Exception


   Hi Mike - numbers are attached.

   Adam Martinez
   Chief Operating Officer

   From:Mahoney, Michael J
   Sent:Thursday, February 13, 2025 6:31 PM
   To: Martinez, Adam (CFP




   Subject: RE;Request for Comp kea Exception


   Hi Adam,


   Could you put numbers next to the different Cas in your request?

   In other words, I'm assumingthe 1200 will be spread across the CA; can your team break that up and
   assignto eachCA

   Thanks,


   -mike


   from: Martinez,Adam(CFPB)
   Sent: Thursday, February 13, 2025 5:01 PM
   To: Mahoney, Michael




                                                                                                        JA516
     Case 1:25-cv-00381-ABJ Document 66-1              Filed 03/07/25 Page 8 of 60
USCA Case #25-5091    Document #2113074                Filed: 04/25/2025 Page 522 of 637


   Peters,Noah
   Subject:Requesttor comp Area Exception

   HiMichae.1-

   Attached is CFPB's request for an exception to the 90-day rule for competitive areas.

   Piease let me knowif you have any questions or need additional information.

   Tilanky,ou.

   Adam
   Ad.amMartinez
   ChiefOperatingOfficer
      I    ,.    .I,.   t   ial Protection Bureau




                                                                                           JA517
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                        Consumer Fi nancial
                        Protection B u reau


  1 7 00 G Street N W , Was h i ngto n , D . C . 20552




   Fe bru ary 13, 202 5



  TO:                   Michael J. M a honey, Office of Person nel Ma nagement

   F ROM :              Ada m Martinez, Ch ief Operating Office r/Acting Ch ief Human Ca pita l Officer
                                                                                                    Digitally signed by ADAM
  S U BJ ECT:           Establishment of Competitive Areas ADAM MARTI N EZ MARTINEZ
                                                                                                    D,ite: 2025.02 . 1 3 1 9: l 2:52 ·05'00'

  This m emora n d u m serves as th e Co nsu mer Financial P rotecti o n Bureau's ( C FP B ) re quest for a n
  exception to t h e co m petitive a rea 90-da y ru le. Please fin d t h e C F P B responses below with
  regards to our com petitive a rea s.

             1. Identification of the proposed competitive area, including the orga nizational
                segment, geogra phic location, a nd l i m its of the loca l comm uting area;

                Answer: Bel ow a re t h e d ivis ions, offices and u n its that will be i m med iately
                i m pa cted by a possible re d u ction-in-fo rce. Ad ditional com petitive a reas w i l l be
                identified in t h e next ro u n d of d ivisions, offices, a n d/or u n its i n c l u d i ng the Division
                of Ope rations, Division of Resea rch M o n itori ng a n d Regu latio ns, and D ivision of
                Cons u m e r Response .

                    •     Office of t h e D i rector - 1 06 positions
                              o Legislative Affa i rs - 4 position
                              o Office of Pol i cy and Strategy - 1 9 positions
                              o Offi ce of Civ i l Rights - 1 3 positions
                              o Office of F a i r Lending a n d E q u a l O pport u n ity _ 1 7 pos it i ons
                              o Office of t h e Directo r - 53 positions
                    •     Divisio n of Exte rnal Affa i rs - 51 positions
                              o Co m m u n i cations - 1 6 positions
                              o Exte rna l Affa i rs Division 1 6 positions
                              o I ntergovernmental Affa i rs - 7 positions
                              o Private Sector E ngage ment - 5 positions
                              o P u b l ic E ngagement - 7 pos i tions




  consum e rfi na nce.gov


                                                                                                                                               JA518
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                   •    Division of Supervis i on . 528 positions
                            o S u pe rvi s i on Pol icy and O p e rations - 1 24 positions
                            o S u pe rvision Exa m i n ations - 6 positions
                            o Su pervision M i dwest Regi o n . 96 positions
                            o Su pervision N o rt h east Regio n - 98 positions
                            o Su p e rvision So u t heast Region - 1 1 o positions
                            o Su pervision West Region - 94 positions
                   •    Division of E nfo rce ment - 283 positions
                   •    Division of Research - 1 70 positions
                             o Com p etition a n d I n novatio n - 1 0 positions
                             o Con su mer Pop u lations - 54 positions
                             o M a r kets - 42 positions
                             o Resea rc h - 64 positions
                   •    D ivision of O p e rations - 37 pos itions
                             o Ope rati o n s Fro nt Office - 1 o positions
                             o Ch ief Data Office r - 22 positions
                             o Ad min istrative Operations
                                     • Events Management - 5 positions


          2. A descri ption of h ow the proposed a rea diffe rs from the one previously
             esta blished for the same u n it and geogra ph ic a rea;
             Answe r: N o co m p etitive a reas we re esta b l i shed for the groups a bove. The gro u ps
             l isted a bove i n c l u d e enti re divisi o n s, offi ce s, a n d/or u n its .

          3. An orga n izational cha rt of the age n cy s howing the re lationsh i p between the
             orga nizationa l com po nents with i n the competitive a rea and other com ponents in
             the commuting a rea;
             Answer: O rga nizat i o n a l chart atta ched.

          4. The n umbe r of competing employees i n the proposed competitive area; Answer:

             Approximately 1175 positions

          5. A descri ptio n of the operation, wo rk fu nction, staff, a n d pe rsonnel ad min istration
             of the proposed a rea a nd, where appropriate, a descri ption of how the a rea is
             d isti ngu ished from others in these respects; a nd




   cons u m erfi nance. gov                                                                                 2


                                                                                                                JA519
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              Answer: Al l fu nctions a re u n i q u e to the specific division, office a nd/or u n it and
              su p po rt t h at u n it' s m i ssio n .


          6. A discussion of the circumstances that led to the proposed changes less than 90
              days before a proposed reduction .

             Answer: The C F P B is res p o n d i n g to Executive Ord e r l m plementing_The. President's
             " Department o(G ove r n m e n t Efflciency"_Workfo rce_ O p t i m izatio n_ l n itia t i ve - The
             Wh ite _H o u se dated Febru a ry 1 1, 2 02 5 a n d t h e CFPB Acti ng Di recto r' s work sto ppage
             o rde r d ated Feb ruary 10, 202 5 .




   cons umerfi na nce. g ov                                                                                        3


                                                                                                                       JA520
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          Exhibit KK




                                                                             JA521
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From:                           Martinez,Adam(CFPB)
Sent:                           Friday,February 14, 2025 12:38 PM
To:
Subjed:                         FW:Status


FYSA

Adam Martinez
Chief Operating Officer

From: Martinez,Adam (CFPB)
Sent: Friday,February 14, 2025 12:34 PM
To: You~. Christopher(CFPB)                                  Lewin, Jeremy                      Wick,Jordon
(CFPB)
Cc:Paoletta,Mark (CFPB)
Subject:Status

Good afternoon -

 My team and I had a productive conversation with 0PM this morning to work out any identified risks
 and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
typically during the 30-day notice, employees work during this time to transfer any duties. Mark P.
just happened to call me, and I was able to ask for clarification and expectations for the first phase of
 notifications.

We are going to place all staff on administrati,re leave for the 30-day notice period. This will provide
the flexibilityfor our new leadership team to call back staff to fulfill c1oseoutduties such as
enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
we can immediately offboard them (i.e., terminate access) for the duration of the notice period.

I will provide you all notice right before the letters go out, along with the final numbers. This will all
be done this afternoon.

Adam
Adam Martinez
ChiefOperatingOfficer




                                                        1
                                                                                                      JA522
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           Exhibit LL




                                                                             JA523
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From:                                 Ma-tinez,Adam (CFPB)
Sent:                                 Friday,February14,2025 1:39 PM
To:
Cc
W>ject:                               RE:HeadsUp Re:Timing of Notices


Thanks.

Adam Martinez
Chief Operating Officer

From:
Sent: Friday,February14, 2025 1:36 PM
To: Martinez, Adam (CFPB)
Cc:--
Subject:HeadsUp Re:Timing of Notices

Hi Adam,

Wanted to make sure you were aware there is a hearing for a temporary restraining order or preliminary Injunction
related to today's activities scheduledfor 2pm today. While we will continue preparing, It's just a consideration when
deciding when to send out the notices.

httQs:Llwww.gue_tawessler.com[we_-content[u.12,loads[202SL02/1_ROMemorandum.Qdf




-
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                                                                                                                                JA524
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        Exhibit MM




                                                                             JA525
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    From:
    To:
    Cc
    Subject:
    Date:            Friday,February
                                   14, 2025 1:44:00PM
    Attachments:     .mage001P09
                     .inage002,pog
                               IemQlatunso
                      ~ Exceotjpn
    I111pon:ance:    High


   Thanks for everything you're doing, but we need the last set of attachments now. We cannot wait
   until COB. We also need an answer on the attached question about the guidance. Apologies, but we
   have been instructed we do not have until COB.




   Confidentiality Notice: If )OU receivedthis email by mistake,you should notifytbeseoderofthe mistakeand delete
   the e-mail and any attachments. An inadvertent disdosure is not intended to waive any prh,ileges.


   From:
   Sent:Friday, February 14, 2025 11:36 AM
                                                                     ; Parman, Jason C.




   Subject:RE: Exception Template

   Good morning,


   The following documents have been attached.
   1. MSPB Appeal Information
   2. OPM Retention Regulations
   3. Severance Pay Estimate Worksheet
   4. Unemployment Insurance
   5. CTAP, ICTAPand Reemployment Priority List (RPL}Program Information


   We are working to provide an example fa the following and will as soon ascomplete.
   1. Authorization for Release of Employment Information
   2. Acknowledgement of Receipt
   3. State Workforce Programs




                                                                                                                    JA526
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    ---
    Vo:y Respectfully,




   ~
   OPM
    •
                         US.Officeof
                         Personnel
                                Management

    Follow us on 1in~ln I~             IYou.Tube




   Subject:RE: Exception Template



   I    Some people wro received this messagedon-t often get email from
        •.mQQ[t:~111

   10am would be great. Thank you.




   ~QD.S.Ym~rfinan~.e.,.gQv

   Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and deete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


   From:
   Sent: Friday, February 14, 2025 8:31 AM
   To:




   Subject:RE:Exception Template


   Good morning,

   Yes,please let us know the time and we will clear our schedules and establish a team meeting.




                                                                                                                          JA527
                                  -----------------------------·-----·--
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    ---
   VeryRespectf\.Aly,




    OPM
    •
                    US.Officeof
                    Per~mel Management

                        I~
    Followus on 1.inke.d.ln         IYQuTube


    From:
    Sent: Friday, February 14, 2025 8:26 AM




    Subject: RE: Exception Template




    I   Somepeoplewho receivedthismessagedon't often get emailfrom
        f.DllQ!tan1
                                                                                                     Learnwhy •h1<,s

    Thank you, we appreciate it. We are about to meet internally but will very likely still have questions
   where we'll need your expertise for the Notices deliverables. Does any of the team have availability
   to meet to talk through the questions for 30 mins today?




   Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


    From:Parman, Jason
    Sent:Friday, February 14, 2025 8:19 AM




   -
                                                                                                                           JA528
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   Yes, we can help with this. We wil get to work on scrubbing and packaging these and sending them to
   you.

   Jason


   from:
   Sent: Friday, February 14, 2025 6:48 AM




   I   Somepeoplewt,o:eceived
                            thismessage
                                      don'toftengetemailfro~




   ·-
          ~>orta nt
       1r11




   Do you have copies of the seven attachments referenced in the template?


   1. Acknowledgement of Receipt
   2. MSPBAppeal Information
   3. OPM Retention Regulations
   4. Severance Pay Estimate
   5. Unemployment Insurance and State Workforce Programs
   6. Authorization for Release of Employment Information
   7. CTAP,ICTAPand Reemployment Priority List {RPL)Program Information

   Although we'll be doing the severance pay estimate, a sample format would be helpful given our
   timeframes to send these out.




   -
   Much appreciated.




   ~Qo~umerfinance.gov

   Confidentiality Notice: If you received this email by mistake, you shou1dnotify the sender of the mistake and delete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


   From:
   Sent: Thursday, February 13, 2025 7:53 PM
   To;Martinez, Adam {CFPB)                                         1111

                                                                                                                          JA529
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   Subject: RE: Exception Template


   Greetings,

   Attached are templates of Reduction in Force notifications with and without Severance Pay. Please
   be mindful that this is a to be used as a guide for developing your internal RIFnotice for issuance.
   When developing your agency's RIFnotices, the team should develop standard language when
   appropriate (e.g., all notices should contain the same language on the reasons for the RIF}. It is
   recommended that you and your team have agency management, and the agency's legal staff,
   approve the notices. Finally, the team should designate staff to review and proofread each notice for
   any errors in content, format, and spelling before issuing.



   Very Respectfully,




    OPM                 US.Officeof
                        l'ef5omel Management

   Followus on 1.inkedlnI .Iwi.tterIYQ.UTube



   From:Martinez, Adam (CFPB)
   Sent: Thursday, February 13, 2025 6:17 PM




   Subject:RE:Exception Template

   'Thankyou,-.        I'll have this over shortly. I emailed Jason separately, but who can
   we get a copy of the furlough letter/template from?

   Adam Martinez
   Chief Operating Officer

   From:-
   Sent: Thursday, February 13, 2025 5:29 PM
   To: Martinez, Adam (CFPB)




                                                                                                           JA530
     Case 1:25-cv-00381-ABJ Document 66-1                       Filed 03/07/25 Page 22 of 60
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   Subiect:ExceptionTemplate

   Good afternoon, Adam,

   N. requ~ted, the template for the exception to the 60-day notification is attached.
   I will send a separate email to schedule next week's meeting.


   Pleaseprovide~mail              address to include in future emails.

   Thankyou,



   -
   U.S. Officeof Per$omelManagement
   HRSolutions/FederalClassificationCenter




                    I ~formerlytwil.t.e.tllX521.(Tube
   Folowus on Unkedtn




                                                                                                 JA531
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          Exhibit NN




                                                                             JA532
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   ff'om:
   To:
    Cc:
    Subject;          a e         pu
    Date:            Friday,Februa,y14, 20252:27:41 ~
    Attadlmeitts:                         H PBAEI130QPf1.l!I~
                     L5.2LflIJlkl&s.2025·02·
                                jj~ rt §§liM'.itioQS,?1~
                     Co[)$QIKl,)ted
                         c.amo
                     CEJ'8  areaBeooes04

   Hi you all. The first attachment is the list. The second list contains what I think is a consolidated list
   of all the separations. Make sure the people on the second attachment aren't on the first
   attachment.

   Also, see the PDF.Make sure everyone in the orgs identified in the PDFare on the file.

   After this is done we need to verify that the fields in the forms are correct but first validate the
   population and get back to me ASAP.

   If you find issues, please email me. We do not want to bother ■ right now with this stuff. He is
   headsdown programming.




                                                                                                                JA533
     Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 25 of 60
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          Exhibit OO




                                                                             JA534
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        USCA Case #25-5091    Document #2113074                     Filed: 04/25/2025 Page 540 of 637



From:                             Martinez,Adam {CFPB)
Sent:                             Friday,February14,2025 3:25 PM
To:
Subject                           FW:Requestfor Exceptionto 60 day notice
Attachments:                         exception
                                  CFPB       to 90CA ruleSIGNED
                                                              2-14-2025,pdf;CFPBexceptn to the 60 day
                                  notice period SIGNED2-14-2025.pdf

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



For the file. Thanks.
Adam Martinez
Chief Operating Officer

from: Mahoney, Michael J
Sent: Friday, February 14, 2025 3:07 PM
To: Martinez, Adam (CFPB)
Cc:Young,Christopher (CFPB)
                                  Parman, Jason C.
Subject: RE: Request for Exception to 60 day notice

Aaam,

Attached are the signed letters

-mike


From:Martinez,Adam (CfPB)
Sent: Thursday, February 13, 2025 7:48 PM
To: Peters, No
                                                                                              Wick, Jordon



Subject: RE: Request for Exception to 60 day notice

Thank you, Noah.

Adam Martinez
Chief Operating Officer

From:Peters,Noa
Sent: Thursday,February             •
To: Martinez A am                                      Internet, WPI Employ
                                                               Lewin, Jeremy



Subject: RE:Requestfor Exceptionto 60 day notice

                                                                                                    JA535
             Case 1:25-cv-00381-ABJ Document 66-1           Filed 03/07/25 Page 27 of 60
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Approved.

Best,

Noah Peters
Senior Advisor to the Director
U.S. Officeof PersonnelManagement
1900 E Street, N.W. Washin ton, D.C. 20415




From:Martinez, Adam (CFPB)
Sent:Thursday,February13, 2025 7:30 PM
To: Internet, WPI Employ
Cc: Young,Christopher(CFPS)                                                               Wick,Jordon
(CFPB)
                                 Noa
Subiect:Requestfor Exceptionto 60 day notice

Good evening.

Attached is a request for the 60-day notice exception for RlF notification.

Please let me know if you have any questions or need additional information. Thank you.

Adam

Adam Martinez
Chief Operating Officer




                                                   2
                                                                                               JA536
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                   UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                         Washington,
                                                  OC 20411


                                         f ebruary14,2025

  Mr. Adam Martinez
  Chief Operating Officer/ Acting Chief Human Capital Officer
  Consumer Financial Protection Bureau
  17000 St NW
  Washington, DC 20552

   Dear Mr. Martinez:

  The Office of Personnel Management (OPM) approves, wilh one exception, the Consumer
  Financial Protection Bureau's (CFPB) February 13, 2025, request for OPM approval of an
  exception to the 60-day notice period provided given to employees selected for release through a
  reduction io force (RIF). Your request indicates that a RTFis necessary due to the impact of the
  Executive Order (EO) titled, "'Implementing The President's "Department of Government
  Efficiency" Workforce Optimization Initiative" (February l l, 2025), and the CFPB Acting
  Director's work stoppage crder dated February 10, 2025.

  OPM approves your request in accordance with 5 CfR 351.801 (b). Under this provision OPM
  may approve a notice period of less than 60 days when a RIF is caused by unforeseeable
  circumstances. lhe minimum notice period must cover at least 30 tull days. In accordance with
  the EO CFPB must act quickly to conduct a RlF of employees in the divisions. offices, and units,
  mentioned in your request, with one exception:this approval does not include the 'Office of the
  Director/Office of Civil Rights - 13 positions' indicated in your request. In a In a February l4,
  2025, meeting with OPM staff Cf'PB clarified this competitive area should be removed from the
  request. The urgency with which CFPB must comply with the EO makes the standard 60-day
  notice period impracticable. OPM is approving a notice period of 30-days f<r employees in the
  entities in your request except the Office of the Director/Office of Civil Rights.

  Please contact              hy email at                         or phone at               should
  youor staff have any questions with this respons~.

                                              Sincerely,



                                                Yu,,~~
                                               Veronica E. Hinton
                                               Associate Director
                                               Workforce Policy and Innovation




                                                                                                      JA537
     Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 29 of 60
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           Exhibit PP




                                                                             JA538
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       USCA Case #25-5091    Document #2113074                   Filed: 04/25/2025 Page 544 of 637



From:                          Martinez, Adam (Cf PB)
Sent                           Friday,February14, 202S4:57 PM
To:
Cc:
Subject:


Yes. I'm dual ha:.ttedright now with Ops and OHC. 1 ""illbe on the R1Flist but in the next group.
Adam Martinez
ChiefOperatingOfficer

From:111111111111111
Sent:~56PM
To: Martinez, Adam (CFPB)
                                                                                               ;-



HiAdam,

Youshow up on the RIFreport becauseyou arein the Director'sFront Office.Areyou the only exception?




Consumer Financial Protection Bureau
.consumerfinance.gov




                                                       1
                                                                                                     JA539
     Case 1:25-cv-00381-ABJ Document 66-1   Filed 03/07/25 Page 31 of 60
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          Exhibit QQ




                                                                             JA540
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 From:
 Sent
 To:



 Cc:
 Subject:                         coding for separation actions


 Hi you all. Here's the proposed coding for the separation actions. Canyou please review and approve for me?

I used auth ZLM for all three since Adam said he wanted agency cites. I could be wrong but I thought we used ZLM when
we did Agency cites. PARremark code M499 just means the remarks are custom. The action & action reason may not be
perfect for the situation but this information doesn't go anyway. It stays in HRCand is mostly used for reporting
purposes.

~ Can you all use the action reason to determine which actions need to be changed to a NOA 330 and
which need to be changed to a NOA 285? The RIFswill be loaded via MPI. For Tuesday,you will only have the NOA 330
and 385.

         we will need to key these over the weekend so they are there Tuesday morning.
 Type of            NOA Auth            Par Remark     PARRemark Content      Effect Dt      Action 1    Action
 Separation                 Code        Nbr                                                              Reason1
 Term               330     ZLM         M499          EOentitled              2/13/2025      TER         Staff
 Appointments                                         "Implementing the                                  Reduction
                                                      President's "Dept of
                                                      Govt Efficiency"
                                                      Workforce
                                                      Optimization
                                                      Initiative" dtd
                                                      2/11/2025 and the
                                                      stop work email from
                                                      RussVought entitled
                                                      "Additional Directives
                                                      on Bureau Activities"
                                                      dtd 2/10/2025.
                                                       LUMP-SUM
                                                       PAYMENT TO BE
                                                       MADE FOR ANY
                                                       UNUSED
                                                       ANNUAL LEAVE
 Probation          385     ZLM        M499            EOentitled               2/11/2205    TER2        opp2
                                                       "Implementing the
                                                       President's "Dept of
                                                       Govt Efficiency"
                                                       Workforce
                                                       Optimization
                                                       Initiative" dtd
                                                       2/11/2025 and the

                                                          1
                                                                                                                JA541
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          USCA Case #25-5091    Document #2113074                     Filed: 04/25/2025 Page 547 of 637
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEAVE
    RIF              356    ZLM         M44             EOentitled               TBD           TER1         Staff
                                                        "Implementing the                                   Reduction
                                                        President's "Dept of
                                                        Govt Efficiency"
                                                        Workforce
                                                        0 ptim izatio n
                                                        Initiative" dtd
                                                        2/11/2025 and the
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEA VE

1
  This information is only in HRConnect. It doesn't display on the SF-SO,go to NFCor go to OPM. The field is used mostly
for reporting.
2 Ter = Termination; OPP= Probation/Trial Period




                                                            2
                                                                                                                  JA542
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          Exhibit RR




                                                                             JA543
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  From:
Subject: Return to research next steps
   Date: February 28, 2025 at 12:03 PM
     To:




       Hello all,

       ORFO just met to discuss next steps regarding yesterday’s new guidance that we should
       resume non-public statutory research work.

       Our first step is trying to figure what we can and can’t do in terms of systems access and
       data access. I have not been able to access certain systems, and I don’t believe we have
       an accurate list of what data contracts remain and how it may limit statutory research.

       So could you all please log on and send me the answers to the following questions:

           1. Can you access all of the technical systems, including the Research Environment,
              in the ways you normally used to do to fulfill research activities.
           2. Can you access all of the data that you used to in order to fulfill research activities.
           3. For those of you who are CORs/ACORs, can you report back what data contracts
              have been cancelled.
           4. What conferences have you been accepted to that you are waiting for guidance on
              whether you can attend? ORFO knows about Boulder, and the Round Robin.

       Additionally, we will be seeking guidance on how to properly code timesheets.

       All Best,


       -



                                                                                                    JA544
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            Exhibit SS




                                                                             JA545
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From:Olstad, Per (CFPB)----
Sent:Wednesday, March~
To:_DL_CFPB_RMR_CP _All
Subject: Fw: Confirming requ



Hi all - see below re: usually required compliance trainings and deadlines ...



Thanks,
Per




From:Sacco, Matthew (CFPB)
Sent:Tuesday, March 4, 2025
To: Olstad, Per (CFPB).
Cc: Sacco, Matthew (C                                            FPB_Leam
Subject: RE: Confirming requirements re: ma                     g



Per-

        Hello, I hope that you are well. Thank you for your timely question. I'll also apologize on our collective behalf
about any system-generated reminder emails that went out to many today ( and a few weeks ago). That was not intended,
andwe are acting on that piece as well.



       We have extended the former March 17 due date, and have an updated News Article posted on Beam
Announcements - FY25 Mandatory Training deadline extended until further notice



         Our current Mandatory Compliance Training (MCT) is now extended. The deadline has been postponed until
further notice, and applies to all assigned courses in both the Know8e4 system, and the Cf PB Leaming Management
System.



       Unless otherwise advised by Cf PB Leadership, completing these courses is not authorized work during current
paused work status.



        If status and direction on this change, we'll provide more and updated communications, however until then
working on these MCT courses is not authorized work.



          I hope that this helps. If you have any further questions on this, please feel free to contact me directly at
                              or the team via
                                                                                                                          JA546
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Take care,

Matt

Matt Sacco

Talent Development Manager

Office of Human Capital

Consumer Financial Protection Bureau

Tel:

Mob:



www.consumerfinance.gov




From:Olstad, Per {CFPB)IIIIIIIIIIIIIII
Sent Tuesday, March 4, ~
To: CFPB Leamlllllllllllllll
Subject:Confirm~                       atory training
Importance: High



Hi - On Feb 21, re: mandatory trainings, there was a directive (on Beam) to "not take these training courses" and that the
March 17 deadline would be extended. Can you advise whether staff should resume taking the trainings and if there is a
new deadline?



Thank you,
Per



Per Olstad

Acting Deputy Assistant Director & Senior Advisor

Office of Consumer Populations

Division of Research, Monitoring, and Regulations

Consumer Financial Protection Bureau




-
www.consumerfinance.gov




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email and any attachments. An inadvertent disclosure is not intended to waive any privileges.
                                                                                                                        JA547
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           Exhibit TT




                                                                             JA548
              Case 1:25-cv-00381-ABJ Document
3/7/25, 12:14 AM                                    66-1requirements
                                        Mandatory training   Filed 03/07/25
                                                                     remain suspendedPage 40 of 60
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                                                 Please ignore any reminders.




        As previously announced, CFPB staff are not authorized to undertake annual
        mandatory training at this time. Please ignore any reminders generated
        automatically by the training platforms. We have communicated any exceptions
        directly to individuals who do have requirements.

        The CFPB will revisit mandatory training later in the fiscal year. Please direct
        questions to                        .




       Page Properties

        Owning Team
            Human Capital

        Topic
            Training




                                                                                                         JA549
https://bcfp365.sharepoint.com/sites/beam/SitePages/Annual-training-requirements-remain-suspended.aspx       1/2
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          Exhibit UU




                                                                             JA550
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   From: Huggins, Cassandra (CFPB)
   Sent: Wednesday, March 5, 2025 10:01 AM
   To: _DL_CFPB_Examiners Midwest
   _DL_CFPB_NE_Region_Directory                                          ;
   _DL_CFPB_Supervision Policy                           ; _DL_CFPB_Examiners
   SE                                     ; _DL_CFPB_Examiners West

   Cc: Hagins, Calvin (CFPB)
   Subject: optional template and instructions for submitting reports on exam activity (report
   due COB 3/10)

   Regions/OSP-

   As you are likely aware, CLO Mark Paoletta has requested each member of Supervision
   to provide him with information on the exams they are currently working on. You are
   authorized to work on this assignment.

   Attached is a template that you may use to put together your response- it includes places
   to fill in all of the information that he requested. I’ve included rationale for why an event
   was scheduled, in case you aren’t sure what to put in response to that request. You can
   copy/paste to represent as many open events of each type that you need, and may
   delete any event types that you are not currently assigned to work on.

   As a reminder, this report is due COB Monday March 10. You may submit your report
   directly to Mark Paoletta, with a cc to your manager. If your manager has left the Bureau
   and you haven’t been assigned a new manager, please cc the next supervisor up in the
   management chain.

   If you are a manager who oversees others who work on exams, you may respond to the
   request with all open supervisory events that you are overseeing.

   If you are in any other role that does not actively work on individual exams (for example,
   regional analyst), please hold on submitting anything until I receive clarification from
   leadership on their expectations for staff in those roles.

   Thanks for your assistance with this request.

   Cassandra Huggins
   Principal Deputy Assistant Director | Supervision Policy & Operations



   Consumer Financial Protection Bureau

                                                                                              JA551
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       optional
    template.docx




                                                                                                                    JA552
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          Exhibit VV




                                                                             JA553
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  From: Huggins, Cassandra (CFPB)
  Sent: Wednesday, March 5, 2025 5:11:00 PM
  To:
  Subject: Re: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  -        the only item you raise that you need to be concerned with for the purposes of your
  repo1i 1s the repo1iing of approximate time spent on the exam. I would recommend you put
  your best guess as to the amount of time you spent working on each exam until the work
  stoppage in 2/10. I am not asking what they plan to do with the info1mation.

  From:
  Sent: Wednesday, March 5, 2025 5:05:26 PM
  To: Huggins, Cassandra (CFPB)                                 >
  Subject: FW: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Casey,


  Please see below, particularly my 3:11pm message to Chris. There are a lot of unknows here, and I'd
  like to know if anyone has asked Mark (or others) for clarification. I am particularly concerned with
  the time allocated calculations and questions pertaining to how all of these submissions will be used.


  Thanks,




  -
  From:
  Sent: Wednesday, March 5, 2025 3:24 PM
  To: Young, Christopher (CFPB)




  Subject: RE:optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Chris,


  Thank you so much for sharing this information. It is helpful to know that Casey is preparing a report.


                                                                                                            JA554
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  However, that information alone is not specific enough to address my questions. As such, they still
  stand.

  Thanks,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 3:18 PM
  To:



  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Clarification—Casey is preparing a report addressing much of the information requested.

  Our job is to prepare reports including a written summary of the specific matters they are
  working on, with the name of the entity being examined, how the matter was commenced
  and approximately how many hours they have spent on the matter.  



  Christopher J Young
  Deputy Assistant Director, Supervision Division


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  the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 3:16 PM
  To:



  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)



  -
                                                                                                                          JA555
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  Casey is preparing a report asking for much of this information. We are focused on preparing a
  report that addresses the following request --

  “Additionally, please notify every employee in your division to provide to me a written
  summary of the specific matters they are working on, with the name of the entity being
  examined, how the matter was commenced and approximately how many hours they
  have spent on the matter.  

  Please submit your report and direct every employee in your division to submit their response
  to me by COB Monday, March 10th.”



  Christopher J Young
  Deputy Assistant Director, Supervision Division


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  the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


  From:
  Sent: Wednesday, March 5, 2025 3:11 PM
  To: Young, Christopher (CFPB)




  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Chris,

  Thank you so much for this clarification. Ahead of our team meeting this afternoon, I have a few
  questions:

      1. Mark’s request to capture time spent – In our conversation earlier, you requested exam start
         dates or similar information to use as part of a determination of how much time team
         members spent on each exam. I want you to know that I’m looking to you for the most
         appropriate language to capture this information. I also have concerns:
            a. What is Supervision doing to ensure the time spent calculations are based on the same
               methodology? For example because, unlike a law firm, we don’t report our time as
               “billable hours” every 15 minutes by case. As a result of how we DO report our time,
               different teams could come up with vastly different totals if they’re using different


                                                                                                                          JA556
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                 methods to calculate this information.
             b. Do we know how they’re planning to use this information? If not, has anyone inquired?
      2. Mark’s request for lead examiner and lead attorney - Mark’s email also requested the
         following: “name of the lead CFPB examiner on each matter, and the contact information for
         the lead attorney for the company under examination.” This is not captured in Casey’s
         template. It evidences a lack of understanding of our work and a lack of familiarity with our
         structure.
             a. Has anyone requested clarification on which role(s) are appropriate to list for the
                 “name of the lead CFPB examiner?” Would this be the FM, EIC, RD, OSP POC(s) [for our
                 team, analyst AND attorney], and/or Deputy Assistant Director?
             b. Has anyone requested whether the “contact information for the lead attorney for the
                 company under examination” is requesting the entity’s contact information (e.g., CCO’s
                 name and number) or is it instead a request for our internal/lead CFPB attorney’s
                 contact information?
              c. Do we know how they’re planning to use this information? If not, has anyone inquired?
      3. Other items
             a. High-level information about exam scope seems useful here. I’d like to include it. We
                 can discuss more in our meeting.
             b. I have follow-up questions regarding the individual responses. We can also discuss
                 more in our meeting.

  Thanks,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 1:50 PM
  To:
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Thanks
            -   . And to confirm, I’ll be preparing a report as manager of the Cross-Program
  Team and the Compliance Technology Supervision Program, and each individual team
  member will also prepare their own reports for submission.

  Christopher J Young
  Deputy Assistant Director, Supervision Division


  Consumer Financial Protection Bureau
  consumerfinance.gov

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                                                                                                                          JA557
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  the email and any attachments. An inadvertent disclosure is not intended to waive any privileges.


  From:
  Sent: Wednesday, March 5, 2025 1:34 PM
  To: Young, Christopher (CFPB)
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Chris,

  Thank you for reaching out this morning. I’m very happy to assist with fulfilling leadership’s recent
  request.

  Per our discussion:
      • We will prepare the report requested in the 3/4/2025 and 3/5/2025 messages from Mark
        Paoletta and Casey Huggins as it pertains to our team.
      • Include the future planned exams and follow-up events (planned via prioritization process),
        active exams                              consultation activities
      • Include the start date.
      • I’ll produce an initial list before our next meeting this afternoon.
      • Use Word format
  Best,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 11:26 AM
  To:
  Subject: Re: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)



  -        — I will ring you on Teams at 11:45 if that works.

  Christopher J Young
  Deputy Assistant Director for Supervision Policy


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  consumerfinance.gov

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  From:


                                                                                                                          JA558
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  Sent: Wednesday, March 5, 2025 11:22:57 AM
  To: Young, Christopher (CFPB)
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  One more heads up on this – I have some existing reports in SES that may streamline the process for
  collecting this information. They are not perfectly aligned to this ask, but they should help.


  From:
  Sent: Wednesday, March 5, 2025 11:07 AM
  To: Young, Christopher (CFPB)
  Subject: Fw: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  I’m awaiting your direction based on Casey’s latest email.

  From: Huggins, Cassandra (CFPB)
  Sent: Wednesday, March 5, 2025 11:00:54 AM
  To: _DL_CFPB_Examiners Midwest
  _DL_CFPB_NE_Region_Directory <                                                 ;
  _DL_CFPB_Supervision Policy <                                ; _DL_CFPB_Examiners SE
  <                                   >; _DL_CFPB_Examiners West
  <                                      >
  Cc: Hagins, Calvin (CFPB) <
  Subject: optional template and instructions for submitting reports on exam activity (report due COB
  3/10)

  Regions/OSP-

  As you are likely aware, CLO Mark Paoletta has requested each member of Supervision to provide
  him with information on the exams they are currently working on. You are authorized to work on
  this assignment.

  Attached is a template that you may use to put together your response- it includes places to fill in all
  of the information that he requested. I’ve included rationale for why an event was scheduled, in case
  you aren’t sure what to put in response to that request. You can copy/paste to represent as many
  open events of each type that you need, and may delete any event types that you are not currently
  assigned to work on.

  As a reminder, this report is due COB Monday March 10. You may submit your report directly to
  Mark Paoletta, with a cc to your manager. If your manager has left the Bureau and you haven’t been
  assigned a new manager, please cc the next supervisor up in the management chain.

  If you are a manager who oversees others who work on exams, you may respond to the request with


                                                                                                             JA559
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  all open supervisory events that you are overseeing.

  If you are in any other role that does not actively work on individual exams (for example, regional
   analyst), please hold on submitting anything until I receive clarification from leadership on their
  expectations for staff in those roles.

  Thanks for your assistance with this request.

  Cassandra Huggins
  Principal Deputy Assistant Director | Supervision Policy & Operations



  Consumer Financial Protection Bureau
  consumerfinance.gov



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                                                                                                                          JA560
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       Exhibit WW




                                                                             JA561
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  From:
  Sent: Thursday, March 6, 2025 1:08 PM
  To:
  Cc:




  Subject: Recap of 3.6.25 call on Report for Exam actives due 3.10.25

  Hi
       -       ,

  Just wanted to do a brief recap of what we talked about on our team call from earlier:

       1. After we are done with providing the information for the report Casey requested yesterday
          we are to go back on Administrative Leave. If there is a conflict, while we are completing the
          report, that we would normally use leave for, we should check with Work Life to find the
          appropriate leave category to use at this time.
       2. We had some discussion regarding the CSI, when sending the report to Mark P. and the report
          should not be sent as an attachment but the report we had prepared in word should be
          copied and pasted into the body of the email.
       3. Lastly, during the call managers received an email about the status of open events,
          monitoring and planned events, and you would be reaching out to us individually to get a
          status on those open events.

  Again just wanted to make sure I had the info correct.




  Examiner
  Consumer Financial Protection Bureau

  Supervision, Enforcement, Fair Lending & Equal Opportunity

  consumerfinance.gov

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                                                                                                                          JA562
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          Exhibit XX




                                                                             JA563
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  From: McNitt, Bryce (CFPB)
  Sent: Thursday, March 6, 2025 6:17 PM




  Subject: Status of Office of Markets Contracts


  Good Afternoon,


  ~ Markets Procurement Status - Justifications.docx

  Linked above is the last known status of all Office of Markets contracts.


  I have also copied the list into the body of the email below. Some notes:


     •   All contracts except for one have had "Termination For Convenience" (T4C) notifications sent. This
         means the CFPB intends to cancel the contract, but for most contracts the formal modification
         cancelling the contract has not been signed.
            a Staff are not to log into or utilize the resources of any contract where a T4C has been
               issued (all contracts but Inside Mortgage Finance).
     •   Inside Mortgage Finance is the only contract that was not cancelled.
     •   Bloomberg Terminal has been formally cancelled and a refund is being issued.
     •   A few contracts were cancelled in Q1 FY25, and a couple were new contracts that will not be
         competed.
     •   Contracts that are either already fully cancelled or that were new and won't be competed are in gray in
         the attached sheet, we will not be pursuing those.


  For those contracts that where cancellation has been initiated but not formalized, we are beginning a process
  of making a request to restore those contracts we believe to be necessary to carry out our statutorily required
  market monitoring work. We are going to start with simple bullets and iterate the list within RMR.


  In the attached document, if you believe that the data source is essential to maintain our market monitoring
  activities, please place some bulleted justification(s) in the appropriate box below the status.




                                                                                                                    JA564
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  We will try to get a preliminary list to Jan & Dan on Monday and iterate from there.

  Please let me know if you have any questions.

  Bryce


  Status Office of Markets Procurements as of 3/6/2025

   Contract Name                Status
   AITE                         Cancellation initiated 2/11. Formal cancellation paused until further notice.

   AURIEMMA                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   (Cardbeat)
   Auto ABS Data                Cancelled Q1 FY 25.

   CARD MAIL MONITOR            Cancellation initiated 2/11. Formal cancellation paused until further notice.
   REPORTS
   (Competiscan)
   EXPERIAN                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   VELOCITY/AUTOCOUNT

   CRA Auto-focused data        Unlikely to be competed. (New Contract)
   purchase

   MERCATOR                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   GROUP/Javelin/Escalent

   MORTGAGE DATA PRICE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
   INDICES (HPI) (Black
   Knight)
   Mortgage Data - GUI          Cancelled Q1 FY 25.

   INSIDE MORTGAGE              Active
   FINANCE

   MOBILE INTELLIGENCE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
   DATA

   Personal Loan Data           Cancellation initiated 2/11. Formal cancellation paused until further notice.

   Bloomberg Terminal           Formally cancelled, refund being issued.

   Elliptic (crypto)            Unlikely to be competed. (New Contract)




                                                                                                                JA565
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          Exhibit YY




                                                                             JA566
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  From:
  Sent: Friday, March 7, 2025 10:24 AM
  To: Timmons, Debra (CFPB)                              >
  Subject: Following up from yesterday's discussion on work tasks

  Hello,
  Summarizing what we talked about yesterday as far as work tasks:

      • While our team had planned to release the dataset that is important for the statutorily
        required Card Act Analysis on the week of February 10th into Databricks Production, we will
        not be able to do so at this time. The contractors involved in the development of the
        datasets, the data validation of the dataset, and the federal employee who promoted the
        dataset to production were all terminated during the work stoppage in the middle of finalizing
        documentation.
            0  Status: We have granted access to the testing dataset (in staging) to the new Card Act
               team but they cannot use this dataset for finalized analysis.
      • Also as discussed, we should not move forward with developing new platform features or
        data products (as we had been) because we need to spend time figuring out how we will
        support our statutorily required functions with dramatically less staff/contractors/fewer
        systems. You will let me know if I am required to perform this taking stock task for Databricks.

  I appreciate your leadership and support.




                                                                                                           JA567
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           Exhibit ZZ




                                                                             JA568
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                                        10:02AM,


~I everyone,

I was gotngthrough complalnts today and found that every attachment was inaccessible -the site gave a error that just said 'Service Error (500}'. I've flagged for Matt Pfaft, but wanted to
confirm with any of you that you are having the same issue?


Some of the companies thatwe look at complaints about regularly attach a pdf as its fuU response so tt makes it impossible to review complete lnformailon about con,piaints from those
companies.




                                                                                                                                                                                  JA569
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                      SUPPLEMENTAL INDEX OF EMAILS AND OTHER
                                COMMUNICATIONS

  Exhibit   Date                                    Description
    II      2/12   Emails between Adam Martinez and OPM regarding “RIF Consulting
                   Services”
    JJ      2/14   Emails between Adam Martinez and OPM regarding CFPB’s request for an
                   exception to the “90-day rule for competitive areas” (8:28am)
   KK       2/14   Status update from Adam Martinez regarding “today’s [RIF] actions and
                   notifications to staff” (12:38pm)
    LL      2/14   Email to Adam Martinez notifying him of TRO hearing in this case in
                   planning for timing of termination notices (1:39pm)
   MM       2/14   Email urgently requesting materials for RIFs from OPM (1:44pm)
   NN       2/14   Email including list of employees to be fired (2:27pm)
   OO       2/14   Email from OPM approving request for exemption from the 60-day notice
                   requirement for RIFs (3:25pm)
    PP      2/14   Email from Adam Martinez confirming that he will be included with the
                   “next group” of RIFs (4:57pm)
   QQ       2/14   Email regarding materials for RIFs (9:56pm)
   RR       2/28   Email regarding impact of contract status on resuming work
    SS      3/5    Email regarding indefinite postponement of mandatory training
    TT             Site showing that staff are not authorized to take mandatory training
   UU       3/5    Email regarding reporting on supervision examination activity
   VV       3/5    Email regarding reporting on supervision examination activity
   WW       3/6    Email regarding reporting on supervision activity and return to
                   administrative leave
   XX       3/6    Email regarding impact of contract cancellations on Office of Markets
   YY       3/7    Email regarding impact of contract cancellation and employee terminations
                   on CARD Act analysis
    ZZ      3/7    Email from head of Office of Students team indicating that they are currently
                   unable to perform required complaint-review function




                                                                                                   JA570
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              Exhibit II




                                                                            JA571
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From:                          Martinez,Adam(CFPB)
Sent:                          Wednesday,February12, 2025 6:51 PM
To:                            Gueye, Jafnar (CFPB);
Cc:
Subject:                       PN:Draftagreementfor CFPB
                                                       RIFassistance
Attachments:                   OPM HRS - RIF Consulting Services- CFPB.pdf

FollowUp Flag:                 Follow up
Flag Status:                   Flagged


FYSA- Once OPM confirms, 1'11sign the SOW.
J afnar - I went ahead and pro\-ided your name directly so you can handle with your team carefully
given the topic.

Thank you all.

Adam

Adam Martinez
Chief OperatingOfficer

From: Martinez, Adam{CFPB)
Sent: Wednesday, February 12, 2025 6:49 PM
To:'Parman,JasonC.'                          ; Wick, Jordan                  ; Young,Christopher




   Je              g

Thank you again for supporting us.

We have reviewed the agreement, and we are ready to move forward. Please let me know if we are
good to sign or if you have any additional changes on your end. I've included our POC information
belO\•v.

Finance POC:
Jafnar Gueye
 hief Financial Officer




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                                                                                                   JA572
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AdamMartmez
Chief Operating Officer

F.-om:Parman, Ja~n C.I
Setit: Wednesday, Febrnary12, 2025 4~16PM
To:Martlnez, Adam {CFPB)                                                                                  ; Young,
Christopher
1Cc:

Subject:Draft agreement for CFPBIRII=assistaoce
                                                                                                               -
Adam,,Jordan. a11d Chris•

Pero ur meeting, attached ptea:se•find a draft ~tatement of work (SOW}for restructuring •asslstaf,t·e sijtvl'f:1es,.Thi3
SOW 1cove1rs  the 1rangeot actiivities we may do for-yo:uthroughout ti11eproj1ect.,and the inlitijatll.Jlncm,gof$i Yi ;9i5
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We are glad to meet ASAPto 1refineth1elanguage If needed ..lf tMs meets :y0u1rneeds, -                  (our ·fina1ndat
specialist, ,copied here) is 1readytoworkwithyourteam to ex,ecutethe agreement.

Please review and if this meets your n,eeds,,we can connect our finance team with yours to executethe agreeirnen't,
Feel free to contact me directly a-               or                    (copied here) ·wrth questions, or j 1ust rr,rpty
to this email that you are ready to go.

We look ·forward to wori<ingwith you on this critical in1itrative.

Thanks,
Jason

Jason C. Pa1rman
DeputyAssociateDirector
U.S.Office of Personnel Mana,gement
HR Strategy & EvaluationSOiutions




OPM.gov



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            Exhibit JJ




                                                                            JA574
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    F111111:
    To:
    Sulljeetl       FW:Requestfor CompAreaException
    Oaite:          Friday,Febnlary14, 20258:28:19 AH


   Thecompetitiveareas"""ere
                           approved.
    Adam Martinez
    Chief Operating Officer

   From:Peters, Noah
   Sent:Thursday, February 13, 2025 10:12 PM
   To: Lewin, Jere




   Parman, JasonC.
   Subject:RE:Requestfor Comp Area Exception

   Jeremy-OPM has approved the competitive area exceptions.


   From:Lewin, Jeremy
   Sent:Thursday, February 13, 2025 10:10 PM




   Parman,Jason C.
   Subject:Re: Requestfor Comp Area Exception

   +Anthony, who suggested I reach out. We owe Acting Director Vought an update at 10am
   tomorrow-    do we have an ETA on an OPM response?


   Thank you!
   Jeremy


   From: Mahoney,Michael
   Date: Thursday. February 13 1 2025 at 7:17 PM
   To: Martinez, Adam (CFPB)


                                                                                          I



                                                                                              JA575
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   Subject: RE:Requestfor Comp AreaException

   Thanks


   From:Martinez,Adam(CFPB)
   Sent: Thursday, February 13, 2025 7:1S PM
   To: Mahoney, Michael




   Peters, Noah~
   Subject RE:Request for Comp kea Exception


   Hi Mike - numbers are attached.

   Adam Martinez
   Chief Operating Officer

   From:Mahoney, Michael J
   Sent:Thursday, February 13, 2025 6:31 PM
   To: Martinez, Adam (CFP




   Subject: RE;Request for Comp kea Exception


   Hi Adam,


   Could you put numbers next to the different Cas in your request?

   In other words, I'm assumingthe 1200 will be spread across the CA; can your team break that up and
   assignto eachCA

   Thanks,


   -mike


   from: Martinez,Adam(CFPB)
   Sent: Thursday, February 13, 2025 5:01 PM
   To: Mahoney, Michael




                                                                                                        JA576
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   Peters,Noah
   Subject:Requesttor comp Area Exception

   HiMichae.1-

   Attached is CFPB's request for an exception to the 90-day rule for competitive areas.

   Piease let me knowif you have any questions or need additional information.

   Tilanky,ou.

   Adam
   Ad.amMartinez
   ChiefOperatingOfficer
      I    ,.    .I,.   t   ial Protection Bureau




                                                                                           JA577
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                        Consumer Fi nancial
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  1 7 00 G Street N W , Was h i ngto n , D . C . 20552




   Fe bru ary 13, 202 5



  TO:                   Michael J. M a honey, Office of Person nel Ma nagement

  F ROM :               Ada m Martinez, Ch ief Operating Office r/Acting Ch ief Human Ca pita l Officer
                                                                                                    Digitally signed by ADAM
  S U BJ ECT:           Establishment of Competitive Areas ADAM MARTI N EZ MARTINEZ
                                                                                                    D,ite: 2025.02 . 1 3 1 9: l 2:52 ·05'00'

  This m emora n d u m serves as th e Co nsu mer Financial P rotecti o n Bureau's ( C FP B ) re quest for a n
  exception to t h e co m petitive a rea 90-da y ru le. Please fin d t h e C F P B responses below with
  regards to our com petitive a rea s.

            1. Identification of the proposed competitive area, including the orga nizational
               segment, geogra phic location, a nd l i m its of the loca l comm uting area;

                Answer: Bel ow a re t h e d ivis ions, offices and u n its that will be i m med iately
                i m pa cted by a possible re d u ction-in-fo rce. Ad ditional com petitive a reas w i l l be
                identified in t h e next ro u n d of d ivisions, offices, a n d/or u n its i n c l u d i ng the Division
                of Ope rations, Division of Resea rch M o n itori ng a n d Regu latio ns, and D ivision of
                Cons u m e r Response .

                    •     Office of t h e D i rector - 1 06 positions
                              o Legislative Affa i rs - 4 position
                              o Office of Pol i cy and Strategy - 1 9 positions
                              o Offi ce of Civ i l Rights - 1 3 positions
                              o Office of F a i r Lending a n d E q u a l O pport u n ity _ 1 7 pos it i ons
                              o Office of t h e Directo r - 53 positions
                    •     Divisio n of Exte rnal Affa i rs - 51 positions
                              o Co m m u n i cations - 1 6 positions
                              o Exte rna l Affa i rs Division 1 6 positions
                              o I ntergovernmental Affa i rs - 7 positions
                              o Private Sector E ngage ment - 5 positions
                              o P u b l ic E ngagement - 7 pos i tions




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                                                                                                                                               JA578
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                   •    Division of Supervis i on . 528 positions
                            o S u pe rvi s i on Pol icy and O p e rations - 1 24 positions
                            o S u pe rvision Exa m i n ations - 6 positions
                            o Su pervision M i dwest Regi o n . 96 positions
                            o Su pervision N o rt h east Regio n - 98 positions
                            o Su p e rvision So u t heast Region - 1 1 o positions
                            o Su pervision West Region - 94 positions
                   •    Division of E nfo rce ment - 283 positions
                   •    Division of Research - 1 70 positions
                             o Com p etition a n d I n novatio n - 1 0 positions
                             o Con su mer Pop u lations - 54 positions
                             o M a r kets - 42 positions
                             o Resea rc h - 64 positions
                   •    D ivision of O p e rations - 37 pos itions
                             o Ope rati o n s Fro nt Office - 1 o positions
                             o Ch ief Data Office r - 22 positions
                             o Ad min istrative Operations
                                     • Events Management - 5 positions


          2. A descri ption of h ow the proposed a rea diffe rs from the one previously
             esta blished for the same u n it and geogra ph ic a rea;
             Answe r: N o co m p etitive a reas we re esta b l i shed for the groups a bove. The gro u ps
             l isted a bove i n c l u d e enti re divisi o n s, offi ce s, a n d/or u n its .

          3. An orga n izational cha rt of the age n cy s howing the re lationsh i p between the
             orga nizationa l com po nents with i n the competitive a rea and other com ponents in
             the commuting a rea;
             Answer: O rga nizat i o n a l chart atta ched.

          4. The n umbe r of competing employees i n the proposed competitive area; Answer:

             Approximately 1175 positions

          5. A descri ptio n of the operation, wo rk fu nction, staff, a n d pe rsonnel ad min istration
             of the proposed a rea a nd, where appropriate, a descri ption of how the a rea is
             d isti ngu ished from others in these respects; a nd




   cons u m erfi nance. gov                                                                                 2


                                                                                                                JA579
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              Answer: Al l fu nctions a re u n i q u e to the specific division, office a nd/or u n it and
              su p po rt t h at u n it' s m i ssio n .


          6. A discussion of the circumstances that led to the proposed changes less than 90
              days before a proposed reduction .

             Answer: The C F P B is res p o n d i n g to Executive Ord e r l m plementing_The. President's
             " Department o(G ove r n m e n t Efflciency"_Workfo rce_ O p t i m izatio n_ l n itia t i ve - The
             Wh ite _H o u se dated Febru a ry 1 1, 2 02 5 a n d t h e CFPB Acti ng Di recto r' s work sto ppage
             o rde r d ated Feb ruary 10, 202 5 .




   cons umerfi na nce. g ov                                                                                        3


                                                                                                                       JA580
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          Exhibit KK




                                                                             JA581
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From:                           Martinez,Adam(CFPB)
Sent:                           Friday,February 14, 2025 12:38 PM
To:
Subjed:                         FW:Status


FYSA

Adam Martinez
Chief Operating Officer

From: Martinez,Adam (CFPB)
Sent: Friday,February 14, 2025 12:34 PM
To: You~. Christopher(CFPB)                                  Lewin, Jeremy                      Wick,Jordon
(CFPB)
Cc:Paoletta,Mark (CFPB)
Subject:Status

Good afternoon -

 My team and I had a productive conversation with 0PM this morning to work out any identified risks
 and answer follow-up questions regarding today's actions and notifications to staff. OPM shared that
typically during the 30-day notice, employees work during this time to transfer any duties. Mark P.
just happened to call me, and I was able to ask for clarification and expectations for the first phase of
 notifications.

We are going to place all staff on administrati,re leave for the 30-day notice period. This will provide
the flexibilityfor our new leadership team to call back staff to fulfill c1oseoutduties such as
enforcement cases. If there are pockets of staff who we later determine do not need to be called back,
we can immediately offboard them (i.e., terminate access) for the duration of the notice period.

I will provide you all notice right before the letters go out, along with the final numbers. This will all
be done this afternoon.

Adam
Adam Martinez
ChiefOperatingOfficer




                                                        1
                                                                                                      JA582
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           Exhibit LL




                                                                             JA583
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From:                                 Ma-tinez,Adam (CFPB)
Sent:                                 Friday,February14,2025 1:39 PM
To:
Cc
W>ject:                               RE:HeadsUp Re:Timing of Notices


Thanks.

Adam Martinez
Chief Operating Officer

From:
Sent: Friday,February14, 2025 1:36 PM
To: Martinez, Adam (CFPB)
Cc:--
Subject:HeadsUp Re:Timing of Notices

Hi Adam,

Wanted to make sure you were aware there is a hearing for a temporary restraining order or preliminary Injunction
related to today's activities scheduledfor 2pm today. While we will continue preparing, It's just a consideration when
deciding when to send out the notices.

httQs:Llwww.gue_tawessler.com[we_-content[u.12,loads[202SL02/1_ROMemorandum.Qdf




-
consumerfinance.gov

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attachments. An inadvertent disclosure is not intended to waive any privileges.




                                                                   1
                                                                                                                                JA584
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        Exhibit MM




                                                                             JA585
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    From:
    To:
    Cc
    Subject:
    Date:            Friday,February
                                   14, 2025 1:44:00PM
    Attachments:     .mage001P09
                     .inage002,pog
                               IemQlatunso
                      ~ Exceotjpn
    I111pon:ance:    High


   Thanks for everything you're doing, but we need the last set of attachments now. We cannot wait
   until COB. We also need an answer on the attached question about the guidance. Apologies, but we
   have been instructed we do not have until COB.




   Confidentiality Notice: If )OU receivedthis email by mistake,you should notifytbeseoderofthe mistakeand delete
   the e-mail and any attachments. An inadvertent disdosure is not intended to waive any prh,ileges.


   From:
   Sent:Friday, February 14, 2025 11:36 AM
                                                                     ; Parman, Jason C.




   Subject:RE: Exception Template

   Good morning,


   The following documents have been attached.
   1. MSPB Appeal Information
   2. OPM Retention Regulations
   3. Severance Pay Estimate Worksheet
   4. Unemployment Insurance
   5. CTAP, ICTAPand Reemployment Priority List (RPL}Program Information


   We are working to provide an example fa the following and will as soon ascomplete.
   1. Authorization for Release of Employment Information
   2. Acknowledgement of Receipt
   3. State Workforce Programs




                                                                                                                    JA586
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    ---
    Vo:y Respectfully,




   ~
   OPM
    •
                         US.Officeof
                         Personnel
                                Management

    Follow us on 1in~ln I~             IYou.Tube




   Subject:RE: Exception Template



   I    Some people wro received this messagedon-t often get email from
        •.mQQ[t:~111

   10am would be great. Thank you.




   ~QD.S.Ym~rfinan~.e.,.gQv

   Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and deete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


   From:
   Sent: Friday, February 14, 2025 8:31 AM
   To:




   Subject:RE:Exception Template


   Good morning,

   Yes,please let us know the time and we will clear our schedules and establish a team meeting.




                                                                                                                          JA587
                                  -----------------------------·-----·--
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    ---
   VeryRespectf\.Aly,




    OPM
    •
                    US.Officeof
                    Per~mel Management

                        I~
    Followus on 1.inke.d.ln         IYQuTube


    From:
    Sent: Friday, February 14, 2025 8:26 AM




    Subject: RE: Exception Template




    I   Somepeoplewho receivedthismessagedon't often get emailfrom
        f.DllQ!tan1
                                                                                                     Learnwhy •h1<,s

    Thank you, we appreciate it. We are about to meet internally but will very likely still have questions
   where we'll need your expertise for the Notices deliverables. Does any of the team have availability
   to meet to talk through the questions for 30 mins today?




   Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


    From:Parman, Jason
    Sent:Friday, February 14, 2025 8:19 AM




   -
                                                                                                                           JA588
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   Yes, we can help with this. We wil get to work on scrubbing and packaging these and sending them to
   you.

   Jason


   from:
   Sent: Friday, February 14, 2025 6:48 AM




   I   Somepeoplewt,o:eceived
                            thismessage
                                      don'toftengetemailfro~




   ·-
          ~>orta nt
       1r11




   Do you have copies of the seven attachments referenced in the template?


   1. Acknowledgement of Receipt
   2. MSPBAppeal Information
   3. OPM Retention Regulations
   4. Severance Pay Estimate
   5. Unemployment Insurance and State Workforce Programs
   6. Authorization for Release of Employment Information
   7. CTAP,ICTAPand Reemployment Priority List {RPL)Program Information

   Although we'll be doing the severance pay estimate, a sample format would be helpful given our
   timeframes to send these out.




   -
   Much appreciated.




   ~Qo~umerfinance.gov

   Confidentiality Notice: If you received this email by mistake, you shou1dnotify the sender of the mistake and delete
   the e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.


   From:
   Sent: Thursday, February 13, 2025 7:53 PM
   To;Martinez, Adam {CFPB)                                         1111

                                                                                                                          JA589
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   Subject: RE: Exception Template


   Greetings,

   Attached are templates of Reduction in Force notifications with and without Severance Pay. Please
   be mindful that this is a to be used as a guide for developing your internal RIFnotice for issuance.
   When developing your agency's RIFnotices, the team should develop standard language when
   appropriate (e.g., all notices should contain the same language on the reasons for the RIF}. It is
   recommended that you and your team have agency management, and the agency's legal staff,
   approve the notices. Finally, the team should designate staff to review and proofread each notice for
   any errors in content, format, and spelling before issuing.



   Very Respectfully,




    OPM                 US.Officeof
                        l'ef5omel Management

   Followus on 1.inkedlnI .Iwi.tterIYQ.UTube



   From:Martinez, Adam (CFPB)
   Sent: Thursday, February 13, 2025 6:17 PM




   Subject:RE:Exception Template

   'Thankyou,-.        I'll have this over shortly. I emailed Jason separately, but who can
   we get a copy of the furlough letter/template from?

   Adam Martinez
   Chief Operating Officer

   From:-
   Sent: Thursday, February 13, 2025 5:29 PM
   To: Martinez, Adam (CFPB)




                                                                                                           JA590
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   Subiect:ExceptionTemplate

   Good afternoon, Adam,

   N. requ~ted, the template for the exception to the 60-day notification is attached.
   I will send a separate email to schedule next week's meeting.


   Pleaseprovide~mail              address to include in future emails.

   Thankyou,



   -
   U.S. Officeof Per$omelManagement
   HRSolutions/FederalClassificationCenter




                    I ~formerlytwil.t.e.tllX521.(Tube
   Folowus on Unkedtn




                                                                                                JA591
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          Exhibit NN




                                                                             JA592
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   ff'om:
   To:
    Cc:
    Subject;          a e         pu
    Date:            Friday,Februa,y14, 20252:27:41 ~
    Attadlmeitts:                         H PBAEI130QPf1.l!I~
                     L5.2LflIJlkl&s.2025·02·
                                jj~ rt §§liM'.itioQS,?1~
                     Co[)$QIKl,)ted
                         c.amo
                     CEJ'8  areaBeooes04

   Hi you all. The first attachment is the list. The second list contains what I think is a consolidated list
   of all the separations. Make sure the people on the second attachment aren't on the first
   attachment.

   Also, see the PDF.Make sure everyone in the orgs identified in the PDFare on the file.

   After this is done we need to verify that the fields in the forms are correct but first validate the
   population and get back to me ASAP.

   If you find issues, please email me. We do not want to bother ■ right now with this stuff. He is
   headsdown programming.




                                                                                                                JA593
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          Exhibit OO




                                                                             JA594
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From:                             Martinez,Adam {CFPB)
Sent:                             Friday,February14,2025 3:25 PM
To:
Subject                           FW:Requestfor Exceptionto 60 day notice
Attachments:                         exception
                                  CFPB       to 90CA ruleSIGNED
                                                              2-14-2025,pdf;CFPBexceptn to the 60 day
                                  notice period SIGNED2-14-2025.pdf

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



For the file. Thanks.
Adam Martinez
Chief Operating Officer

from: Mahoney, Michael J
Sent: Friday, February 14, 2025 3:07 PM
To: Martinez, Adam (CFPB)
Cc:Young,Christopher (CFPB)
                                  Parman, Jason C.
Subject: RE: Request for Exception to 60 day notice

Aaam,

Attached are the signed letters

-mike


From:Martinez,Adam (CfPB)
Sent: Thursday, February 13, 2025 7:48 PM
To: Peters, No
                                                                                               Wick, Jordon



Subject: RE: Request for Exception to 60 day notice

Thank you, Noah.

Adam Martinez
Chief Operating Officer

From:Peters,Noa
Sent: Thursday,February             •
To: Martinez A am                                      Internet, WPI Employ
                                                               Lewin, Jeremy



Subject: RE:Requestfor Exceptionto 60 day notice

                                                                                                     JA595
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Approved.

Best,

Noah Peters
Senior Advisor to the Director
U.S. Officeof PersonnelManagement
1900 E Street, N.W. Washin ton, D.C. 20415




From:Martinez, Adam (CFPB)
Sent:Thursday,February13, 2025 7:30 PM
To: Internet, WPI Employ
Cc: Young,Christopher(CFPS)                                                               Wick,Jordon
(CFPB)
                                 Noa
Subiect:Requestfor Exceptionto 60 day notice

Good evening.

Attached is a request for the 60-day notice exception for RlF notification.

Please let me know if you have any questions or need additional information. Thank you.

Adam

Adam Martinez
Chief Operating Officer




                                                   2
                                                                                               JA596
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                   UNITED STATES OFFICE OF PERSONNEL MANAGEMENT
                                         Washington,
                                                  OC 20411


                                         f ebruary14,2025

  Mr. Adam Martinez
  Chief Operating Officer/ Acting Chief Human Capital Officer
  Consumer Financial Protection Bureau
  17000 St NW
  Washington, DC 20552

   Dear Mr. Martinez:

  The Office of Personnel Management (OPM) approves, wilh one exception, the Consumer
  Financial Protection Bureau's (CFPB) February 13, 2025, request for OPM approval of an
  exception to the 60-day notice period provided given to employees selected for release through a
  reduction io force (RIF). Your request indicates that a RTFis necessary due to the impact of the
  Executive Order (EO) titled, "'Implementing The President's "Department of Government
  Efficiency" Workforce Optimization Initiative" (February l l, 2025), and the CFPB Acting
  Director's work stoppage crder dated February 10, 2025.

  OPM approves your request in accordance with 5 CfR 351.801 (b). Under this provision OPM
  may approve a notice period of less than 60 days when a RIF is caused by unforeseeable
  circumstances. lhe minimum notice period must cover at least 30 tull days. In accordance with
  the EO CFPB must act quickly to conduct a RlF of employees in the divisions. offices, and units,
  mentioned in your request, with one exception:this approval does not include the 'Office of the
  Director/Office of Civil Rights - 13 positions' indicated in your request. In a In a February l4,
  2025, meeting with OPM staff Cf'PB clarified this competitive area should be removed from the
  request. The urgency with which CFPB must comply with the EO makes the standard 60-day
  notice period impracticable. OPM is approving a notice period of 30-days f<r employees in the
  entities in your request except the Office of the Director/Office of Civil Rights.

  Please contact              hy email at                         or phone at               should
  youor staff have any questions with this respons~.

                                              Sincerely,



                                                Yu,,~~
                                               Veronica E. Hinton
                                               Associate Director
                                               Workforce Policy and Innovation




                                                                                                      JA597
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           Exhibit PP




                                                                             JA598
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From:                          Martinez, Adam (Cf PB)
Sent                           Friday,February14, 202S4:57 PM
To:
Cc:
Subject:


Yes. I'm dual ha:.ttedright now with Ops and OHC. 1 ""illbe on the R1Flist but in the next group.
Adam Martinez
ChiefOperatingOfficer

From:111111111111111
Sent:~56PM
To: Martinez, Adam (CFPB)
                                                                                               ;-



HiAdam,

Youshow up on the RIFreport becauseyou arein the Director'sFront Office.Areyou the only exception?




Consumer Financial Protection Bureau
.consumerfinance.gov




                                                       1
                                                                                                     JA599
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          Exhibit QQ




                                                                             JA600
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 From:
 Sent
 To:



 Cc:
 Subject:                         coding for separation actions


 Hi you all. Here's the proposed coding for the separation actions. Canyou please review and approve for me?

I used auth ZLM for all three since Adam said he wanted agency cites. I could be wrong but I thought we used ZLM when
we did Agency cites. PARremark code M499 just means the remarks are custom. The action & action reason may not be
perfect for the situation but this information doesn't go anyway. It stays in HRCand is mostly used for reporting
purposes.

~ Can you all use the action reason to determine which actions need to be changed to a NOA 330 and
which need to be changed to a NOA 285? The RIFswill be loaded via MPI. For Tuesday,you will only have the NOA 330
and 385.

         we will need to key these over the weekend so they are there Tuesday morning.
 Type of            NOA Auth            Par Remark     PARRemark Content      Effect Dt      Action 1    Action
 Separation                 Code        Nbr                                                              Reason1
 Term               330     ZLM         M499          EOentitled              2/13/2025      TER         Staff
 Appointments                                         "Implementing the                                  Reduction
                                                      President's "Dept of
                                                      Govt Efficiency"
                                                      Workforce
                                                      Optimization
                                                      Initiative" dtd
                                                      2/11/2025 and the
                                                      stop work email from
                                                      RussVought entitled
                                                      "Additional Directives
                                                      on Bureau Activities"
                                                      dtd 2/10/2025.
                                                       LUMP-SUM
                                                       PAYMENT TO BE
                                                       MADE FOR ANY
                                                       UNUSED
                                                       ANNUAL LEAVE
 Probation          385     ZLM        M499            EOentitled              2/11/2205     TER2        opp2
                                                       "Implementing the
                                                       President's "Dept of
                                                       Govt Efficiency"
                                                       Workforce
                                                       Optimization
                                                       Initiative" dtd
                                                       2/11/2025 and the

                                                          1
                                                                                                                JA601
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                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEAVE
    RIF              356    ZLM         M44             EOentitled               TBD           TER1         Staff
                                                        "Implementing the                                   Reduction
                                                        President's "Dept of
                                                        Govt Efficiency"
                                                        Workforce
                                                        0 ptim izatio n
                                                        Initiative" dtd
                                                        2/11/2025 and the
                                                        stop work email from
                                                        RussVought entitled
                                                        "Additional Directives
                                                        on Bureau Activities"
                                                        dtd 2/10/2025.
                                                        LUMP-SUM
                                                        PAYMENT TO BE
                                                        MADE FOR ANY
                                                        UNUSED
                                                        ANNUAL LEA VE

1
  This information is only in HRConnect. It doesn't display on the SF-SO,go to NFCor go to OPM. The field is used mostly
for reporting.
2 Ter = Termination; OPP= Probation/Trial Period




                                                            2
                                                                                                                  JA602
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          Exhibit RR




                                                                             JA603
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  From:
Subject: Return to research next steps
   Date: February 28, 2025 at 12:03 PM
     To:




       Hello all,

       ORFO just met to discuss next steps regarding yesterday’s new guidance that we should
       resume non-public statutory research work.

       Our first step is trying to figure what we can and can’t do in terms of systems access and
       data access. I have not been able to access certain systems, and I don’t believe we have
       an accurate list of what data contracts remain and how it may limit statutory research.

       So could you all please log on and send me the answers to the following questions:

           1. Can you access all of the technical systems, including the Research Environment,
              in the ways you normally used to do to fulfill research activities.
           2. Can you access all of the data that you used to in order to fulfill research activities.
           3. For those of you who are CORs/ACORs, can you report back what data contracts
              have been cancelled.
           4. What conferences have you been accepted to that you are waiting for guidance on
              whether you can attend? ORFO knows about Boulder, and the Round Robin.

       Additionally, we will be seeking guidance on how to properly code timesheets.

       All Best,


       -



                                                                                                    JA604
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            Exhibit SS




                                                                             JA605
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From:Olstad, Per (CFPB)----
Sent:Wednesday, March~
To:_DL_CFPB_RMR_CP _All
Subject: Fw: Confirming requ



Hi all - see below re: usually required compliance trainings and deadlines ...



Thanks,
Per




From:Sacco, Matthew (CFPB)
Sent:Tuesday, March 4, 2025
To: Olstad, Per (CFPB).
Cc: Sacco, Matthew (C                                            FPB_Leam
Subject: RE: Confirming requirements re: ma                     g



Per-

        Hello, I hope that you are well. Thank you for your timely question. I'll also apologize on our collective behalf
about any system-generated reminder emails that went out to many today ( and a few weeks ago). That was not intended,
andwe are acting on that piece as well.



       We have extended the former March 17 due date, and have an updated News Article posted on Beam
Announcements - FY25 Mandatory Training deadline extended until further notice



         Our current Mandatory Compliance Training (MCT) is now extended. The deadline has been postponed until
further notice, and applies to all assigned courses in both the Know8e4 system, and the Cf PB Leaming Management
System.



       Unless otherwise advised by Cf PB Leadership, completing these courses is not authorized work during current
paused work status.



        If status and direction on this change, we'll provide more and updated communications, however until then
working on these MCT courses is not authorized work.



          I hope that this helps. If you have any further questions on this, please feel free to contact me directly at
                              or the team via
                                                                                                                          JA606
             Case 1:25-cv-00381-ABJ Document 67                        Filed 03/07/25 Page 38 of 60
       USCA Case #25-5091    Document #2113074                           Filed: 04/25/2025 Page 612 of 637
Take care,

Matt

Matt Sacco

Talent Development Manager

Office of Human Capital

Consumer Financial Protection Bureau

Tel:

Mob:



www.consumerfinance.gov




From:Olstad, Per {CFPB)IIIIIIIIIIIIIII
Sent Tuesday, March 4, ~
To: CFPB Leamlllllllllllllll
Subject:Confirm~                       atory training
Importance: High



Hi - On Feb 21, re: mandatory trainings, there was a directive (on Beam) to "not take these training courses" and that the
March 17 deadline would be extended. Can you advise whether staff should resume taking the trainings and if there is a
new deadline?



Thank you,
Per



Per Olstad

Acting Deputy Assistant Director & Senior Advisor

Office of Consumer Populations

Division of Research, Monitoring, and Regulations

Consumer Financial Protection Bureau




-
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                                                                                                                        JA607
      Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 39 of 60
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           Exhibit TT




                                                                             JA608
               Case 1:25-cv-00381-ABJ Document
3/7/25, 12:14 AM                                      67 requirements
                                        Mandatory training  Filed 03/07/25          Page 40 of 60
                                                                      remain suspended
         USCA Case #25-5091    Document #2113074               Filed: 04/25/2025        Page 614 of 637




                                                 Please ignore any reminders.




        As previously announced, CFPB staff are not authorized to undertake annual
        mandatory training at this time. Please ignore any reminders generated
        automatically by the training platforms. We have communicated any exceptions
        directly to individuals who do have requirements.

        The CFPB will revisit mandatory training later in the fiscal year. Please direct
        questions to                        .




       Page Properties

        Owning Team
            Human Capital

        Topic
            Training




                                                                                                         JA609
https://bcfp365.sharepoint.com/sites/beam/SitePages/Annual-training-requirements-remain-suspended.aspx       1/2
      Case 1:25-cv-00381-ABJ Document 67   Filed 03/07/25 Page 41 of 60
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          Exhibit UU




                                                                             JA610
      Case 1:25-cv-00381-ABJ Document 67                  Filed 03/07/25 Page 42 of 60
USCA Case #25-5091    Document #2113074                     Filed: 04/25/2025 Page 616 of 637




   From: Huggins, Cassandra (CFPB)
   Sent: Wednesday, March 5, 2025 10:01 AM
   To: _DL_CFPB_Examiners Midwest
   _DL_CFPB_NE_Region_Directory                                          ;
   _DL_CFPB_Supervision Policy                           ; _DL_CFPB_Examiners
   SE                                     ; _DL_CFPB_Examiners West

   Cc: Hagins, Calvin (CFPB)
   Subject: optional template and instructions for submitting reports on exam activity (report
   due COB 3/10)

   Regions/OSP-

   As you are likely aware, CLO Mark Paoletta has requested each member of Supervision
   to provide him with information on the exams they are currently working on. You are
   authorized to work on this assignment.

   Attached is a template that you may use to put together your response- it includes places
   to fill in all of the information that he requested. I’ve included rationale for why an event
   was scheduled, in case you aren’t sure what to put in response to that request. You can
   copy/paste to represent as many open events of each type that you need, and may
   delete any event types that you are not currently assigned to work on.

   As a reminder, this report is due COB Monday March 10. You may submit your report
   directly to Mark Paoletta, with a cc to your manager. If your manager has left the Bureau
   and you haven’t been assigned a new manager, please cc the next supervisor up in the
   management chain.

   If you are a manager who oversees others who work on exams, you may respond to the
   request with all open supervisory events that you are overseeing.

   If you are in any other role that does not actively work on individual exams (for example,
   regional analyst), please hold on submitting anything until I receive clarification from
   leadership on their expectations for staff in those roles.

   Thanks for your assistance with this request.

   Cassandra Huggins
   Principal Deputy Assistant Director | Supervision Policy & Operations



   Consumer Financial Protection Bureau

                                                                                              JA611
      Case 1:25-cv-00381-ABJ Document 67                         Filed 03/07/25 Page 43 of 60
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   Consumer Financial Protection Bureau
   consumerfinance.gov



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       optional
    template.docx




                                                                                                                    JA612
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          Exhibit VV




                                                                             JA613
      Case 1:25-cv-00381-ABJ Document 67                     Filed 03/07/25 Page 45 of 60
USCA Case #25-5091    Document #2113074                        Filed: 04/25/2025 Page 619 of 637




  From: Huggins, Cassandra (CFPB)
  Sent: Wednesday, March 5, 2025 5:11:00 PM
  To:
  Subject: Re: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  -        the only item you raise that you need to be concerned with for the purposes of your
  repo1i 1s the repo1iing of approximate time spent on the exam. I would recommend you put
  your best guess as to the amount of time you spent working on each exam until the work
  stoppage in 2/10. I am not asking what they plan to do with the info1mation.

  From:
  Sent: Wednesday, March 5, 2025 5:05:26 PM
  To: Huggins, Cassandra (CFPB)                                 >
  Subject: FW: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Casey,


  Please see below, particularly my 3:11pm message to Chris. There are a lot of unknows here, and I'd
  like to know if anyone has asked Mark (or others) for clarification. I am particularly concerned with
  the time allocated calculations and questions pertaining to how all of these submissions will be used.


  Thanks,




  -
  From:
  Sent: Wednesday, March 5, 2025 3:24 PM
  To: Young, Christopher (CFPB)




  Subject: RE:optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Chris,


  Thank you so much for sharing this information. It is helpful to know that Casey is preparing a report.


                                                                                                            JA614
      Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 46 of 60
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  However, that information alone is not specific enough to address my questions. As such, they still
  stand.

  Thanks,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 3:18 PM
  To:



  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Clarification—Casey is preparing a report addressing much of the information requested.

  Our job is to prepare reports including a written summary of the specific matters they are
  working on, with the name of the entity being examined, how the matter was commenced
  and approximately how many hours they have spent on the matter.  



  Christopher J Young
  Deputy Assistant Director, Supervision Division


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  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 3:16 PM
  To:



  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)



  -
                                                                                                                          JA615
      Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 47 of 60
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  Casey is preparing a report asking for much of this information. We are focused on preparing a
  report that addresses the following request --

  “Additionally, please notify every employee in your division to provide to me a written
  summary of the specific matters they are working on, with the name of the entity being
  examined, how the matter was commenced and approximately how many hours they
  have spent on the matter.  

  Please submit your report and direct every employee in your division to submit their response
  to me by COB Monday, March 10th.”



  Christopher J Young
  Deputy Assistant Director, Supervision Division


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  From:
  Sent: Wednesday, March 5, 2025 3:11 PM
  To: Young, Christopher (CFPB)




  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Chris,

  Thank you so much for this clarification. Ahead of our team meeting this afternoon, I have a few
  questions:

      1. Mark’s request to capture time spent – In our conversation earlier, you requested exam start
         dates or similar information to use as part of a determination of how much time team
         members spent on each exam. I want you to know that I’m looking to you for the most
         appropriate language to capture this information. I also have concerns:
            a. What is Supervision doing to ensure the time spent calculations are based on the same
               methodology? For example because, unlike a law firm, we don’t report our time as
               “billable hours” every 15 minutes by case. As a result of how we DO report our time,
               different teams could come up with vastly different totals if they’re using different


                                                                                                                          JA616
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                 methods to calculate this information.
             b. Do we know how they’re planning to use this information? If not, has anyone inquired?
      2. Mark’s request for lead examiner and lead attorney - Mark’s email also requested the
         following: “name of the lead CFPB examiner on each matter, and the contact information for
         the lead attorney for the company under examination.” This is not captured in Casey’s
         template. It evidences a lack of understanding of our work and a lack of familiarity with our
         structure.
             a. Has anyone requested clarification on which role(s) are appropriate to list for the
                 “name of the lead CFPB examiner?” Would this be the FM, EIC, RD, OSP POC(s) [for our
                 team, analyst AND attorney], and/or Deputy Assistant Director?
             b. Has anyone requested whether the “contact information for the lead attorney for the
                 company under examination” is requesting the entity’s contact information (e.g., CCO’s
                 name and number) or is it instead a request for our internal/lead CFPB attorney’s
                 contact information?
              c. Do we know how they’re planning to use this information? If not, has anyone inquired?
      3. Other items
             a. High-level information about exam scope seems useful here. I’d like to include it. We
                 can discuss more in our meeting.
             b. I have follow-up questions regarding the individual responses. We can also discuss
                 more in our meeting.

  Thanks,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 1:50 PM
  To:
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  Thanks
            -   . And to confirm, I’ll be preparing a report as manager of the Cross-Program
  Team and the Compliance Technology Supervision Program, and each individual team
  member will also prepare their own reports for submission.

  Christopher J Young
  Deputy Assistant Director, Supervision Division


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                                                                                                                          JA617
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  From:
  Sent: Wednesday, March 5, 2025 1:34 PM
  To: Young, Christopher (CFPB)
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  Chris,

  Thank you for reaching out this morning. I’m very happy to assist with fulfilling leadership’s recent
  request.

  Per our discussion:
      • We will prepare the report requested in the 3/4/2025 and 3/5/2025 messages from Mark
        Paoletta and Casey Huggins as it pertains to our team.
      • Include the future planned exams and follow-up events (planned via prioritization process),
        active exams                              consultation activities
      • Include the start date.
      • I’ll produce an initial list before our next meeting this afternoon.
      • Use Word format
  Best,



  -
  From: Young, Christopher (CFPB)
  Sent: Wednesday, March 5, 2025 11:26 AM
  To:
  Subject: Re: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)



  -        — I will ring you on Teams at 11:45 if that works.

  Christopher J Young
  Deputy Assistant Director for Supervision Policy


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  From:


                                                                                                                          JA618
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USCA Case #25-5091    Document #2113074                         Filed: 04/25/2025 Page 624 of 637

  Sent: Wednesday, March 5, 2025 11:22:57 AM
  To: Young, Christopher (CFPB)
  Subject: RE: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)

  One more heads up on this – I have some existing reports in SES that may streamline the process for
  collecting this information. They are not perfectly aligned to this ask, but they should help.


  From:
  Sent: Wednesday, March 5, 2025 11:07 AM
  To: Young, Christopher (CFPB)
  Subject: Fw: optional template and instructions for submitting reports on exam activity (report due
  COB 3/10)


  I’m awaiting your direction based on Casey’s latest email.

  From: Huggins, Cassandra (CFPB)
  Sent: Wednesday, March 5, 2025 11:00:54 AM
  To: _DL_CFPB_Examiners Midwest
  _DL_CFPB_NE_Region_Directory <                                                 ;
  _DL_CFPB_Supervision Policy <                                ; _DL_CFPB_Examiners SE
  <                                   >; _DL_CFPB_Examiners West
  <                                      >
  Cc: Hagins, Calvin (CFPB) <
  Subject: optional template and instructions for submitting reports on exam activity (report due COB
  3/10)

  Regions/OSP-

  As you are likely aware, CLO Mark Paoletta has requested each member of Supervision to provide
  him with information on the exams they are currently working on. You are authorized to work on
  this assignment.

  Attached is a template that you may use to put together your response- it includes places to fill in all
  of the information that he requested. I’ve included rationale for why an event was scheduled, in case
  you aren’t sure what to put in response to that request. You can copy/paste to represent as many
  open events of each type that you need, and may delete any event types that you are not currently
  assigned to work on.

  As a reminder, this report is due COB Monday March 10. You may submit your report directly to
  Mark Paoletta, with a cc to your manager. If your manager has left the Bureau and you haven’t been
  assigned a new manager, please cc the next supervisor up in the management chain.

  If you are a manager who oversees others who work on exams, you may respond to the request with


                                                                                                             JA619
      Case 1:25-cv-00381-ABJ Document 67                             Filed 03/07/25 Page 51 of 60
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  all open supervisory events that you are overseeing.

  If you are in any other role that does not actively work on individual exams (for example, regional
   analyst), please hold on submitting anything until I receive clarification from leadership on their
  expectations for staff in those roles.

  Thanks for your assistance with this request.

  Cassandra Huggins
  Principal Deputy Assistant Director | Supervision Policy & Operations



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                                                                                                                          JA620
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       Exhibit WW




                                                                             JA621
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USCA Case #25-5091    Document #2113074                                 Filed: 04/25/2025 Page 627 of 637




  From:
  Sent: Thursday, March 6, 2025 1:08 PM
  To:
  Cc:




  Subject: Recap of 3.6.25 call on Report for Exam actives due 3.10.25

  Hi
       -       ,

  Just wanted to do a brief recap of what we talked about on our team call from earlier:

       1. After we are done with providing the information for the report Casey requested yesterday
          we are to go back on Administrative Leave. If there is a conflict, while we are completing the
          report, that we would normally use leave for, we should check with Work Life to find the
          appropriate leave category to use at this time.
       2. We had some discussion regarding the CSI, when sending the report to Mark P. and the report
          should not be sent as an attachment but the report we had prepared in word should be
          copied and pasted into the body of the email.
       3. Lastly, during the call managers received an email about the status of open events,
          monitoring and planned events, and you would be reaching out to us individually to get a
          status on those open events.

  Again just wanted to make sure I had the info correct.




  Examiner
  Consumer Financial Protection Bureau

  Supervision, Enforcement, Fair Lending & Equal Opportunity

  consumerfinance.gov

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                                                                                                                          JA622
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          Exhibit XX




                                                                             JA623
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  From: McNitt, Bryce (CFPB)
  Sent: Thursday, March 6, 2025 6:17 PM




  Subject: Status of Office of Markets Contracts


  Good Afternoon,


  ~ Markets Procurement Status - Justifications.docx

  Linked above is the last known status of all Office of Markets contracts.


  I have also copied the list into the body of the email below. Some notes:


     •   All contracts except for one have had "Termination For Convenience" (T4C) notifications sent. This
         means the CFPB intends to cancel the contract, but for most contracts the formal modification
         cancelling the contract has not been signed.
            a Staff are not to log into or utilize the resources of any contract where a T4C has been
               issued (all contracts but Inside Mortgage Finance).
     •   Inside Mortgage Finance is the only contract that was not cancelled.
     •   Bloomberg Terminal has been formally cancelled and a refund is being issued.
     •   A few contracts were cancelled in Q1 FY25, and a couple were new contracts that will not be
         competed.
     •   Contracts that are either already fully cancelled or that were new and won't be competed are in gray in
         the attached sheet, we will not be pursuing those.


  For those contracts that where cancellation has been initiated but not formalized, we are beginning a process
  of making a request to restore those contracts we believe to be necessary to carry out our statutorily required
  market monitoring work. We are going to start with simple bullets and iterate the list within RMR.


  In the attached document, if you believe that the data source is essential to maintain our market monitoring
  activities, please place some bulleted justification(s) in the appropriate box below the status.




                                                                                                                    JA624
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  We will try to get a preliminary list to Jan & Dan on Monday and iterate from there.

  Please let me know if you have any questions.

  Bryce


  Status Office of Markets Procurements as of 3/6/2025

   Contract Name                Status
   AITE                         Cancellation initiated 2/11. Formal cancellation paused until further notice.

   AURIEMMA                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   (Cardbeat)
   Auto ABS Data                Cancelled Q1 FY 25.

   CARD MAIL MONITOR            Cancellation initiated 2/11. Formal cancellation paused until further notice.
   REPORTS
   (Competiscan)
   EXPERIAN                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   VELOCITY/AUTOCOUNT

   CRA Auto-focused data        Unlikely to be competed. (New Contract)
   purchase

   MERCATOR                     Cancellation initiated 2/11. Formal cancellation paused until further notice.
   GROUP/Javelin/Escalent

   MORTGAGE DATA PRICE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
   INDICES (HPI) (Black
   Knight)
   Mortgage Data - GUI          Cancelled Q1 FY 25.

   INSIDE MORTGAGE              Active
   FINANCE

   MOBILE INTELLIGENCE          Cancellation initiated 2/11. Formal cancellation paused until further notice.
   DATA

   Personal Loan Data           Cancellation initiated 2/11. Formal cancellation paused until further notice.

   Bloomberg Terminal           Formally cancelled, refund being issued.

   Elliptic (crypto)            Unlikely to be competed. (New Contract)




                                                                                                                JA625
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          Exhibit YY




                                                                             JA626
      Case 1:25-cv-00381-ABJ Document 67                    Filed 03/07/25 Page 58 of 60
USCA Case #25-5091    Document #2113074                       Filed: 04/25/2025 Page 632 of 637




  From:
  Sent: Friday, March 7, 2025 10:24 AM
  To: Timmons, Debra (CFPB)                              >
  Subject: Following up from yesterday's discussion on work tasks

  Hello,
  Summarizing what we talked about yesterday as far as work tasks:

      • While our team had planned to release the dataset that is important for the statutorily
        required Card Act Analysis on the week of February 10th into Databricks Production, we will
        not be able to do so at this time. The contractors involved in the development of the
        datasets, the data validation of the dataset, and the federal employee who promoted the
        dataset to production were all terminated during the work stoppage in the middle of finalizing
        documentation.
            0  Status: We have granted access to the testing dataset (in staging) to the new Card Act
               team but they cannot use this dataset for finalized analysis.
      • Also as discussed, we should not move forward with developing new platform features or
        data products (as we had been) because we need to spend time figuring out how we will
        support our statutorily required functions with dramatically less staff/contractors/fewer
        systems. You will let me know if I am required to perform this taking stock task for Databricks.

  I appreciate your leadership and support.




                                                                                                           JA627
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           Exhibit ZZ




                                                                             JA628
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                                        10:02AM,


~I everyone,

I was gotngthrough complalnts today and found that every attachment was inaccessible -the site gave a error that just said 'Service Error (500}'. I've flagged for Matt Pfaft, but wanted to
confirm with any of you that you are having the same issue?


Some of the companies thatwe look at complaints about regularly attach a pdf as its fuU response so tt makes it impossible to review complete lnformailon about con,piaints from those
companies.




                                                                                                                                                                                  JA629
       Case 1:25-cv-00381-ABJ Document 79                    Filed 03/19/25 Page 1 of 3
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  NATIONAL TREASURY
  EMPLOYEES UNION, et al.,

                         Plaintiffs,
          v.
                                                          Case No. *+-cv-/01-ABJ
  RUSSELL VOUGHT, in his official capacity
  as Acting Director of the Consumer Financial
  Protection Bureau, et al.,

                         Defendants.


                       NOTICE OF FILING OF AMENDED PROPOSED
                          PRELIMINARY INJUNCTION ORDER

        Following the evidentiary hearing on March LL, MNMO, the Court urged the parties to meet

 and confer about a proposed preliminary injunction order, should the Court decide to issue one.

 The parties have conferred, and the defendants’ position is that they continue to oppose the entry

 of a preliminary injunction. They therefore declined to file a joint proposed order. Nevertheless,

 the plaintiffs have revised their proposed order in response to the Court’s and the defendants’

 comments at the March LLth hearing. That revised proposed order is attached here.

        At the hearing, the defendants’ main objection to the prior proposed order seemed to be

 that two provisions referenced the Bureau’s statutorily required functions. Tr. of Mar. LL, MNMO

 Hearing, Dkt. UV, at LLO-LLU. The plaintiffs included those references based on the defendants’ claim

 that they were now committed to the Bureau performing these functions. But although the

 defendants insist that the CFPB is performing its statutorily required functions, they also insist that

 a preliminary injunction order requiring them to do so would be “ambigu[ous].” Id. And despite

 this professed concern, the defendants also refused to identify the duties that they believe the

 Bureau is statutorily required to perform. See id.



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        Still, the plaintiffs have amended their proposed order in light of the defendants’ comments.

 With respect to the work stoppage, the amended proposed order does not rely on the Bureau’s

 statutory functions. Instead, it would enjoin the enforcement of the February LN, MNMO stop-work

 order and prohibit the defendants from reinstituting a work stoppage.

        With respect to the contract termination provision, the CFPB appears to have a “master

 spreadsheet” of contracts, which contains a list of the CFPB’s contracts, their status, and a

 description of their relationship to the Bureau’s statutory functions. Tr. of Mar. LN, MNMO Hearing,

 Dkt. U^, at p.UM–U^ (defendants’ counsel asking about this spreadsheet); Dkt. cc-M, at CFPB_00117

 (internal email describing this spreadsheet). The plaintiffs have repeatedly asked for this list—to

 enable them to propose a specific list of contracts that shall not be terminated—but the defendants

 have not provided it.

        Absent this information, the amended proposed order offers another option for taking into

 account the defendants’ professed concern that they might disagree with the plaintiffs or the Court

 about which contracts enable the Bureau’s statutorily required functions. The amended order

 prohibits the wholesale cancellation of contracts, but allows the defendants to halt services under

 a contract if they determine, based on an individualized assessment of that contract, that the

 contract is unnecessary for the fulfillment of statutory functions. They may not, however, finalize

 that contract’s termination. The purpose of this amendment is to balance the need to preserve the

 court’s ability to award full relief at the end of the case—including relief that would require

 contract reinstatement—with the defendants’ asserted need to discontinue contracts that they

 believe are unnecessary to meet the agency’s statutory requirements.

        The other objection to the prior proposed order that the defendants emphasized at the

 hearing is that they would like to be able to conduct reductions in force. But the hearing confirmed




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 that the agency continues to plan to terminate the vast majority of CFPB employees—which, as

 the government’s own witness explained, would cause irreparable harm. Tr. Mar. LN, MNMO

 Hearing, at LO^, M^M; Tr. Mar. LL, MNMO, at cL-cV. The amended proposed order, therefore, leaves in

 place the prohibition on mass terminations that was agreed upon at the beginning of this case.1

  Dated: March 19, 2025                               Respectfully submitted,

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           The plaintiffs have deleted the funding provision from the proposed order based on the
 dissolution of the TRO governing funding in Mayor and City Council of Baltimore v. Consumer
 Financial Protection Bureau, Civ. No. MJM-25-458. That case involved an APA challenge solely
 to the Bureau’s failure to draw funds for this quarter and the threat of returning the CFPB’s funds
 to Treasury or the Federal Reserve—not a separation of powers (or APA) challenge to the decision
 to dismantle the agency. Nevertheless, in an effort to draw as narrow a preliminary injunction as
 possible, and based on the government’s representations that it is not possible to transfer the
 CFPB’s funds to Treasury or the Federal Reserve, the plaintiffs are no longer requesting that relief
 as part of the preliminary injunction.


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